Case 3:23-cv-02071-E              Document 1-1          Filed 09/15/23          Page 1 of 678          PageID 7



                            UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                §
                                                          §
    HIGHLAND CAPITAL                                      §    Chapter 11
    MANAGEMENT, L.P.                                      §
                                                          §    Case No. 19-34054-sgj11
              Reorganized Debtor.                         §

     HUNTER MOUNTAIN INVESTMENT TRUST’S AMENDED NOTICE OF APPEAL

             Pursuant to 28 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001-8002,

Appellant/Movant Hunter Mountain Investment Trust (“HMIT”), both in its individual capacity

and derivatively on behalf of the Reorganized Debtor, Highland Capital Management, L.P., and

the Highland Claimant Trust, 1 appeals to the United States District Court for the Northern District

of Texas, Dallas Division, from this Court’s August 25, 2023 Memorandum Opinion and Order

Pursuant to Plan “Gatekeeper Provision” and Pre-Confirmation “Gatekeeper Orders”: Denying

Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified Adversary

Proceeding (Docs. 3903-3904) (attached to this notice as Exhibits 1 and 2) (the “Final Order”),

and all associated interlocutory orders or decisions that merged into or preceded the Final Order,

including but not limited to the following:

      •      March 31, 2023 Order Denying Application for Expedited Hearing (Doc. 3713)
             (attached to this notice as Exhibit 3);

      •      May 11, 2023 Order Fixing Briefing Schedule and Hearing Date with Respect to
             Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified
             Adversary Proceeding as Supplemented (Doc. 3781) (attached to this notice as
             Exhibit 4);




1
  And, in all capacities and alternative derivative capacities asserted in HMIT’s Emergency Motion for Leave to File
Verified Adversary Proceeding [Bankr. Dkt. Nos. 3699, 3815, and 3816] (“Emergency Motion”), and the supplement
to the Emergency Motion [Bankr. Dkt. No. 3760] and the draft Complaint attached to the same [Bankr. Dkt. No. 3760-
1].

Appellant/Movant HMIT’s Amended Notice of Appeal                                                            Page 1
Case 3:23-cv-02071-E        Document 1-1       Filed 09/15/23      Page 2 of 678      PageID 8



   •   May 24, 2023 Order Pertaining to the Hearing on Hunter Mountain Investment
       Trust’s Motion for Leave to File Adversary Proceeding (Doc. 3790) (attached to
       this notice as Exhibit 5);

   •   May 26, 2023 Order Regarding Hunter Mountain Investment Trust’s Emergency
       Motion for Expedited Discovery Or, Alternatively, For Continuance of the June 8,
       2023 Hearing (Doc. 3800) (attached to this notice as Exhibit 6);

   •   Evidentiary and other oral rulings, including but not limited to rulings associated
       with expert testimony, made at the June 8, 2023 Hearing;

   •   June 16, 2023 Memorandum Opinion and Order Granting Joint Motion to Exclude
       Expert Evidence (Doc. 3853) (attached to this notice as Exhibit 7); and,

   •   July 5, 2023 Order Striking HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)
       and Limiting Briefing (Doc. 3869), including the appended email ruling (attached
       to this notice as Exhibit 8).

   The names of all other parties to the orders and decisions appealed from and their respective

counsel are as follows:

   •   Appellant/Movant HMIT, represented by:

       PARSONS MCENTIRE MCCLEARY PLLC

       Sawnie A. McEntire
       Texas State Bar No. 13590100
       smcentire@pmmlaw.com
       1700 Pacific Avenue, Suite 4400
       Dallas, Texas 75201
       Tel: (214) 237-4300
       Fax: (214) 237-4340

       Roger L. McCleary
       Texas State Bar No. 13393700
       rmccleary@pmmlaw.com
       One Riverway, Suite 1800
       Houston, Texas 77056
       Tel: (713) 960-7315
       Fax: (713) 960-7347

   •   Appellees/Non-movants Highland Capital Management, L.P., and the Highland Claimant
       Trust, represented by:

       PACHULSKI STANG ZIEHL & JONES LLP

       Jeffrey N. Pomerantz

Appellant/Movant HMIT’s Amended Notice of Appeal                                             Page 2
Case 3:23-cv-02071-E        Document 1-1       Filed 09/15/23     Page 3 of 678   PageID 9



       John A. Morris
       Gregory V. Demo
       Hayley R. Winograd
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067
       Tel: (310) 277-6910
       Fax: (310) 201-0760

       HAYWARD PLLC

       Melissa S. Hayward
       Texas Bar No. 24044908
       MHayward@HaywardFirm.com
       Zachery Z. Annable
       Texas Bar No. 24053075
       ZAnnable@HaywardFirm.com
       10501 N. Central Expy, Ste. 106
       Dallas, Texas 75231
       Tel: (972) 755-7100
       Fax: (972) 755-7110

   •   Appellee/Non-movant James P. Seery, Jr., represented by:

       WILLKIE FARR & GALLAGHER LLP

       Mark T. Stancil
       Joshua S. Levy
       1875 K Street, N.W.
       Washington, D.C. 20006
       Tel: (202) 303-1000
       mstancil@willkie.com
       jlevy@willkie.com

       REED SMITH LLP

       Omar J. Alaniz
       Texas Bar No. 24040402
       Lindsey L. Robin
       Texas Bar No. 24091422
       2850 N. Harwood St., Ste. 1500
       Dallas, Texas 75201
       Tel: (469) 680-4292

   •   Appellees/Non-movants Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital
       Management, L.L.C., and Stonehill Capital Management LLC, represented by:




Appellant/Movant HMIT’s Amended Notice of Appeal                                     Page 3
Case 3:23-cv-02071-E        Document 1-1      Filed 09/15/23       Page 4 of 678      PageID 10



       HOLLAND & KNIGHT LLP

       Brent R. McIlwain, TSB 24013140
       David C. Schulte TSB 24037456
       Christopher Bailey TSB 24104598
       1722 Routh Street, Suite 1500
       Dallas, TX 75201
       Tel.: (214) 964-9500
       Fax: (214) 964-9501
       brent.mcilwain@hklaw.com
       david.schulte@hklaw.com
       chris.bailey@hklaw.com

Dated: September 12, 2023                          Respectfully Submitted,

                                                   PARSONS MCENTIRE MCCLEARY
                                                   PLLC

                                                   By: /s/ Sawnie A. McEntire
                                                       Sawnie A. McEntire
                                                       Texas State Bar No. 13590100
                                                       smcentire@pmmlaw.com
                                                       1700 Pacific Avenue, Suite 4400
                                                       Dallas, Texas 75201
                                                       Telephone: (214) 237-4300
                                                       Facsimile: (214) 237-4340

                                                       Roger L. McCleary
                                                       Texas State Bar No. 13393700
                                                       rmccleary@pmmlaw.com
                                                       One Riverway, Suite 1800
                                                       Houston, Texas 77056
                                                       Telephone: (713) 960-7315
                                                       Facsimile: (713) 960-7347

                                                       Attorneys for Hunter Mountain
                                                       Investment Trust

                               CERTIFICATE OF SERVICE

      A true and correct copy of the foregoing document was served via ECF notification on
September 12, 2023, on all parties receiving electronic notification.

                                            /s/ Sawnie A. McEntire
                                            Sawnie A. McEntire

3130876.2

Appellant/Movant HMIT’s Amended Notice of Appeal                                         Page 4
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 5 of 678   PageID 11




                  Exhibit 1
     Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
     Case 3:23-cv-02071-E Document
                           Main Document
                                   1-1 FiledPage
                                              09/15/23
                                                  1 of 105Page 6 of 678 PageID 12




The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 25, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor.            §


          MEMORANDUM OPINION AND ORDER PURSUANT TO PLAN “GATEKEEPER
          PROVISION” AND PRE-CONFIRMATION “GATEKEEPER ORDERS”: DENYING
           HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
                  LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING1
                       [BANKR. DKT. NOS. 3699, 3760, 3815, and 3816]

     I.      INTRODUCTION

             BEFORE THIS COURT is yet another post-confirmation dispute relating to the Chapter

     11 bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).



     1
       On August 2, 2023, this court signed an Order [Bankr. Dkt. No. 3897] that was agreed to among various parties,
     after the filing of a Motion to Stay and Compel Mediation [Bankr. Dkt. No. 3752] filed by James D. Dondero and
     related entities. Pursuant to paragraph 7 of that order, certain pending matters in the bankruptcy court are stayed
     pending mediation. The parties did not agree to stay the matter addressed in this Memorandum Opinion and Order.
Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                      Main Document
                              1-1 FiledPage
                                         09/15/23
                                             2 of 105Page 7 of 678 PageID 13



It is now more than two and half years since the confirmation of Highland’s Plan2—the Plan having

been confirmed on February 22, 2021.3 The Plan was never stayed; it went effective on August

11, 2021 (“Effective Date”), and it was affirmed almost in its entirety by the United States Court

of Appeals for the Fifth Circuit (“Fifth Circuit”), in late summer 2022, including an approval of

the so-called Gatekeeper Provision4 therein. The Gatekeeper Provision—and how and whether it

should now be exercised or interpreted to allow a certain lawsuit to be filed—is at the heart of the

current Emergency Motion for Leave to File Verified Adversary Proceeding [Bankr. Dkt. Nos.

3699, 3760, 3815, 3816] (collectively, the “Motion for Leave”) filed by a movant known as Hunter

Mountain Investment Trust (“HMIT”).

         A.       Who is the Movant, HMIT?

         Who is HMIT? It is undisputed that it is a former equity owner of Highland. It held 99.5%

of Highland’s Class B/C limited partnership interests and was classified in a Class 10 under the

confirmed Plan, which class treatment provided it with a contingent interest in the Highland

Claimant Trust (“Claimant Trust”) created under the Plan, and as defined in the Claimant Trust

Agreement. This means that HMIT could receive consideration under the Plan if all claims against

Highland are ultimately paid in full, with interest. As later further discussed, it is undisputed that

2
  Capitalized terms not defined in this introduction shall have the meaning ascribed to them below.
3
  The court entered its Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation Order”)[Bankr. Dkt. No. 1943].
4
  In an initial opinion dated August 19, 2022, the Fifth Circuit affirmed the Confirmation Order in large part,
“revers[ing] only insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strik[ing] those
few parties from the plan’s exculpation, and affirm[ing] on all remaining grounds.” In re Highland Capital
Management, L.P., No. 21-10449, 2022 WL 3571094, at *1 (5th Cir. Aug. 19, 2022). On September 7, 2022, following
a petition for limited panel rehearing filed by certain appellants on September 2, 2022, “for the limited purpose of
clarifying and confirming one part of its August 19, 2022 opinion,” the Fifth Circuit withdrew its original opinion and
replaced it with its opinion reported at NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland
Capital Mgmt., L.P.), 48 F.4th 419, 424 (5th Cir. 2022). The substituted opinion differed from the original opinion
only by the replacement of one sentence from section “IV(E)(2) – Injunction and Gatekeeper Provisions” of the
original opinion: “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” was replaced
with “We now turn to the Plan’s injunction and gatekeeper provisions.” In all other respects, the Fifth Circuit panel’s
original ruling remained unchanged. Petitions for writs of certiorari regarding the Confirmation Order have been
pending at the United States Supreme Court since January 2023.

                                                           2
Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                      Main Document
                              1-1 FiledPage
                                         09/15/23
                                             3 of 105Page 8 of 678 PageID 14



HMIT’s only asset is its contingent interest in the Claimant Trust. It has no employees or revenue.

HMIT’s representative has testified that HMIT is liable on more than $62 million of indebtedness

owed to The Dugaboy Investment Trust (“Dugaboy”), a family trust of which James Dondero

(“Dondero”), the co-founder and former chief executive officer (“CEO”) of Highland, and his

family members are beneficiaries, and that Dugaboy also is paying HMIT’s legal fees. HMIT

vehemently disputes the suggestion that it is controlled by Dondero.

         B.       What Does the Movant HMIT Seek Leave to File?

         HMIT seeks leave to file an adversary proceeding (“Proposed Complaint”)5 in the

bankruptcy court to bring claims on behalf of itself and, derivatively, on behalf of the Reorganized

Debtor and the Claimant Trust for alleged breach of fiduciary duties by the Reorganized Debtor’s

CEO and Claimant Trustee, James P. Seery, Jr. (“Seery”) and conspiracy against: (1) Seery; and

(2) purchasers of $365 million face amount of allowed unsecured claims in this case, who

purchased their claims post-confirmation but prior to the occurrence of the Effective Date of the

Plan (“Claims Purchasers,”6 and with Seery, the “Proposed Defendants”). To be clear (and as later

further explained), the claims acquired by the Claims Purchasers were acquired by them after

extensive litigation, mediation, and settlements were approved by the bankruptcy court and after

the original claims-holders had voted on the Plan and after Plan confirmation. As later explained,


5
  In its original Motion for Leave filed at Bankruptcy Docket No. 3699 on March 28, 2023, HMIT sought leave to file
the proposed complaint (“Initial Proposed Complaint”) attached as Exhibit 1 to the Motion for Leave. Nearly a month
later, on April 23, 2023, HMIT filed a Supplement to Emergency Motion for Leave to File Verified Adversary
Proceeding (“Supplement”) [Bankr. Dkt. No. 3760], a revised proposed complaint as Exhibit 1-A, and stating that
“[t]he Supplement is not intended to supersede the [Motion for Leave]; rather, it is intended as a supplement to address
procedural matters and to bring forth additional facts that further confirm the appropriateness of the derivative action.”
Supplement, ¶ 1 and Exhibit 1-A. It is this revised proposed complaint to which this court will refer, when it uses the
defined term “Proposed Complaint,” even though HMIT filed redacted versions of its Motion for Leave on June 5,
2023 at Bankruptcy Docket Nos. 3815 and 3816 that attached the Initial Proposed Complaint as Exhibit 1.
6
  The Claims Purchasers identified in the Proposed Complaint are Farallon Capital Management, LLC (“Farallon”);
Muck Holdings, LLC (“Muck”), which is a special purpose entity created by Farallon to purchase allowed unsecured
claims against Highland; Stonehill Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
which is a special purpose entity created by Stonehill to purchase allowed unsecured claims against Highland.

                                                            3
Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                      Main Document
                              1-1 FiledPage
                                         09/15/23
                                             4 of 105Page 9 of 678 PageID 15



the Claims Purchasers filed notices of their purchases as required by Bankruptcy Rule 3001(e)(2),

and no objections were filed thereto. In any event, various damages or remedies are sought against

the Proposed Defendants revolving around the Claims Purchasers’ claims purchasing activities.

         C.       Why Does HMIT Need to Seek Leave?

         As alluded to above, HMIT filed its Motion for Leave to comply with the provision in the

Plan known as a “gatekeeper” provision (“Gatekeeper Provision”) and with this court’s prior

gatekeeper orders entered in January and July 2020, which all require that, before a party may

commence or pursue claims relating to the bankruptcy case against certain protected parties, it

must first obtain (1) a finding from the bankruptcy court that its proposed claims (“Proposed

Claims”) are “colorable”; and (2) specific authorization by the bankruptcy court to pursue the

Proposed Claims.7 The Gatekeeper Provision was not included in the Plan sans raison. Indeed,

as the Fifth Circuit recognized in affirming confirmation of the Plan, the Gatekeeper Provision

(along with the other “protection provisions” in the Plan) had been included in the Plan to address

the “continued litigiousness” of Mr. James Dondero (“Dondero”), Highland’s co-founder and

former chief executive officer (“CEO”), that began prepetition and escalated following the post-

petition “nasty breakup” between Highland and Dondero, by “screen[ing] and prevent[ing] bad-

faith litigation against Highland Capital, its successors, and other bankruptcy participants that

could disrupt the Plan’s effectiveness.”8



7
  To be clear, the Gatekeeper Provision in the Plan was not the first or even second injunction of its type issued in this
bankruptcy case. The Gatekeeper Orders were entered by the bankruptcy court pre-confirmation: (a) in January 2020,
just a few months into the case, as part of this court’s order approving a corporate governance settlement between
Highland and its unsecured creditors committee, in which Dondero, Highland’s co-founder and former CEO, was
removed from any management role at Highland and three independent directors (“Independent Directors”) were
appointed in lieu of a chapter 11 trustee being appointed (“January 2020 Order”); and (b) in July 2020, in this court’s
order authorizing the employment of Seery (one of the three Independent Directors) as the Debtor’s new Chief
Executive Officer, Chief Restructuring Officer, and Foreign Representative (“July 2020 Order,” together with the
January 2020 Order, the “Gatekeeper Orders”).
8
  See Highland Capital, 48 F.4th at 427, 435.

                                                            4
 Case 19-34054-sgj11        Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E        Document
                              Main Document
                                     1-1 FiledPage
                                                09/15/23
                                                     5 of 105Page 10 of 678 PageID 16



       D.      Some Further Context Regarding Post-Confirmation Litigation Generally.

       Since confirmation of the Plan, hundreds of millions of dollars have been paid out to

creditors under the Plan, and there are numerous adversary proceedings and contested matters still

pending, at various stages of litigation, in the bankruptcy court, the district court, and the Fifth

Circuit, almost exclusively involving Dondero and entities that he owns or controls. To be sure,

the post-confirmation litigation in this case does not consist of the usual adversaries and contested

matters one typically sees by and against a reorganized debtor and/or litigation trustee, such as

preference or other avoidance actions and litigation over objections to claims that are still pending

after confirmation of a plan. Indeed, the claims of the largest creditors in this case (with claims

asserted in the aggregate of more than one billion dollars) were successfully mediated and

incorporated into the Plan—a plan which was ultimately accepted by the votes of an overwhelming

majority of Highland’s non-insider creditors. Dondero and entities under his control were the only

parties who appealed the Confirmation Order, and Dondero and entities under his control have

been the appellants in virtually every appeal that has been filed regarding this bankruptcy case.

Petitions for writs of mandamus (which have been denied) have been filed in the district court and

in the Fifth Circuit by some of these same entities, including one by HMIT, when this court denied

setting an emergency hearing on the instant Motion for Leave (HMIT had sought a setting on

three-days’ notice).

       A recent list of active matters involving Dondero and/or entities and/or individuals

affiliated or associated with him, filed in the bankruptcy case by Highland and the Claimant Trust,

reveals that there were at least 30 pending and “Active Dondero-Related Litigation” matters as of

July 14, 2023: six (6) proceedings in this court; six (6) active appeals or actions are pending in the

District Court for the Northern District of Texas; seven (7) appeals in the Fifth Circuit; two (2)



                                                  5
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                    Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                           6 of 105Page 11 of 678 PageID 17



petitions for writs of certiorari in the United States Supreme Court; and nine (9) other proceedings

or actions with or affecting the Highland Parties (“Highland,” the “Claimant Trust,” and “Seery”)

in various other state, federal, and foreign jurisdictions.9

         The above-described context is included because the Proposed Defendants assert that the

Motion for Leave is just a continuation of Dondero’s unrelenting barrage of meritless and

harassing litigation, making good on his oft-mentioned alleged threat to “burn down the place”

after not achieving the results he wanted in the Highland bankruptcy case. Indeed, the Motion for

Leave was filed after two years of unsuccessful attempts by, first, Dondero personally, and then

HMIT to obtain pre-suit discovery from the Proposed Defendants (i.e., the Claims Purchasers)

through two different Texas state court proceedings, pursuant to Tex. R. Civ. P. 202 (“Rule 202”).

In each of these Rule 202 proceedings, Dondero and HMIT espoused the same Seery/Claims


9
  See Bankr. Dkt. No. 3880 (filed on July 14, 2023, providing a list of “Active Dondero-Related Litigation” and noting
that the list is “a summary of active pending actions only and does not include actions that were resolved by final
orders, including actions finally resolved after appeals to the U.S. District Court for the Northern District of Texas
and/or the U.S. Court of Appeals for the Fifth Circuit.”). Just since the filing by the Highland Parties of the list, three
of the appeals pending in the Fifth Circuit have been decided against the Dondero-related appellants, two of which
upheld the district court’s dismissal of appeals by Dondero-related entities of bankruptcy court orders based on the
lack of bankruptcy appellate standing on behalf of the appellant. On July 19, 2023, the Fifth Circuit affirmed the
district court’s dismissal of an appeal by NexPoint Advisors, L.P. (“NexPoint”) of bankruptcy court orders approving
professional compensation on the basis that NexPoint did not meet the bankruptcy appellate standing test of being a
“person aggrieved” by the entry of the orders. NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In
re Highland Capital Management, L.P.), 74 F.4th 361 (5th Cir. 2023). On July 31, 2023, the Fifth Circuit affirmed
the district court’s dismissal of an appeal by Dugaboy—the Dondero family trust that, like the movant here in this
Motion for Leave, was the holder of a limited partnership interest in Highland, and, as such, now has a contingent
interest in the Claimant Trust—which had appealed a bankruptcy court order approving a Rule 9019 settlement on the
same basis: Dugaboy did not meet the bankruptcy appellate standing test of being a “person aggrieved” by the entry
of the settlement order. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), No.
22-10960, 2023 WL 4861770 (5th Cir. July 31, 2023). The July 31, 2023 ruling followed the Fifth Circuit’s ruling
on February 21, 2023, affirming the district court’s dismissal of an appeal by Dugaboy of yet another bankruptcy court
order for lack of bankruptcy appellate standing. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland
Capital Mgt., L.P.), No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023). These rulings by the Fifth Circuit are
discussed in greater detail below. The third ruling by the Fifth Circuit since July 14, 2023, was issued by the Fifth
Circuit in a per curium opinion not designated for publication on July 26, 2023, this one affirming the district court’s
affirmance of yet another Rule 9019 settlement order of the bankruptcy court that was appealed by Dugaboy, agreeing
with the district court that the bankruptcy court had jurisdiction to approve a settlement among the Debtor, an entity
affiliated with the Debtor but not a debtor itself, and UBS (the Debtor’s largest prepetition creditor and the seller of
its claims to the Claims Purchasers, which is one of the claims trading transactions HMIT complains about in the
Proposed Complaint). See The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P., No. 22-10983, 2023 WL 4842320
(5th Cir. July 26, 2023).

                                                            6
 Case 19-34054-sgj11         Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E         Document
                               Main Document
                                      1-1 FiledPage
                                                 09/15/23
                                                      7 of 105Page 12 of 678 PageID 18



Purchasers conspiracy theory espoused in the Motion for Leave—that Seery must have provided

one or more of the Claims Purchasers with material nonpublic information to induce them to want

to purchase large, allowed, unsecured claims at a discount; a quid pro quo is suggested, such that

the Claims Purchasers were allegedly told they would make a hefty profit on the claims they

purchased and, in return, they would gladly “rubber stamp” Seery’s “excessive compensation” as

the Claimant Trustee of the Claimant Trust. In sum, HMIT alleges this constituted wrongful

“insider trading” of the bankruptcy claims. In addition, certain lawyers for Dondero and Dugaboy

sent letters reporting this alleged conspiracy and “insider trading” to the Texas State Securities

Board (“TSSB”) and the Executive Office of the United States Trustee (“EOUST”).

         It is against this background and in this context that the court must analyze, in the exercise

of its gatekeeping function under the confirmed Plan and its prior Gatekeeping Orders, whether

HMIT should be allowed to pursue the Proposed Claims (i.e., whether the Proposed Claims are

“colorable” claims as contemplated under the Gatekeeper Orders and the Gatekeeper Provision of

the Plan). The court held an evidentiary hearing on the Motion for Leave on June 8, 2023 (“June

8 Hearing”), during which the court admitted exhibits and heard testimony from three witnesses

both in support of and in opposition to the Motion for Leave. Having considered the Motion for

Leave, the response of the Proposed Defendants thereto, HMIT’s reply to the response, and the

arguments and evidence presented at the hearing on the Motion for Leave, the court denies HMIT’s

request for leave to pursue its Proposed Claims. The court’s reasoning is set forth below.

II.      BACKGROUND

      A. Highland’s Bankruptcy Case, Dondero’s Removal as CEO, and the Plan

         Highland was co-founded in Dallas in 1993 by Dondero and Mark Okada (“Okada”). It

operated as a global investment adviser that provided investment management and advisory

services and managed billions of dollars of assets, both directly and indirectly through numerous

                                                   7
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                 Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                        8 of 105Page 13 of 678 PageID 19



affiliates. Highland’s equity interest holders included HMIT (99.5%), Dugaboy (0.1866%),

Okada, personally and through trusts (0.0627%), and Strand Advisors, Inc. (“Strand”), which was

wholly owned by Dondero and was the only general partner of Highland (0.25%). On October 16,

2019 (the “Petition Date”), Highland, with Dondero in control10 and acting as its CEO, president,

and portfolio manager, and facing a myriad of massive, business litigation claims – many of which

had finally become or were about to be liquidated (after a decade or more of contentious litigation

in multiple fora all over the world—filed for relief under chapter 11 of the United States

Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware. The

bankruptcy case was transferred to the Northern District of Texas, Dallas Division in December

2019. The official committee of unsecured creditors (the “Committee”) (and later, the United

States Trustee) expressed a desire for the appointment of a chapter 11 trustee due to concerns over

and distrust of Dondero, his numerous conflicts of interest, and his history of alleged

mismanagement (and perhaps worse).

        After many weeks under the specter of a possible appointment of a trustee, Highland and

the Committee engaged in substantial and lengthy negotiations, resulting in a corporate governance

settlement approved by this court on January 9, 2020.11 As a result of this settlement, Dondero

relinquished control of Highland and resigned his positions as officer or director of Highland and

its general partner, Strand,12 and three independent directors (“Independent Directors”) were



10
  Mark Okada resigned from his role with Highland prior to the Petition Date.
11
  This order is hereinafter referred to as the “January 2020 Order” and was entered by the court on January 9, 2020
[Bankr. Dkt. No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of
Unsecured Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course
[Bankr. Dkt. No. 281].
12
   Dondero agreed to this settlement pursuant to a stipulation he executed and that was filed in connection with
Highland’s motion to approve the settlement. See Stipulation in Support of Motion of the Debtor for Approval of
Settlement With the Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
for Operations in Ordinary Course [Bankr. Dkt. No. 338].

                                                        8
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                  Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                         9 of 105Page 14 of 678 PageID 20



chosen to lead Highland through its chapter 11 case: Seery, John S. Dubel, and retired bankruptcy

judge Russell Nelms. Given the Debtor’s perceived culture of constant litigation while Dondero

was at the helm, it was purportedly not easy to get such highly qualified persons to serve as

independent board members. At the hearing on the corporate governance settlement motion, the

court heard credible testimony that none of the Independent Directors would have taken on the

role without (1) an adequate directors and officers’ (“D&O”) insurance policy protecting them; (2)

indemnification from Strand that would be guaranteed by the Debtor; (3) exculpation from mere

negligence claims; and (4) a gatekeeper provision prohibiting the commencement of litigation

against the Independent Directors without the bankruptcy court’s prior authority. The gatekeeper

provision approved by the court in its January 9 Order states,13

                 No entity may commence or pursue a claim or cause of action of any kind
         against any Independent Director, any Independent Director’s agents, or any
         Independent Director’s advisors relating in any way to the Independent Director’s
         role as an independent director of Strand without the Court (i) first determining
         after notice that such claim or cause of action represents a colorable claim of willful
         misconduct or gross negligence against Independent Director, any Independent
         Director’s agents, or any Independent Director’s advisors and (ii) specifically
         authorizing such entity to bring such claim. The Court will have sole jurisdiction to
         adjudicate any such claim for which approval of the Court to commence or pursue
         has been granted.

Dondero agreed to remain with Highland as an unpaid portfolio manager following his resignation

and did so “subject at all times to the supervision, direction and authority of the Independent

Directors” and to his agreement to “resign immediately” “[i]n the event the Independent Directors

determine for any reason that the Debtor shall no longer retain Dondero as an employee”14 and to

“not cause any Related Entity to terminate any agreements with the Debtor.”15 The court later




13
   January 2020 Order, 3-4, ¶ 10.
14
   January 2020 Order, 3, ¶ 8.
15
   Id. at ¶ 9.

                                                   9
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       10 of 105
                                                               Page 15 of 678 PageID 21



entered, on July 16, 2020, an order approving the appointment of Seery as Highland’s Chief

Executive Officer, Chief Restructuring Officer, and Foreign Representative,16 which included

essentially the same “gatekeeper” language with respect to the pursuit of claims against Seery

acting in these roles. The gatekeeper provision in the July 2020 Order was essentially the same as

the gatekeeper provision in the January 2020 Order:

        No entity may commence or pursue a claim or cause of action of any kind against
        Seery relating in any way to his role as the chief executive officer and chief
        restructuring officer of the Debtor without the Bankruptcy Court (i) first
        determining after notice that such claim or cause of action represents a colorable
        claim of willful misconduct or gross negligence against Seery, and (ii) specifically
        authorizing such entity to bring such claim. The Bankruptcy Court shall have sole
        jurisdiction to adjudicate any such claim for which approval of the Court to
        commence or pursue has been granted.

July 2020 Order, 3, ¶5. Neither the January 2020 Order nor the July 2020 Order were appealed.

        Throughout the summer of 2020, Dondero informally proposed several reorganization

plans, none of which were embraced by the Committee or the Independent Directors. When

Dondero’s plans failed to gain support, he and entities under his control engaged in substantial,

costly, and time-consuming litigation for Highland.17 As the Fifth Circuit described the situation,

after Dondero’s plans failed “he and other creditors began to frustrate the proceedings by objecting

to settlements, appealing orders, seeking writs of mandamus, interfering with Highland Capital’s

management, threatening employees, and canceling trades between Highland Capital and its

clients.”18 On October 9, 2020, Dondero resigned from all positions with the Debtor and its


16
   See the July 16, 2020 order approving the retention by Highland of Seery as Chief Executive Officer, Chief
Restructuring Officer, and Foreign Representative, nunc pro tunc, to March 15, 2020 (“July 2020 Order”) [Bankr.
Dkt. No. 854].
17
   According to Seery’s credible testimony during the hearing on confirmation of the Plan that had been negotiated
between the Committee and the Independent Directors, Dondero had threatened to “burn the place down” if his
proposed plan was not accepted. See Transcript of Confirmation Hearing dated February 3, 2021 at 105:10-20. Bankr.
Dkt. No. #1894.
18
   Highland Capital, 48 F.4th at 426 (citing Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Capital Mgmt.,
L.P.), Ch. 11 Case No. 19-34054-SGJ11, Adv. No. 20-03190-SGJ11, 2021 WL 2326350, at *1, *26 (Bankr. N.D. Tex.


                                                       10
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        11 of 105
                                                                Page 16 of 678 PageID 22



affiliates in response to a demand by the Independent Directors made after Dondero’s purported

threats and disruptions to the Debtor’s operations.19

         The Independent Directors and the Committee had negotiated their own plan of

reorganization which culminated in the filing by Highland of its Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”) [Bankr. Dkt.

No. 1808] on January 22, 2021.20 Highland had negotiated settlements with most of its major

creditors following mediation and had amended its initially proposed plan to address the objections

of most of its creditors, leaving only the objections of Dondero and entities under his control (the

“Dondero Parties”) at the time of the confirmation hearing,21 which was held over two days in

early February 2021. The Plan is essentially an “asset monetization” plan pursuant to which the

Committee was dissolved, and four new entities were created: the Reorganized Debtor; a new

general partner for the Reorganized Debtor called HCMLP GP, LLC; the Claimant Trust

(administered by Seery, its trustee); and a Litigation Sub-Trust (administered by its trustee, Marc

Kirschner). Highland’s various servicing agreements were vested in the Reorganized Debtor,

which continues to manage collateralized loan obligation vehicles (“CLOs”) and various other

investments postconfirmation. The Claimant Trust owns the limited partnership interests in the

Reorganized Debtor, HCMLP GP LLC, and the Litigation Sub-Trust and is charged with winding

down the Reorganized Debtor over a three-year period by monetizing its assets and making




June 7, 2021) where this court “h[eld] Dondero in civil contempt, sanctioning him $100,000, and comparing this case
to a ‘nasty divorce.’”).
19
   See Highland Ex. 13. The court shall refer to exhibits offered and admitted at the June 8 Hearing on the Motion for
Leave by the Highland Parties as “Highland Ex. ___” and to exhibits offered and admitted by HMIT as “HMIT Ex.
___.”
20
   The Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
was filed on November 24, 2020 (“Disclosure Statement”) [Bankr. Dkt. No. 1473].
21
   The only other objection remaining was the objection of the United States Trustee to the Plan’s exculpation,
injunction, and release provisions.

                                                         11
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        12 of 105
                                                                Page 17 of 678 PageID 23



distributions to Class 8 and Class 9 creditors as Claimant Trust Beneficiaries. The Claimant Trust

is overseen by a Claimant Trust Oversight Board (“CTOB”), and pursuant to the terms of the Plan

and the Claimant Trust Agreement (“CTA”),22 the CTOB approved Seery’s compensation package

as the CEO of the Reorganized Debtor and the Claimant Trustee. Following their acquisition of

their unsecured claims, representatives of Claims Purchasers Muck and Jessup became members

of the CTOB.23 Seery’s compensation included the same base salary that he was receiving as CEO

and CRO of Highland, plus an added incentive bonus tiered to recoveries and distributions to the

creditors under the Plan. The Plan provides for the cancellation of the limited partnership interests

in Highland held by HMIT, Dugaboy, and Okada and his family trusts in exchange for each

holder’s pro rata share of a contingent interest in the Claimant Trust (“Contingent Claimant Trust

Interest”), as holders of allowed interests in Class 10 (holders of Class B/C limited partnership

interests) or Class 11 (holders of Class A limited partnership interests) under the Plan.

     B. Dondero Communicates Alleged Material Non-Public Information (“MNPI”) to Seery,
        and Seery Allegedly Provides the MNPI to the Claims Purchasers in Furtherance of an
        Alleged Fraudulent Scheme to Have the Claims Purchasers “Rubber Stamp” His
        Compensation as Claimant Trustee Post-Confirmation

         1. The December 17, 2020 MGM Email

         Between Dondero’s forced resignation from Highland in October 2020 and the

confirmation hearing in February 2021, Dondero engaged in what appeared to be attempts to

thwart, impede, and otherwise interfere with the Plan being proposed by the Independent Directors

and the Committee. In the midst of this, on December 17, 2020, Dondero sent Seery24 an email

22
   Highland Ex. 38
23
   The CTOB had three members: a representative of Muck (Michael Linn), a representative of Jessup (Christopher
Provost), and an independent member (Richard Katz). See Joint Opposition ¶ 79.
24
   Dondero sent the email to others as well but did not copy counsel for the Independent Directors (including Seery)
in violation of the terms of an existing temporary restraining order that enjoined Dondero from, among other things,
“communicating . . . with any Board member” (including Seery) without including Debtor’s counsel. Morris Dec. Ex.
23 ¶ 2(a). Citations to “Morris Dec. Ex. ” are to the exhibits attached to the Declaration of John A. Morris in Support


                                                          12
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        13 of 105
                                                                Page 18 of 678 PageID 24



(the “MGM Email”) that featured prominently in HMIT’s Motion for Leave. According to HMIT

and Dondero, the MGM Email contained material nonpublic information (“MNPI”) regarding the

possibility of an imminent acquisition of Metro-Goldwyn-Mayer Studios, Inc. (“MGM”), likely

by either Amazon or Apple.25 At the time Dondero sent the MGM Email, Dondero sat on the board

of directors of MGM, and the Debtor owned MGM stock directly. The Debtor also managed and

partially owned a couple of other entities that owned MGM stock and managed various CLOs that

owned some MGM stock as well. HMIT alleges now that Seery later misused and wrongfully

disclosed to the Claims Purchasers this purported MNPI as part of a quid pro quo scheme, whereby

the Claims Purchasers agreed to approve excessive compensation for Seery in the future (in

exchange for him providing this allegedly “insider” information that inspired them to purchase

unsecured claims with an alleged expectation of future large profits).26 A timeline of events (in

late 2020) in the weeks leading up to Dondero’s MGM Email to Seery, following Dondero’s

departure from Highland, helps to put the email in full context:

            October 16: Dondero and his affiliates attempt to impede the Debtor’s trading
             activities by demanding—with no legal basis—that Seery cease selling certain
             assets;27

            November 24: Bankruptcy Court enters an Order approving the Debtor’s
             Disclosure Statement, scheduling the confirmation hearing on the Debtor’s
             Plan for January 13, 2021, and granting related relief;28

            November 24–27: Dondero personally interferes with the Debtor’s

of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint Opposition to
Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding, Bankr. Dkt. No. 3784.
25
   See Proposed Complaint ¶ 45.
26
   See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the [Claims
Purchasers], with material non-public information concerning the value of assets which they then used to purchase the
largest approved unsecured claims.”); ¶ 4 (“As part of the scheme, the [Claims Purchasers] obtained a position to
approve Seery’s ongoing compensation – to Seery’s benefit and also to the detriment of the Claimant Trust, the
Reorganized Debtor, and HMIT.”).
27
   See Highland Ex. 14, Dondero-Related Entities’ October 16, 2020 Letter; Highland Ex. 15, Memorandum Opinion
and Order Holding Dondero in Contempt for Violation of TRO, 13-15.
28
   See Bankr. Dkt. No. 1476.

                                                         13
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        14 of 105
                                                                Page 19 of 678 PageID 25



             implementation of certain securities trades ordered by Seery;29

            November 30: The Debtor provides written notice of termination of certain shared
             services agreements it had with Dondero’s two non-debtor affiliates, NexPoint
             Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund
             Advisors, L.P. (“HCMFA”; together with NexPoint, the “Advisors”);30

            December 3: The Debtor makes written demands to Dondero and certain
             affiliates for payment of all amounts due under certain promissory notes they
             owed to the Debtor, that had an aggregate face amount of more than $60
             million—this was part of creating liquidity for the Debtor’s Plan;31

            December 3: Dondero responds with what appeared to be a threat of some sort to Seery
             in a text message: “Be careful what you do -- last warning;”32

            December 10: Dondero’s interference and apparent threat cause the Debtor to
             seek and obtain a temporary restraining order (“TRO”) against Dondero;33

            December 16: This court denies as “frivolous” a motion filed by certain
             affiliates of Dondero, in which they sought “temporary restrictions” on certain
             asset sales;34 and

            December 17: Dondero sends the unsolicited MGM Email35 to Seery, which
             violates the TRO entered just a week earlier.36



29
   See Highland Ex. 15, 30-36.
30
   Morris Decl. Ex. 17; see also Transcript of June 8, 2023 Hearing on HMIT’s Motion for Leave (“June 8 Hearing
Transcript”), 273:23-24.
31
   Morris Decl. Exs. 18-21; see also June 8 Hearing Transcript, 273:23-274:1.
32
   Morris Decl. Ex. 22 (emphasis added); see also June 8 Hearing Transcript, 273:1-12 (where Seery testified about
receiving the threat from Dondero: “A: [T]his came after he threatened me. He threatened me in writing. I’d never
been threatened in my career. I’ve never heard of anyone else in this business who’s been threatened in their career.
So anything I would get from him, I was going to be highly suspicious.”).
33
   See Morris Decl. Ex. 23, Order Granting Debtor’s Motion for a Temporary Restraining Order Against James
Dondero entered December 10, 2020 [Adv. Pro. No. 20-3190 Dkt. No. 10].
34
   See Morris Decl. Ex. 24, Transcript of December 16, 2020 Hearing, 63:5-64:15.
35
   Highland Ex. 11.
36
   Seery testified at the June 8 Hearing that Dondero knowingly violated the TRO when he sent the MGM Email:
        [The MGM Email] . . . followed the imposition of a TRO for interfering with the business. He knew
        what was in the TRO and he knew what it applied to, and it restricted him from communicating with
        me or any of the other independent directors without Pachulski [Debtor’s counsel] being on it.
        Furthermore, Pachulski had advised Dondero’s counsel that not only could they not communicate
        with us, if they wanted to communicate they had to prescreen the topics. And how do we know that?
        Because Dondero filed a motion to modify the TRO. And that was all before this email.
June 8 Hearing Transcript, 273:13-22.

                                                         14
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       15 of 105
                                                               Page 20 of 678 PageID 26



The MGM Email had the subject line “Trading Restriction re MGM – material non public

information” and stated:

        Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and
        Apple actively diligencing in Data Room. Both continue to express material
        interest. Probably first quarter event, will update as facts change. Note also any
        sales are subject to a shareholder agreement.37

        Seery credibly testified at the June 8 Hearing that he was “highly suspicious” when he

received the MGM Email. This was because, among other reasons, Dondero sent it after: (i)

unsuccessful efforts to impede the Debtor’s trading activities (followed by the TRO); (ii) the “be

careful what you do” text to Seery by Dondero: (iii) Highland’s termination of its shared service

arrangements with Dondero’s various affiliated entities; (iv) the bankruptcy court’s approval of

the disclosure statement; and (v) Highland’s demand to collect on the demand notes for which

Dondero and his entities were liable.38 Highland’s Chapter 11 case was fast approaching the finish

line. Moreover, MGM was already on the restricted list at Highland Capital, and had been for a

long time, and Dondero would know this.39 Still further, as of December 17, 2020 (the date

Dondero sent the unsolicited MGM Email to Seery), Dondero no longer owed a duty of any kind

to the Debtor or any entity controlled by the Debtor, having surrendered in January 2020 direct

and indirect control of the Debtor to the Independent Board as part of the corporate governance

settlement40 and having resigned from all roles at the Debtor and affiliates in October 2020. Still

further, Dondero—to the extent he was sharing with Seery MNPI that he obtained as a member of

the board of directors of MGM—would have been violating his own fiduciary duties to MGM.




37
   Highland Ex. 11.
38
   June 8 Hearing Transcript, 273:1-274:4.
39
   June 8 Hearing, 215:21-216:9.
40
   See Bankr. Dkt. Nos. 339, 354-1 (Term Sheet)).

                                                    15
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        16 of 105
                                                                Page 21 of 678 PageID 27



         In any event, in a declaration filed by Dondero in support of HMIT’s Rule 202 petition in

Texas state court for pre-suit discovery,41 he indicated that his goal in sending the MGM E-mail

was to impede the Debtor and Seery from engaging in any transactions involving MGM:

         On December 17, 2020, I sent an email to employees at HCM, including the then
         Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
         public information regarding Amazon and Apple’s interest in acquiring MGM. I
         became aware of this information due to my involvement as a member of the board
         of MGM. My purpose was to alert Seery and others that MGM stock, which was
         owned either directly or indirectly by HCM, should be on a restricted list and not
         be involved in any trades.

         It is noteworthy that Dondero’s labeling of the MGM Email (in the subject line) as a

communication containing “material non public information” did not make it so. In fact, it

appears from the credible evidence presented at the June 8, 2023 hearing on HMIT’s Motion for

Leave that the MGM Email did not disclose information to Seery that was not already made available

to the public at the time it was sent. Seery testified that he did not think the MGM Email contained

MNPI and that he did not personally “take any steps . . . to make sure that MGM stock was placed

on a restricted list at Highland Capital after [he] received [the MGM Email]” because—as earlier

noted—“MGM was already on the restricted list at Highland Capital . . . before I got to

Highland.”42 Indeed, MGM was ultimately purchased by Amazon after a sale process that had

been quite publicly discussed in media reports for several months43 and that was officially


41
   Highland Ex. 9 ¶ 3 (emphasis added).
42
   June 8 Hearing Transcript, 215:21-216:9. Seery elaborated upon further questioning from HMIT’s counsel that he
did not think the indications in the MGM Email (that came from a member of the board of directors of MGM) that “it
was probably a first-quarter event” and that “Amazon and Apple were actively diligencing – are diligencing in the
data room, both continue to express material interest” were not MNPI. Id., 217:23-218:10. He testified that “it was
clear [before he received the MGM Email] from the media reports and the actual quotes from Kevin Ulrich of
Anchorage, who was the chairman at MGM, that a transaction would have to take place very quickly. And, in fact,
the transaction did not take place in the first quarter.” Id., 219:3-7.
43
   See Highland Ex. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
. MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
(article dated 1/26/20); Highland Ex. 26 (describing prospects of an MGM sale, noting that, among its largest


                                                         16
 Case 19-34054-sgj11          Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E          Document
                               Main Document
                                       1-1 FiledPage
                                                  09/15/23
                                                      17 of 105
                                                              Page 22 of 678 PageID 28



announced to the public in late May 2021 (just a few weeks after the Claims Purchasers purchased

some of their claims, but a few months before certain of their claims—the UBS claims—were

purchased).44 For example, as early as January 2020, Apple and Amazon were identified as being

among a new group of “Big 6” global media companies, and MGM was identified as being a

leading media acquisition target. Indeed, according to at least one media report on January 26,

2020, “MGM, in particular, seems like a logical candidate to sell this year” having already held

“preliminary talks with Apple, Netflix and other larger media companies.”45 In October 2020, the

Wall Street Journal reported that MGM’s largest shareholder, Anchorage Capital Group

(“Anchorage”), was facing mounting pressure to sell the company. Anchorage was led by Kevin

Ulrich, who also served as Chairman of MGM’s Board. The article reported that “[i]n recent

months, Mr. Ulrich has said he is working toward a deal,” and he specifically named Amazon and

Apple as being among four possible buyers.46 Thus, no one following the MGM story would have

been surprised to learn in December 2020 that Apple and Amazon were conducting due diligence

and had expressed “material interest” in acquiring MGM. Dondero testified during the June 8

Hearing that, at the time he sent the MGM Email, he “knew with certainty from the board level

that Amazon had hit our price, and it was going to close in the next couple of months,”47 that “as

of December 17th, Amazon had made an offer that was acceptable to MGM, [and that] that’s what

the board meeting was. We were going into exclusive negotiations to culminate the merger with




shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exs. 27-30 &
34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
announcing sale to Amazon on May 26, 2021, for $8.4 billion).
44
   The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.
45
   Highland Ex. 25.
46
   Highland Ex. 26.
47
   June 8 Hearing Transcript, 127:2-4.

                                                      17
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          18 of 105
                                                                  Page 23 of 678 PageID 29



them.”48 Notwithstanding this testimony, Dondero eventually admitted (after a lengthy and

torturous cross examination) that he did not actually communicate this supposed “inside”

information to Seery in the MGM Email. He did not “say anything about Amazon hitting the

price.” He did not say anything about the MGM board going into exclusive negotiations with

Amazon “to culminate the merger with them.” Rather, he communicated information that Seery

and any member of the public who cared to look could have gleaned from publicly available

information as of December 17, 2020, regarding a much-written-about potential MGM transaction

that involved interest from numerous companies, including, specifically, Amazon and Apple.

When questioned why “[he felt] the need to mention Apple [in the MGM Email] if Amazon had

already hit the price,” Dondero simply answered, “The only way you generally get something done

at attractive levels in business is if two people are interested,” suggesting that he specifically did

not communicate the purported inside information he obtained as a MGM board member—that

Amazon had met MGM’s strike price and that the MGM board was moving forward with exclusive

negotiations with Amazon—because he wanted it to appear that there was still a competitive

process going on that included both Amazon and Apple.49

           Even if the MGM Email contained MNPI on the day it was sent (four months prior to the

first of the Claim Purchases that occurred in April 2021), the information was fully and publicly

disclosed to the market in the days and weeks that followed. For example, on December 21, 2020,

just four days later, a Wall Street Journal article titled MGM Holdings, Studio Behind ‘James

Bond,’ Explores a Sale, reported that MGM had “tapped investment banks Morgan Stanley and

LionTree LLC and begun a formal sale process,” and had “a market value of around $5.5 billion,

based on privately traded shares and including debt.” The Wall Street Journal Article reiterated

48
     Id., 161:10-14.
49
     June 8 Hearing Transcript, 162:2-6.

                                                  18
 Case 19-34054-sgj11         Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E         Document
                              Main Document
                                      1-1 FiledPage
                                                 09/15/23
                                                     19 of 105
                                                             Page 24 of 678 PageID 30



that (i) Anchorage “has come under pressure in recent years from weak performance and defecting

clients, and its illiquid investment in MGM has become a larger percentage of its hedge fund as it

shrinks,” and (ii) “Mr. Ulrich has told clients in recent months he was working toward a deal for

the studio and has spoken of big technology companies as logical buyers.”50 (Id. Ex. 27.) The

Wall Street Journal’s reporting was picked up and expanded upon in other publications soon after.

For example:

            On December 23, 2020, Business Matters published an article specifically
             identifying Amazon as a potential suitor for MGM. The article, titled The world is
             net enough! Amazon joins other streaming services in £4bn bidding war for Bond
             films as MGM considers selling back catalogue, cited the Wall Street Journal article
             and further reported that MGM “hopes to spark a battle that could interest streaming
             services such as Amazon Prime”;51

            On December 24, 2020, an article in iDropNews specifically identified Apple as
             entering the fray. In an article titled Could Apple be Ready to Gobble Up MGM
             Studios Entirely?, the author observed that “it’s now become apparent that MGM is
             actually up on the auction block,” noting that the Wall Street Journal was “reporting
             that the studio has begun a formal sale process” and that Apple—with a long history
             of exploratory interest in MGM—would be a likely bidder;52 and

            On January 15, 2021, Bulwark published an article entitled MGM is For Sale (Again)
             that identified attributes of MGM likely to appeal to potential purchasers and
             handicapped the odds of seven likely buyers—with Apple and Amazon named as two
             of three potential buyers most likely to close on an acquisition.53

         Finally, Highland and entities it controlled did not sell their MGM stock while the MGM-

Amazon deal was under discussion and/or not made public but, instead, they tendered their MGM

holdings in connection with, and as part of, the ultimate MGM-Amazon transaction after it closed

in March 2022.




50
   Highland Ex. 27.
51
   Highland Ex. 28.
52
   Highland Ex. 29.
53
   Highland Ex. 30.

                                                  19
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        20 of 105
                                                                Page 25 of 678 PageID 31



         2. No Evidence to Support HMIT/Dondero’s Assumptions that Seery Shared Alleged
            MNPI in the MGM Email with Claims Purchasers

         One of HMIT’s allegations in the Proposed Complaint it seeks leave to file—which is

central to HMIT’s and Dondero’s conspiracy theory—is that Seery shared the alleged MNPI from

the MGM Email with the Claims Purchasers (or at least Farallon—the owner/affiliate of Muck,

one of the Claims Purchasers) and that the Claims Purchasers only acquired the purchased claims

(“Purchased Claims”) based on, and because, of their receipt of the MNPI from Seery. HMIT

essentially admits in the original version of its Motion for Leave that it has no direct evidence that

Seery communicated the alleged MNPI to any of the Claims Purchasers. Rather, its allegation is

based on inferences it wants the court to make based on “circumstantial” evidence and on the

Dondero Declarations that were attached to the Motion for Leave, which described

communications Dondero purportedly had with one or two representatives of Farallon in the “late

spring” of 2021 concerning Farallon’s recent acquisition of certain claims in the Highland

bankruptcy case.54 Based on these communications, HMIT and Dondero only assume Seery must

have provided the MNPI about MGM to Farallon, which must have caused both Farallon and the

other Claims Purchaser, Stonehill, to acquire the Purchased Claims.55

         At the June 8 Hearing, HMIT offered Dondero’s testimony that he had three telephone

conversations with two representatives of Farallon, Mike Linn (“Linn”) and Raj Patel (“Patel”),



54
   Motion for Leave (Bankr. Dkt. No. 3699) ¶ 1 and Ex. 3; see also Highland Ex. 9, Declaration of James Dondero
(with Exhibit 1) dated February 15, 2023.
55
   Motion for Leave (Bankr. Dkt. No. 3699) ¶ 28. HMIT subsequently filed the final version of the Motion for Leave
that was revised to withdraw the Dondero Declarations and delete all references therein to the Dondero Declarations
(but, notably, leaving in the allegations that were based on the Dondero Declaration(s)). This was done after the court
ruled that it would allow the Proposed Defendants to examine Dondero regarding his Declarations. HMIT contended
at that point that the court should consider the Motion for Leave on a no-evidence Rule 12(b)(6) type basis (but could
not explain why it had attached the Dondero Declarations as evidence that “supported” the Motion for Leave, if it
believed no evidence should be considered). See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 28; see also infra pages
45 to 47 regarding the “sideshow” litigation that occurred prior to the June 8 Hearing over whether the hearing on the
Motion for Leave would be an evidentiary hearing.

                                                          20
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         21 of 105
                                                                 Page 26 of 678 PageID 32



who allegedly told him that they purchased the claims without conducting any due diligence and

based solely on Seery’s assurances that the claims were valuable. These conversations allegedly

took place on May 28, 2021—two days after the MGM-Amazon deal was officially announced to

the public (on May 26, 2021). Dondero also testified that a photocopy of handwritten notes

(“Dondero Notes”)56 (which were partially cut off) were notes he took contemporaneously with

these short telephone conversations he initiated (one with Patel and two follow-up conversations

with Linn).57 He testified that his purpose in taking these notes and in initiating the phone calls

was that “[w]e’d been trying nonstop to settle the case for two-plus years. . . . [a]nd when we heard

the claims traded, we realized there were new parties to potentially negotiate to resolve the case

. . . [s]o I reached out [to] the Farallon guys,”58 and further, on voir dire from the Proposed

Defendants’ counsel, that the purpose of taking the notes was so that he had “a written record of

the important points that [he] discussed . . . so I know how to address it the next time.”59 The

handwritten notes60 stated:

          Raj Patel bought it because of Seery               1
          50-70¢ not compelling                              2
             Class 8                                        3
          Asked what would be compelling                     4
          -- No Offer                                        5
          Bought in Feb/March timeframe                      6
                 Bought assets w/ Claims                     7
            Offered him 40-50% premium                      8
          130% of cost; “Not Compelling”                     9
          No Counter; Told Discovery coming                 10

56
   HMIT Ex. 4. The handwritten notes were admitted into evidence after voir dire, not for the truth of anything Patel
or Linn allegedly said to him during the three telephone conversations, but as Dondero’s “present sense impression”
of the telephone conversations.
57
   June 8 Hearing Transcript, 133:1-136:3.
58
   See id., 133:13-23.
59
   See id. (on voir dire), 144:1838-145:4.
60
   HMIT Ex. 4. The court has placed in a table and numbered each line for ease of reference. The table does not
include the separate apparent partial date from the top left corner that Dondero testified was the date that he made the
initial call to Patel: May 28, 2021.

                                                          21
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       22 of 105
                                                               Page 27 of 678 PageID 33



        On direct examination, Dondero testified that line 1 is what he wrote contemporaneously

with the short call he initiated to Patel of Farallon in which Patel allegedly told Dondero “that he

bought it because Seery told him to buy it and they had made money with Seery before”61 and that

Farallon “bought [the claim] because he was very optimistic regarding MGM”62 before referring

him to Linn, a portfolio manager at Farallon. Dondero testified that the rest of the handwritten

notes (reflected in lines 2 through 10 of the table) were notes he took contemporaneously with two

telephone conversations he had with Linn following his call to Patel, with lines 2-8 referring to

Dondero’s first call with Linn and lines 9 and 10 referring to his second call with Linn.63 Dondero

testified that the “50-70¢” in line 2 referred to his offer to Linn to pay 70 cents on the dollar to buy

Farallon’s64 claims because “[w]e knew that they had – that the claims had traded around 50 cents”

and “[w]e wanted to prevent the $5 million-a-month burn” (referring to attorney‘s fees in the

Highland case) and that “not compelling Class 8” in lines 2-3 referred to Linn’s response to him

that the offer was not compelling.65 Dondero testified that lines 4-5 referred to him asking Linn

what amount would be compelling and to Linn’s response that “he had no offer.”66 Dondero

testified that lines 6-8 referred to Linn telling Dondero that Farallon bought the claims in the

February, March timeframe and that Dondero told Linn that, given that the estate was spending $5

million a month on legal fees, Farallon should want to sell its claims and Linn’s alleged response

that “Seery told him it was worth a lot more.”67 Lastly, Dondero testified on direct examination




61
   June 8 Hearing Transcript, 134:7-10, 135:13-22.
62
   Id., 139:3-11.
63
   Id., 136:4-138:16.
64
   As noted above, Farallon did not acquire any of the Purchased Claims; rather, Farallon created a special purpose
entity, Muck, to acquire the claims.
65
   June 8 Hearing Transcript, 136:4-16.
66
   Id., 136:17-23.
67
   Id., 137:6-138:7.

                                                        22
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        23 of 105
                                                                Page 28 of 678 PageID 34



that the last two lines referred to a second telephone conversation he had with Linn in which

Dondero offered 130 percent of cost for the claims and that Linn told him that the offer was not

compelling, and he would not give a price at which he would sell.68

        On cross-examination, Dondero acknowledged that, though he had testified that the

handwritten notes were intended to be a written record of the important points from the telephone

conversations he had with Patel and Linn, there was no mention in the notes of: (1) MGM: (2) or

that Farallon was very optimistic about MGM; (3) the sharing of MNPI; (4) a quid pro quo; or

(5) Seery’s compensation, and that his last note—“Told Discovery coming”—was a reference to

Dondero telling Linn (not Linn telling Dondero) that discovery was coming in response to

Dondero’s own supposition that Farallon must have traded on MNPI.69 Cross-examination also

revealed that Farallon never told Dondero that Seery gave them MNPI, and that Dondero only

believed Seery must have given Farallon MNPI, because Farallon (Patel and Linn) had told him

that the only reason Farallon bought their claims was because of their prior dealings with Seery,

which Dondero took to mean that they had conducted no due diligence on their own prior to

acquiring the claims. Dondero also testified that he did not have any personal knowledge as to

how Seery’s compensation package, as CEO of the Reorganized Debtor and Claimant Trustee,

was determined because he was “not involved” in the setting of Seery’s compensation pursuant to

the Claimant Trust70 and that he never discussed Seery’s compensation with Farallon.71

        As noted earlier, Dondero attempted to obtain discovery from the Claims Purchasers in a

Texas state court pursuant to Rule 202 of the Texas Rules of Civil Procedure. The Texas state



68
   Id., 138:8-22.
69
   Id., 190:14-191:25. Dondero testified that he told Linn that discovery “would be coming in the next few weeks” and
noted that “this has been a couple years. . . . [w]e’ve been trying for two years to get . . . discovery in this.”
70
   Id., 200:13-201:1.
71
   Id., 208:23-209:8.

                                                         23
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        24 of 105
                                                                Page 29 of 678 PageID 35



court denied the First Rule 202 petition on June 1, 2022, after having considered the amended

petition, the responses, the record, applicable authorities and having conducted a hearing on the

petition on June 1, 2022.72

        3. Dondero Unsuccessfully Seeks Discovery and to Have Various Agencies and Courts
           Outside of the Bankruptcy Court Acknowledge His Insider Trading Theories

        Dondero acknowledged at the June 8 Hearing that the verified petition (“First Rule 202

Petition”) he signed and filed on July 22, 2021, in the first Texas Rule 202 proceeding—just weeks

after his telephone calls with Linn and Patel—was true and accurate. In it, he swore under oath as

to what Linn told him in the telephone call concerning Farallon’s purchase of the claims, and the

only reason he gave for wanting discovery was that Linn told him Farallon bought the claims “sight

unseen—relying entirely on Seery’s advice solely because of their prior dealings.”73 Dondero

acknowledged, as well, that his sworn statement that he filed in support of an amended verified

Rule 202 petition filed in the same Texas Rule 202 proceeding, but nearly ten months later (in May

2022), described the same telephone conversation he had with Linn, and it did not mention MGM

at all and did not say that Linn told him that Seery gave him MNPI; rather, the sworn statement

stated only that “On a telephone call between Petitioner and Michael Lin[n], a representative of

Farallon, Mr. Lin[n] informed Petitioner that Farallon had purchased the claims sight unseen and

with no due diligence—100% relying on Seery’s say-so because they had made so much money

in the past when Seery told them to purchase claims” and that Linn did not tell him that Seery gave

them MNPI, but he concluded that Seery gave Farallon MNPI based on what Linn did tell him.74



72
   Highland Ex. 7.
73
   Id., 193:8-194:16; Highland Ex. 3, Verified Petition to Take Deposition before Suit and Seek Documents, ¶ 21. The
first Texas Rule 202 proceeding in which Dondero sought discovery regarding the Farallon acquisition of its claims
was brought by Dondero, individually, in the 95th Judicial District, Dallas County, Texas.
74
   Id., 195:11-197:17; Highland Ex. 4, Amended Verified Petition to Take Deposition before Suit and Seek Documents,
¶ 23.

                                                        24
 Case 19-34054-sgj11         Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E         Document
                              Main Document
                                      1-1 FiledPage
                                                 09/15/23
                                                     25 of 105
                                                             Page 30 of 678 PageID 36



Nine days later, Dondero filed a declaration in the same proceeding, in which he described the

same call with Linn as follows:75

         Last year, I called Farallon’s Michael Lin[n] about purchasing their claims in the
         bankruptcy. I offered them 30% more than what they paid. I was told by Michael
         Lin[n] of Farallon that they purchased the interests without doing any due diligence
         other than what Mr. James Seery—the CEO of Highland—told them, and that he
         told them that the interests would be worth far more than what Farallon paid. Given
         the value of those claims that Seery had testified in court, it made no sense to me
         that Mr. Lin[n] would think that the claims were worth more than what Seery
         testified under oath was the value of the bankruptcy claims.

Dondero further stated in his declaration that “I have an interest in ensuring that the claims

purchased by [Farallon] are not used as a means to deprive the equity holders of their share of the

funds,” and that “[i]t has become obvious that despite the fact that the bankruptcy estate has enough

money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to drain the

bankrupt estate and deprive equity of their rights. Accordingly, “I commissioned an investigation

by counsel who have been in communication with the Office of the United States Trustee.”76

Dondero attached as Exhibit A to his declaration a letter from Douglas Draper (“Draper”), an

attorney with the law firm of Heller, Draper & Horn, L.L.C. in New Orleans, to the office of the

General Counsel, Executive Office for U.S. Trustees, dated October 5, 2021, in which Draper

opens the letter by stating that “[t]he purpose of this letter is to request that your office investigate

the circumstances surrounding the sale of claims by members of the [Creditors’ Committee] in the

bankruptcy of [Highland],” and later noted that he “became involved in Highland’s bankruptcy

through my representation of [Dugaboy], an irrevocable trust of which Dondero is the primary

beneficiary.”77 Mr. Draper laid out the same allegations of insider claims trading, breach of




75
   Highland Ex. 5, ¶ 2.
76
   Id., ¶¶ 3-4.
77
   Id., Ex. A, 1-2.

                                                   25
 Case 19-34054-sgj11        Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E        Document
                             Main Document
                                     1-1 FiledPage
                                                09/15/23
                                                    26 of 105
                                                            Page 31 of 678 PageID 37



fiduciary duties, and conspiracy that HMIT seeks to bring in the Proposed Complaint.78 The U.S.

Trustee’s office took no action. Dondero made a second and third attempt to get the U.S. Trustee’s

office to conduct an investigation into the same allegations laid out in Draper’s letter, this time in

“follow-up” letters to the Office of the U.S. Trustee on November 3, 2021, and six months later,

on May 11, 2022, through another lawyer, Davor Rukavina (“Rukavina”), in which Rukavina

wrote “to provide additional information regarding the systemic abuses of bankruptcy process

occasioned during the [Highland] bankruptcy.”79 Again, the U.S. Trustee’s office took no action.

         On February 15, 2023, Dondero filed yet another sworn statement about his alleged

conversation with Linn, this time in support of a Verified Rule 202 Petition filed by HMIT

(“Second Rule 202 Petition”), filed in a different Texas state court (Texas District Court, 191st

Judicial District, Dallas County, Texas), following Dondero’s unsuccessful attempts throughout

2021 and 2022 to obtain discovery in the First Rule 202 proceeding and based on the same

allegations of misconduct by Seery and Farallon.80         In this new sworn statement, Dondero

describes for the first time the “call” he had with Linn as having been “phone calls” with Patel and

Linn and mentions MGM and Farallon’s alleged optimism about the expected sale of MGM:81

         In late Spring of 2021, I had phone calls with two principals at Farallon Capital
         Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
         calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
         purchase the Acis and HarbourVest claims, which I understood to refer to claims
         that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
         Mr. Linn stated that Farallon agreed to purchase these claims based solely on
         conversations with Seery because they had made significant profits when Seery told
         them to purchase other claims in the past. They also stated that they were
         particularly optimistic because of the expected sale of MGM.




78
   Id., Ex. A, 6-11.
79
   HMIT Ex. 61.
80
   Highland Ex. 9.
81
   Id., ¶ 4.

                                                 26
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        27 of 105
                                                                Page 32 of 678 PageID 38



The Second Rule 202 Petition was also denied by the second Texas state court on March 8, 2023.82

        HMIT, in an apparent attempt to provide support for its argument that the Proposed Claims

are “colorable,” stated in its Motion for Leave that “[t]he Court also should be aware that the Texas

States [sic] Securities Board (“TSSB”) opened an investigation into the subject matter of the

insider trades at issue, and this investigation has not been closed. The continuing nature of this

investigation underscores HMIT’s position that the claims described in the attached Adversary

Proceeding are plausible and certainly far more than merely ‘colorable.’”83 But, two days before

opposition briefing was due, on May 9, 2023, the TSSB issued a letter (“TSSB Letter”) to

Highland, informing it that “[t]he staff of the [TSSB] has completed its review of the complaint

received by the Staff against [Highland]. The issues raised in the complaint and information

provided to our Agency were given full consideration, and a decision was made that no further

regulatory action is warranted at this time.”84 HMIT’s counsel (frankly, to the astonishment of the

court) objected to the admission of the TSSB Letter at the June 8 Hearing “on the grounds of

relevance, 403, hearsay, and authenticity . . . [a]nd I also . . . think it's important that the decision

by a regulatory body has no bearing on this cause of action or the colorability of this claim, and

the Texas State Securities Board will tell you that. This is completely and utterly irrelevant to your

inquiry.”85 The court overruled HMIT’s objection to the relevance of this exhibit—considering,

among other things, that HMIT, in its Motion for Leave, specifically mentioned the allegedly open

TSSB “investigation” as relevant evidence the court “should be aware” of in making its

determination of whether the Proposed Claims were “colorable.”86


82
   Highland Ex. 10.
83
   Motion for Leave, ¶ 37.
84
   See Highland Ex. 33.
85
    June 8 Hearing Transcript, 323:22-324:3.
86
   Id., 324:4-328:2.

                                                   27
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       28 of 105
                                                               Page 33 of 678 PageID 39



     C. Claims Purchasers Purchase Claims and File Notices of Transfers of Claims

        To be clear about the time line here, it was after confirmation of the Plan but prior to the

Effective Date of the Plan, that the Claims Purchasers: (1) purchased several large unsecured

claims that had been allowed following, and as part of, Rule 9019 settlements, each of which were

approved by the bankruptcy court, after notice and hearing, prior to the confirmation hearing; and

(2) filed notices of the transfers of those claims pursuant to Rule 3001(e)(2) of the Federal Rules

of Bankruptcy Procedure. The noticing of the claims transfers began on April 16, 2021, with the

notice of transfer of the claim held by Acis Capital Management to Muck, and ended on August

9, 2021, with the notices of transfers of the claims held by UBS Securities to Muck and Jessup:

     Claimant(s)                Date Filed/     Asserted Amount                Claim                Date Filed/
                                Claim No.                                Settled/Allowed?          Rule 3001
                                                                          If so, Amount            Notice Dkt.
                                                                                                       No.
Acis Capital Management          12/31/2019     $23,000,000             Yes87                  4/16/2021
LP and Acis Capital              Claim No.                                                     Bankr. Dkt. No.
Management, GP LLC                  23                                  $23,000,000            2215
(together, “Acis”)                                                                             (Muck)
Redeemer Committee of             4/3/2020      $190,824,557            Yes88                  4/30/2021
the Highland Crusader              Claim                                                       Bankr. Dkt. No.
Fund (the “Redeemer               No. 72                                $137,696,610           2261
Committee”)                                                                                    (Jessup)
HarbourVest 2017 Global           4/8/2020      Unliquidated            Yes89                  4/30/2021
Fund, LP, HarbourVest                                                                          Bankr. Dkt. No.
2017 Global AIF, LP,            Claim Nos.                              $80,000,000 in         2263
HarbourVest Partners LP,         143, 147,                              aggregate              (Muck)
HarbourVest Dover Street         149, 150,                              ($45,000,000
IX Investment LP, HV             153, 154                               General
International VIII                                                      Unsecured
Secondary LP,                                                           Claim, and
HarbourVest Skew Base                                                   $35,000,000
AIF LP (the “HarbourVest                                               subordinated claim)
Parties”)



87
   Bankr. Dkt. No. 1302. The Debtor’s settlement with Acis was approved over the objection of Dondero. Bankr. Dkt.
No. 1121.
88
   Bankr. Dkt. No. 1273.
89
   Bankr. Dkt. No. 1788. The Debtor’s settlement with the HarbourVest Parties was approved over the objections of
Dondero, Bankr. Dkt. No. 1697, and Dugaboy and the Get Good Trust. Bankr. Dkt. No. 1706.

                                                       28
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        29 of 105
                                                                Page 34 of 678 PageID 40



UBS Securities LLC, UBS           6/26/2020      $1,039,957,799.40       Yes90                   8/9/2021
AG, London Branch (the                                                                           Bankr. Dkt. No.
“UBS Parties”)                   Claim Nos.                              $125,000,000 in         2698
                                  190, 191                               aggregate               (Muck) and
                                                                         ($65,000,000            Bankr. Dkt. No.
                                                                         General                 2697
                                                                                                 (Jessup)


            HMIT insists that it “made no sense” for the Claims Purchasers to buy the Purchased

Claims because “the publicly available information [] did not offer a sufficient potential profit to

justify the publicly disclosed risk,” and “their investment was projected to yield a small return with

virtually no margin for error.”91 Dondero testified that it was his view that there was insufficient

information in the public to justify the claims purchases.92 But, HMIT’s arguments here are

contradicted by the information that was publicly available to Farallon and Stonehill at the time of

their purchases and by HMIT’s own allegations. In advance of Plan confirmation, Highland

projected that Class 8 general unsecured creditors would recover 71.32% on their allowed claims.

In the Proposed Complaint, HMIT sets forth the amounts the Claims Purchasers purportedly paid

for their claims.93 Taking into account the face amount of the allowed claims, the Claims

Purchasers’ projected profits (in millions of dollars) were as follows:

                                              Ascribed                                  Purchase       Projected
      Creditor        Class 8     Class 9     Value94             Purchaser              Price          Profit

     Redeemer        $137.0       $0.0        $97.71         Stonehill                  $78.0          $19.71

     Acis             $23.0       $0.0        $16.4          Farallon                   $8.0           $8.40


90
   Bankr. Dkt. No. 2389. The Debtor’s settlement with the UBS Parties was approved over the objections of Dondero,
Dkt. No. 2295, and Dugaboy and the Get Good Trust. Bankr. Dkt. Nos. 2268, 2293.
91
   Proposed Complaint, ¶ 3.
92
   June 8 Hearing Transcript, 187:3-7 (“Q: And it’s your testimony that there wasn’t sufficient information in the
public for them to buy – this is your view – that there wasn’t sufficient information in the public to justify their
purchases. Is that your view? A: Correct.).
93
   Id., ¶ 42.
94
   “Ascribed Value” is derived by multiplying the Class 8 amount by the projected recovery of 71.32% for that class.

                                                        29
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       30 of 105
                                                               Page 35 of 678 PageID 41



     HarbourVest     $45.0       $35.0       $32.09         Farallon                  $27.0         $5.09

     UBS             $65.0       $60.0       $46.39         Stonehill & Farallon      $50.0         ($3.61)

As HMIT acknowledges, by the time Dondero spoke with Farallon in the “late spring” of 2021,

the Claims Purchasers had acquired the allowed claims previously held by Acis, Redeemer, and

HarbourVest.95 Based on an aggregate purchase price of $113 million for these three claims, the

Claims Purchasers would have expected to net over $33 million in profits, or nearly 30% on their

investment, had Highland met its projections. The Claims Purchasers would make even more

money if Highland beat its projections, because they also purchased the Class 9 claims and would

therefore capture any upside. In this context, HMIT’s and Dondero’s assertions that it did not

“make any sense” for the Claims Purchasers to purchase their claims when they did does not pass

muster—given the publicly available information about potential recoveries under the Plan.

Dondero even acknowledged, on cross-examination, that he was prepared to pay 30 percent more

than Farallon had paid, even though he did not think there was sufficient public information

available to justify Farallon’s purchase of the claims.96 Dondero essentially testified that he

wanted to purchase Farallon’s claims because he wanted to be in a position of control to force a

settlement or resolution of the bankruptcy case, post-confirmation, under terms acceptable to him.

He did not want to try to settle by negotiating with Farallon and Stonehill as creditors, but instead

he wanted to purchase the claims because “if we owned all the claims, it would settle the case.”97




95
   See Complaint, ¶ 41 n.12. The UBS claims were not acquired until August 2021, long after the alleged “quid pro
quo” was supposedly agreed upon and the MGM-Amazon deal was announced in the press in late May 2021. See,
Highland Ex. 34, Amazon’s $8.45 Billion Deal for MGM is Historic But Feels Mundane (dated May 26, 2021).
96
   June 8 Hearing Transcript, 187:8-11.
97
   Id., 187:12-189:10.

                                                       30
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         31 of 105
                                                                 Page 36 of 678 PageID 42



       D. Fifth Circuit’s Approval of the Gatekeeper Provision in Plan, Recognition of Res Judicata
          Effect of the Prior Gatekeeper Orders, and the Bankruptcy Court’s Order Approving
          Highland’s Motion to Conform Plan

           Harkening back to February 22, 2021, after a robust confirmation hearing, this court

entered its order confirming the Plan, over the objections of Dondero and Dondero-Related Parties,

specifically questioning the good faith of their objections. The court found, after noting “the

remoteness of their economic interests” that “[it] has good reason to believe that [the Dondero

Parties] are not objecting to protect economic interests they have in the Debtor but to be disruptors.

Dondero wants his company back. This is understandable, but it is not a good faith basis to lob

objections to the Plan.”94 The Plan became effective on August 11, 2021.

           Of relevance to the Motion for Leave, the confirmed Plan included certain exculpations,

releases, and injunctions designed to protect the Debtor and other bankruptcy participants from

bad-faith litigation. These participants included: Highland’s employees (with certain exceptions);

Seery as Highland’s CEO and CRO; Strand (after the appointment of the Independent Directors);

the Independent Directors; the successor entities; the CTOB and its members; the Committee and

its members; professionals retained in the case; and all “Related Persons.” The injunction

provisions contained a Gatekeeper Provision which is similar to the gatekeeper provisions in the

prior Gatekeeper Orders in that it provided that the bankruptcy court will act as a “gatekeeper” to

screen and prevent bad-faith litigation against the Protected Parties. The Gatekeeper Provision in

the Plan states, in pertinent part:98

           No Enjoined Party may commence or pursue a claim or cause of action of any kind
           against any Protected Party that arose or arises from or is related to the Chapter 11
           Case . . . without the Bankruptcy Court (i) first determining, after notice and a
           hearing, that such claim or cause of action represents a colorable claim of any kind,
           including, but not limited to, negligence, bad faith, criminal misconduct, willful
           misconduct, fraud, or gross negligence against a Protected Party and (ii) specifically


98
     Plan, 50-51 (emphasis added).

                                                    31
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         32 of 105
                                                                 Page 37 of 678 PageID 43



         authorizing such Enjoined Party to bring such claim or cause of action against such
         Protected Party.

The Plan defines Protected Parties as,

         collectively, (i) the Debtor and its successors and assigns, direct and indirect
         majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii)
         Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
         Committee, (vii) the members of the Committee (in their official capacities), (viii)
         the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the
         Litigation Trustee, (xii) the members of the [CTOB] (in their official capacities),
         (xiii) [HCMLP GP LLC], (xiv) the Professionals retained by the Debtor and the
         Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
         Persons of each of the parties listed in (iv) through (xv); [but excluding Dondero
         and Okada and various entities including HMIT and Dugaboy].

The court notes that the Gatekeeper Provision in the Plan provides protection to a broader number

of persons than the persons protected under the January 2020 Order (addressing the Independent

Directors and their agents and advisors) and the July 2020 Order (addressing Seery in his role as

CEO and CRO of the Debtor). But, at the same time, it is less restrictive than the gatekeeping

provisions under the Gatekeeper Orders, in that the gatekeeping provisions in the prior orders

shield the protected parties from any claim that is not both “colorable” and a claim for “willful

misconduct or gross negligence,” effectively providing the protected parties under the prior orders

with a limited immunity from claims of simple negligence or breach of contract that do not rise to

the level of “willful misconduct or gross negligence,” whereas the Gatekeeping Provision under

the Plan does not act as a release or exculpation of the Protected Parties in any way because it does

not prohibit any party from bringing any kind of claim against a Protected Party, provided the

proposed claimant first obtains a finding in the bankruptcy court that its proposed claims are

“colorable.”99




99
  It should be noted that--as discussed further below--there are, separately in the Plan, exculpations as to a smaller
universe of persons--e.g., the Debtor, the Committee and its members, and the Independent Directors.

                                                          32
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         33 of 105
                                                                 Page 38 of 678 PageID 44



         Dondero and some of the entities under his control appealed100 the Confirmation Order

directly to the Fifth Circuit, arguing, among other issues, that the Plan’s exculpation, release, and

injunction provisions, including the Gatekeeper Provision (collectively, the “Protection

Provisions”) impermissibly provide certain non-debtor bankruptcy participants with a discharge,

purportedly in contravention of the provisions of Bankruptcy Code § 524(e)’s statutory bar on non-

debtor discharges. As noted above, the Fifth Circuit, “affirm[ed] the confirmation order in large

part” and “reverse[d] only insofar as the plan exculpates certain non-debtors in violation of 11

U.S.C. § 524(e), strik[ing] those few parties from the plan’s exculpation, and affirm[ed] on all

remaining grounds.”101 The Fifth Circuit specifically found the “injunction and gatekeeping

provisions [to be] sound” and found that it was only “the exculpation of certain non-debtors” that

“exceed[ed] the bankruptcy court’s authority,” agreeing with the bankruptcy court’s conclusions

that the Protection Provisions were legal, necessary under the circumstances, and in the best

interest of all parties” in part, and only disagreeing to the extent that the exculpation provision

improperly extended to certain bankruptcy participants other than Highland, the Committee and

its members, and the Independent Directors and “revers[ing] and strik[ing] the few unlawful parts


100
    On appeal, the appellant funds (“Funds”), whom this court found to be “owned and/or controlled” by Dondero
despite their purported independence, also asked the Fifth Circuit to vacate this court’s factual finding “because it
threatens the Funds’ compliance with federal law and damages their reputations and values” and because “[a]ccording
to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely independent from
him.” NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital Mgmt., L.P.), 48 F.4th at 434.
Applying the “clear error” standard of review, the Fifth Circuit “le[ft] the bankruptcy court’s factual finding
undisturbed” because “nothing in this record leaves us with a firm and definite conviction that the bankruptcy court
made a mistake in finding that the Funds are ‘owned and/or controlled by [Dondero].” Id. at 434-35.
101
    See supra note 4. The Fifth Circuit replaced its initial opinion with its final opinion a few days after certain
appellants had filed a short (four-and-one-half pages) motion for rehearing (the “Motion for Rehearing”) on September
2, 2022. The movants had asked the Fifth Circuit to “narrowly amend the [initial] Opinion in order to confirm the
Court’s holding that the impermissibly exculpated parties are similarly struck from the protections of the injunction
and gatekeeper provisions of the plan (in other words, that such parties cannot constitute ‘Protected Parties’).” In the
final Fifth Circuit opinion, same as the initial Fifth Circuit opinion, the Fifth Circuit stated that, with regard to the
Confirmation Order, the panel would “reverse only insofar as the plan exculpates certain non-debtors in violation of
11 U.S.C. § 524(e), strike those few parties from the plan’s exculpation, and affirm on all remaining grounds.”
Highland Capital, 48 F.4th at 424. No findings, discussion, or rulings regarding the injunction and gatekeeper
provisions that were in the initial Fifth Circuit opinion were disturbed.

                                                           33
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        34 of 105
                                                                Page 39 of 678 PageID 45



of the Plan’s exculpation provision.”102 The Fifth Circuit then remanded to the Bankruptcy Court

“for further proceedings in accordance with the opinion.”103

         In the course of analyzing the Protection Provisions under the Plan, the Fifth Circuit noted

that the protection provisions in the January and July 2020 Orders appointing the Independent

Directors and Seery as CEO and CRO of Highland were res judicata and that “those orders have

the effect of exculpating the Independent Directors and Seery in his executive capacities” such that

“[d]espite removal from the exculpation provision in the confirmation order, the Independent

Directors’ agents, advisors, and employees, as well as Seery in his official capacities are all

exculpated to the extent provided in the January and July 2020 Orders.”104

         The Reorganized Debtor filed a motion in the bankruptcy court to conform the plan to the

Fifth Circuit’s mandate, proposing that only one change was needed to make the Plan compliant

with the Fifth Circuit’s ruling: narrow the defined term for “Exculpated Parties” to read as follows:

         “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the Independent
         Directors, (iii) the Committee, and (iv) members of the Committee (in their official
         capacities).

The Reorganized Debtor proposed that this one simple revision of this defined term removed the

exculpations deemed by the Fifth Circuit to violate section 524(e) of the Bankruptcy Code, and

that no other changes would be required to conform the Plan and Confirmation Order to the Fifth

Circuit’s mandate. Some of the Dondero-related entities objected to the motion to conform,

arguing that the Fifth Circuit’s ruling required more surgery on the Plan than simply narrowing

the defined term “Exculpated Parties.” On February 27, 2023, this court entered its order granting


102
    Id. at 435.
103
    Id. at 440. The Fifth Circuit’s docket reflects that it issued its Judgment and mandate on September 12, 2022.
104
    Highland Capital, 48 F.4th at 438 n.15. The Fifth Circuit stated, “To the extent Appellants seek to roll back the
protections in the bankruptcy court’s January 2020 and July 2020 orders (which is not clear from their briefing), such
a collateral attack is precluded.” Id.

                                                         34
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        35 of 105
                                                                Page 40 of 678 PageID 46



Highland’s motion to conform the Plan, ordering that one change be made to the Plan – revising

the definition of “Exculpated Parties” – and no more.105 The objecting parties’ direct appeal of

this order has been certified to the Fifth Circuit and is one of the numerous currently active appeals

by Dondero-related parties pending in the Fifth Circuit.

      E. HMIT’s Motion for Leave

         HMIT filed its emergency Motion for Leave on March 28, 2023, which, with attachments,

as first filed, was 387 pages in length, including an initial proposed complaint (“Initial Proposed

Complaint”) and two sworn declarations of Dondero that were attached as “objective evidence” in

“support[ ]” of the Motion for Leave,106 and with it, an application for an emergency setting on the

hearing on the Motion to Leave. On April 23, 2023, HMIT filed a pleading entitled a “supplement”

to its Motion to Leave (“Supplement”),107 to which it attached a revised proposed verified

complaint (“Proposed Complaint”)108 as Exhibit 1-A to the Motion for Leave and stated that “[t]he

Supplement is not intended to amend or supersede the [Motion for Leave]; rather, it is intended as

a supplement to address procedural matters and to bring forth additional facts that further confirm

the appropriateness of the derivative action.”109          The HMIT Motion for Leave was later amended

to eliminate the Dondero Declarations and references to the same (but not the underlying

allegations that were supposedly supported by the Dondero Declarations).110




105
    Bankr. Dkt. No. 3672.
106
    Bankr. Dkt. No. 3699.
107
    Bankr. Dkt. No. 3760.
108
    See supra note 5.
109
    Supplement ¶ 1.
110
    Bankr. Dkt. Nos. 3815 and 3816. Both of these filings had the Initial Proposed Complaint attached as Exhibit 1 to
the Motion for Leave.

                                                         35
 Case 19-34054-sgj11      Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E      Document
                           Main Document
                                   1-1 FiledPage
                                              09/15/23
                                                  36 of 105
                                                          Page 41 of 678 PageID 47



       As earlier noted, HMIT desires leave to sue the Proposed Defendants regarding the post-

confirmation, pre-Effective Date purchase of allowed unsecured claims.           The Proposed

Defendants would be:

               Seery, who was a stranger to Highland until approximately four months
       following the Petition Date when he was brought in as one of the three Independent
       Directors, and now serves as the CEO of the Reorganized Debtor and the Trustee
       of the Claimant Trust (and also was previously Highland’s CRO during the case,
       then CEO, and, also, an Independent Board Member of Highland’s general partner
       during the Highland case). Seery is best understood as the man who took Dondero’s
       place running Highland—per the request of the Committee.
               Claims Purchasers, who were strangers to Highland until the end of the
       bankruptcy case. They are identified as Farallon Capital Management, LLC
       (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
       created by Farallon to purchase unsecured claims against Highland; Stonehill
       Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
       which was a special purpose entity created by Stonehill to purchase unsecured
       claims against Highland (collectively, the “Claims Purchasers”). The Claims
       Purchasers purchased $240 million face value of already-allowed unsecured claims
       post-confirmation and pre-Effective Date in the spring of 2021 and another $125
       million face value of already-allowed unsecured claims in August 2021.
       Bankruptcy Rule 3001(e) notices—giving notice of same—were filed on the
       bankruptcy clerk’s docket regarding these purchases. The claims had previously
       been held by the creditors known as the Crusader Redeemer Committee, Acis
       Capital, HarbourVest, and UBS (three of these four creditors formerly served on
       the Committee during the Highland bankruptcy case).
              John Doe Defendants Nos. 1-10, which are described to be “currently
       unknown individuals or business entities who may be identified in discovery as
       involved in the wrongful transactions at issue.”
              Highland, as a nominal defendant. HMIT added Highland as a nominal
       defendant in the Revised Proposed Complaint attached to the Supplement.
             Claimant Trust, as a nominal defendant. HMIT added the Claimant Trust
       as a nominal defendant in the Revised Proposed Complaint attached to the
       Supplement.
The proposed plaintiffs would be:
               HMIT, which, again, was the largest equity holder in Highland and held a
       99.5% limited partnership interest (specifically, Class B/C limited partnership
       interests). HMIT is the holder of a Class 10 interest under the Plan, pursuant to
       which HMIT’s limited partnership interest in Highland was extinguished as of the
       Effective Date in exchange for a pro rata share of a contingent interest in the
       Claimant Trust.

                                              36
 Case 19-34054-sgj11          Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E          Document
                               Main Document
                                       1-1 FiledPage
                                                  09/15/23
                                                      37 of 105
                                                              Page 42 of 678 PageID 48



                 Highland, as a nominal party. HMIT wishes to bring its complaint on behalf
        of itself and derivatively on behalf of the Reorganized Debtor.
                Claimant Trust, as a nominal party. HMIT wishes to bring its complaint on
        behalf of itself and derivatively on behalf of the Claimant Trust.

        In the Proposed Complaint, HMIT asserts the following six counts: Count I (against Seery)

for breach of fiduciary duties; Count II (against the Claims Purchasers and John Doe Defendants)

for knowing participation in breach of fiduciary duties; Count III (against all Proposed Defendants)

for conspiracy; Count IV (against Muck and Jessup) for equitable disallowance of their claims;

Count V (against all Proposed Defendants) for unjust enrichment and constructive trust; and Count

VI (against all Proposed Defendants) for declaratory relief.111 The gist of the Proposed Complaint

is as follows. HMIT asserts that something seems amiss regarding the post-confirmation/pre-

Effective Date purchase of claims by the Claims Purchasers. Actually, more bluntly, HMIT asserts

that “wrongful conduct occurred” and “improper trades” were made.112 HMIT believes the Claims

Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

Statement and Plan projections regarding the projected distributions under the Plan to holders of

allowed unsecured claims. And, of course, Dondero purports to have concluded from the three

phone conversations he had with representatives of one of the Claims Purchasers that they did no

due diligence before purchasing the claims. Therefore, HMIT surmises, Seery must have given

these Claims Purchasers MNPI regarding Highland that convinced them that it was to their

economic advantage to purchase the claims. In particular, HMIT surmises Seery must have shared

111
    In the Initial Proposed Complaint, HMIT proposed to bring claims against the various Proposed Defendants in
seven counts, including a count for fraud by misrepresentation and material nondisclosure against all Proposed
Defendants. In the Proposed Complaint, HMIT abandons its claim for fraud by misrepresentation and material
nondisclosure.
112
    Motion for Leave, 7.

                                                      37
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       38 of 105
                                                               Page 43 of 678 PageID 49



MNPI regarding the likely imminent sale of MGM, in which Highland had, directly and indirectly,

substantial holdings. As noted earlier, MGM was ultimately purchased by Amazon after a sale

process that had been quite publicly discussed in media reports for several months and that was

officially announced to the public in late May 2021 (just a few weeks after the Claims Purchasers

purchased some of their claims, but a few months before certain of their claims—the UBS

claims—were purchased).113 In summary, while the Proposed Complaint is lengthy and at times

hard to follow, it boils down to allegations that: (a) Seery filed (or caused to be filed) deflated,

pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

the Plan, (b) then induced very sophisticated unsecured creditors to discount and sell their claims

to the likewise very sophisticated Claims Purchasers, (c) which Claims Purchasers are allegedly

friendly with Seery, and are now happily approving Seery’s allegedly excessive compensation

demands post-Effective Date (resulting in less money in the pot to pay off the creditor body in full,

and, thus, a diminished likelihood that HMIT will realize any recovery on its contingent Class 10

interest). HMIT argues that Seery should be required to disgorge his compensation. It appears

that HMIT also seeks other damages in the form of equitable disallowance of the Claims

Purchasers’ claims and disgorgement of distributions on account of those claims, the imposition

of a constructive trust over all disgorged funds, and declaratory relief.

        HMIT claims that, in seeking to file the Proposed Complaint, it is seeking to protect the

rights and interests of the Reorganized Debtor, the Claimant Trust, and “innocent stakeholders”

who were allegedly injured by Seery’s and the Claims Purchasers’ alleged conspiratorial and



113
   The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid. Credible testimony
from Seery at the June 8 Hearing revealed that Highland and entities it controlled tendered their MGM holdings in
connection with the Amazon transaction (they did not sell their holdings while the MGM-Amazon deal was under
discussion and/or not made public).

                                                       38
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        39 of 105
                                                                Page 44 of 678 PageID 50



fraudulent scheme to line Seery’s pockets with excessive compensation for his role as Claimant

Trustee. In its Motion for Leave, HMIT states that “[t]he attached Adversary Proceeding alleges

claims which are substantially more than ‘colorable’ based upon plausible allegations that the

Proposed Defendants, acting in concert, perpetrated a fraud, including a fraud upon innocent

stakeholders, as well as breaches of fiduciary duties and knowing participation in (or aiding or

abetting) breaches of fiduciary duty.”114

      F. Is HMIT Really Dondero by Another Name?

         The Proposed Defendants argue that HMIT’s Motion for Leave is nothing more than a

continuation of the harassing and bad-faith litigation by Dondero and his related entities that the

Gatekeeper Provisions were intended to prevent and, thus, this is one of multiple reasons that the

Motion for Leave should be denied.

         To be clear, HMIT asserts that it is controlled by Mark Patrick (“Patrick”), who has been

HMIT’s administrator since August 2022. Patrick asserts that he is not influenced or controlled

by Dondero, in general, and specifically not in its efforts to pursue the Proposed Claims against

Seery and the Claims Purchasers. However, the testimony elicited at the June 8 Hearing—the

hearing at which HMIT had the burden of showing the court that its Proposed Claims were

“colorable” such that it should be allowed to pursue them through the filing of the Proposed

Complaint—paints a different picture. Somewhat tellingly, HMIT chose not to call Patrick—

allegedly HMIT’s only representative and control person—as a witness in support of its Motion

for Leave. Rather, Dondero was HMIT’s first witness called in support of its motion, and the first



114
   See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 3. HMIT notes, in a footnote 6, that “Neither this Motion nor the
proposed Adversary Complaint seeks to challenge the Court’s Orders or the Plan. In addition, neither this Motion nor
the proposed Adversary Complaint seeks to redistribute the assets of the Claimant Trust in a manner that would
adversely impact innocent creditors. Rather, the proposed Adversary Proceeding seeks to benefit all innocent
stakeholders while working within the terms and provisions of the Plan, as well as the Claimant Trust Agreement.”

                                                        39
 Case 19-34054-sgj11          Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E          Document
                               Main Document
                                       1-1 FiledPage
                                                  09/15/23
                                                      40 of 105
                                                              Page 45 of 678 PageID 51



questions on direct from HMIT’s counsel were aimed at establishing that Dondero was not behind

the filing of the Motion for Leave and the pursuit of the Proposed Claims.115 Dondero testified

that he did not (i) “have any current official position” with HMIT, (ii) “attempt to exercise [control]

on the business affairs of [HMIT],” (iii) “have any official legal relationship with [HMIT] where

[he] can attempt to exercise either direct or indirect control over [HMIT],” or (iv) “participate in

the decision of whether or not to file the proceedings that are currently pending before Judge

Jernigan.”116 After HMIT rested, Highland and the Claimant Trust called Patrick as a witness, and

he testified that he was the administrator of HMIT, that HMIT does not have any employees,

operations, or revenues, and, when asked if HMIT owned any assets, Patrick testified, with not a

great deal of certainty, that “it’s my understanding it has a contingent beneficiary interest in the

Claimants [sic] Trust” and that is the only asset HMIT has.117 Patrick testified that HMIT did not

owe any money to Dondero personally, but acknowledged that in 2015, HMIT had issued a secured

promissory note in favor of Dondero’s family trust, Dugaboy, in the amount of approximately

$62.6 million (the “Dugaboy Note”) in exchange for Dugaboy transferring a portion of its limited

partner interests in Highland to HMIT; the Dugaboy Note was secured in part by the Highland

limited partnership interests purchased from Dugaboy.118 Patrick admitted that, if HMIT’s Class

10 interest has no value, HMIT would have no ability to pay the Dugaboy Note.119 He further

testified that neither he nor any representative of HMIT had ever spoken with any representative

of Farallon or Stonehill, that he had no personal knowledge about any quid pro quo, the amount

of due diligence Farallon or Stonehill conducted prior to buying their claims, or the terms of

115
    See June 8 Hearing Transcript, 113:10-25.
116
    Id.
117
    June 8 Hearing Transcript, 307:7-308:2.
118
    Id., 303:11-305:1; Highland Ex. 51, HMIT’s $62,657,647.27 Secured Promissory Note dated December 24, 2015,
in favor of Dugaboy.
119
    Id., 308:3-16.

                                                     40
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        41 of 105
                                                                Page 46 of 678 PageID 52



Seery’s compensation package (until the terms were disclosed to them in opposition to the Motion

for Leave).120 Patrick admitted that Dugaboy was paying HMIT’s attorneys’ fees pursuant to a

settlement agreement between HMIT and Dugaboy.121

        On cross-examination by HMIT’s counsel, Patrick further testified that HMIT has not filed

any litigation, as plaintiff, other than its efforts to be a plaintiff in the Motion for Leave and its

action as a petitioner in the Texas Rule 202 proceeding filed earlier in 2023 in the Texas state

court.122 HMIT’s counsel argued that the point of this questioning was that “they’re just trying to

draw Dondero into this and – this vexatious litigant argument, and we’re just developing the fact

that obviously Hunter Mountain has only filed – attempting to file this action and a Rule 202

proceeding.123 But, Dondero and HMIT’s counsel referred during the June 8 Hearing to the First

Rule 202 Petition (where Dondero was the petitioner) and the Second Rule 202 Petition (where

HMIT was the petitioner) as “our” Rule 202 petitions, and also to the numerous attempts at getting

the discovery (that Dondero had warned Linn was coming) in the collective. For example, in

objecting to the admission of Highland’s Exhibit 10 – the Texas state court order denying and

dismissing the Second Rule 202 Petition – on the basis of relevance, HMIT’s counsel referred to

the order as “an order denying our second” Rule 202 Petition.124 And, Dondero testified that his

warning to Linn in May 2021 that “discovery was coming” was “my response to I knew they had

traded on material nonpublic information” and that “I thought it would be a lot easier to get


120
     Id., 308:18-312:12. This testimony from Patrick came after HMIT’s counsel objection to counsel’s line of
questioning regarding Patrick’s personal knowledge of the facts supporting the allegations in the Proposed Complaint
on the basis that he was invading the attorney work product privilege, which was overruled by this court; HMIT’s
counsel argued (311:4-19) that the line of questioning was an “invasion of attorney work product . . . [b]ecause they
might – he would have knowledge from the efforts and investigation through attorneys in the case.”
121
    Id., 312:24-313:18.
122
    Id., 315:3-9.
123
    Id., 316:6-11.
124
    Id., 58:11-13. The court overruled HMIT’s relevance objection and admitted Highland’s Exhibit 10 into evidence.
Id., 58:14-15.

                                                         41
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          42 of 105
                                                                  Page 47 of 678 PageID 53



discovery on a situation like this than it has been for the last two years” and that “we’ve been trying

for two years to get . . . discovery.“125

           Dondero’s use of an entity over which he exerts influence and control to pursue his own

agenda in the bankruptcy case is not new. Rather, this has been part of Dondero’s modus operandi

since the “nasty breakup” between Dondero and Highland that culminated with Dondero’s ouster

in October 2020, whereby Dondero, after not getting his way in the bankruptcy court, continued

to lob objections and create obstacles to Highland’s implementation of the Plan through entities

he owns or controls. As noted above, the Fifth Circuit specifically upheld this court’s finding in

the Confirmation Order that Dondero owned or controlled the various entities that had objected to

confirmation of the Plan and appealed the Confirmation Order, where the Dondero-related

appellants made similar protestations that they are not owned or controlled by Dondero and asked

the Fifth Circuit to vacate this court’s factual finding because, among other reasons, “[a]ccording

to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely

independent from him.”126 Based on the totality of the evidence in this proceeding, the court finds

that, contrary to the protestations of HMIT’s counsel and Patrick otherwise, Dondero is the driving

force behind HMIT’s Motion for Leave and the Proposed Complaint. The Motion for Leave is

just one more attempt by Dondero to press his conspiracy theory that he has pressed for over two

years now, unsuccessfully, in Texas state court through Rule 202 proceedings, with the Texas State

Securities Board, and with the United States Trustee’s office.




125
      Id., 191:5-25.
126
       Highland Capital, 48 F.4th at 434-435.

                                                  42
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       43 of 105
                                                               Page 48 of 678 PageID 54



    G. Opposition to Motion for Leave: Arguing No Standing and No “Colorable” Claims

        Highland, the Claimant Trust, and Seery (together, the “Highland Parties”) filed a joint

opposition (“Joint Opposition”) to HMIT’s Motion for Leave on May 11, 2023.127 The Claims

Purchasers filed a separate objection (“Claims Purchasers’ Objection”) to the Motion for Leave on

May 11, 2023, as well.128 In the Joint Opposition, the Highland Parties urge the court to deny

HMIT leave to pursue the Proposed Claims because, as a threshold matter, HMIT does not have

standing to bring them, directly or derivatively against the Proposed Defendants. They argue, in

the alternative, that the Motion for Leave should be denied even if HMIT had standing to pursue

the Proposed Claims because none of the Proposed Claims are “colorable” claims as that term is

used in the Gatekeeper Provision of the Plan (and Gatekeeper Orders).129

        The Claims Purchasers likewise argue that HMIT lacks standing to complain about claims

trading in the bankruptcy which occurred between sophisticated Claims Purchasers and

sophisticated sellers (“Claims Sellers”), represented by skilled bankruptcy and transactional

counsel. Moreover, they argue HMIT cannot show that it or the Reorganized Debtor or the

Claimant Trust were injured by the claims trading at issue because the Purchased Claims had

already been adjudicated as allowed claims in the bankruptcy case—thus, distributions under the

Plan on account of the Purchased Claims remain the same, the only difference being who holds

the claims. Moreover, even if HMIT could succeed in equitably subordinating the validly

transferred allowed claims, HMIT would still be in the same position it is today: the holder of a


127
    Bankr. Dkt. Nos. 3783. Highland, the Claimant Trust, and Seery also filed on May 11 a Declaration of John A.
Morris in Support of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint
Opposition to Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding (“Morris
Declaration”) that attached 44 Exhibits in support of the Joint Opposition. Bankr. Dkt. No. 3784.
128
    Bankr. Dkt. No. 3780.
129
    See Joint Opposition ¶ 139 (“Because HMIT lacks standing, this Court need not reach the merits of HMIT’s
proposed Adversary Complaint. As a matter of judicial economy, however, the Highland Parties respectfully request
that this Court address the lack of merit as an alternative basis to deny the Motion.”).

                                                       43
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        44 of 105
                                                                Page 49 of 678 PageID 55



contingent, speculative Class 10 interest that would only be paid after payment, in full, with

interest, of all creditors under the Plan. The Claims Purchasers argue in the alternative that the

Proposed Claims are not “colorable.”

         Finally, the Proposed Defendants argue that the standard of review for assessing whether

the Proposed Claims are “colorable” (as such term is used in the Gatekeeper Provision and

Gatekeeping Orders) is a standard that is a higher than the “plausibility” standard applied to Rule

12(b)(6). They argue that HMIT should be required to meet a higher bar with respect to

colorability that includes making a prima facie showing that the Proposed Claims have merit

(and/or are not without foundation) which requires HMIT to do more than meet the liberal notice-

pleading standards.

      H. HMIT’s Reply to the Proposed Defendants’ Opposition to the Motion for Leave

         In its reply brief (“Reply”), filed by HMIT on May 18, 2023,130 it argues that it has

 constitutional standing as an “aggrieved party” to bring the Proposed Claims on behalf of itself.131

 HMIT also argues that it has standing under Delaware Trust law to bring a derivative action on

 behalf of the Claimant Trust and that it not only has standing to bring the Proposed Claims

 derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best party to bring

 the claims.132 Finally, HMIT maintains that the standard of review that the bankruptcy court

 should apply in assessing the “colorability” of the Proposed Claims is no greater than the standard

 of review applied to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6), which

 would require the bankruptcy court to look only to the “four corners” of the Proposed Complaint


130
    Bankr. Dkt. No. 3785.
131
    See Reply ¶ 7.
132
    See, Reply ¶ 23 n.5, where HMIT argues “The nature of this injury, in addition to Seery’s influence over the
Claimant Trust, and the lack of prior action by the Claimant Trust to pursue the claims HMIT seeks to pursue
derivatively, among other things, demonstrate that HMIT is not only a proper party to assert its derivative claims –
but the best party to do so.”

                                                        44
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       45 of 105
                                                               Page 50 of 678 PageID 56



 and “not weigh extraneous evidence,”133 take all allegations as true, and view all allegations and

 inferences in a light most favorable to HMIT. As discussed in greater length below, HMIT argues

 that, under this standard, the bankruptcy court should not consider evidence in making its

 determination as to whether the Proposed Complaint presents “colorable” claims.

      I. Litigation within the Litigation: The Pre- June 8 Hearing Skirmishes

         Suffice it to say there was significant activity before the Motion for Leave actually was

presented at the June 8 hearing. HMIT sought an emergency hearing on its Motion for Leave

(wanting a hearing on three days’ notice). When the bankruptcy court denied an emergency

hearing, HMIT unsuccessfully pursued an interlocutory appeal of the denial of an emergency

hearing to the district court. HMIT then petitioned for a writ of mandamus at the Fifth Circuit

regarding the emergency hearing denial, which was denied by the Fifth Circuit on April 12, 2023.

         Next, there were multiple pleadings and hearings regarding what kind of hearing the

bankruptcy court should or should not hold on the Motion for Leave—particularly focusing on

whether or not it would be an evidentiary hearing.134 The resolution of this issue turned on what

standard of review the court should apply in exercising its gatekeeping function and determining

the colorability of the Proposed Claims. HMIT (although it had submitted two declarations of

Dondero with its original Motion for Leave and approximately 350 pages of total evidentiary

support) was adamant that there should be no evidence presented at the hearing on the Motion for

Leave, arguing that the standard for review should be the plausibility standard under Rule 12(b)(6)


133
   See Reply ¶ 47.
134
    Highland, joined by Seery and the Claims Purchasers, had filed a motion asking the bankruptcy court to set a
briefing schedule on the Motion for Leave and to schedule a status conference, indicating that Highland’s proposed
timetable for same was opposed by HMIT. HMIT subsequently filed a response unopposed to a briefing schedule and
status conference, but, before the status conference, HMIT filed a brief, stating it was opposed to there being any
evidence at the ultimate hearing on the HMIT Motion for Leave—arguing the bankruptcy court did not need evidence
to exercise its gatekeeping function and determine if HMIT has a “colorable” claim. Rather, the court need only
engage in a Rule 12(b)(6)-type plausibility analysis.

                                                        45
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          46 of 105
                                                                  Page 51 of 678 PageID 57



motions to dismiss such that “the threshold inquiry is very, very low. Evidence is not allowed. . . .

[S]imilar to a 12(b)(6) inquiry, [the court] is limited to the four corners of the principal pleading –

in this case, the complaint, or now the revised complaint.”135 Counsel for the Proposed Defendants

argued that the standard of review for colorability here, in the specific context of the court

exercising its gatekeeping function under the Plan, is more akin to the standards applied under the

Supreme Court’s Barton Doctrine136 pursuant to which that the bankruptcy court must apply a

higher standard than the 12(b)(6) standard, including the consideration of evidence at the hearing

on the motion for leave; if the standard of review presents no greater hurdle to the movant than the

12(b)(6) standard applied to every plaintiff in every case, then the gatekeeping provisions mean

nothing and do nothing to protect the parties from the harassing, bad-faith litigation they were put

in place to prevent.137 On May 22, 2023, after receipt of post-hearing briefing on the issue, the

court entered an order stating that “the court has determined that there may be mixed questions of

fact and law implicated by the Motion for Leave” and “[t]herefore, the parties will be permitted to

present evidence (including witness testimony) at the June 8, 2023 hearing [on the Motion to

Leave] if they so choose.”

         Two days later, HMIT filed an emergency motion for expedited discovery or alternatively

for continuance of the June 8, 2023 hearing, seeking expedited depositions of corporate



135
    Transcript of April 24, 2023 Status Conference, Bankr. Dkt. No. 3765 (“April 24 Transcript”), 14:6-11.
136
    The Barton Doctrine was established in the 19th century Supreme Court case of Barton v. Barbour, 104 U.S. 126
(1881), and states that a party wishing to sue a court-appointed trustee or receiver must first obtain leave of the
appointing court by making a prima facie case that the claim it wishes to bring is not without foundation.
137
    See April 24 Transcript, 36:24-37:4 (“[W]e’re exactly today where the Court had predicted in entering [the
Confirmation Order], that the costs and distraction of this litigation are substantial. And if all we’re doing is replicating
a 12(b)(6) hearing on a motion for leave, we’re actually not doing anything to reduce, as the Court made clear, the
burdens, distractions, of litigation.”); 37:5-13 (“The Fifth Circuit likewise cited Barton in its order affirming the
confirmation order. Specifically, it also explained that the provisions, these gatekeeper provisions requiring advance
approval were meant to ‘screen and prevent bad-faith litigation.’ Well that – if that means only what the Plaintiff[ ]
say[s] it does, then it really doesn’t do anything at all to screen. There’s no gatekeeping because their version of what
that means is always policed under 12(b)(6) standards.”).

                                                             46
 Case 19-34054-sgj11       Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E       Document
                            Main Document
                                    1-1 FiledPage
                                               09/15/23
                                                   47 of 105
                                                           Page 52 of 678 PageID 58



representatives of the Claims Purchasers and of Seery and production of documents pursuant to

deposition notices and subpoenas duces tecum that HMIT had attached to the motion. On May

26, 2023, this court held yet another status conference. Following the status conference, the court

granted in part and denied in part HMIT’s request for expedited discovery by ordering only Seery

and Dondero to be made available for depositions prior to the June 8 Hearing. The court reached

what seemed like appropriate middle ground by allowing the deposition of Seery and allowing the

other parties to depose Dondero (for whom sworn declarations had been submitted), but the court

was not going to allow any more discovery (i.e., of the Claims Purchasers) at so late an hour. The

court was aware that HMIT and Dondero had been seeking discovery relating to the very claims

trades that are the subject of the Revised Proposed Complaint from the Claims Purchasers in Texas

state court “Rule 202” proceedings for approximately two years, where their attempts were

rebuffed.

       Approximately 60 hours before the June 8 Hearing, HMIT filed its Witness and Exhibit

List disclosing for the first time two potential expert witnesses (along with biographical

information and a disclosure regarding the subject matter of their likely testimony). Highland, the

Claimant Trust, and Seery filed a joint motion to exclude the expert testimony and documents

(“Motion to Exclude”), which the court ultimately granted in a separate order.

       During the full-day June 8 Hearing on the Motion to Leave, the court admitted over 50

HMIT exhibits and over 30 Highland/Claimant Trust exhibits. The court heard testimony from

HMIT’s witnesses Dondero and Seery (as an adverse witness) and from the Highland Parties’

witness Mark Patrick, the administrator of HMIT since August 2022 (as an adverse witness). The

bankruptcy court allowed HMIT to make a running objection to all evidence—as it continued to

argue that evidence was not appropriate.



                                                47
 Case 19-34054-sgj11         Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E         Document
                              Main Document
                                      1-1 FiledPage
                                                 09/15/23
                                                     48 of 105
                                                             Page 53 of 678 PageID 59




III.      LEGAL ANALYSIS

          In determining whether HMIT should be granted leave, pursuant to the Gatekeeper

Provision of the Plan and the court’s prior Gatekeeper Orders, to pursue the Proposed Claims, the

court must address the issue of whether HMIT would have standing to bring the Proposed Claims

in the first instance. If so, the next question is whether the Proposed Claims are “colorable.” But

prior to getting into the weeds on standing and “colorability,” some general discussion regarding

the topic of claims trading in the bankruptcy world seems appropriate, given that HMIT’s Proposed

Claims are based, in large part, on allegations of improper claims trading.

       A. Claims Trading in the Context of Bankruptcy Cases—Can It Be Tortious or Otherwise
          Actionable?
          As noted, at the crux of HMIT’s desired lawsuit is what this court will refer to as “claims

trading activity” that occurred shortly after the Plan was confirmed, but before the Plan went

effective. HMIT believes that the claims trading activity gave rise to various torts: breach of

fiduciary duty on the part of Seery; knowing participation in breach of fiduciary duty by the other

Proposed Defendants; and conspiracy by all Defendants. HMIT also believes that the following

remedies should be imposed: equitable disallowance of the Purchased Claims; disgorgement of

the alleged profits the Claims Purchasers made on their purchases; and disgorgement of all Seery’s

compensation received since the beginning of his “collusion” with the other Defendants. Without

a doubt, the Motion for Leave and Proposed Complaint revolve almost entirely around the claims

trading activity.

          This begs the question: When (or under what circumstances) might claims trading

activity during a bankruptcy case give rise to a cause of action that either the bankruptcy estate

or an economic stakeholder in the case might have standing to bring? Here, the claims trading


                                                  48
 Case 19-34054-sgj11         Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E         Document
                              Main Document
                                      1-1 FiledPage
                                                 09/15/23
                                                     49 of 105
                                                             Page 54 of 678 PageID 60



wasn’t even “during a bankruptcy case” really—it was post-confirmation and pre-effective date,

and it happened to be: (a) after mediation of the claims, (b) after Rule 9019 settlement motions,

(c) after objections by Dondero and certain of his family trusts were lodged, (d) after evidentiary

hearings, and (e) after orders were ultimately entered allowing the claims (and in most cases, such

orders were appealed). The further crux of HMIT’s desired lawsuit is that Seery allegedly

“wrongfully facilitated and promoted the sale of large unsecured creditor claims to his close

business allies and friends” by sharing material non-public information to them regarding the

potential value of the claims (i.e., the potential value of the bankruptcy estate), and this is what

made the claims trading activity particularly pernicious. The alleged sharing of MNPI allegedly

caused the Claims Purchasers to purchase their claims without doing any due diligence and with

knowledge that the claims would be worth much more than the Plan’s “pessimistic” projections

might have suggested, and also allowed Seery to plant friendly allies into the creditor constituency

(and on the post-confirmation CTOB) that would “rubber stamp” his generous compensation. This

is all referred to as “not arm’s-length” and “collusive.” Notably, the MNPI mostly pertained to a

likely future acquisition of MGM by Amazon (which transaction, indeed, occurred in 2022, after

being publicly announced in Spring of 2021); as noted earlier, Highland owned, directly and

indirectly, common stock in MGM. Also notably, there had been rumors and media attention

regarding a potential sale of MGM for many months.138 In summary, to be clear, HMIT’s desired

lawsuit is laced with a theme of “insider trading”—although this isn’t a situation of securities

trading per se (i.e., the unsecured Purchased Claims were not securities), and, as noted earlier, the

Texas State Securities Board has not seen fit to investigate the claims trading activity.

        So, preliminarily, is claims trading in bankruptcy sinister per se? The answer is no.


138
  E.g., Benjamin Mullin, MGM Holdings, Studio Behind ‘James Bond,’ Explores a Sale, THE WALL STREET JOURNAL
(Dec. 21, 2020, 6:38 p.m.).

                                                    49
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        50 of 105
                                                                Page 55 of 678 PageID 61



        The activity of investing in distressed debt (which frequently occurs during a bankruptcy

case—sometimes referred to as “claims trading”) is ubiquitous and, indeed, has been so for a very

long time. As noted by one scholar:

        The creation of a market in bankruptcy claims is the single most important
        development in the bankruptcy world since the Bankruptcy Code’s enactment in
        1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
        it a much more market-driven process. [Citations omitted.] . . . The development
        of a robust market for all types of claims against debtors has changed the cast of
        characters involved in bankruptcies. In addition to long-standing relational
        creditors, like trade creditors or a single senior secured bank or bank group,
        bankruptcy cases now involve professional distressed debt investors, whose
        interests and behavior are often quite different than traditional relational
        counterparty creditors.
Adam J. Levitin, Bankruptcy Markets: Making Sense of Claims Trading, 4 BROOK. J. CORP. FIN.

& COM. L. 64, 65 (2010) (hereinafter “Bankruptcy Markets”).139

        As a pure policy matter, some practitioners have bemoaned this claims trading

phenomenon, suggesting that “distressed debt traders may sacrifice the long-term viability of a

debtor for the ability to realize substantial and quick returns on their investments.”140 Others

suggest that claims trading in bankruptcy is beneficial, in that it allows creditors of a debtor an

early exit from a potentially long bankruptcy case, enabling them to save expense and

administrative hassles, realize immediate liquidity on their claims (albeit discounted), and may




139
    See also Aaron Hammer & Michael Brandess, Claims Trading: The Wild West of Chapter 11s, AM. BANKR. INST.
JOURNAL 62 (Jul./Aug. 2010); Chaim Fortgang & Thomas Mayer, Trading Claims and Taking Control of
Corporations in Chapter 11, 12 CARDOZO L. REV. 1, 25 (1990) (noting that “the first recorded instance of American
fiduciaries trading claims against insolvent debtors predates all federal bankruptcy laws and goes back to 1790” when
the original 13 colonies were insolvent, owing tremendous amounts of debt to various parties in connection with the
Revolutionary War; early American investors purchased these debts for approximately 25% of their par value, hoping
the claims would be paid at face value by the American government).
140
    Harvey R. Miller, Chapter 11 Reorganization Cases and the Delaware Myth, 55 VAND. L. REV. 1987, 2016 (2002).
See also Harvey R. Miller & Shai Y. Waisman, Does Chapter 11 Reorganization Remain a Viable Option for
Distressed Businesses for the Twenty-First Century?, 78 AM. BANKR. L.J. 153 (2004); Harvey R. Miller & Shai Y.
Waisman, Is Chapter 11 Bankrupt?, 47 B.C. L. REV. 129 (2005).

                                                         50
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        51 of 105
                                                                Page 56 of 678 PageID 62



even permit them to take advantage of a tax loss on their own desired timetable.141 On the flipside,

“[c]aims trading permits an entrance to the bankruptcy process for those investors who want to

take the time and effort to monitor the debtor and contribute expertise to the reorganization

process.”142

        So, what are the “rules of the road” here? What does the Bankruptcy Code dictate

regarding claims trading? The answer is nothing. The Bankruptcy Code itself has no provisions

whatsoever regarding claims trading. The only thing resembling any regulation of claims trading

during a bankruptcy case is found at Federal Rule of Bankruptcy Procedure 3001(e)—the current

version of which went into effect in 1991—and it imposes extremely light regulation—if it could

even be called that. This rule requires, in pertinent part (at subsection (2)), that “[i]f a claim other

than one based on a publicly traded note, bond, or debenture” is traded during the case after a proof

of claim is filed, notice/evidence of that trade must be filed with the bankruptcy clerk by the

transferee. The transferor shall then be notified and given 21 days to object. If there is an

objection, the bankruptcy court will hold a hearing regarding whether a transfer, in fact, took place.

If there is no objection, nothing further needs to happen, and the transferee will be considered

substituted for the transferor.

        There are several things noteworthy about Rule 3001(e)(2). First, the only party given the

opportunity to object is the transferor of the claim (presumably, in the situation of a dispute

regarding whether there was truly an agreement regarding the transfer of the claim). Second, there

is no need for a bankruptcy court order approving the transfer (except in the event of an objection


141
    See Bankruptcy Markets, at 70. See also In re Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (“Claims trading allows
creditors to opt out of the bankruptcy system, trading an uncertain future payment for an immediate one, so long as
they can find a purchaser.”).
142
     Bankruptcy Markets at 70 (citing, among other authorities, Edith S. Hotchkiss & Robert M. Mooradian, Vulture
Investors and the Market for Control of Distressed Firms, 43 J. FIN. ECON. 401, 401 (1997) (finding that “vulture
investors add value by disciplining managers of distressed firms”).

                                                         51
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        52 of 105
                                                                Page 57 of 678 PageID 63



by the alleged transferor). Third, the economic consideration paid need not be disclosed to the

court or anyone. Fourth, there is no requirement or definition of timeliness. Finally, it explicitly

does not apply with regard to publicly traded debt. This, alone, means that many claims trades are

not even reported in a bankruptcy case. But it is not just publicly traded debt that will not be

reflected with a Rule 3001(e) filing. For example, bank debt, in modern times, is often syndicated

(i.e., fragmented into many beneficial holders of portions of the debt) and only the administrative

agent for the syndicate (or the “lead bank”) will file a proof of claim in the bankruptcy—thus, as

the syndicated interests (participations) change hands, and they frequently do, there typically will

not be a Rule 3001(e) notice filed.143 To be clear here, this syndication-of-bank-debt fact, along

with the fact that there are financial products whereby bank debt might be carved up into economic

interests separate and apart from legal title to the loan, means there are many situations in which

trading of claims during a bankruptcy case is not necessarily transparent or, for that matter, policed

by the bankruptcy court. This is the world of modern bankruptcy. Most of the claims trading that

gets reported through a Rule 3001(e) notice is the trading of small vendor claims. And this is all

regarded as private sale transactions for the most part.144

         Suffice it to say that there is not a wealth of case law dealing with claims trading in a

bankruptcy context. Perhaps this is not surprising, since it is not prohibited and is mostly a matter

of private contract between buyer and seller. The case law that does exist seems to arise in

situations of perceived bad faith of a purchaser—for example, when there was an attempt to control

voting and/or ultimate control of the debtor through the plan process (not always problematic, but


143
    Anne Marrs Huber & Thomas H. Young, The Trading of Bank Debt in and Out of Chapter 11, 15 J. BANKR. L.
& PRAC. 1, 1, 3 (2006).
144
    Note that Bankruptcy Rule 3001(e) was very different before 1991. Between 1983-1991, the rule required that
parties transferring claims inform the court that a transfer of claims was taking place and also disclose the
consideration paid for the transferred claims. A hearing would take place prior to the execution of a trade. Judicial
involvement was required and resulted in judicial scrutiny of transactions—something that simply does not exist today.

                                                         52
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         53 of 105
                                                                 Page 58 of 678 PageID 64



there are outlier cases where this was found to cross a line and result in consequences such as

disallowing votes on a plan or even equitable subordination of a claim).145 Another type of case

that has generated case law is where the purchaser of claims occupied a fiduciary status with the

debtor.146 Still another type of case that has generated case law is where there is an attempt to

cleanse claims that might have risks because of a seller’s malfeasance, by trading the claim to a

new claim holder.147

         The following is a potpourri of the more notable cases that have addressed claims trading

in different contexts. Most of them imposed no adverse consequences on claims traders: In re

Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (where a corporation named Garlin, that was owned

by the individual chapter 7 debtors’ sister and close friend, purchased a $900,000 bank claim for

$16,500, and there was no disclosure of Garlin’s connections to debtors and no Rule 3001(e)(2)

notice was filed, the Seventh Circuit reversed the bankruptcy court’s invocation of the doctrine of

equitable subordination to the claim, stating: “Equitable subordination is generally appropriate

only if a creditor is guilty of misconduct that causes injury to the interests of other creditors;” the

Seventh Circuit further stated that it could “put to one side whether the court’s finding of

inequitable conduct was correct” because even if there was misconduct, it did not harm the other

creditors, who were in the same position whether the original creditor or Garlin happened to own

the claim; the Seventh Circuit did note that Garlin’s decision to purchase the original bank

145
    In re Applegate Prop. Ltd., 133 B.R. 827, 836 (Bankr. W.D. Tex. 1991) (designating votes of an affiliate of the
debtor that purchased a blocking position to thwart a creditor’s plan because it was done in bad faith); In re Allegheny
Int’l, Inc., 118 B.R. 282, 289–90 (Bankr. W.D. Pa. 1990) (because of bad faith activities, the court designated votes
of a claims purchaser who purchased to get a blocking position on a plan). But see In re First Humanics Corp., 124
B.R. 87, 92 (Bankr. W.D. Mo. 1991) (claims purchased by debtor’s former management company to gain standing to
file a plan to protect interest of the debtor was in good faith).
146
    See In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649-650 (Bankr. E.D. La. 1988) (and numerous old cites therein).
147
    Enron Corp. v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180 (Bankr. S.D.N.Y. 2006),
vacated, Enron Corp. v. Springfield Assocs., L.L.C. (In re Enron Corp.), 379 B.R. 425 (S.D.N.Y 2007); Enron Corp.
v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 211 (Bankr. S.D.N.Y. 2005).



                                                          53
 Case 19-34054-sgj11       Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E       Document
                            Main Document
                                    1-1 FiledPage
                                               09/15/23
                                                   54 of 105
                                                           Page 59 of 678 PageID 65



creditor’s claim might have disadvantaged the other creditors if it interfered with the trustee’s own

potential settlement with the original bank creditor (note that the trustee argued that she had been

negotiating a deal with bank under which bank might have reduced its claims); however, the trustee

presented no evidence that any deal with the bank was imminent or even likely; thus, whether such

a deal could have been reached was speculation; equitable subordination was therefore

improper.”); Viking Assocs., L.L.C. v. Drewes (In re Olson), 120 F.3d 98, 102 (8th Cir. 1997) (case

involved the actions of an entity known as Viking in purchasing all of the unsecured claims against

the bankruptcy estate of two chapter 7 debtors, Hugo and Jeraldine Olson; Viking was a related

entity, owned by the debtors’ children, and purchased $525,000 of unsecured claims for $67,000;

while the bankruptcy court had discounted the claims down to the purchase amount and

subordinated Viking's discounted claims to the claims of the other unsecured creditors, relying on

section 105 of the Bankruptcy Code, the Eighth Circuit held that the bankruptcy court lacked the

authority to do this, and, thus, reversed and remanded; the Eighth Circuit noted that in 1991,

Bankruptcy Rule 3001(e)(2) was amended “to restrict the bankruptcy court's power to inspect the

terms of” claims transfers. Id. at 101 (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1314 n. 9 (1st

Cir. 1993)); the text of the rule makes clear that the existence of a “dispute” depends upon an

objection by the transferor; where there is no objection by the transferor, there is no longer any

role for the court); Citicorp. Venture Capital, Ltd. v. Official Committee of Unsecured Creditors

(In re Papercraft Corp.), 160 F.3d 982 (3d Cir. 1998) (large investor who held seat on board of

directors of debtor and debtor’s parent, and who also had nonpublic information regarding the

debtor’s value, anonymously purchased 40% of the unsecured claims at a steep discount during

the chapter 11 case, and then, having obtained a blocking position for plan voting purposes,

proposed a plan to acquire debtor; the claims purchaser’s claims were equitably reduced to amount



                                                 54
 Case 19-34054-sgj11       Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E       Document
                            Main Document
                                    1-1 FiledPage
                                               09/15/23
                                                   55 of 105
                                                           Page 60 of 678 PageID 66



paid for the claims since investor was a fiduciary who was deemed to have engaged in inequitable

conduct); Figter Ltd. v. Teachers Ins. & Annuity Ass’n of Am. (In re Figter), 118 F.3d 635 (9th

Cir. 1997) (Ninth Circuit affirmed bankruptcy court’s ruling that a secured creditor’s purchase of

21 out of 34 unsecured claims in the case was in good faith and it would not be prohibited from

voting such claims on the debtor’s plan, pursuant to Bankruptcy Code section 1126(e)); In re

Lorraine Castle Apartments Bldg. Corp., 145 F.2d 55, 57 & 58 (7th Cir. 1945) (in a case under the

old Bankruptcy Act, in which there were more restrictions on claims trading, a debtor and two of

its stockholders argued that the claims of purchasers of bonds should be limited to the amounts

they paid for them; bankruptcy court special master found, “that, though he did not approve

generally the ethics reflected by speculation in such bonds,” there was no cause for limitation of

the amounts of their claims, pointing out that the persons who had dealt in the bonds were not

officials, directors, or stockholders of the corporation and owed no fiduciary duty to the estate or

its beneficiaries—rather they were investors or speculators who thought the bonds were selling too

cheaply and that they might make a legitimate profit upon them; the district court agreed, as did

the Seventh Circuit, noting that “[t]o reduce the participation to the amount paid for securities, in

the absence of exceptional circumstances which are not present here, would reduce the value of

such bonds to those who have them and want to sell them. This would result in unearned,

undeserved profit for the debtor, destroy or impair the sales value of securities by abolishing the

profit motive, which inspires purchasers.”); In re Washington Mutual, Inc., 461 B.R. 200 (Bankr.

Del. 2011), vacated in part, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (discussion of an

equity committee’s potential standing to pursue equitable subordination or equitable disallowance

of the claims of certain noteholders who had allegedly traded their claims during the chapter 11




                                                 55
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          56 of 105
                                                                  Page 61 of 678 PageID 67



case while having material non-public information; while bankruptcy court originally indicating

these were viable tools, court later vacated its ruling on this after a settlement was reached).

         Suffice it to say that the courts have, more often than not, been unwilling to impose legal

consequences, for an actor’s involvement with claims trading. At most, in outlier-type situations

during a case, courts have taken steps to disallow claims for voting purposes or to subordinate

claims to other unsecured creditors for distribution purposes.148 But the case at bar does not present

facts that are typical of any of the situations in reported cases.

         For one thing, unlike in the reported cases this court has located, there seems to have been

complete symmetry of sophistication among the claim sellers and claim purchasers here—and

complete symmetry with HMIT for that matter. All persons involved are highly sophisticated

financial institutions, hedge funds, or private equity funds. No one was a “mom-and-pop” type

business or vendor that might be vulnerable to chicanery. The claims ranged from being worth

$10’s of millions of dollars to $100’s of millions of dollars in face value. And, of course, the

sellers/transferors of the claims have never shown up, subsequent to the claims trading


148
    Note that, while some cases suggest that outright disallowance of an unsecured claim, in the case of “inequitable
conduct” might be permitted (not merely equitable subordination to unsecured creditors)—usually citing to Pepper v.
Litton, 308 U.S. 295 (1939)—the Fifth Circuit has suggested otherwise. In re Mobile Steel Co., Inc., 563 F.2d 692,
699-700 (5th Cir. 1977) (cleaned up) (noting that “equitable considerations can justify only the subordination of
claims, not their disallowance” and also noting that “three conditions must be satisfied before exercise of the power
of equitable subordination is appropriate[:] (i) The claimant must have engaged in some type of inequitable conduct[;]
(ii) The misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair advantage on
the claimant[; and] (iii) Equitable subordination of the claim must not be inconsistent with the provisions of the
Bankruptcy Act.” In Mobile Steel, the Fifth Circuit held that the bankruptcy judge exceeded the bounds of his equitable
jurisdiction by disallowing a group of claims and also reversed the subordination of certain claims, on the grounds
that the bankruptcy court had made clearly erroneous findings regarding alleged inequitable conduct and other
necessary facts. Contrast In re Lothian Oil Inc., 650 F.3d 539 (5th Cir. 2011) (involving the question of whether a
bankruptcy court may recharacterize a claim as equity rather than debt; the court held yes, but it has nothing to do
with inequitable conduct per se; rather section 502(b)’s language that a claim should be allowed unless it is
“unenforceable against the debtor and property of the debtor, under any agreement or applicable law....” is the relevant
authority; unlike equitable subordination, recharacterization is about looking at the true substance of a transaction not
the conduct of a party (if it looks like a duck and quacks like a duck, it’s a duck—i.e., equity); the court indicated that
section 105 is not a basis to recharacterize debt as equity; it’s a matter of looking at state law to determine if there is
any basis and looking at the nature of the underlying transaction—as either a lending arrangement or equity infusion.



                                                            56
 Case 19-34054-sgj11                 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E                 Document
                                      Main Document
                                              1-1 FiledPage
                                                         09/15/23
                                                             57 of 105
                                                                     Page 62 of 678 PageID 68



transactions, to complain about anything. Everyone involved here is, essentially, a behemoth and

there is literally no sign of innocent creditors getting harmed. Second, the case at bar is unique in

that the claims traded here had all been allowed after objections, mediation, and Rule 9019

settlements during the bankruptcy case. Thus, the amounts that would be paid on them were

“locked in,” so to speak. There was no risk to a hypothetical claims-purchaser of disallowance,

offset, or any “claw-back” litigation (or—one might have reasonably assumed—any type of

litigation). Third, the terms for distributions on unsecured claims had been established in a

confirmed plan (although the claims were purchased before the effective date of the Plan). Thus,

there was a degree of certainty regarding return on investment for the Claims Purchasers here that

was much higher than if the claims had been purchased early, during, or mid-way through the

case.149 This was post-confirmation, pre-effective date claims purchasing. Interestingly, all three

of these facts might suggest that little due diligence would be undertaken by any hypothetical

purchaser. The rules of the road had been set. The court makes this observation because HMIT

has suggested there is something highly suspicious about the fact that Farallon allegedly told

Dondero that it did no due diligence before purchasing its claims (leading him to conclude that the

Claims Purchasers must have purchased their claims based on receiving MNPI from Seery). Not

only has there been no colorable evidence suggesting that insider information was shared, but the

lack of due diligence in this context does not reasonably seem suspicious. The claims purchases


149
      See discussion in BANKRUPTCY MARKETS, at 91:
            Some claims purchasers buy before the bankruptcy petition is filed, some at the beginning of the
            case, and some towards the end. For example, there are investors who look to purchase at low prices
            either when a business is failing or early in the bankruptcy and ride through the case until payouts
            are fairly certain. [Citations omitted.] These investors might be hoping to buy at 30 cents on the
            dollar and get a payout at 70 cents on the dollar. Perhaps if they waited another six months, the
            payout would be 74 cents on the dollar, but the additional 4 cents on the dollar for six months might
            not be a worthwhile return for the time value of the investment. Other investors might not want to
            assume the risk that exists in the early days of a case when the fate of the debtor is much less certain,
            but they would gladly purchase at 70 cents on the dollar at the end of the case to get a payout of 74
            cents on the dollar six months later.

                                                               57
 Case 19-34054-sgj11          Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E          Document
                               Main Document
                                       1-1 FiledPage
                                                  09/15/23
                                                      58 of 105
                                                              Page 63 of 678 PageID 69



were almost like passive investments, at this point—there was no risk of a claim objection and

there was a confirmed plan, with a lengthy disclosure statement that described not only plan

payment terms and projections, but essentially anything that any investor might want to know.

          To reiterate, here, HMIT seeks leave to assert the following causes of action:

   I.         Breach of Fiduciary Duties (Seery)

   II.        Knowing Participation in Breach of Fiduciary Duties (Claims Purchasers)

   III.       Conspiracy (all Proposed Defendants)

   IV.        Equitable Disallowance (Claims Purchasers)

   V.         Unjust Enrichment and Constructive Trust (all Proposed Defendants)

   VI.        Declaratory Judgment (all Proposed Defendants)

          The court struggles to fathom how any of these proposed causes of action or remedies

can be applied in the context of: (a) post-confirmation claims trading; (b) where the claims

have all been litigated and allowed.

          In reflecting on the case law and various Bankruptcy Code provisions, the court can fathom

the following hypotheticals in which claims trading during a bankruptcy case might be somehow

actionable:

          Hypothetical #1: The most obvious situation would be if a purchaser of a claim
          files a Rule 3001(e) Notice, and the seller/transferor then files an objection thereto.
          There would then be a contested hearing between purchaser and seller regarding
          the validity of the transfer with the bankruptcy court issuing an appropriate order
          after the hearing on the objection. As noted, there was no objection to the Rule
          3001(e) notices here.
          Hypothetical #2: Alternatively, there could be a breach of contract suit between
          purchaser and seller if one thinks the other breached the purchase-sale agreement
          somehow. Perhaps torts might also be alleged in such litigation. As noted, there is
          no dispute between purchasers and sellers here.
          Hypothetical #3: If there is believed to be fraud in connection with a plan, a party
          in interest might, pursuant to section 1144 of the Bankruptcy Code, move for

                                                    58
 Case 19-34054-sgj11      Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E      Document
                           Main Document
                                   1-1 FiledPage
                                              09/15/23
                                                  59 of 105
                                                          Page 64 of 678 PageID 70



      revocation of the plan “at any time before 180 days after the date of entry of the
      order for confirmation” and the court “may revoke such order if and only if such
      order was procured by fraud.” As noted, here HMIT has suggested that the
      “pessimistic” plan projections may have been fraudulent or misrepresentations
      somehow. The time elapsed long ago to seek revocation of the Plan.
      Hypothetical #4: As discussed above, in rare situations (bad faith), during a
      Chapter 11 case, before a plan is confirmed, a claims purchaser’s claim might not
      be allowed for voting purposes. See Sections 1126(e) of the Bankruptcy Code (“the
      court may designate any entity whose acceptance or rejection of such plan was not
      in good faith”). Obviously, in this case, this is not applicable—the claims were
      purchased post-confirmation.
      Hypothetical #5: As discussed above, in rare situations (inequitable conduct), a
      court might equitably subordinate claims to other claims. See Section 510(c) of
      the Bankruptcy Code. But here, HMIT is seeking either: (a) equitable subordination
      of the claims of the Claims Purchaser to HMIT’s Class 10 former equity interest
      (in contravention of the explicit terms of section 510(c)) or, (b) equitable
      disallowance of the claims of the Claims Purchasers (in contravention of Mobile
      Steel).
      Hypothetical #6: Bankruptcy Code section 502(b)(1) and the Fifth Circuit’s
      Lothian Oil case may permit “recharacterization” of a claim from debt to equity in
      certain circumstances, but not in circumstances like the ones in this case. Here, the
      claims have already been adjudicated and allowed (some after mediation, and all
      after Rule 9019 settlement orders). The only way to reconsider a claim in a
      bankruptcy case that has already been allowed is through Bankruptcy Code section
      502(j) (“A claim that has been allowed or disallowed may be reconsidered for
      cause. . . according to the equities of the case.”). The problem here is that
      Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order
      allowing or disallowing a claim against the estate entered without a contest is not
      subject to the one year limitation prescribed in Rule 60(c)” (emphasis added). Here
      there was most definitely “a contest” with regard to all of these purchased claims.
      Thus, it would appear that any effort to have a court reconsider these claims
      pursuant to section 502(j) is untimely—as it has been well beyond a year since
      they were allowed.
      Hypothetical #7: If a party believes “insider trading” occurred there are
      governmental agencies that investigate and police that. Here, the purchased claims
      (which were not based on bonds or certificated equity interests) would not be
      securities so as to fall under the SEC’s purview. Moreover, there was evidence
      that HMIT or Dondero-Related entities requested that the Texas State Securities
      Board investigate the claims trading and the board did not find a basis to pursue
      anyone for wrongdoing.
      Hypothetical #8: The United States Trustee can investigate wrongdoing by a
      debtor or unsecured creditors committee. While the United States Trustee would
      naturally have concerns about members of an unsecured creditors committee (or an
      officer of a debtor-in-possession) adhering to fiduciary duties and not putting their

                                               59
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         60 of 105
                                                                 Page 65 of 678 PageID 71



           own interests above those of the estate, here, there are a couple of points that seem
           noteworthy. One, the claims trading activity was post-confirmation so—while
           certain of the claim-sellers may have still been on the unsecured creditors
           committee, as the effective date of the plan had not yet occurred—the
           circumstances are very different than if this had all happened during the early,
           contentious stages of the case. It seems inconceivable that there was somehow a
           disparity of information that might be troubling—the Plan had been confirmed and
           it was available for the world to see. The whole notion of “insider information”
           (just after confirmation here) feels a bit off-point. Bankruptcy practitioners and
           judges sometimes call bankruptcy a fishbowl or use the “open kimono” metaphor
           for good reason. It is generally a very open process. And information-sharing on
           the part of a debtor-in-possession or unsecured creditors committee is intended to
           be robust. See, e.g., Bankruptcy Code sections 521 and 1102(b)(3). In a way,
           HMIT here seems to be complaining about this very situation that the Code and
           Rules have designed.

           In summary, claims trading is a highly unregulated activity in the bankruptcy world.

HMIT is attempting to pursue causes of action here that, to this court’s knowledge, have never

been allowed in a context like this.

       B. Back to Standing—Would HMIT Have Standing to Bring the Proposed Claims?

           The Proposed Defendants argue that HMIT lacks standing to bring the Proposed Claims,

either: (a) derivatively on behalf of the Reorganized Debtor and Claimant Trust, or (b) directly on

behalf of itself. Thus, they argue that this is one reason that the Motion for Leave should be denied.

           In making their specific standing arguments, the parties analyze things slightly differently:

        The Claims Purchasers focus primarily on HMIT’s lack of constitutional standing but also
argue that HMIT does not have prudential standing under Delaware trust law to bring the Proposed
Claims either individually or derivatively. Why do they mention Delaware trust law? Because the
Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust Act, 12
Del. C. §§ 3801–29.150

      The Highland Parties’ standing arguments focus almost entirely on HMIT’s lack of
prudential standing under Delaware trust law to bring the Proposed Claims.

       HMIT argues that the Proposed Defendants “play fast and loose with standing arguments”
and that HMIT has constitutional standing as a “party aggrieved”151 to bring the Proposed Claims
on behalf of itself. HMIT also argues that it has standing under Delaware trust law to bring a
150
      See Proposed Complaint, ¶ 26.
151
      Proposed Complaint, ¶7.

                                                    60
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        61 of 105
                                                                Page 66 of 678 PageID 72



derivative action on behalf of the Claimant Trust, and that it not only has standing to bring the
Proposed Claims derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best
party to do so.

      1. The Different Types of Standing: Constitutional Versus Prudential

         The parties are addressing two concepts of standing that can sometimes be confused and

misapplied by both attorneys and judges: constitutional Article III standing, which implicates

federal court subject matter jurisdiction,152 and the narrower standing concept of prudential

standing, which does not implicate subject matter jurisdiction but nevertheless might prevent a

party from having capacity to sue, pursuant to limitations set by courts, statutes or other law.

         Article III constitutional standing works as follows: a plaintiff, as the party invoking

federal jurisdiction, bears the burden of establishing three elements: (1) that he or she suffered an

injury in fact that is concrete, particularized, and actual or imminent—not conjectural or

hypothetical, (2) that there is a causal connection between the injury and the conduct complained

of, and (3) it must be likely, not speculative, that the injury will be redressed by a favorable

decision.153 “If the plaintiff does not claim to have suffered an injury that the defendant caused

and the court can remedy, there is no case or controversy for the federal court to resolve.”154 These

elements ensure that a plaintiff has “‘such a personal stake in the outcome of the controversy’ as

to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s remedial

powers on his behalf.”155




152
     Article III, Section 2 of the U.S. Constitution gives federal courts jurisdiction over enumerated cases and
controversies.
153
    See Thole v. U.S. Bank, N.A., 140 S.Ct. 1615, 1618 (2020)(citing the Supreme Court’s seminal case on the tripartite
test for Article III constitutional standing, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), where the
Supreme Court stated that “the irreducible constitutional minimum of standing contains [the] three elements”); see
also Spokeo, 578 U.S. at 338; Abraugh v. Altimus, 26 F.4th 298, 302 (5th Cir. 2022) (citing id.).
154
    Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021)(cleaned up).
155
    Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

                                                          61
 Case 19-34054-sgj11               Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E               Document
                                    Main Document
                                            1-1 FiledPage
                                                       09/15/23
                                                           62 of 105
                                                                   Page 67 of 678 PageID 73



         Apart from this minimal constitutional mandate, courts and statutes have set other limits

on the class of persons who may seek judicial remedies—and this is the concept of prudential

standing. In its recent opinion in Abraugh v. Altimus,156 the Fifth Circuit set forth a detailed

analysis of the two types of “standing,” noting that the term “standing” is often “misused” in our

legal system, which has led to confusion for both attorneys and judges.157 The constitutional

standing that is necessary for a court to exercise subject matter jurisdiction is broader than

prudential standing and is only the first hurdle a party must clear before pursuing a claim in federal

court.

           The Fifth Circuit explained that in addition to Article III constitutional standing, “courts

have occasionally articulated other ‘standing’ requirements that plaintiffs must satisfy under

certain conditions, beyond those imposed by Article III,”158 such as the “standing” requirement

that might be imposed by a statute or by jurisprudence. The Abraugh case was a perfect example

of the latter.

         Abraugh involved the civil rights statutes that provide, among other things, that “a party

must have standing under the state wrongful death or survival statutes to bring [a § 1983 cause of

action]” and noted that these statutes impose additional “standing” requirements that are a matter

of prudential standing, not constitutional standing.159 In Abraugh, the Fifth Circuit reversed and

remanded a district court’s dismissal of a § 1983 civil rights cause of action—noting that the

district court had stated that it was dismissing based on a “lack of subject matter jurisdiction”

because the plaintiff in that action lacked standing.160 The plaintiff was the mother of a prisoner


156
    26 F.4th 298.
157
    Id. at 303.
158
    Id. at 302 (emphasis added).
159
    Id. at 302-303.
160
    Id. at 301.

                                                   62
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          63 of 105
                                                                  Page 68 of 678 PageID 74



who died by suicide while in custody who brought a § 1983 action against Louisiana correctional

officers and officials. After finding that the plaintiff/mother lacked standing under Louisiana’s

wrongful death and survival statutes (because there had been a surviving child and wife of the

prisoner who were the proper parties with capacity to sue), the district court held that it was

dismissing for lack of subject matter jurisdiction. The Fifth Circuit pointed out that the

plaintiff/mother may have lacked standing under Louisiana’s wrongful death and survival statutes

to bring the claim under § 1983, but that type of standing was matter of prudential standing, and

the plaintiff/mother actually did have Article III constitutional standing (“a constitutionally

cognizable interest in the life of her son”).161 Thus, the district court’s error was not in finding

that the plaintiff/mother lacked prudential standing but in improperly conflating the two standing

concepts when it held that it had lacked subject matter jurisdiction to consider any of the

plaintiff’s/mother’s amended complaints.162 The Fifth Circuit noted specifically that163

         prudential standing does not present a jurisdictional question, but “a merits
         question: who, according to the governing substantive law, is entitled to enforce the
         right?” As the Federal Rules of Civil Procedure make clear, “an action must be
         prosecuted in the name of the real party in interest.” FED. R. CIV. P. 17(a)(1). And
         a violation of this rule is a failure of “prudential” standing. “Not one of our
         precedents holds that the inquiry is jurisdictional.” It goes only to the validity of
         the cause of action. And “the absence of a valid . . . cause of action does not
         implicate subject-matter jurisdiction.”

         Somewhat relevant to this prudential standing discussion is the fact that, in this bankruptcy

case, there have been dozens of appeals of bankruptcy court orders by Dondero and Dondero-

related entities. In connection therewith, both the district court and the Fifth Circuit, in evaluating

the appellate standing of the appellants, have taken pains to distinguish between the concepts of:


161
    Id.
162
    Id. at 301, 303-304. The Fifth Circuit opined that “the district court did not err in describing [the mother’s] inability
to sue under Louisiana law as a defect of ‘standing[, b]ut it is a defect of prudential standing, not Article III standing”
thus technically not implicating the federal court’s subject matter jurisdiction. Id. at 303.
163
    Id. at 304 (cleaned up).

                                                             63
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         64 of 105
                                                                 Page 69 of 678 PageID 75



(a) traditional, constitutional standing, and (b) a type of prudential standing known as the “person

aggrieved” test, which is applied in the Fifth Circuit in determining whether a party has standing

to appeal a bankruptcy court order—which it describes as a narrower and “more exacting”

standard than constitutional standing. As explained in a Fifth Circuit opinion addressing the

standing of a Dondero-related entity called NexPoint to appeal bankruptcy court orders allowing

professional fees, the “person aggrieved” standard that is typically applied to ascertain bankruptcy

appellate standing originated in a statute in the Bankruptcy Act. The Fifth Circuit continued to

apply it after Congress removed the provision when it enacted the Bankruptcy Code in 1978.164

Because it is narrower and “more exacting” than the test for Article III constitutional standing, it

involves application of prudential standing considerations.165 The Fifth Circuit describes the

“person aggrieved” test for bankruptcy appellant standing as requiring that an appellant show that

it was “directly and adversely affected pecuniarily by the order of the bankruptcy court,” requiring

“a higher causal nexus between act and injury than traditional standing . . . that best deals with the

unique posture of bankruptcy actions.”166 In affirming the district court’s dismissal of NexPoint’s

appeal of the bankruptcy court’s fee orders, due to NexPoint’s lack of prudential standing under

the “person aggrieved” test, the court rejected NexPoint’s argument that it had standing to appeal

164
    NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In re Highland Capital Management, L.P.), No.
22-10575, 2023 WL 4621466, *2 (5th Cir. July 19, 2023)(citing In re Coho Energy Inc., 395 F.3d 198, 202 (5th Cir.
2004)(cleaned up)).
165
    Id. at *1, **4-6 (where the Fifth Circuit repeatedly throughout its opinion refers to the “person aggrieved” test for
standing in bankruptcy actions as a test for “prudential standing.”); see also Dondero v. Highland Capital Mgt., L.P.,
Civ. Act. No. 3:20-cv-3390-X, 2002 WL 837208 (N.D. Tex. Mar. 18, 2022)(where the district court, in addressing
Dondero’s standing to appeal a bankruptcy court order approving a Rule 9019 settlement (between Highland and Acis
Capital Management GP LLC), notes that “[i]t is substantially more difficult to have standing to appeal a bankruptcy
court’s order than it is to pursue a typical complaint under Article III of the U.S. Constitution” and that “the Fifth
Circuit has long recognized that bankruptcy cases’ wide-reaching scope calls for a more stringent standing test.”).
166
    See id. at *3 (cleaned up). The court quotes its 2018 opinion in Matter of Technicool Sys., Inc. (In re Technicool),
896 F.3d 382, 385 (5th Cir. 2018), which explains why the “person aggrieved” prudential standing standard is applied
in bankruptcy actions: “Bankruptcy cases often involve numerous parties with conflicting and overlapping interests.
Allowing each and every party to appeal each and every order would clog up the system and bog down the courts.
Given the specter of such sclerotic litigation, standing to appeal a bankruptcy court order is, of necessity, quite
limited.” Id. (cleaned up).

                                                           64
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       65 of 105
                                                               Page 70 of 678 PageID 76



because “it meets traditional Article III standing requirements [and that the more exacting]

prudential standing considerations such as the ‘person aggrieved’ standard” did not survive the

Supreme Court’s 2014 Lexmark167 opinion,168 which addressed standing issues in the context of

false advertising claims under the Lanham Act and reminded that courts may not “limit a cause of

action that Congress has created merely because ‘prudence’ dictates.”169 The Fifth Circuit held

that the Supreme Court’s reminder in Lexmark did not nullify the “person aggrieved” test for

prudential standing in bankruptcy appeals, citing its own decision in Superior MRI Services Inc.

v. Alliance Healthcare Services, Inc.170 (rendered a year after Lexmark was decided), in which it

held that Lexmark applied only to the circumstances of that case, “rather than broadly modifying—

or undermining—all prudential standing concerns, such as the one animating the ‘person

aggrieved’ standard in bankruptcy appeals.”171

        Similarly, in yet another appeal in this bankruptcy case involving three Dondero-related

entities as appellants (NexPoint, Dugaboy, and HCMFA)—this one an appeal of a bankruptcy

court order authorizing the creation of an indemnity subtrust and entry into an indemnity trust

agreement—the district court noted the parties’ confusion about the standing issue, as exemplified

in the parties’ reference to constitutional standing when they were actually arguing that they had

prudential standing under the “person aggrieved” test: “Although the parties frame this issue as

one of constitutional standing . . . they cite case law and present arguments about the prudential




167
    Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).
168
    Id. at *2.
169
    See id. at *4 (cleaned up).
170
    778 F.3d 502 (5th Cir. 2015).
171
    NexPoint, 2023 WL 4621466 at *4 (cleaned up). The Fifth Circuit explicitly stated that “Lexmark does not
expressly reach prudential concerns in bankruptcy appeals and brought no change relevant here.” Id. at *5 (cleaned
up).

                                                       65
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        66 of 105
                                                                Page 71 of 678 PageID 77



standing requirement embodied in the ‘person aggrieved’ test.”172 The district court noted that it

had an “independent obligation to consider constitutional standing before reaching its prudential

aspects.”173 The district court dismissed the appeal as to Dugaboy and HCMFA for lack of

standing but, upon concluding that NexPoint did have standing, dismissed the appeal as to it on

the merits. The Fifth Circuit affirmed.174 Interestingly, the court noted that, while the parties did

not contest the district court’s determination that NexPoint had standing to pursue the appeal, it

“may consider prudential standing issues sua sponte.”175 In doing so, the Fifth Circuit recognized

the distinction between constitutional standing and the prudential “person aggrieved” test applied

to bankruptcy appeals, which “is, of necessity, quite limited” and “an even more exacting standard

than traditional constitutional standing,” as it requires an appellant to show that it is “directly,

adversely, and financially impacted by a bankruptcy order.”176

         In summary, in analyzing whether HMIT would have standing to bring the Proposed

Claims, this court must first determine whether HMIT would have constitutional standing under

Article III (which is a subject matter jurisdiction hurdle) and, assuming it does, then additionally

address whether HMIT would also have prudential standing (i.e., capacity to sue) pursuant to any

applicable statutes (e.g., Delaware statutes), jurisprudence, or other substantive law that might

limit who may sue. Notwithstanding HMIT’s argument that it has standing under the “person



172
    Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
Civ. Act. No. 3:21-cv-1895-D, 2002 WL 270862, *1 (N.D. Tex. Jan. 18, 2022)(cleaned up). The district court
dismissed the appeals of two of the appellants, Dugaboy and HCMFA, finding that they lacked both constitutional
standing and prudential standing under the “person aggrieved” test and affirmed the bankruptcy court’s order after
finding the third appellant, NexPoint, to have prudential standing under the “person aggrieved” test. Id. at **1-3 and
*4.
173
    Id. at *1 n.2.
174
    Highland Capital Mgt. Fund, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), 57 F.4th 494
(5th Cir. 2023).
175
    Id. at 501 (cleaned up).
176
    Id.

                                                         66
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         67 of 105
                                                                 Page 72 of 678 PageID 78



aggrieved” test177—which, as discussed above, is a matter of prudential standing—this is applied

only in the context of bankruptcy appellate matters.178 As noted in its most recent opinion

discussing standing in an appeal from the Highland bankruptcy case, the Fifth Circuit reiterated

that the “person aggrieved” test is a test for bankruptcy appellate standing, which is narrower than

a party in interest’s right to be heard in bankruptcy cases in general.179 The court rejected an

argument that Bankruptcy Code § 1109, which provides that “[a] party in interest . . . may raise

and may appear and be heard on any issue in a case under this chapter” confers appellate standing,

noting that “one’s standing to appear and be heard before the bankruptcy court [is] a concept

distinct from standing to appeal the merits of a decision” and that the “person aggrieved” test for

bankruptcy appellate standing is narrower than the test for determining one’s standing to appear

and be heard in a bankruptcy proceeding.180

         Thus, the court will now analyze whether HMIT would, at a minimum, have constitutional

standing to bring the Proposed Claims.

    2. HMIT Would Lack Article III Constitutional Standing to Bring the Proposed Claims.

         As noted above, the Supreme Court and the Fifth Circuit have made clear that constitutional

standing is necessary for a court to exercise subject matter jurisdiction. It is only the first hurdle a

party must clear before pursuing a claim in federal court. HMIT, as plaintiff, would bear the


177
    HMIT insists that it has constitutional standing to bring claims on its individual behalf “as an aggrieved party.” See
Reply, ¶ 7.
178
    HMIT’s argument in this matter that it has constitutional standing because it is a “party aggrieved” incorrectly
conflates the prudential bankruptcy appellate “person aggrieved” test with the broader test that is applied to
constitutional standing. The court is not being critical of this mistake. As noted at supra note 149, the Fifth Circuit
in Abraugh pointed out that courts and attorneys alike have created confusion by misusing the term “standing” when
they equate a lack of “standing,” in all instances, with a lack of subject matter jurisdiction, even when the party is
found to lack only prudential standing. Thus, HMIT is not alone in its confusion over the two different concepts of
standing.
179
    See NexPoint, 2023 WL 4621466 at *6.
180
    Id. at *6 (cleaned up)(“Because Section 1109(b) expands the right to be heard [in a bankruptcy proceeding] to a
wider class than those who qualify under the ‘person aggrieved’ standard, courts considering the issue have concluded
that merely being a party in interest is insufficient to confer appellate standing.”)(emphasis added).

                                                           67
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       68 of 105
                                                               Page 73 of 678 PageID 79



burden of establishing: (1) that it suffered an injury in fact that is concrete, particularized, and

actual or imminent—not conjectural or hypothetical, (2) that there is a causal connection between

the injury and the conduct complained of, and (3) it must be likely, not speculative, that the injury

will be redressed by a favorable decision.181

        Concrete and Particularized; Actual or Imminent. As the Supreme Court made clear in the

Lujan case, the injury in fact element requires a showing that the injury was “concrete and

particularized” and “actual or imminent, not conjectural or hypothetical.”182 The Supreme Court

in the Spokeo case expounded on the “concrete and particularized” requirements of the “injury in

fact” element. Particularization requires a showing that the injury “must affect the plaintiff in a

personal and individual way,” but while particularization is necessary, it alone is “not sufficient,”

because an injury in fact must also be “concrete.”183 And, concreteness is “quite different from

particularization.”184 A “concrete” injury must be “real,” and “not abstract,” though it does not

mean that the injury must be “tangible,” as the injury can be intangible and nevertheless be

concrete.185 In addition to the concreteness and particularization requirements, an injury in fact

must be “actual or imminent” such that “allegations of injury that is merely conjectural or

hypothetical do not suffice to confer standing.”186          “Although imminence is concededly a

somewhat elastic concept, it cannot be stretched beyond its purpose, which is to ensure that the

alleged injury is not too speculative for Article III purposes—that the injury is certainly




181
    See supra note 153.
182
    Lujan, 504 U.S. at 560 (cleaned up).
183
    Spokeo, 578 U.S. at 339.
184
    Id. at 340.
185
    Id.
186
    Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

                                                        68
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         69 of 105
                                                                 Page 74 of 678 PageID 80



impending”; “allegations of possible future injury are not sufficient.”187

         Traceability - Causal Connection. As to the second element—that the injury was caused

by the defendant—the Supreme Court in Lujan further described it as requiring a showing that

“the injury has to be fairly traceable to the challenged action of the defendant.”188 The “fairly

traceable” test requires an examination of “the causal connection between the assertedly unlawful

conduct and the alleged injury.”189

         Redressability. The third element—redressability—requires the court to examine the

connection “between the alleged injury and the judicial relief requested.”190 “Relief that does not

remedy the injury suffered cannot bootstrap a plaintiff into federal court.”191 “[A] court must

determine that there is an available remedy which will have a ‘substantial probability’ of redressing

the plaintiff’s injury.”192

         The Claims Purchasers argue that HMIT lacks constitutional standing to pursue the claims

asserted in the Proposed Complaint because: (i) neither HMIT nor the Bankruptcy Estate was

injured by the Claim Purchasers’ acquisition of the claims; and (ii) the Proposed Complaint lacks

a theory of cognizable damages to the Reorganized Debtor, the Claimant Trust, and/or the

beneficiaries of the Claimant Trust.193


187
    Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)(cleaned up); see also Abdullah v. Paxton, 65 F.4th 204,
208 (5th Cir. 2023)(“[Injury] cannot be speculative, conjectural, or hypothetical [and] [a]llegations of only a ‘possible’
future injury similarly will not suffice.”)(cleaned up).
188
    Lujan, 504 U.S. at 560-61 (cleaned up).
189
    Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).
190
     Id. (noting “it is important to keep the [‘fairly traceable’ and ‘redressability’] inquiries separate if the
‘redressability’ component is to focus on the requested relief.”).
191
    Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).
192
    City of Los Angeles v. Lyons, 461 U.S. 95, 129 n.20 (1983)(Marshall, J., dissenting)(cleaned up); see also Ondrusek
v. U.S. Army Corps of Engineers, Civ. Act. No. 3:22-cv-1874-N, 2023 WL 2169908, at *5 (“Plaintiffs have not
demonstrated that any available remedy would be sufficiently likely to relieve their alleged economic losses. Without
a showing of redressability, those harms also cannot support Plaintiff’s Article III standing.”).
193
    As noted earlier, certain of the Proposed Defendants—the Highland Parties—do not focus on HMIT’s lack of
constitutional standing to pursue the Proposed Claims against them, but on its lack of prudential standing under


                                                           69
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         70 of 105
                                                                 Page 75 of 678 PageID 81



         The court agrees with the Claims Purchasers’ argument here. What is HMIT’s concrete

and particularized injury—that is “real” and is not abstract?                       That is not conjectural or

hypothetical? That is actual or imminent?

         Recall that, under the Plan, HMIT holds a Class 10 contingent interest in the Claimant

Trust that only realizes value if all creditors are paid in full with interest. HMIT alleges the

following injury: it has suffered a devaluation of its unvested Contingent Claimant Trust Interest

by virtue of the alleged over-compensation of Seery as the Claimant Trustee—Seery’s alleged

over-compensation depletes the assets in the Claimant Trust available for distribution to creditors

under the Plan, such that there is less likely a chance that HMIT ultimately receives any

distributions on account of its Class 10 Contingent Claimant Trust Interest.194 Yet, HMIT testified,

through both witnesses Dondero and Patrick, that it had no personal knowledge of what Seery’s

actual compensation is under the CTA at the time HMIT filed its Motion for Leave. It was clear

that HMIT’s allegations regarding Seery’s “excessive” compensation were based entirely on

Dondero’s pure speculation. In reality, Seery’s base salary is exactly what the bankruptcy court

approved during the bankruptcy case by a court order (after negotiations between Seery and the

Committee). The CTA now further governs his compensation. The CTA, which was publicly

filed in advance of the Plan confirmation hearing and approved by this court as part of the Plan


applicable law. Because constitutional standing is a matter of subject matter jurisdiction, the court has an independent
duty to determine whether HMIT would have constitutional standing to pursue the Proposed Claims in federal court.
The issue cannot be forfeited or waived by a party. See Abraugh v. Y & H Corp., 546 U.S. 500, 514 (2006)(“[S]ubject-
matter jurisdiction, because it involves a court’s power to hear a case, can never be forfeited or waived. Moreover,
courts . . . have an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
of a challenge from any party.”)(cleaned up); Abraugh, 26 F.4th at 304 (“It is our constitutional duty, of course, to
decline subject matter jurisdiction where it does not exist—and that is so whether the parties challenge Article III
standing or not.”)(cleaned up).
194
    At the June 8 Hearing, HMIT’s counsel was unable to identify any other injury HMIT has alleged to have suffered.
HMIT’s counsel acknowledged that claims trades, in and of themselves, would not “involve injury to the Reorganized
Debtor and to the Claimant Trust” and that claims trades are “normally outside the purview of the bankruptcy court”
but that “[h]ere, we have alleged . . . . injury [that] takes the form of unearned excessive fees that Mr. Seery has
garnered as a result of his relationship and arrangements, as we have alleged, with the Claims Purchasers.” June 8
Hearing Transcript, 67:16-68:8. HMIT can only point to Seery’s excess compensation as injury.

                                                          70
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       71 of 105
                                                               Page 76 of 678 PageID 82



(which has been affirmed by the Fifth Circuit), specifically provides that Seery’s post-Effective

Date compensation would include a “Base Salary” (again, same as during the bankruptcy case), a

“success fee,” and “severance.”195 The CTA discussed the role of the Committee and then the

CTOB in setting the success fee and severance and the like. A fully executed copy of the CTA

was admitted into evidence at the June 8 Hearing. HMIT is essentially arguing that its injury (i.e.,

diminished likelihood of realizing value on its Contingent Claimant Trust Interest) stems from a

court-sanctioned and creditor-approved process for approving compensation to Seery. Moreover,

HMIT has failed to plead facts sufficient to show that, even if Seery received excessive

compensation and that compensation is ordered to be returned, HMIT’s Contingent Claimant Trust

Interest will ever vest. The district court and the Fifth Circuit in various appeals by Dugaboy,

another Dondero-related entity that, similar to HMIT, was a holder of a limited partnership interest

in Highland whose interests were terminated as of the Effective Date of the Plan in exchange for

a Contingent Claimant Trust Interest, have repeatedly rejected Dugaboy’s claims to have standing

based on the speculative nature of its alleged injuries as a contingent beneficiary of the Claimant

Trust under the Plan. For example, the Fifth Circuit affirmed the district court’s dismissal of an

appeal by Dugaboy of the bankruptcy court’s order authorizing the creation of an indemnity

subtrust, wherein Judge Fitzwater found that, in addition to lacking prudential standing under the



195
    The Disclosure Statement that was approved by this court, after notice and a hearing, on November 24, 2020,
provided that “The salient terms of each Trustee’s employment, including such Trustee’s duties and compensation
shall be set forth in the Claimant Trust Agreement . . . .” The CTA was part of a Plan Supplement (as amended) that
was filed in advance of the confirmation hearing and provided:
                    Compensation. As compensation for any services rendered by the Claimant Trustee in
          connection with this Agreement, the Claimant Trustee shall receive compensation of $150,000 per
          month (the “Base Salary”). Within the first forty-five days following the Confirmation Date, the
          Claimant Trustee, on the one hand, and the Committee, if prior to the Effective Date, or the
          Oversight Board, if on or after the Effective Date, on the other, will negotiate go-forward
          compensation for the Claimant Trustee which will include (a) the Base Salary, (b) a success fee, and
          (c) severance.
See Highland Ex. 38, at § 3.13(a)(i).

                                                        71
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         72 of 105
                                                                 Page 77 of 678 PageID 83



“person aggrieved” test to appeal the bankruptcy court’s order, Dugaboy lacked constitutional

standing “because they have not identified any injury fairly traceable to the Order: the injuries

identified are speculative at best and nonexistent at worst.”196 HMIT’s allegations of injury are,

without a doubt, “merely conjectural or hypothetical” and are only speculative of possible future

injury if its Contingent Claimant Trust Interest ever vests.”197 The court finds that HMIT would

not meet the “concrete and particularized” or the “actual or imminent” requirements for an “injury

in fact,” and, thus, would lack constitutional standing to pursue the Proposed Claims.

         With regard to the second requirement of constitutional standing—whether HMIT could

show “traceability” with respect to the Claims Purchasers and/or Seery (i.e., a “causal connection

between the assertedly unlawful conduct and the alleged injury”198), as noted above, there is only

a speculative injury. Even if there is unlawful conduct asserted (i.e., sharing of MNPI to Claims

Purchasers who then, as a quid pro quo, rubber stamped excessive compensation for Seery), there

is nothing other than a hypothetical theory of an alleged injury (i.e., an allegedly less likelihood of

a distribution on a Contingent Claimant Trust Interest).

         With respect to the third requirement of constitutional standing—whether HMIT can show

“redressability” (i.e., that it is likely, not speculative, that the injury can be redressed by a favorable




196
    Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
Civ. Act. No. 3:21-cv-1895-D, 2022 WL 270862, *1 n.2 (N.D. Tex. Jan. 28, 2022), aff’d 57 F.4th 494 (5th Cir.
2023)(emphasis added); see also Judge Scholer’s opinion in Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re
Highland Capital Mgt., L.P.), Civ. Act. No. 3:21-cv-2268-S, 2022 WL 3701720, *3 (N.D. Tex. Aug. 8, 2022)(cleaned
up), aff’d per curium, No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023) (where Dugaboy had argued that “its
pecuniary interest is . . . a potential recovery under the Plan as one of Debtor's former equity holders” and that “it
ha[d] standing as a ‘contingent beneficiary’ under the Plan, or a beneficiary who will be entitled to payment after all
creditors are paid in full,” and Judge Scholer stated, “This assertion is premised on the assumption that Dugaboy's
0.1866% pre-bankruptcy limited partnership interest in Debtor—which was extinguished under the Plan—makes it a
contingent beneficiary of the creditor trust created under the Plan. . . . [S]uch a ‘speculative prospect of harm is far
from a direct, adverse, pecuniary hit’ as required to confer standing.”
197
    Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).
198
    Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).

                                                          72
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       73 of 105
                                                               Page 78 of 678 PageID 84



decision), there are multiple problems here.199 The major remedy sought here is the equitable

disallowance of the allowed Purchased Claims (and disgorgement and/or constructive trust of amounts

paid or owed to the Claim Purchasers on account of their claims). There is no such remedy

available here. As noted earlier, there is a similar concept of equitable subordination of a claim

to another claim, or of an interest to another interest, pursuant to Bankruptcy Code section 510(c).

But under the literal terms of section 510(c), claims cannot be subordinated to interests.

Moreover, the Fifth Circuit noted in the Mobile Steel case,200 that equitable disallowance of a

claim (as opposed to equitable subordination of a claims) is not an available remedy. Bankruptcy

Code section 502(b)(1) and the Fifth Circuit’s Lothian Oil case might permit “recharacterization”

of a claim from debt to equity in certain circumstances—but not based on inequitable conduct but

rather on the nature of a financial transaction. In any event, here, the claims have already been

adjudicated and allowed (some after mediation, and all after Rule 9019 settlement orders). The

only way to reconsider a claim in a bankruptcy case that has already been allowed is through

Bankruptcy Code section 502(j) (“A claim that has been allowed or disallowed may be

reconsidered for cause. . . according to the equities of the case.”). As noted earlier, the problem

here is that Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order allowing

or disallowing a claim against the estate entered without a contest is not subject to the one year

limitation prescribed in Rule 60(c)” (emphasis added). As further noted earlier, here there was

most definitely a “contest” with regard to all of these purchased claims. Thus, it would appear


199
    See supra notes 182-184 and accompanying text. The court will note that, as discussed supra note 141 and pages
71-72, the remedy of equitable subordination (as to the Claims Purchasers) would not redress HMIT’s alleged injury
(because equitable subordination of claims to interests is not an available remedy in the Fifth Circuit and thus
subordination of the Purchased Claims to other claims would not change HMIT’s distributions from the Claimant
Trust, if any), and because outright disallowance of all or part of the already allowed Purchased Claims is not an
available remedy either, HMIT would not be able to meet the “redressability” requirement with respect to the Claims
Purchasers.
200
    In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).

                                                        73
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          74 of 105
                                                                  Page 79 of 678 PageID 85



that any effort to have a court reconsider and potentially disallow these claims pursuant to

section 502(j) is untimely—as it has been well beyond a year since they were allowed.

       3. HMIT Would Also Lack Prudential Standing to Bring the Proposed Claims.

           Even if HMIT would have constitutional standing to bring the Proposed Claims in an

adversary proceeding filed in the bankruptcy court, the Proposed Claims would still be barred if

HMIT would lack prudential standing to bring them under applicable state or federal law. HMIT

argues that it does have prudential standing under both federal bankruptcy law and Delaware law

to pursue the Proposed Claims derivatively and also to bring the Proposed Claims in its individual

capacity.

           With regard to “federal bankruptcy law,” HMIT argues that it has standing pursuant to: (a)

Rule 23.1 of the Federal Rules of Civil Procedure, pertaining to derivative actions, which “applies

to this proceeding pursuant to” Rule 7023.1 of the Federal Rules of Bankruptcy Procedure, and (b)

Louisiana World Exposition v. Federal Insurance Co. (“LWE”),201 the Fifth Circuit’s leading case

addressing when a creditors committee may be granted standing to bring causes of action on behalf

of a bankruptcy estate. But, federal bankruptcy law does not confer standing where the plaintiff

otherwise lacks standing under applicable state law. In other words, whether HMIT would have

prudential standing to sue under Delaware law is dispositive of the issue, regardless of the forum.

Rule 23.1 “speaks only to the adequacy of the . . . pleadings,” and “cannot be understood to

‘abridge, enlarge, or modify any substantive right,’”202 including a right (or lack thereof) to bring

a derivative action under the substantive law of Delaware. Additionally, HMIT’s reliance on LWE

is misplaced: LWE permits creditors, in certain circumstances during a bankruptcy case, to “file




201
      858 F.2d 233 (5th Cir. 1988).
202
      Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)(quoting 28 U.S.C. § 2072(b)).

                                                          74
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       75 of 105
                                                               Page 80 of 678 PageID 86



suit on behalf of a debtor-in-possession or a trustee”203 and does not apply to a party’s right to sue,

derivatively, on behalf of the Reorganized Debtor or any entity that is the assignee of the former

bankruptcy estate’s assets. Upon confirmation of the Plan, the bankruptcy estate of Highland

ceased to exist;204 Highland is no longer a debtor-in-possession but a reorganized debtor, and the

Claimant Trust is a new entity created under the Plan and Claimant Trust Agreement. Even if LWE

did apply in this post-confirmation context, it supports the application of Delaware law to the issue

of prudential standing and does not supersede state-law requirements for standing. In LWE, before

addressing the requirements a creditors’ committee must meet to sue derivatively on behalf of a

bankruptcy estate as a matter of federal bankruptcy law, the Fifth Circuit conducted a lengthy

analysis to determine “as a threshold issue” whether the creditors’ committee in that case could

assert its claims under Louisiana law.205 The court specifically addressed whether the creditors’

committee could pursue a derivative action under Louisiana law and concluded that “there is no

bar in Louisiana law to actions brought by or in the name of a corporation against the directors and

officers of the corporation which benefit only the creditors of the corporation; indeed, Louisiana

law specifically recognizes such actions.”206 So, even under LWE (which the court does not think

applies in this post-confirmation context), if HMIT would be barred from bringing a derivative

action on behalf the Reorganized Debtor or Claimant Trust under state law, the analysis stops

there.207 Thus, the court looks to Delaware law to determine if HMIT would have prudential

standing to pursue the derivative claims on behalf the Reorganized Debtor and the Claimant Trust.


203
    LWE, 858 F.2d at 247.
204
    See In re Craig’s Stores, 266 F.3d 388, 390 (5th Cir. 2001).
205
    LWE, 858 F.2d at 236-45.
206
    Id. at 243.
207
    See In re Dura Automotive Sys., LLC, No. 19-123728 (Bankr. D. Del. June 10, 2020), Docket No. 1115 at 46 (where
the Delaware bankruptcy court denied the creditors’ committee standing to sue derivatively on behalf of a Delaware
LLC because the committee lacked standing under the Delaware LLC Act, stating, “To determine that the third party


                                                        75
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        76 of 105
                                                                Page 81 of 678 PageID 87



        HMIT acknowledges that both the Reorganized Debtor and the Claimant Trust are

organized under Delaware law, and thus the cause of action against Seery alleging breach of

fiduciary duties to the Reorganized Debtor and the Claimant Trust are governed by Delaware law

under the “Internal Affairs Doctrine.”208 In addition, because HMIT’s breach of fiduciary duties

claim is governed by Delaware law, its aiding and abetting theory of liability as to the Claims

Purchasers is also governed by Delaware law.209 For the reasons set forth below, the court finds

that HMIT would lack prudential standing under Delaware law to bring the claims set forth in the

Proposed Complaint, derivatively, on behalf of either the Claimant Trust or the Reorganized

Debtor.

             a) First, HMIT Would Lack Prudential Standing Under Delaware Law to Bring
                Derivative Actions on behalf of the Claimant Trust.

        The Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust

Act, 12 Del. C. §§ 3801–29,210 and “to proceed derivatively against a Delaware statutory trust, a

plaintiff has the burden of satisfying the continuous ownership requirement” such that “the plaintiff

must be a beneficial owner” continuously from “the time of the transaction of which the plaintiff

complains” through “the time of bringing the action.”211 This requirement is “mandatory and

exclusive” and only “a beneficial owner” “has standing to bring a derivative claim on behalf of the



may bring the claim under the derivative basis and, thus, step into the shoes of the debtor to pursue them, the Court
must look to the law of the debtors’ state of incorporation or formation.”).
208
    Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
organized under the laws of Delaware.
209
    See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
(applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
headquartered in Texas).
210
    See Proposed Complaint, ¶ 26.
211
    Hartsel v. Vanguard Grp., Inc., 2011 WL 2421003, at *19 n.123 (Del. Ch. June 15, 2011), aff’d 38 A.3d 1254 (Del.
2012); 12 Del C. § 3816(b).

                                                         76
 Case 19-34054-sgj11              Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E              Document
                                   Main Document
                                           1-1 FiledPage
                                                      09/15/23
                                                          77 of 105
                                                                  Page 82 of 678 PageID 88



Trust.”212 The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust

and, therefore, would lack standing to bring derivative claims on behalf of the Claimant Trust.

HMIT argues to the contrary: that it is currently, and was at all relevant times, a “beneficial owner”

of the Claimant Trust under Delaware trust law such that it would have standing to bring derivative

claims on behalf of the Claimant Trust if it were allowed to proceed with the filing of the Proposed

Complaint. The disagreement turns on the nature of HMIT’s interest under the Plan and the

Claimant Trust Agreement and whether HMIT, as a holder of such interest, would be considered

a “beneficial owner” of the Claimant Trust under Delaware trust law.

         As noted, pursuant to the Plan, HMIT’s former limited partnership interest in Highland was

cancelled as of the Effective Date in exchange for its pro rata share of a “Contingent Claimant

Trust Interest,” as defined under the Plan.213 HMIT argues that its Contingent Claimant Trust

Interest makes it a contingent beneficiary of the Claimant Trust, which makes it a present

“beneficial owner” under Delaware trust law.

         The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust;

rather, the “beneficial owners” of the Claimant Trust are the “Claimant Trust Beneficiaries,”214

which are defined in the Plan and the CTA as “the Holders of Allowed General Unsecured Claims”

(which are in Class 8 under the Plan) and “Holders of Allowed Subordinated Claims” (which are

in Class 9 under the Plan); 215 HMIT, a holder of a Class 10 interest under the Plan, is neither.


212
    In re Nat’l Coll. Student Loan Tr. Litig., 251 A.3d 116, 191 (Del. Ch. 2020) (citing CML V, LLC v. Bax, 28 A.3d
1037, 1042 (Del. 2011)). HMIT acknowledges this requirement in its Reply: “Delaware statutory trust law provides
that a plaintiff in a derivative action on behalf of a trust must be a beneficial owner at the time of the action and at the
time of the transaction.” Reply, ¶ 19 (citing 12 Del C. § 3816).
213
     See Plan Art. III.H.10 and Art. I.B.44.
214
     Section 2.8 of the CTA provides, “The Claimant Trust Beneficiaries shall be the sole beneficiaries of the Claimant
Trust . . . .” HMIT Ex. 26, § 2.8.
215
     See Plan Art. I.B.44 (“‘Claimant Trust Beneficiaries’ means the Holders of Allowed General Unsecured Claims,
Holders of Allowed Subordinated Claims, including, upon Allowance, Disputed General Unsecured Claims and
Disputed Subordinated Claims that become Allowed following the Effective Date, and, only upon certification by the


                                                            77
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         78 of 105
                                                                 Page 83 of 678 PageID 89



HMIT, as the holder of a “Contingent Claimant Trust Interest,” has only an unvested contingent

interest in the Claimant Trust and, as such, is not a “beneficial owner” of the Claimant Trust for

standing purposes under Delaware trust law. HMIT argues that it “should be treated as a vested

Claimant Trust Beneficiary due to [the Proposed Defendants’] wrongful conduct and considering

the current value of the Claimant Trust Assets before and after the relief requested herein.”216 The

court disagrees.

         HMIT’s status as a “beneficiary” of the Claimant Trust is defined by the CTA itself, pure

and simple. The CTA specifically provides that “Contingent Trust Interests” “shall not have any

rights under this Agreement” and will not “be deemed ‘Beneficiaries’ under this Agreement,”

“unless and until” they vest in accordance with the Plan and the CTA. It is undisputed that HMIT’s

Contingent Trust Interest has not vested under the terms of the Plan and the CTA, and the court

does not have the power to equitably deem HMIT’s Contingent Trust Interest to be vested based

on HMIT’s unsupported allegation of wrongdoing on the part of Seery, the Claimant Trustee.

Thus, the court finds that HMIT is not a “beneficial owner” of the Claimant Trust and, therefore,

lacks prudential standing under Delaware law to bring derivative claims on behalf of the Claimant

Trust.217




Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant Trust Agreement
and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of Allowed Class B/C Limited Partnership
Interests, and Holders of Allowed Class A Limited Partnership Interests.”); CTA § 1.1(h). See also, CTA, 1 at n.2
(“For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
in accordance with the terms and conditions set forth herein and in the Plan.”). HMIT Ex. 26.
216
    Proposed Complaint ¶ 24.
217
    See Nat’l Coll., 251 A.3d at 190–92 (dismissing creditors’ derivative claims because they were not “beneficial
owners of the Trusts”); Hartsel, 2011 WL 2421003, at *19 n.123 (dismissing derivative claims by investors that “no
longer own shares” because “those investors no longer have standing to pursue a derivative claim”).

                                                           78
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         79 of 105
                                                                 Page 84 of 678 PageID 90



             b) HMIT Would Likewise Lack Prudential Standing Under Delaware Law to Bring
                Derivative Actions on behalf of the Reorganized Debtor.


         HMIT acknowledges that the Reorganized Debtor, Highland Capital Management, L.P., is

a Delaware limited liability partnership governed by the Delaware Limited Partnership Act, 6 Del.

C. § 17-101, et seq.218 To bring “a derivative action” on behalf of a limited partnership, “the

plaintiff must be a partner or an assignee of a partnership interest” continuously from “the time of

the transaction of which the plaintiff complains” through “the time of bringing the action.”219

         HMIT is not a partner, general or limited, of the Reorganized Debtor limited partnership.

HMIT was a limited partner in the original debtor (specifically, a holder of Class B/C Limited

Partnership interests in Highland), but that limited partnership interest was extinguished on August

11, 2021 (the Effective Date of the Plan) per the terms of the Plan, and HMIT does not own any

partnership interest in the newly created Reorganized Debtor limited partnership.220 Because

HMIT would not hold a partnership interest in the Reorganized Debtor at “the time of bringing the

action,” it “lacks derivative standing” to bring claims “on the partnership’s behalf.”221 HMIT

likewise cannot satisfy “the continuous ownership requirement”; when HMIT’s limited

partnership interest in the original Debtor was cancelled on the Plan’s Effective Date, HMIT “los[t]

standing to continue a derivative suit” on behalf of the Debtor.222 Finally, to the extent HMIT


218
    Proposed Complaint ¶ 25.
219
    6 Del. C. § 17-1002; see Tow v. Amegy Bank, N.A., 976 F. Supp. 2d 889, 904 (S.D. Tex. 2013) (“The [Delaware]
partnership act facially bars any party other than a limited partner from suing derivatively. . . . Delaware courts
historically have interpreted the provisions as giving the partners exclusive rights to sue for breach of another party’s
fiduciary duties to them.”) (quoting CML V, LLC v. Bax, 6 A.3d 238, 245 (Del. Ch. 2010), aff’d 28 A.3d 1037 (Del.
2011)); El Paso Pipeline GP Co. v. Brinckerhoff, 152 A.3d 1248, 1265 n.87 (Del. 2016) (“The statutory foundation
for the continuous ownership requirement in the corporate realm is echoed in the limited partnership context.”) (citing
6 Del. C. § 17-211(h)).
220
    See Plan Art. IV.A.
221
    Tow, 976 F. Supp. 2d at 904 (dismissing derivative claims by creditor on behalf of partnership for lack of standing).
222
    El Paso, 152 A.3d at 1265 (cleaned up) (dismissing derivative action for lack of standing where plaintiff’s
partnership interest was extinguished by a merger transaction); see also Schmermerhorn v. CenturyTel, Inc. (In re


                                                           79
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         80 of 105
                                                                 Page 85 of 678 PageID 91



seeks to bring a “double derivative” action on behalf of the Claimant Trust based on claims

purportedly held by its wholly owned subsidiary, the Reorganized Debtor, HMIT lacks standing.

A “double derivative” action is a suit “brought by a shareholder of a parent corporation to enforce

a claim belonging to a subsidiary that is either wholly owned or majority controlled.”223 And, under

Delaware law, “parent level standing is required to enforce a subsidiary’s claim derivatively.”224

Because HMIT would lack derivative standing to bring claims on behalf of the parent Claimant

Trust,225 it also would lack standing to bring a double derivative action.

              c) Finally, HMIT Would Also Lack Prudential Standing under Applicable Law to
                 Bring the Proposed Claims As Direct Claims.

         HMIT argues that it has “direct” standing to pursue the Proposed Claims on behalf of itself,

individually.226 But just because HMIT asserts that some or even all of the Proposed Claims are

direct, not derivative claims, does not make it so: “a claim is not ‘direct’ simply because it is

pleaded that way.”227 Rather, in determining whether claims are direct or derivative, a court must

“look at the substance of the Petition, and the nature of the wrongs alleged therein, rather than the

Plaintiffs’ characterization.”228 And, under Delaware law, “whether a claim is solely derivative or



SkyPort Global Commcn’s, Inc.), 2011 WL 111427, at *25–26 (Bankr. S.D. Tex. Jan. 13, 2011) (holding that pre-
petition shareholders “lack standing to bring a derivative claim” under Delaware law because they “had their equity
interests in the company extinguished pursuant to the merger under the Plan”); In re WorldCom, Inc., 351 B.R. 130,
134 (Bankr. S.D.N.Y. 2006) (“[T]he cancellation of WorldCom shares under the Plan … prevents the required
continuation of shareholder status through the litigation.”) (cleaned up).
223
    Lambrecht v. O’Neal, 3 A.3d 277, 282 (Del. 2010).
224
    Sagarra, 34 A.3d at 1079–81 (capitalization omitted) (citing Lambrecht, 3 A.3d at 282).
225
    See supra pp. 80-82.
226
    See e.g., Motion for Leave ¶ 10 (“HMIT has individual standing to bring this action because Seery owed fiduciary
duties directly to HMIT at that time . . . .”); id. ¶ 67 (arguing that “HMIT has [d]irect [s]tanding”); Proposed Complaint
¶ 24 (“HMIT has constitutional standing and capacity to bring these claims both individually and derivatively.”).
227
    Schmermerhorn, 2011 WL 111427, at *26 (quoting Gatz v. Ponsoldt, 2004 WL 3029868 at *7 (Del. Ch. Nov. 5,
2004)).
228
    See id. (citing Armstrong v. Capshaw, Goss & Bowers LLP, 404 F.3d 933, 936 (5th Cir. 2005)); see also Moore v.
Simon Enters., Inc., 919 F.Supp. 1007, 1009 (N.D. Tex. 1995)(“The determination of whether a claim is a derivative
claim or a direct claim is made by reference to the nature of the wrongs alleged in the complaint, and is not limited by
a [party’s] characterization or stated intention.”)(cleaned up).

                                                           80
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         81 of 105
                                                                 Page 86 of 678 PageID 92



may continue as a dual-natured claim ‘must turn solely on the following questions: (1) who

suffered the alleged harm (the corporation or the suing stockholders, individually); and (2) who

would receive the benefit of any recovery or other remedy (the corporation or the stockholders,

individually)?’”229 “In addition, to prove that a claim is direct, a plaintiff ‘must demonstrate that

the duty breached was owed to the stockholder and that he or she can prevail without showing an

injury to the corporation.’”230 Similarly, in the bankruptcy context, whether a creditor can assert

a claim directly or whether the claim belongs to the estate turns on the nature of the injury for

which relief is sought: “[i]f the harm to the creditor comes about only because of harm to the

debtor, then its injury is derivative, and the claim is property of the estate,” such that “only the

bankruptcy trustee has standing to pursue the claim for the estate . . . .”231 “To pursue a claim on

its own behalf, a creditor must show this direct injury is not dependent on injury to the estate.”232

         As a reminder, HMIT argues that the injury it has suffered is a devaluation of its interests

in the Claimant Trust by virtue of alleged over-compensation of Seery as the Claimant Trustee.

HMIT was unable, when pressed during closing arguments, to identify any other injury. It

essentially admitted that the claims trades, in and of themselves, would not have harmed the

Claimant Trust, the Reorganized Debtor, or individual stakeholders, including HMIT, since the

Claims Purchasers acquired already allowed unsecured claims, such that the distributions on

those claims pursuant to the Plan would be unchanged in the hands of new holders of the claims.



229
    El Paso, 152 A.3d at 1260 (quoting Tooley v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031, 1033 (Del. 2004))
(emphasis in original).
230
    Id. (quoting Tooley, 845 A.2d at 1033); see also Schmermerhorn, 2011 WL 111427, at *24 (same).
231
    Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912 F.3d 291, 293 (5th Cir. 2019) (citing 11
U.S.C. § 541(a)(1)).
232
    Id.; see also Schertz-Cibolo-Universal City Indep. Sch. Dist. v. Wright (In re Educators Grp. Health Tr.), 25 F.3d
1281, 1284 (5th Cir. 1994)(“If a cause of action alleges only indirect harm to a creditor (i.e., an injury which derives
from harm to the debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then
the cause of action belongs to the estate.”)(citations omitted).

                                                          81
 Case 19-34054-sgj11             Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E             Document
                                  Main Document
                                          1-1 FiledPage
                                                     09/15/23
                                                         82 of 105
                                                                 Page 87 of 678 PageID 93



Thus, by its own concessions, any alleged harm to HMIT (through devaluation of assets in the

Claimant Trust) “comes about only because of harm to the debtor,” so the alleged “injury is

derivative.”233 The court concludes that all of the claims set forth in the Proposed Complaint allege

derivative claims only, and that none would be direct claims against the Proposed Defendants.

Thus, HMIT would lack prudential standing to bring any of the Proposed Claims in the Proposed

Complaint, so its Motion for Leave should be denied.

              d) Some Final Points Regarding Standing.

         In this standing discussion, one should not lose sight of the fact that there are both

procedural safeguards in place, as well as certain independent individuals in place with fiduciary

duties that might act in the event of any shenanigans regarding Claimant Trust activities. Under

section 4.1 of the CTA (approved as part of the Plan process), the CTOB, which includes an

independent disinterested member in addition to representatives of the Claims Purchasers,234

oversees the Claimant Trustee’s performance of his duties, approves his compensation, and may

remove him for cause. Moreover, there is a separate “Litigation Trustee” in this case who was

brought in, post-confirmation, as an independent fiduciary to pursue claims and causes of action.

These independent persons are checks and balances in the post-confirmation wind down of

Highland. This is what creditors voted on in connection with the Plan. Seery and the Claims

Purchasers are not in sole control of anything. The CTA, as well as Delaware law, very clearly set

forth who can bring an action in the event of some colorable claim. This is the reality of prudential



233
    Meridian, 912 F.3d at 293–94 (“The creditors’ injury (reduced bankruptcy recovery) derived from injury to the
debtor (the loss of estate assets), so only the estate could sue the third parties.”); see also El Paso, 152 A.3d at 1260–
61 & n.60 (holding that claim “claims of corporate overpayment are normally treated as causing harm solely to the
corporation and, thus, are regarded as derivative”) (collecting cases); Gerber v EPE Holdings, LLC, 2013 WL 209658,
at *12 (Del. Ch. Jan. 18, 2013) (holding that claims were derivative because plaintiff had “not identified any
independent harm suffered by the limited partners”; “the partnership suffered all the harm at issue—it paid too much”).
234
    See supra note 23 and accompanying text.

                                                           82
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       83 of 105
                                                               Page 88 of 678 PageID 94



standing. Just as in the Abraugh case, where Louisiana law dictated that a mother could not bring

a wrongful death case when the deceased prisoner had a surviving wife and child, Delaware law

and the CTA dictate here that a contingent beneficiary cannot bring the Proposed Claims here.

This is separate and apart from whether the claims are colorable.

      C. Are the Proposed Claims “Colorable”?

      1. What is the Proper Standard of Review for a “Colorability” Determination?

         Although the court has determined that HMIT would not have standing (constitutional or

prudential) to bring the Proposed Claims, this court will nevertheless evaluate whether the

claims—assuming HMIT somehow has standing—might be “colorable.” This, in turn, requires

the court to assess what the legal standard is to determine if a claim is “colorable.” As a reminder,

the Plan’s Gatekeeper Provision and this court’s prior Gatekeeper Orders entered in January and

July 2020 each required that, before a party may commence or pursue claims relating to the

bankruptcy case against certain protected parties, it must first obtain a finding from the bankruptcy

court that its proposed claims are “colorable.” The Gatekeeper Provision and Gatekeeper Orders

did not specifically define “colorable” or what type of legal standard should apply.

         HMIT argues that the standard for review to be applied by this court is the same as a simple

“plausibility” standard used in connection with a Rule 12(b)(6) motions to dismiss. In other words,

the court should simply assess whether the allegations of the Proposed Complaint, taken as true

and with all inferences drawn in favor of the movant, state a plausible claim for relief (i.e.,

colorable equals plausible), and that this standard does not allow for the weighing of evidence by

the court.235 The Proposed Defendants, however, argue that the test for colorability should be more




235
   Reply, ¶ 5 (“[T]he determination of ‘colorability’ does not allow the ‘weighing’ of evidence. At most, a Rule
12(b)(6) ‘plausibility’ standard applies.”).

                                                      83
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        84 of 105
                                                                Page 89 of 678 PageID 95



akin to the test applied under the Barton doctrine,236 under which a plaintiff must make a prima

facie case that a proposed claim against a bankruptcy trustee is “not without foundation.” In this

regard, they argue that the court can and should consider evidence outside of the four corners of

the complaint—especially since HMIT attached to its Motion for Leave, as “evidence” to support

it, two declarations of Dondero (as part of a 350-page attachment) and only attempted to withdraw

those declarations after the Highland Parties urged that they be permitted to cross-examine

Dondero on them.

        This court ultimately determined that the “colorability” standard was somewhat of a mixed

question of fact and law and, therefore, the parties could put on evidence at the June 8 Hearing if

they so-chose. The court would not require it. It was up to the parties. But, in any event, the

Proposed Defendants should have an opportunity to cross-examine Dondero on the statements

made in his declarations since the declarations had been filed on the docket and the court had

reviewed them at this point. HMIT attempted to withdraw the declarations and any reference to

them in the Motion for Leave, by filing redacted versions of the Motion for Leave,237 less than 72

hours before the June 8 Hearing; however, the redacted versions did not redact any allegations in

the Motion for Leave that were purportedly supported by the Dondero declarations. Also, HMIT

called Dondero as a direct witness, in addition to calling Seery as an adverse witness at the June 8

Hearing, albeit subject to its running objection to the evidentiary format of the hearing.238 HMIT

also filed a witness and exhibit list attaching 80 exhibits and over 2850 pages of evidence and




236
    Barton v. Barbour, 104 U.S. 126 (1881).
237
    Bankr. Dkt. Nos. 3815 and 3816.
238
    See June 8 Hearing Transcript, 7:20-24, 112:11-13.

                                                         84
 Case 19-34054-sgj11          Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E          Document
                               Main Document
                                       1-1 FiledPage
                                                  09/15/23
                                                      85 of 105
                                                              Page 90 of 678 PageID 96



moved for the admission of those exhibits at the June 8 Hearing (again, subject to its running

objection to the evidentiary format of the hearing).239

        In determining what appropriate legal standard applies here in the “colorability” analysis,

the context in which the Gatekeeper Provision of the Plan was approved seems very relevant. In

determining that the Gatekeeper Provision was legal, necessary, and in the best interest of all of

the parties, this court set forth in the Confirmation Order a lengthy discussion of the factual support

for it, and made specific findings relating to Dondero’s post-petition litigation and the need for

inclusion of the Gatekeeper Provision in the Plan.240 This court observed that “prior to the

commencement of the Debtor’s bankruptcy case, and while under the direction of Dondero, the

Debtor had been involved in a myriad of litigation, some of which had gone on for years and, in

some cases, over a decade” and that “[d]uring the last several months, Dondero and the Dondero

Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

time-consuming litigation for the Debtor.”241 This court further found that: (1) Dondero’s post-

petition litigation “was a result of Dondero failing to obtain creditor support for his plan proposal

and consistent with his comments, as set forth in Seery’s credible testimony, that if Dondero’s plan

proposal was not accepted, he would ‘burn down the place,’”242 (2) without the Gatekeeper

Provision in place, “Dondero and his related entities will likely commence litigation against the

Protected Parties after the Effective Date” and that “the threat of continued litigation by Dondero

and his related entities after the Effective Date will impede efforts by the Claimant Trust to

monetize assets for the benefit of creditors and result in lower distributions to creditors because of


239
    See Hunter Mountain Investment Trust’s Witness and Exhibit List in Connection with Its Emergency Motion for
Leave to File Verified Adversary Proceeding, and Supplement (“HMIT W&E List”)[Bankr. Dkt. No. 3818] and n.1
thereto; see also June 8 Hearing Transcript, 33:7-10.
240
    See Confirmation Order ¶¶ 76-79.
241
    Id. ¶ 77.
242
    Id. ¶ 78. See supra note 12.

                                                      85
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       86 of 105
                                                               Page 91 of 678 PageID 97



costs and distraction such litigation or the threats of such litigation would cause,”243 and, (3)

“unless the [court] approves the Gatekeeper Provision, the Claimant Trustee and the Claimant

Trust Oversight Board will not be able to obtain D&O insurance,244 the absence of which will

present unacceptable risks to parties currently willing to serve in such roles.” Thus, as set forth in

the Confirmation Order, the Gatekeeper Provision (and the Gatekeeper Orders as well, which were

approved based on the same concerns regarding the threat of continued litigation by Dondero and

his related entities) required Dondero and related entities to make a threshold showing of

colorability, noting that the:

        Gatekeeper Provision is also within the spirit of the Supreme Court’s “Barton
        Doctrine.” Barton v. Barbour, 104 U.S. 126 (1881). The Gatekeeper Provision is
        also consistent with the notion of a prefiling injunction to deter vexatious litigants,
        that has been approved by the Fifth Circuit in such cases as Baum v. Blue Moon
        Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811
        (5th Cir. 2017).”245

        The Fifth Circuit, in approving the Gatekeeper Provision on appeal, noted that that the Plan

injunction and Gatekeeper Provision “screen and prevent bad-faith litigation against Highland

Capital, its successors, and other bankruptcy participants that could disrupt the Plan’s

effectiveness.”246

        Again, the court believes it is appropriate to consider the context in which—and the

purpose for which—the Gatekeeper Orders and Gatekeeper Provision were entered in assessing




243
    Id.
244
    Asd noted at ⁋ 79 of the Confirmation Order, the bankruptcy court heard testimony from Mark Tauber, a Vice
President with AON Financial Services, the Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O
insurance for the post-confirmation parties implementing the Plan. Mr. Tauber credibly testified that of all the
insurance carriers that AON approached to provide D&O insurance coverage after the Effective Date, the only one
willing to do so without an exclusion for claims asserted by Mr. Dondero and his affiliates required that the
Confirmation Order approve the Gatekeeper Provision.
245
    Id. ¶ 80.
246
    NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 435 (5th
Cir. 2022).

                                                       86
 Case 19-34054-sgj11            Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E            Document
                                 Main Document
                                         1-1 FiledPage
                                                    09/15/23
                                                        87 of 105
                                                                Page 92 of 678 PageID 98



how “colorability” should work here. It seems that applying HMIT’s proposed Rule 12(b)(6)

“plausibility” standard would impose no hurdle at all to litigants and would render the threshold

for bringing claims under the Gatekeeper Provision and Gatekeeper Orders entirely duplicative of

the motion to dismiss standard that every litigant already faces.

         The authorities cited by HMIT in support of its argument for applying a Rule 12(b)(6)

standard are inapposite. HMIT has cited no authority that addresses the appropriate standard for

assessing the “colorability” of claims in the context of a plan gatekeeper provision—specifically,

one implemented in response to a demonstrated need to screen and prevent continued bad-faith,

harassing litigation against a chapter 11 debtor that would impede the debtor’s implementation of

a plan, which is what we have here. HMIT relies on a bevy of cases that include benefits coverage

disputes under ERISA, Medicare coverage disputes, and constitutional challenges247—none of

which implicate the Barton doctrine and vexatious-litigant concerns that were referenced by the

court in the Plan as justifications for the gatekeeping provisions at issue here.

         In affirming the Plan’s Gatekeeper Provision, the Fifth Circuit stated, “Courts have long

recognized bankruptcy courts can perform a gatekeeping function” and noted, by way of example,

that “[u]nder the ‘Barton doctrine,’ the bankruptcy court may require a party to ‘obtain leave of


247
   See Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002)
(assessing whether an employee has “a colorable claim to vested benefits” such that the employee may be considered
a “participant” under ERISA); Abraham v. Exxon Corp., 85 F.3d 1126, 1129 (5th Cir. 1996) (same); Panaras v. Liquid
Carbonic Indus. Corp., 74 F.3d 786, 790 (7th Cir. 1996) (same); Lake Eugenie Land & Dev., Inc. v. BP Expl. & Prods.
(In re Deepwater Horizon), 732 F.3d 326, 340 (5th Cir. 2013) (holding that claims administrator incorrectly interpreted
class settlement agreement by permitting “claimants [with] no colorable legal claim” to receive awards); Richardson
v. United States, 468 U.S. 317, 326 n.6 (1984) (discussing whether criminal defendant’s double jeopardy claim was
“colorable” such that it could be appealed before final judgments); Trippodo v. SP Plus Corp., 2021 WL 2446204, at
*3 (S.D. Tex. June 15, 2021) (assessing whether plaintiff stated a “colorable claim” against proposed additional
defendants in determining whether plaintiff could amend complaint); Reyes v. Vanmatre, 2021 WL 5905557, at *3
(S.D. Tex. Dec. 13, 2021) (same); Family Rehab., Inc. v. Azar, 886 F.3d 496, 504 n.15 (5th Cir. 2018) (assessing
whether plaintiff raised a “colorable claim” to warrant the district court’s exercise of jurisdiction over a Medicare
coverage dispute); Am. Med. Hospice Care, LLC v. Azar, 2020 WL 9814144, at *5 (W.D. Tex. Dec. 9, 2020) (same);
Harry v. Colvin, 2013 WL 12174300, at *5 (W.D. Tex. Nov. 6, 2013) (considering whether plaintiff asserted a
“colorable constitutional claim” such that the court could exercise jurisdiction); Sabhari v. Mukasey, 522 F.3d 842,
844 (8th Cir. 2008) (same); Stanley v. Gonzales, 476 F.3d 653, 657 (9th Cir. 2007) (same).

                                                          87
 Case 19-34054-sgj11           Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E           Document
                                Main Document
                                        1-1 FiledPage
                                                   09/15/23
                                                       88 of 105
                                                               Page 93 of 678 PageID 99



the bankruptcy court before initiating an action in district court when the action is against the

trustee or other bankruptcy-court-appointed officer, for acts done in the actor’s official

capacity.”248 As noted above, the Fifth Circuit found that the Gatekeeper Provision, which

“requires that, before any lawsuit is filed, the plaintiff must seek the bankruptcy court’s approval

of the claim as ‘colorable’”—i.e., to “screen and prevent bad-faith litigation,”—is “sound.”249

        On balance, the court views jurisprudence applying the Barton doctrine and vexatious

litigant injunctions—while not specifically addressing the “colorability” standard under

gatekeeping provisions in a plan250—as more informative on how to approach “colorability” than

any of the other authorities presented by the parties. One example is In re VistaCare Group,

LLC.251

        In VistaCare, the Third Circuit noted that, under the Barton doctrine, “[a] party seeking

leave of court to sue a trustee must make a prima facie case against the trustee, showing that its

claim is not without foundation,” and emphasized that the “not without foundation” standard, while

similar to the standard courts apply in evaluating Rule 12(b)(6) motions to dismiss, “involves a

greater degree of flexibility” than a Rule 12(b)(6) motion to dismiss because “the bankruptcy court,

which given its familiarity with the underlying facts and the parties, is uniquely situated to

determine whether a claim against the trustee has merit,” and “is also uniquely situated to

determine the potential effect of a judgment against the trustee on the debtor’s estate.”252 To satisfy

the “prima facie case standard,” “the movant must do more than meet the liberal notice-pleading




248
    Id. at 438 (cleaned up).
249
    Id. at 435.
250
    The court acknowledges that the Barton doctrine itself would not be directly applicable here because HMIT is
proposing to bring the Proposed Complaint in the bankruptcy court – the “appointing” court of Seery.
251
    678 F.3d 218 (3d Cir. 2012).
252
    Id. at 232-233 (cleaned up).

                                                      88
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             89 of 105
                                                    Page 94 of 678 PageID 100



 requirements of Rule 8.”253 “[I]f the [bankruptcy] court relied on mere notice-pleading standards

 rather than evaluating the merits of the allegations, the leave requirement would become

 meaningless.”254 This court agrees with the notion, that “[t]o apply a less stringent standard would

 eviscerate the protections” of the Gatekeeper Provision and Gatekeeper Orders.255 The court notes,

 as well, that courts in the Barton doctrine context regularly hold evidentiary hearings on motions

 for leave to determine if the proposed complaint meets the necessary threshold for pursuing

 litigation. The Third Circuit in VistaCare noted that “[w]hether to hold a hearing [on a motion for

 leave to bring suit against a trustee] is within the sound discretion of the bankruptcy court,”256 and

 that “the decision whether to grant leave may involve a ‘balancing of the interests of all parties

 involved,’” which will ordinarily require an evidentiary hearing.257 The Third Circuit applied “the

 deferential abuse of discretion standard” in considering whether the bankruptcy court’s granting

 of leave should be affirmed on appeal.258



 253
     In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) (cleaned up; collecting cases).
 254
     Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill. Nov. 30,
 2000).
 255
     World, 584 B.R. at 743 (quoting Leighton, 2000 WL 1761020, at *2).
 256
     VistaCare, 678 F.3d at 232 n.12.
 257
     Id. at 233 (quoting In re Kashani, 190 B.R. 875, 886–87 (9th Cir. BAP 1995)). The Third Circuit noted that the
 bankruptcy court’s holding of an evidentiary hearing on the motion for leave was appropriate (though not required in
 every case)). Id. at 232 n.12.
 258
     Id. at 224 (“We review a bankruptcy court’s decision to grant a motion for leave to sue a trustee under the deferential
 abuse of discretion standard.”) (citing In re Linton, 136 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725
 F.2d 880, 889 (2d Cir. 1984)). Courts of appeal routinely apply the deferential abuse of discretion standard to a
 bankruptcy court’s decision regarding whether leave should be granted to sue a trustee. Although the Fifth Circuit
 has not squarely addressed this issue, all nine Circuits that have considered this issue have also adopted an abuse-of-
 discretion standard. See In re Bednar, 2021 WL 1625399, at *3 (B.A.P. 10th Cir. Apr. 27, 2021) (“[T]he Bankruptcy
 Court's decision to decline leave to sue the Trustee under the Barton doctrine is reviewed for abuse of discretion . . .
 .”) (citing VistaCare); SEC v. N. Am. Clearing, Inc., 656 F. App’x 969, 973–74 (11th Cir. 2016) (“Although we have
 never determined the standard of review for a challenge to the denial of a Barton motion, other Circuits that have
 considered the issue review a lower court's ruling on a Barton motion for an abuse of discretion.”) (citing VistaCare);
 In re Lupo, 2014 WL 4653064, at *3 (B.A.P. 1st Cir. Sept. 17, 2014) (“Appellate courts review a bankruptcy court's
 decision to deny a motion for leave to sue under the abuse of discretion standard.”) (citing VistaCare); Grant,
 Konvalinka & Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 422 (6th Cir. 2013) (holding that abuse-of-
 discretion standard applies to Barton doctrine); Alexander v. Hedback, 718 F.3d 762 (8th Cir. 2013) (applying abuse-
 of-discretion standard to Barton doctrine).

                                                             89
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             90 of 105
                                                    Page 95 of 678 PageID 101



          The Fifth Circuit has affirmed a bankruptcy court’s conducting of an evidentiary hearing,

 in the context of applying a Barton doctrine analysis as to a proposed lawsuit against a trustee,

 without any concern that the inquiry was somehow improper.259

          Similarly, courts in the vexatious litigant context, where there was an injunction requiring

 a movant to seek leave to pursue claims, have required movants to “show that the claims sought

 to be asserted have sufficient merit,” including that “the proposed filing is both procedural and

 legally sound,” and “that the claims are not brought for any improper purpose, such as

 harassment.”260 “For a prefiling injunction to have the intended impact, it must not merely require

 a reviewing official to apply an already existing level of review,” such as the “plausibility”

 standard for a Rule 12(b)(6) motion.261 Rather, courts apply “an additional layer of review,” and

 “may appropriately deny leave to file when even part of the pleading fails to satisfy the reviewer

 that it warrants a federal civil action” or that the “litigant’s allegations are unlikely,” especially

 “when prior cases have shown the litigant to be untrustworthy or not credible . . . .”262

          In summary, the court rejects HMIT’s positions: (a) that it need only show, at most, that

 the allegations in the Proposed Complaint are “plausible” under the Rule 12(b)(6) standard for

 motions to dismiss; and (b) that this court improperly conducted an evidentiary hearing on the

 Motion for Leave (i.e., that consideration of evidence in this context is impermissible). The court

 notes, again, that HMIT’s argument that this court is not permitted to consider evidence in making

 its “colorability” determination is completely contradictory to HMIT’s actions in filing the Motion



 259
     See Howell v. Adler (In re Grodsky), 2019 WL 2006020, at *4 (Bankr. E.D. La. Apr. 11, 2019) (dismissing an
 action under Barton after “a close examination” by the bankruptcy court of the evidence regarding the trustee’s actions
 and finding that “the plaintiffs’ allegations are not based in fact”), aff’d 799 F. App’x 271 (5th Cir. 2020).
 260
     Silver v. City of San Antonio, 2020 WL 3803922, at *1 (W.D. Tex. July 7, 2020) (denying leave to file lawsuit);
 see also Silver v. Perez, 2020 WL 3790489, at *1 (W.D. Tex. July 7, 2020) (same).
 261
     Silver, 2020 WL 3803922, at *6.
 262
     Id.

                                                           90
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             91 of 105
                                                    Page 96 of 678 PageID 102



 for Leave, where it attached two Dondero declarations as part of 350 pages of “objective evidence”

 that “supported” its motion.

         The court concludes that the appropriate standard to be applied in making its “colorability”

 determination in this bankruptcy case, in the exercise of its gatekeeping function pursuant to the

 two Gatekeeper Orders and the Gatekeeper Provision in this Plan, is a broader standard than the

 “plausibility” standard applied to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that

 involves an additional level of review—one that places on the proposed plaintiff a burden of

 making a prima facie case that its proposed claims are not without foundation, are not without

 merit, and are not being pursued for any improper purpose such as harassment. Additionally,

 this court may, and should, take into consideration its knowledge of the bankruptcy proceedings

 and the parties and any additional evidence presented at the hearing on the Motion for Leave. For

 ease of reference, the court will refer to this standard of “colorability” as the “Gatekeeper

 Colorability Test.” The court considers this test as a sort of hybrid of what the Barton doctrine

 contemplates and what courts have applied when considering motions to file suit when a vexatious

 litigant bar order is in place.

     2. HMIT’s Proposed Complaint Does Not Present “Colorable” Claims Under this Court’s
        Gatekeeper Colorability Test or Even Under a Rule 12(b)(6) “Plausibility” Standard.

         The court finds, in the exercise of its gatekeeping function under the Gatekeeper Orders

 and the Gatekeeping Provision in the Plan, that the Motion for Leave should be denied as the

 claims set forth in the Proposed Complaint are not “colorable” claims. The court makes this

 determination after considering evidence admitted at the June 8 Hearing, including the testimony

 of Dondero, Patrick, and Seery, and the numerous exhibits offered by HMIT and the Highland

 Parties. HMIT’s Proposed Claims lack foundation, are without merit, and appear to be motivated

 by the improper purposes of vexatiousness and harassment. But, even under the less stringent


                                                  91
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             92 of 105
                                                    Page 97 of 678 PageID 103



 “plausibility” standard under Rule 12(b)(6) motions to dismiss, where all allegations must be

 accepted as true, HMIT’s “[t]hreadbare recitals of the elements of a cause of action, supported by

 mere conclusory statements,” fail to “[]cross the line from conceivable to plausible.”263

             HMIT makes unsubstantiated and conclusory allegations in its Motion for Leave and

 Proposed Complaint that the Claims Purchasers purchased the large allowed unsecured claims only

 because Seery, while he was CEO of Highland prior to the Effective Date of the Plan, provided

 them with MNPI and assurances that the Purchased Claims were very valuable. This was allegedly

 in exchange for their agreement to approve, in their future capacities as members of the CTOB,

 excessive compensation for Seery in his capacity as the Claimant Trustee after the Effective Date

 of the Plan. This was an alleged quid pro quo that HMIT claims establishes Seery’s breach of

 fiduciary duties and the Claims Purchasers’ conspiracy to participate in that breach. As discussed

 below, these allegations are unsubstantiated and conclusory allegations, and they do not support

 the inferences that HMIT needs the court to make when it analyzes whether the Proposed Claims

 are “colorable”—or even merely plausible.

                 a) HMIT’s Proposed Breach of Fiduciary Duties Claim Set Forth in Count I of the
                    Proposed Complaint

             Based on HMIT’s Proposed Complaint and the evidence admitted at the June 8 Hearing,

 the court finds that HMIT has not pleaded facts that would support a “colorable” breach of

 fiduciary duties claim against Seery, under this court’s Gatekeeper Colorability Test, nor a

 plausible claim pursuant to the Rule 12(b) standard. HMIT alleges that Seery breached his

 fiduciary duties (i) “[b]y disclosing material non-public information to Stonehill and Farallon”




 263
       Ashcroft v. Iqbal, 556 U.S. 662, 679–80 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

                                                             92
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             93 of 105
                                                    Page 98 of 678 PageID 104



 before their purchase of certain Highland claims, and (ii) by receiving “compensation paid to him

 under the terms of the [CTA] since the Effective Date of the Plan in August 2021.”264

         As earlier noted, both the Reorganized Debtor and the Claimant Trust are organized under

 Delaware law and, thus, its proposed Count I against Seery for breach of fiduciary duties to these

 entities is governed by Delaware law under the “Internal Affairs Doctrine.”265 Under Delaware

 law, “[t]o bring a claim for breach of fiduciary duty, a plaintiff must allege ‘(1) that a fiduciary

 duty existed and (2) that the defendant breached that duty.’”266 HMIT fails to plausibly or

 sufficiently allege either element such that its breach of fiduciary duty claims against Seery could

 survive.

         Under Delaware law, officers and directors generally owe fiduciary duties only to the entity

 and its stakeholders as a whole, not to individual shareholders.267 Because Seery did not owe any

 “duty” to HMIT directly and individually, the Proposed Complaint fails to state a claim for breach

 of fiduciary duties to HMIT. HMIT’s “legal conclusion[]” that Seery “owed fiduciary duties to

 HMIT, as equity, and to the Debtor’s Estate”268 “do[es] not suffice” to plausibly allege the

 existence of any actionable fiduciary relationship.269 And as discussed earlier in the standing

 section, HMIT does not have standing to assert a breach of fiduciary claim derivatively on behalf



 264
     Proposed Complaint ¶¶ 64–67.
 265
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 266
     Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020) (quoting Joseph C.
 Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch. Feb. 28, 2020)).
 267
     See Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) (“[D]irectors’ fiduciary duty runs to
 the corporation and to the entire body of shareholders generally, as opposed to specific shareholders or shareholder
 subgroups.”) aff’d, 575 A.2d 1131 (Del. 1990); Klaassen v Allegro Dev. Corp., 2013 WL 5967028, at *11 (Del. Ch.
 Nov. 7, 2013) (same).
 268
     Proposed Complaint ¶ 63.
 269
     Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                                                         93
 Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                        09/15/23
                                             94 of 105
                                                    Page 99 of 678 PageID 105



 of the Claimant Trust or Reorganized Debtor. But even if HMIT had sufficiently alleged the

 existence of a fiduciary duty by Seery to HMIT—or to the Reorganized Debtor or Claimant Trust

 that HMIT would have standing to assert—Seery’s alleged communications with Farallon would

 not have breached those duties.

            HMIT alleges that Seery ““disclose[d] material non-public information to Stonehill and

 Farallon,” and they “acted on inside information and Seery’s secret assurances of great profits.”270

 But the Proposed Complaint does not make any factual allegations regarding HMIT’s “conclusory

 allegations,” and its “legal conclusions” are “purely speculative, devoid of factual support,” and

 therefore “stop[] short of the line between possibility and plausibility of entitlement to relief”271

 (and certainly stop short of being “colorable”). HMIT never alleges when any of these purported

 communications occurred, what material non-public information Seery provided, and what

 “assurances of great profits” he made to Farallon or to Stonehill. At the June 8 Hearing, Dondero

 could only clarify that he believed the MGM Email to have been MNPI and that he believed that

 Seery must have communicated that MNPI to Farallon at some point between December 17, 2020

 (the date the MGM Email was sent) and May 28, 2021 (the day that Dondero alleges to have had

 three telephone calls with representatives of Farallon, Messrs. Patel and Linn, regarding Farallon’s

 purchase of the bankruptcy claims). Dondero alleges that, during these phone calls, Patel and Linn

 gave Dondero no reason for their purchase of the claims that “made [any] sense.” Dondero and

 Patrick also both testified that neither of them had any personal knowledge: (a) of a quid pro quo

 arrangement between Seery and the Claims Purchasers, (b) of Seery having actually communicated

 any information from the MGM Email to Farallon, or (c) whether Seery’s post-Effective Date

 compensation had or had not been negotiated in an arms’ length transaction. Dondero only

 270
       Proposed Complaint ¶¶ 3, 64; see also id. ¶¶ 13–14, 40, 47, 50.
 271
       Reed v. Linehan (In re Soporex, Inc.), 463 B.R. 344, 367, 386 (Bankr. N.D. Tex. 2011) (cleaned up).

                                                            94
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              95 of 105
                                                     Page 100 of 678 PageID 106



 speculates regarding these things, because it “made no sense” to him that the Claims Purchasers

 would have acquired the bankruptcy claims without having received the MNPI. But HMIT admits

 in the Proposed Complaint that Farallon and Stonehill purchased the Highland claims at discounts

 of 43% to 65% to their allowed amounts. Thus, they would receive at least an 18% return based

 on publicly available estimates in Highland’s court-approved Disclosure Statement.272 The

 evidence established that, if the acquisition of the UBS claims is excluded—recall that the UBS

 claims were not purchased until August 2021, which was after the May 28, 2021 phones calls that

 Dondero made to Farallon personnel—the Claims Purchasers would have expected to net over $33

 million in profits, or nearly a 30% return on their investment, had Highland met its projections

 (this is based on the aggregate purchase price of $113 million for the non-UBS claims purchased

 in the Spring 2021).

         To be clear, the only purported MNPI identified in HMIT’s Proposed Complaint was the

 MGM Email Dondero sent to Seery containing “information regarding Amazon and Apple’s

 interest in acquiring MGM.” But, the evidence showed that this information was widely reported

 in the financial press at the time. Thus, it could not have constituted MNPI as a matter of law.273

 Moreover, the evidence showed that Dondero did not communicate in the MGM Email the actual

 inside information that he claimed to have obtained as a board member of MGM–which was that

 Amazon had met MGM’s “strike price” and that the MGM board was going into exclusive

 negotiations with Amazon to culminate the merger with them (and, thus, Apple was no longer

 considered a potential purchaser). Dondero admitted that he included Apple in the MGM Email

 for the purpose of making it look like there was a competitive process still ongoing. In other


 272
    Proposed Complaint ¶¶ 3, 37, 42.
 273
    See, e.g., SEC v. Cuban, 2013 WL 791405, at *10–11 (N.D. Tex. Mar. 5, 2013) (holding that information is not
 “material, nonpublic information” and “‘becomes public when disclosed to achieve a broad dissemination to the
 investing public’”) (quoting SEC v. Mayhew, 121 F.3d 44, 50 (2d Cir. 1997)).

                                                       95
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              96 of 105
                                                     Page 101 of 678 PageID 107



 words, the MGM Email, at the very least, did not include MNPI and, at worst, was deceptive

 regarding the status of the negotiations between MGM and potential purchasers.

          As to HMIT’s allegations that Seery’s post-Effective Date compensation is “excessive”

 and that the negotiations between Seery and the CTOB “were not arm’s-length,”274 the evidence

 at the June 8 Hearing reflected that the allegations are completely speculative, without any

 foundation whatsoever, and lack merit. And they are also simply not plausible. HMIT fails to

 allege facts in the Proposed Complaint that would support a reasonable inference that Seery

 breached his fiduciary duty to HMIT or the estate as a result of bad faith, self-interest, or other

 intentional misconduct rising to the level of a breach of the duty of loyalty.275

               b) HMIT’s Proposed Claims Set Forth in Counts II (Knowing Participation in Breach
                  of Fiduciaries) and III (Conspiracy)

          HMIT seeks to hold the Claims Purchasers secondarily liable for Seery’s alleged breach of

 fiduciaries duties on an aiding and abetting theory in Count II of the Proposed Complaint276 and,

 along with Seery, on a civil conspiracy theory of liability in Count III of the Proposed

 Complaint.277 Because HMIT’s breach of fiduciary duties claim is governed by Delaware law, its

 aiding and abetting breach of fiduciary duties claim against the Claims Purchasers (Count II) is

 also governed by Delaware law.278 HMIT’s conspiracy cause of action against the Claims




 274
     Proposed Complaint ¶¶ 4, 13, 54, 74.
 275
     See Pfeffer v. Redstone, 965 A.2d 676, 690 (Del. 2009) (dismissing claim for breach of duty of loyalty against a
 director where “conclusory allegations” failed to give rise to inference that director failed to perform fiduciary duties);
 McMillan v. Intercargo Corp., 768 A.2d 492, 507 (Del. Ch. 2000) (dismissing claim for breach of fiduciary duty
 where “[a]though the complaint makes the conclusory allegation that the defendants breached their duty of disclosure
 in a ‘bad faith and knowing manner,’ no facts pled in the complaint buttress that accusation.”).
 276
     Proposed Complaint ¶¶ 69-74.
 277
     Proposed Complaint ¶¶ 75-81.
 278
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).

                                                             96
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              97 of 105
                                                     Page 102 of 678 PageID 108



 Purchasers and Seery (Count III), on the other hand, does not involve a matter of “internal affairs”

 or of corporate governance, so it is governed by Texas law under the Plan.279

          As an initial matter, because HMIT does not present either a “colorable”—or even

 plausible claim—that Seery breached his fiduciary duties, it cannot show that it has alleged a

 “colorable” or plausible claim for secondary liability for the same alleged wrongdoing.280 In

 addition, HMIT’s civil conspiracy claim against the Claims Purchasers and Seery is based entirely

 on Dondero’s speculation and unsupported inferences and, thus, HMIT has not “colorably”

 alleged, or even plausibly alleged, its conspiracy claim. Under Texas law, “civil conspiracy is a

 theory of vicarious liability and not an independent tort.”281 “[T]he elements of civil conspiracy

 [are] “(1) two or more persons; (2) an object to be accomplished; (3) a meeting of minds on the

 object or course of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

 result.”282 While HMIT alleges that “Defendants conspired with each other to unlawfully breach

 fiduciary duties,”283 it is simply a “legal conclusion” and not the kind of allegation that the court

 must assume to be true even for purposes of determining plausibility under a motion to dismiss.284


 279
     Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex. App. – Houston [14th Dist.] 2020) (applying Delaware
 law to fiduciary duty claim and Texas law to conspiracy theory); (Plan Art. XII.M)(which provides for the application
 of Texas law to “the rights and obligations arising under this Plan” except for “corporate governance matters.”)
 280
     See English v. Narang, 2019 WL 1300855, at *14 (Del. Ch. Mar. 20, 2019) (“As a matter of law and logic, there
 cannot be secondary liability for aiding and abetting an alleged harm in the absence of primary liability.”) (cleaned
 up; collecting cases); Hill v. Keliher, 2022 WL 213978, at *10 (Tex. App. Jan. 25, 2022) (“[A] defendant’s liability
 for conspiracy depends on participation in some underlying tort for which the plaintiff seeks to hold at least one of the
 named defendants liable.”) (quoting Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996)). Because HMIT’s breach
 of fiduciary duty claim is governed by Delaware law, its aiding and abetting theory of liability is also governed by
 Delaware law. See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D.
 Tex. 2016) (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware
 corporation headquartered in Texas). By contrast, “conspiracy is not an internal affair” or a matter of corporate
 governance, so it is governed by Texas law under the Plan. Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex.
 App. – Houston [14th Dist.] 2020) (applying Delaware law to fiduciary duty claim and Texas law to conspiracy
 theory); (Plan Art. XII.M).
 281
     Agar Corp., Inc. v. Electro Circuits Int’l, LLC, 580 S.W.3d 136, 142 (Tex. 2019).
 282
     Id. at 141 (cleaned up).
 283
     Proposed Complaint ¶ 76.
 284
     Iqbal, 556 U.S. at 680 (citing Twombly, 555 U.S. at 565–66).

                                                            97
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              98 of 105
                                                     Page 103 of 678 PageID 109



 HMIT repeats four times that Seery provided MNPI to Farallon and Stonehill as a “as a quid pro

 quo” for “additional compensation,”285 each time based upon conclusory allegations based “upon

 information and belief” and, frankly, pure speculation from Dondero that his imagined “scheme,”

 “covert quid pro quo,” and secret “conspiracy” between Seery, on the one hand, and Farallon and

 Stonehill, on the other,286 must have occurred because “[i]t made no sense for the [Claims]

 Purchasers to invest millions of dollars for assets that – per the publicly available information –

 did not offer a sufficient potential profit to justify the publicly disclosed risk” (i.e., “[t]he counter-

 intuitive nature of the purchases at issue compels the conclusion that the [Claims] Purchasers acted

 on inside information and Seery’s assurance of great profits.”)287 Importantly, HMIT admits that

 the Claims Purchasers would have turned a profit based on the information available to them at

 the time of their acquisitions of the Purchased Claims.288 HMIT’s allegations about the level of

 potential profits were contradicted by their own allegations and other evidence admitted at the June

 8 Hearing. But Dondero’s speculation about what level of projected return would be sufficient to

 justify the acquisition of the claims by the Claims Purchasers, or any other third-party investor,

 does not give rise to a plausible inference that they acted improperly.289 Thus, HMIT cannot meet


 285
     Proposed Complaint ¶ 77; see also id. ¶¶ 4, 47, 74.
 286
     See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the other
 Defendants with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”).
 287
     Id.
 288
     See, e.g., id. ¶ 3 (alleging that acquiring the claims “did not offer a sufficient potential profit to justify the publicly
 disclosed risk”)(emphasis added); ¶ 43 (“Furthermore, although the publicly available projections suggested only
 a small margin of error on any profit potential for its significant investment . . . .”); ¶ 49 (“Yet, in this case, it would
 have been impossible for Stonehill and Farallon (in the absence of inside information) to forecast any significant profit
 at the time of their multi-million-dollar investments given the publicly available, negative financial information.”)
 (third emphasis added).
 289
     In fact, the court did not allow Mr. Dondero to testify regarding what kind of information a hypothetical investor
 in bankruptcy claims would require or what level of potential profits would justify the purchase of bankruptcy claims
 by investors in the bankruptcy claims trading market because he was testifying as a fact witness, not an expert. Thus,
 the court only allowed Dondero to testify as to what data he (or entities he controls or controlled) would rely on, what
 his risk tolerance would have been, and what level of potential profits he would have required to purchase an allowed
 unsecured bankruptcy claim in a post-confirmation situation. June 8 Hearing Transcript, 129:6-130:4.

                                                               98
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              99 of 105
                                                     Page 104 of 678 PageID 110



 its burden, under the Gatekeeper Colorability Test, of making a prima facie showing that its

 allegations do not lack foundation or merit. Nor can it meet a plausibility standard.

         In addition, contrary to the Proposed Complaint’s statement that it would have been

 “impossible for Stonehill and Farallon (in the absence of insider information) to forecast any

 significant profit at the time of their multi-million-dollar investments,” the evidence showed there

 were already reports in the financial press that MGM was engaging with Amazon, Apple, and

 others in selling its media portfolio, and thus the prospect of an MGM transaction increasing the

 value of, and return on, the Purchased Claims, “at the time of their multi-million-dollar

 investments” was publicly available information.290                HMIT’s suggestion that the Claims

 Purchasers were in possession of inside information not publicly available when they acquired the

 Purchased Claims is simply not plausible. Nor is HMIT’s allegation that “[u]pon information and

 belief” Farallon “conducted no due diligence but relied on Seery’s profit guarantees” plausible.

 The allegations regarding Farallon not conducting any due diligence are based, again, entirely on

 Dondero’s speculation and inferences he made from what Patel and Linn (of Farallon) allegedly

 told him on May 28, 2021; Dondero did not testify that either Patel or Linn ever told him

 specifically that they had conducted no due diligence. HMIT’s allegations in the Proposed

 Complaint that Farallon “conducted no due diligence,” are based on Dondero’s speculation,

 unsubstantiated, and contradicted by the testimony of Seery, who testified that emails to him from

 Linn in June 2020 and later in January 2021 indicated to him that Farallon, at least, had been

 conducting some level of due diligence in that they had been following and paying attention to the




 290
     The court notes, as well, that the Claim Purchasers acquired the UBS claims in August 2021—approximately two
 and a half months after the announcement of the MGM-Amazon transaction (which was on May 26, 2021)—a fact
 that HMIT makes no attempt to harmonize with its conspiracy theory that the Claims Purchasers profited from the
 misuse of MNPI allegedly given to them by Seery.

                                                       99
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              100 of 105
                                                     Page 105 of 678 PageID 111



 Highland case.291 In addition, there are no allegations in the Proposed Complaint regarding

 whether Stonehill conducted due diligence or not, and Patrick testified that neither he nor HMIT

 had any personal knowledge of how much due diligence Farallon or Stonehill did prior to acquiring

 the Purchased Claims.292 The court finds and concludes that HMIT’s allegations of aiding and

 abetting and conspiracy in Counts II and III of the Proposed Complaint are based on

 unsubstantiated inferences and speculation, lack internal consistency, and lack consistency with

 verifiable public facts. Accordingly, HMIT has failed to show that these claims have a foundation

 and merit and has also failed to show that they are plausible.

              c) HMIT’s Proposed Claims Set Forth in Counts IV (Equitable Disallowance), V
                 (Unjust Enrichment and Constructive Trust), and VI (Declaratory Relief) of the
                 Proposed Complaint

            i.    Count IV (Equitable Disallowance).

         In Count IV of its Proposed Complaint, HMIT seeks “equitable disallowance” of the claims

 acquired by Farallon’s and Stonehill’s special purpose entities Muck and Jessup, “to the extent

 over and above their initial investment,” and, in the alternative, equitable subordination of their

 claims to all claims and interests, including HMIT’s unvested Class 10 Contingent Claimant Trust

 Interest, “given [their] willful, inequitable, bad faith conduct” of allegedly “purchasing the Claims

 based on material non-public information” and being “unfairly advantaged” in “earning significant

 profits on their purchases.”293 As noted above, these remedies are not available to HMIT.294

         First, HMIT’s request to equitably subordinate the Purchased Claims to all claims and

 interests is not permitted because Bankruptcy Code § 510(c), by its terms, permits equitable




 291
     See June 8 Hearing Transcript, 239:6-21.
 292
     See id., 310:19-312:2.
 293
     Proposed Complaint ¶¶ 83-87.
 294
     See infra pages 74-75.

                                                 100
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              101 of 105
                                                     Page 106 of 678 PageID 112



 subordination of a claim to other claims or an interest to other interests but does not permit

 equitable subordination of a claim to interests.

             Second, “equitable” disallowance of claims is not an available remedy in the Fifth Circuit

 pursuant to the Mobile Steel case.295

             Third, reconsideration of an already-allowed claim in a bankruptcy case can only be

 accomplished through Bankruptcy Code § 502(j), which, pursuant to Federal Rule of Bankruptcy

 Procedure 9024, allows reconsideration of allowance of a claim that was allowed following a

 contest (which is certainly the case with respect to the Purchased Claims) based on the “equities

 of the case.” But this is only if the request for reconsideration is made within the one-year

 limitation prescribed in Rule 60(c) of the Federal Rules of Civil Procedure. HMIT’s request for

 disallowance of Muck and Jessup’s Purchased Claims (if it could somehow be construed as a

 request for reconsideration of their claims), is clearly untimely, as it is being made well beyond a

 year since their allowance by this court following contests and approval of Rule 9019 settlements.

 Thus, the court finds that HMIT has not alleged a colorable or even plausible claim in Count IV

 of the Proposed Complaint and, therefore, the Motion for Leave should be denied.

               ii.    Count V (Unjust Enrichment and Constructive Trust)

             In Count V of the Proposed Complaint, HMIT alleges that, “by acquiring the Claims using

 [MNPI], Stonehill and Farallon were unjustly enriched and gained an undue advantage over other

 creditors and former equity” and that “[a]llowing [the Claims Purchasers] to retain their ill-gotten

 benefits would be unconscionable;” thus, HMIT alleges, the Claims Purchasers “should be forced

 to disgorge all distributions over and above their original investment in the Claims as restitution

 for their unjust enrichment” and “a constructive trust should be imposed on such proceeds . . . .”296

 295
       In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).
 296
       Proposed Complaint ¶¶ 89-93.

                                                             101
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              102 of 105
                                                     Page 107 of 678 PageID 113



 HMIT alleges further that “Seery was also unjustly enriched by his participation in this scheme

 and he should be required to disgorge or restitute all compensation he has received from the outset

 of his collusive activities” and “[a]lternatively he should be required to disgorge and restitute all

 compensation received since the Effective Date” over which a constructive trust should be

 imposed.297 HMIT has not alleged a colorable or even a plausible claim for unjust enrichment or

 constructive trust in Count V.

         Under Texas law,298 “[u]njust enrichment is not an independent cause of action but rather

 characterizes the result of a failure to make restitution of benefits either wrongfully or passively

 received under circumstances which give rise to an implied or quasi-contractual obligation to

 repay.”299 Thus, “when a valid, express contract covers the subject matter of the parties’ dispute,

 there can be no recovery under a quasi-contract theory.”300 Here, as noted above, HMIT’s only

 alleged injury is a diminution of the value of its unvested Contingent Claimant Trust Interest by

 virtue of Seery’s allegedly having wrongfully obtained excessive compensation, with the help of

 the Claims Purchasers. Yet Seery’s compensation is governed by express agreements (i.e., the

 Plan and the CTA). Thus, HMIT’s claim based on unjust enrichment is not an available theory of

 recovery.

           iii.   Count VI (Declaratory Relief)

         HMIT seeks declaratory relief in Count VI of the Proposed Complaint, essentially, that

 Dondero’s conspiracy theory is correct and that HMIT’s would succeed on the merits with respect



 297
     Id. ¶ 94.
 298
     Under the Plan, Texas law governs HMIT’s “claim” for unjust enrichment because it is not a “corporate governance
 matter.” (Plan Art. XII.M.) It also governs HMIT’s “claim” for constructive trust, which “is merely a remedy used to
 grant relief on the underlying cause of action.” Sherer v. Sherer, 393 S.W.3d 480, 491 (Tex. App. 2013).
 299
     Taylor v. Trevino, 569 F. Supp. 3d 414, 435 (N.D. Tex. 2021) (cleaned up); see also Yowell v. Granite Operating
 Co., 630 S.W.3d 566, 578 (Tex. App. 2021) (same).
 300
     Taylor, 569 F. Supp. 3d at 435 (quoting Fortune Prod. Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

                                                         102
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              103 of 105
                                                     Page 108 of 678 PageID 114



 to the Proposed Claims if it were permitted leave to bring them in an adversary proceeding.301 But,

 a request for declaratory relief is not “an independent cause of action”302 and “in the absence of

 any underlying viable claims such relief is unavailable.”303 This court has already found and

 concluded that HMIT would not have constitutional or prudential standing to bring the underlying

 causes of action in the Proposed Complaint. This court has also found and concluded that all of

 the Proposed Claims are without foundation or merit and are not even plausible and are all; being

 brought for the improper purpose of continuing Dondero’s vexatious, harassing, bad-faith

 litigation. Thus, HMIT would not be entitled to pursue declaratory judgement relief as requested

 in Count VI of the Proposed Complaint.

             d) HMIT Has No Basis to Seek Punitive Damages

         HMIT separately alleges that the Claims Purchasers’ and Seery’s “misconduct was

 intentional, knowing, willful, in bad faith, fraudulent, and in total disregard of the rights of others,”

 thus entitling HMIT to an award of punitive damages under applicable law. But, HMIT abandoned

 its proposed fraud claim that was in its Original Proposed Complaint, so its sole claim for primary

 liability is Seery’s alleged breach of his fiduciary duties. And under Delaware law, the “court

 cannot award punitive damages in [a] fiduciary duty action.”304




 301
     Proposed Complaint ¶¶ 96-99.
 302
     See Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 932 (5th Cir. 2023).
 303
     Green v. Wells Fargo Home Mtg., 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016) (citing Collin Cty. v.
 Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990)); see also Hopkins
 v. Cornerstone Am.
 304
     Buchwald v. Renco Grp. (In re Magnesium Corp. of Am.), 539 B.R. 31, 52 (S.D.N.Y. 2015) (citing Gesoff v. IIC
 Indus., Inc., 902 A.2d 1130, 1154 (Del. Ch. 2006)), aff’d 682 F. App’x 24 (2d Cir. 2017).

                                                       103
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              104 of 105
                                                     Page 109 of 678 PageID 115



    3. HMIT Does Not Present “Colorable” Claims Under this Court’s Gatekeeper Colorability
       Test Because It Seeks to Bring the Proposed Complaint for Improper Purposes of
       Harassment and Bad-Faith, Vexatiousness.

        Under this court’s Gatekeeper Colorability Test, in addition to showing that its allegations

 and claims are not without foundation or merit, HMIT must also show that the Proposed Claims

 are not being brought for any improper purpose. Taking into consideration the court’s knowledge

 of the bankruptcy proceedings and the parties and the evidence presented at the hearing on the

 Motion for Leave, the court finds that HMIT is acting at the behest of, and under the control or

 influence of, Dondero in continuing to pursue harassing, bad faith, vexatious litigation to achieve

 his desired result in these bankruptcy proceedings. So, in addition to failing to show that its

 Proposed Claims have foundation and merit, HMIT cannot show that it is pursuing the Proposed

 Claims for a proper purpose and, thus, cannot meet the requirements under the Gatekeeper

 Colorability Test; HMIT’s Motion for Leave should be denied.

        IV.     CONCLUSION

        The court concludes, having taken into consideration both its knowledge of the bankruptcy

 proceedings and the parties and the evidence presented at the hearing on the Motion for Leave,

 that HMIT’s Motion for Leave should be denied for three independent reasons: (1) HMIT would

 lack constitutional standing to bring the Proposed Claims (and, thus, the federal courts would lack

 subject matter jurisdiction over the Proposed Claims); (2) even if HMIT would have constitutional

 standing to pursue the Proposed Claims, it would lack prudential standing to bring the Proposed

 Claims; and (3) even if HMIT would have both constitutional standing and prudential standing to

 bring the Proposed Claims, it has not met its burden under the Gatekeeper Colorability Test of

 showing that its Proposed Claims are “colorable” claims—that the Proposed Claims are not

 without foundation, not without merit, and not being pursued for an improper purpose. Moreover,



                                                104
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              105 of 105
                                                     Page 110 of 678 PageID 116



 even if this court’s Gatekeeper Colorability Test should be replaced with a Rule 12(b)(6)

 “plausibility” standard, the Proposed Claims are not plausible.

        Accordingly,

        IT IS ORDERED that HMIT’s Motion for Leave be, and hereby is DENIED.

                       ###End of Memorandum Opinion and Order###




                                                105
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 111 of 678   PageID 117




                       Exhibit 2
     Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
   Case 3:23-cv-02071-E Document
                           Main Document
                                 1-1 Filed 09/15/23
                                            Page 1 of 105
                                                       Page 112 of 678 PageID 118




The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 25, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor.            §


          MEMORANDUM OPINION AND ORDER PURSUANT TO PLAN “GATEKEEPER
          PROVISION” AND PRE-CONFIRMATION “GATEKEEPER ORDERS”: DENYING
           HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
                  LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING1
                       [BANKR. DKT. NOS. 3699, 3760, 3815, and 3816]

     I.      INTRODUCTION

             BEFORE THIS COURT is yet another post-confirmation dispute relating to the Chapter

     11 bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).



     1
       On August 2, 2023, this court signed an Order [Bankr. Dkt. No. 3897] that was agreed to among various parties,
     after the filing of a Motion to Stay and Compel Mediation [Bankr. Dkt. No. 3752] filed by James D. Dondero and
     related entities. Pursuant to paragraph 7 of that order, certain pending matters in the bankruptcy court are stayed
     pending mediation. The parties did not agree to stay the matter addressed in this Memorandum Opinion and Order.
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 2 of 105
                                                    Page 113 of 678 PageID 119



 It is now more than two and half years since the confirmation of Highland’s Plan2—the Plan having

 been confirmed on February 22, 2021.3 The Plan was never stayed; it went effective on August

 11, 2021 (“Effective Date”), and it was affirmed almost in its entirety by the United States Court

 of Appeals for the Fifth Circuit (“Fifth Circuit”), in late summer 2022, including an approval of

 the so-called Gatekeeper Provision4 therein. The Gatekeeper Provision—and how and whether it

 should now be exercised or interpreted to allow a certain lawsuit to be filed—is at the heart of the

 current Emergency Motion for Leave to File Verified Adversary Proceeding [Bankr. Dkt. Nos.

 3699, 3760, 3815, 3816] (collectively, the “Motion for Leave”) filed by a movant known as Hunter

 Mountain Investment Trust (“HMIT”).

          A.       Who is the Movant, HMIT?

          Who is HMIT? It is undisputed that it is a former equity owner of Highland. It held 99.5%

 of Highland’s Class B/C limited partnership interests and was classified in a Class 10 under the

 confirmed Plan, which class treatment provided it with a contingent interest in the Highland

 Claimant Trust (“Claimant Trust”) created under the Plan, and as defined in the Claimant Trust

 Agreement. This means that HMIT could receive consideration under the Plan if all claims against

 Highland are ultimately paid in full, with interest. As later further discussed, it is undisputed that

 2
   Capitalized terms not defined in this introduction shall have the meaning ascribed to them below.
 3
   The court entered its Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
 Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation Order”)[Bankr. Dkt. No. 1943].
 4
   In an initial opinion dated August 19, 2022, the Fifth Circuit affirmed the Confirmation Order in large part,
 “revers[ing] only insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strik[ing] those
 few parties from the plan’s exculpation, and affirm[ing] on all remaining grounds.” In re Highland Capital
 Management, L.P., No. 21-10449, 2022 WL 3571094, at *1 (5th Cir. Aug. 19, 2022). On September 7, 2022, following
 a petition for limited panel rehearing filed by certain appellants on September 2, 2022, “for the limited purpose of
 clarifying and confirming one part of its August 19, 2022 opinion,” the Fifth Circuit withdrew its original opinion and
 replaced it with its opinion reported at NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland
 Capital Mgmt., L.P.), 48 F.4th 419, 424 (5th Cir. 2022). The substituted opinion differed from the original opinion
 only by the replacement of one sentence from section “IV(E)(2) – Injunction and Gatekeeper Provisions” of the
 original opinion: “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” was replaced
 with “We now turn to the Plan’s injunction and gatekeeper provisions.” In all other respects, the Fifth Circuit panel’s
 original ruling remained unchanged. Petitions for writs of certiorari regarding the Confirmation Order have been
 pending at the United States Supreme Court since January 2023.

                                                            2
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 3 of 105
                                                    Page 114 of 678 PageID 120



 HMIT’s only asset is its contingent interest in the Claimant Trust. It has no employees or revenue.

 HMIT’s representative has testified that HMIT is liable on more than $62 million of indebtedness

 owed to The Dugaboy Investment Trust (“Dugaboy”), a family trust of which James Dondero

 (“Dondero”), the co-founder and former chief executive officer (“CEO”) of Highland, and his

 family members are beneficiaries, and that Dugaboy also is paying HMIT’s legal fees. HMIT

 vehemently disputes the suggestion that it is controlled by Dondero.

          B.       What Does the Movant HMIT Seek Leave to File?

          HMIT seeks leave to file an adversary proceeding (“Proposed Complaint”)5 in the

 bankruptcy court to bring claims on behalf of itself and, derivatively, on behalf of the Reorganized

 Debtor and the Claimant Trust for alleged breach of fiduciary duties by the Reorganized Debtor’s

 CEO and Claimant Trustee, James P. Seery, Jr. (“Seery”) and conspiracy against: (1) Seery; and

 (2) purchasers of $365 million face amount of allowed unsecured claims in this case, who

 purchased their claims post-confirmation but prior to the occurrence of the Effective Date of the

 Plan (“Claims Purchasers,”6 and with Seery, the “Proposed Defendants”). To be clear (and as later

 further explained), the claims acquired by the Claims Purchasers were acquired by them after

 extensive litigation, mediation, and settlements were approved by the bankruptcy court and after

 the original claims-holders had voted on the Plan and after Plan confirmation. As later explained,


 5
   In its original Motion for Leave filed at Bankruptcy Docket No. 3699 on March 28, 2023, HMIT sought leave to file
 the proposed complaint (“Initial Proposed Complaint”) attached as Exhibit 1 to the Motion for Leave. Nearly a month
 later, on April 23, 2023, HMIT filed a Supplement to Emergency Motion for Leave to File Verified Adversary
 Proceeding (“Supplement”) [Bankr. Dkt. No. 3760], a revised proposed complaint as Exhibit 1-A, and stating that
 “[t]he Supplement is not intended to supersede the [Motion for Leave]; rather, it is intended as a supplement to address
 procedural matters and to bring forth additional facts that further confirm the appropriateness of the derivative action.”
 Supplement, ¶ 1 and Exhibit 1-A. It is this revised proposed complaint to which this court will refer, when it uses the
 defined term “Proposed Complaint,” even though HMIT filed redacted versions of its Motion for Leave on June 5,
 2023 at Bankruptcy Docket Nos. 3815 and 3816 that attached the Initial Proposed Complaint as Exhibit 1.
 6
   The Claims Purchasers identified in the Proposed Complaint are Farallon Capital Management, LLC (“Farallon”);
 Muck Holdings, LLC (“Muck”), which is a special purpose entity created by Farallon to purchase allowed unsecured
 claims against Highland; Stonehill Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
 which is a special purpose entity created by Stonehill to purchase allowed unsecured claims against Highland.

                                                             3
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 4 of 105
                                                    Page 115 of 678 PageID 121



 the Claims Purchasers filed notices of their purchases as required by Bankruptcy Rule 3001(e)(2),

 and no objections were filed thereto. In any event, various damages or remedies are sought against

 the Proposed Defendants revolving around the Claims Purchasers’ claims purchasing activities.

          C.       Why Does HMIT Need to Seek Leave?

          As alluded to above, HMIT filed its Motion for Leave to comply with the provision in the

 Plan known as a “gatekeeper” provision (“Gatekeeper Provision”) and with this court’s prior

 gatekeeper orders entered in January and July 2020, which all require that, before a party may

 commence or pursue claims relating to the bankruptcy case against certain protected parties, it

 must first obtain (1) a finding from the bankruptcy court that its proposed claims (“Proposed

 Claims”) are “colorable”; and (2) specific authorization by the bankruptcy court to pursue the

 Proposed Claims.7 The Gatekeeper Provision was not included in the Plan sans raison. Indeed,

 as the Fifth Circuit recognized in affirming confirmation of the Plan, the Gatekeeper Provision

 (along with the other “protection provisions” in the Plan) had been included in the Plan to address

 the “continued litigiousness” of Mr. James Dondero (“Dondero”), Highland’s co-founder and

 former chief executive officer (“CEO”), that began prepetition and escalated following the post-

 petition “nasty breakup” between Highland and Dondero, by “screen[ing] and prevent[ing] bad-

 faith litigation against Highland Capital, its successors, and other bankruptcy participants that

 could disrupt the Plan’s effectiveness.”8



 7
   To be clear, the Gatekeeper Provision in the Plan was not the first or even second injunction of its type issued in this
 bankruptcy case. The Gatekeeper Orders were entered by the bankruptcy court pre-confirmation: (a) in January 2020,
 just a few months into the case, as part of this court’s order approving a corporate governance settlement between
 Highland and its unsecured creditors committee, in which Dondero, Highland’s co-founder and former CEO, was
 removed from any management role at Highland and three independent directors (“Independent Directors”) were
 appointed in lieu of a chapter 11 trustee being appointed (“January 2020 Order”); and (b) in July 2020, in this court’s
 order authorizing the employment of Seery (one of the three Independent Directors) as the Debtor’s new Chief
 Executive Officer, Chief Restructuring Officer, and Foreign Representative (“July 2020 Order,” together with the
 January 2020 Order, the “Gatekeeper Orders”).
 8
   See Highland Capital, 48 F.4th at 427, 435.

                                                             4
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 5 of 105
                                                    Page 116 of 678 PageID 122



        D.      Some Further Context Regarding Post-Confirmation Litigation Generally.

        Since confirmation of the Plan, hundreds of millions of dollars have been paid out to

 creditors under the Plan, and there are numerous adversary proceedings and contested matters still

 pending, at various stages of litigation, in the bankruptcy court, the district court, and the Fifth

 Circuit, almost exclusively involving Dondero and entities that he owns or controls. To be sure,

 the post-confirmation litigation in this case does not consist of the usual adversaries and contested

 matters one typically sees by and against a reorganized debtor and/or litigation trustee, such as

 preference or other avoidance actions and litigation over objections to claims that are still pending

 after confirmation of a plan. Indeed, the claims of the largest creditors in this case (with claims

 asserted in the aggregate of more than one billion dollars) were successfully mediated and

 incorporated into the Plan—a plan which was ultimately accepted by the votes of an overwhelming

 majority of Highland’s non-insider creditors. Dondero and entities under his control were the only

 parties who appealed the Confirmation Order, and Dondero and entities under his control have

 been the appellants in virtually every appeal that has been filed regarding this bankruptcy case.

 Petitions for writs of mandamus (which have been denied) have been filed in the district court and

 in the Fifth Circuit by some of these same entities, including one by HMIT, when this court denied

 setting an emergency hearing on the instant Motion for Leave (HMIT had sought a setting on

 three-days’ notice).

        A recent list of active matters involving Dondero and/or entities and/or individuals

 affiliated or associated with him, filed in the bankruptcy case by Highland and the Claimant Trust,

 reveals that there were at least 30 pending and “Active Dondero-Related Litigation” matters as of

 July 14, 2023: six (6) proceedings in this court; six (6) active appeals or actions are pending in the

 District Court for the Northern District of Texas; seven (7) appeals in the Fifth Circuit; two (2)



                                                   5
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 6 of 105
                                                    Page 117 of 678 PageID 123



 petitions for writs of certiorari in the United States Supreme Court; and nine (9) other proceedings

 or actions with or affecting the Highland Parties (“Highland,” the “Claimant Trust,” and “Seery”)

 in various other state, federal, and foreign jurisdictions.9

          The above-described context is included because the Proposed Defendants assert that the

 Motion for Leave is just a continuation of Dondero’s unrelenting barrage of meritless and

 harassing litigation, making good on his oft-mentioned alleged threat to “burn down the place”

 after not achieving the results he wanted in the Highland bankruptcy case. Indeed, the Motion for

 Leave was filed after two years of unsuccessful attempts by, first, Dondero personally, and then

 HMIT to obtain pre-suit discovery from the Proposed Defendants (i.e., the Claims Purchasers)

 through two different Texas state court proceedings, pursuant to Tex. R. Civ. P. 202 (“Rule 202”).

 In each of these Rule 202 proceedings, Dondero and HMIT espoused the same Seery/Claims


 9
   See Bankr. Dkt. No. 3880 (filed on July 14, 2023, providing a list of “Active Dondero-Related Litigation” and noting
 that the list is “a summary of active pending actions only and does not include actions that were resolved by final
 orders, including actions finally resolved after appeals to the U.S. District Court for the Northern District of Texas
 and/or the U.S. Court of Appeals for the Fifth Circuit.”). Just since the filing by the Highland Parties of the list, three
 of the appeals pending in the Fifth Circuit have been decided against the Dondero-related appellants, two of which
 upheld the district court’s dismissal of appeals by Dondero-related entities of bankruptcy court orders based on the
 lack of bankruptcy appellate standing on behalf of the appellant. On July 19, 2023, the Fifth Circuit affirmed the
 district court’s dismissal of an appeal by NexPoint Advisors, L.P. (“NexPoint”) of bankruptcy court orders approving
 professional compensation on the basis that NexPoint did not meet the bankruptcy appellate standing test of being a
 “person aggrieved” by the entry of the orders. NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In
 re Highland Capital Management, L.P.), 74 F.4th 361 (5th Cir. 2023). On July 31, 2023, the Fifth Circuit affirmed
 the district court’s dismissal of an appeal by Dugaboy—the Dondero family trust that, like the movant here in this
 Motion for Leave, was the holder of a limited partnership interest in Highland, and, as such, now has a contingent
 interest in the Claimant Trust—which had appealed a bankruptcy court order approving a Rule 9019 settlement on the
 same basis: Dugaboy did not meet the bankruptcy appellate standing test of being a “person aggrieved” by the entry
 of the settlement order. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), No.
 22-10960, 2023 WL 4861770 (5th Cir. July 31, 2023). The July 31, 2023 ruling followed the Fifth Circuit’s ruling
 on February 21, 2023, affirming the district court’s dismissal of an appeal by Dugaboy of yet another bankruptcy court
 order for lack of bankruptcy appellate standing. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland
 Capital Mgt., L.P.), No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023). These rulings by the Fifth Circuit are
 discussed in greater detail below. The third ruling by the Fifth Circuit since July 14, 2023, was issued by the Fifth
 Circuit in a per curium opinion not designated for publication on July 26, 2023, this one affirming the district court’s
 affirmance of yet another Rule 9019 settlement order of the bankruptcy court that was appealed by Dugaboy, agreeing
 with the district court that the bankruptcy court had jurisdiction to approve a settlement among the Debtor, an entity
 affiliated with the Debtor but not a debtor itself, and UBS (the Debtor’s largest prepetition creditor and the seller of
 its claims to the Claims Purchasers, which is one of the claims trading transactions HMIT complains about in the
 Proposed Complaint). See The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P., No. 22-10983, 2023 WL 4842320
 (5th Cir. July 26, 2023).

                                                             6
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 7 of 105
                                                    Page 118 of 678 PageID 124



 Purchasers conspiracy theory espoused in the Motion for Leave—that Seery must have provided

 one or more of the Claims Purchasers with material nonpublic information to induce them to want

 to purchase large, allowed, unsecured claims at a discount; a quid pro quo is suggested, such that

 the Claims Purchasers were allegedly told they would make a hefty profit on the claims they

 purchased and, in return, they would gladly “rubber stamp” Seery’s “excessive compensation” as

 the Claimant Trustee of the Claimant Trust. In sum, HMIT alleges this constituted wrongful

 “insider trading” of the bankruptcy claims. In addition, certain lawyers for Dondero and Dugaboy

 sent letters reporting this alleged conspiracy and “insider trading” to the Texas State Securities

 Board (“TSSB”) and the Executive Office of the United States Trustee (“EOUST”).

          It is against this background and in this context that the court must analyze, in the exercise

 of its gatekeeping function under the confirmed Plan and its prior Gatekeeping Orders, whether

 HMIT should be allowed to pursue the Proposed Claims (i.e., whether the Proposed Claims are

 “colorable” claims as contemplated under the Gatekeeper Orders and the Gatekeeper Provision of

 the Plan). The court held an evidentiary hearing on the Motion for Leave on June 8, 2023 (“June

 8 Hearing”), during which the court admitted exhibits and heard testimony from three witnesses

 both in support of and in opposition to the Motion for Leave. Having considered the Motion for

 Leave, the response of the Proposed Defendants thereto, HMIT’s reply to the response, and the

 arguments and evidence presented at the hearing on the Motion for Leave, the court denies HMIT’s

 request for leave to pursue its Proposed Claims. The court’s reasoning is set forth below.

 II.      BACKGROUND

       A. Highland’s Bankruptcy Case, Dondero’s Removal as CEO, and the Plan

          Highland was co-founded in Dallas in 1993 by Dondero and Mark Okada (“Okada”). It

 operated as a global investment adviser that provided investment management and advisory

 services and managed billions of dollars of assets, both directly and indirectly through numerous

                                                    7
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 8 of 105
                                                    Page 119 of 678 PageID 125



 affiliates. Highland’s equity interest holders included HMIT (99.5%), Dugaboy (0.1866%),

 Okada, personally and through trusts (0.0627%), and Strand Advisors, Inc. (“Strand”), which was

 wholly owned by Dondero and was the only general partner of Highland (0.25%). On October 16,

 2019 (the “Petition Date”), Highland, with Dondero in control10 and acting as its CEO, president,

 and portfolio manager, and facing a myriad of massive, business litigation claims – many of which

 had finally become or were about to be liquidated (after a decade or more of contentious litigation

 in multiple fora all over the world—filed for relief under chapter 11 of the United States

 Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware. The

 bankruptcy case was transferred to the Northern District of Texas, Dallas Division in December

 2019. The official committee of unsecured creditors (the “Committee”) (and later, the United

 States Trustee) expressed a desire for the appointment of a chapter 11 trustee due to concerns over

 and distrust of Dondero, his numerous conflicts of interest, and his history of alleged

 mismanagement (and perhaps worse).

         After many weeks under the specter of a possible appointment of a trustee, Highland and

 the Committee engaged in substantial and lengthy negotiations, resulting in a corporate governance

 settlement approved by this court on January 9, 2020.11 As a result of this settlement, Dondero

 relinquished control of Highland and resigned his positions as officer or director of Highland and

 its general partner, Strand,12 and three independent directors (“Independent Directors”) were



 10
   Mark Okada resigned from his role with Highland prior to the Petition Date.
 11
   This order is hereinafter referred to as the “January 2020 Order” and was entered by the court on January 9, 2020
 [Bankr. Dkt. No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of
 Unsecured Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course
 [Bankr. Dkt. No. 281].
 12
    Dondero agreed to this settlement pursuant to a stipulation he executed and that was filed in connection with
 Highland’s motion to approve the settlement. See Stipulation in Support of Motion of the Debtor for Approval of
 Settlement With the Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
 for Operations in Ordinary Course [Bankr. Dkt. No. 338].

                                                         8
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 9 of 105
                                                    Page 120 of 678 PageID 126



 chosen to lead Highland through its chapter 11 case: Seery, John S. Dubel, and retired bankruptcy

 judge Russell Nelms. Given the Debtor’s perceived culture of constant litigation while Dondero

 was at the helm, it was purportedly not easy to get such highly qualified persons to serve as

 independent board members. At the hearing on the corporate governance settlement motion, the

 court heard credible testimony that none of the Independent Directors would have taken on the

 role without (1) an adequate directors and officers’ (“D&O”) insurance policy protecting them; (2)

 indemnification from Strand that would be guaranteed by the Debtor; (3) exculpation from mere

 negligence claims; and (4) a gatekeeper provision prohibiting the commencement of litigation

 against the Independent Directors without the bankruptcy court’s prior authority. The gatekeeper

 provision approved by the court in its January 9 Order states,13

                  No entity may commence or pursue a claim or cause of action of any kind
          against any Independent Director, any Independent Director’s agents, or any
          Independent Director’s advisors relating in any way to the Independent Director’s
          role as an independent director of Strand without the Court (i) first determining
          after notice that such claim or cause of action represents a colorable claim of willful
          misconduct or gross negligence against Independent Director, any Independent
          Director’s agents, or any Independent Director’s advisors and (ii) specifically
          authorizing such entity to bring such claim. The Court will have sole jurisdiction to
          adjudicate any such claim for which approval of the Court to commence or pursue
          has been granted.

 Dondero agreed to remain with Highland as an unpaid portfolio manager following his resignation

 and did so “subject at all times to the supervision, direction and authority of the Independent

 Directors” and to his agreement to “resign immediately” “[i]n the event the Independent Directors

 determine for any reason that the Debtor shall no longer retain Dondero as an employee”14 and to

 “not cause any Related Entity to terminate any agreements with the Debtor.”15 The court later




 13
    January 2020 Order, 3-4, ¶ 10.
 14
    January 2020 Order, 3, ¶ 8.
 15
    Id. at ¶ 9.

                                                    9
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              10 of 105
                                                     Page 121 of 678 PageID 127



 entered, on July 16, 2020, an order approving the appointment of Seery as Highland’s Chief

 Executive Officer, Chief Restructuring Officer, and Foreign Representative,16 which included

 essentially the same “gatekeeper” language with respect to the pursuit of claims against Seery

 acting in these roles. The gatekeeper provision in the July 2020 Order was essentially the same as

 the gatekeeper provision in the January 2020 Order:

         No entity may commence or pursue a claim or cause of action of any kind against
         Seery relating in any way to his role as the chief executive officer and chief
         restructuring officer of the Debtor without the Bankruptcy Court (i) first
         determining after notice that such claim or cause of action represents a colorable
         claim of willful misconduct or gross negligence against Seery, and (ii) specifically
         authorizing such entity to bring such claim. The Bankruptcy Court shall have sole
         jurisdiction to adjudicate any such claim for which approval of the Court to
         commence or pursue has been granted.

 July 2020 Order, 3, ¶5. Neither the January 2020 Order nor the July 2020 Order were appealed.

         Throughout the summer of 2020, Dondero informally proposed several reorganization

 plans, none of which were embraced by the Committee or the Independent Directors. When

 Dondero’s plans failed to gain support, he and entities under his control engaged in substantial,

 costly, and time-consuming litigation for Highland.17 As the Fifth Circuit described the situation,

 after Dondero’s plans failed “he and other creditors began to frustrate the proceedings by objecting

 to settlements, appealing orders, seeking writs of mandamus, interfering with Highland Capital’s

 management, threatening employees, and canceling trades between Highland Capital and its

 clients.”18 On October 9, 2020, Dondero resigned from all positions with the Debtor and its


 16
    See the July 16, 2020 order approving the retention by Highland of Seery as Chief Executive Officer, Chief
 Restructuring Officer, and Foreign Representative, nunc pro tunc, to March 15, 2020 (“July 2020 Order”) [Bankr.
 Dkt. No. 854].
 17
    According to Seery’s credible testimony during the hearing on confirmation of the Plan that had been negotiated
 between the Committee and the Independent Directors, Dondero had threatened to “burn the place down” if his
 proposed plan was not accepted. See Transcript of Confirmation Hearing dated February 3, 2021 at 105:10-20. Bankr.
 Dkt. No. #1894.
 18
    Highland Capital, 48 F.4th at 426 (citing Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Capital Mgmt.,
 L.P.), Ch. 11 Case No. 19-34054-SGJ11, Adv. No. 20-03190-SGJ11, 2021 WL 2326350, at *1, *26 (Bankr. N.D. Tex.


                                                        10
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              11 of 105
                                                     Page 122 of 678 PageID 128



 affiliates in response to a demand by the Independent Directors made after Dondero’s purported

 threats and disruptions to the Debtor’s operations.19

          The Independent Directors and the Committee had negotiated their own plan of

 reorganization which culminated in the filing by Highland of its Fifth Amended Plan of

 Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”) [Bankr. Dkt.

 No. 1808] on January 22, 2021.20 Highland had negotiated settlements with most of its major

 creditors following mediation and had amended its initially proposed plan to address the objections

 of most of its creditors, leaving only the objections of Dondero and entities under his control (the

 “Dondero Parties”) at the time of the confirmation hearing,21 which was held over two days in

 early February 2021. The Plan is essentially an “asset monetization” plan pursuant to which the

 Committee was dissolved, and four new entities were created: the Reorganized Debtor; a new

 general partner for the Reorganized Debtor called HCMLP GP, LLC; the Claimant Trust

 (administered by Seery, its trustee); and a Litigation Sub-Trust (administered by its trustee, Marc

 Kirschner). Highland’s various servicing agreements were vested in the Reorganized Debtor,

 which continues to manage collateralized loan obligation vehicles (“CLOs”) and various other

 investments postconfirmation. The Claimant Trust owns the limited partnership interests in the

 Reorganized Debtor, HCMLP GP LLC, and the Litigation Sub-Trust and is charged with winding

 down the Reorganized Debtor over a three-year period by monetizing its assets and making




 June 7, 2021) where this court “h[eld] Dondero in civil contempt, sanctioning him $100,000, and comparing this case
 to a ‘nasty divorce.’”).
 19
    See Highland Ex. 13. The court shall refer to exhibits offered and admitted at the June 8 Hearing on the Motion for
 Leave by the Highland Parties as “Highland Ex. ___” and to exhibits offered and admitted by HMIT as “HMIT Ex.
 ___.”
 20
    The Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 was filed on November 24, 2020 (“Disclosure Statement”) [Bankr. Dkt. No. 1473].
 21
    The only other objection remaining was the objection of the United States Trustee to the Plan’s exculpation,
 injunction, and release provisions.

                                                          11
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              12 of 105
                                                     Page 123 of 678 PageID 129



 distributions to Class 8 and Class 9 creditors as Claimant Trust Beneficiaries. The Claimant Trust

 is overseen by a Claimant Trust Oversight Board (“CTOB”), and pursuant to the terms of the Plan

 and the Claimant Trust Agreement (“CTA”),22 the CTOB approved Seery’s compensation package

 as the CEO of the Reorganized Debtor and the Claimant Trustee. Following their acquisition of

 their unsecured claims, representatives of Claims Purchasers Muck and Jessup became members

 of the CTOB.23 Seery’s compensation included the same base salary that he was receiving as CEO

 and CRO of Highland, plus an added incentive bonus tiered to recoveries and distributions to the

 creditors under the Plan. The Plan provides for the cancellation of the limited partnership interests

 in Highland held by HMIT, Dugaboy, and Okada and his family trusts in exchange for each

 holder’s pro rata share of a contingent interest in the Claimant Trust (“Contingent Claimant Trust

 Interest”), as holders of allowed interests in Class 10 (holders of Class B/C limited partnership

 interests) or Class 11 (holders of Class A limited partnership interests) under the Plan.

      B. Dondero Communicates Alleged Material Non-Public Information (“MNPI”) to Seery,
         and Seery Allegedly Provides the MNPI to the Claims Purchasers in Furtherance of an
         Alleged Fraudulent Scheme to Have the Claims Purchasers “Rubber Stamp” His
         Compensation as Claimant Trustee Post-Confirmation

          1. The December 17, 2020 MGM Email

          Between Dondero’s forced resignation from Highland in October 2020 and the

 confirmation hearing in February 2021, Dondero engaged in what appeared to be attempts to

 thwart, impede, and otherwise interfere with the Plan being proposed by the Independent Directors

 and the Committee. In the midst of this, on December 17, 2020, Dondero sent Seery24 an email

 22
    Highland Ex. 38
 23
    The CTOB had three members: a representative of Muck (Michael Linn), a representative of Jessup (Christopher
 Provost), and an independent member (Richard Katz). See Joint Opposition ¶ 79.
 24
    Dondero sent the email to others as well but did not copy counsel for the Independent Directors (including Seery)
 in violation of the terms of an existing temporary restraining order that enjoined Dondero from, among other things,
 “communicating . . . with any Board member” (including Seery) without including Debtor’s counsel. Morris Dec. Ex.
 23 ¶ 2(a). Citations to “Morris Dec. Ex. ” are to the exhibits attached to the Declaration of John A. Morris in Support


                                                           12
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              13 of 105
                                                     Page 124 of 678 PageID 130



 (the “MGM Email”) that featured prominently in HMIT’s Motion for Leave. According to HMIT

 and Dondero, the MGM Email contained material nonpublic information (“MNPI”) regarding the

 possibility of an imminent acquisition of Metro-Goldwyn-Mayer Studios, Inc. (“MGM”), likely

 by either Amazon or Apple.25 At the time Dondero sent the MGM Email, Dondero sat on the board

 of directors of MGM, and the Debtor owned MGM stock directly. The Debtor also managed and

 partially owned a couple of other entities that owned MGM stock and managed various CLOs that

 owned some MGM stock as well. HMIT alleges now that Seery later misused and wrongfully

 disclosed to the Claims Purchasers this purported MNPI as part of a quid pro quo scheme, whereby

 the Claims Purchasers agreed to approve excessive compensation for Seery in the future (in

 exchange for him providing this allegedly “insider” information that inspired them to purchase

 unsecured claims with an alleged expectation of future large profits).26 A timeline of events (in

 late 2020) in the weeks leading up to Dondero’s MGM Email to Seery, following Dondero’s

 departure from Highland, helps to put the email in full context:

             October 16: Dondero and his affiliates attempt to impede the Debtor’s trading
              activities by demanding—with no legal basis—that Seery cease selling certain
              assets;27

             November 24: Bankruptcy Court enters an Order approving the Debtor’s
              Disclosure Statement, scheduling the confirmation hearing on the Debtor’s
              Plan for January 13, 2021, and granting related relief;28

             November 24–27: Dondero personally interferes with the Debtor’s

 of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint Opposition to
 Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding, Bankr. Dkt. No. 3784.
 25
    See Proposed Complaint ¶ 45.
 26
    See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the [Claims
 Purchasers], with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”); ¶ 4 (“As part of the scheme, the [Claims Purchasers] obtained a position to
 approve Seery’s ongoing compensation – to Seery’s benefit and also to the detriment of the Claimant Trust, the
 Reorganized Debtor, and HMIT.”).
 27
    See Highland Ex. 14, Dondero-Related Entities’ October 16, 2020 Letter; Highland Ex. 15, Memorandum Opinion
 and Order Holding Dondero in Contempt for Violation of TRO, 13-15.
 28
    See Bankr. Dkt. No. 1476.

                                                          13
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              14 of 105
                                                     Page 125 of 678 PageID 131



              implementation of certain securities trades ordered by Seery;29

             November 30: The Debtor provides written notice of termination of certain shared
              services agreements it had with Dondero’s two non-debtor affiliates, NexPoint
              Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund
              Advisors, L.P. (“HCMFA”; together with NexPoint, the “Advisors”);30

             December 3: The Debtor makes written demands to Dondero and certain
              affiliates for payment of all amounts due under certain promissory notes they
              owed to the Debtor, that had an aggregate face amount of more than $60
              million—this was part of creating liquidity for the Debtor’s Plan;31

             December 3: Dondero responds with what appeared to be a threat of some sort to Seery
              in a text message: “Be careful what you do -- last warning;”32

             December 10: Dondero’s interference and apparent threat cause the Debtor to
              seek and obtain a temporary restraining order (“TRO”) against Dondero;33

             December 16: This court denies as “frivolous” a motion filed by certain
              affiliates of Dondero, in which they sought “temporary restrictions” on certain
              asset sales;34 and

             December 17: Dondero sends the unsolicited MGM Email35 to Seery, which
              violates the TRO entered just a week earlier.36



 29
    See Highland Ex. 15, 30-36.
 30
    Morris Decl. Ex. 17; see also Transcript of June 8, 2023 Hearing on HMIT’s Motion for Leave (“June 8 Hearing
 Transcript”), 273:23-24.
 31
    Morris Decl. Exs. 18-21; see also June 8 Hearing Transcript, 273:23-274:1.
 32
    Morris Decl. Ex. 22 (emphasis added); see also June 8 Hearing Transcript, 273:1-12 (where Seery testified about
 receiving the threat from Dondero: “A: [T]his came after he threatened me. He threatened me in writing. I’d never
 been threatened in my career. I’ve never heard of anyone else in this business who’s been threatened in their career.
 So anything I would get from him, I was going to be highly suspicious.”).
 33
    See Morris Decl. Ex. 23, Order Granting Debtor’s Motion for a Temporary Restraining Order Against James
 Dondero entered December 10, 2020 [Adv. Pro. No. 20-3190 Dkt. No. 10].
 34
    See Morris Decl. Ex. 24, Transcript of December 16, 2020 Hearing, 63:5-64:15.
 35
    Highland Ex. 11.
 36
    Seery testified at the June 8 Hearing that Dondero knowingly violated the TRO when he sent the MGM Email:
         [The MGM Email] . . . followed the imposition of a TRO for interfering with the business. He knew
         what was in the TRO and he knew what it applied to, and it restricted him from communicating with
         me or any of the other independent directors without Pachulski [Debtor’s counsel] being on it.
         Furthermore, Pachulski had advised Dondero’s counsel that not only could they not communicate
         with us, if they wanted to communicate they had to prescreen the topics. And how do we know that?
         Because Dondero filed a motion to modify the TRO. And that was all before this email.
 June 8 Hearing Transcript, 273:13-22.

                                                          14
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              15 of 105
                                                     Page 126 of 678 PageID 132



 The MGM Email had the subject line “Trading Restriction re MGM – material non public

 information” and stated:

         Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and
         Apple actively diligencing in Data Room. Both continue to express material
         interest. Probably first quarter event, will update as facts change. Note also any
         sales are subject to a shareholder agreement.37

         Seery credibly testified at the June 8 Hearing that he was “highly suspicious” when he

 received the MGM Email. This was because, among other reasons, Dondero sent it after: (i)

 unsuccessful efforts to impede the Debtor’s trading activities (followed by the TRO); (ii) the “be

 careful what you do” text to Seery by Dondero: (iii) Highland’s termination of its shared service

 arrangements with Dondero’s various affiliated entities; (iv) the bankruptcy court’s approval of

 the disclosure statement; and (v) Highland’s demand to collect on the demand notes for which

 Dondero and his entities were liable.38 Highland’s Chapter 11 case was fast approaching the finish

 line. Moreover, MGM was already on the restricted list at Highland Capital, and had been for a

 long time, and Dondero would know this.39 Still further, as of December 17, 2020 (the date

 Dondero sent the unsolicited MGM Email to Seery), Dondero no longer owed a duty of any kind

 to the Debtor or any entity controlled by the Debtor, having surrendered in January 2020 direct

 and indirect control of the Debtor to the Independent Board as part of the corporate governance

 settlement40 and having resigned from all roles at the Debtor and affiliates in October 2020. Still

 further, Dondero—to the extent he was sharing with Seery MNPI that he obtained as a member of

 the board of directors of MGM—would have been violating his own fiduciary duties to MGM.




 37
    Highland Ex. 11.
 38
    June 8 Hearing Transcript, 273:1-274:4.
 39
    June 8 Hearing, 215:21-216:9.
 40
    See Bankr. Dkt. Nos. 339, 354-1 (Term Sheet)).

                                                     15
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              16 of 105
                                                     Page 127 of 678 PageID 133



          In any event, in a declaration filed by Dondero in support of HMIT’s Rule 202 petition in

 Texas state court for pre-suit discovery,41 he indicated that his goal in sending the MGM E-mail

 was to impede the Debtor and Seery from engaging in any transactions involving MGM:

          On December 17, 2020, I sent an email to employees at HCM, including the then
          Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
          public information regarding Amazon and Apple’s interest in acquiring MGM. I
          became aware of this information due to my involvement as a member of the board
          of MGM. My purpose was to alert Seery and others that MGM stock, which was
          owned either directly or indirectly by HCM, should be on a restricted list and not
          be involved in any trades.

          It is noteworthy that Dondero’s labeling of the MGM Email (in the subject line) as a

 communication containing “material non public information” did not make it so. In fact, it

 appears from the credible evidence presented at the June 8, 2023 hearing on HMIT’s Motion for

 Leave that the MGM Email did not disclose information to Seery that was not already made available

 to the public at the time it was sent. Seery testified that he did not think the MGM Email contained

 MNPI and that he did not personally “take any steps . . . to make sure that MGM stock was placed

 on a restricted list at Highland Capital after [he] received [the MGM Email]” because—as earlier

 noted—“MGM was already on the restricted list at Highland Capital . . . before I got to

 Highland.”42 Indeed, MGM was ultimately purchased by Amazon after a sale process that had

 been quite publicly discussed in media reports for several months43 and that was officially


 41
    Highland Ex. 9 ¶ 3 (emphasis added).
 42
    June 8 Hearing Transcript, 215:21-216:9. Seery elaborated upon further questioning from HMIT’s counsel that he
 did not think the indications in the MGM Email (that came from a member of the board of directors of MGM) that “it
 was probably a first-quarter event” and that “Amazon and Apple were actively diligencing – are diligencing in the
 data room, both continue to express material interest” were not MNPI. Id., 217:23-218:10. He testified that “it was
 clear [before he received the MGM Email] from the media reports and the actual quotes from Kevin Ulrich of
 Anchorage, who was the chairman at MGM, that a transaction would have to take place very quickly. And, in fact,
 the transaction did not take place in the first quarter.” Id., 219:3-7.
 43
    See Highland Ex. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
 . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
 Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
 (article dated 1/26/20); Highland Ex. 26 (describing prospects of an MGM sale, noting that, among its largest


                                                          16
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              17 of 105
                                                     Page 128 of 678 PageID 134



 announced to the public in late May 2021 (just a few weeks after the Claims Purchasers purchased

 some of their claims, but a few months before certain of their claims—the UBS claims—were

 purchased).44 For example, as early as January 2020, Apple and Amazon were identified as being

 among a new group of “Big 6” global media companies, and MGM was identified as being a

 leading media acquisition target. Indeed, according to at least one media report on January 26,

 2020, “MGM, in particular, seems like a logical candidate to sell this year” having already held

 “preliminary talks with Apple, Netflix and other larger media companies.”45 In October 2020, the

 Wall Street Journal reported that MGM’s largest shareholder, Anchorage Capital Group

 (“Anchorage”), was facing mounting pressure to sell the company. Anchorage was led by Kevin

 Ulrich, who also served as Chairman of MGM’s Board. The article reported that “[i]n recent

 months, Mr. Ulrich has said he is working toward a deal,” and he specifically named Amazon and

 Apple as being among four possible buyers.46 Thus, no one following the MGM story would have

 been surprised to learn in December 2020 that Apple and Amazon were conducting due diligence

 and had expressed “material interest” in acquiring MGM. Dondero testified during the June 8

 Hearing that, at the time he sent the MGM Email, he “knew with certainty from the board level

 that Amazon had hit our price, and it was going to close in the next couple of months,”47 that “as

 of December 17th, Amazon had made an offer that was acceptable to MGM, [and that] that’s what

 the board meeting was. We were going into exclusive negotiations to culminate the merger with




 shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exs. 27-30 &
 34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
 announcing sale to Amazon on May 26, 2021, for $8.4 billion).
 44
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.
 45
    Highland Ex. 25.
 46
    Highland Ex. 26.
 47
    June 8 Hearing Transcript, 127:2-4.

                                                       17
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              18 of 105
                                                     Page 129 of 678 PageID 135



 them.”48 Notwithstanding this testimony, Dondero eventually admitted (after a lengthy and

 torturous cross examination) that he did not actually communicate this supposed “inside”

 information to Seery in the MGM Email. He did not “say anything about Amazon hitting the

 price.” He did not say anything about the MGM board going into exclusive negotiations with

 Amazon “to culminate the merger with them.” Rather, he communicated information that Seery

 and any member of the public who cared to look could have gleaned from publicly available

 information as of December 17, 2020, regarding a much-written-about potential MGM transaction

 that involved interest from numerous companies, including, specifically, Amazon and Apple.

 When questioned why “[he felt] the need to mention Apple [in the MGM Email] if Amazon had

 already hit the price,” Dondero simply answered, “The only way you generally get something done

 at attractive levels in business is if two people are interested,” suggesting that he specifically did

 not communicate the purported inside information he obtained as a MGM board member—that

 Amazon had met MGM’s strike price and that the MGM board was moving forward with exclusive

 negotiations with Amazon—because he wanted it to appear that there was still a competitive

 process going on that included both Amazon and Apple.49

            Even if the MGM Email contained MNPI on the day it was sent (four months prior to the

 first of the Claim Purchases that occurred in April 2021), the information was fully and publicly

 disclosed to the market in the days and weeks that followed. For example, on December 21, 2020,

 just four days later, a Wall Street Journal article titled MGM Holdings, Studio Behind ‘James

 Bond,’ Explores a Sale, reported that MGM had “tapped investment banks Morgan Stanley and

 LionTree LLC and begun a formal sale process,” and had “a market value of around $5.5 billion,

 based on privately traded shares and including debt.” The Wall Street Journal Article reiterated

 48
      Id., 161:10-14.
 49
      June 8 Hearing Transcript, 162:2-6.

                                                  18
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              19 of 105
                                                     Page 130 of 678 PageID 136



 that (i) Anchorage “has come under pressure in recent years from weak performance and defecting

 clients, and its illiquid investment in MGM has become a larger percentage of its hedge fund as it

 shrinks,” and (ii) “Mr. Ulrich has told clients in recent months he was working toward a deal for

 the studio and has spoken of big technology companies as logical buyers.”50 (Id. Ex. 27.) The

 Wall Street Journal’s reporting was picked up and expanded upon in other publications soon after.

 For example:

             On December 23, 2020, Business Matters published an article specifically
              identifying Amazon as a potential suitor for MGM. The article, titled The world is
              net enough! Amazon joins other streaming services in £4bn bidding war for Bond
              films as MGM considers selling back catalogue, cited the Wall Street Journal article
              and further reported that MGM “hopes to spark a battle that could interest streaming
              services such as Amazon Prime”;51

             On December 24, 2020, an article in iDropNews specifically identified Apple as
              entering the fray. In an article titled Could Apple be Ready to Gobble Up MGM
              Studios Entirely?, the author observed that “it’s now become apparent that MGM is
              actually up on the auction block,” noting that the Wall Street Journal was “reporting
              that the studio has begun a formal sale process” and that Apple—with a long history
              of exploratory interest in MGM—would be a likely bidder;52 and

             On January 15, 2021, Bulwark published an article entitled MGM is For Sale (Again)
              that identified attributes of MGM likely to appeal to potential purchasers and
              handicapped the odds of seven likely buyers—with Apple and Amazon named as two
              of three potential buyers most likely to close on an acquisition.53

          Finally, Highland and entities it controlled did not sell their MGM stock while the MGM-

 Amazon deal was under discussion and/or not made public but, instead, they tendered their MGM

 holdings in connection with, and as part of, the ultimate MGM-Amazon transaction after it closed

 in March 2022.




 50
    Highland Ex. 27.
 51
    Highland Ex. 28.
 52
    Highland Ex. 29.
 53
    Highland Ex. 30.

                                                   19
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              20 of 105
                                                     Page 131 of 678 PageID 137



          2. No Evidence to Support HMIT/Dondero’s Assumptions that Seery Shared Alleged
             MNPI in the MGM Email with Claims Purchasers

          One of HMIT’s allegations in the Proposed Complaint it seeks leave to file—which is

 central to HMIT’s and Dondero’s conspiracy theory—is that Seery shared the alleged MNPI from

 the MGM Email with the Claims Purchasers (or at least Farallon—the owner/affiliate of Muck,

 one of the Claims Purchasers) and that the Claims Purchasers only acquired the purchased claims

 (“Purchased Claims”) based on, and because, of their receipt of the MNPI from Seery. HMIT

 essentially admits in the original version of its Motion for Leave that it has no direct evidence that

 Seery communicated the alleged MNPI to any of the Claims Purchasers. Rather, its allegation is

 based on inferences it wants the court to make based on “circumstantial” evidence and on the

 Dondero Declarations that were attached to the Motion for Leave, which described

 communications Dondero purportedly had with one or two representatives of Farallon in the “late

 spring” of 2021 concerning Farallon’s recent acquisition of certain claims in the Highland

 bankruptcy case.54 Based on these communications, HMIT and Dondero only assume Seery must

 have provided the MNPI about MGM to Farallon, which must have caused both Farallon and the

 other Claims Purchaser, Stonehill, to acquire the Purchased Claims.55

          At the June 8 Hearing, HMIT offered Dondero’s testimony that he had three telephone

 conversations with two representatives of Farallon, Mike Linn (“Linn”) and Raj Patel (“Patel”),



 54
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 1 and Ex. 3; see also Highland Ex. 9, Declaration of James Dondero
 (with Exhibit 1) dated February 15, 2023.
 55
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 28. HMIT subsequently filed the final version of the Motion for Leave
 that was revised to withdraw the Dondero Declarations and delete all references therein to the Dondero Declarations
 (but, notably, leaving in the allegations that were based on the Dondero Declaration(s)). This was done after the court
 ruled that it would allow the Proposed Defendants to examine Dondero regarding his Declarations. HMIT contended
 at that point that the court should consider the Motion for Leave on a no-evidence Rule 12(b)(6) type basis (but could
 not explain why it had attached the Dondero Declarations as evidence that “supported” the Motion for Leave, if it
 believed no evidence should be considered). See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 28; see also infra pages
 45 to 47 regarding the “sideshow” litigation that occurred prior to the June 8 Hearing over whether the hearing on the
 Motion for Leave would be an evidentiary hearing.

                                                           20
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              21 of 105
                                                     Page 132 of 678 PageID 138



 who allegedly told him that they purchased the claims without conducting any due diligence and

 based solely on Seery’s assurances that the claims were valuable. These conversations allegedly

 took place on May 28, 2021—two days after the MGM-Amazon deal was officially announced to

 the public (on May 26, 2021). Dondero also testified that a photocopy of handwritten notes

 (“Dondero Notes”)56 (which were partially cut off) were notes he took contemporaneously with

 these short telephone conversations he initiated (one with Patel and two follow-up conversations

 with Linn).57 He testified that his purpose in taking these notes and in initiating the phone calls

 was that “[w]e’d been trying nonstop to settle the case for two-plus years. . . . [a]nd when we heard

 the claims traded, we realized there were new parties to potentially negotiate to resolve the case

 . . . [s]o I reached out [to] the Farallon guys,”58 and further, on voir dire from the Proposed

 Defendants’ counsel, that the purpose of taking the notes was so that he had “a written record of

 the important points that [he] discussed . . . so I know how to address it the next time.”59 The

 handwritten notes60 stated:

           Raj Patel bought it because of Seery               1
           50-70¢ not compelling                              2
              Class 8                                        3
           Asked what would be compelling                     4
           -- No Offer                                        5
           Bought in Feb/March timeframe                      6
                  Bought assets w/ Claims                     7
             Offered him 40-50% premium                      8
           130% of cost; “Not Compelling”                     9
           No Counter; Told Discovery coming                 10

 56
    HMIT Ex. 4. The handwritten notes were admitted into evidence after voir dire, not for the truth of anything Patel
 or Linn allegedly said to him during the three telephone conversations, but as Dondero’s “present sense impression”
 of the telephone conversations.
 57
    June 8 Hearing Transcript, 133:1-136:3.
 58
    See id., 133:13-23.
 59
    See id. (on voir dire), 144:1838-145:4.
 60
    HMIT Ex. 4. The court has placed in a table and numbered each line for ease of reference. The table does not
 include the separate apparent partial date from the top left corner that Dondero testified was the date that he made the
 initial call to Patel: May 28, 2021.

                                                           21
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              22 of 105
                                                     Page 133 of 678 PageID 139



         On direct examination, Dondero testified that line 1 is what he wrote contemporaneously

 with the short call he initiated to Patel of Farallon in which Patel allegedly told Dondero “that he

 bought it because Seery told him to buy it and they had made money with Seery before”61 and that

 Farallon “bought [the claim] because he was very optimistic regarding MGM”62 before referring

 him to Linn, a portfolio manager at Farallon. Dondero testified that the rest of the handwritten

 notes (reflected in lines 2 through 10 of the table) were notes he took contemporaneously with two

 telephone conversations he had with Linn following his call to Patel, with lines 2-8 referring to

 Dondero’s first call with Linn and lines 9 and 10 referring to his second call with Linn.63 Dondero

 testified that the “50-70¢” in line 2 referred to his offer to Linn to pay 70 cents on the dollar to buy

 Farallon’s64 claims because “[w]e knew that they had – that the claims had traded around 50 cents”

 and “[w]e wanted to prevent the $5 million-a-month burn” (referring to attorney‘s fees in the

 Highland case) and that “not compelling Class 8” in lines 2-3 referred to Linn’s response to him

 that the offer was not compelling.65 Dondero testified that lines 4-5 referred to him asking Linn

 what amount would be compelling and to Linn’s response that “he had no offer.”66 Dondero

 testified that lines 6-8 referred to Linn telling Dondero that Farallon bought the claims in the

 February, March timeframe and that Dondero told Linn that, given that the estate was spending $5

 million a month on legal fees, Farallon should want to sell its claims and Linn’s alleged response

 that “Seery told him it was worth a lot more.”67 Lastly, Dondero testified on direct examination




 61
    June 8 Hearing Transcript, 134:7-10, 135:13-22.
 62
    Id., 139:3-11.
 63
    Id., 136:4-138:16.
 64
    As noted above, Farallon did not acquire any of the Purchased Claims; rather, Farallon created a special purpose
 entity, Muck, to acquire the claims.
 65
    June 8 Hearing Transcript, 136:4-16.
 66
    Id., 136:17-23.
 67
    Id., 137:6-138:7.

                                                         22
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              23 of 105
                                                     Page 134 of 678 PageID 140



 that the last two lines referred to a second telephone conversation he had with Linn in which

 Dondero offered 130 percent of cost for the claims and that Linn told him that the offer was not

 compelling, and he would not give a price at which he would sell.68

         On cross-examination, Dondero acknowledged that, though he had testified that the

 handwritten notes were intended to be a written record of the important points from the telephone

 conversations he had with Patel and Linn, there was no mention in the notes of: (1) MGM: (2) or

 that Farallon was very optimistic about MGM; (3) the sharing of MNPI; (4) a quid pro quo; or

 (5) Seery’s compensation, and that his last note—“Told Discovery coming”—was a reference to

 Dondero telling Linn (not Linn telling Dondero) that discovery was coming in response to

 Dondero’s own supposition that Farallon must have traded on MNPI.69 Cross-examination also

 revealed that Farallon never told Dondero that Seery gave them MNPI, and that Dondero only

 believed Seery must have given Farallon MNPI, because Farallon (Patel and Linn) had told him

 that the only reason Farallon bought their claims was because of their prior dealings with Seery,

 which Dondero took to mean that they had conducted no due diligence on their own prior to

 acquiring the claims. Dondero also testified that he did not have any personal knowledge as to

 how Seery’s compensation package, as CEO of the Reorganized Debtor and Claimant Trustee,

 was determined because he was “not involved” in the setting of Seery’s compensation pursuant to

 the Claimant Trust70 and that he never discussed Seery’s compensation with Farallon.71

         As noted earlier, Dondero attempted to obtain discovery from the Claims Purchasers in a

 Texas state court pursuant to Rule 202 of the Texas Rules of Civil Procedure. The Texas state



 68
    Id., 138:8-22.
 69
    Id., 190:14-191:25. Dondero testified that he told Linn that discovery “would be coming in the next few weeks” and
 noted that “this has been a couple years. . . . [w]e’ve been trying for two years to get . . . discovery in this.”
 70
    Id., 200:13-201:1.
 71
    Id., 208:23-209:8.

                                                          23
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              24 of 105
                                                     Page 135 of 678 PageID 141



 court denied the First Rule 202 petition on June 1, 2022, after having considered the amended

 petition, the responses, the record, applicable authorities and having conducted a hearing on the

 petition on June 1, 2022.72

         3. Dondero Unsuccessfully Seeks Discovery and to Have Various Agencies and Courts
            Outside of the Bankruptcy Court Acknowledge His Insider Trading Theories

         Dondero acknowledged at the June 8 Hearing that the verified petition (“First Rule 202

 Petition”) he signed and filed on July 22, 2021, in the first Texas Rule 202 proceeding—just weeks

 after his telephone calls with Linn and Patel—was true and accurate. In it, he swore under oath as

 to what Linn told him in the telephone call concerning Farallon’s purchase of the claims, and the

 only reason he gave for wanting discovery was that Linn told him Farallon bought the claims “sight

 unseen—relying entirely on Seery’s advice solely because of their prior dealings.”73 Dondero

 acknowledged, as well, that his sworn statement that he filed in support of an amended verified

 Rule 202 petition filed in the same Texas Rule 202 proceeding, but nearly ten months later (in May

 2022), described the same telephone conversation he had with Linn, and it did not mention MGM

 at all and did not say that Linn told him that Seery gave him MNPI; rather, the sworn statement

 stated only that “On a telephone call between Petitioner and Michael Lin[n], a representative of

 Farallon, Mr. Lin[n] informed Petitioner that Farallon had purchased the claims sight unseen and

 with no due diligence—100% relying on Seery’s say-so because they had made so much money

 in the past when Seery told them to purchase claims” and that Linn did not tell him that Seery gave

 them MNPI, but he concluded that Seery gave Farallon MNPI based on what Linn did tell him.74



 72
    Highland Ex. 7.
 73
    Id., 193:8-194:16; Highland Ex. 3, Verified Petition to Take Deposition before Suit and Seek Documents, ¶ 21. The
 first Texas Rule 202 proceeding in which Dondero sought discovery regarding the Farallon acquisition of its claims
 was brought by Dondero, individually, in the 95th Judicial District, Dallas County, Texas.
 74
    Id., 195:11-197:17; Highland Ex. 4, Amended Verified Petition to Take Deposition before Suit and Seek Documents,
 ¶ 23.

                                                         24
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              25 of 105
                                                     Page 136 of 678 PageID 142



 Nine days later, Dondero filed a declaration in the same proceeding, in which he described the

 same call with Linn as follows:75

          Last year, I called Farallon’s Michael Lin[n] about purchasing their claims in the
          bankruptcy. I offered them 30% more than what they paid. I was told by Michael
          Lin[n] of Farallon that they purchased the interests without doing any due diligence
          other than what Mr. James Seery—the CEO of Highland—told them, and that he
          told them that the interests would be worth far more than what Farallon paid. Given
          the value of those claims that Seery had testified in court, it made no sense to me
          that Mr. Lin[n] would think that the claims were worth more than what Seery
          testified under oath was the value of the bankruptcy claims.

 Dondero further stated in his declaration that “I have an interest in ensuring that the claims

 purchased by [Farallon] are not used as a means to deprive the equity holders of their share of the

 funds,” and that “[i]t has become obvious that despite the fact that the bankruptcy estate has enough

 money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to drain the

 bankrupt estate and deprive equity of their rights. Accordingly, “I commissioned an investigation

 by counsel who have been in communication with the Office of the United States Trustee.”76

 Dondero attached as Exhibit A to his declaration a letter from Douglas Draper (“Draper”), an

 attorney with the law firm of Heller, Draper & Horn, L.L.C. in New Orleans, to the office of the

 General Counsel, Executive Office for U.S. Trustees, dated October 5, 2021, in which Draper

 opens the letter by stating that “[t]he purpose of this letter is to request that your office investigate

 the circumstances surrounding the sale of claims by members of the [Creditors’ Committee] in the

 bankruptcy of [Highland],” and later noted that he “became involved in Highland’s bankruptcy

 through my representation of [Dugaboy], an irrevocable trust of which Dondero is the primary

 beneficiary.”77 Mr. Draper laid out the same allegations of insider claims trading, breach of




 75
    Highland Ex. 5, ¶ 2.
 76
    Id., ¶¶ 3-4.
 77
    Id., Ex. A, 1-2.

                                                    25
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              26 of 105
                                                     Page 137 of 678 PageID 143



 fiduciary duties, and conspiracy that HMIT seeks to bring in the Proposed Complaint.78 The U.S.

 Trustee’s office took no action. Dondero made a second and third attempt to get the U.S. Trustee’s

 office to conduct an investigation into the same allegations laid out in Draper’s letter, this time in

 “follow-up” letters to the Office of the U.S. Trustee on November 3, 2021, and six months later,

 on May 11, 2022, through another lawyer, Davor Rukavina (“Rukavina”), in which Rukavina

 wrote “to provide additional information regarding the systemic abuses of bankruptcy process

 occasioned during the [Highland] bankruptcy.”79 Again, the U.S. Trustee’s office took no action.

          On February 15, 2023, Dondero filed yet another sworn statement about his alleged

 conversation with Linn, this time in support of a Verified Rule 202 Petition filed by HMIT

 (“Second Rule 202 Petition”), filed in a different Texas state court (Texas District Court, 191st

 Judicial District, Dallas County, Texas), following Dondero’s unsuccessful attempts throughout

 2021 and 2022 to obtain discovery in the First Rule 202 proceeding and based on the same

 allegations of misconduct by Seery and Farallon.80         In this new sworn statement, Dondero

 describes for the first time the “call” he had with Linn as having been “phone calls” with Patel and

 Linn and mentions MGM and Farallon’s alleged optimism about the expected sale of MGM:81

          In late Spring of 2021, I had phone calls with two principals at Farallon Capital
          Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
          calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
          purchase the Acis and HarbourVest claims, which I understood to refer to claims
          that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
          Mr. Linn stated that Farallon agreed to purchase these claims based solely on
          conversations with Seery because they had made significant profits when Seery told
          them to purchase other claims in the past. They also stated that they were
          particularly optimistic because of the expected sale of MGM.




 78
    Id., Ex. A, 6-11.
 79
    HMIT Ex. 61.
 80
    Highland Ex. 9.
 81
    Id., ¶ 4.

                                                  26
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              27 of 105
                                                     Page 138 of 678 PageID 144



 The Second Rule 202 Petition was also denied by the second Texas state court on March 8, 2023.82

         HMIT, in an apparent attempt to provide support for its argument that the Proposed Claims

 are “colorable,” stated in its Motion for Leave that “[t]he Court also should be aware that the Texas

 States [sic] Securities Board (“TSSB”) opened an investigation into the subject matter of the

 insider trades at issue, and this investigation has not been closed. The continuing nature of this

 investigation underscores HMIT’s position that the claims described in the attached Adversary

 Proceeding are plausible and certainly far more than merely ‘colorable.’”83 But, two days before

 opposition briefing was due, on May 9, 2023, the TSSB issued a letter (“TSSB Letter”) to

 Highland, informing it that “[t]he staff of the [TSSB] has completed its review of the complaint

 received by the Staff against [Highland]. The issues raised in the complaint and information

 provided to our Agency were given full consideration, and a decision was made that no further

 regulatory action is warranted at this time.”84 HMIT’s counsel (frankly, to the astonishment of the

 court) objected to the admission of the TSSB Letter at the June 8 Hearing “on the grounds of

 relevance, 403, hearsay, and authenticity . . . [a]nd I also . . . think it's important that the decision

 by a regulatory body has no bearing on this cause of action or the colorability of this claim, and

 the Texas State Securities Board will tell you that. This is completely and utterly irrelevant to your

 inquiry.”85 The court overruled HMIT’s objection to the relevance of this exhibit—considering,

 among other things, that HMIT, in its Motion for Leave, specifically mentioned the allegedly open

 TSSB “investigation” as relevant evidence the court “should be aware” of in making its

 determination of whether the Proposed Claims were “colorable.”86


 82
    Highland Ex. 10.
 83
    Motion for Leave, ¶ 37.
 84
    See Highland Ex. 33.
 85
     June 8 Hearing Transcript, 323:22-324:3.
 86
    Id., 324:4-328:2.

                                                    27
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              28 of 105
                                                     Page 139 of 678 PageID 145



      C. Claims Purchasers Purchase Claims and File Notices of Transfers of Claims

         To be clear about the time line here, it was after confirmation of the Plan but prior to the

 Effective Date of the Plan, that the Claims Purchasers: (1) purchased several large unsecured

 claims that had been allowed following, and as part of, Rule 9019 settlements, each of which were

 approved by the bankruptcy court, after notice and hearing, prior to the confirmation hearing; and

 (2) filed notices of the transfers of those claims pursuant to Rule 3001(e)(2) of the Federal Rules

 of Bankruptcy Procedure. The noticing of the claims transfers began on April 16, 2021, with the

 notice of transfer of the claim held by Acis Capital Management to Muck, and ended on August

 9, 2021, with the notices of transfers of the claims held by UBS Securities to Muck and Jessup:

      Claimant(s)                Date Filed/     Asserted Amount                Claim                Date Filed/
                                 Claim No.                                Settled/Allowed?          Rule 3001
                                                                           If so, Amount            Notice Dkt.
                                                                                                        No.
 Acis Capital Management          12/31/2019     $23,000,000             Yes87                  4/16/2021
 LP and Acis Capital              Claim No.                                                     Bankr. Dkt. No.
 Management, GP LLC                  23                                  $23,000,000            2215
 (together, “Acis”)                                                                             (Muck)
 Redeemer Committee of             4/3/2020      $190,824,557            Yes88                  4/30/2021
 the Highland Crusader              Claim                                                       Bankr. Dkt. No.
 Fund (the “Redeemer               No. 72                                $137,696,610           2261
 Committee”)                                                                                    (Jessup)
 HarbourVest 2017 Global           4/8/2020      Unliquidated            Yes89                  4/30/2021
 Fund, LP, HarbourVest                                                                          Bankr. Dkt. No.
 2017 Global AIF, LP,            Claim Nos.                              $80,000,000 in         2263
 HarbourVest Partners LP,         143, 147,                              aggregate              (Muck)
 HarbourVest Dover Street         149, 150,                              ($45,000,000
 IX Investment LP, HV             153, 154                               General
 International VIII                                                      Unsecured
 Secondary LP,                                                           Claim, and
 HarbourVest Skew Base                                                   $35,000,000
 AIF LP (the “HarbourVest                                               subordinated claim)
 Parties”)



 87
    Bankr. Dkt. No. 1302. The Debtor’s settlement with Acis was approved over the objection of Dondero. Bankr. Dkt.
 No. 1121.
 88
    Bankr. Dkt. No. 1273.
 89
    Bankr. Dkt. No. 1788. The Debtor’s settlement with the HarbourVest Parties was approved over the objections of
 Dondero, Bankr. Dkt. No. 1697, and Dugaboy and the Get Good Trust. Bankr. Dkt. No. 1706.

                                                        28
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              29 of 105
                                                     Page 140 of 678 PageID 146



 UBS Securities LLC, UBS           6/26/2020      $1,039,957,799.40       Yes90                   8/9/2021
 AG, London Branch (the                                                                           Bankr. Dkt. No.
 “UBS Parties”)                   Claim Nos.                              $125,000,000 in         2698
                                   190, 191                               aggregate               (Muck) and
                                                                          ($65,000,000            Bankr. Dkt. No.
                                                                          General                 2697
                                                                                                  (Jessup)


             HMIT insists that it “made no sense” for the Claims Purchasers to buy the Purchased

 Claims because “the publicly available information [] did not offer a sufficient potential profit to

 justify the publicly disclosed risk,” and “their investment was projected to yield a small return with

 virtually no margin for error.”91 Dondero testified that it was his view that there was insufficient

 information in the public to justify the claims purchases.92 But, HMIT’s arguments here are

 contradicted by the information that was publicly available to Farallon and Stonehill at the time of

 their purchases and by HMIT’s own allegations. In advance of Plan confirmation, Highland

 projected that Class 8 general unsecured creditors would recover 71.32% on their allowed claims.

 In the Proposed Complaint, HMIT sets forth the amounts the Claims Purchasers purportedly paid

 for their claims.93 Taking into account the face amount of the allowed claims, the Claims

 Purchasers’ projected profits (in millions of dollars) were as follows:

                                               Ascribed                                  Purchase       Projected
       Creditor        Class 8     Class 9     Value94             Purchaser              Price          Profit

      Redeemer        $137.0       $0.0        $97.71         Stonehill                  $78.0          $19.71

      Acis             $23.0       $0.0        $16.4          Farallon                   $8.0           $8.40


 90
    Bankr. Dkt. No. 2389. The Debtor’s settlement with the UBS Parties was approved over the objections of Dondero,
 Dkt. No. 2295, and Dugaboy and the Get Good Trust. Bankr. Dkt. Nos. 2268, 2293.
 91
    Proposed Complaint, ¶ 3.
 92
    June 8 Hearing Transcript, 187:3-7 (“Q: And it’s your testimony that there wasn’t sufficient information in the
 public for them to buy – this is your view – that there wasn’t sufficient information in the public to justify their
 purchases. Is that your view? A: Correct.).
 93
    Id., ¶ 42.
 94
    “Ascribed Value” is derived by multiplying the Class 8 amount by the projected recovery of 71.32% for that class.

                                                         29
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              30 of 105
                                                     Page 141 of 678 PageID 147



      HarbourVest     $45.0       $35.0       $32.09         Farallon                  $27.0         $5.09

      UBS             $65.0       $60.0       $46.39         Stonehill & Farallon      $50.0         ($3.61)

 As HMIT acknowledges, by the time Dondero spoke with Farallon in the “late spring” of 2021,

 the Claims Purchasers had acquired the allowed claims previously held by Acis, Redeemer, and

 HarbourVest.95 Based on an aggregate purchase price of $113 million for these three claims, the

 Claims Purchasers would have expected to net over $33 million in profits, or nearly 30% on their

 investment, had Highland met its projections. The Claims Purchasers would make even more

 money if Highland beat its projections, because they also purchased the Class 9 claims and would

 therefore capture any upside. In this context, HMIT’s and Dondero’s assertions that it did not

 “make any sense” for the Claims Purchasers to purchase their claims when they did does not pass

 muster—given the publicly available information about potential recoveries under the Plan.

 Dondero even acknowledged, on cross-examination, that he was prepared to pay 30 percent more

 than Farallon had paid, even though he did not think there was sufficient public information

 available to justify Farallon’s purchase of the claims.96 Dondero essentially testified that he

 wanted to purchase Farallon’s claims because he wanted to be in a position of control to force a

 settlement or resolution of the bankruptcy case, post-confirmation, under terms acceptable to him.

 He did not want to try to settle by negotiating with Farallon and Stonehill as creditors, but instead

 he wanted to purchase the claims because “if we owned all the claims, it would settle the case.”97




 95
    See Complaint, ¶ 41 n.12. The UBS claims were not acquired until August 2021, long after the alleged “quid pro
 quo” was supposedly agreed upon and the MGM-Amazon deal was announced in the press in late May 2021. See,
 Highland Ex. 34, Amazon’s $8.45 Billion Deal for MGM is Historic But Feels Mundane (dated May 26, 2021).
 96
    June 8 Hearing Transcript, 187:8-11.
 97
    Id., 187:12-189:10.

                                                        30
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              31 of 105
                                                     Page 142 of 678 PageID 148



        D. Fifth Circuit’s Approval of the Gatekeeper Provision in Plan, Recognition of Res Judicata
           Effect of the Prior Gatekeeper Orders, and the Bankruptcy Court’s Order Approving
           Highland’s Motion to Conform Plan

            Harkening back to February 22, 2021, after a robust confirmation hearing, this court

 entered its order confirming the Plan, over the objections of Dondero and Dondero-Related Parties,

 specifically questioning the good faith of their objections. The court found, after noting “the

 remoteness of their economic interests” that “[it] has good reason to believe that [the Dondero

 Parties] are not objecting to protect economic interests they have in the Debtor but to be disruptors.

 Dondero wants his company back. This is understandable, but it is not a good faith basis to lob

 objections to the Plan.”94 The Plan became effective on August 11, 2021.

            Of relevance to the Motion for Leave, the confirmed Plan included certain exculpations,

 releases, and injunctions designed to protect the Debtor and other bankruptcy participants from

 bad-faith litigation. These participants included: Highland’s employees (with certain exceptions);

 Seery as Highland’s CEO and CRO; Strand (after the appointment of the Independent Directors);

 the Independent Directors; the successor entities; the CTOB and its members; the Committee and

 its members; professionals retained in the case; and all “Related Persons.” The injunction

 provisions contained a Gatekeeper Provision which is similar to the gatekeeper provisions in the

 prior Gatekeeper Orders in that it provided that the bankruptcy court will act as a “gatekeeper” to

 screen and prevent bad-faith litigation against the Protected Parties. The Gatekeeper Provision in

 the Plan states, in pertinent part:98

            No Enjoined Party may commence or pursue a claim or cause of action of any kind
            against any Protected Party that arose or arises from or is related to the Chapter 11
            Case . . . without the Bankruptcy Court (i) first determining, after notice and a
            hearing, that such claim or cause of action represents a colorable claim of any kind,
            including, but not limited to, negligence, bad faith, criminal misconduct, willful
            misconduct, fraud, or gross negligence against a Protected Party and (ii) specifically


 98
      Plan, 50-51 (emphasis added).

                                                     31
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              32 of 105
                                                     Page 143 of 678 PageID 149



          authorizing such Enjoined Party to bring such claim or cause of action against such
          Protected Party.

 The Plan defines Protected Parties as,

          collectively, (i) the Debtor and its successors and assigns, direct and indirect
          majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii)
          Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
          Committee, (vii) the members of the Committee (in their official capacities), (viii)
          the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the
          Litigation Trustee, (xii) the members of the [CTOB] (in their official capacities),
          (xiii) [HCMLP GP LLC], (xiv) the Professionals retained by the Debtor and the
          Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
          Persons of each of the parties listed in (iv) through (xv); [but excluding Dondero
          and Okada and various entities including HMIT and Dugaboy].

 The court notes that the Gatekeeper Provision in the Plan provides protection to a broader number

 of persons than the persons protected under the January 2020 Order (addressing the Independent

 Directors and their agents and advisors) and the July 2020 Order (addressing Seery in his role as

 CEO and CRO of the Debtor). But, at the same time, it is less restrictive than the gatekeeping

 provisions under the Gatekeeper Orders, in that the gatekeeping provisions in the prior orders

 shield the protected parties from any claim that is not both “colorable” and a claim for “willful

 misconduct or gross negligence,” effectively providing the protected parties under the prior orders

 with a limited immunity from claims of simple negligence or breach of contract that do not rise to

 the level of “willful misconduct or gross negligence,” whereas the Gatekeeping Provision under

 the Plan does not act as a release or exculpation of the Protected Parties in any way because it does

 not prohibit any party from bringing any kind of claim against a Protected Party, provided the

 proposed claimant first obtains a finding in the bankruptcy court that its proposed claims are

 “colorable.”99




 99
   It should be noted that--as discussed further below--there are, separately in the Plan, exculpations as to a smaller
 universe of persons--e.g., the Debtor, the Committee and its members, and the Independent Directors.

                                                           32
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              33 of 105
                                                     Page 144 of 678 PageID 150



          Dondero and some of the entities under his control appealed100 the Confirmation Order

 directly to the Fifth Circuit, arguing, among other issues, that the Plan’s exculpation, release, and

 injunction provisions, including the Gatekeeper Provision (collectively, the “Protection

 Provisions”) impermissibly provide certain non-debtor bankruptcy participants with a discharge,

 purportedly in contravention of the provisions of Bankruptcy Code § 524(e)’s statutory bar on non-

 debtor discharges. As noted above, the Fifth Circuit, “affirm[ed] the confirmation order in large

 part” and “reverse[d] only insofar as the plan exculpates certain non-debtors in violation of 11

 U.S.C. § 524(e), strik[ing] those few parties from the plan’s exculpation, and affirm[ed] on all

 remaining grounds.”101 The Fifth Circuit specifically found the “injunction and gatekeeping

 provisions [to be] sound” and found that it was only “the exculpation of certain non-debtors” that

 “exceed[ed] the bankruptcy court’s authority,” agreeing with the bankruptcy court’s conclusions

 that the Protection Provisions were legal, necessary under the circumstances, and in the best

 interest of all parties” in part, and only disagreeing to the extent that the exculpation provision

 improperly extended to certain bankruptcy participants other than Highland, the Committee and

 its members, and the Independent Directors and “revers[ing] and strik[ing] the few unlawful parts


 100
     On appeal, the appellant funds (“Funds”), whom this court found to be “owned and/or controlled” by Dondero
 despite their purported independence, also asked the Fifth Circuit to vacate this court’s factual finding “because it
 threatens the Funds’ compliance with federal law and damages their reputations and values” and because “[a]ccording
 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely independent from
 him.” NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital Mgmt., L.P.), 48 F.4th at 434.
 Applying the “clear error” standard of review, the Fifth Circuit “le[ft] the bankruptcy court’s factual finding
 undisturbed” because “nothing in this record leaves us with a firm and definite conviction that the bankruptcy court
 made a mistake in finding that the Funds are ‘owned and/or controlled by [Dondero].” Id. at 434-35.
 101
     See supra note 4. The Fifth Circuit replaced its initial opinion with its final opinion a few days after certain
 appellants had filed a short (four-and-one-half pages) motion for rehearing (the “Motion for Rehearing”) on September
 2, 2022. The movants had asked the Fifth Circuit to “narrowly amend the [initial] Opinion in order to confirm the
 Court’s holding that the impermissibly exculpated parties are similarly struck from the protections of the injunction
 and gatekeeper provisions of the plan (in other words, that such parties cannot constitute ‘Protected Parties’).” In the
 final Fifth Circuit opinion, same as the initial Fifth Circuit opinion, the Fifth Circuit stated that, with regard to the
 Confirmation Order, the panel would “reverse only insofar as the plan exculpates certain non-debtors in violation of
 11 U.S.C. § 524(e), strike those few parties from the plan’s exculpation, and affirm on all remaining grounds.”
 Highland Capital, 48 F.4th at 424. No findings, discussion, or rulings regarding the injunction and gatekeeper
 provisions that were in the initial Fifth Circuit opinion were disturbed.

                                                            33
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              34 of 105
                                                     Page 145 of 678 PageID 151



 of the Plan’s exculpation provision.”102 The Fifth Circuit then remanded to the Bankruptcy Court

 “for further proceedings in accordance with the opinion.”103

          In the course of analyzing the Protection Provisions under the Plan, the Fifth Circuit noted

 that the protection provisions in the January and July 2020 Orders appointing the Independent

 Directors and Seery as CEO and CRO of Highland were res judicata and that “those orders have

 the effect of exculpating the Independent Directors and Seery in his executive capacities” such that

 “[d]espite removal from the exculpation provision in the confirmation order, the Independent

 Directors’ agents, advisors, and employees, as well as Seery in his official capacities are all

 exculpated to the extent provided in the January and July 2020 Orders.”104

          The Reorganized Debtor filed a motion in the bankruptcy court to conform the plan to the

 Fifth Circuit’s mandate, proposing that only one change was needed to make the Plan compliant

 with the Fifth Circuit’s ruling: narrow the defined term for “Exculpated Parties” to read as follows:

          “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the Independent
          Directors, (iii) the Committee, and (iv) members of the Committee (in their official
          capacities).

 The Reorganized Debtor proposed that this one simple revision of this defined term removed the

 exculpations deemed by the Fifth Circuit to violate section 524(e) of the Bankruptcy Code, and

 that no other changes would be required to conform the Plan and Confirmation Order to the Fifth

 Circuit’s mandate. Some of the Dondero-related entities objected to the motion to conform,

 arguing that the Fifth Circuit’s ruling required more surgery on the Plan than simply narrowing

 the defined term “Exculpated Parties.” On February 27, 2023, this court entered its order granting


 102
     Id. at 435.
 103
     Id. at 440. The Fifth Circuit’s docket reflects that it issued its Judgment and mandate on September 12, 2022.
 104
     Highland Capital, 48 F.4th at 438 n.15. The Fifth Circuit stated, “To the extent Appellants seek to roll back the
 protections in the bankruptcy court’s January 2020 and July 2020 orders (which is not clear from their briefing), such
 a collateral attack is precluded.” Id.

                                                          34
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              35 of 105
                                                     Page 146 of 678 PageID 152



 Highland’s motion to conform the Plan, ordering that one change be made to the Plan – revising

 the definition of “Exculpated Parties” – and no more.105 The objecting parties’ direct appeal of

 this order has been certified to the Fifth Circuit and is one of the numerous currently active appeals

 by Dondero-related parties pending in the Fifth Circuit.

       E. HMIT’s Motion for Leave

          HMIT filed its emergency Motion for Leave on March 28, 2023, which, with attachments,

 as first filed, was 387 pages in length, including an initial proposed complaint (“Initial Proposed

 Complaint”) and two sworn declarations of Dondero that were attached as “objective evidence” in

 “support[ ]” of the Motion for Leave,106 and with it, an application for an emergency setting on the

 hearing on the Motion to Leave. On April 23, 2023, HMIT filed a pleading entitled a “supplement”

 to its Motion to Leave (“Supplement”),107 to which it attached a revised proposed verified

 complaint (“Proposed Complaint”)108 as Exhibit 1-A to the Motion for Leave and stated that “[t]he

 Supplement is not intended to amend or supersede the [Motion for Leave]; rather, it is intended as

 a supplement to address procedural matters and to bring forth additional facts that further confirm

 the appropriateness of the derivative action.”109          The HMIT Motion for Leave was later amended

 to eliminate the Dondero Declarations and references to the same (but not the underlying

 allegations that were supposedly supported by the Dondero Declarations).110




 105
     Bankr. Dkt. No. 3672.
 106
     Bankr. Dkt. No. 3699.
 107
     Bankr. Dkt. No. 3760.
 108
     See supra note 5.
 109
     Supplement ¶ 1.
 110
     Bankr. Dkt. Nos. 3815 and 3816. Both of these filings had the Initial Proposed Complaint attached as Exhibit 1 to
 the Motion for Leave.

                                                          35
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              36 of 105
                                                     Page 147 of 678 PageID 153



        As earlier noted, HMIT desires leave to sue the Proposed Defendants regarding the post-

 confirmation, pre-Effective Date purchase of allowed unsecured claims.           The Proposed

 Defendants would be:

                Seery, who was a stranger to Highland until approximately four months
        following the Petition Date when he was brought in as one of the three Independent
        Directors, and now serves as the CEO of the Reorganized Debtor and the Trustee
        of the Claimant Trust (and also was previously Highland’s CRO during the case,
        then CEO, and, also, an Independent Board Member of Highland’s general partner
        during the Highland case). Seery is best understood as the man who took Dondero’s
        place running Highland—per the request of the Committee.
                Claims Purchasers, who were strangers to Highland until the end of the
        bankruptcy case. They are identified as Farallon Capital Management, LLC
        (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
        created by Farallon to purchase unsecured claims against Highland; Stonehill
        Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
        which was a special purpose entity created by Stonehill to purchase unsecured
        claims against Highland (collectively, the “Claims Purchasers”). The Claims
        Purchasers purchased $240 million face value of already-allowed unsecured claims
        post-confirmation and pre-Effective Date in the spring of 2021 and another $125
        million face value of already-allowed unsecured claims in August 2021.
        Bankruptcy Rule 3001(e) notices—giving notice of same—were filed on the
        bankruptcy clerk’s docket regarding these purchases. The claims had previously
        been held by the creditors known as the Crusader Redeemer Committee, Acis
        Capital, HarbourVest, and UBS (three of these four creditors formerly served on
        the Committee during the Highland bankruptcy case).
               John Doe Defendants Nos. 1-10, which are described to be “currently
        unknown individuals or business entities who may be identified in discovery as
        involved in the wrongful transactions at issue.”
               Highland, as a nominal defendant. HMIT added Highland as a nominal
        defendant in the Revised Proposed Complaint attached to the Supplement.
              Claimant Trust, as a nominal defendant. HMIT added the Claimant Trust
        as a nominal defendant in the Revised Proposed Complaint attached to the
        Supplement.
 The proposed plaintiffs would be:
                HMIT, which, again, was the largest equity holder in Highland and held a
        99.5% limited partnership interest (specifically, Class B/C limited partnership
        interests). HMIT is the holder of a Class 10 interest under the Plan, pursuant to
        which HMIT’s limited partnership interest in Highland was extinguished as of the
        Effective Date in exchange for a pro rata share of a contingent interest in the
        Claimant Trust.

                                               36
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              37 of 105
                                                     Page 148 of 678 PageID 154



                  Highland, as a nominal party. HMIT wishes to bring its complaint on behalf
         of itself and derivatively on behalf of the Reorganized Debtor.
                 Claimant Trust, as a nominal party. HMIT wishes to bring its complaint on
         behalf of itself and derivatively on behalf of the Claimant Trust.

         In the Proposed Complaint, HMIT asserts the following six counts: Count I (against Seery)

 for breach of fiduciary duties; Count II (against the Claims Purchasers and John Doe Defendants)

 for knowing participation in breach of fiduciary duties; Count III (against all Proposed Defendants)

 for conspiracy; Count IV (against Muck and Jessup) for equitable disallowance of their claims;

 Count V (against all Proposed Defendants) for unjust enrichment and constructive trust; and Count

 VI (against all Proposed Defendants) for declaratory relief.111 The gist of the Proposed Complaint

 is as follows. HMIT asserts that something seems amiss regarding the post-confirmation/pre-

 Effective Date purchase of claims by the Claims Purchasers. Actually, more bluntly, HMIT asserts

 that “wrongful conduct occurred” and “improper trades” were made.112 HMIT believes the Claims

 Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

 HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

 funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

 Statement and Plan projections regarding the projected distributions under the Plan to holders of

 allowed unsecured claims. And, of course, Dondero purports to have concluded from the three

 phone conversations he had with representatives of one of the Claims Purchasers that they did no

 due diligence before purchasing the claims. Therefore, HMIT surmises, Seery must have given

 these Claims Purchasers MNPI regarding Highland that convinced them that it was to their

 economic advantage to purchase the claims. In particular, HMIT surmises Seery must have shared

 111
     In the Initial Proposed Complaint, HMIT proposed to bring claims against the various Proposed Defendants in
 seven counts, including a count for fraud by misrepresentation and material nondisclosure against all Proposed
 Defendants. In the Proposed Complaint, HMIT abandons its claim for fraud by misrepresentation and material
 nondisclosure.
 112
     Motion for Leave, 7.

                                                       37
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              38 of 105
                                                     Page 149 of 678 PageID 155



 MNPI regarding the likely imminent sale of MGM, in which Highland had, directly and indirectly,

 substantial holdings. As noted earlier, MGM was ultimately purchased by Amazon after a sale

 process that had been quite publicly discussed in media reports for several months and that was

 officially announced to the public in late May 2021 (just a few weeks after the Claims Purchasers

 purchased some of their claims, but a few months before certain of their claims—the UBS

 claims—were purchased).113 In summary, while the Proposed Complaint is lengthy and at times

 hard to follow, it boils down to allegations that: (a) Seery filed (or caused to be filed) deflated,

 pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

 the Plan, (b) then induced very sophisticated unsecured creditors to discount and sell their claims

 to the likewise very sophisticated Claims Purchasers, (c) which Claims Purchasers are allegedly

 friendly with Seery, and are now happily approving Seery’s allegedly excessive compensation

 demands post-Effective Date (resulting in less money in the pot to pay off the creditor body in full,

 and, thus, a diminished likelihood that HMIT will realize any recovery on its contingent Class 10

 interest). HMIT argues that Seery should be required to disgorge his compensation. It appears

 that HMIT also seeks other damages in the form of equitable disallowance of the Claims

 Purchasers’ claims and disgorgement of distributions on account of those claims, the imposition

 of a constructive trust over all disgorged funds, and declaratory relief.

         HMIT claims that, in seeking to file the Proposed Complaint, it is seeking to protect the

 rights and interests of the Reorganized Debtor, the Claimant Trust, and “innocent stakeholders”

 who were allegedly injured by Seery’s and the Claims Purchasers’ alleged conspiratorial and



 113
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid. Credible testimony
 from Seery at the June 8 Hearing revealed that Highland and entities it controlled tendered their MGM holdings in
 connection with the Amazon transaction (they did not sell their holdings while the MGM-Amazon deal was under
 discussion and/or not made public).

                                                        38
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              39 of 105
                                                     Page 150 of 678 PageID 156



 fraudulent scheme to line Seery’s pockets with excessive compensation for his role as Claimant

 Trustee. In its Motion for Leave, HMIT states that “[t]he attached Adversary Proceeding alleges

 claims which are substantially more than ‘colorable’ based upon plausible allegations that the

 Proposed Defendants, acting in concert, perpetrated a fraud, including a fraud upon innocent

 stakeholders, as well as breaches of fiduciary duties and knowing participation in (or aiding or

 abetting) breaches of fiduciary duty.”114

       F. Is HMIT Really Dondero by Another Name?

          The Proposed Defendants argue that HMIT’s Motion for Leave is nothing more than a

 continuation of the harassing and bad-faith litigation by Dondero and his related entities that the

 Gatekeeper Provisions were intended to prevent and, thus, this is one of multiple reasons that the

 Motion for Leave should be denied.

          To be clear, HMIT asserts that it is controlled by Mark Patrick (“Patrick”), who has been

 HMIT’s administrator since August 2022. Patrick asserts that he is not influenced or controlled

 by Dondero, in general, and specifically not in its efforts to pursue the Proposed Claims against

 Seery and the Claims Purchasers. However, the testimony elicited at the June 8 Hearing—the

 hearing at which HMIT had the burden of showing the court that its Proposed Claims were

 “colorable” such that it should be allowed to pursue them through the filing of the Proposed

 Complaint—paints a different picture. Somewhat tellingly, HMIT chose not to call Patrick—

 allegedly HMIT’s only representative and control person—as a witness in support of its Motion

 for Leave. Rather, Dondero was HMIT’s first witness called in support of its motion, and the first



 114
    See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 3. HMIT notes, in a footnote 6, that “Neither this Motion nor the
 proposed Adversary Complaint seeks to challenge the Court’s Orders or the Plan. In addition, neither this Motion nor
 the proposed Adversary Complaint seeks to redistribute the assets of the Claimant Trust in a manner that would
 adversely impact innocent creditors. Rather, the proposed Adversary Proceeding seeks to benefit all innocent
 stakeholders while working within the terms and provisions of the Plan, as well as the Claimant Trust Agreement.”

                                                         39
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              40 of 105
                                                     Page 151 of 678 PageID 157



 questions on direct from HMIT’s counsel were aimed at establishing that Dondero was not behind

 the filing of the Motion for Leave and the pursuit of the Proposed Claims.115 Dondero testified

 that he did not (i) “have any current official position” with HMIT, (ii) “attempt to exercise [control]

 on the business affairs of [HMIT],” (iii) “have any official legal relationship with [HMIT] where

 [he] can attempt to exercise either direct or indirect control over [HMIT],” or (iv) “participate in

 the decision of whether or not to file the proceedings that are currently pending before Judge

 Jernigan.”116 After HMIT rested, Highland and the Claimant Trust called Patrick as a witness, and

 he testified that he was the administrator of HMIT, that HMIT does not have any employees,

 operations, or revenues, and, when asked if HMIT owned any assets, Patrick testified, with not a

 great deal of certainty, that “it’s my understanding it has a contingent beneficiary interest in the

 Claimants [sic] Trust” and that is the only asset HMIT has.117 Patrick testified that HMIT did not

 owe any money to Dondero personally, but acknowledged that in 2015, HMIT had issued a secured

 promissory note in favor of Dondero’s family trust, Dugaboy, in the amount of approximately

 $62.6 million (the “Dugaboy Note”) in exchange for Dugaboy transferring a portion of its limited

 partner interests in Highland to HMIT; the Dugaboy Note was secured in part by the Highland

 limited partnership interests purchased from Dugaboy.118 Patrick admitted that, if HMIT’s Class

 10 interest has no value, HMIT would have no ability to pay the Dugaboy Note.119 He further

 testified that neither he nor any representative of HMIT had ever spoken with any representative

 of Farallon or Stonehill, that he had no personal knowledge about any quid pro quo, the amount

 of due diligence Farallon or Stonehill conducted prior to buying their claims, or the terms of

 115
     See June 8 Hearing Transcript, 113:10-25.
 116
     Id.
 117
     June 8 Hearing Transcript, 307:7-308:2.
 118
     Id., 303:11-305:1; Highland Ex. 51, HMIT’s $62,657,647.27 Secured Promissory Note dated December 24, 2015,
 in favor of Dugaboy.
 119
     Id., 308:3-16.

                                                      40
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              41 of 105
                                                     Page 152 of 678 PageID 158



 Seery’s compensation package (until the terms were disclosed to them in opposition to the Motion

 for Leave).120 Patrick admitted that Dugaboy was paying HMIT’s attorneys’ fees pursuant to a

 settlement agreement between HMIT and Dugaboy.121

         On cross-examination by HMIT’s counsel, Patrick further testified that HMIT has not filed

 any litigation, as plaintiff, other than its efforts to be a plaintiff in the Motion for Leave and its

 action as a petitioner in the Texas Rule 202 proceeding filed earlier in 2023 in the Texas state

 court.122 HMIT’s counsel argued that the point of this questioning was that “they’re just trying to

 draw Dondero into this and – this vexatious litigant argument, and we’re just developing the fact

 that obviously Hunter Mountain has only filed – attempting to file this action and a Rule 202

 proceeding.123 But, Dondero and HMIT’s counsel referred during the June 8 Hearing to the First

 Rule 202 Petition (where Dondero was the petitioner) and the Second Rule 202 Petition (where

 HMIT was the petitioner) as “our” Rule 202 petitions, and also to the numerous attempts at getting

 the discovery (that Dondero had warned Linn was coming) in the collective. For example, in

 objecting to the admission of Highland’s Exhibit 10 – the Texas state court order denying and

 dismissing the Second Rule 202 Petition – on the basis of relevance, HMIT’s counsel referred to

 the order as “an order denying our second” Rule 202 Petition.124 And, Dondero testified that his

 warning to Linn in May 2021 that “discovery was coming” was “my response to I knew they had

 traded on material nonpublic information” and that “I thought it would be a lot easier to get


 120
      Id., 308:18-312:12. This testimony from Patrick came after HMIT’s counsel objection to counsel’s line of
 questioning regarding Patrick’s personal knowledge of the facts supporting the allegations in the Proposed Complaint
 on the basis that he was invading the attorney work product privilege, which was overruled by this court; HMIT’s
 counsel argued (311:4-19) that the line of questioning was an “invasion of attorney work product . . . [b]ecause they
 might – he would have knowledge from the efforts and investigation through attorneys in the case.”
 121
     Id., 312:24-313:18.
 122
     Id., 315:3-9.
 123
     Id., 316:6-11.
 124
     Id., 58:11-13. The court overruled HMIT’s relevance objection and admitted Highland’s Exhibit 10 into evidence.
 Id., 58:14-15.

                                                          41
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              42 of 105
                                                     Page 153 of 678 PageID 159



 discovery on a situation like this than it has been for the last two years” and that “we’ve been trying

 for two years to get . . . discovery.“125

            Dondero’s use of an entity over which he exerts influence and control to pursue his own

 agenda in the bankruptcy case is not new. Rather, this has been part of Dondero’s modus operandi

 since the “nasty breakup” between Dondero and Highland that culminated with Dondero’s ouster

 in October 2020, whereby Dondero, after not getting his way in the bankruptcy court, continued

 to lob objections and create obstacles to Highland’s implementation of the Plan through entities

 he owns or controls. As noted above, the Fifth Circuit specifically upheld this court’s finding in

 the Confirmation Order that Dondero owned or controlled the various entities that had objected to

 confirmation of the Plan and appealed the Confirmation Order, where the Dondero-related

 appellants made similar protestations that they are not owned or controlled by Dondero and asked

 the Fifth Circuit to vacate this court’s factual finding because, among other reasons, “[a]ccording

 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely

 independent from him.”126 Based on the totality of the evidence in this proceeding, the court finds

 that, contrary to the protestations of HMIT’s counsel and Patrick otherwise, Dondero is the driving

 force behind HMIT’s Motion for Leave and the Proposed Complaint. The Motion for Leave is

 just one more attempt by Dondero to press his conspiracy theory that he has pressed for over two

 years now, unsuccessfully, in Texas state court through Rule 202 proceedings, with the Texas State

 Securities Board, and with the United States Trustee’s office.




 125
       Id., 191:5-25.
 126
        Highland Capital, 48 F.4th at 434-435.

                                                   42
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              43 of 105
                                                     Page 154 of 678 PageID 160



     G. Opposition to Motion for Leave: Arguing No Standing and No “Colorable” Claims

         Highland, the Claimant Trust, and Seery (together, the “Highland Parties”) filed a joint

 opposition (“Joint Opposition”) to HMIT’s Motion for Leave on May 11, 2023.127 The Claims

 Purchasers filed a separate objection (“Claims Purchasers’ Objection”) to the Motion for Leave on

 May 11, 2023, as well.128 In the Joint Opposition, the Highland Parties urge the court to deny

 HMIT leave to pursue the Proposed Claims because, as a threshold matter, HMIT does not have

 standing to bring them, directly or derivatively against the Proposed Defendants. They argue, in

 the alternative, that the Motion for Leave should be denied even if HMIT had standing to pursue

 the Proposed Claims because none of the Proposed Claims are “colorable” claims as that term is

 used in the Gatekeeper Provision of the Plan (and Gatekeeper Orders).129

         The Claims Purchasers likewise argue that HMIT lacks standing to complain about claims

 trading in the bankruptcy which occurred between sophisticated Claims Purchasers and

 sophisticated sellers (“Claims Sellers”), represented by skilled bankruptcy and transactional

 counsel. Moreover, they argue HMIT cannot show that it or the Reorganized Debtor or the

 Claimant Trust were injured by the claims trading at issue because the Purchased Claims had

 already been adjudicated as allowed claims in the bankruptcy case—thus, distributions under the

 Plan on account of the Purchased Claims remain the same, the only difference being who holds

 the claims. Moreover, even if HMIT could succeed in equitably subordinating the validly

 transferred allowed claims, HMIT would still be in the same position it is today: the holder of a


 127
     Bankr. Dkt. Nos. 3783. Highland, the Claimant Trust, and Seery also filed on May 11 a Declaration of John A.
 Morris in Support of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint
 Opposition to Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding (“Morris
 Declaration”) that attached 44 Exhibits in support of the Joint Opposition. Bankr. Dkt. No. 3784.
 128
     Bankr. Dkt. No. 3780.
 129
     See Joint Opposition ¶ 139 (“Because HMIT lacks standing, this Court need not reach the merits of HMIT’s
 proposed Adversary Complaint. As a matter of judicial economy, however, the Highland Parties respectfully request
 that this Court address the lack of merit as an alternative basis to deny the Motion.”).

                                                        43
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              44 of 105
                                                     Page 155 of 678 PageID 161



 contingent, speculative Class 10 interest that would only be paid after payment, in full, with

 interest, of all creditors under the Plan. The Claims Purchasers argue in the alternative that the

 Proposed Claims are not “colorable.”

          Finally, the Proposed Defendants argue that the standard of review for assessing whether

 the Proposed Claims are “colorable” (as such term is used in the Gatekeeper Provision and

 Gatekeeping Orders) is a standard that is a higher than the “plausibility” standard applied to Rule

 12(b)(6). They argue that HMIT should be required to meet a higher bar with respect to

 colorability that includes making a prima facie showing that the Proposed Claims have merit

 (and/or are not without foundation) which requires HMIT to do more than meet the liberal notice-

 pleading standards.

       H. HMIT’s Reply to the Proposed Defendants’ Opposition to the Motion for Leave

          In its reply brief (“Reply”), filed by HMIT on May 18, 2023,130 it argues that it has

  constitutional standing as an “aggrieved party” to bring the Proposed Claims on behalf of itself.131

  HMIT also argues that it has standing under Delaware Trust law to bring a derivative action on

  behalf of the Claimant Trust and that it not only has standing to bring the Proposed Claims

  derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best party to bring

  the claims.132 Finally, HMIT maintains that the standard of review that the bankruptcy court

  should apply in assessing the “colorability” of the Proposed Claims is no greater than the standard

  of review applied to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6), which

  would require the bankruptcy court to look only to the “four corners” of the Proposed Complaint


 130
     Bankr. Dkt. No. 3785.
 131
     See Reply ¶ 7.
 132
     See, Reply ¶ 23 n.5, where HMIT argues “The nature of this injury, in addition to Seery’s influence over the
 Claimant Trust, and the lack of prior action by the Claimant Trust to pursue the claims HMIT seeks to pursue
 derivatively, among other things, demonstrate that HMIT is not only a proper party to assert its derivative claims –
 but the best party to do so.”

                                                         44
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              45 of 105
                                                     Page 156 of 678 PageID 162



  and “not weigh extraneous evidence,”133 take all allegations as true, and view all allegations and

  inferences in a light most favorable to HMIT. As discussed in greater length below, HMIT argues

  that, under this standard, the bankruptcy court should not consider evidence in making its

  determination as to whether the Proposed Complaint presents “colorable” claims.

       I. Litigation within the Litigation: The Pre- June 8 Hearing Skirmishes

          Suffice it to say there was significant activity before the Motion for Leave actually was

 presented at the June 8 hearing. HMIT sought an emergency hearing on its Motion for Leave

 (wanting a hearing on three days’ notice). When the bankruptcy court denied an emergency

 hearing, HMIT unsuccessfully pursued an interlocutory appeal of the denial of an emergency

 hearing to the district court. HMIT then petitioned for a writ of mandamus at the Fifth Circuit

 regarding the emergency hearing denial, which was denied by the Fifth Circuit on April 12, 2023.

          Next, there were multiple pleadings and hearings regarding what kind of hearing the

 bankruptcy court should or should not hold on the Motion for Leave—particularly focusing on

 whether or not it would be an evidentiary hearing.134 The resolution of this issue turned on what

 standard of review the court should apply in exercising its gatekeeping function and determining

 the colorability of the Proposed Claims. HMIT (although it had submitted two declarations of

 Dondero with its original Motion for Leave and approximately 350 pages of total evidentiary

 support) was adamant that there should be no evidence presented at the hearing on the Motion for

 Leave, arguing that the standard for review should be the plausibility standard under Rule 12(b)(6)


 133
    See Reply ¶ 47.
 134
     Highland, joined by Seery and the Claims Purchasers, had filed a motion asking the bankruptcy court to set a
 briefing schedule on the Motion for Leave and to schedule a status conference, indicating that Highland’s proposed
 timetable for same was opposed by HMIT. HMIT subsequently filed a response unopposed to a briefing schedule and
 status conference, but, before the status conference, HMIT filed a brief, stating it was opposed to there being any
 evidence at the ultimate hearing on the HMIT Motion for Leave—arguing the bankruptcy court did not need evidence
 to exercise its gatekeeping function and determine if HMIT has a “colorable” claim. Rather, the court need only
 engage in a Rule 12(b)(6)-type plausibility analysis.

                                                         45
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              46 of 105
                                                     Page 157 of 678 PageID 163



 motions to dismiss such that “the threshold inquiry is very, very low. Evidence is not allowed. . . .

 [S]imilar to a 12(b)(6) inquiry, [the court] is limited to the four corners of the principal pleading –

 in this case, the complaint, or now the revised complaint.”135 Counsel for the Proposed Defendants

 argued that the standard of review for colorability here, in the specific context of the court

 exercising its gatekeeping function under the Plan, is more akin to the standards applied under the

 Supreme Court’s Barton Doctrine136 pursuant to which that the bankruptcy court must apply a

 higher standard than the 12(b)(6) standard, including the consideration of evidence at the hearing

 on the motion for leave; if the standard of review presents no greater hurdle to the movant than the

 12(b)(6) standard applied to every plaintiff in every case, then the gatekeeping provisions mean

 nothing and do nothing to protect the parties from the harassing, bad-faith litigation they were put

 in place to prevent.137 On May 22, 2023, after receipt of post-hearing briefing on the issue, the

 court entered an order stating that “the court has determined that there may be mixed questions of

 fact and law implicated by the Motion for Leave” and “[t]herefore, the parties will be permitted to

 present evidence (including witness testimony) at the June 8, 2023 hearing [on the Motion to

 Leave] if they so choose.”

          Two days later, HMIT filed an emergency motion for expedited discovery or alternatively

 for continuance of the June 8, 2023 hearing, seeking expedited depositions of corporate



 135
     Transcript of April 24, 2023 Status Conference, Bankr. Dkt. No. 3765 (“April 24 Transcript”), 14:6-11.
 136
     The Barton Doctrine was established in the 19th century Supreme Court case of Barton v. Barbour, 104 U.S. 126
 (1881), and states that a party wishing to sue a court-appointed trustee or receiver must first obtain leave of the
 appointing court by making a prima facie case that the claim it wishes to bring is not without foundation.
 137
     See April 24 Transcript, 36:24-37:4 (“[W]e’re exactly today where the Court had predicted in entering [the
 Confirmation Order], that the costs and distraction of this litigation are substantial. And if all we’re doing is replicating
 a 12(b)(6) hearing on a motion for leave, we’re actually not doing anything to reduce, as the Court made clear, the
 burdens, distractions, of litigation.”); 37:5-13 (“The Fifth Circuit likewise cited Barton in its order affirming the
 confirmation order. Specifically, it also explained that the provisions, these gatekeeper provisions requiring advance
 approval were meant to ‘screen and prevent bad-faith litigation.’ Well that – if that means only what the Plaintiff[ ]
 say[s] it does, then it really doesn’t do anything at all to screen. There’s no gatekeeping because their version of what
 that means is always policed under 12(b)(6) standards.”).

                                                              46
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              47 of 105
                                                     Page 158 of 678 PageID 164



 representatives of the Claims Purchasers and of Seery and production of documents pursuant to

 deposition notices and subpoenas duces tecum that HMIT had attached to the motion. On May

 26, 2023, this court held yet another status conference. Following the status conference, the court

 granted in part and denied in part HMIT’s request for expedited discovery by ordering only Seery

 and Dondero to be made available for depositions prior to the June 8 Hearing. The court reached

 what seemed like appropriate middle ground by allowing the deposition of Seery and allowing the

 other parties to depose Dondero (for whom sworn declarations had been submitted), but the court

 was not going to allow any more discovery (i.e., of the Claims Purchasers) at so late an hour. The

 court was aware that HMIT and Dondero had been seeking discovery relating to the very claims

 trades that are the subject of the Revised Proposed Complaint from the Claims Purchasers in Texas

 state court “Rule 202” proceedings for approximately two years, where their attempts were

 rebuffed.

        Approximately 60 hours before the June 8 Hearing, HMIT filed its Witness and Exhibit

 List disclosing for the first time two potential expert witnesses (along with biographical

 information and a disclosure regarding the subject matter of their likely testimony). Highland, the

 Claimant Trust, and Seery filed a joint motion to exclude the expert testimony and documents

 (“Motion to Exclude”), which the court ultimately granted in a separate order.

        During the full-day June 8 Hearing on the Motion to Leave, the court admitted over 50

 HMIT exhibits and over 30 Highland/Claimant Trust exhibits. The court heard testimony from

 HMIT’s witnesses Dondero and Seery (as an adverse witness) and from the Highland Parties’

 witness Mark Patrick, the administrator of HMIT since August 2022 (as an adverse witness). The

 bankruptcy court allowed HMIT to make a running objection to all evidence—as it continued to

 argue that evidence was not appropriate.



                                                 47
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              48 of 105
                                                     Page 159 of 678 PageID 165




 III.      LEGAL ANALYSIS

           In determining whether HMIT should be granted leave, pursuant to the Gatekeeper

 Provision of the Plan and the court’s prior Gatekeeper Orders, to pursue the Proposed Claims, the

 court must address the issue of whether HMIT would have standing to bring the Proposed Claims

 in the first instance. If so, the next question is whether the Proposed Claims are “colorable.” But

 prior to getting into the weeds on standing and “colorability,” some general discussion regarding

 the topic of claims trading in the bankruptcy world seems appropriate, given that HMIT’s Proposed

 Claims are based, in large part, on allegations of improper claims trading.

        A. Claims Trading in the Context of Bankruptcy Cases—Can It Be Tortious or Otherwise
           Actionable?
           As noted, at the crux of HMIT’s desired lawsuit is what this court will refer to as “claims

 trading activity” that occurred shortly after the Plan was confirmed, but before the Plan went

 effective. HMIT believes that the claims trading activity gave rise to various torts: breach of

 fiduciary duty on the part of Seery; knowing participation in breach of fiduciary duty by the other

 Proposed Defendants; and conspiracy by all Defendants. HMIT also believes that the following

 remedies should be imposed: equitable disallowance of the Purchased Claims; disgorgement of

 the alleged profits the Claims Purchasers made on their purchases; and disgorgement of all Seery’s

 compensation received since the beginning of his “collusion” with the other Defendants. Without

 a doubt, the Motion for Leave and Proposed Complaint revolve almost entirely around the claims

 trading activity.

           This begs the question: When (or under what circumstances) might claims trading

 activity during a bankruptcy case give rise to a cause of action that either the bankruptcy estate

 or an economic stakeholder in the case might have standing to bring? Here, the claims trading


                                                   48
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              49 of 105
                                                     Page 160 of 678 PageID 166



 wasn’t even “during a bankruptcy case” really—it was post-confirmation and pre-effective date,

 and it happened to be: (a) after mediation of the claims, (b) after Rule 9019 settlement motions,

 (c) after objections by Dondero and certain of his family trusts were lodged, (d) after evidentiary

 hearings, and (e) after orders were ultimately entered allowing the claims (and in most cases, such

 orders were appealed). The further crux of HMIT’s desired lawsuit is that Seery allegedly

 “wrongfully facilitated and promoted the sale of large unsecured creditor claims to his close

 business allies and friends” by sharing material non-public information to them regarding the

 potential value of the claims (i.e., the potential value of the bankruptcy estate), and this is what

 made the claims trading activity particularly pernicious. The alleged sharing of MNPI allegedly

 caused the Claims Purchasers to purchase their claims without doing any due diligence and with

 knowledge that the claims would be worth much more than the Plan’s “pessimistic” projections

 might have suggested, and also allowed Seery to plant friendly allies into the creditor constituency

 (and on the post-confirmation CTOB) that would “rubber stamp” his generous compensation. This

 is all referred to as “not arm’s-length” and “collusive.” Notably, the MNPI mostly pertained to a

 likely future acquisition of MGM by Amazon (which transaction, indeed, occurred in 2022, after

 being publicly announced in Spring of 2021); as noted earlier, Highland owned, directly and

 indirectly, common stock in MGM. Also notably, there had been rumors and media attention

 regarding a potential sale of MGM for many months.138 In summary, to be clear, HMIT’s desired

 lawsuit is laced with a theme of “insider trading”—although this isn’t a situation of securities

 trading per se (i.e., the unsecured Purchased Claims were not securities), and, as noted earlier, the

 Texas State Securities Board has not seen fit to investigate the claims trading activity.

         So, preliminarily, is claims trading in bankruptcy sinister per se? The answer is no.


 138
   E.g., Benjamin Mullin, MGM Holdings, Studio Behind ‘James Bond,’ Explores a Sale, THE WALL STREET JOURNAL
 (Dec. 21, 2020, 6:38 p.m.).

                                                     49
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              50 of 105
                                                     Page 161 of 678 PageID 167



         The activity of investing in distressed debt (which frequently occurs during a bankruptcy

 case—sometimes referred to as “claims trading”) is ubiquitous and, indeed, has been so for a very

 long time. As noted by one scholar:

         The creation of a market in bankruptcy claims is the single most important
         development in the bankruptcy world since the Bankruptcy Code’s enactment in
         1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
         it a much more market-driven process. [Citations omitted.] . . . The development
         of a robust market for all types of claims against debtors has changed the cast of
         characters involved in bankruptcies. In addition to long-standing relational
         creditors, like trade creditors or a single senior secured bank or bank group,
         bankruptcy cases now involve professional distressed debt investors, whose
         interests and behavior are often quite different than traditional relational
         counterparty creditors.
 Adam J. Levitin, Bankruptcy Markets: Making Sense of Claims Trading, 4 BROOK. J. CORP. FIN.

 & COM. L. 64, 65 (2010) (hereinafter “Bankruptcy Markets”).139

         As a pure policy matter, some practitioners have bemoaned this claims trading

 phenomenon, suggesting that “distressed debt traders may sacrifice the long-term viability of a

 debtor for the ability to realize substantial and quick returns on their investments.”140 Others

 suggest that claims trading in bankruptcy is beneficial, in that it allows creditors of a debtor an

 early exit from a potentially long bankruptcy case, enabling them to save expense and

 administrative hassles, realize immediate liquidity on their claims (albeit discounted), and may




 139
     See also Aaron Hammer & Michael Brandess, Claims Trading: The Wild West of Chapter 11s, AM. BANKR. INST.
 JOURNAL 62 (Jul./Aug. 2010); Chaim Fortgang & Thomas Mayer, Trading Claims and Taking Control of
 Corporations in Chapter 11, 12 CARDOZO L. REV. 1, 25 (1990) (noting that “the first recorded instance of American
 fiduciaries trading claims against insolvent debtors predates all federal bankruptcy laws and goes back to 1790” when
 the original 13 colonies were insolvent, owing tremendous amounts of debt to various parties in connection with the
 Revolutionary War; early American investors purchased these debts for approximately 25% of their par value, hoping
 the claims would be paid at face value by the American government).
 140
     Harvey R. Miller, Chapter 11 Reorganization Cases and the Delaware Myth, 55 VAND. L. REV. 1987, 2016 (2002).
 See also Harvey R. Miller & Shai Y. Waisman, Does Chapter 11 Reorganization Remain a Viable Option for
 Distressed Businesses for the Twenty-First Century?, 78 AM. BANKR. L.J. 153 (2004); Harvey R. Miller & Shai Y.
 Waisman, Is Chapter 11 Bankrupt?, 47 B.C. L. REV. 129 (2005).

                                                          50
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              51 of 105
                                                     Page 162 of 678 PageID 168



 even permit them to take advantage of a tax loss on their own desired timetable.141 On the flipside,

 “[c]aims trading permits an entrance to the bankruptcy process for those investors who want to

 take the time and effort to monitor the debtor and contribute expertise to the reorganization

 process.”142

         So, what are the “rules of the road” here? What does the Bankruptcy Code dictate

 regarding claims trading? The answer is nothing. The Bankruptcy Code itself has no provisions

 whatsoever regarding claims trading. The only thing resembling any regulation of claims trading

 during a bankruptcy case is found at Federal Rule of Bankruptcy Procedure 3001(e)—the current

 version of which went into effect in 1991—and it imposes extremely light regulation—if it could

 even be called that. This rule requires, in pertinent part (at subsection (2)), that “[i]f a claim other

 than one based on a publicly traded note, bond, or debenture” is traded during the case after a proof

 of claim is filed, notice/evidence of that trade must be filed with the bankruptcy clerk by the

 transferee. The transferor shall then be notified and given 21 days to object. If there is an

 objection, the bankruptcy court will hold a hearing regarding whether a transfer, in fact, took place.

 If there is no objection, nothing further needs to happen, and the transferee will be considered

 substituted for the transferor.

         There are several things noteworthy about Rule 3001(e)(2). First, the only party given the

 opportunity to object is the transferor of the claim (presumably, in the situation of a dispute

 regarding whether there was truly an agreement regarding the transfer of the claim). Second, there

 is no need for a bankruptcy court order approving the transfer (except in the event of an objection


 141
     See Bankruptcy Markets, at 70. See also In re Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (“Claims trading allows
 creditors to opt out of the bankruptcy system, trading an uncertain future payment for an immediate one, so long as
 they can find a purchaser.”).
 142
      Bankruptcy Markets at 70 (citing, among other authorities, Edith S. Hotchkiss & Robert M. Mooradian, Vulture
 Investors and the Market for Control of Distressed Firms, 43 J. FIN. ECON. 401, 401 (1997) (finding that “vulture
 investors add value by disciplining managers of distressed firms”).

                                                          51
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              52 of 105
                                                     Page 163 of 678 PageID 169



 by the alleged transferor). Third, the economic consideration paid need not be disclosed to the

 court or anyone. Fourth, there is no requirement or definition of timeliness. Finally, it explicitly

 does not apply with regard to publicly traded debt. This, alone, means that many claims trades are

 not even reported in a bankruptcy case. But it is not just publicly traded debt that will not be

 reflected with a Rule 3001(e) filing. For example, bank debt, in modern times, is often syndicated

 (i.e., fragmented into many beneficial holders of portions of the debt) and only the administrative

 agent for the syndicate (or the “lead bank”) will file a proof of claim in the bankruptcy—thus, as

 the syndicated interests (participations) change hands, and they frequently do, there typically will

 not be a Rule 3001(e) notice filed.143 To be clear here, this syndication-of-bank-debt fact, along

 with the fact that there are financial products whereby bank debt might be carved up into economic

 interests separate and apart from legal title to the loan, means there are many situations in which

 trading of claims during a bankruptcy case is not necessarily transparent or, for that matter, policed

 by the bankruptcy court. This is the world of modern bankruptcy. Most of the claims trading that

 gets reported through a Rule 3001(e) notice is the trading of small vendor claims. And this is all

 regarded as private sale transactions for the most part.144

          Suffice it to say that there is not a wealth of case law dealing with claims trading in a

 bankruptcy context. Perhaps this is not surprising, since it is not prohibited and is mostly a matter

 of private contract between buyer and seller. The case law that does exist seems to arise in

 situations of perceived bad faith of a purchaser—for example, when there was an attempt to control

 voting and/or ultimate control of the debtor through the plan process (not always problematic, but


 143
     Anne Marrs Huber & Thomas H. Young, The Trading of Bank Debt in and Out of Chapter 11, 15 J. BANKR. L.
 & PRAC. 1, 1, 3 (2006).
 144
     Note that Bankruptcy Rule 3001(e) was very different before 1991. Between 1983-1991, the rule required that
 parties transferring claims inform the court that a transfer of claims was taking place and also disclose the
 consideration paid for the transferred claims. A hearing would take place prior to the execution of a trade. Judicial
 involvement was required and resulted in judicial scrutiny of transactions—something that simply does not exist today.

                                                          52
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              53 of 105
                                                     Page 164 of 678 PageID 170



 there are outlier cases where this was found to cross a line and result in consequences such as

 disallowing votes on a plan or even equitable subordination of a claim).145 Another type of case

 that has generated case law is where the purchaser of claims occupied a fiduciary status with the

 debtor.146 Still another type of case that has generated case law is where there is an attempt to

 cleanse claims that might have risks because of a seller’s malfeasance, by trading the claim to a

 new claim holder.147

          The following is a potpourri of the more notable cases that have addressed claims trading

 in different contexts. Most of them imposed no adverse consequences on claims traders: In re

 Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (where a corporation named Garlin, that was owned

 by the individual chapter 7 debtors’ sister and close friend, purchased a $900,000 bank claim for

 $16,500, and there was no disclosure of Garlin’s connections to debtors and no Rule 3001(e)(2)

 notice was filed, the Seventh Circuit reversed the bankruptcy court’s invocation of the doctrine of

 equitable subordination to the claim, stating: “Equitable subordination is generally appropriate

 only if a creditor is guilty of misconduct that causes injury to the interests of other creditors;” the

 Seventh Circuit further stated that it could “put to one side whether the court’s finding of

 inequitable conduct was correct” because even if there was misconduct, it did not harm the other

 creditors, who were in the same position whether the original creditor or Garlin happened to own

 the claim; the Seventh Circuit did note that Garlin’s decision to purchase the original bank

 145
     In re Applegate Prop. Ltd., 133 B.R. 827, 836 (Bankr. W.D. Tex. 1991) (designating votes of an affiliate of the
 debtor that purchased a blocking position to thwart a creditor’s plan because it was done in bad faith); In re Allegheny
 Int’l, Inc., 118 B.R. 282, 289–90 (Bankr. W.D. Pa. 1990) (because of bad faith activities, the court designated votes
 of a claims purchaser who purchased to get a blocking position on a plan). But see In re First Humanics Corp., 124
 B.R. 87, 92 (Bankr. W.D. Mo. 1991) (claims purchased by debtor’s former management company to gain standing to
 file a plan to protect interest of the debtor was in good faith).
 146
     See In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649-650 (Bankr. E.D. La. 1988) (and numerous old cites therein).
 147
     Enron Corp. v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180 (Bankr. S.D.N.Y. 2006),
 vacated, Enron Corp. v. Springfield Assocs., L.L.C. (In re Enron Corp.), 379 B.R. 425 (S.D.N.Y 2007); Enron Corp.
 v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 211 (Bankr. S.D.N.Y. 2005).



                                                           53
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              54 of 105
                                                     Page 165 of 678 PageID 171



 creditor’s claim might have disadvantaged the other creditors if it interfered with the trustee’s own

 potential settlement with the original bank creditor (note that the trustee argued that she had been

 negotiating a deal with bank under which bank might have reduced its claims); however, the trustee

 presented no evidence that any deal with the bank was imminent or even likely; thus, whether such

 a deal could have been reached was speculation; equitable subordination was therefore

 improper.”); Viking Assocs., L.L.C. v. Drewes (In re Olson), 120 F.3d 98, 102 (8th Cir. 1997) (case

 involved the actions of an entity known as Viking in purchasing all of the unsecured claims against

 the bankruptcy estate of two chapter 7 debtors, Hugo and Jeraldine Olson; Viking was a related

 entity, owned by the debtors’ children, and purchased $525,000 of unsecured claims for $67,000;

 while the bankruptcy court had discounted the claims down to the purchase amount and

 subordinated Viking's discounted claims to the claims of the other unsecured creditors, relying on

 section 105 of the Bankruptcy Code, the Eighth Circuit held that the bankruptcy court lacked the

 authority to do this, and, thus, reversed and remanded; the Eighth Circuit noted that in 1991,

 Bankruptcy Rule 3001(e)(2) was amended “to restrict the bankruptcy court's power to inspect the

 terms of” claims transfers. Id. at 101 (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1314 n. 9 (1st

 Cir. 1993)); the text of the rule makes clear that the existence of a “dispute” depends upon an

 objection by the transferor; where there is no objection by the transferor, there is no longer any

 role for the court); Citicorp. Venture Capital, Ltd. v. Official Committee of Unsecured Creditors

 (In re Papercraft Corp.), 160 F.3d 982 (3d Cir. 1998) (large investor who held seat on board of

 directors of debtor and debtor’s parent, and who also had nonpublic information regarding the

 debtor’s value, anonymously purchased 40% of the unsecured claims at a steep discount during

 the chapter 11 case, and then, having obtained a blocking position for plan voting purposes,

 proposed a plan to acquire debtor; the claims purchaser’s claims were equitably reduced to amount



                                                  54
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              55 of 105
                                                     Page 166 of 678 PageID 172



 paid for the claims since investor was a fiduciary who was deemed to have engaged in inequitable

 conduct); Figter Ltd. v. Teachers Ins. & Annuity Ass’n of Am. (In re Figter), 118 F.3d 635 (9th

 Cir. 1997) (Ninth Circuit affirmed bankruptcy court’s ruling that a secured creditor’s purchase of

 21 out of 34 unsecured claims in the case was in good faith and it would not be prohibited from

 voting such claims on the debtor’s plan, pursuant to Bankruptcy Code section 1126(e)); In re

 Lorraine Castle Apartments Bldg. Corp., 145 F.2d 55, 57 & 58 (7th Cir. 1945) (in a case under the

 old Bankruptcy Act, in which there were more restrictions on claims trading, a debtor and two of

 its stockholders argued that the claims of purchasers of bonds should be limited to the amounts

 they paid for them; bankruptcy court special master found, “that, though he did not approve

 generally the ethics reflected by speculation in such bonds,” there was no cause for limitation of

 the amounts of their claims, pointing out that the persons who had dealt in the bonds were not

 officials, directors, or stockholders of the corporation and owed no fiduciary duty to the estate or

 its beneficiaries—rather they were investors or speculators who thought the bonds were selling too

 cheaply and that they might make a legitimate profit upon them; the district court agreed, as did

 the Seventh Circuit, noting that “[t]o reduce the participation to the amount paid for securities, in

 the absence of exceptional circumstances which are not present here, would reduce the value of

 such bonds to those who have them and want to sell them. This would result in unearned,

 undeserved profit for the debtor, destroy or impair the sales value of securities by abolishing the

 profit motive, which inspires purchasers.”); In re Washington Mutual, Inc., 461 B.R. 200 (Bankr.

 Del. 2011), vacated in part, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (discussion of an

 equity committee’s potential standing to pursue equitable subordination or equitable disallowance

 of the claims of certain noteholders who had allegedly traded their claims during the chapter 11




                                                  55
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              56 of 105
                                                     Page 167 of 678 PageID 173



 case while having material non-public information; while bankruptcy court originally indicating

 these were viable tools, court later vacated its ruling on this after a settlement was reached).

          Suffice it to say that the courts have, more often than not, been unwilling to impose legal

 consequences, for an actor’s involvement with claims trading. At most, in outlier-type situations

 during a case, courts have taken steps to disallow claims for voting purposes or to subordinate

 claims to other unsecured creditors for distribution purposes.148 But the case at bar does not present

 facts that are typical of any of the situations in reported cases.

          For one thing, unlike in the reported cases this court has located, there seems to have been

 complete symmetry of sophistication among the claim sellers and claim purchasers here—and

 complete symmetry with HMIT for that matter. All persons involved are highly sophisticated

 financial institutions, hedge funds, or private equity funds. No one was a “mom-and-pop” type

 business or vendor that might be vulnerable to chicanery. The claims ranged from being worth

 $10’s of millions of dollars to $100’s of millions of dollars in face value. And, of course, the

 sellers/transferors of the claims have never shown up, subsequent to the claims trading


 148
     Note that, while some cases suggest that outright disallowance of an unsecured claim, in the case of “inequitable
 conduct” might be permitted (not merely equitable subordination to unsecured creditors)—usually citing to Pepper v.
 Litton, 308 U.S. 295 (1939)—the Fifth Circuit has suggested otherwise. In re Mobile Steel Co., Inc., 563 F.2d 692,
 699-700 (5th Cir. 1977) (cleaned up) (noting that “equitable considerations can justify only the subordination of
 claims, not their disallowance” and also noting that “three conditions must be satisfied before exercise of the power
 of equitable subordination is appropriate[:] (i) The claimant must have engaged in some type of inequitable conduct[;]
 (ii) The misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair advantage on
 the claimant[; and] (iii) Equitable subordination of the claim must not be inconsistent with the provisions of the
 Bankruptcy Act.” In Mobile Steel, the Fifth Circuit held that the bankruptcy judge exceeded the bounds of his equitable
 jurisdiction by disallowing a group of claims and also reversed the subordination of certain claims, on the grounds
 that the bankruptcy court had made clearly erroneous findings regarding alleged inequitable conduct and other
 necessary facts. Contrast In re Lothian Oil Inc., 650 F.3d 539 (5th Cir. 2011) (involving the question of whether a
 bankruptcy court may recharacterize a claim as equity rather than debt; the court held yes, but it has nothing to do
 with inequitable conduct per se; rather section 502(b)’s language that a claim should be allowed unless it is
 “unenforceable against the debtor and property of the debtor, under any agreement or applicable law....” is the relevant
 authority; unlike equitable subordination, recharacterization is about looking at the true substance of a transaction not
 the conduct of a party (if it looks like a duck and quacks like a duck, it’s a duck—i.e., equity); the court indicated that
 section 105 is not a basis to recharacterize debt as equity; it’s a matter of looking at state law to determine if there is
 any basis and looking at the nature of the underlying transaction—as either a lending arrangement or equity infusion.



                                                             56
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              57 of 105
                                                     Page 168 of 678 PageID 174



 transactions, to complain about anything. Everyone involved here is, essentially, a behemoth and

 there is literally no sign of innocent creditors getting harmed. Second, the case at bar is unique in

 that the claims traded here had all been allowed after objections, mediation, and Rule 9019

 settlements during the bankruptcy case. Thus, the amounts that would be paid on them were

 “locked in,” so to speak. There was no risk to a hypothetical claims-purchaser of disallowance,

 offset, or any “claw-back” litigation (or—one might have reasonably assumed—any type of

 litigation). Third, the terms for distributions on unsecured claims had been established in a

 confirmed plan (although the claims were purchased before the effective date of the Plan). Thus,

 there was a degree of certainty regarding return on investment for the Claims Purchasers here that

 was much higher than if the claims had been purchased early, during, or mid-way through the

 case.149 This was post-confirmation, pre-effective date claims purchasing. Interestingly, all three

 of these facts might suggest that little due diligence would be undertaken by any hypothetical

 purchaser. The rules of the road had been set. The court makes this observation because HMIT

 has suggested there is something highly suspicious about the fact that Farallon allegedly told

 Dondero that it did no due diligence before purchasing its claims (leading him to conclude that the

 Claims Purchasers must have purchased their claims based on receiving MNPI from Seery). Not

 only has there been no colorable evidence suggesting that insider information was shared, but the

 lack of due diligence in this context does not reasonably seem suspicious. The claims purchases


 149
       See discussion in BANKRUPTCY MARKETS, at 91:
             Some claims purchasers buy before the bankruptcy petition is filed, some at the beginning of the
             case, and some towards the end. For example, there are investors who look to purchase at low prices
             either when a business is failing or early in the bankruptcy and ride through the case until payouts
             are fairly certain. [Citations omitted.] These investors might be hoping to buy at 30 cents on the
             dollar and get a payout at 70 cents on the dollar. Perhaps if they waited another six months, the
             payout would be 74 cents on the dollar, but the additional 4 cents on the dollar for six months might
             not be a worthwhile return for the time value of the investment. Other investors might not want to
             assume the risk that exists in the early days of a case when the fate of the debtor is much less certain,
             but they would gladly purchase at 70 cents on the dollar at the end of the case to get a payout of 74
             cents on the dollar six months later.

                                                                57
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              58 of 105
                                                     Page 169 of 678 PageID 175



 were almost like passive investments, at this point—there was no risk of a claim objection and

 there was a confirmed plan, with a lengthy disclosure statement that described not only plan

 payment terms and projections, but essentially anything that any investor might want to know.

           To reiterate, here, HMIT seeks leave to assert the following causes of action:

    I.         Breach of Fiduciary Duties (Seery)

    II.        Knowing Participation in Breach of Fiduciary Duties (Claims Purchasers)

    III.       Conspiracy (all Proposed Defendants)

    IV.        Equitable Disallowance (Claims Purchasers)

    V.         Unjust Enrichment and Constructive Trust (all Proposed Defendants)

    VI.        Declaratory Judgment (all Proposed Defendants)

           The court struggles to fathom how any of these proposed causes of action or remedies

 can be applied in the context of: (a) post-confirmation claims trading; (b) where the claims

 have all been litigated and allowed.

           In reflecting on the case law and various Bankruptcy Code provisions, the court can fathom

 the following hypotheticals in which claims trading during a bankruptcy case might be somehow

 actionable:

           Hypothetical #1: The most obvious situation would be if a purchaser of a claim
           files a Rule 3001(e) Notice, and the seller/transferor then files an objection thereto.
           There would then be a contested hearing between purchaser and seller regarding
           the validity of the transfer with the bankruptcy court issuing an appropriate order
           after the hearing on the objection. As noted, there was no objection to the Rule
           3001(e) notices here.
           Hypothetical #2: Alternatively, there could be a breach of contract suit between
           purchaser and seller if one thinks the other breached the purchase-sale agreement
           somehow. Perhaps torts might also be alleged in such litigation. As noted, there is
           no dispute between purchasers and sellers here.
           Hypothetical #3: If there is believed to be fraud in connection with a plan, a party
           in interest might, pursuant to section 1144 of the Bankruptcy Code, move for

                                                     58
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              59 of 105
                                                     Page 170 of 678 PageID 176



       revocation of the plan “at any time before 180 days after the date of entry of the
       order for confirmation” and the court “may revoke such order if and only if such
       order was procured by fraud.” As noted, here HMIT has suggested that the
       “pessimistic” plan projections may have been fraudulent or misrepresentations
       somehow. The time elapsed long ago to seek revocation of the Plan.
       Hypothetical #4: As discussed above, in rare situations (bad faith), during a
       Chapter 11 case, before a plan is confirmed, a claims purchaser’s claim might not
       be allowed for voting purposes. See Sections 1126(e) of the Bankruptcy Code (“the
       court may designate any entity whose acceptance or rejection of such plan was not
       in good faith”). Obviously, in this case, this is not applicable—the claims were
       purchased post-confirmation.
       Hypothetical #5: As discussed above, in rare situations (inequitable conduct), a
       court might equitably subordinate claims to other claims. See Section 510(c) of
       the Bankruptcy Code. But here, HMIT is seeking either: (a) equitable subordination
       of the claims of the Claims Purchaser to HMIT’s Class 10 former equity interest
       (in contravention of the explicit terms of section 510(c)) or, (b) equitable
       disallowance of the claims of the Claims Purchasers (in contravention of Mobile
       Steel).
       Hypothetical #6: Bankruptcy Code section 502(b)(1) and the Fifth Circuit’s
       Lothian Oil case may permit “recharacterization” of a claim from debt to equity in
       certain circumstances, but not in circumstances like the ones in this case. Here, the
       claims have already been adjudicated and allowed (some after mediation, and all
       after Rule 9019 settlement orders). The only way to reconsider a claim in a
       bankruptcy case that has already been allowed is through Bankruptcy Code section
       502(j) (“A claim that has been allowed or disallowed may be reconsidered for
       cause. . . according to the equities of the case.”). The problem here is that
       Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order
       allowing or disallowing a claim against the estate entered without a contest is not
       subject to the one year limitation prescribed in Rule 60(c)” (emphasis added). Here
       there was most definitely “a contest” with regard to all of these purchased claims.
       Thus, it would appear that any effort to have a court reconsider these claims
       pursuant to section 502(j) is untimely—as it has been well beyond a year since
       they were allowed.
       Hypothetical #7: If a party believes “insider trading” occurred there are
       governmental agencies that investigate and police that. Here, the purchased claims
       (which were not based on bonds or certificated equity interests) would not be
       securities so as to fall under the SEC’s purview. Moreover, there was evidence
       that HMIT or Dondero-Related entities requested that the Texas State Securities
       Board investigate the claims trading and the board did not find a basis to pursue
       anyone for wrongdoing.
       Hypothetical #8: The United States Trustee can investigate wrongdoing by a
       debtor or unsecured creditors committee. While the United States Trustee would
       naturally have concerns about members of an unsecured creditors committee (or an
       officer of a debtor-in-possession) adhering to fiduciary duties and not putting their

                                                59
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              60 of 105
                                                     Page 171 of 678 PageID 177



            own interests above those of the estate, here, there are a couple of points that seem
            noteworthy. One, the claims trading activity was post-confirmation so—while
            certain of the claim-sellers may have still been on the unsecured creditors
            committee, as the effective date of the plan had not yet occurred—the
            circumstances are very different than if this had all happened during the early,
            contentious stages of the case. It seems inconceivable that there was somehow a
            disparity of information that might be troubling—the Plan had been confirmed and
            it was available for the world to see. The whole notion of “insider information”
            (just after confirmation here) feels a bit off-point. Bankruptcy practitioners and
            judges sometimes call bankruptcy a fishbowl or use the “open kimono” metaphor
            for good reason. It is generally a very open process. And information-sharing on
            the part of a debtor-in-possession or unsecured creditors committee is intended to
            be robust. See, e.g., Bankruptcy Code sections 521 and 1102(b)(3). In a way,
            HMIT here seems to be complaining about this very situation that the Code and
            Rules have designed.

            In summary, claims trading is a highly unregulated activity in the bankruptcy world.

 HMIT is attempting to pursue causes of action here that, to this court’s knowledge, have never

 been allowed in a context like this.

        B. Back to Standing—Would HMIT Have Standing to Bring the Proposed Claims?

            The Proposed Defendants argue that HMIT lacks standing to bring the Proposed Claims,

 either: (a) derivatively on behalf of the Reorganized Debtor and Claimant Trust, or (b) directly on

 behalf of itself. Thus, they argue that this is one reason that the Motion for Leave should be denied.

            In making their specific standing arguments, the parties analyze things slightly differently:

         The Claims Purchasers focus primarily on HMIT’s lack of constitutional standing but also
 argue that HMIT does not have prudential standing under Delaware trust law to bring the Proposed
 Claims either individually or derivatively. Why do they mention Delaware trust law? Because the
 Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust Act, 12
 Del. C. §§ 3801–29.150

       The Highland Parties’ standing arguments focus almost entirely on HMIT’s lack of
 prudential standing under Delaware trust law to bring the Proposed Claims.

        HMIT argues that the Proposed Defendants “play fast and loose with standing arguments”
 and that HMIT has constitutional standing as a “party aggrieved”151 to bring the Proposed Claims
 on behalf of itself. HMIT also argues that it has standing under Delaware trust law to bring a
 150
       See Proposed Complaint, ¶ 26.
 151
       Proposed Complaint, ¶7.

                                                     60
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              61 of 105
                                                     Page 172 of 678 PageID 178



 derivative action on behalf of the Claimant Trust, and that it not only has standing to bring the
 Proposed Claims derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best
 party to do so.

       1. The Different Types of Standing: Constitutional Versus Prudential

          The parties are addressing two concepts of standing that can sometimes be confused and

 misapplied by both attorneys and judges: constitutional Article III standing, which implicates

 federal court subject matter jurisdiction,152 and the narrower standing concept of prudential

 standing, which does not implicate subject matter jurisdiction but nevertheless might prevent a

 party from having capacity to sue, pursuant to limitations set by courts, statutes or other law.

          Article III constitutional standing works as follows: a plaintiff, as the party invoking

 federal jurisdiction, bears the burden of establishing three elements: (1) that he or she suffered an

 injury in fact that is concrete, particularized, and actual or imminent—not conjectural or

 hypothetical, (2) that there is a causal connection between the injury and the conduct complained

 of, and (3) it must be likely, not speculative, that the injury will be redressed by a favorable

 decision.153 “If the plaintiff does not claim to have suffered an injury that the defendant caused

 and the court can remedy, there is no case or controversy for the federal court to resolve.”154 These

 elements ensure that a plaintiff has “‘such a personal stake in the outcome of the controversy’ as

 to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s remedial

 powers on his behalf.”155




 152
      Article III, Section 2 of the U.S. Constitution gives federal courts jurisdiction over enumerated cases and
 controversies.
 153
     See Thole v. U.S. Bank, N.A., 140 S.Ct. 1615, 1618 (2020)(citing the Supreme Court’s seminal case on the tripartite
 test for Article III constitutional standing, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), where the
 Supreme Court stated that “the irreducible constitutional minimum of standing contains [the] three elements”); see
 also Spokeo, 578 U.S. at 338; Abraugh v. Altimus, 26 F.4th 298, 302 (5th Cir. 2022) (citing id.).
 154
     Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021)(cleaned up).
 155
     Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

                                                           61
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              62 of 105
                                                     Page 173 of 678 PageID 179



          Apart from this minimal constitutional mandate, courts and statutes have set other limits

 on the class of persons who may seek judicial remedies—and this is the concept of prudential

 standing. In its recent opinion in Abraugh v. Altimus,156 the Fifth Circuit set forth a detailed

 analysis of the two types of “standing,” noting that the term “standing” is often “misused” in our

 legal system, which has led to confusion for both attorneys and judges.157 The constitutional

 standing that is necessary for a court to exercise subject matter jurisdiction is broader than

 prudential standing and is only the first hurdle a party must clear before pursuing a claim in federal

 court.

            The Fifth Circuit explained that in addition to Article III constitutional standing, “courts

 have occasionally articulated other ‘standing’ requirements that plaintiffs must satisfy under

 certain conditions, beyond those imposed by Article III,”158 such as the “standing” requirement

 that might be imposed by a statute or by jurisprudence. The Abraugh case was a perfect example

 of the latter.

          Abraugh involved the civil rights statutes that provide, among other things, that “a party

 must have standing under the state wrongful death or survival statutes to bring [a § 1983 cause of

 action]” and noted that these statutes impose additional “standing” requirements that are a matter

 of prudential standing, not constitutional standing.159 In Abraugh, the Fifth Circuit reversed and

 remanded a district court’s dismissal of a § 1983 civil rights cause of action—noting that the

 district court had stated that it was dismissing based on a “lack of subject matter jurisdiction”

 because the plaintiff in that action lacked standing.160 The plaintiff was the mother of a prisoner


 156
     26 F.4th 298.
 157
     Id. at 303.
 158
     Id. at 302 (emphasis added).
 159
     Id. at 302-303.
 160
     Id. at 301.

                                                    62
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              63 of 105
                                                     Page 174 of 678 PageID 180



 who died by suicide while in custody who brought a § 1983 action against Louisiana correctional

 officers and officials. After finding that the plaintiff/mother lacked standing under Louisiana’s

 wrongful death and survival statutes (because there had been a surviving child and wife of the

 prisoner who were the proper parties with capacity to sue), the district court held that it was

 dismissing for lack of subject matter jurisdiction. The Fifth Circuit pointed out that the

 plaintiff/mother may have lacked standing under Louisiana’s wrongful death and survival statutes

 to bring the claim under § 1983, but that type of standing was matter of prudential standing, and

 the plaintiff/mother actually did have Article III constitutional standing (“a constitutionally

 cognizable interest in the life of her son”).161 Thus, the district court’s error was not in finding

 that the plaintiff/mother lacked prudential standing but in improperly conflating the two standing

 concepts when it held that it had lacked subject matter jurisdiction to consider any of the

 plaintiff’s/mother’s amended complaints.162 The Fifth Circuit noted specifically that163

          prudential standing does not present a jurisdictional question, but “a merits
          question: who, according to the governing substantive law, is entitled to enforce the
          right?” As the Federal Rules of Civil Procedure make clear, “an action must be
          prosecuted in the name of the real party in interest.” FED. R. CIV. P. 17(a)(1). And
          a violation of this rule is a failure of “prudential” standing. “Not one of our
          precedents holds that the inquiry is jurisdictional.” It goes only to the validity of
          the cause of action. And “the absence of a valid . . . cause of action does not
          implicate subject-matter jurisdiction.”

          Somewhat relevant to this prudential standing discussion is the fact that, in this bankruptcy

 case, there have been dozens of appeals of bankruptcy court orders by Dondero and Dondero-

 related entities. In connection therewith, both the district court and the Fifth Circuit, in evaluating

 the appellate standing of the appellants, have taken pains to distinguish between the concepts of:


 161
     Id.
 162
     Id. at 301, 303-304. The Fifth Circuit opined that “the district court did not err in describing [the mother’s] inability
 to sue under Louisiana law as a defect of ‘standing[, b]ut it is a defect of prudential standing, not Article III standing”
 thus technically not implicating the federal court’s subject matter jurisdiction. Id. at 303.
 163
     Id. at 304 (cleaned up).

                                                              63
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              64 of 105
                                                     Page 175 of 678 PageID 181



 (a) traditional, constitutional standing, and (b) a type of prudential standing known as the “person

 aggrieved” test, which is applied in the Fifth Circuit in determining whether a party has standing

 to appeal a bankruptcy court order—which it describes as a narrower and “more exacting”

 standard than constitutional standing. As explained in a Fifth Circuit opinion addressing the

 standing of a Dondero-related entity called NexPoint to appeal bankruptcy court orders allowing

 professional fees, the “person aggrieved” standard that is typically applied to ascertain bankruptcy

 appellate standing originated in a statute in the Bankruptcy Act. The Fifth Circuit continued to

 apply it after Congress removed the provision when it enacted the Bankruptcy Code in 1978.164

 Because it is narrower and “more exacting” than the test for Article III constitutional standing, it

 involves application of prudential standing considerations.165 The Fifth Circuit describes the

 “person aggrieved” test for bankruptcy appellant standing as requiring that an appellant show that

 it was “directly and adversely affected pecuniarily by the order of the bankruptcy court,” requiring

 “a higher causal nexus between act and injury than traditional standing . . . that best deals with the

 unique posture of bankruptcy actions.”166 In affirming the district court’s dismissal of NexPoint’s

 appeal of the bankruptcy court’s fee orders, due to NexPoint’s lack of prudential standing under

 the “person aggrieved” test, the court rejected NexPoint’s argument that it had standing to appeal

 164
     NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In re Highland Capital Management, L.P.), No.
 22-10575, 2023 WL 4621466, *2 (5th Cir. July 19, 2023)(citing In re Coho Energy Inc., 395 F.3d 198, 202 (5th Cir.
 2004)(cleaned up)).
 165
     Id. at *1, **4-6 (where the Fifth Circuit repeatedly throughout its opinion refers to the “person aggrieved” test for
 standing in bankruptcy actions as a test for “prudential standing.”); see also Dondero v. Highland Capital Mgt., L.P.,
 Civ. Act. No. 3:20-cv-3390-X, 2002 WL 837208 (N.D. Tex. Mar. 18, 2022)(where the district court, in addressing
 Dondero’s standing to appeal a bankruptcy court order approving a Rule 9019 settlement (between Highland and Acis
 Capital Management GP LLC), notes that “[i]t is substantially more difficult to have standing to appeal a bankruptcy
 court’s order than it is to pursue a typical complaint under Article III of the U.S. Constitution” and that “the Fifth
 Circuit has long recognized that bankruptcy cases’ wide-reaching scope calls for a more stringent standing test.”).
 166
     See id. at *3 (cleaned up). The court quotes its 2018 opinion in Matter of Technicool Sys., Inc. (In re Technicool),
 896 F.3d 382, 385 (5th Cir. 2018), which explains why the “person aggrieved” prudential standing standard is applied
 in bankruptcy actions: “Bankruptcy cases often involve numerous parties with conflicting and overlapping interests.
 Allowing each and every party to appeal each and every order would clog up the system and bog down the courts.
 Given the specter of such sclerotic litigation, standing to appeal a bankruptcy court order is, of necessity, quite
 limited.” Id. (cleaned up).

                                                            64
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              65 of 105
                                                     Page 176 of 678 PageID 182



 because “it meets traditional Article III standing requirements [and that the more exacting]

 prudential standing considerations such as the ‘person aggrieved’ standard” did not survive the

 Supreme Court’s 2014 Lexmark167 opinion,168 which addressed standing issues in the context of

 false advertising claims under the Lanham Act and reminded that courts may not “limit a cause of

 action that Congress has created merely because ‘prudence’ dictates.”169 The Fifth Circuit held

 that the Supreme Court’s reminder in Lexmark did not nullify the “person aggrieved” test for

 prudential standing in bankruptcy appeals, citing its own decision in Superior MRI Services Inc.

 v. Alliance Healthcare Services, Inc.170 (rendered a year after Lexmark was decided), in which it

 held that Lexmark applied only to the circumstances of that case, “rather than broadly modifying—

 or undermining—all prudential standing concerns, such as the one animating the ‘person

 aggrieved’ standard in bankruptcy appeals.”171

         Similarly, in yet another appeal in this bankruptcy case involving three Dondero-related

 entities as appellants (NexPoint, Dugaboy, and HCMFA)—this one an appeal of a bankruptcy

 court order authorizing the creation of an indemnity subtrust and entry into an indemnity trust

 agreement—the district court noted the parties’ confusion about the standing issue, as exemplified

 in the parties’ reference to constitutional standing when they were actually arguing that they had

 prudential standing under the “person aggrieved” test: “Although the parties frame this issue as

 one of constitutional standing . . . they cite case law and present arguments about the prudential




 167
     Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).
 168
     Id. at *2.
 169
     See id. at *4 (cleaned up).
 170
     778 F.3d 502 (5th Cir. 2015).
 171
     NexPoint, 2023 WL 4621466 at *4 (cleaned up). The Fifth Circuit explicitly stated that “Lexmark does not
 expressly reach prudential concerns in bankruptcy appeals and brought no change relevant here.” Id. at *5 (cleaned
 up).

                                                        65
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              66 of 105
                                                     Page 177 of 678 PageID 183



 standing requirement embodied in the ‘person aggrieved’ test.”172 The district court noted that it

 had an “independent obligation to consider constitutional standing before reaching its prudential

 aspects.”173 The district court dismissed the appeal as to Dugaboy and HCMFA for lack of

 standing but, upon concluding that NexPoint did have standing, dismissed the appeal as to it on

 the merits. The Fifth Circuit affirmed.174 Interestingly, the court noted that, while the parties did

 not contest the district court’s determination that NexPoint had standing to pursue the appeal, it

 “may consider prudential standing issues sua sponte.”175 In doing so, the Fifth Circuit recognized

 the distinction between constitutional standing and the prudential “person aggrieved” test applied

 to bankruptcy appeals, which “is, of necessity, quite limited” and “an even more exacting standard

 than traditional constitutional standing,” as it requires an appellant to show that it is “directly,

 adversely, and financially impacted by a bankruptcy order.”176

          In summary, in analyzing whether HMIT would have standing to bring the Proposed

 Claims, this court must first determine whether HMIT would have constitutional standing under

 Article III (which is a subject matter jurisdiction hurdle) and, assuming it does, then additionally

 address whether HMIT would also have prudential standing (i.e., capacity to sue) pursuant to any

 applicable statutes (e.g., Delaware statutes), jurisprudence, or other substantive law that might

 limit who may sue. Notwithstanding HMIT’s argument that it has standing under the “person



 172
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2002 WL 270862, *1 (N.D. Tex. Jan. 18, 2022)(cleaned up). The district court
 dismissed the appeals of two of the appellants, Dugaboy and HCMFA, finding that they lacked both constitutional
 standing and prudential standing under the “person aggrieved” test and affirmed the bankruptcy court’s order after
 finding the third appellant, NexPoint, to have prudential standing under the “person aggrieved” test. Id. at **1-3 and
 *4.
 173
     Id. at *1 n.2.
 174
     Highland Capital Mgt. Fund, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), 57 F.4th 494
 (5th Cir. 2023).
 175
     Id. at 501 (cleaned up).
 176
     Id.

                                                          66
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              67 of 105
                                                     Page 178 of 678 PageID 184



 aggrieved” test177—which, as discussed above, is a matter of prudential standing—this is applied

 only in the context of bankruptcy appellate matters.178 As noted in its most recent opinion

 discussing standing in an appeal from the Highland bankruptcy case, the Fifth Circuit reiterated

 that the “person aggrieved” test is a test for bankruptcy appellate standing, which is narrower than

 a party in interest’s right to be heard in bankruptcy cases in general.179 The court rejected an

 argument that Bankruptcy Code § 1109, which provides that “[a] party in interest . . . may raise

 and may appear and be heard on any issue in a case under this chapter” confers appellate standing,

 noting that “one’s standing to appear and be heard before the bankruptcy court [is] a concept

 distinct from standing to appeal the merits of a decision” and that the “person aggrieved” test for

 bankruptcy appellate standing is narrower than the test for determining one’s standing to appear

 and be heard in a bankruptcy proceeding.180

          Thus, the court will now analyze whether HMIT would, at a minimum, have constitutional

 standing to bring the Proposed Claims.

     2. HMIT Would Lack Article III Constitutional Standing to Bring the Proposed Claims.

          As noted above, the Supreme Court and the Fifth Circuit have made clear that constitutional

 standing is necessary for a court to exercise subject matter jurisdiction. It is only the first hurdle a

 party must clear before pursuing a claim in federal court. HMIT, as plaintiff, would bear the


 177
     HMIT insists that it has constitutional standing to bring claims on its individual behalf “as an aggrieved party.” See
 Reply, ¶ 7.
 178
     HMIT’s argument in this matter that it has constitutional standing because it is a “party aggrieved” incorrectly
 conflates the prudential bankruptcy appellate “person aggrieved” test with the broader test that is applied to
 constitutional standing. The court is not being critical of this mistake. As noted at supra note 149, the Fifth Circuit
 in Abraugh pointed out that courts and attorneys alike have created confusion by misusing the term “standing” when
 they equate a lack of “standing,” in all instances, with a lack of subject matter jurisdiction, even when the party is
 found to lack only prudential standing. Thus, HMIT is not alone in its confusion over the two different concepts of
 standing.
 179
     See NexPoint, 2023 WL 4621466 at *6.
 180
     Id. at *6 (cleaned up)(“Because Section 1109(b) expands the right to be heard [in a bankruptcy proceeding] to a
 wider class than those who qualify under the ‘person aggrieved’ standard, courts considering the issue have concluded
 that merely being a party in interest is insufficient to confer appellate standing.”)(emphasis added).

                                                            67
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              68 of 105
                                                     Page 179 of 678 PageID 185



 burden of establishing: (1) that it suffered an injury in fact that is concrete, particularized, and

 actual or imminent—not conjectural or hypothetical, (2) that there is a causal connection between

 the injury and the conduct complained of, and (3) it must be likely, not speculative, that the injury

 will be redressed by a favorable decision.181

         Concrete and Particularized; Actual or Imminent. As the Supreme Court made clear in the

 Lujan case, the injury in fact element requires a showing that the injury was “concrete and

 particularized” and “actual or imminent, not conjectural or hypothetical.”182 The Supreme Court

 in the Spokeo case expounded on the “concrete and particularized” requirements of the “injury in

 fact” element. Particularization requires a showing that the injury “must affect the plaintiff in a

 personal and individual way,” but while particularization is necessary, it alone is “not sufficient,”

 because an injury in fact must also be “concrete.”183 And, concreteness is “quite different from

 particularization.”184 A “concrete” injury must be “real,” and “not abstract,” though it does not

 mean that the injury must be “tangible,” as the injury can be intangible and nevertheless be

 concrete.185 In addition to the concreteness and particularization requirements, an injury in fact

 must be “actual or imminent” such that “allegations of injury that is merely conjectural or

 hypothetical do not suffice to confer standing.”186          “Although imminence is concededly a

 somewhat elastic concept, it cannot be stretched beyond its purpose, which is to ensure that the

 alleged injury is not too speculative for Article III purposes—that the injury is certainly




 181
     See supra note 153.
 182
     Lujan, 504 U.S. at 560 (cleaned up).
 183
     Spokeo, 578 U.S. at 339.
 184
     Id. at 340.
 185
     Id.
 186
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

                                                         68
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              69 of 105
                                                     Page 180 of 678 PageID 186



 impending”; “allegations of possible future injury are not sufficient.”187

          Traceability - Causal Connection. As to the second element—that the injury was caused

 by the defendant—the Supreme Court in Lujan further described it as requiring a showing that

 “the injury has to be fairly traceable to the challenged action of the defendant.”188 The “fairly

 traceable” test requires an examination of “the causal connection between the assertedly unlawful

 conduct and the alleged injury.”189

          Redressability. The third element—redressability—requires the court to examine the

 connection “between the alleged injury and the judicial relief requested.”190 “Relief that does not

 remedy the injury suffered cannot bootstrap a plaintiff into federal court.”191 “[A] court must

 determine that there is an available remedy which will have a ‘substantial probability’ of redressing

 the plaintiff’s injury.”192

          The Claims Purchasers argue that HMIT lacks constitutional standing to pursue the claims

 asserted in the Proposed Complaint because: (i) neither HMIT nor the Bankruptcy Estate was

 injured by the Claim Purchasers’ acquisition of the claims; and (ii) the Proposed Complaint lacks

 a theory of cognizable damages to the Reorganized Debtor, the Claimant Trust, and/or the

 beneficiaries of the Claimant Trust.193


 187
     Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)(cleaned up); see also Abdullah v. Paxton, 65 F.4th 204,
 208 (5th Cir. 2023)(“[Injury] cannot be speculative, conjectural, or hypothetical [and] [a]llegations of only a ‘possible’
 future injury similarly will not suffice.”)(cleaned up).
 188
     Lujan, 504 U.S. at 560-61 (cleaned up).
 189
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).
 190
      Id. (noting “it is important to keep the [‘fairly traceable’ and ‘redressability’] inquiries separate if the
 ‘redressability’ component is to focus on the requested relief.”).
 191
     Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).
 192
     City of Los Angeles v. Lyons, 461 U.S. 95, 129 n.20 (1983)(Marshall, J., dissenting)(cleaned up); see also Ondrusek
 v. U.S. Army Corps of Engineers, Civ. Act. No. 3:22-cv-1874-N, 2023 WL 2169908, at *5 (“Plaintiffs have not
 demonstrated that any available remedy would be sufficiently likely to relieve their alleged economic losses. Without
 a showing of redressability, those harms also cannot support Plaintiff’s Article III standing.”).
 193
     As noted earlier, certain of the Proposed Defendants—the Highland Parties—do not focus on HMIT’s lack of
 constitutional standing to pursue the Proposed Claims against them, but on its lack of prudential standing under


                                                            69
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              70 of 105
                                                     Page 181 of 678 PageID 187



          The court agrees with the Claims Purchasers’ argument here. What is HMIT’s concrete

 and particularized injury—that is “real” and is not abstract?                       That is not conjectural or

 hypothetical? That is actual or imminent?

          Recall that, under the Plan, HMIT holds a Class 10 contingent interest in the Claimant

 Trust that only realizes value if all creditors are paid in full with interest. HMIT alleges the

 following injury: it has suffered a devaluation of its unvested Contingent Claimant Trust Interest

 by virtue of the alleged over-compensation of Seery as the Claimant Trustee—Seery’s alleged

 over-compensation depletes the assets in the Claimant Trust available for distribution to creditors

 under the Plan, such that there is less likely a chance that HMIT ultimately receives any

 distributions on account of its Class 10 Contingent Claimant Trust Interest.194 Yet, HMIT testified,

 through both witnesses Dondero and Patrick, that it had no personal knowledge of what Seery’s

 actual compensation is under the CTA at the time HMIT filed its Motion for Leave. It was clear

 that HMIT’s allegations regarding Seery’s “excessive” compensation were based entirely on

 Dondero’s pure speculation. In reality, Seery’s base salary is exactly what the bankruptcy court

 approved during the bankruptcy case by a court order (after negotiations between Seery and the

 Committee). The CTA now further governs his compensation. The CTA, which was publicly

 filed in advance of the Plan confirmation hearing and approved by this court as part of the Plan


 applicable law. Because constitutional standing is a matter of subject matter jurisdiction, the court has an independent
 duty to determine whether HMIT would have constitutional standing to pursue the Proposed Claims in federal court.
 The issue cannot be forfeited or waived by a party. See Abraugh v. Y & H Corp., 546 U.S. 500, 514 (2006)(“[S]ubject-
 matter jurisdiction, because it involves a court’s power to hear a case, can never be forfeited or waived. Moreover,
 courts . . . have an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
 of a challenge from any party.”)(cleaned up); Abraugh, 26 F.4th at 304 (“It is our constitutional duty, of course, to
 decline subject matter jurisdiction where it does not exist—and that is so whether the parties challenge Article III
 standing or not.”)(cleaned up).
 194
     At the June 8 Hearing, HMIT’s counsel was unable to identify any other injury HMIT has alleged to have suffered.
 HMIT’s counsel acknowledged that claims trades, in and of themselves, would not “involve injury to the Reorganized
 Debtor and to the Claimant Trust” and that claims trades are “normally outside the purview of the bankruptcy court”
 but that “[h]ere, we have alleged . . . . injury [that] takes the form of unearned excessive fees that Mr. Seery has
 garnered as a result of his relationship and arrangements, as we have alleged, with the Claims Purchasers.” June 8
 Hearing Transcript, 67:16-68:8. HMIT can only point to Seery’s excess compensation as injury.

                                                           70
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              71 of 105
                                                     Page 182 of 678 PageID 188



 (which has been affirmed by the Fifth Circuit), specifically provides that Seery’s post-Effective

 Date compensation would include a “Base Salary” (again, same as during the bankruptcy case), a

 “success fee,” and “severance.”195 The CTA discussed the role of the Committee and then the

 CTOB in setting the success fee and severance and the like. A fully executed copy of the CTA

 was admitted into evidence at the June 8 Hearing. HMIT is essentially arguing that its injury (i.e.,

 diminished likelihood of realizing value on its Contingent Claimant Trust Interest) stems from a

 court-sanctioned and creditor-approved process for approving compensation to Seery. Moreover,

 HMIT has failed to plead facts sufficient to show that, even if Seery received excessive

 compensation and that compensation is ordered to be returned, HMIT’s Contingent Claimant Trust

 Interest will ever vest. The district court and the Fifth Circuit in various appeals by Dugaboy,

 another Dondero-related entity that, similar to HMIT, was a holder of a limited partnership interest

 in Highland whose interests were terminated as of the Effective Date of the Plan in exchange for

 a Contingent Claimant Trust Interest, have repeatedly rejected Dugaboy’s claims to have standing

 based on the speculative nature of its alleged injuries as a contingent beneficiary of the Claimant

 Trust under the Plan. For example, the Fifth Circuit affirmed the district court’s dismissal of an

 appeal by Dugaboy of the bankruptcy court’s order authorizing the creation of an indemnity

 subtrust, wherein Judge Fitzwater found that, in addition to lacking prudential standing under the



 195
     The Disclosure Statement that was approved by this court, after notice and a hearing, on November 24, 2020,
 provided that “The salient terms of each Trustee’s employment, including such Trustee’s duties and compensation
 shall be set forth in the Claimant Trust Agreement . . . .” The CTA was part of a Plan Supplement (as amended) that
 was filed in advance of the confirmation hearing and provided:
                     Compensation. As compensation for any services rendered by the Claimant Trustee in
           connection with this Agreement, the Claimant Trustee shall receive compensation of $150,000 per
           month (the “Base Salary”). Within the first forty-five days following the Confirmation Date, the
           Claimant Trustee, on the one hand, and the Committee, if prior to the Effective Date, or the
           Oversight Board, if on or after the Effective Date, on the other, will negotiate go-forward
           compensation for the Claimant Trustee which will include (a) the Base Salary, (b) a success fee, and
           (c) severance.
 See Highland Ex. 38, at § 3.13(a)(i).

                                                         71
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              72 of 105
                                                     Page 183 of 678 PageID 189



 “person aggrieved” test to appeal the bankruptcy court’s order, Dugaboy lacked constitutional

 standing “because they have not identified any injury fairly traceable to the Order: the injuries

 identified are speculative at best and nonexistent at worst.”196 HMIT’s allegations of injury are,

 without a doubt, “merely conjectural or hypothetical” and are only speculative of possible future

 injury if its Contingent Claimant Trust Interest ever vests.”197 The court finds that HMIT would

 not meet the “concrete and particularized” or the “actual or imminent” requirements for an “injury

 in fact,” and, thus, would lack constitutional standing to pursue the Proposed Claims.

          With regard to the second requirement of constitutional standing—whether HMIT could

 show “traceability” with respect to the Claims Purchasers and/or Seery (i.e., a “causal connection

 between the assertedly unlawful conduct and the alleged injury”198), as noted above, there is only

 a speculative injury. Even if there is unlawful conduct asserted (i.e., sharing of MNPI to Claims

 Purchasers who then, as a quid pro quo, rubber stamped excessive compensation for Seery), there

 is nothing other than a hypothetical theory of an alleged injury (i.e., an allegedly less likelihood of

 a distribution on a Contingent Claimant Trust Interest).

          With respect to the third requirement of constitutional standing—whether HMIT can show

 “redressability” (i.e., that it is likely, not speculative, that the injury can be redressed by a favorable




 196
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2022 WL 270862, *1 n.2 (N.D. Tex. Jan. 28, 2022), aff’d 57 F.4th 494 (5th Cir.
 2023)(emphasis added); see also Judge Scholer’s opinion in Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re
 Highland Capital Mgt., L.P.), Civ. Act. No. 3:21-cv-2268-S, 2022 WL 3701720, *3 (N.D. Tex. Aug. 8, 2022)(cleaned
 up), aff’d per curium, No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023) (where Dugaboy had argued that “its
 pecuniary interest is . . . a potential recovery under the Plan as one of Debtor's former equity holders” and that “it
 ha[d] standing as a ‘contingent beneficiary’ under the Plan, or a beneficiary who will be entitled to payment after all
 creditors are paid in full,” and Judge Scholer stated, “This assertion is premised on the assumption that Dugaboy's
 0.1866% pre-bankruptcy limited partnership interest in Debtor—which was extinguished under the Plan—makes it a
 contingent beneficiary of the creditor trust created under the Plan. . . . [S]uch a ‘speculative prospect of harm is far
 from a direct, adverse, pecuniary hit’ as required to confer standing.”
 197
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).
 198
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).

                                                           72
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              73 of 105
                                                     Page 184 of 678 PageID 190



 decision), there are multiple problems here.199 The major remedy sought here is the equitable

 disallowance of the allowed Purchased Claims (and disgorgement and/or constructive trust of amounts

 paid or owed to the Claim Purchasers on account of their claims). There is no such remedy

 available here. As noted earlier, there is a similar concept of equitable subordination of a claim

 to another claim, or of an interest to another interest, pursuant to Bankruptcy Code section 510(c).

 But under the literal terms of section 510(c), claims cannot be subordinated to interests.

 Moreover, the Fifth Circuit noted in the Mobile Steel case,200 that equitable disallowance of a

 claim (as opposed to equitable subordination of a claims) is not an available remedy. Bankruptcy

 Code section 502(b)(1) and the Fifth Circuit’s Lothian Oil case might permit “recharacterization”

 of a claim from debt to equity in certain circumstances—but not based on inequitable conduct but

 rather on the nature of a financial transaction. In any event, here, the claims have already been

 adjudicated and allowed (some after mediation, and all after Rule 9019 settlement orders). The

 only way to reconsider a claim in a bankruptcy case that has already been allowed is through

 Bankruptcy Code section 502(j) (“A claim that has been allowed or disallowed may be

 reconsidered for cause. . . according to the equities of the case.”). As noted earlier, the problem

 here is that Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order allowing

 or disallowing a claim against the estate entered without a contest is not subject to the one year

 limitation prescribed in Rule 60(c)” (emphasis added). As further noted earlier, here there was

 most definitely a “contest” with regard to all of these purchased claims. Thus, it would appear


 199
     See supra notes 182-184 and accompanying text. The court will note that, as discussed supra note 141 and pages
 71-72, the remedy of equitable subordination (as to the Claims Purchasers) would not redress HMIT’s alleged injury
 (because equitable subordination of claims to interests is not an available remedy in the Fifth Circuit and thus
 subordination of the Purchased Claims to other claims would not change HMIT’s distributions from the Claimant
 Trust, if any), and because outright disallowance of all or part of the already allowed Purchased Claims is not an
 available remedy either, HMIT would not be able to meet the “redressability” requirement with respect to the Claims
 Purchasers.
 200
     In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).

                                                         73
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              74 of 105
                                                     Page 185 of 678 PageID 191



 that any effort to have a court reconsider and potentially disallow these claims pursuant to

 section 502(j) is untimely—as it has been well beyond a year since they were allowed.

        3. HMIT Would Also Lack Prudential Standing to Bring the Proposed Claims.

            Even if HMIT would have constitutional standing to bring the Proposed Claims in an

 adversary proceeding filed in the bankruptcy court, the Proposed Claims would still be barred if

 HMIT would lack prudential standing to bring them under applicable state or federal law. HMIT

 argues that it does have prudential standing under both federal bankruptcy law and Delaware law

 to pursue the Proposed Claims derivatively and also to bring the Proposed Claims in its individual

 capacity.

            With regard to “federal bankruptcy law,” HMIT argues that it has standing pursuant to: (a)

 Rule 23.1 of the Federal Rules of Civil Procedure, pertaining to derivative actions, which “applies

 to this proceeding pursuant to” Rule 7023.1 of the Federal Rules of Bankruptcy Procedure, and (b)

 Louisiana World Exposition v. Federal Insurance Co. (“LWE”),201 the Fifth Circuit’s leading case

 addressing when a creditors committee may be granted standing to bring causes of action on behalf

 of a bankruptcy estate. But, federal bankruptcy law does not confer standing where the plaintiff

 otherwise lacks standing under applicable state law. In other words, whether HMIT would have

 prudential standing to sue under Delaware law is dispositive of the issue, regardless of the forum.

 Rule 23.1 “speaks only to the adequacy of the . . . pleadings,” and “cannot be understood to

 ‘abridge, enlarge, or modify any substantive right,’”202 including a right (or lack thereof) to bring

 a derivative action under the substantive law of Delaware. Additionally, HMIT’s reliance on LWE

 is misplaced: LWE permits creditors, in certain circumstances during a bankruptcy case, to “file




 201
       858 F.2d 233 (5th Cir. 1988).
 202
       Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)(quoting 28 U.S.C. § 2072(b)).

                                                           74
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              75 of 105
                                                     Page 186 of 678 PageID 192



 suit on behalf of a debtor-in-possession or a trustee”203 and does not apply to a party’s right to sue,

 derivatively, on behalf of the Reorganized Debtor or any entity that is the assignee of the former

 bankruptcy estate’s assets. Upon confirmation of the Plan, the bankruptcy estate of Highland

 ceased to exist;204 Highland is no longer a debtor-in-possession but a reorganized debtor, and the

 Claimant Trust is a new entity created under the Plan and Claimant Trust Agreement. Even if LWE

 did apply in this post-confirmation context, it supports the application of Delaware law to the issue

 of prudential standing and does not supersede state-law requirements for standing. In LWE, before

 addressing the requirements a creditors’ committee must meet to sue derivatively on behalf of a

 bankruptcy estate as a matter of federal bankruptcy law, the Fifth Circuit conducted a lengthy

 analysis to determine “as a threshold issue” whether the creditors’ committee in that case could

 assert its claims under Louisiana law.205 The court specifically addressed whether the creditors’

 committee could pursue a derivative action under Louisiana law and concluded that “there is no

 bar in Louisiana law to actions brought by or in the name of a corporation against the directors and

 officers of the corporation which benefit only the creditors of the corporation; indeed, Louisiana

 law specifically recognizes such actions.”206 So, even under LWE (which the court does not think

 applies in this post-confirmation context), if HMIT would be barred from bringing a derivative

 action on behalf the Reorganized Debtor or Claimant Trust under state law, the analysis stops

 there.207 Thus, the court looks to Delaware law to determine if HMIT would have prudential

 standing to pursue the derivative claims on behalf the Reorganized Debtor and the Claimant Trust.


 203
     LWE, 858 F.2d at 247.
 204
     See In re Craig’s Stores, 266 F.3d 388, 390 (5th Cir. 2001).
 205
     LWE, 858 F.2d at 236-45.
 206
     Id. at 243.
 207
     See In re Dura Automotive Sys., LLC, No. 19-123728 (Bankr. D. Del. June 10, 2020), Docket No. 1115 at 46 (where
 the Delaware bankruptcy court denied the creditors’ committee standing to sue derivatively on behalf of a Delaware
 LLC because the committee lacked standing under the Delaware LLC Act, stating, “To determine that the third party


                                                         75
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              76 of 105
                                                     Page 187 of 678 PageID 193



         HMIT acknowledges that both the Reorganized Debtor and the Claimant Trust are

 organized under Delaware law, and thus the cause of action against Seery alleging breach of

 fiduciary duties to the Reorganized Debtor and the Claimant Trust are governed by Delaware law

 under the “Internal Affairs Doctrine.”208 In addition, because HMIT’s breach of fiduciary duties

 claim is governed by Delaware law, its aiding and abetting theory of liability as to the Claims

 Purchasers is also governed by Delaware law.209 For the reasons set forth below, the court finds

 that HMIT would lack prudential standing under Delaware law to bring the claims set forth in the

 Proposed Complaint, derivatively, on behalf of either the Claimant Trust or the Reorganized

 Debtor.

              a) First, HMIT Would Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Claimant Trust.

         The Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust

 Act, 12 Del. C. §§ 3801–29,210 and “to proceed derivatively against a Delaware statutory trust, a

 plaintiff has the burden of satisfying the continuous ownership requirement” such that “the plaintiff

 must be a beneficial owner” continuously from “the time of the transaction of which the plaintiff

 complains” through “the time of bringing the action.”211 This requirement is “mandatory and

 exclusive” and only “a beneficial owner” “has standing to bring a derivative claim on behalf of the



 may bring the claim under the derivative basis and, thus, step into the shoes of the debtor to pursue them, the Court
 must look to the law of the debtors’ state of incorporation or formation.”).
 208
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 209
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).
 210
     See Proposed Complaint, ¶ 26.
 211
     Hartsel v. Vanguard Grp., Inc., 2011 WL 2421003, at *19 n.123 (Del. Ch. June 15, 2011), aff’d 38 A.3d 1254 (Del.
 2012); 12 Del C. § 3816(b).

                                                          76
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              77 of 105
                                                     Page 188 of 678 PageID 194



 Trust.”212 The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust

 and, therefore, would lack standing to bring derivative claims on behalf of the Claimant Trust.

 HMIT argues to the contrary: that it is currently, and was at all relevant times, a “beneficial owner”

 of the Claimant Trust under Delaware trust law such that it would have standing to bring derivative

 claims on behalf of the Claimant Trust if it were allowed to proceed with the filing of the Proposed

 Complaint. The disagreement turns on the nature of HMIT’s interest under the Plan and the

 Claimant Trust Agreement and whether HMIT, as a holder of such interest, would be considered

 a “beneficial owner” of the Claimant Trust under Delaware trust law.

          As noted, pursuant to the Plan, HMIT’s former limited partnership interest in Highland was

 cancelled as of the Effective Date in exchange for its pro rata share of a “Contingent Claimant

 Trust Interest,” as defined under the Plan.213 HMIT argues that its Contingent Claimant Trust

 Interest makes it a contingent beneficiary of the Claimant Trust, which makes it a present

 “beneficial owner” under Delaware trust law.

          The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust;

 rather, the “beneficial owners” of the Claimant Trust are the “Claimant Trust Beneficiaries,”214

 which are defined in the Plan and the CTA as “the Holders of Allowed General Unsecured Claims”

 (which are in Class 8 under the Plan) and “Holders of Allowed Subordinated Claims” (which are

 in Class 9 under the Plan); 215 HMIT, a holder of a Class 10 interest under the Plan, is neither.


 212
     In re Nat’l Coll. Student Loan Tr. Litig., 251 A.3d 116, 191 (Del. Ch. 2020) (citing CML V, LLC v. Bax, 28 A.3d
 1037, 1042 (Del. 2011)). HMIT acknowledges this requirement in its Reply: “Delaware statutory trust law provides
 that a plaintiff in a derivative action on behalf of a trust must be a beneficial owner at the time of the action and at the
 time of the transaction.” Reply, ¶ 19 (citing 12 Del C. § 3816).
 213
      See Plan Art. III.H.10 and Art. I.B.44.
 214
      Section 2.8 of the CTA provides, “The Claimant Trust Beneficiaries shall be the sole beneficiaries of the Claimant
 Trust . . . .” HMIT Ex. 26, § 2.8.
 215
      See Plan Art. I.B.44 (“‘Claimant Trust Beneficiaries’ means the Holders of Allowed General Unsecured Claims,
 Holders of Allowed Subordinated Claims, including, upon Allowance, Disputed General Unsecured Claims and
 Disputed Subordinated Claims that become Allowed following the Effective Date, and, only upon certification by the


                                                             77
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              78 of 105
                                                     Page 189 of 678 PageID 195



 HMIT, as the holder of a “Contingent Claimant Trust Interest,” has only an unvested contingent

 interest in the Claimant Trust and, as such, is not a “beneficial owner” of the Claimant Trust for

 standing purposes under Delaware trust law. HMIT argues that it “should be treated as a vested

 Claimant Trust Beneficiary due to [the Proposed Defendants’] wrongful conduct and considering

 the current value of the Claimant Trust Assets before and after the relief requested herein.”216 The

 court disagrees.

          HMIT’s status as a “beneficiary” of the Claimant Trust is defined by the CTA itself, pure

 and simple. The CTA specifically provides that “Contingent Trust Interests” “shall not have any

 rights under this Agreement” and will not “be deemed ‘Beneficiaries’ under this Agreement,”

 “unless and until” they vest in accordance with the Plan and the CTA. It is undisputed that HMIT’s

 Contingent Trust Interest has not vested under the terms of the Plan and the CTA, and the court

 does not have the power to equitably deem HMIT’s Contingent Trust Interest to be vested based

 on HMIT’s unsupported allegation of wrongdoing on the part of Seery, the Claimant Trustee.

 Thus, the court finds that HMIT is not a “beneficial owner” of the Claimant Trust and, therefore,

 lacks prudential standing under Delaware law to bring derivative claims on behalf of the Claimant

 Trust.217




 Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant Trust Agreement
 and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of Allowed Class B/C Limited Partnership
 Interests, and Holders of Allowed Class A Limited Partnership Interests.”); CTA § 1.1(h). See also, CTA, 1 at n.2
 (“For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
 B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
 that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
 in accordance with the terms and conditions set forth herein and in the Plan.”). HMIT Ex. 26.
 216
     Proposed Complaint ¶ 24.
 217
     See Nat’l Coll., 251 A.3d at 190–92 (dismissing creditors’ derivative claims because they were not “beneficial
 owners of the Trusts”); Hartsel, 2011 WL 2421003, at *19 n.123 (dismissing derivative claims by investors that “no
 longer own shares” because “those investors no longer have standing to pursue a derivative claim”).

                                                            78
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              79 of 105
                                                     Page 190 of 678 PageID 196



              b) HMIT Would Likewise Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Reorganized Debtor.


          HMIT acknowledges that the Reorganized Debtor, Highland Capital Management, L.P., is

 a Delaware limited liability partnership governed by the Delaware Limited Partnership Act, 6 Del.

 C. § 17-101, et seq.218 To bring “a derivative action” on behalf of a limited partnership, “the

 plaintiff must be a partner or an assignee of a partnership interest” continuously from “the time of

 the transaction of which the plaintiff complains” through “the time of bringing the action.”219

          HMIT is not a partner, general or limited, of the Reorganized Debtor limited partnership.

 HMIT was a limited partner in the original debtor (specifically, a holder of Class B/C Limited

 Partnership interests in Highland), but that limited partnership interest was extinguished on August

 11, 2021 (the Effective Date of the Plan) per the terms of the Plan, and HMIT does not own any

 partnership interest in the newly created Reorganized Debtor limited partnership.220 Because

 HMIT would not hold a partnership interest in the Reorganized Debtor at “the time of bringing the

 action,” it “lacks derivative standing” to bring claims “on the partnership’s behalf.”221 HMIT

 likewise cannot satisfy “the continuous ownership requirement”; when HMIT’s limited

 partnership interest in the original Debtor was cancelled on the Plan’s Effective Date, HMIT “los[t]

 standing to continue a derivative suit” on behalf of the Debtor.222 Finally, to the extent HMIT


 218
     Proposed Complaint ¶ 25.
 219
     6 Del. C. § 17-1002; see Tow v. Amegy Bank, N.A., 976 F. Supp. 2d 889, 904 (S.D. Tex. 2013) (“The [Delaware]
 partnership act facially bars any party other than a limited partner from suing derivatively. . . . Delaware courts
 historically have interpreted the provisions as giving the partners exclusive rights to sue for breach of another party’s
 fiduciary duties to them.”) (quoting CML V, LLC v. Bax, 6 A.3d 238, 245 (Del. Ch. 2010), aff’d 28 A.3d 1037 (Del.
 2011)); El Paso Pipeline GP Co. v. Brinckerhoff, 152 A.3d 1248, 1265 n.87 (Del. 2016) (“The statutory foundation
 for the continuous ownership requirement in the corporate realm is echoed in the limited partnership context.”) (citing
 6 Del. C. § 17-211(h)).
 220
     See Plan Art. IV.A.
 221
     Tow, 976 F. Supp. 2d at 904 (dismissing derivative claims by creditor on behalf of partnership for lack of standing).
 222
     El Paso, 152 A.3d at 1265 (cleaned up) (dismissing derivative action for lack of standing where plaintiff’s
 partnership interest was extinguished by a merger transaction); see also Schmermerhorn v. CenturyTel, Inc. (In re


                                                            79
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              80 of 105
                                                     Page 191 of 678 PageID 197



 seeks to bring a “double derivative” action on behalf of the Claimant Trust based on claims

 purportedly held by its wholly owned subsidiary, the Reorganized Debtor, HMIT lacks standing.

 A “double derivative” action is a suit “brought by a shareholder of a parent corporation to enforce

 a claim belonging to a subsidiary that is either wholly owned or majority controlled.”223 And, under

 Delaware law, “parent level standing is required to enforce a subsidiary’s claim derivatively.”224

 Because HMIT would lack derivative standing to bring claims on behalf of the parent Claimant

 Trust,225 it also would lack standing to bring a double derivative action.

               c) Finally, HMIT Would Also Lack Prudential Standing under Applicable Law to
                  Bring the Proposed Claims As Direct Claims.

          HMIT argues that it has “direct” standing to pursue the Proposed Claims on behalf of itself,

 individually.226 But just because HMIT asserts that some or even all of the Proposed Claims are

 direct, not derivative claims, does not make it so: “a claim is not ‘direct’ simply because it is

 pleaded that way.”227 Rather, in determining whether claims are direct or derivative, a court must

 “look at the substance of the Petition, and the nature of the wrongs alleged therein, rather than the

 Plaintiffs’ characterization.”228 And, under Delaware law, “whether a claim is solely derivative or



 SkyPort Global Commcn’s, Inc.), 2011 WL 111427, at *25–26 (Bankr. S.D. Tex. Jan. 13, 2011) (holding that pre-
 petition shareholders “lack standing to bring a derivative claim” under Delaware law because they “had their equity
 interests in the company extinguished pursuant to the merger under the Plan”); In re WorldCom, Inc., 351 B.R. 130,
 134 (Bankr. S.D.N.Y. 2006) (“[T]he cancellation of WorldCom shares under the Plan … prevents the required
 continuation of shareholder status through the litigation.”) (cleaned up).
 223
     Lambrecht v. O’Neal, 3 A.3d 277, 282 (Del. 2010).
 224
     Sagarra, 34 A.3d at 1079–81 (capitalization omitted) (citing Lambrecht, 3 A.3d at 282).
 225
     See supra pp. 80-82.
 226
     See e.g., Motion for Leave ¶ 10 (“HMIT has individual standing to bring this action because Seery owed fiduciary
 duties directly to HMIT at that time . . . .”); id. ¶ 67 (arguing that “HMIT has [d]irect [s]tanding”); Proposed Complaint
 ¶ 24 (“HMIT has constitutional standing and capacity to bring these claims both individually and derivatively.”).
 227
     Schmermerhorn, 2011 WL 111427, at *26 (quoting Gatz v. Ponsoldt, 2004 WL 3029868 at *7 (Del. Ch. Nov. 5,
 2004)).
 228
     See id. (citing Armstrong v. Capshaw, Goss & Bowers LLP, 404 F.3d 933, 936 (5th Cir. 2005)); see also Moore v.
 Simon Enters., Inc., 919 F.Supp. 1007, 1009 (N.D. Tex. 1995)(“The determination of whether a claim is a derivative
 claim or a direct claim is made by reference to the nature of the wrongs alleged in the complaint, and is not limited by
 a [party’s] characterization or stated intention.”)(cleaned up).

                                                            80
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              81 of 105
                                                     Page 192 of 678 PageID 198



 may continue as a dual-natured claim ‘must turn solely on the following questions: (1) who

 suffered the alleged harm (the corporation or the suing stockholders, individually); and (2) who

 would receive the benefit of any recovery or other remedy (the corporation or the stockholders,

 individually)?’”229 “In addition, to prove that a claim is direct, a plaintiff ‘must demonstrate that

 the duty breached was owed to the stockholder and that he or she can prevail without showing an

 injury to the corporation.’”230 Similarly, in the bankruptcy context, whether a creditor can assert

 a claim directly or whether the claim belongs to the estate turns on the nature of the injury for

 which relief is sought: “[i]f the harm to the creditor comes about only because of harm to the

 debtor, then its injury is derivative, and the claim is property of the estate,” such that “only the

 bankruptcy trustee has standing to pursue the claim for the estate . . . .”231 “To pursue a claim on

 its own behalf, a creditor must show this direct injury is not dependent on injury to the estate.”232

          As a reminder, HMIT argues that the injury it has suffered is a devaluation of its interests

 in the Claimant Trust by virtue of alleged over-compensation of Seery as the Claimant Trustee.

 HMIT was unable, when pressed during closing arguments, to identify any other injury. It

 essentially admitted that the claims trades, in and of themselves, would not have harmed the

 Claimant Trust, the Reorganized Debtor, or individual stakeholders, including HMIT, since the

 Claims Purchasers acquired already allowed unsecured claims, such that the distributions on

 those claims pursuant to the Plan would be unchanged in the hands of new holders of the claims.



 229
     El Paso, 152 A.3d at 1260 (quoting Tooley v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031, 1033 (Del. 2004))
 (emphasis in original).
 230
     Id. (quoting Tooley, 845 A.2d at 1033); see also Schmermerhorn, 2011 WL 111427, at *24 (same).
 231
     Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912 F.3d 291, 293 (5th Cir. 2019) (citing 11
 U.S.C. § 541(a)(1)).
 232
     Id.; see also Schertz-Cibolo-Universal City Indep. Sch. Dist. v. Wright (In re Educators Grp. Health Tr.), 25 F.3d
 1281, 1284 (5th Cir. 1994)(“If a cause of action alleges only indirect harm to a creditor (i.e., an injury which derives
 from harm to the debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then
 the cause of action belongs to the estate.”)(citations omitted).

                                                           81
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              82 of 105
                                                     Page 193 of 678 PageID 199



 Thus, by its own concessions, any alleged harm to HMIT (through devaluation of assets in the

 Claimant Trust) “comes about only because of harm to the debtor,” so the alleged “injury is

 derivative.”233 The court concludes that all of the claims set forth in the Proposed Complaint allege

 derivative claims only, and that none would be direct claims against the Proposed Defendants.

 Thus, HMIT would lack prudential standing to bring any of the Proposed Claims in the Proposed

 Complaint, so its Motion for Leave should be denied.

               d) Some Final Points Regarding Standing.

          In this standing discussion, one should not lose sight of the fact that there are both

 procedural safeguards in place, as well as certain independent individuals in place with fiduciary

 duties that might act in the event of any shenanigans regarding Claimant Trust activities. Under

 section 4.1 of the CTA (approved as part of the Plan process), the CTOB, which includes an

 independent disinterested member in addition to representatives of the Claims Purchasers,234

 oversees the Claimant Trustee’s performance of his duties, approves his compensation, and may

 remove him for cause. Moreover, there is a separate “Litigation Trustee” in this case who was

 brought in, post-confirmation, as an independent fiduciary to pursue claims and causes of action.

 These independent persons are checks and balances in the post-confirmation wind down of

 Highland. This is what creditors voted on in connection with the Plan. Seery and the Claims

 Purchasers are not in sole control of anything. The CTA, as well as Delaware law, very clearly set

 forth who can bring an action in the event of some colorable claim. This is the reality of prudential



 233
     Meridian, 912 F.3d at 293–94 (“The creditors’ injury (reduced bankruptcy recovery) derived from injury to the
 debtor (the loss of estate assets), so only the estate could sue the third parties.”); see also El Paso, 152 A.3d at 1260–
 61 & n.60 (holding that claim “claims of corporate overpayment are normally treated as causing harm solely to the
 corporation and, thus, are regarded as derivative”) (collecting cases); Gerber v EPE Holdings, LLC, 2013 WL 209658,
 at *12 (Del. Ch. Jan. 18, 2013) (holding that claims were derivative because plaintiff had “not identified any
 independent harm suffered by the limited partners”; “the partnership suffered all the harm at issue—it paid too much”).
 234
     See supra note 23 and accompanying text.

                                                            82
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              83 of 105
                                                     Page 194 of 678 PageID 200



 standing. Just as in the Abraugh case, where Louisiana law dictated that a mother could not bring

 a wrongful death case when the deceased prisoner had a surviving wife and child, Delaware law

 and the CTA dictate here that a contingent beneficiary cannot bring the Proposed Claims here.

 This is separate and apart from whether the claims are colorable.

       C. Are the Proposed Claims “Colorable”?

       1. What is the Proper Standard of Review for a “Colorability” Determination?

          Although the court has determined that HMIT would not have standing (constitutional or

 prudential) to bring the Proposed Claims, this court will nevertheless evaluate whether the

 claims—assuming HMIT somehow has standing—might be “colorable.” This, in turn, requires

 the court to assess what the legal standard is to determine if a claim is “colorable.” As a reminder,

 the Plan’s Gatekeeper Provision and this court’s prior Gatekeeper Orders entered in January and

 July 2020 each required that, before a party may commence or pursue claims relating to the

 bankruptcy case against certain protected parties, it must first obtain a finding from the bankruptcy

 court that its proposed claims are “colorable.” The Gatekeeper Provision and Gatekeeper Orders

 did not specifically define “colorable” or what type of legal standard should apply.

          HMIT argues that the standard for review to be applied by this court is the same as a simple

 “plausibility” standard used in connection with a Rule 12(b)(6) motions to dismiss. In other words,

 the court should simply assess whether the allegations of the Proposed Complaint, taken as true

 and with all inferences drawn in favor of the movant, state a plausible claim for relief (i.e.,

 colorable equals plausible), and that this standard does not allow for the weighing of evidence by

 the court.235 The Proposed Defendants, however, argue that the test for colorability should be more




 235
    Reply, ¶ 5 (“[T]he determination of ‘colorability’ does not allow the ‘weighing’ of evidence. At most, a Rule
 12(b)(6) ‘plausibility’ standard applies.”).

                                                       83
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              84 of 105
                                                     Page 195 of 678 PageID 201



 akin to the test applied under the Barton doctrine,236 under which a plaintiff must make a prima

 facie case that a proposed claim against a bankruptcy trustee is “not without foundation.” In this

 regard, they argue that the court can and should consider evidence outside of the four corners of

 the complaint—especially since HMIT attached to its Motion for Leave, as “evidence” to support

 it, two declarations of Dondero (as part of a 350-page attachment) and only attempted to withdraw

 those declarations after the Highland Parties urged that they be permitted to cross-examine

 Dondero on them.

         This court ultimately determined that the “colorability” standard was somewhat of a mixed

 question of fact and law and, therefore, the parties could put on evidence at the June 8 Hearing if

 they so-chose. The court would not require it. It was up to the parties. But, in any event, the

 Proposed Defendants should have an opportunity to cross-examine Dondero on the statements

 made in his declarations since the declarations had been filed on the docket and the court had

 reviewed them at this point. HMIT attempted to withdraw the declarations and any reference to

 them in the Motion for Leave, by filing redacted versions of the Motion for Leave,237 less than 72

 hours before the June 8 Hearing; however, the redacted versions did not redact any allegations in

 the Motion for Leave that were purportedly supported by the Dondero declarations. Also, HMIT

 called Dondero as a direct witness, in addition to calling Seery as an adverse witness at the June 8

 Hearing, albeit subject to its running objection to the evidentiary format of the hearing.238 HMIT

 also filed a witness and exhibit list attaching 80 exhibits and over 2850 pages of evidence and




 236
     Barton v. Barbour, 104 U.S. 126 (1881).
 237
     Bankr. Dkt. Nos. 3815 and 3816.
 238
     See June 8 Hearing Transcript, 7:20-24, 112:11-13.

                                                          84
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              85 of 105
                                                     Page 196 of 678 PageID 202



 moved for the admission of those exhibits at the June 8 Hearing (again, subject to its running

 objection to the evidentiary format of the hearing).239

         In determining what appropriate legal standard applies here in the “colorability” analysis,

 the context in which the Gatekeeper Provision of the Plan was approved seems very relevant. In

 determining that the Gatekeeper Provision was legal, necessary, and in the best interest of all of

 the parties, this court set forth in the Confirmation Order a lengthy discussion of the factual support

 for it, and made specific findings relating to Dondero’s post-petition litigation and the need for

 inclusion of the Gatekeeper Provision in the Plan.240 This court observed that “prior to the

 commencement of the Debtor’s bankruptcy case, and while under the direction of Dondero, the

 Debtor had been involved in a myriad of litigation, some of which had gone on for years and, in

 some cases, over a decade” and that “[d]uring the last several months, Dondero and the Dondero

 Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

 time-consuming litigation for the Debtor.”241 This court further found that: (1) Dondero’s post-

 petition litigation “was a result of Dondero failing to obtain creditor support for his plan proposal

 and consistent with his comments, as set forth in Seery’s credible testimony, that if Dondero’s plan

 proposal was not accepted, he would ‘burn down the place,’”242 (2) without the Gatekeeper

 Provision in place, “Dondero and his related entities will likely commence litigation against the

 Protected Parties after the Effective Date” and that “the threat of continued litigation by Dondero

 and his related entities after the Effective Date will impede efforts by the Claimant Trust to

 monetize assets for the benefit of creditors and result in lower distributions to creditors because of


 239
     See Hunter Mountain Investment Trust’s Witness and Exhibit List in Connection with Its Emergency Motion for
 Leave to File Verified Adversary Proceeding, and Supplement (“HMIT W&E List”)[Bankr. Dkt. No. 3818] and n.1
 thereto; see also June 8 Hearing Transcript, 33:7-10.
 240
     See Confirmation Order ¶¶ 76-79.
 241
     Id. ¶ 77.
 242
     Id. ¶ 78. See supra note 12.

                                                       85
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              86 of 105
                                                     Page 197 of 678 PageID 203



 costs and distraction such litigation or the threats of such litigation would cause,”243 and, (3)

 “unless the [court] approves the Gatekeeper Provision, the Claimant Trustee and the Claimant

 Trust Oversight Board will not be able to obtain D&O insurance,244 the absence of which will

 present unacceptable risks to parties currently willing to serve in such roles.” Thus, as set forth in

 the Confirmation Order, the Gatekeeper Provision (and the Gatekeeper Orders as well, which were

 approved based on the same concerns regarding the threat of continued litigation by Dondero and

 his related entities) required Dondero and related entities to make a threshold showing of

 colorability, noting that the:

         Gatekeeper Provision is also within the spirit of the Supreme Court’s “Barton
         Doctrine.” Barton v. Barbour, 104 U.S. 126 (1881). The Gatekeeper Provision is
         also consistent with the notion of a prefiling injunction to deter vexatious litigants,
         that has been approved by the Fifth Circuit in such cases as Baum v. Blue Moon
         Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811
         (5th Cir. 2017).”245

         The Fifth Circuit, in approving the Gatekeeper Provision on appeal, noted that that the Plan

 injunction and Gatekeeper Provision “screen and prevent bad-faith litigation against Highland

 Capital, its successors, and other bankruptcy participants that could disrupt the Plan’s

 effectiveness.”246

         Again, the court believes it is appropriate to consider the context in which—and the

 purpose for which—the Gatekeeper Orders and Gatekeeper Provision were entered in assessing




 243
     Id.
 244
     Asd noted at ⁋ 79 of the Confirmation Order, the bankruptcy court heard testimony from Mark Tauber, a Vice
 President with AON Financial Services, the Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O
 insurance for the post-confirmation parties implementing the Plan. Mr. Tauber credibly testified that of all the
 insurance carriers that AON approached to provide D&O insurance coverage after the Effective Date, the only one
 willing to do so without an exclusion for claims asserted by Mr. Dondero and his affiliates required that the
 Confirmation Order approve the Gatekeeper Provision.
 245
     Id. ¶ 80.
 246
     NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 435 (5th
 Cir. 2022).

                                                        86
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              87 of 105
                                                     Page 198 of 678 PageID 204



 how “colorability” should work here. It seems that applying HMIT’s proposed Rule 12(b)(6)

 “plausibility” standard would impose no hurdle at all to litigants and would render the threshold

 for bringing claims under the Gatekeeper Provision and Gatekeeper Orders entirely duplicative of

 the motion to dismiss standard that every litigant already faces.

          The authorities cited by HMIT in support of its argument for applying a Rule 12(b)(6)

 standard are inapposite. HMIT has cited no authority that addresses the appropriate standard for

 assessing the “colorability” of claims in the context of a plan gatekeeper provision—specifically,

 one implemented in response to a demonstrated need to screen and prevent continued bad-faith,

 harassing litigation against a chapter 11 debtor that would impede the debtor’s implementation of

 a plan, which is what we have here. HMIT relies on a bevy of cases that include benefits coverage

 disputes under ERISA, Medicare coverage disputes, and constitutional challenges247—none of

 which implicate the Barton doctrine and vexatious-litigant concerns that were referenced by the

 court in the Plan as justifications for the gatekeeping provisions at issue here.

          In affirming the Plan’s Gatekeeper Provision, the Fifth Circuit stated, “Courts have long

 recognized bankruptcy courts can perform a gatekeeping function” and noted, by way of example,

 that “[u]nder the ‘Barton doctrine,’ the bankruptcy court may require a party to ‘obtain leave of


 247
    See Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002)
 (assessing whether an employee has “a colorable claim to vested benefits” such that the employee may be considered
 a “participant” under ERISA); Abraham v. Exxon Corp., 85 F.3d 1126, 1129 (5th Cir. 1996) (same); Panaras v. Liquid
 Carbonic Indus. Corp., 74 F.3d 786, 790 (7th Cir. 1996) (same); Lake Eugenie Land & Dev., Inc. v. BP Expl. & Prods.
 (In re Deepwater Horizon), 732 F.3d 326, 340 (5th Cir. 2013) (holding that claims administrator incorrectly interpreted
 class settlement agreement by permitting “claimants [with] no colorable legal claim” to receive awards); Richardson
 v. United States, 468 U.S. 317, 326 n.6 (1984) (discussing whether criminal defendant’s double jeopardy claim was
 “colorable” such that it could be appealed before final judgments); Trippodo v. SP Plus Corp., 2021 WL 2446204, at
 *3 (S.D. Tex. June 15, 2021) (assessing whether plaintiff stated a “colorable claim” against proposed additional
 defendants in determining whether plaintiff could amend complaint); Reyes v. Vanmatre, 2021 WL 5905557, at *3
 (S.D. Tex. Dec. 13, 2021) (same); Family Rehab., Inc. v. Azar, 886 F.3d 496, 504 n.15 (5th Cir. 2018) (assessing
 whether plaintiff raised a “colorable claim” to warrant the district court’s exercise of jurisdiction over a Medicare
 coverage dispute); Am. Med. Hospice Care, LLC v. Azar, 2020 WL 9814144, at *5 (W.D. Tex. Dec. 9, 2020) (same);
 Harry v. Colvin, 2013 WL 12174300, at *5 (W.D. Tex. Nov. 6, 2013) (considering whether plaintiff asserted a
 “colorable constitutional claim” such that the court could exercise jurisdiction); Sabhari v. Mukasey, 522 F.3d 842,
 844 (8th Cir. 2008) (same); Stanley v. Gonzales, 476 F.3d 653, 657 (9th Cir. 2007) (same).

                                                           87
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              88 of 105
                                                     Page 199 of 678 PageID 205



 the bankruptcy court before initiating an action in district court when the action is against the

 trustee or other bankruptcy-court-appointed officer, for acts done in the actor’s official

 capacity.”248 As noted above, the Fifth Circuit found that the Gatekeeper Provision, which

 “requires that, before any lawsuit is filed, the plaintiff must seek the bankruptcy court’s approval

 of the claim as ‘colorable’”—i.e., to “screen and prevent bad-faith litigation,”—is “sound.”249

         On balance, the court views jurisprudence applying the Barton doctrine and vexatious

 litigant injunctions—while not specifically addressing the “colorability” standard under

 gatekeeping provisions in a plan250—as more informative on how to approach “colorability” than

 any of the other authorities presented by the parties. One example is In re VistaCare Group,

 LLC.251

         In VistaCare, the Third Circuit noted that, under the Barton doctrine, “[a] party seeking

 leave of court to sue a trustee must make a prima facie case against the trustee, showing that its

 claim is not without foundation,” and emphasized that the “not without foundation” standard, while

 similar to the standard courts apply in evaluating Rule 12(b)(6) motions to dismiss, “involves a

 greater degree of flexibility” than a Rule 12(b)(6) motion to dismiss because “the bankruptcy court,

 which given its familiarity with the underlying facts and the parties, is uniquely situated to

 determine whether a claim against the trustee has merit,” and “is also uniquely situated to

 determine the potential effect of a judgment against the trustee on the debtor’s estate.”252 To satisfy

 the “prima facie case standard,” “the movant must do more than meet the liberal notice-pleading




 248
     Id. at 438 (cleaned up).
 249
     Id. at 435.
 250
     The court acknowledges that the Barton doctrine itself would not be directly applicable here because HMIT is
 proposing to bring the Proposed Complaint in the bankruptcy court – the “appointing” court of Seery.
 251
     678 F.3d 218 (3d Cir. 2012).
 252
     Id. at 232-233 (cleaned up).

                                                       88
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              89 of 105
                                                     Page 200 of 678 PageID 206



 requirements of Rule 8.”253 “[I]f the [bankruptcy] court relied on mere notice-pleading standards

 rather than evaluating the merits of the allegations, the leave requirement would become

 meaningless.”254 This court agrees with the notion, that “[t]o apply a less stringent standard would

 eviscerate the protections” of the Gatekeeper Provision and Gatekeeper Orders.255 The court notes,

 as well, that courts in the Barton doctrine context regularly hold evidentiary hearings on motions

 for leave to determine if the proposed complaint meets the necessary threshold for pursuing

 litigation. The Third Circuit in VistaCare noted that “[w]hether to hold a hearing [on a motion for

 leave to bring suit against a trustee] is within the sound discretion of the bankruptcy court,”256 and

 that “the decision whether to grant leave may involve a ‘balancing of the interests of all parties

 involved,’” which will ordinarily require an evidentiary hearing.257 The Third Circuit applied “the

 deferential abuse of discretion standard” in considering whether the bankruptcy court’s granting

 of leave should be affirmed on appeal.258



 253
     In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) (cleaned up; collecting cases).
 254
     Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill. Nov. 30,
 2000).
 255
     World, 584 B.R. at 743 (quoting Leighton, 2000 WL 1761020, at *2).
 256
     VistaCare, 678 F.3d at 232 n.12.
 257
     Id. at 233 (quoting In re Kashani, 190 B.R. 875, 886–87 (9th Cir. BAP 1995)). The Third Circuit noted that the
 bankruptcy court’s holding of an evidentiary hearing on the motion for leave was appropriate (though not required in
 every case)). Id. at 232 n.12.
 258
     Id. at 224 (“We review a bankruptcy court’s decision to grant a motion for leave to sue a trustee under the deferential
 abuse of discretion standard.”) (citing In re Linton, 136 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725
 F.2d 880, 889 (2d Cir. 1984)). Courts of appeal routinely apply the deferential abuse of discretion standard to a
 bankruptcy court’s decision regarding whether leave should be granted to sue a trustee. Although the Fifth Circuit
 has not squarely addressed this issue, all nine Circuits that have considered this issue have also adopted an abuse-of-
 discretion standard. See In re Bednar, 2021 WL 1625399, at *3 (B.A.P. 10th Cir. Apr. 27, 2021) (“[T]he Bankruptcy
 Court's decision to decline leave to sue the Trustee under the Barton doctrine is reviewed for abuse of discretion . . .
 .”) (citing VistaCare); SEC v. N. Am. Clearing, Inc., 656 F. App’x 969, 973–74 (11th Cir. 2016) (“Although we have
 never determined the standard of review for a challenge to the denial of a Barton motion, other Circuits that have
 considered the issue review a lower court's ruling on a Barton motion for an abuse of discretion.”) (citing VistaCare);
 In re Lupo, 2014 WL 4653064, at *3 (B.A.P. 1st Cir. Sept. 17, 2014) (“Appellate courts review a bankruptcy court's
 decision to deny a motion for leave to sue under the abuse of discretion standard.”) (citing VistaCare); Grant,
 Konvalinka & Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 422 (6th Cir. 2013) (holding that abuse-of-
 discretion standard applies to Barton doctrine); Alexander v. Hedback, 718 F.3d 762 (8th Cir. 2013) (applying abuse-
 of-discretion standard to Barton doctrine).

                                                             89
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              90 of 105
                                                     Page 201 of 678 PageID 207



          The Fifth Circuit has affirmed a bankruptcy court’s conducting of an evidentiary hearing,

 in the context of applying a Barton doctrine analysis as to a proposed lawsuit against a trustee,

 without any concern that the inquiry was somehow improper.259

          Similarly, courts in the vexatious litigant context, where there was an injunction requiring

 a movant to seek leave to pursue claims, have required movants to “show that the claims sought

 to be asserted have sufficient merit,” including that “the proposed filing is both procedural and

 legally sound,” and “that the claims are not brought for any improper purpose, such as

 harassment.”260 “For a prefiling injunction to have the intended impact, it must not merely require

 a reviewing official to apply an already existing level of review,” such as the “plausibility”

 standard for a Rule 12(b)(6) motion.261 Rather, courts apply “an additional layer of review,” and

 “may appropriately deny leave to file when even part of the pleading fails to satisfy the reviewer

 that it warrants a federal civil action” or that the “litigant’s allegations are unlikely,” especially

 “when prior cases have shown the litigant to be untrustworthy or not credible . . . .”262

          In summary, the court rejects HMIT’s positions: (a) that it need only show, at most, that

 the allegations in the Proposed Complaint are “plausible” under the Rule 12(b)(6) standard for

 motions to dismiss; and (b) that this court improperly conducted an evidentiary hearing on the

 Motion for Leave (i.e., that consideration of evidence in this context is impermissible). The court

 notes, again, that HMIT’s argument that this court is not permitted to consider evidence in making

 its “colorability” determination is completely contradictory to HMIT’s actions in filing the Motion



 259
     See Howell v. Adler (In re Grodsky), 2019 WL 2006020, at *4 (Bankr. E.D. La. Apr. 11, 2019) (dismissing an
 action under Barton after “a close examination” by the bankruptcy court of the evidence regarding the trustee’s actions
 and finding that “the plaintiffs’ allegations are not based in fact”), aff’d 799 F. App’x 271 (5th Cir. 2020).
 260
     Silver v. City of San Antonio, 2020 WL 3803922, at *1 (W.D. Tex. July 7, 2020) (denying leave to file lawsuit);
 see also Silver v. Perez, 2020 WL 3790489, at *1 (W.D. Tex. July 7, 2020) (same).
 261
     Silver, 2020 WL 3803922, at *6.
 262
     Id.

                                                           90
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              91 of 105
                                                     Page 202 of 678 PageID 208



 for Leave, where it attached two Dondero declarations as part of 350 pages of “objective evidence”

 that “supported” its motion.

         The court concludes that the appropriate standard to be applied in making its “colorability”

 determination in this bankruptcy case, in the exercise of its gatekeeping function pursuant to the

 two Gatekeeper Orders and the Gatekeeper Provision in this Plan, is a broader standard than the

 “plausibility” standard applied to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that

 involves an additional level of review—one that places on the proposed plaintiff a burden of

 making a prima facie case that its proposed claims are not without foundation, are not without

 merit, and are not being pursued for any improper purpose such as harassment. Additionally,

 this court may, and should, take into consideration its knowledge of the bankruptcy proceedings

 and the parties and any additional evidence presented at the hearing on the Motion for Leave. For

 ease of reference, the court will refer to this standard of “colorability” as the “Gatekeeper

 Colorability Test.” The court considers this test as a sort of hybrid of what the Barton doctrine

 contemplates and what courts have applied when considering motions to file suit when a vexatious

 litigant bar order is in place.

     2. HMIT’s Proposed Complaint Does Not Present “Colorable” Claims Under this Court’s
        Gatekeeper Colorability Test or Even Under a Rule 12(b)(6) “Plausibility” Standard.

         The court finds, in the exercise of its gatekeeping function under the Gatekeeper Orders

 and the Gatekeeping Provision in the Plan, that the Motion for Leave should be denied as the

 claims set forth in the Proposed Complaint are not “colorable” claims. The court makes this

 determination after considering evidence admitted at the June 8 Hearing, including the testimony

 of Dondero, Patrick, and Seery, and the numerous exhibits offered by HMIT and the Highland

 Parties. HMIT’s Proposed Claims lack foundation, are without merit, and appear to be motivated

 by the improper purposes of vexatiousness and harassment. But, even under the less stringent


                                                  91
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              92 of 105
                                                     Page 203 of 678 PageID 209



 “plausibility” standard under Rule 12(b)(6) motions to dismiss, where all allegations must be

 accepted as true, HMIT’s “[t]hreadbare recitals of the elements of a cause of action, supported by

 mere conclusory statements,” fail to “[]cross the line from conceivable to plausible.”263

             HMIT makes unsubstantiated and conclusory allegations in its Motion for Leave and

 Proposed Complaint that the Claims Purchasers purchased the large allowed unsecured claims only

 because Seery, while he was CEO of Highland prior to the Effective Date of the Plan, provided

 them with MNPI and assurances that the Purchased Claims were very valuable. This was allegedly

 in exchange for their agreement to approve, in their future capacities as members of the CTOB,

 excessive compensation for Seery in his capacity as the Claimant Trustee after the Effective Date

 of the Plan. This was an alleged quid pro quo that HMIT claims establishes Seery’s breach of

 fiduciary duties and the Claims Purchasers’ conspiracy to participate in that breach. As discussed

 below, these allegations are unsubstantiated and conclusory allegations, and they do not support

 the inferences that HMIT needs the court to make when it analyzes whether the Proposed Claims

 are “colorable”—or even merely plausible.

                 a) HMIT’s Proposed Breach of Fiduciary Duties Claim Set Forth in Count I of the
                    Proposed Complaint

             Based on HMIT’s Proposed Complaint and the evidence admitted at the June 8 Hearing,

 the court finds that HMIT has not pleaded facts that would support a “colorable” breach of

 fiduciary duties claim against Seery, under this court’s Gatekeeper Colorability Test, nor a

 plausible claim pursuant to the Rule 12(b) standard. HMIT alleges that Seery breached his

 fiduciary duties (i) “[b]y disclosing material non-public information to Stonehill and Farallon”




 263
       Ashcroft v. Iqbal, 556 U.S. 662, 679–80 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

                                                             92
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              93 of 105
                                                     Page 204 of 678 PageID 210



 before their purchase of certain Highland claims, and (ii) by receiving “compensation paid to him

 under the terms of the [CTA] since the Effective Date of the Plan in August 2021.”264

         As earlier noted, both the Reorganized Debtor and the Claimant Trust are organized under

 Delaware law and, thus, its proposed Count I against Seery for breach of fiduciary duties to these

 entities is governed by Delaware law under the “Internal Affairs Doctrine.”265 Under Delaware

 law, “[t]o bring a claim for breach of fiduciary duty, a plaintiff must allege ‘(1) that a fiduciary

 duty existed and (2) that the defendant breached that duty.’”266 HMIT fails to plausibly or

 sufficiently allege either element such that its breach of fiduciary duty claims against Seery could

 survive.

         Under Delaware law, officers and directors generally owe fiduciary duties only to the entity

 and its stakeholders as a whole, not to individual shareholders.267 Because Seery did not owe any

 “duty” to HMIT directly and individually, the Proposed Complaint fails to state a claim for breach

 of fiduciary duties to HMIT. HMIT’s “legal conclusion[]” that Seery “owed fiduciary duties to

 HMIT, as equity, and to the Debtor’s Estate”268 “do[es] not suffice” to plausibly allege the

 existence of any actionable fiduciary relationship.269 And as discussed earlier in the standing

 section, HMIT does not have standing to assert a breach of fiduciary claim derivatively on behalf



 264
     Proposed Complaint ¶¶ 64–67.
 265
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 266
     Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020) (quoting Joseph C.
 Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch. Feb. 28, 2020)).
 267
     See Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) (“[D]irectors’ fiduciary duty runs to
 the corporation and to the entire body of shareholders generally, as opposed to specific shareholders or shareholder
 subgroups.”) aff’d, 575 A.2d 1131 (Del. 1990); Klaassen v Allegro Dev. Corp., 2013 WL 5967028, at *11 (Del. Ch.
 Nov. 7, 2013) (same).
 268
     Proposed Complaint ¶ 63.
 269
     Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                                                         93
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              94 of 105
                                                     Page 205 of 678 PageID 211



 of the Claimant Trust or Reorganized Debtor. But even if HMIT had sufficiently alleged the

 existence of a fiduciary duty by Seery to HMIT—or to the Reorganized Debtor or Claimant Trust

 that HMIT would have standing to assert—Seery’s alleged communications with Farallon would

 not have breached those duties.

            HMIT alleges that Seery ““disclose[d] material non-public information to Stonehill and

 Farallon,” and they “acted on inside information and Seery’s secret assurances of great profits.”270

 But the Proposed Complaint does not make any factual allegations regarding HMIT’s “conclusory

 allegations,” and its “legal conclusions” are “purely speculative, devoid of factual support,” and

 therefore “stop[] short of the line between possibility and plausibility of entitlement to relief”271

 (and certainly stop short of being “colorable”). HMIT never alleges when any of these purported

 communications occurred, what material non-public information Seery provided, and what

 “assurances of great profits” he made to Farallon or to Stonehill. At the June 8 Hearing, Dondero

 could only clarify that he believed the MGM Email to have been MNPI and that he believed that

 Seery must have communicated that MNPI to Farallon at some point between December 17, 2020

 (the date the MGM Email was sent) and May 28, 2021 (the day that Dondero alleges to have had

 three telephone calls with representatives of Farallon, Messrs. Patel and Linn, regarding Farallon’s

 purchase of the bankruptcy claims). Dondero alleges that, during these phone calls, Patel and Linn

 gave Dondero no reason for their purchase of the claims that “made [any] sense.” Dondero and

 Patrick also both testified that neither of them had any personal knowledge: (a) of a quid pro quo

 arrangement between Seery and the Claims Purchasers, (b) of Seery having actually communicated

 any information from the MGM Email to Farallon, or (c) whether Seery’s post-Effective Date

 compensation had or had not been negotiated in an arms’ length transaction. Dondero only

 270
       Proposed Complaint ¶¶ 3, 64; see also id. ¶¶ 13–14, 40, 47, 50.
 271
       Reed v. Linehan (In re Soporex, Inc.), 463 B.R. 344, 367, 386 (Bankr. N.D. Tex. 2011) (cleaned up).

                                                            94
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              95 of 105
                                                     Page 206 of 678 PageID 212



 speculates regarding these things, because it “made no sense” to him that the Claims Purchasers

 would have acquired the bankruptcy claims without having received the MNPI. But HMIT admits

 in the Proposed Complaint that Farallon and Stonehill purchased the Highland claims at discounts

 of 43% to 65% to their allowed amounts. Thus, they would receive at least an 18% return based

 on publicly available estimates in Highland’s court-approved Disclosure Statement.272 The

 evidence established that, if the acquisition of the UBS claims is excluded—recall that the UBS

 claims were not purchased until August 2021, which was after the May 28, 2021 phones calls that

 Dondero made to Farallon personnel—the Claims Purchasers would have expected to net over $33

 million in profits, or nearly a 30% return on their investment, had Highland met its projections

 (this is based on the aggregate purchase price of $113 million for the non-UBS claims purchased

 in the Spring 2021).

         To be clear, the only purported MNPI identified in HMIT’s Proposed Complaint was the

 MGM Email Dondero sent to Seery containing “information regarding Amazon and Apple’s

 interest in acquiring MGM.” But, the evidence showed that this information was widely reported

 in the financial press at the time. Thus, it could not have constituted MNPI as a matter of law.273

 Moreover, the evidence showed that Dondero did not communicate in the MGM Email the actual

 inside information that he claimed to have obtained as a board member of MGM–which was that

 Amazon had met MGM’s “strike price” and that the MGM board was going into exclusive

 negotiations with Amazon to culminate the merger with them (and, thus, Apple was no longer

 considered a potential purchaser). Dondero admitted that he included Apple in the MGM Email

 for the purpose of making it look like there was a competitive process still ongoing. In other


 272
    Proposed Complaint ¶¶ 3, 37, 42.
 273
    See, e.g., SEC v. Cuban, 2013 WL 791405, at *10–11 (N.D. Tex. Mar. 5, 2013) (holding that information is not
 “material, nonpublic information” and “‘becomes public when disclosed to achieve a broad dissemination to the
 investing public’”) (quoting SEC v. Mayhew, 121 F.3d 44, 50 (2d Cir. 1997)).

                                                       95
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              96 of 105
                                                     Page 207 of 678 PageID 213



 words, the MGM Email, at the very least, did not include MNPI and, at worst, was deceptive

 regarding the status of the negotiations between MGM and potential purchasers.

          As to HMIT’s allegations that Seery’s post-Effective Date compensation is “excessive”

 and that the negotiations between Seery and the CTOB “were not arm’s-length,”274 the evidence

 at the June 8 Hearing reflected that the allegations are completely speculative, without any

 foundation whatsoever, and lack merit. And they are also simply not plausible. HMIT fails to

 allege facts in the Proposed Complaint that would support a reasonable inference that Seery

 breached his fiduciary duty to HMIT or the estate as a result of bad faith, self-interest, or other

 intentional misconduct rising to the level of a breach of the duty of loyalty.275

               b) HMIT’s Proposed Claims Set Forth in Counts II (Knowing Participation in Breach
                  of Fiduciaries) and III (Conspiracy)

          HMIT seeks to hold the Claims Purchasers secondarily liable for Seery’s alleged breach of

 fiduciaries duties on an aiding and abetting theory in Count II of the Proposed Complaint276 and,

 along with Seery, on a civil conspiracy theory of liability in Count III of the Proposed

 Complaint.277 Because HMIT’s breach of fiduciary duties claim is governed by Delaware law, its

 aiding and abetting breach of fiduciary duties claim against the Claims Purchasers (Count II) is

 also governed by Delaware law.278 HMIT’s conspiracy cause of action against the Claims




 274
     Proposed Complaint ¶¶ 4, 13, 54, 74.
 275
     See Pfeffer v. Redstone, 965 A.2d 676, 690 (Del. 2009) (dismissing claim for breach of duty of loyalty against a
 director where “conclusory allegations” failed to give rise to inference that director failed to perform fiduciary duties);
 McMillan v. Intercargo Corp., 768 A.2d 492, 507 (Del. Ch. 2000) (dismissing claim for breach of fiduciary duty
 where “[a]though the complaint makes the conclusory allegation that the defendants breached their duty of disclosure
 in a ‘bad faith and knowing manner,’ no facts pled in the complaint buttress that accusation.”).
 276
     Proposed Complaint ¶¶ 69-74.
 277
     Proposed Complaint ¶¶ 75-81.
 278
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).

                                                             96
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              97 of 105
                                                     Page 208 of 678 PageID 214



 Purchasers and Seery (Count III), on the other hand, does not involve a matter of “internal affairs”

 or of corporate governance, so it is governed by Texas law under the Plan.279

          As an initial matter, because HMIT does not present either a “colorable”—or even

 plausible claim—that Seery breached his fiduciary duties, it cannot show that it has alleged a

 “colorable” or plausible claim for secondary liability for the same alleged wrongdoing.280 In

 addition, HMIT’s civil conspiracy claim against the Claims Purchasers and Seery is based entirely

 on Dondero’s speculation and unsupported inferences and, thus, HMIT has not “colorably”

 alleged, or even plausibly alleged, its conspiracy claim. Under Texas law, “civil conspiracy is a

 theory of vicarious liability and not an independent tort.”281 “[T]he elements of civil conspiracy

 [are] “(1) two or more persons; (2) an object to be accomplished; (3) a meeting of minds on the

 object or course of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

 result.”282 While HMIT alleges that “Defendants conspired with each other to unlawfully breach

 fiduciary duties,”283 it is simply a “legal conclusion” and not the kind of allegation that the court

 must assume to be true even for purposes of determining plausibility under a motion to dismiss.284


 279
     Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex. App. – Houston [14th Dist.] 2020) (applying Delaware
 law to fiduciary duty claim and Texas law to conspiracy theory); (Plan Art. XII.M)(which provides for the application
 of Texas law to “the rights and obligations arising under this Plan” except for “corporate governance matters.”)
 280
     See English v. Narang, 2019 WL 1300855, at *14 (Del. Ch. Mar. 20, 2019) (“As a matter of law and logic, there
 cannot be secondary liability for aiding and abetting an alleged harm in the absence of primary liability.”) (cleaned
 up; collecting cases); Hill v. Keliher, 2022 WL 213978, at *10 (Tex. App. Jan. 25, 2022) (“[A] defendant’s liability
 for conspiracy depends on participation in some underlying tort for which the plaintiff seeks to hold at least one of the
 named defendants liable.”) (quoting Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996)). Because HMIT’s breach
 of fiduciary duty claim is governed by Delaware law, its aiding and abetting theory of liability is also governed by
 Delaware law. See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D.
 Tex. 2016) (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware
 corporation headquartered in Texas). By contrast, “conspiracy is not an internal affair” or a matter of corporate
 governance, so it is governed by Texas law under the Plan. Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex.
 App. – Houston [14th Dist.] 2020) (applying Delaware law to fiduciary duty claim and Texas law to conspiracy
 theory); (Plan Art. XII.M).
 281
     Agar Corp., Inc. v. Electro Circuits Int’l, LLC, 580 S.W.3d 136, 142 (Tex. 2019).
 282
     Id. at 141 (cleaned up).
 283
     Proposed Complaint ¶ 76.
 284
     Iqbal, 556 U.S. at 680 (citing Twombly, 555 U.S. at 565–66).

                                                            97
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              98 of 105
                                                     Page 209 of 678 PageID 215



 HMIT repeats four times that Seery provided MNPI to Farallon and Stonehill as a “as a quid pro

 quo” for “additional compensation,”285 each time based upon conclusory allegations based “upon

 information and belief” and, frankly, pure speculation from Dondero that his imagined “scheme,”

 “covert quid pro quo,” and secret “conspiracy” between Seery, on the one hand, and Farallon and

 Stonehill, on the other,286 must have occurred because “[i]t made no sense for the [Claims]

 Purchasers to invest millions of dollars for assets that – per the publicly available information –

 did not offer a sufficient potential profit to justify the publicly disclosed risk” (i.e., “[t]he counter-

 intuitive nature of the purchases at issue compels the conclusion that the [Claims] Purchasers acted

 on inside information and Seery’s assurance of great profits.”)287 Importantly, HMIT admits that

 the Claims Purchasers would have turned a profit based on the information available to them at

 the time of their acquisitions of the Purchased Claims.288 HMIT’s allegations about the level of

 potential profits were contradicted by their own allegations and other evidence admitted at the June

 8 Hearing. But Dondero’s speculation about what level of projected return would be sufficient to

 justify the acquisition of the claims by the Claims Purchasers, or any other third-party investor,

 does not give rise to a plausible inference that they acted improperly.289 Thus, HMIT cannot meet


 285
     Proposed Complaint ¶ 77; see also id. ¶¶ 4, 47, 74.
 286
     See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the other
 Defendants with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”).
 287
     Id.
 288
     See, e.g., id. ¶ 3 (alleging that acquiring the claims “did not offer a sufficient potential profit to justify the publicly
 disclosed risk”)(emphasis added); ¶ 43 (“Furthermore, although the publicly available projections suggested only
 a small margin of error on any profit potential for its significant investment . . . .”); ¶ 49 (“Yet, in this case, it would
 have been impossible for Stonehill and Farallon (in the absence of inside information) to forecast any significant profit
 at the time of their multi-million-dollar investments given the publicly available, negative financial information.”)
 (third emphasis added).
 289
     In fact, the court did not allow Mr. Dondero to testify regarding what kind of information a hypothetical investor
 in bankruptcy claims would require or what level of potential profits would justify the purchase of bankruptcy claims
 by investors in the bankruptcy claims trading market because he was testifying as a fact witness, not an expert. Thus,
 the court only allowed Dondero to testify as to what data he (or entities he controls or controlled) would rely on, what
 his risk tolerance would have been, and what level of potential profits he would have required to purchase an allowed
 unsecured bankruptcy claim in a post-confirmation situation. June 8 Hearing Transcript, 129:6-130:4.

                                                               98
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              99 of 105
                                                     Page 210 of 678 PageID 216



 its burden, under the Gatekeeper Colorability Test, of making a prima facie showing that its

 allegations do not lack foundation or merit. Nor can it meet a plausibility standard.

         In addition, contrary to the Proposed Complaint’s statement that it would have been

 “impossible for Stonehill and Farallon (in the absence of insider information) to forecast any

 significant profit at the time of their multi-million-dollar investments,” the evidence showed there

 were already reports in the financial press that MGM was engaging with Amazon, Apple, and

 others in selling its media portfolio, and thus the prospect of an MGM transaction increasing the

 value of, and return on, the Purchased Claims, “at the time of their multi-million-dollar

 investments” was publicly available information.290                HMIT’s suggestion that the Claims

 Purchasers were in possession of inside information not publicly available when they acquired the

 Purchased Claims is simply not plausible. Nor is HMIT’s allegation that “[u]pon information and

 belief” Farallon “conducted no due diligence but relied on Seery’s profit guarantees” plausible.

 The allegations regarding Farallon not conducting any due diligence are based, again, entirely on

 Dondero’s speculation and inferences he made from what Patel and Linn (of Farallon) allegedly

 told him on May 28, 2021; Dondero did not testify that either Patel or Linn ever told him

 specifically that they had conducted no due diligence. HMIT’s allegations in the Proposed

 Complaint that Farallon “conducted no due diligence,” are based on Dondero’s speculation,

 unsubstantiated, and contradicted by the testimony of Seery, who testified that emails to him from

 Linn in June 2020 and later in January 2021 indicated to him that Farallon, at least, had been

 conducting some level of due diligence in that they had been following and paying attention to the




 290
     The court notes, as well, that the Claim Purchasers acquired the UBS claims in August 2021—approximately two
 and a half months after the announcement of the MGM-Amazon transaction (which was on May 26, 2021)—a fact
 that HMIT makes no attempt to harmonize with its conspiracy theory that the Claims Purchasers profited from the
 misuse of MNPI allegedly given to them by Seery.

                                                       99
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              100 of 105
                                                     Page 211 of 678 PageID 217



 Highland case.291 In addition, there are no allegations in the Proposed Complaint regarding

 whether Stonehill conducted due diligence or not, and Patrick testified that neither he nor HMIT

 had any personal knowledge of how much due diligence Farallon or Stonehill did prior to acquiring

 the Purchased Claims.292 The court finds and concludes that HMIT’s allegations of aiding and

 abetting and conspiracy in Counts II and III of the Proposed Complaint are based on

 unsubstantiated inferences and speculation, lack internal consistency, and lack consistency with

 verifiable public facts. Accordingly, HMIT has failed to show that these claims have a foundation

 and merit and has also failed to show that they are plausible.

              c) HMIT’s Proposed Claims Set Forth in Counts IV (Equitable Disallowance), V
                 (Unjust Enrichment and Constructive Trust), and VI (Declaratory Relief) of the
                 Proposed Complaint

            i.    Count IV (Equitable Disallowance).

         In Count IV of its Proposed Complaint, HMIT seeks “equitable disallowance” of the claims

 acquired by Farallon’s and Stonehill’s special purpose entities Muck and Jessup, “to the extent

 over and above their initial investment,” and, in the alternative, equitable subordination of their

 claims to all claims and interests, including HMIT’s unvested Class 10 Contingent Claimant Trust

 Interest, “given [their] willful, inequitable, bad faith conduct” of allegedly “purchasing the Claims

 based on material non-public information” and being “unfairly advantaged” in “earning significant

 profits on their purchases.”293 As noted above, these remedies are not available to HMIT.294

         First, HMIT’s request to equitably subordinate the Purchased Claims to all claims and

 interests is not permitted because Bankruptcy Code § 510(c), by its terms, permits equitable




 291
     See June 8 Hearing Transcript, 239:6-21.
 292
     See id., 310:19-312:2.
 293
     Proposed Complaint ¶¶ 83-87.
 294
     See infra pages 74-75.

                                                 100
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              101 of 105
                                                     Page 212 of 678 PageID 218



 subordination of a claim to other claims or an interest to other interests but does not permit

 equitable subordination of a claim to interests.

             Second, “equitable” disallowance of claims is not an available remedy in the Fifth Circuit

 pursuant to the Mobile Steel case.295

             Third, reconsideration of an already-allowed claim in a bankruptcy case can only be

 accomplished through Bankruptcy Code § 502(j), which, pursuant to Federal Rule of Bankruptcy

 Procedure 9024, allows reconsideration of allowance of a claim that was allowed following a

 contest (which is certainly the case with respect to the Purchased Claims) based on the “equities

 of the case.” But this is only if the request for reconsideration is made within the one-year

 limitation prescribed in Rule 60(c) of the Federal Rules of Civil Procedure. HMIT’s request for

 disallowance of Muck and Jessup’s Purchased Claims (if it could somehow be construed as a

 request for reconsideration of their claims), is clearly untimely, as it is being made well beyond a

 year since their allowance by this court following contests and approval of Rule 9019 settlements.

 Thus, the court finds that HMIT has not alleged a colorable or even plausible claim in Count IV

 of the Proposed Complaint and, therefore, the Motion for Leave should be denied.

               ii.    Count V (Unjust Enrichment and Constructive Trust)

             In Count V of the Proposed Complaint, HMIT alleges that, “by acquiring the Claims using

 [MNPI], Stonehill and Farallon were unjustly enriched and gained an undue advantage over other

 creditors and former equity” and that “[a]llowing [the Claims Purchasers] to retain their ill-gotten

 benefits would be unconscionable;” thus, HMIT alleges, the Claims Purchasers “should be forced

 to disgorge all distributions over and above their original investment in the Claims as restitution

 for their unjust enrichment” and “a constructive trust should be imposed on such proceeds . . . .”296

 295
       In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).
 296
       Proposed Complaint ¶¶ 89-93.

                                                             101
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              102 of 105
                                                     Page 213 of 678 PageID 219



 HMIT alleges further that “Seery was also unjustly enriched by his participation in this scheme

 and he should be required to disgorge or restitute all compensation he has received from the outset

 of his collusive activities” and “[a]lternatively he should be required to disgorge and restitute all

 compensation received since the Effective Date” over which a constructive trust should be

 imposed.297 HMIT has not alleged a colorable or even a plausible claim for unjust enrichment or

 constructive trust in Count V.

         Under Texas law,298 “[u]njust enrichment is not an independent cause of action but rather

 characterizes the result of a failure to make restitution of benefits either wrongfully or passively

 received under circumstances which give rise to an implied or quasi-contractual obligation to

 repay.”299 Thus, “when a valid, express contract covers the subject matter of the parties’ dispute,

 there can be no recovery under a quasi-contract theory.”300 Here, as noted above, HMIT’s only

 alleged injury is a diminution of the value of its unvested Contingent Claimant Trust Interest by

 virtue of Seery’s allegedly having wrongfully obtained excessive compensation, with the help of

 the Claims Purchasers. Yet Seery’s compensation is governed by express agreements (i.e., the

 Plan and the CTA). Thus, HMIT’s claim based on unjust enrichment is not an available theory of

 recovery.

           iii.   Count VI (Declaratory Relief)

         HMIT seeks declaratory relief in Count VI of the Proposed Complaint, essentially, that

 Dondero’s conspiracy theory is correct and that HMIT’s would succeed on the merits with respect



 297
     Id. ¶ 94.
 298
     Under the Plan, Texas law governs HMIT’s “claim” for unjust enrichment because it is not a “corporate governance
 matter.” (Plan Art. XII.M.) It also governs HMIT’s “claim” for constructive trust, which “is merely a remedy used to
 grant relief on the underlying cause of action.” Sherer v. Sherer, 393 S.W.3d 480, 491 (Tex. App. 2013).
 299
     Taylor v. Trevino, 569 F. Supp. 3d 414, 435 (N.D. Tex. 2021) (cleaned up); see also Yowell v. Granite Operating
 Co., 630 S.W.3d 566, 578 (Tex. App. 2021) (same).
 300
     Taylor, 569 F. Supp. 3d at 435 (quoting Fortune Prod. Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

                                                         102
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              103 of 105
                                                     Page 214 of 678 PageID 220



 to the Proposed Claims if it were permitted leave to bring them in an adversary proceeding.301 But,

 a request for declaratory relief is not “an independent cause of action”302 and “in the absence of

 any underlying viable claims such relief is unavailable.”303 This court has already found and

 concluded that HMIT would not have constitutional or prudential standing to bring the underlying

 causes of action in the Proposed Complaint. This court has also found and concluded that all of

 the Proposed Claims are without foundation or merit and are not even plausible and are all; being

 brought for the improper purpose of continuing Dondero’s vexatious, harassing, bad-faith

 litigation. Thus, HMIT would not be entitled to pursue declaratory judgement relief as requested

 in Count VI of the Proposed Complaint.

             d) HMIT Has No Basis to Seek Punitive Damages

         HMIT separately alleges that the Claims Purchasers’ and Seery’s “misconduct was

 intentional, knowing, willful, in bad faith, fraudulent, and in total disregard of the rights of others,”

 thus entitling HMIT to an award of punitive damages under applicable law. But, HMIT abandoned

 its proposed fraud claim that was in its Original Proposed Complaint, so its sole claim for primary

 liability is Seery’s alleged breach of his fiduciary duties. And under Delaware law, the “court

 cannot award punitive damages in [a] fiduciary duty action.”304




 301
     Proposed Complaint ¶¶ 96-99.
 302
     See Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 932 (5th Cir. 2023).
 303
     Green v. Wells Fargo Home Mtg., 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016) (citing Collin Cty. v.
 Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990)); see also Hopkins
 v. Cornerstone Am.
 304
     Buchwald v. Renco Grp. (In re Magnesium Corp. of Am.), 539 B.R. 31, 52 (S.D.N.Y. 2015) (citing Gesoff v. IIC
 Indus., Inc., 902 A.2d 1130, 1154 (Del. Ch. 2006)), aff’d 682 F. App’x 24 (2d Cir. 2017).

                                                       103
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              104 of 105
                                                     Page 215 of 678 PageID 221



    3. HMIT Does Not Present “Colorable” Claims Under this Court’s Gatekeeper Colorability
       Test Because It Seeks to Bring the Proposed Complaint for Improper Purposes of
       Harassment and Bad-Faith, Vexatiousness.

        Under this court’s Gatekeeper Colorability Test, in addition to showing that its allegations

 and claims are not without foundation or merit, HMIT must also show that the Proposed Claims

 are not being brought for any improper purpose. Taking into consideration the court’s knowledge

 of the bankruptcy proceedings and the parties and the evidence presented at the hearing on the

 Motion for Leave, the court finds that HMIT is acting at the behest of, and under the control or

 influence of, Dondero in continuing to pursue harassing, bad faith, vexatious litigation to achieve

 his desired result in these bankruptcy proceedings. So, in addition to failing to show that its

 Proposed Claims have foundation and merit, HMIT cannot show that it is pursuing the Proposed

 Claims for a proper purpose and, thus, cannot meet the requirements under the Gatekeeper

 Colorability Test; HMIT’s Motion for Leave should be denied.

        IV.     CONCLUSION

        The court concludes, having taken into consideration both its knowledge of the bankruptcy

 proceedings and the parties and the evidence presented at the hearing on the Motion for Leave,

 that HMIT’s Motion for Leave should be denied for three independent reasons: (1) HMIT would

 lack constitutional standing to bring the Proposed Claims (and, thus, the federal courts would lack

 subject matter jurisdiction over the Proposed Claims); (2) even if HMIT would have constitutional

 standing to pursue the Proposed Claims, it would lack prudential standing to bring the Proposed

 Claims; and (3) even if HMIT would have both constitutional standing and prudential standing to

 bring the Proposed Claims, it has not met its burden under the Gatekeeper Colorability Test of

 showing that its Proposed Claims are “colorable” claims—that the Proposed Claims are not

 without foundation, not without merit, and not being pursued for an improper purpose. Moreover,



                                                104
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              105 of 105
                                                     Page 216 of 678 PageID 222



 even if this court’s Gatekeeper Colorability Test should be replaced with a Rule 12(b)(6)

 “plausibility” standard, the Proposed Claims are not plausible.

        Accordingly,

        IT IS ORDERED that HMIT’s Motion for Leave be, and hereby is DENIED.

                       ###End of Memorandum Opinion and Order###




                                                105
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 217 of 678   PageID 223




                       Exhibit 3
     Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 3Page 218 of 678 PageID 224




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 31, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
      In re:                                                          Chapter 11
                                                                  §
                                                                  §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §


           ORDER DENYING APPLICATION FOR EXPEDITED HEARING [DE # 3700]


               This Order is issued in response to the Application for Expedited Hearing on Emergency

     Motion for Leave to File Verified Adversary Proceeding (“Expedited Haring Request”) [DE #

     3700] filed by Hunter Mountain Investment Trust (“HMIT” or “Movant”) on March 28, 2023, at

     4:09 p.m. C.D.T. The Expedited Hearing Request seeks a hearing within three days, or as soon

     thereafter as counsel can be heard, on HMIT’s Emergency Motion for Leave to File Verified

     Adversary Proceeding (“Motion for Leave”) which was filed on March 28, 2023, at 4:02 p.m.

     C.D.T.



                                                      1
  Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 3Page 219 of 678 PageID 225



         The court has concluded that no emergency or other good cause exists, pursuant to Fed.

 R. Bankr. Proc. 9006, and the Expedited Hearing Request will be denied. The Motion for Leave

 will be set in the ordinary course (after 21 days’ notice to affected parties)—i.e., after April 18,

 2023.

         The Motion for Leave is 37 pages in length and contains 350 pages of attachments. It

 seeks leave from the bankruptcy court—pursuant to the bankruptcy court’s “gatekeeping” role 1

 under the confirmed Chapter 11 plan of Highland Capital Management, L.P. (“Highland” or

 “Reorganized Debtor”)—to sue at least the following parties: Muck Holdings, LLC (“Muck”);

 Jessup Holdings, LLC (“Jessup”); Farallon Capital Management, LLC (“Farallon”); Stonehill

 Capital Management, LLC (“Stonehill”); James P. Seery, Jr. (“Seery”); and John Doe Defendant

 Nos. 1-10 (collectively, the “Affected Parties”). The conduct that is described as a basis for the

 desired lawsuit is certain trading of unsecured claims that occurred in 2021 during the Highland

 bankruptcy case. 2 It appears that millions of dollars of damages are sought by Movant, who was

 formerly the largest indirect (ultimate) equity holder of Highland. The legal theories (e.g.,

 breaches of fiduciary duties; fraud; conspiracy; equitable disallowance) are novel in the

 bankruptcy claims trading context. The bankruptcy court, pursuant to the Highland plan, will

 need to analyze whether such claims are “colorable” such that leave to sue should be granted.

         The Affected Parties—and other parties in interest in the underlying bankruptcy case, for

 that matter—should be afforded a reasonable opportunity to respond to the Motion for Leave.

 While Movant, HMIT, has alleged that it may be facing a statute of limitations defense as to


 1
   The bankruptcy court’s “gatekeeping” role was recently affirmed by the Fifth Circuit in In re Highland Capital
 Management, L.P., 48 F.4th 419, 438 (5th Cir. 2022).
 2
   Notice of the claims trading was provided in filings in Highland bankruptcy case, as follows: Claim No. 23 (DE ##
 2211, 2212, and 2215), Claim Nos. 190 and 191 (DE ## 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153 and
 154 (DE # 2263), Claim No. 81 (DE # 2262), Claim No. 72 (DE # 2261).

                                                          2
  Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 3Page 220 of 678 PageID 226



 some claims after April 16, 2023, it appears that Movant has known about the conduct

 underlying the desired lawsuit for well over a year, based on activity that has occurred in the

 bankruptcy court. See, e.g., Memorandum Opinion and Order Granting James Dondero’s

 Motion to Remand Adversary Proceeding to State Court, Denying Fee Reimbursement Request,

 and Related Rulings, Dondero v. Alvarez & Marsal CRF Management, LLC and Farallon

 Capital Management LLC [DE # 22], in Adv. Proc. # 21-03051 (January 4, 2022). Thus, the

 need for an emergency hearing is dubious. Accordingly

        IT IS ORDERED that the Expedited Hearing Request is denied.

        Counsel shall contact the Courtroom Deputy for a setting on the Motion for Leave, which

 setting shall be no sooner than April 19, 2023.

                                       * * * END OF ORDER * * *




                                                   3
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 221 of 678   PageID 227




                       Exhibit 4
     Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 5Page 222 of 678 PageID 228




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 10, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P., Case No. 19-34054-sgj

                                 Reorganized Debtor.




                   ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE
                 WITH RESPECT TO HUNTER MOUNTAIN INVESTMENT TRUST’S
                    EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
                       ADVERSARY PROCEEDING AS SUPPLEMENTED

               The Court conducted a status conference on April 24, 2023, concerning the final scheduling

     of Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No. 3699] and

     Supplement to Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No.

     3760] (collectively, the “Underlying Motion”), as well as whether the hearing on the Underlying

     Motion would be evidentiary, and the Court having considered (i) the Opposed Emergency Motion



     ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
     MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
     ADVERARY PROCEEDING AS SUPPLEMENTED
     Page 1
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 5Page 223 of 678 PageID 229



 to Modify and Fix a Briefing Schedule and Set a Hearing Date with Respect to Hunter Mountain

 Investment Trust’s Emergency Motion for Leave to File Verified Adversary Proceeding [Docket

 No. 3738] (the “Motion”) 1 filed by Highland Capital Management, L.P., and the Highland

 Claimant Trust; (ii) the Joinder to Highland’s Emergency Motion to Modify and Fix Briefing

 Schedule and Set Hearing Date with Respect to Hunter Mountain Investment Trust’s Emergency

 Motion for Leave to File Verified Adversary Proceeding [Docket No. 3740] filed by Muck

 Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management, L.L.C., and Stonehill

 Capital Management LLC; (iii) the Response and Reservation of Rights [Docket No. 3748] filed

 by Hunter Mountain Investment Trust; (iv) the Objection Regarding Evidentiary Hearing and

 Brief Concerning Gatekeeper Proceedings Relating to “Colorability” [Docket No. 3758] filed by

 Hunter Mountain Investment Trust, and (v) the arguments of counsel,

            IT IS HEREBY ORDERED that:

            1.       The hearing on Hunter Mountain Investment Trust’s Emergency Motion for Leave
                     to File Verified Adversary Proceeding [Docket No. 3699] and Supplement to
                     Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No.
                     3760] (collectively, the “Underlying Motion”) shall be held in person on June 8,
                     2023, at 9:30 a.m. (Central Time) before the Honorable Stacey G. C. Jernigan, at
                     1100 Commerce Street, 14th Floor, Courtroom 1, Dallas, Texas, and by Webex for
                     those interested but not directly participating in the hearing.

            2.       Any responses to the Underlying Motion shall be filed no later than May 11, 2023.

            3.       Any replies in support of the Underlying Motion shall be filed no later than May
                     18, 2023.

            4.       The Court will advise the parties on or reasonably after May 18, 2023, whether the
                     Court intends to conduct the hearing on an evidentiary basis.

                                                ###End of Order###




 1
     All capitalized terms used but not defined herein have the meanings given to them in the Motion.

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 2
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 5Page 224 of 678 PageID 230



 Approved as Form Only:

 PARSONS MCENTIRE MCCLEARY PLLC

 /s/ Sawnie A. McEntire______
 Sawnie A. McEntire
 Texas State Bar No. 13590100
 smcentire@pmmlaw.com
 1700 Pacific Avenue, Suite 4400
 Dallas, Texas 75201
 Telephone: (214) 237-4300
 Facsimile: (214) 237-4340

 Roger L. McCleary
 Texas State Bar No. 13393700
 rmccleary@pmmlaw.com
 One Riverway, Suite 1800
 Houston, Texas 77056
 Telephone: (713) 960-7315
 Facsimile: (713) 960-7347

 Counsel for Hunter Mountain Investment Trust

 PACHULSKI STANG ZIEHL & JONES LLP

 Jeffrey N. Pomerantz (CA Bar No. 143717)
 John A. Morris (NY Bar No. 2405397)
 Gregory V. Demo (NY Bar No. 5371992)
 Hayley R. Winograd (NY Bar No. 5612569)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760
 Email: jpomerantz@pszjlaw.com
 jmorris@pszjlaw.com
 gdemo@pszjlaw.com
 hwinograd@pszjlaw.com

 -and-

 HAYWARD PLLC

 /s/ Zachery Z. Annable_____________
 Melissa S. Hayward (Texas Bar No. 24044908)
 Zachery Z. Annable (Texas Bar No. 24053075)

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 3
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 5Page 225 of 678 PageID 231



 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110
 Email: MHayward@HaywardFirm.com
 ZAnnable@HaywardFirm.com

 Counsel for Highland Capital Management, L.P. and the
 Highland Claimant Trust

 HOLLAND & KNIGHT LLP

 /s/ Christopher A. Bailey____________
 Brent R. McIlwain, TSB 24013140
 David C. Schulte TSB 24037456
 Christopher A. Bailey TSB 24104598
 Holland & Knight LLP
 1722 Routh Street, Suite 1500
 Dallas, TX 75201
 Tel.: (214) 964-9500
 Fax (214) 964-9501
 brent.mcilwain@hklaw.com
 david.schulte@hklaw.com
 chris.bailey@hklaw.com

 Counsel for Muck Holdings, LLC,
 Jessup Holdings LLC, Farallon
 Capital Management, L.L.C., and
 Stonehill Capital Management LLC

 REED SMITH LLP

 /s/ Omar J. Alaniz
 Omar J. Alaniz
 Texas Bar No. 24040402
 Lindsey L. Robin
 Texas Bar No. 24091422
 2850 N. Harwood Street, Suite 1500
 Dallas, Texas 75201
 T: 469.680.4200
 F: 469.680.4299
 oalaniz@reedsmith.com
 lrobin@reedsmith.com

 WILLKIE FARR & GALLAGHER LLP

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 4
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 5 of 5Page 226 of 678 PageID 232



 Mark T. Stancil
 Joshua S. Levy
 1875 K Street, N.W.
 Washington, DC 20006
 T: 202.303.1000
 mstancil@willkie.com
 jlevy@willkie.com

 Counsel for James P. Seery, Jr.




 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 5
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 227 of 678   PageID 233




                       Exhibit 5
   Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
 Case 3:23-cv-02071-E Imaged
                       Document
                             Certificate
                                1-1 Filedof Notice
                                              09/15/23
                                                    Page 1
                                                         Page
                                                           of 23228 of 678 PageID 234




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 22, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                       §
                                                                   § Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                   § Case No. 19-34054-sgj11
                                      Reorganized Debtor.          §
                                                                   §


      ORDER PERTAINING TO THE HEARING ON HUNTER MOUNTAIN INVESTMENT
          TRUST’S MOTION FOR LEAVE TO FILE ADVERSARY PROCEEDING
                                            [DE ## 3699 & 3760]


               Based on the court’s review of all of the parties’ pleadings and briefing relating to the

     above-referenced motion and supplemental motion (“Motion for Leave”), the court has determined

     that there may be mixed questions of fact and law implicated by the Motion for Leave—and, in

     particular, pertaining to the court’s required inquiry into whether “colorable” claims may exist, as

     described in the Motion for Leave. Therefore, the parties will be permitted to present evidence

     (including witness testimony) at the June 8, 2023 hearing if they so choose. This may include


                                                       1
  Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
Case 3:23-cv-02071-E Imaged
                      Document
                            Certificate
                               1-1 Filedof Notice
                                             09/15/23
                                                   Page 2
                                                        Page
                                                          of 23229 of 678 PageID 235


   examining any witness for whom a Declaration or Affidavit has already been filed. The parties

   will be allowed no more than three hours of presentation time each (allocated three hours to the

   movant and three hours to the aggregate respondents). This allocated presentation time may be

   spent in whatever manner the parties believe will be useful to the court (argument/evidence).

                                    # # # END OF ORDER # # #




                                                   2
         Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
       Case 3:23-cv-02071-E Imaged
                             Document
                                   Certificate
                                      1-1 Filedof Notice
                                                    09/15/23
                                                          Page 3
                                                               Page
                                                                 of 23230 of 678 PageID 236
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
In re:                                                                                                                 Case No. 19-34054-sgj
Highland Capital Management, L.P.                                                                                      Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 21
Date Rcvd: May 23, 2023                                               Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 24, 2023:
Recip ID                 Recipient Name and Address
aty                    + Alan J. Kornfeld, Pachulski Stang Ziehl & Jones LLPL, 10100 Santa Monica Blvd., 13 Fl, Los Angeles, CA 90067-4114

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 24, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 22, 2023 at the address(es) listed below:
Name                               Email Address
A. Lee Hogewood, III
                                   on behalf of Interested Party NexPoint Real Estate Strategies Fund lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Defendant NexPoint Advisors L.P. lee.hogewood@klgates.com,
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Interested Party NexPoint Strategic Opportunities Fund lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Interested Party Highland/iBoxx Senior Loan ETF lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 4
                                                             Page
                                                               of 23231 of 678 PageID 237
District/off: 0539-3                                     User: admin                                                          Page 2 of 21
Date Rcvd: May 23, 2023                                  Form ID: pdf012                                                     Total Noticed: 1
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Merger Arbitrage Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party NexPoint Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Total Return Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Global Allocation Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Funds I and its series lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Opportunistic Credit Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant Highland Income Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Fixed Income Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant NexPoint Capital Inc. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant NexPoint Strategic Opportunities Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Small-Cap Equity Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Socially Responsible Equity Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Funds II and its series lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party NexPoint Capital Inc. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 5
                                                             Page
                                                               of 23232 of 678 PageID 238
District/off: 0539-3                                              User: admin                                                                Page 3 of 21
Date Rcvd: May 23, 2023                                           Form ID: pdf012                                                           Total Noticed: 1
                                on behalf of Interested Party Highland Healthcare Opportunities Fund lee.hogewood@klgates.com
                                matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                on behalf of Interested Party Highland Income Fund lee.hogewood@klgates.com
                                matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                mily.mather@klgates.com;Artoush.varshosaz@klgates.com

Alexandre J. Tschumi
                                on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
                                alexandretschumi@quinnemanuel.com

Alyssa Russell
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors alyssa.russell@sidley.com
                                efilingnotice@sidley.com;alyssa-russell-3063@ecf.pacerpro.com

Amanda Rush
                                on behalf of Interested Party CCS Medical Inc. asrush@jonesday.com

Amy K. Anderson
                                on behalf of Creditor Issuer Group aanderson@joneswalker.com
                                lfields@joneswalker.com;amy-anderson-9331@ecf.pacerpro.com

Andrew Clubok
                                on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Plaintiff UBS Securities LLC andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Interested Party UBS Securities LLC andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Interested Party UBS AG London Branch andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Annmarie Antoniette Chiarello
                                on behalf of Creditor Acis Capital Management L.P. achiarello@winstead.com, dgalindo@winstead.com;kknight@winstead.com

Annmarie Antoniette Chiarello
                                on behalf of Creditor Acis Capital Management GP LLC achiarello@winstead.com,
                                dgalindo@winstead.com;kknight@winstead.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Fixed Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Capital Management Fund Advisors L.P. artoush.varshosaz@klgates.com,
                                Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Small-Cap Equity Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Defendant Highland Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Real Estate Strategies Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Funds II and its series artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Capital Inc. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Socially Responsible Equity Fund artoush.varshosaz@klgates.com
                                Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland/iBoxx Senior Loan ETF artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Strategic Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Total Return Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 6
                                                             Page
                                                               of 23233 of 678 PageID 239
District/off: 0539-3                                        User: admin                                                               Page 4 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                          Total Noticed: 1
                          on behalf of Defendant NexPoint Strategic Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. artoush.varshosaz@klgates.com,
                          Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party NexPoint Advisors L.P. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant NexPoint Advisors L.P. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant NexPoint Capital Inc. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Healthcare Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Funds I and its series artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Global Allocation Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Merger Arbitrage Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Asif Attarwala
                          on behalf of Interested Party UBS Securities LLC asif.attarwala@lw.com

Asif Attarwala
                          on behalf of Interested Party UBS AG London Branch asif.attarwala@lw.com

Basil A. Umari
                          on behalf of Interested Party Meta-e Discovery LLC BUmari@dykema.com, pelliott@dykema.com

Bennett Rawicki
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC brawicki@gibsondunn.com

Bojan Guzina
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bguzina@sidley.com

Brant C. Martin
                          on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC brant.martin@wickphillips.com
                          samantha.tandy@wickphillips.com

Brent Ryan McIlwain
                          on behalf of Defendant Farallon Capital Management L.L.C. brent.mcilwain@hklaw.com,
                          robert.jones@hklaw.com;brian.smith@hklaw.com

Brent Ryan McIlwain
                          on behalf of Creditor Muck Holdings LLC brent.mcilwain@hklaw.com robert.jones@hklaw.com;brian.smith@hklaw.com

Brian D. Glueckstein
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2 AND LAWRENCE TONOMURA
                          IN HIS CAPACITY AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2
                          gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Defendant Mark Okada gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party Mark Okada gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 AND LAWRENCE TONOMURA
                          AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #2 gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Okada Insurance Rabbi Trust gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party Okada Family Foundation Inc. gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #1 gluecksteinb@sullcrom.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                            Document
                                  Certificate
                                     1-1 Filedof Notice
                                                   09/15/23
                                                         Page 7
                                                              Page
                                                                of 23234 of 678 PageID 240
District/off: 0539-3                                           User: admin                                                           Page 5 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                      Total Noticed: 1
Brian J. Smith
                              on behalf of Defendant Farallon Capital Management L.L.C. brian.smith@hklaw.com,
                              robert.jones@hklaw.com;brent.mcilwain@hklaw.com

Bryan C. Assink
                              on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

Bryan C. Assink
                              on behalf of Creditor The Dugaboy Investment Trust bryan.assink@bondsellis.com

Bryan C. Assink
                              on behalf of Plaintiff James Dondero bryan.assink@bondsellis.com

Cameron A. Fine
                              on behalf of Defendant Hunter Mountain Investment Trust cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                              INVESTMENT TRUST cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross-Claimant Hunter Mountain Investment Trust cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant STRAND ADVISORS INC cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                              INVESTMENT TRUST cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant GET GOOD TRUST AND GRANT JAMES SCOTT III AS TRUSTEE OF GET GOOD TRUST
                              cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant James D. Dondero cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross-Claimant RAND PE FUND I LP, SERIES 1 cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant RAND PE FUND I LP, SERIES 1 cameron.fine@us.dlapiper.com

Candice Marie Carson
                              on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Interested Party UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Interested Party UBS Securities LLC Candice.Carson@butlersnow.com

Chad D. Timmons
                              on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR bankruptcy@abernathy-law.com

Charles Martin Persons, Jr.
                              on behalf of Creditor Committee Official Committee of Unsecured Creditors cpersons@sidley.com
                              txefilingnotice@sidley.com;charles-persons-5722@ecf.pacerpro.com

Charles W. Gameros, Jr.
                              on behalf of Creditor HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) bgameros@legaltexas.com,
                              lmilam@legaltexas.com;jrauch@legaltexas.com;wcarvell@legaltexas.com

Charles W. Gameros, Jr.
                              on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC bgameros@legaltexas.com
                              lmilam@legaltexas.com;jrauch@legaltexas.com;wcarvell@legaltexas.com

Christopher Andrew Bailey
                              on behalf of Creditor Jessup Holdings LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Stonehill Capital Management LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Farallon Capital Management LLC Christopher.Bailey@hklaw.com, hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Muck Holdings LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher J. Akin
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                            Document
                                  Certificate
                                     1-1 Filedof Notice
                                                   09/15/23
                                                         Page 8
                                                              Page
                                                                of 23235 of 678 PageID 241
District/off: 0539-3                                       User: admin                                                            Page 6 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          on behalf of Defendant Isaac Leventon cakin@lynnllp.com cbaker@lynnllp.com

Christopher J. Akin
                          on behalf of Defendant Scott Ellington cakin@lynnllp.com cbaker@lynnllp.com

Clay M. Taylor
                          on behalf of Interested Party James Dondero clay.taylor@bondsellis.com linda.gordon@bondsellis.com

Clay M. Taylor
                          on behalf of Plaintiff James Dondero clay.taylor@bondsellis.com linda.gordon@bondsellis.com

Cortney C. Thomas
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #2 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 AND LAWRENCE TONOMURA
                          AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant Mark Okada cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party Okada Family Foundation Inc. cort@brownfoxlaw.com, korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2 AND LAWRENCE TONOMURA
                          IN HIS CAPACITY AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2
                          cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party The Okada Insurance Rabbi Trust cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party Mark Okada cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #1 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Daniel P. Winikka
                          on behalf of Interested Party Jack Yang dan@danwinlaw.com dan@danwinlaw.com

Daniel P. Winikka
                          on behalf of Interested Party Brad Borud dan@danwinlaw.com dan@danwinlaw.com

David G. Adams
                          on behalf of Creditor United States (IRS) david.g.adams@usdoj.gov southwestern.taxcivil@usdoj.gov;dolores.c.lopez@usdoj.gov

David Grant Crooks
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors dcrooks@foxrothschild.com
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

David Grant Crooks
                          on behalf of Creditor PensionDanmark Pensionsforsikringsaktieselskab dcrooks@foxrothschild.com
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

David Grant Crooks
                          on behalf of Debtor Highland Capital Management L.P. dcrooks@foxrothschild.com,
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

Davor Rukavina
                          on behalf of Defendant NexPoint Advisors L.P. drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Healthcare Opportunities Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party NexPoint Real Estate Strategies Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Global Allocation Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Funds I and its series drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party NexPoint Strategic Opportunities Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Merger Arbitrage Fund drukavina@munsch.com
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 9
                                                             Page
                                                               of 23236 of 678 PageID 242
District/off: 0539-3                                          User: admin                                                          Page 7 of 21
Date Rcvd: May 23, 2023                                       Form ID: pdf012                                                     Total Noticed: 1
Davor Rukavina
                             on behalf of Interested Party Highland Total Return Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Socially Responsible Equity Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party NexPoint Capital Inc. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant NexPoint Strategic Opportunities Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Small-Cap Equity Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant Highland Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party NexPoint Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant NexPoint Capital Inc. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Fixed Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Opportunistic Credit Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Funds II and its series drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland/iBoxx Senior Loan ETF drukavina@munsch.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Nancy Dondero deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Highland Capital Management Services Inc. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Highland Capital Management Fund Advisors L.P. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Plaintiff Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Plaintiff Hunter Mountain Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant NexPoint Advisors L.P. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Creditor The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Witness Nancy Dondero deborah.deitschperez@stinson.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 10
                                                              Page
                                                                of 23
                                                                    237 of 678 PageID 243
District/off: 0539-3                                         User: admin                                                            Page 8 of 21
Date Rcvd: May 23, 2023                                      Form ID: pdf012                                                       Total Noticed: 1
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Interested Party Highland CLO Management Ltd deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Debra A Dandeneau
                             on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon debra.dandeneau@bakermckenzie.com,
                             blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Frank Waterhouse debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Isaac Leventon debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Interested Party CPCM LLC debra.dandeneau@bakermckenzie.com, blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant CPCM LLC debra.dandeneau@bakermckenzie.com, blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Scott Ellington debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Dennis M. Twomey
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors dtwomey@sidley.com

Donna K. Webb
                             on behalf of Creditor Pension Benefit Guaranty Corporation donna.webb@usdoj.gov
                             brian.stoltz@usdoj.gov;CaseView.ECF@usdoj.gov;brooke.lewis@usdoj.gov

Douglas J. Schneller
                             on behalf of Creditor Contrarian Funds LLC douglas.schneller@rimonlaw.com

Douglas S. Draper
                             on behalf of Creditor The Get Good Non Exempt Trust No 2 ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Better Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Canis Minor Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Good Non Exempt Trust No 1 ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor The Dondero Insurance Rabbi Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Good Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Dana Scott Breault ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor SLHC Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Defendant The Get Good Nonexempt Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor The Dugaboy Investment Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 11
                                                             Page
                                                               of 23
                                                                   238 of 678 PageID 244
District/off: 0539-3                                       User: admin                                                             Page 9 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                        Total Noticed: 1
Douglas S. Draper
                          on behalf of Creditor Dolomiti LLC ddraper@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Edmon L. Morton
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors emorton@ycst.com

Edward J. Leen
                          on behalf of Creditor Jessup Holdings LLC eleen@mkbllp.com

Edwin Paul Keiffer
                          on behalf of Creditor Beacon Mountain LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Atlas IDF GP, LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand PE Fund Management LLC pkeiffer@romclaw.com,
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Defendant Hunter Mountain Investment Trust pkeiffer@romclaw.com
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Atlas IDF LP pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Hunter Mountain Investment Trust pkeiffer@romclaw.com
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand PE Fund I LP pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor John Honis pkeiffer@romclaw.com bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Interested Party Hunter Mountain Trust pkeiffer@romclaw.com bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand Advisors LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Elizabeth Weller
                          on behalf of Creditor Fannin CAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Grayson County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Dallas County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Coleman County TAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Allen ISD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Irving ISD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Tarrant County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Rockwall CAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Kaufman County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Upshur County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Eric A. Soderlund
                          on behalf of Interested Party CPCM LLC eric.soderlund@rsbfirm.com

Eric A. Soderlund
                          on behalf of Interested Party Former Employees eric.soderlund@rsbfirm.com

Eric A. Soderlund
                          on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon eric.soderlund@rsbfirm.com

Eric A. Soderlund
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 12
                                                             Page
                                                               of 23
                                                                   239 of 678 PageID 245
District/off: 0539-3                                        User: admin                                                             Page 10 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                         Total Noticed: 1
                          on behalf of Creditor Frank Waterhouse Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter Covitz and Thomas Surgent
                          eric.soderlund@rsbfirm.com

Eric Thomas Haitz
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC ehaitz@gibsondunn.com, skoller@gibsondunn.com

Frances Anne Smith
                          on behalf of Interested Party CPCM LLC frances.smith@rsbfirm.com, michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Plaintiff Scott Byron Ellington frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Frank Waterhouse frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Interested Party Former Employees frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Interested Party Matthew DiOrio Scott Ellington, Isaac Leventon, Mary Kathryn Lucas (nee Irving), John Paul
                          Sevilla, Stephanie Vitiello, and Frank Waterhouse frances.smith@rsbfirm.com, michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Scott Ellington frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon frances.smith@rsbfirm.com,
                          michael.coulombe@rsbfirm.com

Gregory Getty Hesse
                          on behalf of Spec. Counsel Hunton Andrews Kurth LLP ghesse@huntonak.com
                          kkirk@huntonak.com;tcanada@HuntonAK.com;creeves@HuntonAK.com

Gregory V. Demo
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors gdemo@pszjlaw.com
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Defendant Highland Capital Management LP gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Debtor Highland Capital Management L.P. gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Defendant Highland Capital Management L.P. gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Greta M. Brouphy
                          on behalf of Creditor The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com

Greta M. Brouphy
                          on behalf of Defendant The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com

Greta M. Brouphy
                          on behalf of Creditor Get Good Trust gbrouphy@hellerdraper.com dhepting@hellerdraper.com;vgamble@hellerdraper.com

Hayley R. Winograd
                          on behalf of Defendant Highland Capital Management LP hwinograd@pszjlaw.com

Hayley R. Winograd
                          on behalf of Defendant Highland Capital Management L.P. hwinograd@pszjlaw.com

Hayley R. Winograd
                          on behalf of Debtor Highland Capital Management L.P. hwinograd@pszjlaw.com

Holland N. O'Neil
                          on behalf of Spec. Counsel Foley Gardere Foley & Lardner LLP honeil@foley.com,
                          jcharrison@foley.com;holly-holland-oneil-3540@ecf.pacerpro.com

J. Seth Moore
                          on behalf of Creditor Siepe LLC smoore@condontobin.com, jsteele@condontobin.com

Jaclyn C. Weissgerber
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bankfilings@ycst.com jweissgerber@ycst.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 13
                                                              Page
                                                                of 23
                                                                    240 of 678 PageID 246
District/off: 0539-3                                       User: admin                                                       Page 11 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                   Total Noticed: 1
Jason Bernstein
                          on behalf of Creditor BHH Equities LLC casey.doherty@dentons.com
                          dawn.brown@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com

Jason Bernstein
                          on behalf of Interested Party Jefferies LLC casey.doherty@dentons.com
                          dawn.brown@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com

Jason Alexander Enright
                          on behalf of Creditor Acis Capital Management L.P. jenright@winstead.com

Jason Alexander Enright
                          on behalf of Creditor Acis Capital Management GP LLC jenright@winstead.com

Jason Michael Hopkins
                          on behalf of Interested Party James Dondero jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant James D. Dondero jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                          INVESTMENT TRUST jason.hopkins@dlapiper.com, jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor The Dugaboy Investment Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant RAND PE FUND I LP, SERIES 1 jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor Strand Advisors Inc. jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant GET GOOD TRUST AND GRANT JAMES SCOTT III AS TRUSTEE OF GET GOOD TRUST
                          jason.hopkins@dlapiper.com, jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor Get Good Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant STRAND ADVISORS INC jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant Hunter Mountain Investment Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Patrick Kathman
                          on behalf of Creditor Patrick Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Paul Kauffman jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Defendant Patrick Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Todd Travers jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Defendant Patrick Hagaman Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Davis Deadman jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason S. Brookner
                          on behalf of Creditor Patrick Daugherty jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com

Jason S. Brookner
                          on behalf of Defendant Patrick Daugherty jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 14
                                                              Page
                                                                of 23
                                                                    241 of 678 PageID 247
District/off: 0539-3                                        User: admin                                                         Page 12 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                     Total Noticed: 1
Jason S. Brookner
                           on behalf of Creditor Gray Reed & McGraw LLP jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com

Jeff P. Prostok
                           on behalf of Creditor Acis Capital Management L.P. jprostok@forsheyprostok.com,
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Joshua Terry jprostok@forsheyprostok.com
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Jennifer G. Terry jprostok@forsheyprostok.com
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Acis Capital Management GP LLC jprostok@forsheyprostok.com,
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeffrey Kurtzman
                           on behalf of Creditor BET Investments II L.P. kurtzman@kurtzmansteady.com

Jeffrey Nathan Pomerantz
                           on behalf of Defendant Highland Capital Management L.P. jpomerantz@pszjlaw.com

Jeffrey Nathan Pomerantz
                           on behalf of Debtor Highland Capital Management L.P. jpomerantz@pszjlaw.com

John A. Morris
                           on behalf of Defendant Highland Capital Management L.P. jmorris@pszjlaw.com

John A. Morris
                           on behalf of Defendant Highland Capital Management LP jmorris@pszjlaw.com

John A. Morris
                           on behalf of Debtor Highland Capital Management L.P. jmorris@pszjlaw.com

John J. Kane
                           on behalf of Defendant CLO Holdco Ltd. jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Creditor Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John Kendrick Turner
                           on behalf of Creditor City of Allen john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Tarrant County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Fannin CAD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Irving ISD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Dallas County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Upshur County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Allen ISD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Kaufman County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor City of Richardson john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Grayson County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 15
                                                              Page
                                                                of 23
                                                                    242 of 678 PageID 248
District/off: 0539-3                                        User: admin                                                    Page 13 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                Total Noticed: 1
John Kendrick Turner
                          on behalf of Creditor Coleman County TAD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John T. Cox, III
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC tcox@gibsondunn.com,
                          WCassidy@gibsondunn.com;twesley@gibsondunn.com

Jonathan D. Sundheimer
                          on behalf of Creditor NWCC LLC jsundhimer@btlaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff PCMG Trading Partners XXIII LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff CLO Holdco Ltd. jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Interested Party CLO Holdco Ltd. jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff Charitable DAF Fund LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Interested Party Charitable DAF Fund LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Creditor CLO Holdco Ltd. jeb@sbaitilaw.com

Jordan A. Kroop
                          on behalf of Debtor Highland Capital Management L.P. jkroop@pszjlaw.com, tcorrea@pszjlaw.com

Joseph E. Bain
                          on behalf of Creditor Issuer Group JBain@joneswalker.com
                          kvrana@joneswalker.com;joseph-bain-8368@ecf.pacerpro.com;msalinas@joneswalker.com

Joshua Seth Levy
                          on behalf of Other Professional James P. Seery Jr. jlevy@willkie.com

Joshua Seth Levy
                          on behalf of Creditor James P. Seery Jr. jlevy@willkie.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Real Estate Strategies Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Opportunistic Credit Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Capital Inc. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Small-Cap Equity Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Healthcare Opportunities Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Merger Arbitrage Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Capital Inc. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Fixed Income Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland/iBoxx Senior Loan ETF jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Funds I and its series jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Advisors GP LLC jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Strategic Opportunities Fund jvasek@munsch.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 16
                                                              Page
                                                                of 23
                                                                    243 of 678 PageID 249
District/off: 0539-3                                        User: admin                                                   Page 14 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                               Total Noticed: 1
Julian Preston Vasek
                          on behalf of Interested Party NexPoint Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Socially Responsible Equity Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Global Allocation Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Total Return Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Strategic Opportunities Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Funds II and its series jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Income Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant Highland Income Fund jvasek@munsch.com

Juliana Hoffman
                          on behalf of Creditor Sidley Austin LLP jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Financial Advisor FTI Consulting Inc. jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Plaintiff Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Plaintiff Marc Kirschner jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Other Professional Teneo Capital LLC jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party UBS Securities LLC jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party UBS AG London Branch jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Debtor Highland Capital Management L.P. jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Kesha Tanabe
                          on behalf of Creditor Cedar Glade LP kesha@tanabelaw.com

Kevin Perkins
                          on behalf of Defendant MASSAND CAPITAL LLC kperkins@vanacourperkins.com

Kevin Perkins
                          on behalf of Defendant MASSAND CAPITAL INC. kperkins@vanacourperkins.com

Kimberly A. Posin
                          on behalf of Interested Party UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 17
                                                              Page
                                                                of 23
                                                                    244 of 678 PageID 250
District/off: 0539-3                                       User: admin                                                           Page 15 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          on behalf of Interested Party UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Kristin H. Jain
                          on behalf of Interested Party NexPoint Advisors L.P. KHJain@JainLaw.com, dskierski@skijain.com

Kristin H. Jain
                          on behalf of Interested Party NexPoint Real Estate Advisors L.P. KHJain@JainLaw.com, dskierski@skijain.com

Larry R. Boyd
                          on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR lboyd@abernathy-law.com
                          ljameson@abernathy-law.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Residential Trust Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Finance Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Eagle Equity Advisors LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Highland Capital Management Services Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party VineBrook Homes Trust, Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Partners LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party Nexpoint Real Estate Capital LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VIII L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VI L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors III L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Multifamily Capital Trust Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party MGM Holdings Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Securities Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Title Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Advisors Equity Group LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Hospitality Trust lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VII L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Capital Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors V L.P. lkdrawhorn@gmail.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 18
                                                              Page
                                                                of 23
                                                                    245 of 678 PageID 251
District/off: 0539-3                                        User: admin                                                      Page 16 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                  Total Noticed: 1
Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors IV L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors II L.P. lkdrawhorn@gmail.com

Laurie A Spindler
                          on behalf of Creditor Grayson County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Dallas County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Allen ISD Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Kaufman County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Tarrant County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor City of Allen Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor City of Richardson Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Irving ISD Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Leslie A. Collins
                          on behalf of Creditor The Dugaboy Investment Trust lcollins@hellerdraper.com

Leslie A. Collins
                          on behalf of Defendant The Dugaboy Investment Trust lcollins@hellerdraper.com

Leslie A. Collins
                          on behalf of Creditor Get Good Trust lcollins@hellerdraper.com

Linda D. Reece
                          on behalf of Creditor Plano ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor City of Garland lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor Wylie ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor Garland ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Lindsey Lee Robin
                          on behalf of Other Professional James P. Seery Jr. lrobin@reedsmith.com,
                          jkrasnic@reedsmith.com;anixon@reedsmith.com;ahinson@reedsmith.com

Lindsey Lee Robin
                          on behalf of Creditor James P. Seery Jr. lrobin@reedsmith.com,
                          jkrasnic@reedsmith.com;anixon@reedsmith.com;ahinson@reedsmith.com

Lisa L. Lambert
                          on behalf of U.S. Trustee United States Trustee lisa.l.lambert@usdoj.gov

Louis M. Phillips
                          on behalf of Creditor Charitable DAF HoldCo Ltd. louis.phillips@kellyhart.com,
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                          on behalf of Interested Party Mary Jalonick louis.phillips@kellyhart.com
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                          on behalf of Defendant Charitable DAF Fund LP louis.phillips@kellyhart.com,
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 19
                                                              Page
                                                                of 23
                                                                    246 of 678 PageID 252
District/off: 0539-3                                           User: admin                                                             Page 17 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                         Total Noticed: 1
                             on behalf of Defendant CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Santa Barbara Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Defendant Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Dallas Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Charitable DAF Fund LP louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Respondent Mark Patrick louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor The Charitable DAF Fund L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Charitable DAF GP L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Greater Kansas City Community Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Santa Barbara Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Kansas City Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Plaintiff CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Plaintiff Charitable DAF Fund LP louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Charitable DAF Fund L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Defendant CLO HOLDCO LTD.; CHARITABLE DAF HOLDCO, LTD. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Hunter Mountain Investment Trust louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

M. David Bryant, Jr.
                             on behalf of Interested Party Integrated Financial Associates Inc. dbryant@dykema.com, csmith@dykema.com

Margaret Michelle Hartmann
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 20
                                                             Page
                                                               of 23
                                                                   247 of 678 PageID 253
District/off: 0539-3                                           User: admin                                                        Page 18 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                    Total Noticed: 1
                             on behalf of Defendant Scott Ellington michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Interested Party CPCM LLC michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant Frank Waterhouse michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant CPCM LLC michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant Isaac Leventon michelle.hartmann@bakermckenzie.com

Mark Stancil
                             on behalf of Other Professional James P. Seery Jr. mstancil@robbinsrussell.com

Mark Stancil
                             on behalf of Creditor James P. Seery Jr. mstancil@robbinsrussell.com

Mark A. Platt
                             on behalf of Interested Party Redeemer Committee of the Highland Crusader Fund mplatt@fbtlaw.com
                             dwilliams@fbtlaw.com,mluna@fbtlaw.com

Martin A. Sosland
                             on behalf of Interested Party UBS AG London Branch martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Plaintiff UBS AG London Branch martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Interested Party UBS Securities LLC martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Plaintiff UBS Securities LLC martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Matthew Gold
                             on behalf of Creditor Argo Partners courts@argopartners.net

Matthew A. Clemente
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Matthew A. Clemente
                             on behalf of Interested Party Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Matthew G. Bouslog
                             on behalf of Interested Party Alvarez & Marsal CRF Management LLC, as Investment Manager of the Highland Crusader Funds
                             mbouslog@gibsondunn.com, nbrosman@gibsondunn.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff CLO Holdco Ltd. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party Charitable DAF Fund LP mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff PCMG Trading Partners XXIII LP mas@sbaitilaw.com
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party CLO Holdco Ltd. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Creditor The Charitable DAF Fund L.P. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff Charitable DAF Fund LP mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party The Charitable DAF Fund L.P. mas@sbaitilaw.com,
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 21
                                                              Page
                                                                of 23
                                                                    248 of 678 PageID 254
District/off: 0539-3                                       User: admin                                                           Page 19 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                          on behalf of Creditor CLO Holdco Ltd. mas@sbaitilaw.com,
                          krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Megan Young-John
                          on behalf of Creditor Issuer Group myoung-john@porterhedges.com

Megan F. Clontz
                          on behalf of Creditor Todd Travers mclontz@spencerfane.com lvargas@spencerfane.com

Megan F. Clontz
                          on behalf of Creditor Patrick Daugherty mclontz@spencerfane.com lvargas@spencerfane.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Debtor Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management LP MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael A. Rosenthal
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC mrosenthal@gibsondunn.com

Michael Justin Lang
                          on behalf of Interested Party James Dondero mlang@cwl.law aohlinger@cwl.law;mbrown@cwl.law

Michael P. Aigen
                          on behalf of Plaintiff Hunter Mountain Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Creditor The Dugaboy Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant James Dondero michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Plaintiff Dugaboy Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant NexPoint Advisors L.P. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Highland Capital Management Services Inc. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Creditor Hunter Mountain Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Nancy Dondero michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Interested Party Highland CLO Management Ltd michael.aigen@stinson.com

Michael Scott Held
                          on behalf of Creditor Crescent TC Investors L.P. mheld@jw.com, kgradney@jw.com;azuniga@jw.com

Michelle E. Shriro
                          on behalf of Interested Party California Public Employees Retirement System (CalPERS) mshriro@singerlevick.com
                          scotton@singerlevick.com;tguillory@singerlevick.com

Nicole Skolnekovich
                          on behalf of Interested Party Hunton Andrews Kurth LLP nskolnekovich@hunton.com
                          astowe@huntonak.com;creeves@huntonak.com

Omar Jesus Alaniz
                          on behalf of Other Professional James P. Seery Jr. oalaniz@reedsmith.com,
                          omar-alaniz-2648@ecf.pacerpro.com;jkrasnic@reedsmith.com;ahinson@reedsmith.com

Paige Holden Montgomery
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 22
                                                              Page
                                                                of 23
                                                                    249 of 678 PageID 255
District/off: 0539-3                                        User: admin                                                               Page 20 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                           Total Noticed: 1
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Plaintiff Marc Kirschner pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Interested Party Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Plaintiff Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
                          pmontgomery@sidley.com,
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paul M. Lopez
                          on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR bankruptcy@abernathy-law.com

Paul Richard Bessette
                          on behalf of Interested Party Highland CLO Funding Ltd. pbessette@KSLAW.com,
                          ccisneros@kslaw.com;jworsham@kslaw.com;kbryan@kslaw.com;jcarvalho@kslaw.com

Penny Packard Reid
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors preid@sidley.com
                          txefilingnotice@sidley.com;penny-reid-4098@ecf.pacerpro.com;ncade@sidley.com

Phillip L. Lamberson
                          on behalf of Creditor Acis Capital Management GP LLC plamberson@winstead.com

Phillip L. Lamberson
                          on behalf of Creditor Acis Capital Management L.P. plamberson@winstead.com

Rakhee V. Patel
                          on behalf of Creditor Acis Capital Management GP LLC rpatel@sidley.com, dgalindo@winstead.com;achiarello@winstead.com

Rakhee V. Patel
                          on behalf of Creditor Acis Capital Management L.P. rpatel@sidley.com, dgalindo@winstead.com;achiarello@winstead.com

Robert Joel Feinstein
                          on behalf of Debtor Highland Capital Management L.P. rfeinstein@pszjlaw.com

Robert Joel Feinstein
                          on behalf of Defendant Highland Capital Management LP rfeinstein@pszjlaw.com

Ryan E. Manns
                          on behalf of Interested Party UBS Securities LLC ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Interested Party UBS AG London Branch ryan.manns@nortonrosefulbright.com

Sarah A. Schultz
                          on behalf of Interested Party PetroCap LLC sschultz@akingump.com,
                          mstamer@akingump.com;afreeman@akingump.com;dkazlow@akingump.com;aqureshi@akingump.com;dkrasa-berstell@akingu
                          mp.com;bkemp@akingump.com;brenda-kemp-7410@ecf.pacerpro.com

Sawnie A. McEntire
                          on behalf of Interested Party Hunter Mountain Trust smcentire@pmmlaw.com
                          gromero@pmmlaw.com;tmiller@pmmlaw.com;bcandis@pmmlaw.com

Sawnie A. McEntire
                          on behalf of Creditor Hunter Mountain Investment Trust smcentire@pmmlaw.com
                          gromero@pmmlaw.com;tmiller@pmmlaw.com;bcandis@pmmlaw.com

Sean M. Beach
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bankfilings@ycst.com sbeach@ycst.com

Shawn M Bates
                          on behalf of Creditor Acis Capital Management L.P. sbates@azalaw.com, tbyrd@azalaw.com

Shawn M. Christianson
                          on behalf of Creditor Oracle America Inc. schristianson@buchalter.com, cmcintire@buchalter.com

Susheel Kirpalani
                          on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 23
                                                              Page
                                                                of 23
                                                                    250 of 678 PageID 256
District/off: 0539-3                                        User: admin                                                             Page 21 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                         Total Noticed: 1
                          susheelkirpalani@quinnemanuel.com, dian.gwinnup@haynesboone.com

Suzanne K. Rosen
                          on behalf of Creditor Acis Capital Management GP LLC srosen@forsheyprostok.com,
                          calendar@forsheyprostok.com;srosen@ecf.courtdrive.com;calendar_0573@ecf.courtdrive.com;khartogh@forsheyprostok.com;kh
                          artogh@ecf.courtdrive.com

Suzanne K. Rosen
                          on behalf of Creditor Acis Capital Management L.P. srosen@forsheyprostok.com,
                          calendar@forsheyprostok.com;srosen@ecf.courtdrive.com;calendar_0573@ecf.courtdrive.com;khartogh@forsheyprostok.com;kh
                          artogh@ecf.courtdrive.com

Thomas Albert Cooke
                          on behalf of Creditor Acis Capital Management L.P. tcooke@azalaw.com, mflores@azalaw.com

Thomas C. Scannell
                          on behalf of Interested Party Sentinel Reinsurance Ltd. tscannell@foley.com
                          acordero@foley.com;thomas-scannell-3441@ecf.pacerpro.com

Thomas Daniel Berghman
                          on behalf of Interested Party NexPoint Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Defendant NexPoint Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas G. Haskins, Jr.
                          on behalf of Creditor NWCC LLC thaskins@btlaw.com

Thomas M. Melsheimer
                          on behalf of Creditor Frank Waterhouse Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter Covitz and Thomas Surgent
                          tmelsheimer@winston.com, tom-melsheimer-7823@ecf.pacerpro.com

United States Trustee
                          ustpregion06.da.ecf@usdoj.gov

Vickie L. Driver
                          on behalf of Creditor HarbourVest et al Vickie.Driver@crowedunlevy.com
                          crissie.stephenson@crowedunlevy.com;elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

William R. Howell, Jr.
                          on behalf of Defendant James D. Dondero williamhowell@utexas.edu williamhowell@utexas.edu

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management LP zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Hayward PLLC zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Highland Claimant Trust zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Debtor Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Hayward & Associates PLLC zannable@haywardfirm.com


TOTAL: 476
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 251 of 678   PageID 257




                       Exhibit 6
     Case 19-34054-sgj11 Doc 3800 Filed 05/26/23 Entered 05/26/23 14:33:34 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 2Page 252 of 678 PageID 258




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 26, 2023
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                 §
      In re:                                                         Chapter 11
                                                                 §
                                                                 §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                 §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.         §
                                                                 §


     ORDER REGARDING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
         MOTION FOR EXPEDITED DISCOVERY OR, ALTERNATIVELY, FOR
                 CONTINUANCE OF THE JUNE 8, 2023 HEARING
                                        [Dkt. Nos. 3788 and 3791]


               Having considered the Emergency Motion for Expedited Discovery or, Alternatively, for

     Continuance of the June 8, 2023 Hearing of Hunter Mountain Investment Trust (“HMIT”) filed

     on May 24, 2023, at Dkt. No. 3788 (“Motion for Expedited Discovery”), and, separately, on May

     25, 2023, at Dkt. No. 3791 (“Motion for Continuance,” and, together with the Motion for

     Expedited Discovery, the “Motions”), and the arguments of counsel at the emergency hearing on

     the Motions held on Friday May 26, 2023, at 9:30 a.m.,

                                                     1
  Case 19-34054-sgj11 Doc 3800 Filed 05/26/23 Entered 05/26/23 14:33:34 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 2Page 253 of 678 PageID 259



        IT IS ORDERED that the Motion for Continuance be, and hereby is, DENIED;

        IT IS FURTHER ORDERED that the Motion for Expedited Discovery be, and hereby

 is, GRANTED, in part and only to the extent as set forth below:

    (1) To the extent any party would like to depose either James P. Seery, Jr. or James Dondero

        in advance of the June 8 hearing (“June 8 Hearing”) on HMIT’s Emergency Motion for

        Leave to File Verified Adversary Proceeding [Dkt. No. 3699] and Supplement to

        Emergency Motion for Leave to File Verified Adversary Proceeding [Dkt. 3760] (together,

        the “Motion for Leave”), Mr. Seery and Mr. Dondero shall be made available for

        depositions (“Depositions”) on a date and at a time agreeable to the parties that is no earlier

        than May 31, 2023, and no later than June 7, 2023, and no discovery or depositions of any

        other party or witness will be permitted prior to the June 8 hearing; and

    (2) None of the parties shall be entitled to any other discovery, including the production of

        documents from Mr. Seery or Mr. Dondero, or any other party or witness pursuant to a

        subpoena duces tecum, or otherwise, prior to the conduct of the Depositions or to the

        court’s ruling on the Motion for Leave following the June 8, 2023 hearing;

        IT IS FURTHER ORDERED that, except as specifically set forth in this Order, HMIT’s

 Motion for Expedited Discovery be, and hereby is, DENIED.

                                   # # # END OF ORDER # # #




                                                  2
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 254 of 678   PageID 260




                       Exhibit 7
     Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
   Case 3:23-cv-02071-E Document
                           Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 16
                                                        Page 255 of 678 PageID 261




The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 16, 2023
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                                     §
                                                                 §   Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                         §
                                                                 §   Case No. 19-34054-sgj11
                                    Reorganized Debtor.          §
                                                                 §


           MEMORANDUM OPINION AND ORDER GRANTING JOINT MOTION TO
                    EXCLUDE EXPERT EVIDENCE [DE # 3820]


               I.    INTRODUCTION.

               BEFORE THIS COURT is yet another dispute in the continuing saga of the Chapter 11

     bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).

               The Reorganized Debtor has been operating under a confirmed Chapter 11 plan for

     approximately two years now—a plan having been confirmed on February 22, 2021. The plan

     was never stayed; it went effective in August 2021; and it was affirmed almost in its entirety by



                                                    1
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 16
                                                     Page 256 of 678 PageID 262



 the United States Court of Appeals for the Fifth Circuit (in late summer 2022). A petition for writ

 of certiorari regarding the plan confirmation order has been pending at the United States Supreme

 Court since January 2023. Millions of dollars have been paid out to creditors under the plan,

 although the plan has not been completed.

        This court uses the words “continuing saga” because there is a mountain of litigation that

 is still pending. First, there are numerous adversary proceedings still pending, in which the

 Reorganized Debtor and a Litigation Trustee appointed under the plan are seeking to liquidate

 claims that Highland has against others, in order to augment the pot of money available for

 unsecured creditors. Some of these adversary proceedings involve what seem like simple suits on

 promissory notes (albeit very large promissory notes), and others involve highly complex torts.

 There are numerous appeals pending and, from time to time, petitions for writs of mandamus have

 been filed post-confirmation. And there are new lawsuits popping up around every corner it seems.

        To be sure, this post-confirmation litigation is not the “usual stuff,” and the adverse parties

 in this ongoing post-confirmation litigation are not the “usual suspects.” For example, the

 numerous post-confirmation adversary proceedings do not involve preference lawsuits or other

 Chapter 5 avoidance actions against non-insider creditors—as we so often see proliferate in

 Chapter 11 cases post-confirmation. And we do not have long-running proof of claim objections

 pending post-confirmation—because all of the proof of claim objections regarding non-insider

 creditors were resolved long ago (with major compromises reached and settlements approved by

 the court—some after formal mediation). And as for the myriad appeals, the non-insider creditors

 in this case—with proofs of claim asserted in the hundreds of millions of dollars—overwhelmingly

 supported Highland’s confirmed plan and, therefore, they have not been appellants on any of the

 aforementioned appeals.

                                                  2
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 16
                                                     Page 257 of 678 PageID 263



        So who has been the adverse party in this deluge of post-confirmation litigation? The

 founder and former Chief Executive Officer (“CEO”) of Highland, Mr. James Dondero personally,

 and entities that he controls (e.g., family trusts; investment advisory firms; managed funds; and

 other entities—frequently organized offshore—that were not themselves debtors in the Highland

 Chapter 11 case but assert party-in-interest status in various capacities). To be clear, Mr. Dondero

 takes umbrage at the suggestion that all of the adverse parties in these numerous post-confirmation

 scuffles are controlled by him.

        Which brings us to the current, post-confirmation contested matter before the court.

 Currently, a party called Hunter Mountain Investment Trust (“HMIT”), a Delaware trust, has filed

 a “gatekeeper motion”—that is, a motion seeking leave from this court to file an adversary

 proceeding in the bankruptcy court against the Reorganized Debtor’s CEO and certain investors

 who purchased allowed unsecured claims in this case post-confirmation and pre-Effective Date (as

 further described below). HMIT’s gatekeeper motion has given birth to a sideshow, so to speak,

 regarding what, if any, evidence the court ought to consider in connection with HMIT’s

 gatekeeper motion—the latest “act” in such sideshow focusing on the propriety of considering

 expert testimony.

        Who or what exactly is HMIT? HMIT is an entity with no employees and no income whose

 only asset is a contingent right of recovery under the Highland confirmed plan—by virtue of HMIT

 having held a majority (99.5%) of the limited partnership interests in Highland pre-confirmation,

 which interests were classified in the plan in a “Class 10” (that was projected to receive no

 recovery). Mr. Dondero asserts that he does not control HMIT. HMIT represents that, since on or

 about August 2022, it has been solely controlled by a Mr. Mark Patrick (a former employee of

 Highland who left Highland one week after its Plan was confirmed and went to work for an entity

                                                  3
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 16
                                                     Page 258 of 678 PageID 264



 called “Skyview Group,” that was formed by certain former Highland employees, and apparently

 now advises various affiliate entities of Mr. Dondero). 1 While HMIT only has one asset (the “Class

 10” contingent interest), Mark Patrick has testified that HMIT is liable on a $62.6 million-dollar

 indebtedness that it owes to The Dugaboy Investment Trust (a family trust of which Mr. Dondero

 is the lifetime beneficiary), pursuant to a promissory note made by HMIT in favor of Dugaboy, in

 2015, in exchange for Dugaboy transferring to HMIT an ownership interest in Highland. See

 Transcript 6/8/23 Hearing, at pp. 304-308 [DE # 3843]. See also Highland Exh. 51 from 6/8/23

 Hearing [DE # 3817]. Mr. Patrick has testified that Dugaboy and HMIT have a settlement,

 pursuant to which, Dugaboy is paying HMIT’s attorney’s fees. Transcript 6/8/23 Hearing, at p. at

 313:2-18 [DE # 3843].

            II.      HMIT’S MOTION FOR LEAVE TO FILE LAWSUIT (a.k.a. THE
                     “GATEKEEPER MOTION”).


            To understand the procedural motion now before the court—which deals with whether or

 not the bankruptcy court should allow or exclude expert witness testimony and documents (more

 fully described below)—one must understand the context in which it is being considered, which is

 the hearing on HMIT’s Emergency Motion for Leave to File Verified Adversary Proceeding that

 was filed by HMIT (the “HMIT Motion for Leave”), which this court loosely refers to sometimes

 as the “Gatekeeping Motion.”

            The HMIT Motion for Leave, as alluded to, requests leave from the bankruptcy court to

 file a post-confirmation, post-Effective Date adversary proceeding pursuant to this bankruptcy

 court’s “gatekeeping” orders and, specifically, the gatekeeping, injunction, and exculpation




 1
     See DE # 2440 (Transcript of a 6/8/21 Hearing, at pp. 95:18-96:10).

                                                            4
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 5 of 16
                                                     Page 259 of 678 PageID 265



 provisions of the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

 [DE # 1943], as modified (the “Plan”). The HMIT Motion for Leave, with attachments, as first

 filed, was 387 pages in length, and the attachments included a proposed complaint and two sworn

 declarations of the aforementioned former CEO of the Reorganized Debtor, Mr. Dondero. The

 HMIT Motion for Leave was later amended to eliminate the declarations of Mr. Dondero. DE ##

 3815 & 3816. In a nutshell, HMIT desires leave to sue certain parties regarding the post-

 confirmation, pre-Effective Date purchase of allowed unsecured claims.           The proposed

 defendants would be:

               Mr. James P. Seery, Jr., who now serves as the CEO of the Reorganized
        Debtor and also serves as the Trustee of the Highland Claimant Trust created
        pursuant to the Plan, and also was previously Highland’s Chief Restructuring
        Officer (“CRO”) during the case, then CEO, and, also, an Independent Board
        Member of Highland’s general partner during the Highland case. Mr. Seery is best
        understood as the man who took Mr. Dondero’s place running Highland—per the
        request of the Official Unsecured Creditors Committee.
                Certain Claims Purchasers, known as Farallon Capital Management, LLC
        (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
        created by Farallon to purchase unsecured claims against Highland; Stonehill
        Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
        which was a special purpose entity created by Stonehill to purchase unsecured
        claims against Highland (collectively, the “Claims Purchasers”). The Claims
        Purchasers purchased $240 million face value of unsecured claims post-
        confirmation and pre-Effective Date—which claims had already been allowed
        during the Highland case—in the spring of 2021 and another $125 million face
        value allowed unsecured claims in August 2021. Bankruptcy Rule 3001(e)
        notices—giving notice of same—were filed on the bankruptcy clerk’s docket
        regarding these purchases. The claims had previously been held by the creditors
        known as the Crusader Redeemer Committee, Acis Capital, HarbourVest, and UBS
        (three of these four creditors formerly served on the Official Unsecured Creditors
        Committee during the Highland bankruptcy case).
               John Doe Defendant Nos. 1-10, which are described to be “currently
        unknown individuals or business entities who may be identified in discovery as
        involved in the wrongful transactions at issue.”
               The proposed plaintiffs would be:
              HMIT, which represents that it was the largest equity holder in Highland
        and held a 99.5% limited partnership interest (specifically, Class B/C limited
                                                5
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 6 of 16
                                                     Page 260 of 678 PageID 266



        partnership interests). HMIT represents that it currently holds a Class 10 interest
        under the confirmed Highland plan, which gives it a contingent interest in the
        Claimant Trust created under the plan, and as defined in the Claimant Trust
        Agreement (“CTA”).
              Reorganized Debtor, as a nominal party. HMIT wishes to bring its
        complaint on behalf of itself and derivatively on behalf of the Reorganized Debtor.
               Highland Claimant Trust, as a nominal party. HMIT wishes to bring its
        complaint on behalf of itself and derivatively on behalf of the Highland Claimant
        Trust.


        The gist of the complaint that HMIT seeks leave to file is as follows. HMIT asserts that

 something seems amiss regarding the post-confirmation/pre-Effective Date purchase of claims by

 the Claims Purchasers. Actually, more bluntly, HMIT asserts that “wrongful conduct occurred”

 and “improper trades” were made. HMIT Motion for Leave, 7. HMIT believes the Claim

 Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

 HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

 funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

 Statement and Plan projections regarding the projected distributions under the Plan to holders of

 allowed unsecured claims. Also, Mr. Dondero purports to have concluded from conversations he

 had with representatives of one of the Claims Purchasers that they did no due diligence before

 purchasing the claims. Therefore, HMIT surmises, Mr. Seery must have given these claims

 purchasers material nonpublic information (“MNPI”) regarding Highland that convinced them that

 it was to their economic advantage to purchase the claims. In particular, HMIT surmises Mr. Seery

 shared MNPI regarding the likely imminent sale of Metro-Goldwyn-Mayer Studios, Inc.

 (“MGM”), in which Highland had, directly and indirectly, substantial holdings. Indeed, MGM

 was ultimately purchased by Amazon after a sale process that had been quite publicly discussed in




                                                6
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 7 of 16
                                                     Page 261 of 678 PageID 267



 media reports for several months 2 and that was officially announced to the public in late May 2021

 (just a few weeks after the Claims Purchasers purchased some of their claims, but a few months

 before certain of their claims—the UBS claims—were purchased). 3 Note that Highland and

 entities it controlled tendered their MGM holdings in connection with the Amazon transaction

 (they did not sell their holdings while the MGM-Amazon deal was under discussion and/or not

 made public). In summary, while HMIT’s proposed complaint is lengthy and at times hard to

 follow, it boils down to allegations that: (a) Mr. Seery filed (or caused to be filed) deflated,

 pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

 the Plan, (b) then induced very sophisticated unsecured creditors (who, incidentally, are not

 complaining) to discount and sell their claims to the likewise very sophisticated Claims Purchasers,

 (c) which Claims Purchasers are allegedly friendly with Mr. Seery, and are now happily approving

 Mr. Seery’s allegedly excessive compensation demands post-Effective Date (resulting in less

 money in the pot to pay off the creditor body in full, and, thus, a diminished likelihood that HMIT

 will realize any recovery on its contingent Class 10 interest). HMIT argues that Mr. Seery should

 be required to disgorge his compensation. It appears that HMIT also seeks other damages.

          The individual counts that HMIT wants to allege are:

                   I.       Breach of Fiduciary Duty (as to Mr. Seery)



 2
   See Highland Exh. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
 . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
 Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
 (article dated 1/26/20); Highland Exh. 26 (describing prospects of an MGM sale noting that, among its largest
 shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exhs. 27-30
 & 34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
 announcing sale to Amazon on May 26, 2021, for $8.4 billion).

 3
  The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.

                                                           7
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 8 of 16
                                                     Page 262 of 678 PageID 268



                   II.      Breach of Fiduciary Duty and Knowing Participation in Breach of
                            Fiduciary Duty (as to Claims Purchasers)
                   III.     Fraud by Misrepresentation and Material Nondisclosure (as to all
                            proposed defendants) 4
                   IV.      Conspiracy (as to all proposed defendants)
                   V.       Equitable Disallowance (as to Muck and Jessup)
                   VI.      Unjust Enrichment and Constructive Trust (as to all proposed
                            defendants)
                   V.       Declaratory Judgment (as to all proposed defendants)


          III. NEXT, THE DELUGE OF ACTIVITY, IN MULTIPLE COURTS, AFTER
          THE FILING OF THE HMIT MOTION FOR LEAVE.


          After the HMIT Motion for Leave was filed on March 28, 2023, there was two-and-a-half

 months of activity regarding what type of hearing the bankruptcy court would hold and when on

 the HMIT Motion for Leave. A timeline is set forth below.

         3/28/23: The HMIT Motion for Leave was filed, along with a request for emergency
 hearing on same. DE ## 3699 & 3700. HMIT requested that the court schedule a hearing on the
 motion “on three (3) days’ notice, and that any responses be filed no later than twenty-four hours
 before the scheduled hearing sought.” DE # 3700, 2. The HMIT Motion for Leave was 37 pages
 in length, plus another 350 pages of supporting exhibits, including two sworn declarations of Mr.
 Dondero.
         3/31/23: Bankruptcy Court entered order denying an emergency hearing on the HMIT
 Motion for Leave. DE # 3713. The court stated that it would set the hearing on normal notice (at
 least 21 days’ notice), seeing no emergency.
         4/4/23-4/12/23: HMIT pursued an unsuccessful interlocutory appeal and then a petition
 for writ of mandamus regarding the Bankruptcy Court’s denial of an emergency hearing at first the
 District Court and then the Fifth Circuit.
        4/13/23: Highland filed a motion asking the Bankruptcy Court to set a briefing schedule
 on the HMIT Motion for Leave, indicating that Highland’s proposed timetable for same was
 opposed by HMIT. DE # 3738. The Claims Purchaser and Mr. Seery joined in that motion. DE
 ## 3740 & 3747. HMIT subsequently filed a response unopposed to a briefing schedule and status
 conference. DE # 3748.

 4
  This Count III has gone in and out of the various drafts HMIT has filed with the court and was included in the latest
 version of the proposed complaint that was filed at DE # 3816.

                                                           8
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 9 of 16
                                                     Page 263 of 678 PageID 269



        4/21/23: HMIT filed a Brief [DE # 3758] before the status conference indicating it was
 opposed to there being any evidence at the ultimate hearing on the HMIT Motion for Leave—
 arguing the Bankruptcy Court did not need evidence in order to exercise its gatekeeping function
 and determine if HMIT has a “colorable” claim. Rather, the court need only engage in a Rule
 12(b)(6)-type plausibility analysis.
        4/24/23: The Bankruptcy Court held a status/scheduling conference; there was extensive
 discussion among all the parties regarding what type of hearing there needed to be on the HMIT
 Motion for Leave. HMIT was adamant there should be no evidence. Highland and Mr. Seery
 argued they ought to be able to cross-examine Mr. Dondero since his sworn declarations had been
 attached to the HMIT Motion for Leave as “objective evidence” that “supported” the HMIT
 Motion for Leave. DE #3699, p. 2. HMIT stated that it would withdraw Mr. Dondero’s
 declarations, but not if the court was going to allow evidence.
         5/11/23: Bankruptcy Court entered Order [DE # 3781] fixing a briefing schedule for the
 parties and stating that the court would “advise the parties on or reasonably after May 18, 2023,
 whether the Court intend[ed] to conduct the hearing on an evidentiary basis.”
         5/22/23: Bankruptcy Court issued an Order [DE # 3787] after receipt of briefing, stating
 that “the court has determined that there may be mixed questions of fact and law implicated by the
 Motion for Leave—and, in particular, pertaining to the court’s required inquiry into whether
 ‘colorable’ claims may exist, as described in the Motion for Leave. Therefore, the parties will be
 permitted to present evidence (including witness testimony) at the June 8, 2023 hearing if they so
 choose. This may include examining any witness for whom a Declaration or Affidavit has already
 been filed. The parties will be allowed no more than three hours of presentation time each
 (allocated three hours to the movant and three hours to the aggregate respondents). This allocated
 presentation time may be spent in whatever manner the parties believe will be useful to the court
 (argument/evidence).”
          5/24/23: HMIT filed an emergency motion for expedited discovery or alternatively for
 continuance of the June 8, 2023 hearing. [DE # 3788 & 3789]. HMIT continued to urge that it did
 not think presentation of evidence was appropriate in connection with the HMIT Motion for Leave,
 but that “subject to and without waiving its objections, HMIT requests immediate leave to obtain
 all of its requested discovery on or before the specific dates identified in each deposition notice
 (with duces tecum), failing which the hearing on HMIT’s Motion for Leave should be continued
 until HMIT has obtained such discovery. The requested discovery is generally described in this
 Motion, but is set forth with particularity in the Deposition Notices with Duces Tecum attached as
 Exhibits A-E. [paragraph numbering omitted.] In summary, HMIT seeks expedited depositions of
 corporate representatives of Farallon Capital Management, LLC (“Farallon”), Stonehill Capital
 Management, LLC (“Stonehill”), Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC
 (“Jessup”) and also seeks the deposition of James A. Seery, Jr. (“Seery”).” Deposition Notices
 were attached for each of these five parties. Nothing was stated about a possible need for (or
 intention to present) expert testimony.
        5/26/23: The Bankruptcy Court held yet another status conference in response to HMIT’s
 newest emergency motion. The Bankruptcy Court referred to this as a “second hearing on what
 kind of hearing we were going to have” on the HMIT Motion for Leave. The court heard more
 discussions on whether it was appropriate to consider evidence at the hearing on the HMIT Motion
 for Leave. Nothing was mentioned about possible experts. The court, continuing to believe that
                                                 9
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 10 of 16
                                                    Page 264 of 678 PageID 270



 there could be mixed questions of fact and law inherent in deciding the HMIT Motion for Leave,
 granted in part and denied in part HMIT’s request for expedited discovery it sought of Mr. Seery
 and the Claims Purchasers. The Bankruptcy Court issued a follow-up order [DE # 3800] that
 provided: “(1) To the extent any party would like to depose either James P. Seery, Jr. or James
 Dondero in advance of the June 8 hearing (“June 8 Hearing”) on HMIT’s Emergency Motion for
 Leave to File Verified Adversary Proceeding [Dkt. No. 3699] and Supplement to Emergency
 Motion for Leave to File Verified Adversary Proceeding [Dkt. 3760] (together, the “Motion for
 Leave”), Mr. Seery and Mr. Dondero shall be made available for depositions (“Depositions”) on a
 date and at a time agreeable to the parties that is no earlier than May 31, 2023, and no later than
 June 7, 2023, and no discovery or depositions of any other party or witness will be permitted prior
 to the June 8 hearing; and (2) None of the parties shall be entitled to any other discovery, including
 the production of documents from Mr. Seery or Mr. Dondero, or any other party or witness
 pursuant to a subpoena duces tecum, or otherwise, prior to the conduct of the Depositions or to the
 court’s ruling on the Motion for Leave following the June 8, 2023 hearing” The Bankruptcy Court
 issued this ruling with the expectation—based on everything it heard—that HMIT did not wish for
 the court to consider evidence but, if it did, it thought it should get to depose Mr. Seery and the
 Claims Purchasers. The court reached what seemed like appropriate middle ground by allowing
 the deposition of Mr. Seery and allowing the other parties to depose Mr. Dondero (for whom sworn
 declarations had been submitted), but the court was not going to allow any more discovery (i.e.,
 of the Claims Purchasers) at so late an hour. The court was aware that HMIT and Mr. Dondero
 had been seeking discovery from the Claims Purchasers in state court “Rule 202” proceedings for
 approximately two years.
        June 5, 2023 (10:10 pm): HMIT filed its Witness and Exhibit List disclosing two potential
 expert witnesses (along with biographical information and a disclosure regarding the subject
 matter of their likely testimony).
         June 7, 2023 (4:07 pm): A Joint Motion to Exclude Expert Testimony and Documents
 was filed by Highland, Mr. Seery, and the Highland Claimant Trust (“Motion to Exclude Expert
 Evidence”).
       June 8, 2023 (8:12 am): HMIT filed a Response to the Motion to Exclude Expert
 Evidence.
         June 8, 2023 (9:30 am): The Bankruptcy Court commenced its hearing on the HMIT
 Motion for Leave. The parties desired for court to rule on whether the expert testimony and
 exhibits should be allowed into the record. After much discussion, the court informed parties that
 it had not had the opportunity to study their eleventh-hour filings, and that the court would go
 forward with the hearing as the court had earlier contemplated (three hours per side; no experts for
 now) and the court would take the Motion to Exclude Expert Evidence under advisement and
 would schedule a “Day 2” for the hearing on the HMIT Motion for Leave for the experts if it
 determined that was appropriate. The court gave Highland, Mr. Seery, and the Highland Claimant
 Trust a deadline of 6/12/23 to reply to HMIT’s Response. They filed a Reply (in which the Claims
 Purchasers joined). The Bankruptcy Court ordered no more pleadings would be considered.
 HMIT filed another pleading on this topic on 6/13/23 [DE # 3845] and Highland and Mr. Seery
 responded to the HMIT additional pleading [DE # 3846] and then HMIT replied to their response
 [DE # 3847].


                                                  10
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 11 of 16
                                                    Page 265 of 678 PageID 271



        IV.     TURNING, FINALLY, TO THE MOTION TO EXCLUDE EXPERT
                EVIDENCE
        As indicated in the timeline above, HMIT designated on June 5, 2023, at 10:10 pm CDT,

 two expert witnesses to testify at the hearing on the HMIT Motion for Leave. The first one was

 Mr. Scott Van Meter, stating that he “may provide opinion testimony on issues relating to Mr.

 Seery’s compensation and claims trading.” The second one was Mr. Steve Pully, stating that he

 “may provide opinion testimony on issues relating to Mr. Seery’s claims trading.” To be clear, Mr.

 Seery is not alleged to have engaged in claims trading (i.e., he is not alleged to have either sold or

 purchased any claims in the Highland case). Rather, it is surmised by HMIT that Mr. Seery might

 have shared MNPI with the Claims Purchasers. Details about the two proposed experts’ education,

 experience, and the likely substance of their testimony were provided.

        Further, with regard to Mr. Van Meter, HMIT disclosed that he had analyzed the claims

 trading in the Highland case and holds the opinion that there are “red flags” plausibly indicating

 the use of MNPI in connection with the claim purchasers’ investment in their claims –primarily

 among them the fact that the claims purchasers allegedly did not undertake due diligence. He also

 would apparently opine that Mr. Seery’s compensation is not reasonable or excessive because not

 based on any market study and because the Claims Purchasers, as large creditors on the post-

 confirmation oversight committee, have the ability to control it.

        Further, with regard to Mr. Pully, HMIT disclosed that the projections in the publicly

 available information (presumably the Disclosure Statement and Plan and accompanying exhibits,

 the Bankruptcy Schedules, and Monthly Operating Reports) would not have rewarded the Claims

 Purchasers with the type of economic return that hedge funds/private equity firms would expect to

 realize. Thus, they must have had some MNPI to convince them that the claims purchasing was

 worthwhile.

                                                  11
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 12 of 16
                                                    Page 266 of 678 PageID 272



        There are procedural problems and substantive problems with the Proposed Experts

 (hereinafter so called).

    A. The Procedural Problems.

        The timeline set forth above is highly problematic. Highland, Mr. Seery, and the Highland

 Claimant Trust refer to the timeline here as tantamount to “trial by ambush.”

        HMIT counters that it, in fact, complied with this court’s local rules and national rules as

 well. As to the local rules, Local Bankruptcy Rule 9014-1(c) of the Northern District of Texas

 requires, in contested matters, the exchange of exhibits and witness lists with opposing parties at

 least 3 calendar days before a scheduled hearing (unless a specific order otherwise applies). The

 hearing on the HMIT Motion for Leave was scheduled for June 8, 2023, at 9:30 am CDT, and

 HMIT filed its exhibit and witness list on June 5, 2023, at 10:10 pm CDT—technically three

 calendar days before the hearing, albeit less than 72 hours before the hearing. As for the national

 rules, HMIT states that it was under no duty to disclose the existence or substance of expert

 testimony prior to the exchange of witness lists, because national Rule 9014 of the Federal Rules

 of Bankruptcy Procedure (“FRBP”), applying to contested matters, does not incorporate Rule

 26(a)(2) of the Federal Rules of Civil Procedure (“FRCP”), which defines the content and timing

 for expert disclosures (unless the court directs otherwise, which it did not here).

        HMIT’s focus on these rules is disingenuous. The court does not view the Proposed

 Experts as having been appropriately and timely disclosed in light of the two-and-a-half-month

 timeline set forth above and—most importantly—the bankruptcy court’s multiple prior

 conferences and orders setting the scope of the hearing and associated discovery. HMIT’s

 revelation (approximately 60 hours before the hearing on the HMIT Motion for Leave) that it


                                                  12
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 13 of 16
                                                    Page 267 of 678 PageID 273



 sought to offer expert testimony came far too late. HMIT never raised even the prospect of expert

 testimony at any point in its multiple filings with the bankruptcy court (which consisted of many

 hundreds of pages) or during the two status/scheduling conferences on the HMIT Motion for

 Leave. During the two status/scheduling conferences, this court repeatedly asked HMIT what it

 wanted to do at the hearing on the HMIT Motion for Leave (as far as there being evidence or no

 evidence—zeroing in on the inconvenient complication for HMIT that it had already put in some

 evidence, through the filing of the declarations of Mr. Dondero in support of its motion, and this,

 at the very least, would entitle the parties to cross-examine him on the statements contained in the

 declarations). HMIT represented that it desired for the hearing to be conducted “on the pleadings

 only” and that it had or would withdraw the declarations of Mr. Dondero (it had not withdrawn the

 declarations as of the status/scheduling conferences).      But, alternatively, if there would be

 evidence, HMIT wanted to conduct expedited discovery of documents, fact depositions, and

 corporate representative depositions. [DE # 3791]. HMIT made no mention of any experts. Only

 after the bankruptcy court had ruled on HMIT’s request for expedited discovery—and expressly

 limited the scope of discovery—did HMIT reveal its Proposed Experts [DE # 3818]. Obviously,

 the court would have fully vetted with the parties at the status/scheduling conferences the need for

 experts and the need for any discovery of them if HMIT mentioned it as a possibility.

        Additionally, while HMIT focuses on the fact that FRBP 9014 excludes FRCP 26(a)(2)(b)’s

 requirements regarding expert witness disclosures and reports (absent the court directing

 otherwise), FRBP 9014 does include FRCP 26(b)(4)(A), in contested matters, which provides that

 “[a] party may depose any person who has been identified as an expert whose opinions may be

 presented at trial.” See FRBP 9014(b); FRBP 7026. As alluded to above, this bankruptcy court

 had limited pre-hearing discovery to “depositions of Mr. Dondero and/or Mr. Seery” in reliance on


                                                 13
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 14 of 16
                                                    Page 268 of 678 PageID 274



 HMIT’s representations, which omitted any reference to expert witnesses. By waiting until

 roughly 60 hours before the hearing to disclose the Proposed Experts, this resulted in Highland,

 Mr. Seery, and the Highland Claimant Trust not having sufficient time to seek to modify the court’s

 prior status/scheduling orders, let alone take two expert depositions.

    B. The Substantive Problems.

        Finally, on a substantive level, the Proposed Experts’ testimony and documents are

 inadmissible because they will not “help the trier of fact to understand the evidence or to determine

 a fact in issue.” Fed. R. Evid. 702(a). Federal Rule of Evidence 702(a) provides that a witness

 who is qualified as an expert may testify in the form of an opinion or otherwise if, among other

 requirements, “the expert’s scientific, technical, or otherwise specialized knowledge will help the

 trier of fact to understand the evidence or to determine a fact in issue.”

        The fact finder here at this stage, in the context of determining whether HMIT’s proposed

 complaint asserts “colorable” claims under the gatekeeper provision of the Plan, obviously, is the

 bankruptcy judge. The judge, thus, may decide whether the Proposed Experts would help her

 analyze or understand an issue. This court is well within its discretion to conclude that the Proposed

 Experts would not advance the judge’s analysis. This bankruptcy judge has had years of experience

 (both before and after her 17 years as a bankruptcy judge) with the topic of claims purchasing that

 sometimes occurs during a bankruptcy case. The court notes, anecdotally, that the activity of

 investing in distressed debt (which frequently even occurs during a bankruptcy case—sometimes

 referred to as “claims trading”) is ubiquitous and has, indeed, been for a couple of decades. As

 noted by one scholar:

               The creation of a market in bankruptcy claims is the single most important
        development in the bankruptcy world since the Bankruptcy Code’s enactment in

                                                  14
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 15 of 16
                                                    Page 269 of 678 PageID 275



          1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
          it a much more market-driven process. [Citations omitted.] . . . The development
          of a robust market for all types of claims against debtors has changed the cast of
          characters involved in bankruptcies. In addition to long-standing relational
          creditors, like trade creditors or a single senior secured bank or bank group,
          bankruptcy cases now involve professional distressed debt investors, whose
          interests and behavior are often quite different than traditional relational
          counterparty creditors.
 ADAM J. LEVITIN, BANKRUPTCY MARKETS: MAKING SENSE OF CLAIMS TRADING, 4 BROOK. J.

 CORP. FIN. & COM. L. 64, 65 (2010).

          This judge has likewise had decades of experience with hedge funds and private equity

 funds. The court understands very well financial concepts such as return on investment, risk, and

 the handicapping of how certain events might impact recoveries. This court can take judicial notice

 that there was volatility in the capital markets during the time period of this case that would

 certainly factor into decisions to buy or sell claims. 5 This court understands the concepts of MNPI

 and fiduciary duties. The judge remembers very well when the possibility of an MGM-Amazon

 transaction flooded the news in late 2020 and 2021, and then became a reality.                            The court

 remembers asking the parties in the Highland case during open court about it, since it was widely

 known that Highland and its affiliates owned direct or indirect interests in MGM stock. This was

 before, by the way, certain of the claims purchases that are at issue here were made.

          Finally, this judge has decades of experience with executive compensation in bankruptcy

 cases and in connection with post-confirmation trusts. 6 In fact, this court approved Mr. Seery’s


 5
  A court “can, of course, take judicial notice of stock prices.” Schweitzer v. Invs. Comm. of Phillips 66 Savings Plan,
 960 F.3d 190, 193 n.3 (5th Cir. 2020).

 6
  This court even ran across one article that the above-signing judge published on the topic before she was a judge.
 Bringing Home the Bacon, or Just Being a Hog? Employee and Executive Compensation Issues in Chapter 11, 22nd
 Annual Bankruptcy Conference, The University of Texas School of Law (Nov. 2003) (co-authored with Frances
 Smith). The bankruptcy judge does not mean to suggest that a 20-year-old article makes anyone per se an expert. It


                                                           15
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 16 of 16
                                                    Page 270 of 678 PageID 276



 compensation early on during the bankruptcy case (in 2020), and his compensation was negotiated

 by the former members of the Official Unsecured Creditors Committee, among others. Mr. Seery’s

 compensation during this bankruptcy case was obviously subject to a motion, notice and a hearing,

 and was fully disclosed. Mr. Seery’s base compensation now is the same as what this court

 approved back in 2020. Certainly, in a bankruptcy case, one size does not fit all. Highland is a

 unique case that has involved great contentiousness and hundreds of millions of dollars of assets.

 Mr. Seery’s compensation reflects these circumstances, among other things.

         In summary, with all due respect to the Proposed Experts, it is hard for this court to

 conceive how they could help this court to understand the evidence or determine a fact in issue

 relative to the gatekeeping motion—as contemplated by Fed. R. Evid. 702(a)—when this court

 deals with the issues presented by motion, and similar issues, somewhat regularly.

         Accordingly, the court will exercise its discretion under Fed. R. Evid 702(a) and exclude

 the Proposed Experts testimony and HMIT Exhibits 39-52 relating to same.

         A further opinion and order will be forthcoming on the HMIT Motion for Leave.

                  #### END OF MEMORANDUM OPINION AND ORDER####




 is merely to further the point that a long-term bankruptcy judge with Chapter 11 experience typically has developed
 expertise regarding executive compensation issues pre-and post-confirmation in Chapter 11 cases.

                                                         16
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 271 of 678   PageID 277




                       Exhibit 8
     Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 4Page 272 of 678 PageID 278




The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 1, 2023
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                            )
      In re:                                                )   Chapter 11
                                                            )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                    )   Case No. 19-34054-sgj11
                                                            )
                                   Reorganized Debtor.      )
                                                            )
                                                            )


               ORDER STRIKING HMIT’S EVIDENTIARY PROFFER PURSUANT TO
                         RULE 103(a)(2) AND LIMITING BRIEFING

               The Court has reviewed Hunter Mountain Investment Trust’s (“HMIT”) Evidentiary

     Proffer Pursuant to Rule 103(a)(2) (“Proffer”; Dkt. No. 3858), the Highland Parties’ Joint

     Objections To And Motion To Strike HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)

     (“Motion”; Dkt. No. 3860) filed by Highland Capital Management, L.P., the Highland Claimant

     Trust, and James P. Seery, Jr. (collectively, the “Highland Parties”), and the Claims Purchasers’

     Joinder to the Highland Parties’ Objections and Motion to Strike HMIT’s Purported Proffer (Dkt.

     No. 3861) filed by Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management,
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 4Page 273 of 678 PageID 279



 L.L.C., and Stonehill Capital Management LLC (collectively with HMIT and the Highland Parties,

 the “Parties”). After due deliberation, the Court has determined that good and sufficient cause has

 been shown for the relief requested in the Motion. It is therefore ORDERED that:

        1.      The Motion is GRANTED.

        2.      The Proffer and its accompanying declarations are stricken from the record for the

 reasons set forth in the Court’s June 27, 2023 email (attached hereto as Exhibit A). The Court

 directs the Clerk to remove docket entry 3858 from the docket.

        3.      The Parties shall not file any additional briefs, motions, pleadings, proffers, or other

 submissions with the Court in connection with the Motion, the Highland Parties’ Joint Motion to

 Exclude Testimony and Documents of Scott Van Meter and Steve Pully (Dkt. No. 3820), or any

 proposed/excluded expert evidence relative to HMIT’s Motion for Leave to File Verified

 Adversary Proceeding (Dkt. No. 3699).



                                     ### END OF ORDER ###
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 4Page 274 of 678 PageID 280




                Exhibit A
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 4Page 275 of 678 PageID 281
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 276 of 678           PageID 282



                              UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                §
                                                            §
      HIGHLAND CAPITAL                                      §    Chapter 11
      MANAGEMENT, L.P.                                      §
                                                            §    Case No. 19-34054-sgj11
                Reorganized Debtor.                         §

                HUNTER MOUNTAIN INVESTMENT TRUST’S NOTICE OF APPEAL

               Pursuant to 28 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001-8002,

  Movant Hunter Mountain Investment Trust (“HMIT”), both in its individual capacity and

  derivatively on behalf of the Reorganized Debtor, Highland Capital Management, L.P., and the

  Highland Claimant Trust, 1 appeals to the United States District Court for the Northern District of

  Texas, Dallas Division, from this Court’s August 25, 2023 Memorandum Opinion and Order

  Pursuant to Plan “Gatekeeper Provision” and Pre-Confirmation “Gatekeeper Orders”: Denying

  Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified Adversary

  Proceeding (Docs. 3903-3904) (attached to this notice as Exhibits 1 and 2) (the “Final Order”),

  and all associated interlocutory orders or decisions that merged into or preceded the Final Order,

  including but not limited to the following:

        •      March 31, 2023 Order Denying Application for Expedited Hearing (Doc. 3713)
               (attached to this notice as Exhibit 3);

        •      May 11, 2023 Order Fixing Briefing Schedule and Hearing Date with Respect to
               Hunter Mountain Investment Trust’s Emergency Motion for Leave to File Verified
               Adversary Proceeding as Supplemented (Doc. 3781) (attached to this notice as
               Exhibit 4);




  1
    And, in all capacities and alternative derivative capacities asserted in HMIT’s Emergency Motion for Leave to File
  Verified Adversary Proceeding [Bankr. Dkt. Nos. 3699, 3815, and 3816] (“Emergency Motion”), and the supplement
  to the Emergency Motion [Bankr. Dkt. No. 3760] and the draft Complaint attached to the same [Bankr. Dkt. No. 3760-
  1].

  Movant HMIT’s Notice of Appeal                                                                              Page 1
Case 3:23-cv-02071-E        Document 1-1        Filed 09/15/23      Page 277 of 678       PageID 283



     •   May 24, 2023 Order Pertaining to the Hearing on Hunter Mountain Investment
         Trust’s Motion for Leave to File Adversary Proceeding (Doc. 3790) (attached to
         this notice as Exhibit 5);

     •   May 26, 2023 Order Regarding Hunter Mountain Investment Trust’s Emergency
         Motion for Expedited Discovery Or, Alternatively, For Continuance of the June 8,
         2023 Hearing (Doc. 3800) (attached to this notice as Exhibit 6);

     •   Evidentiary and other oral rulings, including but not limited to rulings associated
         with expert testimony, made at the June 8, 2023 Hearing;

     •   June 16, 2023 Memorandum Opinion and Order Granting Joint Motion to Exclude
         Expert Evidence (Doc. 3853) (attached to this notice as Exhibit 7); and,

     •   July 5, 2023 Order Striking HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)
         and Limiting Briefing (Doc. 3869), including the appended email ruling (attached
         to this notice as Exhibit 8).

  The names of all other parties to the Orders and their respective counsel are as follows:

     •   Movant HMIT, represented by:

         PARSONS MCENTIRE MCCLEARY PLLC

         Sawnie A. McEntire
         Texas State Bar No. 13590100
         smcentire@pmmlaw.com
         1700 Pacific Avenue, Suite 4400
         Dallas, Texas 75201
         Tel: (214) 237-4300
         Fax: (214) 237-4340

         Roger L. McCleary
         Texas State Bar No. 13393700
         rmccleary@pmmlaw.com
         One Riverway, Suite 1800
         Houston, Texas 77056
         Tel: (713) 960-7315
         Fax: (713) 960-7347

     •   Non-movants Highland Capital Management, L.P., and the Highland Claimant Trust,
         represented by:

         PACHULSKI STANG ZIEHL & JONES LLP

         Jeffrey N. Pomerantz
         John A. Morris
         Gregory V. Demo

  Movant HMIT’s Notice of Appeal                                                               Page 2
Case 3:23-cv-02071-E       Document 1-1      Filed 09/15/23   Page 278 of 678   PageID 284



         Hayley R. Winograd
         10100 Santa Monica Blvd., 13th Floor
         Los Angeles, CA 90067
         Tel: (310) 277-6910
         Fax: (310) 201-0760

         HAYWARD PLLC

         Melissa S. Hayward
         Texas Bar No. 24044908
         MHayward@HaywardFirm.com
         Zachery Z. Annable
         Texas Bar No. 24053075
         ZAnnable@HaywardFirm.com
         10501 N. Central Expy, Ste. 106
         Dallas, Texas 75231
         Tel: (972) 755-7100
         Fax: (972) 755-7110

     •   Non-movant James P. Seery, Jr., represented by:

         WILLKIE FARR & GALLAGHER LLP

         Mark T. Stancil
         Joshua S. Levy
         1875 K Street, N.W.
         Washington, D.C. 20006
         Tel: (202) 303-1000
         mstancil@willkie.com
         jlevy@willkie.com

         REED SMITH LLP

         Omar J. Alaniz
         Texas Bar No. 24040402
         Lindsey L. Robin
         Texas Bar No. 24091422
         2850 N. Harwood St., Ste. 1500
         Dallas, Texas 75201
         Tel: (469) 680-4292

     •   Non-movants Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management,
         L.L.C., and Stonehill Capital Management LLC, represented by:

         HOLLAND & KNIGHT LLP

         Brent R. McIlwain, TSB 24013140


  Movant HMIT’s Notice of Appeal                                                    Page 3
Case 3:23-cv-02071-E       Document 1-1    Filed 09/15/23     Page 279 of 678      PageID 285



         David C. Schulte TSB 24037456
         Christopher Bailey TSB 24104598
         1722 Routh Street, Suite 1500
         Dallas, TX 75201
         Tel.: (214) 964-9500
         Fax: (214) 964-9501
         brent.mcilwain@hklaw.com
         david.schulte@hklaw.com
         chris.bailey@hklaw.com


         Dated: September 8, 2023               Respectfully Submitted,


                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/ Sawnie A. McEntire
                                                    Sawnie A. McEntire
                                                    Texas State Bar No. 13590100
                                                    smcentire@pmmlaw.com
                                                    1700 Pacific Avenue, Suite 4400
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 237-4300
                                                    Facsimile: (214) 237-4340

                                                    Roger L. McCleary
                                                    Texas State Bar No. 13393700
                                                    rmccleary@pmmlaw.com
                                                    One Riverway, Suite 1800
                                                    Houston, Texas 77056
                                                    Telephone: (713) 960-7315
                                                    Facsimile: (713) 960-7347

                                                    Attorneys for Hunter Mountain
                                                    Investment Trust


                                   CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was served via ECF notification on
  September 8, 2023, on all parties receiving electronic notification.

                                           /s/ Sawnie A. McEntire
                                           Sawnie A. McEntire
  3130663.1




  Movant HMIT’s Notice of Appeal                                                      Page 4
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 280 of 678   PageID 286




                       Exhibit 1
     Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
   Case 3:23-cv-02071-E Document
                           Main Document
                                 1-1 Filed 09/15/23
                                            Page 1 of 105
                                                       Page 281 of 678 PageID 287




The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 25, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor.            §


          MEMORANDUM OPINION AND ORDER PURSUANT TO PLAN “GATEKEEPER
          PROVISION” AND PRE-CONFIRMATION “GATEKEEPER ORDERS”: DENYING
           HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
                  LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING1
                       [BANKR. DKT. NOS. 3699, 3760, 3815, and 3816]

     I.      INTRODUCTION

             BEFORE THIS COURT is yet another post-confirmation dispute relating to the Chapter

     11 bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).



     1
       On August 2, 2023, this court signed an Order [Bankr. Dkt. No. 3897] that was agreed to among various parties,
     after the filing of a Motion to Stay and Compel Mediation [Bankr. Dkt. No. 3752] filed by James D. Dondero and
     related entities. Pursuant to paragraph 7 of that order, certain pending matters in the bankruptcy court are stayed
     pending mediation. The parties did not agree to stay the matter addressed in this Memorandum Opinion and Order.
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 2 of 105
                                                    Page 282 of 678 PageID 288



 It is now more than two and half years since the confirmation of Highland’s Plan2—the Plan having

 been confirmed on February 22, 2021.3 The Plan was never stayed; it went effective on August

 11, 2021 (“Effective Date”), and it was affirmed almost in its entirety by the United States Court

 of Appeals for the Fifth Circuit (“Fifth Circuit”), in late summer 2022, including an approval of

 the so-called Gatekeeper Provision4 therein. The Gatekeeper Provision—and how and whether it

 should now be exercised or interpreted to allow a certain lawsuit to be filed—is at the heart of the

 current Emergency Motion for Leave to File Verified Adversary Proceeding [Bankr. Dkt. Nos.

 3699, 3760, 3815, 3816] (collectively, the “Motion for Leave”) filed by a movant known as Hunter

 Mountain Investment Trust (“HMIT”).

          A.       Who is the Movant, HMIT?

          Who is HMIT? It is undisputed that it is a former equity owner of Highland. It held 99.5%

 of Highland’s Class B/C limited partnership interests and was classified in a Class 10 under the

 confirmed Plan, which class treatment provided it with a contingent interest in the Highland

 Claimant Trust (“Claimant Trust”) created under the Plan, and as defined in the Claimant Trust

 Agreement. This means that HMIT could receive consideration under the Plan if all claims against

 Highland are ultimately paid in full, with interest. As later further discussed, it is undisputed that

 2
   Capitalized terms not defined in this introduction shall have the meaning ascribed to them below.
 3
   The court entered its Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
 Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation Order”)[Bankr. Dkt. No. 1943].
 4
   In an initial opinion dated August 19, 2022, the Fifth Circuit affirmed the Confirmation Order in large part,
 “revers[ing] only insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strik[ing] those
 few parties from the plan’s exculpation, and affirm[ing] on all remaining grounds.” In re Highland Capital
 Management, L.P., No. 21-10449, 2022 WL 3571094, at *1 (5th Cir. Aug. 19, 2022). On September 7, 2022, following
 a petition for limited panel rehearing filed by certain appellants on September 2, 2022, “for the limited purpose of
 clarifying and confirming one part of its August 19, 2022 opinion,” the Fifth Circuit withdrew its original opinion and
 replaced it with its opinion reported at NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland
 Capital Mgmt., L.P.), 48 F.4th 419, 424 (5th Cir. 2022). The substituted opinion differed from the original opinion
 only by the replacement of one sentence from section “IV(E)(2) – Injunction and Gatekeeper Provisions” of the
 original opinion: “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” was replaced
 with “We now turn to the Plan’s injunction and gatekeeper provisions.” In all other respects, the Fifth Circuit panel’s
 original ruling remained unchanged. Petitions for writs of certiorari regarding the Confirmation Order have been
 pending at the United States Supreme Court since January 2023.

                                                            2
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 3 of 105
                                                    Page 283 of 678 PageID 289



 HMIT’s only asset is its contingent interest in the Claimant Trust. It has no employees or revenue.

 HMIT’s representative has testified that HMIT is liable on more than $62 million of indebtedness

 owed to The Dugaboy Investment Trust (“Dugaboy”), a family trust of which James Dondero

 (“Dondero”), the co-founder and former chief executive officer (“CEO”) of Highland, and his

 family members are beneficiaries, and that Dugaboy also is paying HMIT’s legal fees. HMIT

 vehemently disputes the suggestion that it is controlled by Dondero.

          B.       What Does the Movant HMIT Seek Leave to File?

          HMIT seeks leave to file an adversary proceeding (“Proposed Complaint”)5 in the

 bankruptcy court to bring claims on behalf of itself and, derivatively, on behalf of the Reorganized

 Debtor and the Claimant Trust for alleged breach of fiduciary duties by the Reorganized Debtor’s

 CEO and Claimant Trustee, James P. Seery, Jr. (“Seery”) and conspiracy against: (1) Seery; and

 (2) purchasers of $365 million face amount of allowed unsecured claims in this case, who

 purchased their claims post-confirmation but prior to the occurrence of the Effective Date of the

 Plan (“Claims Purchasers,”6 and with Seery, the “Proposed Defendants”). To be clear (and as later

 further explained), the claims acquired by the Claims Purchasers were acquired by them after

 extensive litigation, mediation, and settlements were approved by the bankruptcy court and after

 the original claims-holders had voted on the Plan and after Plan confirmation. As later explained,


 5
   In its original Motion for Leave filed at Bankruptcy Docket No. 3699 on March 28, 2023, HMIT sought leave to file
 the proposed complaint (“Initial Proposed Complaint”) attached as Exhibit 1 to the Motion for Leave. Nearly a month
 later, on April 23, 2023, HMIT filed a Supplement to Emergency Motion for Leave to File Verified Adversary
 Proceeding (“Supplement”) [Bankr. Dkt. No. 3760], a revised proposed complaint as Exhibit 1-A, and stating that
 “[t]he Supplement is not intended to supersede the [Motion for Leave]; rather, it is intended as a supplement to address
 procedural matters and to bring forth additional facts that further confirm the appropriateness of the derivative action.”
 Supplement, ¶ 1 and Exhibit 1-A. It is this revised proposed complaint to which this court will refer, when it uses the
 defined term “Proposed Complaint,” even though HMIT filed redacted versions of its Motion for Leave on June 5,
 2023 at Bankruptcy Docket Nos. 3815 and 3816 that attached the Initial Proposed Complaint as Exhibit 1.
 6
   The Claims Purchasers identified in the Proposed Complaint are Farallon Capital Management, LLC (“Farallon”);
 Muck Holdings, LLC (“Muck”), which is a special purpose entity created by Farallon to purchase allowed unsecured
 claims against Highland; Stonehill Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
 which is a special purpose entity created by Stonehill to purchase allowed unsecured claims against Highland.

                                                             3
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 4 of 105
                                                    Page 284 of 678 PageID 290



 the Claims Purchasers filed notices of their purchases as required by Bankruptcy Rule 3001(e)(2),

 and no objections were filed thereto. In any event, various damages or remedies are sought against

 the Proposed Defendants revolving around the Claims Purchasers’ claims purchasing activities.

          C.       Why Does HMIT Need to Seek Leave?

          As alluded to above, HMIT filed its Motion for Leave to comply with the provision in the

 Plan known as a “gatekeeper” provision (“Gatekeeper Provision”) and with this court’s prior

 gatekeeper orders entered in January and July 2020, which all require that, before a party may

 commence or pursue claims relating to the bankruptcy case against certain protected parties, it

 must first obtain (1) a finding from the bankruptcy court that its proposed claims (“Proposed

 Claims”) are “colorable”; and (2) specific authorization by the bankruptcy court to pursue the

 Proposed Claims.7 The Gatekeeper Provision was not included in the Plan sans raison. Indeed,

 as the Fifth Circuit recognized in affirming confirmation of the Plan, the Gatekeeper Provision

 (along with the other “protection provisions” in the Plan) had been included in the Plan to address

 the “continued litigiousness” of Mr. James Dondero (“Dondero”), Highland’s co-founder and

 former chief executive officer (“CEO”), that began prepetition and escalated following the post-

 petition “nasty breakup” between Highland and Dondero, by “screen[ing] and prevent[ing] bad-

 faith litigation against Highland Capital, its successors, and other bankruptcy participants that

 could disrupt the Plan’s effectiveness.”8



 7
   To be clear, the Gatekeeper Provision in the Plan was not the first or even second injunction of its type issued in this
 bankruptcy case. The Gatekeeper Orders were entered by the bankruptcy court pre-confirmation: (a) in January 2020,
 just a few months into the case, as part of this court’s order approving a corporate governance settlement between
 Highland and its unsecured creditors committee, in which Dondero, Highland’s co-founder and former CEO, was
 removed from any management role at Highland and three independent directors (“Independent Directors”) were
 appointed in lieu of a chapter 11 trustee being appointed (“January 2020 Order”); and (b) in July 2020, in this court’s
 order authorizing the employment of Seery (one of the three Independent Directors) as the Debtor’s new Chief
 Executive Officer, Chief Restructuring Officer, and Foreign Representative (“July 2020 Order,” together with the
 January 2020 Order, the “Gatekeeper Orders”).
 8
   See Highland Capital, 48 F.4th at 427, 435.

                                                             4
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 5 of 105
                                                    Page 285 of 678 PageID 291



        D.      Some Further Context Regarding Post-Confirmation Litigation Generally.

        Since confirmation of the Plan, hundreds of millions of dollars have been paid out to

 creditors under the Plan, and there are numerous adversary proceedings and contested matters still

 pending, at various stages of litigation, in the bankruptcy court, the district court, and the Fifth

 Circuit, almost exclusively involving Dondero and entities that he owns or controls. To be sure,

 the post-confirmation litigation in this case does not consist of the usual adversaries and contested

 matters one typically sees by and against a reorganized debtor and/or litigation trustee, such as

 preference or other avoidance actions and litigation over objections to claims that are still pending

 after confirmation of a plan. Indeed, the claims of the largest creditors in this case (with claims

 asserted in the aggregate of more than one billion dollars) were successfully mediated and

 incorporated into the Plan—a plan which was ultimately accepted by the votes of an overwhelming

 majority of Highland’s non-insider creditors. Dondero and entities under his control were the only

 parties who appealed the Confirmation Order, and Dondero and entities under his control have

 been the appellants in virtually every appeal that has been filed regarding this bankruptcy case.

 Petitions for writs of mandamus (which have been denied) have been filed in the district court and

 in the Fifth Circuit by some of these same entities, including one by HMIT, when this court denied

 setting an emergency hearing on the instant Motion for Leave (HMIT had sought a setting on

 three-days’ notice).

        A recent list of active matters involving Dondero and/or entities and/or individuals

 affiliated or associated with him, filed in the bankruptcy case by Highland and the Claimant Trust,

 reveals that there were at least 30 pending and “Active Dondero-Related Litigation” matters as of

 July 14, 2023: six (6) proceedings in this court; six (6) active appeals or actions are pending in the

 District Court for the Northern District of Texas; seven (7) appeals in the Fifth Circuit; two (2)



                                                   5
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 6 of 105
                                                    Page 286 of 678 PageID 292



 petitions for writs of certiorari in the United States Supreme Court; and nine (9) other proceedings

 or actions with or affecting the Highland Parties (“Highland,” the “Claimant Trust,” and “Seery”)

 in various other state, federal, and foreign jurisdictions.9

          The above-described context is included because the Proposed Defendants assert that the

 Motion for Leave is just a continuation of Dondero’s unrelenting barrage of meritless and

 harassing litigation, making good on his oft-mentioned alleged threat to “burn down the place”

 after not achieving the results he wanted in the Highland bankruptcy case. Indeed, the Motion for

 Leave was filed after two years of unsuccessful attempts by, first, Dondero personally, and then

 HMIT to obtain pre-suit discovery from the Proposed Defendants (i.e., the Claims Purchasers)

 through two different Texas state court proceedings, pursuant to Tex. R. Civ. P. 202 (“Rule 202”).

 In each of these Rule 202 proceedings, Dondero and HMIT espoused the same Seery/Claims


 9
   See Bankr. Dkt. No. 3880 (filed on July 14, 2023, providing a list of “Active Dondero-Related Litigation” and noting
 that the list is “a summary of active pending actions only and does not include actions that were resolved by final
 orders, including actions finally resolved after appeals to the U.S. District Court for the Northern District of Texas
 and/or the U.S. Court of Appeals for the Fifth Circuit.”). Just since the filing by the Highland Parties of the list, three
 of the appeals pending in the Fifth Circuit have been decided against the Dondero-related appellants, two of which
 upheld the district court’s dismissal of appeals by Dondero-related entities of bankruptcy court orders based on the
 lack of bankruptcy appellate standing on behalf of the appellant. On July 19, 2023, the Fifth Circuit affirmed the
 district court’s dismissal of an appeal by NexPoint Advisors, L.P. (“NexPoint”) of bankruptcy court orders approving
 professional compensation on the basis that NexPoint did not meet the bankruptcy appellate standing test of being a
 “person aggrieved” by the entry of the orders. NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In
 re Highland Capital Management, L.P.), 74 F.4th 361 (5th Cir. 2023). On July 31, 2023, the Fifth Circuit affirmed
 the district court’s dismissal of an appeal by Dugaboy—the Dondero family trust that, like the movant here in this
 Motion for Leave, was the holder of a limited partnership interest in Highland, and, as such, now has a contingent
 interest in the Claimant Trust—which had appealed a bankruptcy court order approving a Rule 9019 settlement on the
 same basis: Dugaboy did not meet the bankruptcy appellate standing test of being a “person aggrieved” by the entry
 of the settlement order. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), No.
 22-10960, 2023 WL 4861770 (5th Cir. July 31, 2023). The July 31, 2023 ruling followed the Fifth Circuit’s ruling
 on February 21, 2023, affirming the district court’s dismissal of an appeal by Dugaboy of yet another bankruptcy court
 order for lack of bankruptcy appellate standing. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland
 Capital Mgt., L.P.), No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023). These rulings by the Fifth Circuit are
 discussed in greater detail below. The third ruling by the Fifth Circuit since July 14, 2023, was issued by the Fifth
 Circuit in a per curium opinion not designated for publication on July 26, 2023, this one affirming the district court’s
 affirmance of yet another Rule 9019 settlement order of the bankruptcy court that was appealed by Dugaboy, agreeing
 with the district court that the bankruptcy court had jurisdiction to approve a settlement among the Debtor, an entity
 affiliated with the Debtor but not a debtor itself, and UBS (the Debtor’s largest prepetition creditor and the seller of
 its claims to the Claims Purchasers, which is one of the claims trading transactions HMIT complains about in the
 Proposed Complaint). See The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P., No. 22-10983, 2023 WL 4842320
 (5th Cir. July 26, 2023).

                                                             6
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 7 of 105
                                                    Page 287 of 678 PageID 293



 Purchasers conspiracy theory espoused in the Motion for Leave—that Seery must have provided

 one or more of the Claims Purchasers with material nonpublic information to induce them to want

 to purchase large, allowed, unsecured claims at a discount; a quid pro quo is suggested, such that

 the Claims Purchasers were allegedly told they would make a hefty profit on the claims they

 purchased and, in return, they would gladly “rubber stamp” Seery’s “excessive compensation” as

 the Claimant Trustee of the Claimant Trust. In sum, HMIT alleges this constituted wrongful

 “insider trading” of the bankruptcy claims. In addition, certain lawyers for Dondero and Dugaboy

 sent letters reporting this alleged conspiracy and “insider trading” to the Texas State Securities

 Board (“TSSB”) and the Executive Office of the United States Trustee (“EOUST”).

          It is against this background and in this context that the court must analyze, in the exercise

 of its gatekeeping function under the confirmed Plan and its prior Gatekeeping Orders, whether

 HMIT should be allowed to pursue the Proposed Claims (i.e., whether the Proposed Claims are

 “colorable” claims as contemplated under the Gatekeeper Orders and the Gatekeeper Provision of

 the Plan). The court held an evidentiary hearing on the Motion for Leave on June 8, 2023 (“June

 8 Hearing”), during which the court admitted exhibits and heard testimony from three witnesses

 both in support of and in opposition to the Motion for Leave. Having considered the Motion for

 Leave, the response of the Proposed Defendants thereto, HMIT’s reply to the response, and the

 arguments and evidence presented at the hearing on the Motion for Leave, the court denies HMIT’s

 request for leave to pursue its Proposed Claims. The court’s reasoning is set forth below.

 II.      BACKGROUND

       A. Highland’s Bankruptcy Case, Dondero’s Removal as CEO, and the Plan

          Highland was co-founded in Dallas in 1993 by Dondero and Mark Okada (“Okada”). It

 operated as a global investment adviser that provided investment management and advisory

 services and managed billions of dollars of assets, both directly and indirectly through numerous

                                                    7
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 8 of 105
                                                    Page 288 of 678 PageID 294



 affiliates. Highland’s equity interest holders included HMIT (99.5%), Dugaboy (0.1866%),

 Okada, personally and through trusts (0.0627%), and Strand Advisors, Inc. (“Strand”), which was

 wholly owned by Dondero and was the only general partner of Highland (0.25%). On October 16,

 2019 (the “Petition Date”), Highland, with Dondero in control10 and acting as its CEO, president,

 and portfolio manager, and facing a myriad of massive, business litigation claims – many of which

 had finally become or were about to be liquidated (after a decade or more of contentious litigation

 in multiple fora all over the world—filed for relief under chapter 11 of the United States

 Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware. The

 bankruptcy case was transferred to the Northern District of Texas, Dallas Division in December

 2019. The official committee of unsecured creditors (the “Committee”) (and later, the United

 States Trustee) expressed a desire for the appointment of a chapter 11 trustee due to concerns over

 and distrust of Dondero, his numerous conflicts of interest, and his history of alleged

 mismanagement (and perhaps worse).

         After many weeks under the specter of a possible appointment of a trustee, Highland and

 the Committee engaged in substantial and lengthy negotiations, resulting in a corporate governance

 settlement approved by this court on January 9, 2020.11 As a result of this settlement, Dondero

 relinquished control of Highland and resigned his positions as officer or director of Highland and

 its general partner, Strand,12 and three independent directors (“Independent Directors”) were



 10
   Mark Okada resigned from his role with Highland prior to the Petition Date.
 11
   This order is hereinafter referred to as the “January 2020 Order” and was entered by the court on January 9, 2020
 [Bankr. Dkt. No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of
 Unsecured Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course
 [Bankr. Dkt. No. 281].
 12
    Dondero agreed to this settlement pursuant to a stipulation he executed and that was filed in connection with
 Highland’s motion to approve the settlement. See Stipulation in Support of Motion of the Debtor for Approval of
 Settlement With the Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
 for Operations in Ordinary Course [Bankr. Dkt. No. 338].

                                                         8
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 9 of 105
                                                    Page 289 of 678 PageID 295



 chosen to lead Highland through its chapter 11 case: Seery, John S. Dubel, and retired bankruptcy

 judge Russell Nelms. Given the Debtor’s perceived culture of constant litigation while Dondero

 was at the helm, it was purportedly not easy to get such highly qualified persons to serve as

 independent board members. At the hearing on the corporate governance settlement motion, the

 court heard credible testimony that none of the Independent Directors would have taken on the

 role without (1) an adequate directors and officers’ (“D&O”) insurance policy protecting them; (2)

 indemnification from Strand that would be guaranteed by the Debtor; (3) exculpation from mere

 negligence claims; and (4) a gatekeeper provision prohibiting the commencement of litigation

 against the Independent Directors without the bankruptcy court’s prior authority. The gatekeeper

 provision approved by the court in its January 9 Order states,13

                  No entity may commence or pursue a claim or cause of action of any kind
          against any Independent Director, any Independent Director’s agents, or any
          Independent Director’s advisors relating in any way to the Independent Director’s
          role as an independent director of Strand without the Court (i) first determining
          after notice that such claim or cause of action represents a colorable claim of willful
          misconduct or gross negligence against Independent Director, any Independent
          Director’s agents, or any Independent Director’s advisors and (ii) specifically
          authorizing such entity to bring such claim. The Court will have sole jurisdiction to
          adjudicate any such claim for which approval of the Court to commence or pursue
          has been granted.

 Dondero agreed to remain with Highland as an unpaid portfolio manager following his resignation

 and did so “subject at all times to the supervision, direction and authority of the Independent

 Directors” and to his agreement to “resign immediately” “[i]n the event the Independent Directors

 determine for any reason that the Debtor shall no longer retain Dondero as an employee”14 and to

 “not cause any Related Entity to terminate any agreements with the Debtor.”15 The court later




 13
    January 2020 Order, 3-4, ¶ 10.
 14
    January 2020 Order, 3, ¶ 8.
 15
    Id. at ¶ 9.

                                                    9
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              10 of 105
                                                     Page 290 of 678 PageID 296



 entered, on July 16, 2020, an order approving the appointment of Seery as Highland’s Chief

 Executive Officer, Chief Restructuring Officer, and Foreign Representative,16 which included

 essentially the same “gatekeeper” language with respect to the pursuit of claims against Seery

 acting in these roles. The gatekeeper provision in the July 2020 Order was essentially the same as

 the gatekeeper provision in the January 2020 Order:

         No entity may commence or pursue a claim or cause of action of any kind against
         Seery relating in any way to his role as the chief executive officer and chief
         restructuring officer of the Debtor without the Bankruptcy Court (i) first
         determining after notice that such claim or cause of action represents a colorable
         claim of willful misconduct or gross negligence against Seery, and (ii) specifically
         authorizing such entity to bring such claim. The Bankruptcy Court shall have sole
         jurisdiction to adjudicate any such claim for which approval of the Court to
         commence or pursue has been granted.

 July 2020 Order, 3, ¶5. Neither the January 2020 Order nor the July 2020 Order were appealed.

         Throughout the summer of 2020, Dondero informally proposed several reorganization

 plans, none of which were embraced by the Committee or the Independent Directors. When

 Dondero’s plans failed to gain support, he and entities under his control engaged in substantial,

 costly, and time-consuming litigation for Highland.17 As the Fifth Circuit described the situation,

 after Dondero’s plans failed “he and other creditors began to frustrate the proceedings by objecting

 to settlements, appealing orders, seeking writs of mandamus, interfering with Highland Capital’s

 management, threatening employees, and canceling trades between Highland Capital and its

 clients.”18 On October 9, 2020, Dondero resigned from all positions with the Debtor and its


 16
    See the July 16, 2020 order approving the retention by Highland of Seery as Chief Executive Officer, Chief
 Restructuring Officer, and Foreign Representative, nunc pro tunc, to March 15, 2020 (“July 2020 Order”) [Bankr.
 Dkt. No. 854].
 17
    According to Seery’s credible testimony during the hearing on confirmation of the Plan that had been negotiated
 between the Committee and the Independent Directors, Dondero had threatened to “burn the place down” if his
 proposed plan was not accepted. See Transcript of Confirmation Hearing dated February 3, 2021 at 105:10-20. Bankr.
 Dkt. No. #1894.
 18
    Highland Capital, 48 F.4th at 426 (citing Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Capital Mgmt.,
 L.P.), Ch. 11 Case No. 19-34054-SGJ11, Adv. No. 20-03190-SGJ11, 2021 WL 2326350, at *1, *26 (Bankr. N.D. Tex.


                                                        10
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              11 of 105
                                                     Page 291 of 678 PageID 297



 affiliates in response to a demand by the Independent Directors made after Dondero’s purported

 threats and disruptions to the Debtor’s operations.19

          The Independent Directors and the Committee had negotiated their own plan of

 reorganization which culminated in the filing by Highland of its Fifth Amended Plan of

 Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”) [Bankr. Dkt.

 No. 1808] on January 22, 2021.20 Highland had negotiated settlements with most of its major

 creditors following mediation and had amended its initially proposed plan to address the objections

 of most of its creditors, leaving only the objections of Dondero and entities under his control (the

 “Dondero Parties”) at the time of the confirmation hearing,21 which was held over two days in

 early February 2021. The Plan is essentially an “asset monetization” plan pursuant to which the

 Committee was dissolved, and four new entities were created: the Reorganized Debtor; a new

 general partner for the Reorganized Debtor called HCMLP GP, LLC; the Claimant Trust

 (administered by Seery, its trustee); and a Litigation Sub-Trust (administered by its trustee, Marc

 Kirschner). Highland’s various servicing agreements were vested in the Reorganized Debtor,

 which continues to manage collateralized loan obligation vehicles (“CLOs”) and various other

 investments postconfirmation. The Claimant Trust owns the limited partnership interests in the

 Reorganized Debtor, HCMLP GP LLC, and the Litigation Sub-Trust and is charged with winding

 down the Reorganized Debtor over a three-year period by monetizing its assets and making




 June 7, 2021) where this court “h[eld] Dondero in civil contempt, sanctioning him $100,000, and comparing this case
 to a ‘nasty divorce.’”).
 19
    See Highland Ex. 13. The court shall refer to exhibits offered and admitted at the June 8 Hearing on the Motion for
 Leave by the Highland Parties as “Highland Ex. ___” and to exhibits offered and admitted by HMIT as “HMIT Ex.
 ___.”
 20
    The Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 was filed on November 24, 2020 (“Disclosure Statement”) [Bankr. Dkt. No. 1473].
 21
    The only other objection remaining was the objection of the United States Trustee to the Plan’s exculpation,
 injunction, and release provisions.

                                                          11
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              12 of 105
                                                     Page 292 of 678 PageID 298



 distributions to Class 8 and Class 9 creditors as Claimant Trust Beneficiaries. The Claimant Trust

 is overseen by a Claimant Trust Oversight Board (“CTOB”), and pursuant to the terms of the Plan

 and the Claimant Trust Agreement (“CTA”),22 the CTOB approved Seery’s compensation package

 as the CEO of the Reorganized Debtor and the Claimant Trustee. Following their acquisition of

 their unsecured claims, representatives of Claims Purchasers Muck and Jessup became members

 of the CTOB.23 Seery’s compensation included the same base salary that he was receiving as CEO

 and CRO of Highland, plus an added incentive bonus tiered to recoveries and distributions to the

 creditors under the Plan. The Plan provides for the cancellation of the limited partnership interests

 in Highland held by HMIT, Dugaboy, and Okada and his family trusts in exchange for each

 holder’s pro rata share of a contingent interest in the Claimant Trust (“Contingent Claimant Trust

 Interest”), as holders of allowed interests in Class 10 (holders of Class B/C limited partnership

 interests) or Class 11 (holders of Class A limited partnership interests) under the Plan.

      B. Dondero Communicates Alleged Material Non-Public Information (“MNPI”) to Seery,
         and Seery Allegedly Provides the MNPI to the Claims Purchasers in Furtherance of an
         Alleged Fraudulent Scheme to Have the Claims Purchasers “Rubber Stamp” His
         Compensation as Claimant Trustee Post-Confirmation

          1. The December 17, 2020 MGM Email

          Between Dondero’s forced resignation from Highland in October 2020 and the

 confirmation hearing in February 2021, Dondero engaged in what appeared to be attempts to

 thwart, impede, and otherwise interfere with the Plan being proposed by the Independent Directors

 and the Committee. In the midst of this, on December 17, 2020, Dondero sent Seery24 an email

 22
    Highland Ex. 38
 23
    The CTOB had three members: a representative of Muck (Michael Linn), a representative of Jessup (Christopher
 Provost), and an independent member (Richard Katz). See Joint Opposition ¶ 79.
 24
    Dondero sent the email to others as well but did not copy counsel for the Independent Directors (including Seery)
 in violation of the terms of an existing temporary restraining order that enjoined Dondero from, among other things,
 “communicating . . . with any Board member” (including Seery) without including Debtor’s counsel. Morris Dec. Ex.
 23 ¶ 2(a). Citations to “Morris Dec. Ex. ” are to the exhibits attached to the Declaration of John A. Morris in Support


                                                           12
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              13 of 105
                                                     Page 293 of 678 PageID 299



 (the “MGM Email”) that featured prominently in HMIT’s Motion for Leave. According to HMIT

 and Dondero, the MGM Email contained material nonpublic information (“MNPI”) regarding the

 possibility of an imminent acquisition of Metro-Goldwyn-Mayer Studios, Inc. (“MGM”), likely

 by either Amazon or Apple.25 At the time Dondero sent the MGM Email, Dondero sat on the board

 of directors of MGM, and the Debtor owned MGM stock directly. The Debtor also managed and

 partially owned a couple of other entities that owned MGM stock and managed various CLOs that

 owned some MGM stock as well. HMIT alleges now that Seery later misused and wrongfully

 disclosed to the Claims Purchasers this purported MNPI as part of a quid pro quo scheme, whereby

 the Claims Purchasers agreed to approve excessive compensation for Seery in the future (in

 exchange for him providing this allegedly “insider” information that inspired them to purchase

 unsecured claims with an alleged expectation of future large profits).26 A timeline of events (in

 late 2020) in the weeks leading up to Dondero’s MGM Email to Seery, following Dondero’s

 departure from Highland, helps to put the email in full context:

             October 16: Dondero and his affiliates attempt to impede the Debtor’s trading
              activities by demanding—with no legal basis—that Seery cease selling certain
              assets;27

             November 24: Bankruptcy Court enters an Order approving the Debtor’s
              Disclosure Statement, scheduling the confirmation hearing on the Debtor’s
              Plan for January 13, 2021, and granting related relief;28

             November 24–27: Dondero personally interferes with the Debtor’s

 of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint Opposition to
 Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding, Bankr. Dkt. No. 3784.
 25
    See Proposed Complaint ¶ 45.
 26
    See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the [Claims
 Purchasers], with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”); ¶ 4 (“As part of the scheme, the [Claims Purchasers] obtained a position to
 approve Seery’s ongoing compensation – to Seery’s benefit and also to the detriment of the Claimant Trust, the
 Reorganized Debtor, and HMIT.”).
 27
    See Highland Ex. 14, Dondero-Related Entities’ October 16, 2020 Letter; Highland Ex. 15, Memorandum Opinion
 and Order Holding Dondero in Contempt for Violation of TRO, 13-15.
 28
    See Bankr. Dkt. No. 1476.

                                                          13
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              14 of 105
                                                     Page 294 of 678 PageID 300



              implementation of certain securities trades ordered by Seery;29

             November 30: The Debtor provides written notice of termination of certain shared
              services agreements it had with Dondero’s two non-debtor affiliates, NexPoint
              Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund
              Advisors, L.P. (“HCMFA”; together with NexPoint, the “Advisors”);30

             December 3: The Debtor makes written demands to Dondero and certain
              affiliates for payment of all amounts due under certain promissory notes they
              owed to the Debtor, that had an aggregate face amount of more than $60
              million—this was part of creating liquidity for the Debtor’s Plan;31

             December 3: Dondero responds with what appeared to be a threat of some sort to Seery
              in a text message: “Be careful what you do -- last warning;”32

             December 10: Dondero’s interference and apparent threat cause the Debtor to
              seek and obtain a temporary restraining order (“TRO”) against Dondero;33

             December 16: This court denies as “frivolous” a motion filed by certain
              affiliates of Dondero, in which they sought “temporary restrictions” on certain
              asset sales;34 and

             December 17: Dondero sends the unsolicited MGM Email35 to Seery, which
              violates the TRO entered just a week earlier.36



 29
    See Highland Ex. 15, 30-36.
 30
    Morris Decl. Ex. 17; see also Transcript of June 8, 2023 Hearing on HMIT’s Motion for Leave (“June 8 Hearing
 Transcript”), 273:23-24.
 31
    Morris Decl. Exs. 18-21; see also June 8 Hearing Transcript, 273:23-274:1.
 32
    Morris Decl. Ex. 22 (emphasis added); see also June 8 Hearing Transcript, 273:1-12 (where Seery testified about
 receiving the threat from Dondero: “A: [T]his came after he threatened me. He threatened me in writing. I’d never
 been threatened in my career. I’ve never heard of anyone else in this business who’s been threatened in their career.
 So anything I would get from him, I was going to be highly suspicious.”).
 33
    See Morris Decl. Ex. 23, Order Granting Debtor’s Motion for a Temporary Restraining Order Against James
 Dondero entered December 10, 2020 [Adv. Pro. No. 20-3190 Dkt. No. 10].
 34
    See Morris Decl. Ex. 24, Transcript of December 16, 2020 Hearing, 63:5-64:15.
 35
    Highland Ex. 11.
 36
    Seery testified at the June 8 Hearing that Dondero knowingly violated the TRO when he sent the MGM Email:
         [The MGM Email] . . . followed the imposition of a TRO for interfering with the business. He knew
         what was in the TRO and he knew what it applied to, and it restricted him from communicating with
         me or any of the other independent directors without Pachulski [Debtor’s counsel] being on it.
         Furthermore, Pachulski had advised Dondero’s counsel that not only could they not communicate
         with us, if they wanted to communicate they had to prescreen the topics. And how do we know that?
         Because Dondero filed a motion to modify the TRO. And that was all before this email.
 June 8 Hearing Transcript, 273:13-22.

                                                          14
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              15 of 105
                                                     Page 295 of 678 PageID 301



 The MGM Email had the subject line “Trading Restriction re MGM – material non public

 information” and stated:

         Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and
         Apple actively diligencing in Data Room. Both continue to express material
         interest. Probably first quarter event, will update as facts change. Note also any
         sales are subject to a shareholder agreement.37

         Seery credibly testified at the June 8 Hearing that he was “highly suspicious” when he

 received the MGM Email. This was because, among other reasons, Dondero sent it after: (i)

 unsuccessful efforts to impede the Debtor’s trading activities (followed by the TRO); (ii) the “be

 careful what you do” text to Seery by Dondero: (iii) Highland’s termination of its shared service

 arrangements with Dondero’s various affiliated entities; (iv) the bankruptcy court’s approval of

 the disclosure statement; and (v) Highland’s demand to collect on the demand notes for which

 Dondero and his entities were liable.38 Highland’s Chapter 11 case was fast approaching the finish

 line. Moreover, MGM was already on the restricted list at Highland Capital, and had been for a

 long time, and Dondero would know this.39 Still further, as of December 17, 2020 (the date

 Dondero sent the unsolicited MGM Email to Seery), Dondero no longer owed a duty of any kind

 to the Debtor or any entity controlled by the Debtor, having surrendered in January 2020 direct

 and indirect control of the Debtor to the Independent Board as part of the corporate governance

 settlement40 and having resigned from all roles at the Debtor and affiliates in October 2020. Still

 further, Dondero—to the extent he was sharing with Seery MNPI that he obtained as a member of

 the board of directors of MGM—would have been violating his own fiduciary duties to MGM.




 37
    Highland Ex. 11.
 38
    June 8 Hearing Transcript, 273:1-274:4.
 39
    June 8 Hearing, 215:21-216:9.
 40
    See Bankr. Dkt. Nos. 339, 354-1 (Term Sheet)).

                                                     15
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              16 of 105
                                                     Page 296 of 678 PageID 302



          In any event, in a declaration filed by Dondero in support of HMIT’s Rule 202 petition in

 Texas state court for pre-suit discovery,41 he indicated that his goal in sending the MGM E-mail

 was to impede the Debtor and Seery from engaging in any transactions involving MGM:

          On December 17, 2020, I sent an email to employees at HCM, including the then
          Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
          public information regarding Amazon and Apple’s interest in acquiring MGM. I
          became aware of this information due to my involvement as a member of the board
          of MGM. My purpose was to alert Seery and others that MGM stock, which was
          owned either directly or indirectly by HCM, should be on a restricted list and not
          be involved in any trades.

          It is noteworthy that Dondero’s labeling of the MGM Email (in the subject line) as a

 communication containing “material non public information” did not make it so. In fact, it

 appears from the credible evidence presented at the June 8, 2023 hearing on HMIT’s Motion for

 Leave that the MGM Email did not disclose information to Seery that was not already made available

 to the public at the time it was sent. Seery testified that he did not think the MGM Email contained

 MNPI and that he did not personally “take any steps . . . to make sure that MGM stock was placed

 on a restricted list at Highland Capital after [he] received [the MGM Email]” because—as earlier

 noted—“MGM was already on the restricted list at Highland Capital . . . before I got to

 Highland.”42 Indeed, MGM was ultimately purchased by Amazon after a sale process that had

 been quite publicly discussed in media reports for several months43 and that was officially


 41
    Highland Ex. 9 ¶ 3 (emphasis added).
 42
    June 8 Hearing Transcript, 215:21-216:9. Seery elaborated upon further questioning from HMIT’s counsel that he
 did not think the indications in the MGM Email (that came from a member of the board of directors of MGM) that “it
 was probably a first-quarter event” and that “Amazon and Apple were actively diligencing – are diligencing in the
 data room, both continue to express material interest” were not MNPI. Id., 217:23-218:10. He testified that “it was
 clear [before he received the MGM Email] from the media reports and the actual quotes from Kevin Ulrich of
 Anchorage, who was the chairman at MGM, that a transaction would have to take place very quickly. And, in fact,
 the transaction did not take place in the first quarter.” Id., 219:3-7.
 43
    See Highland Ex. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
 . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
 Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
 (article dated 1/26/20); Highland Ex. 26 (describing prospects of an MGM sale, noting that, among its largest


                                                          16
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              17 of 105
                                                     Page 297 of 678 PageID 303



 announced to the public in late May 2021 (just a few weeks after the Claims Purchasers purchased

 some of their claims, but a few months before certain of their claims—the UBS claims—were

 purchased).44 For example, as early as January 2020, Apple and Amazon were identified as being

 among a new group of “Big 6” global media companies, and MGM was identified as being a

 leading media acquisition target. Indeed, according to at least one media report on January 26,

 2020, “MGM, in particular, seems like a logical candidate to sell this year” having already held

 “preliminary talks with Apple, Netflix and other larger media companies.”45 In October 2020, the

 Wall Street Journal reported that MGM’s largest shareholder, Anchorage Capital Group

 (“Anchorage”), was facing mounting pressure to sell the company. Anchorage was led by Kevin

 Ulrich, who also served as Chairman of MGM’s Board. The article reported that “[i]n recent

 months, Mr. Ulrich has said he is working toward a deal,” and he specifically named Amazon and

 Apple as being among four possible buyers.46 Thus, no one following the MGM story would have

 been surprised to learn in December 2020 that Apple and Amazon were conducting due diligence

 and had expressed “material interest” in acquiring MGM. Dondero testified during the June 8

 Hearing that, at the time he sent the MGM Email, he “knew with certainty from the board level

 that Amazon had hit our price, and it was going to close in the next couple of months,”47 that “as

 of December 17th, Amazon had made an offer that was acceptable to MGM, [and that] that’s what

 the board meeting was. We were going into exclusive negotiations to culminate the merger with




 shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exs. 27-30 &
 34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
 announcing sale to Amazon on May 26, 2021, for $8.4 billion).
 44
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.
 45
    Highland Ex. 25.
 46
    Highland Ex. 26.
 47
    June 8 Hearing Transcript, 127:2-4.

                                                       17
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              18 of 105
                                                     Page 298 of 678 PageID 304



 them.”48 Notwithstanding this testimony, Dondero eventually admitted (after a lengthy and

 torturous cross examination) that he did not actually communicate this supposed “inside”

 information to Seery in the MGM Email. He did not “say anything about Amazon hitting the

 price.” He did not say anything about the MGM board going into exclusive negotiations with

 Amazon “to culminate the merger with them.” Rather, he communicated information that Seery

 and any member of the public who cared to look could have gleaned from publicly available

 information as of December 17, 2020, regarding a much-written-about potential MGM transaction

 that involved interest from numerous companies, including, specifically, Amazon and Apple.

 When questioned why “[he felt] the need to mention Apple [in the MGM Email] if Amazon had

 already hit the price,” Dondero simply answered, “The only way you generally get something done

 at attractive levels in business is if two people are interested,” suggesting that he specifically did

 not communicate the purported inside information he obtained as a MGM board member—that

 Amazon had met MGM’s strike price and that the MGM board was moving forward with exclusive

 negotiations with Amazon—because he wanted it to appear that there was still a competitive

 process going on that included both Amazon and Apple.49

            Even if the MGM Email contained MNPI on the day it was sent (four months prior to the

 first of the Claim Purchases that occurred in April 2021), the information was fully and publicly

 disclosed to the market in the days and weeks that followed. For example, on December 21, 2020,

 just four days later, a Wall Street Journal article titled MGM Holdings, Studio Behind ‘James

 Bond,’ Explores a Sale, reported that MGM had “tapped investment banks Morgan Stanley and

 LionTree LLC and begun a formal sale process,” and had “a market value of around $5.5 billion,

 based on privately traded shares and including debt.” The Wall Street Journal Article reiterated

 48
      Id., 161:10-14.
 49
      June 8 Hearing Transcript, 162:2-6.

                                                  18
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              19 of 105
                                                     Page 299 of 678 PageID 305



 that (i) Anchorage “has come under pressure in recent years from weak performance and defecting

 clients, and its illiquid investment in MGM has become a larger percentage of its hedge fund as it

 shrinks,” and (ii) “Mr. Ulrich has told clients in recent months he was working toward a deal for

 the studio and has spoken of big technology companies as logical buyers.”50 (Id. Ex. 27.) The

 Wall Street Journal’s reporting was picked up and expanded upon in other publications soon after.

 For example:

             On December 23, 2020, Business Matters published an article specifically
              identifying Amazon as a potential suitor for MGM. The article, titled The world is
              net enough! Amazon joins other streaming services in £4bn bidding war for Bond
              films as MGM considers selling back catalogue, cited the Wall Street Journal article
              and further reported that MGM “hopes to spark a battle that could interest streaming
              services such as Amazon Prime”;51

             On December 24, 2020, an article in iDropNews specifically identified Apple as
              entering the fray. In an article titled Could Apple be Ready to Gobble Up MGM
              Studios Entirely?, the author observed that “it’s now become apparent that MGM is
              actually up on the auction block,” noting that the Wall Street Journal was “reporting
              that the studio has begun a formal sale process” and that Apple—with a long history
              of exploratory interest in MGM—would be a likely bidder;52 and

             On January 15, 2021, Bulwark published an article entitled MGM is For Sale (Again)
              that identified attributes of MGM likely to appeal to potential purchasers and
              handicapped the odds of seven likely buyers—with Apple and Amazon named as two
              of three potential buyers most likely to close on an acquisition.53

          Finally, Highland and entities it controlled did not sell their MGM stock while the MGM-

 Amazon deal was under discussion and/or not made public but, instead, they tendered their MGM

 holdings in connection with, and as part of, the ultimate MGM-Amazon transaction after it closed

 in March 2022.




 50
    Highland Ex. 27.
 51
    Highland Ex. 28.
 52
    Highland Ex. 29.
 53
    Highland Ex. 30.

                                                   19
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              20 of 105
                                                     Page 300 of 678 PageID 306



          2. No Evidence to Support HMIT/Dondero’s Assumptions that Seery Shared Alleged
             MNPI in the MGM Email with Claims Purchasers

          One of HMIT’s allegations in the Proposed Complaint it seeks leave to file—which is

 central to HMIT’s and Dondero’s conspiracy theory—is that Seery shared the alleged MNPI from

 the MGM Email with the Claims Purchasers (or at least Farallon—the owner/affiliate of Muck,

 one of the Claims Purchasers) and that the Claims Purchasers only acquired the purchased claims

 (“Purchased Claims”) based on, and because, of their receipt of the MNPI from Seery. HMIT

 essentially admits in the original version of its Motion for Leave that it has no direct evidence that

 Seery communicated the alleged MNPI to any of the Claims Purchasers. Rather, its allegation is

 based on inferences it wants the court to make based on “circumstantial” evidence and on the

 Dondero Declarations that were attached to the Motion for Leave, which described

 communications Dondero purportedly had with one or two representatives of Farallon in the “late

 spring” of 2021 concerning Farallon’s recent acquisition of certain claims in the Highland

 bankruptcy case.54 Based on these communications, HMIT and Dondero only assume Seery must

 have provided the MNPI about MGM to Farallon, which must have caused both Farallon and the

 other Claims Purchaser, Stonehill, to acquire the Purchased Claims.55

          At the June 8 Hearing, HMIT offered Dondero’s testimony that he had three telephone

 conversations with two representatives of Farallon, Mike Linn (“Linn”) and Raj Patel (“Patel”),



 54
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 1 and Ex. 3; see also Highland Ex. 9, Declaration of James Dondero
 (with Exhibit 1) dated February 15, 2023.
 55
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 28. HMIT subsequently filed the final version of the Motion for Leave
 that was revised to withdraw the Dondero Declarations and delete all references therein to the Dondero Declarations
 (but, notably, leaving in the allegations that were based on the Dondero Declaration(s)). This was done after the court
 ruled that it would allow the Proposed Defendants to examine Dondero regarding his Declarations. HMIT contended
 at that point that the court should consider the Motion for Leave on a no-evidence Rule 12(b)(6) type basis (but could
 not explain why it had attached the Dondero Declarations as evidence that “supported” the Motion for Leave, if it
 believed no evidence should be considered). See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 28; see also infra pages
 45 to 47 regarding the “sideshow” litigation that occurred prior to the June 8 Hearing over whether the hearing on the
 Motion for Leave would be an evidentiary hearing.

                                                           20
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              21 of 105
                                                     Page 301 of 678 PageID 307



 who allegedly told him that they purchased the claims without conducting any due diligence and

 based solely on Seery’s assurances that the claims were valuable. These conversations allegedly

 took place on May 28, 2021—two days after the MGM-Amazon deal was officially announced to

 the public (on May 26, 2021). Dondero also testified that a photocopy of handwritten notes

 (“Dondero Notes”)56 (which were partially cut off) were notes he took contemporaneously with

 these short telephone conversations he initiated (one with Patel and two follow-up conversations

 with Linn).57 He testified that his purpose in taking these notes and in initiating the phone calls

 was that “[w]e’d been trying nonstop to settle the case for two-plus years. . . . [a]nd when we heard

 the claims traded, we realized there were new parties to potentially negotiate to resolve the case

 . . . [s]o I reached out [to] the Farallon guys,”58 and further, on voir dire from the Proposed

 Defendants’ counsel, that the purpose of taking the notes was so that he had “a written record of

 the important points that [he] discussed . . . so I know how to address it the next time.”59 The

 handwritten notes60 stated:

           Raj Patel bought it because of Seery               1
           50-70¢ not compelling                              2
              Class 8                                        3
           Asked what would be compelling                     4
           -- No Offer                                        5
           Bought in Feb/March timeframe                      6
                  Bought assets w/ Claims                     7
             Offered him 40-50% premium                      8
           130% of cost; “Not Compelling”                     9
           No Counter; Told Discovery coming                 10

 56
    HMIT Ex. 4. The handwritten notes were admitted into evidence after voir dire, not for the truth of anything Patel
 or Linn allegedly said to him during the three telephone conversations, but as Dondero’s “present sense impression”
 of the telephone conversations.
 57
    June 8 Hearing Transcript, 133:1-136:3.
 58
    See id., 133:13-23.
 59
    See id. (on voir dire), 144:1838-145:4.
 60
    HMIT Ex. 4. The court has placed in a table and numbered each line for ease of reference. The table does not
 include the separate apparent partial date from the top left corner that Dondero testified was the date that he made the
 initial call to Patel: May 28, 2021.

                                                           21
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              22 of 105
                                                     Page 302 of 678 PageID 308



         On direct examination, Dondero testified that line 1 is what he wrote contemporaneously

 with the short call he initiated to Patel of Farallon in which Patel allegedly told Dondero “that he

 bought it because Seery told him to buy it and they had made money with Seery before”61 and that

 Farallon “bought [the claim] because he was very optimistic regarding MGM”62 before referring

 him to Linn, a portfolio manager at Farallon. Dondero testified that the rest of the handwritten

 notes (reflected in lines 2 through 10 of the table) were notes he took contemporaneously with two

 telephone conversations he had with Linn following his call to Patel, with lines 2-8 referring to

 Dondero’s first call with Linn and lines 9 and 10 referring to his second call with Linn.63 Dondero

 testified that the “50-70¢” in line 2 referred to his offer to Linn to pay 70 cents on the dollar to buy

 Farallon’s64 claims because “[w]e knew that they had – that the claims had traded around 50 cents”

 and “[w]e wanted to prevent the $5 million-a-month burn” (referring to attorney‘s fees in the

 Highland case) and that “not compelling Class 8” in lines 2-3 referred to Linn’s response to him

 that the offer was not compelling.65 Dondero testified that lines 4-5 referred to him asking Linn

 what amount would be compelling and to Linn’s response that “he had no offer.”66 Dondero

 testified that lines 6-8 referred to Linn telling Dondero that Farallon bought the claims in the

 February, March timeframe and that Dondero told Linn that, given that the estate was spending $5

 million a month on legal fees, Farallon should want to sell its claims and Linn’s alleged response

 that “Seery told him it was worth a lot more.”67 Lastly, Dondero testified on direct examination




 61
    June 8 Hearing Transcript, 134:7-10, 135:13-22.
 62
    Id., 139:3-11.
 63
    Id., 136:4-138:16.
 64
    As noted above, Farallon did not acquire any of the Purchased Claims; rather, Farallon created a special purpose
 entity, Muck, to acquire the claims.
 65
    June 8 Hearing Transcript, 136:4-16.
 66
    Id., 136:17-23.
 67
    Id., 137:6-138:7.

                                                         22
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              23 of 105
                                                     Page 303 of 678 PageID 309



 that the last two lines referred to a second telephone conversation he had with Linn in which

 Dondero offered 130 percent of cost for the claims and that Linn told him that the offer was not

 compelling, and he would not give a price at which he would sell.68

         On cross-examination, Dondero acknowledged that, though he had testified that the

 handwritten notes were intended to be a written record of the important points from the telephone

 conversations he had with Patel and Linn, there was no mention in the notes of: (1) MGM: (2) or

 that Farallon was very optimistic about MGM; (3) the sharing of MNPI; (4) a quid pro quo; or

 (5) Seery’s compensation, and that his last note—“Told Discovery coming”—was a reference to

 Dondero telling Linn (not Linn telling Dondero) that discovery was coming in response to

 Dondero’s own supposition that Farallon must have traded on MNPI.69 Cross-examination also

 revealed that Farallon never told Dondero that Seery gave them MNPI, and that Dondero only

 believed Seery must have given Farallon MNPI, because Farallon (Patel and Linn) had told him

 that the only reason Farallon bought their claims was because of their prior dealings with Seery,

 which Dondero took to mean that they had conducted no due diligence on their own prior to

 acquiring the claims. Dondero also testified that he did not have any personal knowledge as to

 how Seery’s compensation package, as CEO of the Reorganized Debtor and Claimant Trustee,

 was determined because he was “not involved” in the setting of Seery’s compensation pursuant to

 the Claimant Trust70 and that he never discussed Seery’s compensation with Farallon.71

         As noted earlier, Dondero attempted to obtain discovery from the Claims Purchasers in a

 Texas state court pursuant to Rule 202 of the Texas Rules of Civil Procedure. The Texas state



 68
    Id., 138:8-22.
 69
    Id., 190:14-191:25. Dondero testified that he told Linn that discovery “would be coming in the next few weeks” and
 noted that “this has been a couple years. . . . [w]e’ve been trying for two years to get . . . discovery in this.”
 70
    Id., 200:13-201:1.
 71
    Id., 208:23-209:8.

                                                          23
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              24 of 105
                                                     Page 304 of 678 PageID 310



 court denied the First Rule 202 petition on June 1, 2022, after having considered the amended

 petition, the responses, the record, applicable authorities and having conducted a hearing on the

 petition on June 1, 2022.72

         3. Dondero Unsuccessfully Seeks Discovery and to Have Various Agencies and Courts
            Outside of the Bankruptcy Court Acknowledge His Insider Trading Theories

         Dondero acknowledged at the June 8 Hearing that the verified petition (“First Rule 202

 Petition”) he signed and filed on July 22, 2021, in the first Texas Rule 202 proceeding—just weeks

 after his telephone calls with Linn and Patel—was true and accurate. In it, he swore under oath as

 to what Linn told him in the telephone call concerning Farallon’s purchase of the claims, and the

 only reason he gave for wanting discovery was that Linn told him Farallon bought the claims “sight

 unseen—relying entirely on Seery’s advice solely because of their prior dealings.”73 Dondero

 acknowledged, as well, that his sworn statement that he filed in support of an amended verified

 Rule 202 petition filed in the same Texas Rule 202 proceeding, but nearly ten months later (in May

 2022), described the same telephone conversation he had with Linn, and it did not mention MGM

 at all and did not say that Linn told him that Seery gave him MNPI; rather, the sworn statement

 stated only that “On a telephone call between Petitioner and Michael Lin[n], a representative of

 Farallon, Mr. Lin[n] informed Petitioner that Farallon had purchased the claims sight unseen and

 with no due diligence—100% relying on Seery’s say-so because they had made so much money

 in the past when Seery told them to purchase claims” and that Linn did not tell him that Seery gave

 them MNPI, but he concluded that Seery gave Farallon MNPI based on what Linn did tell him.74



 72
    Highland Ex. 7.
 73
    Id., 193:8-194:16; Highland Ex. 3, Verified Petition to Take Deposition before Suit and Seek Documents, ¶ 21. The
 first Texas Rule 202 proceeding in which Dondero sought discovery regarding the Farallon acquisition of its claims
 was brought by Dondero, individually, in the 95th Judicial District, Dallas County, Texas.
 74
    Id., 195:11-197:17; Highland Ex. 4, Amended Verified Petition to Take Deposition before Suit and Seek Documents,
 ¶ 23.

                                                         24
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              25 of 105
                                                     Page 305 of 678 PageID 311



 Nine days later, Dondero filed a declaration in the same proceeding, in which he described the

 same call with Linn as follows:75

          Last year, I called Farallon’s Michael Lin[n] about purchasing their claims in the
          bankruptcy. I offered them 30% more than what they paid. I was told by Michael
          Lin[n] of Farallon that they purchased the interests without doing any due diligence
          other than what Mr. James Seery—the CEO of Highland—told them, and that he
          told them that the interests would be worth far more than what Farallon paid. Given
          the value of those claims that Seery had testified in court, it made no sense to me
          that Mr. Lin[n] would think that the claims were worth more than what Seery
          testified under oath was the value of the bankruptcy claims.

 Dondero further stated in his declaration that “I have an interest in ensuring that the claims

 purchased by [Farallon] are not used as a means to deprive the equity holders of their share of the

 funds,” and that “[i]t has become obvious that despite the fact that the bankruptcy estate has enough

 money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to drain the

 bankrupt estate and deprive equity of their rights. Accordingly, “I commissioned an investigation

 by counsel who have been in communication with the Office of the United States Trustee.”76

 Dondero attached as Exhibit A to his declaration a letter from Douglas Draper (“Draper”), an

 attorney with the law firm of Heller, Draper & Horn, L.L.C. in New Orleans, to the office of the

 General Counsel, Executive Office for U.S. Trustees, dated October 5, 2021, in which Draper

 opens the letter by stating that “[t]he purpose of this letter is to request that your office investigate

 the circumstances surrounding the sale of claims by members of the [Creditors’ Committee] in the

 bankruptcy of [Highland],” and later noted that he “became involved in Highland’s bankruptcy

 through my representation of [Dugaboy], an irrevocable trust of which Dondero is the primary

 beneficiary.”77 Mr. Draper laid out the same allegations of insider claims trading, breach of




 75
    Highland Ex. 5, ¶ 2.
 76
    Id., ¶¶ 3-4.
 77
    Id., Ex. A, 1-2.

                                                    25
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              26 of 105
                                                     Page 306 of 678 PageID 312



 fiduciary duties, and conspiracy that HMIT seeks to bring in the Proposed Complaint.78 The U.S.

 Trustee’s office took no action. Dondero made a second and third attempt to get the U.S. Trustee’s

 office to conduct an investigation into the same allegations laid out in Draper’s letter, this time in

 “follow-up” letters to the Office of the U.S. Trustee on November 3, 2021, and six months later,

 on May 11, 2022, through another lawyer, Davor Rukavina (“Rukavina”), in which Rukavina

 wrote “to provide additional information regarding the systemic abuses of bankruptcy process

 occasioned during the [Highland] bankruptcy.”79 Again, the U.S. Trustee’s office took no action.

          On February 15, 2023, Dondero filed yet another sworn statement about his alleged

 conversation with Linn, this time in support of a Verified Rule 202 Petition filed by HMIT

 (“Second Rule 202 Petition”), filed in a different Texas state court (Texas District Court, 191st

 Judicial District, Dallas County, Texas), following Dondero’s unsuccessful attempts throughout

 2021 and 2022 to obtain discovery in the First Rule 202 proceeding and based on the same

 allegations of misconduct by Seery and Farallon.80         In this new sworn statement, Dondero

 describes for the first time the “call” he had with Linn as having been “phone calls” with Patel and

 Linn and mentions MGM and Farallon’s alleged optimism about the expected sale of MGM:81

          In late Spring of 2021, I had phone calls with two principals at Farallon Capital
          Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
          calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
          purchase the Acis and HarbourVest claims, which I understood to refer to claims
          that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
          Mr. Linn stated that Farallon agreed to purchase these claims based solely on
          conversations with Seery because they had made significant profits when Seery told
          them to purchase other claims in the past. They also stated that they were
          particularly optimistic because of the expected sale of MGM.




 78
    Id., Ex. A, 6-11.
 79
    HMIT Ex. 61.
 80
    Highland Ex. 9.
 81
    Id., ¶ 4.

                                                  26
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              27 of 105
                                                     Page 307 of 678 PageID 313



 The Second Rule 202 Petition was also denied by the second Texas state court on March 8, 2023.82

         HMIT, in an apparent attempt to provide support for its argument that the Proposed Claims

 are “colorable,” stated in its Motion for Leave that “[t]he Court also should be aware that the Texas

 States [sic] Securities Board (“TSSB”) opened an investigation into the subject matter of the

 insider trades at issue, and this investigation has not been closed. The continuing nature of this

 investigation underscores HMIT’s position that the claims described in the attached Adversary

 Proceeding are plausible and certainly far more than merely ‘colorable.’”83 But, two days before

 opposition briefing was due, on May 9, 2023, the TSSB issued a letter (“TSSB Letter”) to

 Highland, informing it that “[t]he staff of the [TSSB] has completed its review of the complaint

 received by the Staff against [Highland]. The issues raised in the complaint and information

 provided to our Agency were given full consideration, and a decision was made that no further

 regulatory action is warranted at this time.”84 HMIT’s counsel (frankly, to the astonishment of the

 court) objected to the admission of the TSSB Letter at the June 8 Hearing “on the grounds of

 relevance, 403, hearsay, and authenticity . . . [a]nd I also . . . think it's important that the decision

 by a regulatory body has no bearing on this cause of action or the colorability of this claim, and

 the Texas State Securities Board will tell you that. This is completely and utterly irrelevant to your

 inquiry.”85 The court overruled HMIT’s objection to the relevance of this exhibit—considering,

 among other things, that HMIT, in its Motion for Leave, specifically mentioned the allegedly open

 TSSB “investigation” as relevant evidence the court “should be aware” of in making its

 determination of whether the Proposed Claims were “colorable.”86


 82
    Highland Ex. 10.
 83
    Motion for Leave, ¶ 37.
 84
    See Highland Ex. 33.
 85
     June 8 Hearing Transcript, 323:22-324:3.
 86
    Id., 324:4-328:2.

                                                    27
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              28 of 105
                                                     Page 308 of 678 PageID 314



      C. Claims Purchasers Purchase Claims and File Notices of Transfers of Claims

         To be clear about the time line here, it was after confirmation of the Plan but prior to the

 Effective Date of the Plan, that the Claims Purchasers: (1) purchased several large unsecured

 claims that had been allowed following, and as part of, Rule 9019 settlements, each of which were

 approved by the bankruptcy court, after notice and hearing, prior to the confirmation hearing; and

 (2) filed notices of the transfers of those claims pursuant to Rule 3001(e)(2) of the Federal Rules

 of Bankruptcy Procedure. The noticing of the claims transfers began on April 16, 2021, with the

 notice of transfer of the claim held by Acis Capital Management to Muck, and ended on August

 9, 2021, with the notices of transfers of the claims held by UBS Securities to Muck and Jessup:

      Claimant(s)                Date Filed/     Asserted Amount                Claim                Date Filed/
                                 Claim No.                                Settled/Allowed?          Rule 3001
                                                                           If so, Amount            Notice Dkt.
                                                                                                        No.
 Acis Capital Management          12/31/2019     $23,000,000             Yes87                  4/16/2021
 LP and Acis Capital              Claim No.                                                     Bankr. Dkt. No.
 Management, GP LLC                  23                                  $23,000,000            2215
 (together, “Acis”)                                                                             (Muck)
 Redeemer Committee of             4/3/2020      $190,824,557            Yes88                  4/30/2021
 the Highland Crusader              Claim                                                       Bankr. Dkt. No.
 Fund (the “Redeemer               No. 72                                $137,696,610           2261
 Committee”)                                                                                    (Jessup)
 HarbourVest 2017 Global           4/8/2020      Unliquidated            Yes89                  4/30/2021
 Fund, LP, HarbourVest                                                                          Bankr. Dkt. No.
 2017 Global AIF, LP,            Claim Nos.                              $80,000,000 in         2263
 HarbourVest Partners LP,         143, 147,                              aggregate              (Muck)
 HarbourVest Dover Street         149, 150,                              ($45,000,000
 IX Investment LP, HV             153, 154                               General
 International VIII                                                      Unsecured
 Secondary LP,                                                           Claim, and
 HarbourVest Skew Base                                                   $35,000,000
 AIF LP (the “HarbourVest                                               subordinated claim)
 Parties”)



 87
    Bankr. Dkt. No. 1302. The Debtor’s settlement with Acis was approved over the objection of Dondero. Bankr. Dkt.
 No. 1121.
 88
    Bankr. Dkt. No. 1273.
 89
    Bankr. Dkt. No. 1788. The Debtor’s settlement with the HarbourVest Parties was approved over the objections of
 Dondero, Bankr. Dkt. No. 1697, and Dugaboy and the Get Good Trust. Bankr. Dkt. No. 1706.

                                                        28
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              29 of 105
                                                     Page 309 of 678 PageID 315



 UBS Securities LLC, UBS           6/26/2020      $1,039,957,799.40       Yes90                   8/9/2021
 AG, London Branch (the                                                                           Bankr. Dkt. No.
 “UBS Parties”)                   Claim Nos.                              $125,000,000 in         2698
                                   190, 191                               aggregate               (Muck) and
                                                                          ($65,000,000            Bankr. Dkt. No.
                                                                          General                 2697
                                                                                                  (Jessup)


             HMIT insists that it “made no sense” for the Claims Purchasers to buy the Purchased

 Claims because “the publicly available information [] did not offer a sufficient potential profit to

 justify the publicly disclosed risk,” and “their investment was projected to yield a small return with

 virtually no margin for error.”91 Dondero testified that it was his view that there was insufficient

 information in the public to justify the claims purchases.92 But, HMIT’s arguments here are

 contradicted by the information that was publicly available to Farallon and Stonehill at the time of

 their purchases and by HMIT’s own allegations. In advance of Plan confirmation, Highland

 projected that Class 8 general unsecured creditors would recover 71.32% on their allowed claims.

 In the Proposed Complaint, HMIT sets forth the amounts the Claims Purchasers purportedly paid

 for their claims.93 Taking into account the face amount of the allowed claims, the Claims

 Purchasers’ projected profits (in millions of dollars) were as follows:

                                               Ascribed                                  Purchase       Projected
       Creditor        Class 8     Class 9     Value94             Purchaser              Price          Profit

      Redeemer        $137.0       $0.0        $97.71         Stonehill                  $78.0          $19.71

      Acis             $23.0       $0.0        $16.4          Farallon                   $8.0           $8.40


 90
    Bankr. Dkt. No. 2389. The Debtor’s settlement with the UBS Parties was approved over the objections of Dondero,
 Dkt. No. 2295, and Dugaboy and the Get Good Trust. Bankr. Dkt. Nos. 2268, 2293.
 91
    Proposed Complaint, ¶ 3.
 92
    June 8 Hearing Transcript, 187:3-7 (“Q: And it’s your testimony that there wasn’t sufficient information in the
 public for them to buy – this is your view – that there wasn’t sufficient information in the public to justify their
 purchases. Is that your view? A: Correct.).
 93
    Id., ¶ 42.
 94
    “Ascribed Value” is derived by multiplying the Class 8 amount by the projected recovery of 71.32% for that class.

                                                         29
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              30 of 105
                                                     Page 310 of 678 PageID 316



      HarbourVest     $45.0       $35.0       $32.09         Farallon                  $27.0         $5.09

      UBS             $65.0       $60.0       $46.39         Stonehill & Farallon      $50.0         ($3.61)

 As HMIT acknowledges, by the time Dondero spoke with Farallon in the “late spring” of 2021,

 the Claims Purchasers had acquired the allowed claims previously held by Acis, Redeemer, and

 HarbourVest.95 Based on an aggregate purchase price of $113 million for these three claims, the

 Claims Purchasers would have expected to net over $33 million in profits, or nearly 30% on their

 investment, had Highland met its projections. The Claims Purchasers would make even more

 money if Highland beat its projections, because they also purchased the Class 9 claims and would

 therefore capture any upside. In this context, HMIT’s and Dondero’s assertions that it did not

 “make any sense” for the Claims Purchasers to purchase their claims when they did does not pass

 muster—given the publicly available information about potential recoveries under the Plan.

 Dondero even acknowledged, on cross-examination, that he was prepared to pay 30 percent more

 than Farallon had paid, even though he did not think there was sufficient public information

 available to justify Farallon’s purchase of the claims.96 Dondero essentially testified that he

 wanted to purchase Farallon’s claims because he wanted to be in a position of control to force a

 settlement or resolution of the bankruptcy case, post-confirmation, under terms acceptable to him.

 He did not want to try to settle by negotiating with Farallon and Stonehill as creditors, but instead

 he wanted to purchase the claims because “if we owned all the claims, it would settle the case.”97




 95
    See Complaint, ¶ 41 n.12. The UBS claims were not acquired until August 2021, long after the alleged “quid pro
 quo” was supposedly agreed upon and the MGM-Amazon deal was announced in the press in late May 2021. See,
 Highland Ex. 34, Amazon’s $8.45 Billion Deal for MGM is Historic But Feels Mundane (dated May 26, 2021).
 96
    June 8 Hearing Transcript, 187:8-11.
 97
    Id., 187:12-189:10.

                                                        30
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              31 of 105
                                                     Page 311 of 678 PageID 317



        D. Fifth Circuit’s Approval of the Gatekeeper Provision in Plan, Recognition of Res Judicata
           Effect of the Prior Gatekeeper Orders, and the Bankruptcy Court’s Order Approving
           Highland’s Motion to Conform Plan

            Harkening back to February 22, 2021, after a robust confirmation hearing, this court

 entered its order confirming the Plan, over the objections of Dondero and Dondero-Related Parties,

 specifically questioning the good faith of their objections. The court found, after noting “the

 remoteness of their economic interests” that “[it] has good reason to believe that [the Dondero

 Parties] are not objecting to protect economic interests they have in the Debtor but to be disruptors.

 Dondero wants his company back. This is understandable, but it is not a good faith basis to lob

 objections to the Plan.”94 The Plan became effective on August 11, 2021.

            Of relevance to the Motion for Leave, the confirmed Plan included certain exculpations,

 releases, and injunctions designed to protect the Debtor and other bankruptcy participants from

 bad-faith litigation. These participants included: Highland’s employees (with certain exceptions);

 Seery as Highland’s CEO and CRO; Strand (after the appointment of the Independent Directors);

 the Independent Directors; the successor entities; the CTOB and its members; the Committee and

 its members; professionals retained in the case; and all “Related Persons.” The injunction

 provisions contained a Gatekeeper Provision which is similar to the gatekeeper provisions in the

 prior Gatekeeper Orders in that it provided that the bankruptcy court will act as a “gatekeeper” to

 screen and prevent bad-faith litigation against the Protected Parties. The Gatekeeper Provision in

 the Plan states, in pertinent part:98

            No Enjoined Party may commence or pursue a claim or cause of action of any kind
            against any Protected Party that arose or arises from or is related to the Chapter 11
            Case . . . without the Bankruptcy Court (i) first determining, after notice and a
            hearing, that such claim or cause of action represents a colorable claim of any kind,
            including, but not limited to, negligence, bad faith, criminal misconduct, willful
            misconduct, fraud, or gross negligence against a Protected Party and (ii) specifically


 98
      Plan, 50-51 (emphasis added).

                                                     31
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              32 of 105
                                                     Page 312 of 678 PageID 318



          authorizing such Enjoined Party to bring such claim or cause of action against such
          Protected Party.

 The Plan defines Protected Parties as,

          collectively, (i) the Debtor and its successors and assigns, direct and indirect
          majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii)
          Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
          Committee, (vii) the members of the Committee (in their official capacities), (viii)
          the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the
          Litigation Trustee, (xii) the members of the [CTOB] (in their official capacities),
          (xiii) [HCMLP GP LLC], (xiv) the Professionals retained by the Debtor and the
          Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
          Persons of each of the parties listed in (iv) through (xv); [but excluding Dondero
          and Okada and various entities including HMIT and Dugaboy].

 The court notes that the Gatekeeper Provision in the Plan provides protection to a broader number

 of persons than the persons protected under the January 2020 Order (addressing the Independent

 Directors and their agents and advisors) and the July 2020 Order (addressing Seery in his role as

 CEO and CRO of the Debtor). But, at the same time, it is less restrictive than the gatekeeping

 provisions under the Gatekeeper Orders, in that the gatekeeping provisions in the prior orders

 shield the protected parties from any claim that is not both “colorable” and a claim for “willful

 misconduct or gross negligence,” effectively providing the protected parties under the prior orders

 with a limited immunity from claims of simple negligence or breach of contract that do not rise to

 the level of “willful misconduct or gross negligence,” whereas the Gatekeeping Provision under

 the Plan does not act as a release or exculpation of the Protected Parties in any way because it does

 not prohibit any party from bringing any kind of claim against a Protected Party, provided the

 proposed claimant first obtains a finding in the bankruptcy court that its proposed claims are

 “colorable.”99




 99
   It should be noted that--as discussed further below--there are, separately in the Plan, exculpations as to a smaller
 universe of persons--e.g., the Debtor, the Committee and its members, and the Independent Directors.

                                                           32
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              33 of 105
                                                     Page 313 of 678 PageID 319



          Dondero and some of the entities under his control appealed100 the Confirmation Order

 directly to the Fifth Circuit, arguing, among other issues, that the Plan’s exculpation, release, and

 injunction provisions, including the Gatekeeper Provision (collectively, the “Protection

 Provisions”) impermissibly provide certain non-debtor bankruptcy participants with a discharge,

 purportedly in contravention of the provisions of Bankruptcy Code § 524(e)’s statutory bar on non-

 debtor discharges. As noted above, the Fifth Circuit, “affirm[ed] the confirmation order in large

 part” and “reverse[d] only insofar as the plan exculpates certain non-debtors in violation of 11

 U.S.C. § 524(e), strik[ing] those few parties from the plan’s exculpation, and affirm[ed] on all

 remaining grounds.”101 The Fifth Circuit specifically found the “injunction and gatekeeping

 provisions [to be] sound” and found that it was only “the exculpation of certain non-debtors” that

 “exceed[ed] the bankruptcy court’s authority,” agreeing with the bankruptcy court’s conclusions

 that the Protection Provisions were legal, necessary under the circumstances, and in the best

 interest of all parties” in part, and only disagreeing to the extent that the exculpation provision

 improperly extended to certain bankruptcy participants other than Highland, the Committee and

 its members, and the Independent Directors and “revers[ing] and strik[ing] the few unlawful parts


 100
     On appeal, the appellant funds (“Funds”), whom this court found to be “owned and/or controlled” by Dondero
 despite their purported independence, also asked the Fifth Circuit to vacate this court’s factual finding “because it
 threatens the Funds’ compliance with federal law and damages their reputations and values” and because “[a]ccording
 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely independent from
 him.” NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital Mgmt., L.P.), 48 F.4th at 434.
 Applying the “clear error” standard of review, the Fifth Circuit “le[ft] the bankruptcy court’s factual finding
 undisturbed” because “nothing in this record leaves us with a firm and definite conviction that the bankruptcy court
 made a mistake in finding that the Funds are ‘owned and/or controlled by [Dondero].” Id. at 434-35.
 101
     See supra note 4. The Fifth Circuit replaced its initial opinion with its final opinion a few days after certain
 appellants had filed a short (four-and-one-half pages) motion for rehearing (the “Motion for Rehearing”) on September
 2, 2022. The movants had asked the Fifth Circuit to “narrowly amend the [initial] Opinion in order to confirm the
 Court’s holding that the impermissibly exculpated parties are similarly struck from the protections of the injunction
 and gatekeeper provisions of the plan (in other words, that such parties cannot constitute ‘Protected Parties’).” In the
 final Fifth Circuit opinion, same as the initial Fifth Circuit opinion, the Fifth Circuit stated that, with regard to the
 Confirmation Order, the panel would “reverse only insofar as the plan exculpates certain non-debtors in violation of
 11 U.S.C. § 524(e), strike those few parties from the plan’s exculpation, and affirm on all remaining grounds.”
 Highland Capital, 48 F.4th at 424. No findings, discussion, or rulings regarding the injunction and gatekeeper
 provisions that were in the initial Fifth Circuit opinion were disturbed.

                                                            33
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              34 of 105
                                                     Page 314 of 678 PageID 320



 of the Plan’s exculpation provision.”102 The Fifth Circuit then remanded to the Bankruptcy Court

 “for further proceedings in accordance with the opinion.”103

          In the course of analyzing the Protection Provisions under the Plan, the Fifth Circuit noted

 that the protection provisions in the January and July 2020 Orders appointing the Independent

 Directors and Seery as CEO and CRO of Highland were res judicata and that “those orders have

 the effect of exculpating the Independent Directors and Seery in his executive capacities” such that

 “[d]espite removal from the exculpation provision in the confirmation order, the Independent

 Directors’ agents, advisors, and employees, as well as Seery in his official capacities are all

 exculpated to the extent provided in the January and July 2020 Orders.”104

          The Reorganized Debtor filed a motion in the bankruptcy court to conform the plan to the

 Fifth Circuit’s mandate, proposing that only one change was needed to make the Plan compliant

 with the Fifth Circuit’s ruling: narrow the defined term for “Exculpated Parties” to read as follows:

          “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the Independent
          Directors, (iii) the Committee, and (iv) members of the Committee (in their official
          capacities).

 The Reorganized Debtor proposed that this one simple revision of this defined term removed the

 exculpations deemed by the Fifth Circuit to violate section 524(e) of the Bankruptcy Code, and

 that no other changes would be required to conform the Plan and Confirmation Order to the Fifth

 Circuit’s mandate. Some of the Dondero-related entities objected to the motion to conform,

 arguing that the Fifth Circuit’s ruling required more surgery on the Plan than simply narrowing

 the defined term “Exculpated Parties.” On February 27, 2023, this court entered its order granting


 102
     Id. at 435.
 103
     Id. at 440. The Fifth Circuit’s docket reflects that it issued its Judgment and mandate on September 12, 2022.
 104
     Highland Capital, 48 F.4th at 438 n.15. The Fifth Circuit stated, “To the extent Appellants seek to roll back the
 protections in the bankruptcy court’s January 2020 and July 2020 orders (which is not clear from their briefing), such
 a collateral attack is precluded.” Id.

                                                          34
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              35 of 105
                                                     Page 315 of 678 PageID 321



 Highland’s motion to conform the Plan, ordering that one change be made to the Plan – revising

 the definition of “Exculpated Parties” – and no more.105 The objecting parties’ direct appeal of

 this order has been certified to the Fifth Circuit and is one of the numerous currently active appeals

 by Dondero-related parties pending in the Fifth Circuit.

       E. HMIT’s Motion for Leave

          HMIT filed its emergency Motion for Leave on March 28, 2023, which, with attachments,

 as first filed, was 387 pages in length, including an initial proposed complaint (“Initial Proposed

 Complaint”) and two sworn declarations of Dondero that were attached as “objective evidence” in

 “support[ ]” of the Motion for Leave,106 and with it, an application for an emergency setting on the

 hearing on the Motion to Leave. On April 23, 2023, HMIT filed a pleading entitled a “supplement”

 to its Motion to Leave (“Supplement”),107 to which it attached a revised proposed verified

 complaint (“Proposed Complaint”)108 as Exhibit 1-A to the Motion for Leave and stated that “[t]he

 Supplement is not intended to amend or supersede the [Motion for Leave]; rather, it is intended as

 a supplement to address procedural matters and to bring forth additional facts that further confirm

 the appropriateness of the derivative action.”109          The HMIT Motion for Leave was later amended

 to eliminate the Dondero Declarations and references to the same (but not the underlying

 allegations that were supposedly supported by the Dondero Declarations).110




 105
     Bankr. Dkt. No. 3672.
 106
     Bankr. Dkt. No. 3699.
 107
     Bankr. Dkt. No. 3760.
 108
     See supra note 5.
 109
     Supplement ¶ 1.
 110
     Bankr. Dkt. Nos. 3815 and 3816. Both of these filings had the Initial Proposed Complaint attached as Exhibit 1 to
 the Motion for Leave.

                                                          35
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              36 of 105
                                                     Page 316 of 678 PageID 322



        As earlier noted, HMIT desires leave to sue the Proposed Defendants regarding the post-

 confirmation, pre-Effective Date purchase of allowed unsecured claims.           The Proposed

 Defendants would be:

                Seery, who was a stranger to Highland until approximately four months
        following the Petition Date when he was brought in as one of the three Independent
        Directors, and now serves as the CEO of the Reorganized Debtor and the Trustee
        of the Claimant Trust (and also was previously Highland’s CRO during the case,
        then CEO, and, also, an Independent Board Member of Highland’s general partner
        during the Highland case). Seery is best understood as the man who took Dondero’s
        place running Highland—per the request of the Committee.
                Claims Purchasers, who were strangers to Highland until the end of the
        bankruptcy case. They are identified as Farallon Capital Management, LLC
        (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
        created by Farallon to purchase unsecured claims against Highland; Stonehill
        Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
        which was a special purpose entity created by Stonehill to purchase unsecured
        claims against Highland (collectively, the “Claims Purchasers”). The Claims
        Purchasers purchased $240 million face value of already-allowed unsecured claims
        post-confirmation and pre-Effective Date in the spring of 2021 and another $125
        million face value of already-allowed unsecured claims in August 2021.
        Bankruptcy Rule 3001(e) notices—giving notice of same—were filed on the
        bankruptcy clerk’s docket regarding these purchases. The claims had previously
        been held by the creditors known as the Crusader Redeemer Committee, Acis
        Capital, HarbourVest, and UBS (three of these four creditors formerly served on
        the Committee during the Highland bankruptcy case).
               John Doe Defendants Nos. 1-10, which are described to be “currently
        unknown individuals or business entities who may be identified in discovery as
        involved in the wrongful transactions at issue.”
               Highland, as a nominal defendant. HMIT added Highland as a nominal
        defendant in the Revised Proposed Complaint attached to the Supplement.
              Claimant Trust, as a nominal defendant. HMIT added the Claimant Trust
        as a nominal defendant in the Revised Proposed Complaint attached to the
        Supplement.
 The proposed plaintiffs would be:
                HMIT, which, again, was the largest equity holder in Highland and held a
        99.5% limited partnership interest (specifically, Class B/C limited partnership
        interests). HMIT is the holder of a Class 10 interest under the Plan, pursuant to
        which HMIT’s limited partnership interest in Highland was extinguished as of the
        Effective Date in exchange for a pro rata share of a contingent interest in the
        Claimant Trust.

                                               36
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              37 of 105
                                                     Page 317 of 678 PageID 323



                  Highland, as a nominal party. HMIT wishes to bring its complaint on behalf
         of itself and derivatively on behalf of the Reorganized Debtor.
                 Claimant Trust, as a nominal party. HMIT wishes to bring its complaint on
         behalf of itself and derivatively on behalf of the Claimant Trust.

         In the Proposed Complaint, HMIT asserts the following six counts: Count I (against Seery)

 for breach of fiduciary duties; Count II (against the Claims Purchasers and John Doe Defendants)

 for knowing participation in breach of fiduciary duties; Count III (against all Proposed Defendants)

 for conspiracy; Count IV (against Muck and Jessup) for equitable disallowance of their claims;

 Count V (against all Proposed Defendants) for unjust enrichment and constructive trust; and Count

 VI (against all Proposed Defendants) for declaratory relief.111 The gist of the Proposed Complaint

 is as follows. HMIT asserts that something seems amiss regarding the post-confirmation/pre-

 Effective Date purchase of claims by the Claims Purchasers. Actually, more bluntly, HMIT asserts

 that “wrongful conduct occurred” and “improper trades” were made.112 HMIT believes the Claims

 Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

 HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

 funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

 Statement and Plan projections regarding the projected distributions under the Plan to holders of

 allowed unsecured claims. And, of course, Dondero purports to have concluded from the three

 phone conversations he had with representatives of one of the Claims Purchasers that they did no

 due diligence before purchasing the claims. Therefore, HMIT surmises, Seery must have given

 these Claims Purchasers MNPI regarding Highland that convinced them that it was to their

 economic advantage to purchase the claims. In particular, HMIT surmises Seery must have shared

 111
     In the Initial Proposed Complaint, HMIT proposed to bring claims against the various Proposed Defendants in
 seven counts, including a count for fraud by misrepresentation and material nondisclosure against all Proposed
 Defendants. In the Proposed Complaint, HMIT abandons its claim for fraud by misrepresentation and material
 nondisclosure.
 112
     Motion for Leave, 7.

                                                       37
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              38 of 105
                                                     Page 318 of 678 PageID 324



 MNPI regarding the likely imminent sale of MGM, in which Highland had, directly and indirectly,

 substantial holdings. As noted earlier, MGM was ultimately purchased by Amazon after a sale

 process that had been quite publicly discussed in media reports for several months and that was

 officially announced to the public in late May 2021 (just a few weeks after the Claims Purchasers

 purchased some of their claims, but a few months before certain of their claims—the UBS

 claims—were purchased).113 In summary, while the Proposed Complaint is lengthy and at times

 hard to follow, it boils down to allegations that: (a) Seery filed (or caused to be filed) deflated,

 pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

 the Plan, (b) then induced very sophisticated unsecured creditors to discount and sell their claims

 to the likewise very sophisticated Claims Purchasers, (c) which Claims Purchasers are allegedly

 friendly with Seery, and are now happily approving Seery’s allegedly excessive compensation

 demands post-Effective Date (resulting in less money in the pot to pay off the creditor body in full,

 and, thus, a diminished likelihood that HMIT will realize any recovery on its contingent Class 10

 interest). HMIT argues that Seery should be required to disgorge his compensation. It appears

 that HMIT also seeks other damages in the form of equitable disallowance of the Claims

 Purchasers’ claims and disgorgement of distributions on account of those claims, the imposition

 of a constructive trust over all disgorged funds, and declaratory relief.

         HMIT claims that, in seeking to file the Proposed Complaint, it is seeking to protect the

 rights and interests of the Reorganized Debtor, the Claimant Trust, and “innocent stakeholders”

 who were allegedly injured by Seery’s and the Claims Purchasers’ alleged conspiratorial and



 113
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid. Credible testimony
 from Seery at the June 8 Hearing revealed that Highland and entities it controlled tendered their MGM holdings in
 connection with the Amazon transaction (they did not sell their holdings while the MGM-Amazon deal was under
 discussion and/or not made public).

                                                        38
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              39 of 105
                                                     Page 319 of 678 PageID 325



 fraudulent scheme to line Seery’s pockets with excessive compensation for his role as Claimant

 Trustee. In its Motion for Leave, HMIT states that “[t]he attached Adversary Proceeding alleges

 claims which are substantially more than ‘colorable’ based upon plausible allegations that the

 Proposed Defendants, acting in concert, perpetrated a fraud, including a fraud upon innocent

 stakeholders, as well as breaches of fiduciary duties and knowing participation in (or aiding or

 abetting) breaches of fiduciary duty.”114

       F. Is HMIT Really Dondero by Another Name?

          The Proposed Defendants argue that HMIT’s Motion for Leave is nothing more than a

 continuation of the harassing and bad-faith litigation by Dondero and his related entities that the

 Gatekeeper Provisions were intended to prevent and, thus, this is one of multiple reasons that the

 Motion for Leave should be denied.

          To be clear, HMIT asserts that it is controlled by Mark Patrick (“Patrick”), who has been

 HMIT’s administrator since August 2022. Patrick asserts that he is not influenced or controlled

 by Dondero, in general, and specifically not in its efforts to pursue the Proposed Claims against

 Seery and the Claims Purchasers. However, the testimony elicited at the June 8 Hearing—the

 hearing at which HMIT had the burden of showing the court that its Proposed Claims were

 “colorable” such that it should be allowed to pursue them through the filing of the Proposed

 Complaint—paints a different picture. Somewhat tellingly, HMIT chose not to call Patrick—

 allegedly HMIT’s only representative and control person—as a witness in support of its Motion

 for Leave. Rather, Dondero was HMIT’s first witness called in support of its motion, and the first



 114
    See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 3. HMIT notes, in a footnote 6, that “Neither this Motion nor the
 proposed Adversary Complaint seeks to challenge the Court’s Orders or the Plan. In addition, neither this Motion nor
 the proposed Adversary Complaint seeks to redistribute the assets of the Claimant Trust in a manner that would
 adversely impact innocent creditors. Rather, the proposed Adversary Proceeding seeks to benefit all innocent
 stakeholders while working within the terms and provisions of the Plan, as well as the Claimant Trust Agreement.”

                                                         39
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              40 of 105
                                                     Page 320 of 678 PageID 326



 questions on direct from HMIT’s counsel were aimed at establishing that Dondero was not behind

 the filing of the Motion for Leave and the pursuit of the Proposed Claims.115 Dondero testified

 that he did not (i) “have any current official position” with HMIT, (ii) “attempt to exercise [control]

 on the business affairs of [HMIT],” (iii) “have any official legal relationship with [HMIT] where

 [he] can attempt to exercise either direct or indirect control over [HMIT],” or (iv) “participate in

 the decision of whether or not to file the proceedings that are currently pending before Judge

 Jernigan.”116 After HMIT rested, Highland and the Claimant Trust called Patrick as a witness, and

 he testified that he was the administrator of HMIT, that HMIT does not have any employees,

 operations, or revenues, and, when asked if HMIT owned any assets, Patrick testified, with not a

 great deal of certainty, that “it’s my understanding it has a contingent beneficiary interest in the

 Claimants [sic] Trust” and that is the only asset HMIT has.117 Patrick testified that HMIT did not

 owe any money to Dondero personally, but acknowledged that in 2015, HMIT had issued a secured

 promissory note in favor of Dondero’s family trust, Dugaboy, in the amount of approximately

 $62.6 million (the “Dugaboy Note”) in exchange for Dugaboy transferring a portion of its limited

 partner interests in Highland to HMIT; the Dugaboy Note was secured in part by the Highland

 limited partnership interests purchased from Dugaboy.118 Patrick admitted that, if HMIT’s Class

 10 interest has no value, HMIT would have no ability to pay the Dugaboy Note.119 He further

 testified that neither he nor any representative of HMIT had ever spoken with any representative

 of Farallon or Stonehill, that he had no personal knowledge about any quid pro quo, the amount

 of due diligence Farallon or Stonehill conducted prior to buying their claims, or the terms of

 115
     See June 8 Hearing Transcript, 113:10-25.
 116
     Id.
 117
     June 8 Hearing Transcript, 307:7-308:2.
 118
     Id., 303:11-305:1; Highland Ex. 51, HMIT’s $62,657,647.27 Secured Promissory Note dated December 24, 2015,
 in favor of Dugaboy.
 119
     Id., 308:3-16.

                                                      40
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              41 of 105
                                                     Page 321 of 678 PageID 327



 Seery’s compensation package (until the terms were disclosed to them in opposition to the Motion

 for Leave).120 Patrick admitted that Dugaboy was paying HMIT’s attorneys’ fees pursuant to a

 settlement agreement between HMIT and Dugaboy.121

         On cross-examination by HMIT’s counsel, Patrick further testified that HMIT has not filed

 any litigation, as plaintiff, other than its efforts to be a plaintiff in the Motion for Leave and its

 action as a petitioner in the Texas Rule 202 proceeding filed earlier in 2023 in the Texas state

 court.122 HMIT’s counsel argued that the point of this questioning was that “they’re just trying to

 draw Dondero into this and – this vexatious litigant argument, and we’re just developing the fact

 that obviously Hunter Mountain has only filed – attempting to file this action and a Rule 202

 proceeding.123 But, Dondero and HMIT’s counsel referred during the June 8 Hearing to the First

 Rule 202 Petition (where Dondero was the petitioner) and the Second Rule 202 Petition (where

 HMIT was the petitioner) as “our” Rule 202 petitions, and also to the numerous attempts at getting

 the discovery (that Dondero had warned Linn was coming) in the collective. For example, in

 objecting to the admission of Highland’s Exhibit 10 – the Texas state court order denying and

 dismissing the Second Rule 202 Petition – on the basis of relevance, HMIT’s counsel referred to

 the order as “an order denying our second” Rule 202 Petition.124 And, Dondero testified that his

 warning to Linn in May 2021 that “discovery was coming” was “my response to I knew they had

 traded on material nonpublic information” and that “I thought it would be a lot easier to get


 120
      Id., 308:18-312:12. This testimony from Patrick came after HMIT’s counsel objection to counsel’s line of
 questioning regarding Patrick’s personal knowledge of the facts supporting the allegations in the Proposed Complaint
 on the basis that he was invading the attorney work product privilege, which was overruled by this court; HMIT’s
 counsel argued (311:4-19) that the line of questioning was an “invasion of attorney work product . . . [b]ecause they
 might – he would have knowledge from the efforts and investigation through attorneys in the case.”
 121
     Id., 312:24-313:18.
 122
     Id., 315:3-9.
 123
     Id., 316:6-11.
 124
     Id., 58:11-13. The court overruled HMIT’s relevance objection and admitted Highland’s Exhibit 10 into evidence.
 Id., 58:14-15.

                                                          41
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              42 of 105
                                                     Page 322 of 678 PageID 328



 discovery on a situation like this than it has been for the last two years” and that “we’ve been trying

 for two years to get . . . discovery.“125

            Dondero’s use of an entity over which he exerts influence and control to pursue his own

 agenda in the bankruptcy case is not new. Rather, this has been part of Dondero’s modus operandi

 since the “nasty breakup” between Dondero and Highland that culminated with Dondero’s ouster

 in October 2020, whereby Dondero, after not getting his way in the bankruptcy court, continued

 to lob objections and create obstacles to Highland’s implementation of the Plan through entities

 he owns or controls. As noted above, the Fifth Circuit specifically upheld this court’s finding in

 the Confirmation Order that Dondero owned or controlled the various entities that had objected to

 confirmation of the Plan and appealed the Confirmation Order, where the Dondero-related

 appellants made similar protestations that they are not owned or controlled by Dondero and asked

 the Fifth Circuit to vacate this court’s factual finding because, among other reasons, “[a]ccording

 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely

 independent from him.”126 Based on the totality of the evidence in this proceeding, the court finds

 that, contrary to the protestations of HMIT’s counsel and Patrick otherwise, Dondero is the driving

 force behind HMIT’s Motion for Leave and the Proposed Complaint. The Motion for Leave is

 just one more attempt by Dondero to press his conspiracy theory that he has pressed for over two

 years now, unsuccessfully, in Texas state court through Rule 202 proceedings, with the Texas State

 Securities Board, and with the United States Trustee’s office.




 125
       Id., 191:5-25.
 126
        Highland Capital, 48 F.4th at 434-435.

                                                   42
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              43 of 105
                                                     Page 323 of 678 PageID 329



     G. Opposition to Motion for Leave: Arguing No Standing and No “Colorable” Claims

         Highland, the Claimant Trust, and Seery (together, the “Highland Parties”) filed a joint

 opposition (“Joint Opposition”) to HMIT’s Motion for Leave on May 11, 2023.127 The Claims

 Purchasers filed a separate objection (“Claims Purchasers’ Objection”) to the Motion for Leave on

 May 11, 2023, as well.128 In the Joint Opposition, the Highland Parties urge the court to deny

 HMIT leave to pursue the Proposed Claims because, as a threshold matter, HMIT does not have

 standing to bring them, directly or derivatively against the Proposed Defendants. They argue, in

 the alternative, that the Motion for Leave should be denied even if HMIT had standing to pursue

 the Proposed Claims because none of the Proposed Claims are “colorable” claims as that term is

 used in the Gatekeeper Provision of the Plan (and Gatekeeper Orders).129

         The Claims Purchasers likewise argue that HMIT lacks standing to complain about claims

 trading in the bankruptcy which occurred between sophisticated Claims Purchasers and

 sophisticated sellers (“Claims Sellers”), represented by skilled bankruptcy and transactional

 counsel. Moreover, they argue HMIT cannot show that it or the Reorganized Debtor or the

 Claimant Trust were injured by the claims trading at issue because the Purchased Claims had

 already been adjudicated as allowed claims in the bankruptcy case—thus, distributions under the

 Plan on account of the Purchased Claims remain the same, the only difference being who holds

 the claims. Moreover, even if HMIT could succeed in equitably subordinating the validly

 transferred allowed claims, HMIT would still be in the same position it is today: the holder of a


 127
     Bankr. Dkt. Nos. 3783. Highland, the Claimant Trust, and Seery also filed on May 11 a Declaration of John A.
 Morris in Support of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint
 Opposition to Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding (“Morris
 Declaration”) that attached 44 Exhibits in support of the Joint Opposition. Bankr. Dkt. No. 3784.
 128
     Bankr. Dkt. No. 3780.
 129
     See Joint Opposition ¶ 139 (“Because HMIT lacks standing, this Court need not reach the merits of HMIT’s
 proposed Adversary Complaint. As a matter of judicial economy, however, the Highland Parties respectfully request
 that this Court address the lack of merit as an alternative basis to deny the Motion.”).

                                                        43
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              44 of 105
                                                     Page 324 of 678 PageID 330



 contingent, speculative Class 10 interest that would only be paid after payment, in full, with

 interest, of all creditors under the Plan. The Claims Purchasers argue in the alternative that the

 Proposed Claims are not “colorable.”

          Finally, the Proposed Defendants argue that the standard of review for assessing whether

 the Proposed Claims are “colorable” (as such term is used in the Gatekeeper Provision and

 Gatekeeping Orders) is a standard that is a higher than the “plausibility” standard applied to Rule

 12(b)(6). They argue that HMIT should be required to meet a higher bar with respect to

 colorability that includes making a prima facie showing that the Proposed Claims have merit

 (and/or are not without foundation) which requires HMIT to do more than meet the liberal notice-

 pleading standards.

       H. HMIT’s Reply to the Proposed Defendants’ Opposition to the Motion for Leave

          In its reply brief (“Reply”), filed by HMIT on May 18, 2023,130 it argues that it has

  constitutional standing as an “aggrieved party” to bring the Proposed Claims on behalf of itself.131

  HMIT also argues that it has standing under Delaware Trust law to bring a derivative action on

  behalf of the Claimant Trust and that it not only has standing to bring the Proposed Claims

  derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best party to bring

  the claims.132 Finally, HMIT maintains that the standard of review that the bankruptcy court

  should apply in assessing the “colorability” of the Proposed Claims is no greater than the standard

  of review applied to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6), which

  would require the bankruptcy court to look only to the “four corners” of the Proposed Complaint


 130
     Bankr. Dkt. No. 3785.
 131
     See Reply ¶ 7.
 132
     See, Reply ¶ 23 n.5, where HMIT argues “The nature of this injury, in addition to Seery’s influence over the
 Claimant Trust, and the lack of prior action by the Claimant Trust to pursue the claims HMIT seeks to pursue
 derivatively, among other things, demonstrate that HMIT is not only a proper party to assert its derivative claims –
 but the best party to do so.”

                                                         44
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              45 of 105
                                                     Page 325 of 678 PageID 331



  and “not weigh extraneous evidence,”133 take all allegations as true, and view all allegations and

  inferences in a light most favorable to HMIT. As discussed in greater length below, HMIT argues

  that, under this standard, the bankruptcy court should not consider evidence in making its

  determination as to whether the Proposed Complaint presents “colorable” claims.

       I. Litigation within the Litigation: The Pre- June 8 Hearing Skirmishes

          Suffice it to say there was significant activity before the Motion for Leave actually was

 presented at the June 8 hearing. HMIT sought an emergency hearing on its Motion for Leave

 (wanting a hearing on three days’ notice). When the bankruptcy court denied an emergency

 hearing, HMIT unsuccessfully pursued an interlocutory appeal of the denial of an emergency

 hearing to the district court. HMIT then petitioned for a writ of mandamus at the Fifth Circuit

 regarding the emergency hearing denial, which was denied by the Fifth Circuit on April 12, 2023.

          Next, there were multiple pleadings and hearings regarding what kind of hearing the

 bankruptcy court should or should not hold on the Motion for Leave—particularly focusing on

 whether or not it would be an evidentiary hearing.134 The resolution of this issue turned on what

 standard of review the court should apply in exercising its gatekeeping function and determining

 the colorability of the Proposed Claims. HMIT (although it had submitted two declarations of

 Dondero with its original Motion for Leave and approximately 350 pages of total evidentiary

 support) was adamant that there should be no evidence presented at the hearing on the Motion for

 Leave, arguing that the standard for review should be the plausibility standard under Rule 12(b)(6)


 133
    See Reply ¶ 47.
 134
     Highland, joined by Seery and the Claims Purchasers, had filed a motion asking the bankruptcy court to set a
 briefing schedule on the Motion for Leave and to schedule a status conference, indicating that Highland’s proposed
 timetable for same was opposed by HMIT. HMIT subsequently filed a response unopposed to a briefing schedule and
 status conference, but, before the status conference, HMIT filed a brief, stating it was opposed to there being any
 evidence at the ultimate hearing on the HMIT Motion for Leave—arguing the bankruptcy court did not need evidence
 to exercise its gatekeeping function and determine if HMIT has a “colorable” claim. Rather, the court need only
 engage in a Rule 12(b)(6)-type plausibility analysis.

                                                         45
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              46 of 105
                                                     Page 326 of 678 PageID 332



 motions to dismiss such that “the threshold inquiry is very, very low. Evidence is not allowed. . . .

 [S]imilar to a 12(b)(6) inquiry, [the court] is limited to the four corners of the principal pleading –

 in this case, the complaint, or now the revised complaint.”135 Counsel for the Proposed Defendants

 argued that the standard of review for colorability here, in the specific context of the court

 exercising its gatekeeping function under the Plan, is more akin to the standards applied under the

 Supreme Court’s Barton Doctrine136 pursuant to which that the bankruptcy court must apply a

 higher standard than the 12(b)(6) standard, including the consideration of evidence at the hearing

 on the motion for leave; if the standard of review presents no greater hurdle to the movant than the

 12(b)(6) standard applied to every plaintiff in every case, then the gatekeeping provisions mean

 nothing and do nothing to protect the parties from the harassing, bad-faith litigation they were put

 in place to prevent.137 On May 22, 2023, after receipt of post-hearing briefing on the issue, the

 court entered an order stating that “the court has determined that there may be mixed questions of

 fact and law implicated by the Motion for Leave” and “[t]herefore, the parties will be permitted to

 present evidence (including witness testimony) at the June 8, 2023 hearing [on the Motion to

 Leave] if they so choose.”

          Two days later, HMIT filed an emergency motion for expedited discovery or alternatively

 for continuance of the June 8, 2023 hearing, seeking expedited depositions of corporate



 135
     Transcript of April 24, 2023 Status Conference, Bankr. Dkt. No. 3765 (“April 24 Transcript”), 14:6-11.
 136
     The Barton Doctrine was established in the 19th century Supreme Court case of Barton v. Barbour, 104 U.S. 126
 (1881), and states that a party wishing to sue a court-appointed trustee or receiver must first obtain leave of the
 appointing court by making a prima facie case that the claim it wishes to bring is not without foundation.
 137
     See April 24 Transcript, 36:24-37:4 (“[W]e’re exactly today where the Court had predicted in entering [the
 Confirmation Order], that the costs and distraction of this litigation are substantial. And if all we’re doing is replicating
 a 12(b)(6) hearing on a motion for leave, we’re actually not doing anything to reduce, as the Court made clear, the
 burdens, distractions, of litigation.”); 37:5-13 (“The Fifth Circuit likewise cited Barton in its order affirming the
 confirmation order. Specifically, it also explained that the provisions, these gatekeeper provisions requiring advance
 approval were meant to ‘screen and prevent bad-faith litigation.’ Well that – if that means only what the Plaintiff[ ]
 say[s] it does, then it really doesn’t do anything at all to screen. There’s no gatekeeping because their version of what
 that means is always policed under 12(b)(6) standards.”).

                                                              46
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              47 of 105
                                                     Page 327 of 678 PageID 333



 representatives of the Claims Purchasers and of Seery and production of documents pursuant to

 deposition notices and subpoenas duces tecum that HMIT had attached to the motion. On May

 26, 2023, this court held yet another status conference. Following the status conference, the court

 granted in part and denied in part HMIT’s request for expedited discovery by ordering only Seery

 and Dondero to be made available for depositions prior to the June 8 Hearing. The court reached

 what seemed like appropriate middle ground by allowing the deposition of Seery and allowing the

 other parties to depose Dondero (for whom sworn declarations had been submitted), but the court

 was not going to allow any more discovery (i.e., of the Claims Purchasers) at so late an hour. The

 court was aware that HMIT and Dondero had been seeking discovery relating to the very claims

 trades that are the subject of the Revised Proposed Complaint from the Claims Purchasers in Texas

 state court “Rule 202” proceedings for approximately two years, where their attempts were

 rebuffed.

        Approximately 60 hours before the June 8 Hearing, HMIT filed its Witness and Exhibit

 List disclosing for the first time two potential expert witnesses (along with biographical

 information and a disclosure regarding the subject matter of their likely testimony). Highland, the

 Claimant Trust, and Seery filed a joint motion to exclude the expert testimony and documents

 (“Motion to Exclude”), which the court ultimately granted in a separate order.

        During the full-day June 8 Hearing on the Motion to Leave, the court admitted over 50

 HMIT exhibits and over 30 Highland/Claimant Trust exhibits. The court heard testimony from

 HMIT’s witnesses Dondero and Seery (as an adverse witness) and from the Highland Parties’

 witness Mark Patrick, the administrator of HMIT since August 2022 (as an adverse witness). The

 bankruptcy court allowed HMIT to make a running objection to all evidence—as it continued to

 argue that evidence was not appropriate.



                                                 47
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              48 of 105
                                                     Page 328 of 678 PageID 334




 III.      LEGAL ANALYSIS

           In determining whether HMIT should be granted leave, pursuant to the Gatekeeper

 Provision of the Plan and the court’s prior Gatekeeper Orders, to pursue the Proposed Claims, the

 court must address the issue of whether HMIT would have standing to bring the Proposed Claims

 in the first instance. If so, the next question is whether the Proposed Claims are “colorable.” But

 prior to getting into the weeds on standing and “colorability,” some general discussion regarding

 the topic of claims trading in the bankruptcy world seems appropriate, given that HMIT’s Proposed

 Claims are based, in large part, on allegations of improper claims trading.

        A. Claims Trading in the Context of Bankruptcy Cases—Can It Be Tortious or Otherwise
           Actionable?
           As noted, at the crux of HMIT’s desired lawsuit is what this court will refer to as “claims

 trading activity” that occurred shortly after the Plan was confirmed, but before the Plan went

 effective. HMIT believes that the claims trading activity gave rise to various torts: breach of

 fiduciary duty on the part of Seery; knowing participation in breach of fiduciary duty by the other

 Proposed Defendants; and conspiracy by all Defendants. HMIT also believes that the following

 remedies should be imposed: equitable disallowance of the Purchased Claims; disgorgement of

 the alleged profits the Claims Purchasers made on their purchases; and disgorgement of all Seery’s

 compensation received since the beginning of his “collusion” with the other Defendants. Without

 a doubt, the Motion for Leave and Proposed Complaint revolve almost entirely around the claims

 trading activity.

           This begs the question: When (or under what circumstances) might claims trading

 activity during a bankruptcy case give rise to a cause of action that either the bankruptcy estate

 or an economic stakeholder in the case might have standing to bring? Here, the claims trading


                                                   48
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              49 of 105
                                                     Page 329 of 678 PageID 335



 wasn’t even “during a bankruptcy case” really—it was post-confirmation and pre-effective date,

 and it happened to be: (a) after mediation of the claims, (b) after Rule 9019 settlement motions,

 (c) after objections by Dondero and certain of his family trusts were lodged, (d) after evidentiary

 hearings, and (e) after orders were ultimately entered allowing the claims (and in most cases, such

 orders were appealed). The further crux of HMIT’s desired lawsuit is that Seery allegedly

 “wrongfully facilitated and promoted the sale of large unsecured creditor claims to his close

 business allies and friends” by sharing material non-public information to them regarding the

 potential value of the claims (i.e., the potential value of the bankruptcy estate), and this is what

 made the claims trading activity particularly pernicious. The alleged sharing of MNPI allegedly

 caused the Claims Purchasers to purchase their claims without doing any due diligence and with

 knowledge that the claims would be worth much more than the Plan’s “pessimistic” projections

 might have suggested, and also allowed Seery to plant friendly allies into the creditor constituency

 (and on the post-confirmation CTOB) that would “rubber stamp” his generous compensation. This

 is all referred to as “not arm’s-length” and “collusive.” Notably, the MNPI mostly pertained to a

 likely future acquisition of MGM by Amazon (which transaction, indeed, occurred in 2022, after

 being publicly announced in Spring of 2021); as noted earlier, Highland owned, directly and

 indirectly, common stock in MGM. Also notably, there had been rumors and media attention

 regarding a potential sale of MGM for many months.138 In summary, to be clear, HMIT’s desired

 lawsuit is laced with a theme of “insider trading”—although this isn’t a situation of securities

 trading per se (i.e., the unsecured Purchased Claims were not securities), and, as noted earlier, the

 Texas State Securities Board has not seen fit to investigate the claims trading activity.

         So, preliminarily, is claims trading in bankruptcy sinister per se? The answer is no.


 138
   E.g., Benjamin Mullin, MGM Holdings, Studio Behind ‘James Bond,’ Explores a Sale, THE WALL STREET JOURNAL
 (Dec. 21, 2020, 6:38 p.m.).

                                                     49
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              50 of 105
                                                     Page 330 of 678 PageID 336



         The activity of investing in distressed debt (which frequently occurs during a bankruptcy

 case—sometimes referred to as “claims trading”) is ubiquitous and, indeed, has been so for a very

 long time. As noted by one scholar:

         The creation of a market in bankruptcy claims is the single most important
         development in the bankruptcy world since the Bankruptcy Code’s enactment in
         1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
         it a much more market-driven process. [Citations omitted.] . . . The development
         of a robust market for all types of claims against debtors has changed the cast of
         characters involved in bankruptcies. In addition to long-standing relational
         creditors, like trade creditors or a single senior secured bank or bank group,
         bankruptcy cases now involve professional distressed debt investors, whose
         interests and behavior are often quite different than traditional relational
         counterparty creditors.
 Adam J. Levitin, Bankruptcy Markets: Making Sense of Claims Trading, 4 BROOK. J. CORP. FIN.

 & COM. L. 64, 65 (2010) (hereinafter “Bankruptcy Markets”).139

         As a pure policy matter, some practitioners have bemoaned this claims trading

 phenomenon, suggesting that “distressed debt traders may sacrifice the long-term viability of a

 debtor for the ability to realize substantial and quick returns on their investments.”140 Others

 suggest that claims trading in bankruptcy is beneficial, in that it allows creditors of a debtor an

 early exit from a potentially long bankruptcy case, enabling them to save expense and

 administrative hassles, realize immediate liquidity on their claims (albeit discounted), and may




 139
     See also Aaron Hammer & Michael Brandess, Claims Trading: The Wild West of Chapter 11s, AM. BANKR. INST.
 JOURNAL 62 (Jul./Aug. 2010); Chaim Fortgang & Thomas Mayer, Trading Claims and Taking Control of
 Corporations in Chapter 11, 12 CARDOZO L. REV. 1, 25 (1990) (noting that “the first recorded instance of American
 fiduciaries trading claims against insolvent debtors predates all federal bankruptcy laws and goes back to 1790” when
 the original 13 colonies were insolvent, owing tremendous amounts of debt to various parties in connection with the
 Revolutionary War; early American investors purchased these debts for approximately 25% of their par value, hoping
 the claims would be paid at face value by the American government).
 140
     Harvey R. Miller, Chapter 11 Reorganization Cases and the Delaware Myth, 55 VAND. L. REV. 1987, 2016 (2002).
 See also Harvey R. Miller & Shai Y. Waisman, Does Chapter 11 Reorganization Remain a Viable Option for
 Distressed Businesses for the Twenty-First Century?, 78 AM. BANKR. L.J. 153 (2004); Harvey R. Miller & Shai Y.
 Waisman, Is Chapter 11 Bankrupt?, 47 B.C. L. REV. 129 (2005).

                                                          50
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              51 of 105
                                                     Page 331 of 678 PageID 337



 even permit them to take advantage of a tax loss on their own desired timetable.141 On the flipside,

 “[c]aims trading permits an entrance to the bankruptcy process for those investors who want to

 take the time and effort to monitor the debtor and contribute expertise to the reorganization

 process.”142

         So, what are the “rules of the road” here? What does the Bankruptcy Code dictate

 regarding claims trading? The answer is nothing. The Bankruptcy Code itself has no provisions

 whatsoever regarding claims trading. The only thing resembling any regulation of claims trading

 during a bankruptcy case is found at Federal Rule of Bankruptcy Procedure 3001(e)—the current

 version of which went into effect in 1991—and it imposes extremely light regulation—if it could

 even be called that. This rule requires, in pertinent part (at subsection (2)), that “[i]f a claim other

 than one based on a publicly traded note, bond, or debenture” is traded during the case after a proof

 of claim is filed, notice/evidence of that trade must be filed with the bankruptcy clerk by the

 transferee. The transferor shall then be notified and given 21 days to object. If there is an

 objection, the bankruptcy court will hold a hearing regarding whether a transfer, in fact, took place.

 If there is no objection, nothing further needs to happen, and the transferee will be considered

 substituted for the transferor.

         There are several things noteworthy about Rule 3001(e)(2). First, the only party given the

 opportunity to object is the transferor of the claim (presumably, in the situation of a dispute

 regarding whether there was truly an agreement regarding the transfer of the claim). Second, there

 is no need for a bankruptcy court order approving the transfer (except in the event of an objection


 141
     See Bankruptcy Markets, at 70. See also In re Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (“Claims trading allows
 creditors to opt out of the bankruptcy system, trading an uncertain future payment for an immediate one, so long as
 they can find a purchaser.”).
 142
      Bankruptcy Markets at 70 (citing, among other authorities, Edith S. Hotchkiss & Robert M. Mooradian, Vulture
 Investors and the Market for Control of Distressed Firms, 43 J. FIN. ECON. 401, 401 (1997) (finding that “vulture
 investors add value by disciplining managers of distressed firms”).

                                                          51
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              52 of 105
                                                     Page 332 of 678 PageID 338



 by the alleged transferor). Third, the economic consideration paid need not be disclosed to the

 court or anyone. Fourth, there is no requirement or definition of timeliness. Finally, it explicitly

 does not apply with regard to publicly traded debt. This, alone, means that many claims trades are

 not even reported in a bankruptcy case. But it is not just publicly traded debt that will not be

 reflected with a Rule 3001(e) filing. For example, bank debt, in modern times, is often syndicated

 (i.e., fragmented into many beneficial holders of portions of the debt) and only the administrative

 agent for the syndicate (or the “lead bank”) will file a proof of claim in the bankruptcy—thus, as

 the syndicated interests (participations) change hands, and they frequently do, there typically will

 not be a Rule 3001(e) notice filed.143 To be clear here, this syndication-of-bank-debt fact, along

 with the fact that there are financial products whereby bank debt might be carved up into economic

 interests separate and apart from legal title to the loan, means there are many situations in which

 trading of claims during a bankruptcy case is not necessarily transparent or, for that matter, policed

 by the bankruptcy court. This is the world of modern bankruptcy. Most of the claims trading that

 gets reported through a Rule 3001(e) notice is the trading of small vendor claims. And this is all

 regarded as private sale transactions for the most part.144

          Suffice it to say that there is not a wealth of case law dealing with claims trading in a

 bankruptcy context. Perhaps this is not surprising, since it is not prohibited and is mostly a matter

 of private contract between buyer and seller. The case law that does exist seems to arise in

 situations of perceived bad faith of a purchaser—for example, when there was an attempt to control

 voting and/or ultimate control of the debtor through the plan process (not always problematic, but


 143
     Anne Marrs Huber & Thomas H. Young, The Trading of Bank Debt in and Out of Chapter 11, 15 J. BANKR. L.
 & PRAC. 1, 1, 3 (2006).
 144
     Note that Bankruptcy Rule 3001(e) was very different before 1991. Between 1983-1991, the rule required that
 parties transferring claims inform the court that a transfer of claims was taking place and also disclose the
 consideration paid for the transferred claims. A hearing would take place prior to the execution of a trade. Judicial
 involvement was required and resulted in judicial scrutiny of transactions—something that simply does not exist today.

                                                          52
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              53 of 105
                                                     Page 333 of 678 PageID 339



 there are outlier cases where this was found to cross a line and result in consequences such as

 disallowing votes on a plan or even equitable subordination of a claim).145 Another type of case

 that has generated case law is where the purchaser of claims occupied a fiduciary status with the

 debtor.146 Still another type of case that has generated case law is where there is an attempt to

 cleanse claims that might have risks because of a seller’s malfeasance, by trading the claim to a

 new claim holder.147

          The following is a potpourri of the more notable cases that have addressed claims trading

 in different contexts. Most of them imposed no adverse consequences on claims traders: In re

 Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (where a corporation named Garlin, that was owned

 by the individual chapter 7 debtors’ sister and close friend, purchased a $900,000 bank claim for

 $16,500, and there was no disclosure of Garlin’s connections to debtors and no Rule 3001(e)(2)

 notice was filed, the Seventh Circuit reversed the bankruptcy court’s invocation of the doctrine of

 equitable subordination to the claim, stating: “Equitable subordination is generally appropriate

 only if a creditor is guilty of misconduct that causes injury to the interests of other creditors;” the

 Seventh Circuit further stated that it could “put to one side whether the court’s finding of

 inequitable conduct was correct” because even if there was misconduct, it did not harm the other

 creditors, who were in the same position whether the original creditor or Garlin happened to own

 the claim; the Seventh Circuit did note that Garlin’s decision to purchase the original bank

 145
     In re Applegate Prop. Ltd., 133 B.R. 827, 836 (Bankr. W.D. Tex. 1991) (designating votes of an affiliate of the
 debtor that purchased a blocking position to thwart a creditor’s plan because it was done in bad faith); In re Allegheny
 Int’l, Inc., 118 B.R. 282, 289–90 (Bankr. W.D. Pa. 1990) (because of bad faith activities, the court designated votes
 of a claims purchaser who purchased to get a blocking position on a plan). But see In re First Humanics Corp., 124
 B.R. 87, 92 (Bankr. W.D. Mo. 1991) (claims purchased by debtor’s former management company to gain standing to
 file a plan to protect interest of the debtor was in good faith).
 146
     See In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649-650 (Bankr. E.D. La. 1988) (and numerous old cites therein).
 147
     Enron Corp. v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180 (Bankr. S.D.N.Y. 2006),
 vacated, Enron Corp. v. Springfield Assocs., L.L.C. (In re Enron Corp.), 379 B.R. 425 (S.D.N.Y 2007); Enron Corp.
 v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 211 (Bankr. S.D.N.Y. 2005).



                                                           53
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              54 of 105
                                                     Page 334 of 678 PageID 340



 creditor’s claim might have disadvantaged the other creditors if it interfered with the trustee’s own

 potential settlement with the original bank creditor (note that the trustee argued that she had been

 negotiating a deal with bank under which bank might have reduced its claims); however, the trustee

 presented no evidence that any deal with the bank was imminent or even likely; thus, whether such

 a deal could have been reached was speculation; equitable subordination was therefore

 improper.”); Viking Assocs., L.L.C. v. Drewes (In re Olson), 120 F.3d 98, 102 (8th Cir. 1997) (case

 involved the actions of an entity known as Viking in purchasing all of the unsecured claims against

 the bankruptcy estate of two chapter 7 debtors, Hugo and Jeraldine Olson; Viking was a related

 entity, owned by the debtors’ children, and purchased $525,000 of unsecured claims for $67,000;

 while the bankruptcy court had discounted the claims down to the purchase amount and

 subordinated Viking's discounted claims to the claims of the other unsecured creditors, relying on

 section 105 of the Bankruptcy Code, the Eighth Circuit held that the bankruptcy court lacked the

 authority to do this, and, thus, reversed and remanded; the Eighth Circuit noted that in 1991,

 Bankruptcy Rule 3001(e)(2) was amended “to restrict the bankruptcy court's power to inspect the

 terms of” claims transfers. Id. at 101 (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1314 n. 9 (1st

 Cir. 1993)); the text of the rule makes clear that the existence of a “dispute” depends upon an

 objection by the transferor; where there is no objection by the transferor, there is no longer any

 role for the court); Citicorp. Venture Capital, Ltd. v. Official Committee of Unsecured Creditors

 (In re Papercraft Corp.), 160 F.3d 982 (3d Cir. 1998) (large investor who held seat on board of

 directors of debtor and debtor’s parent, and who also had nonpublic information regarding the

 debtor’s value, anonymously purchased 40% of the unsecured claims at a steep discount during

 the chapter 11 case, and then, having obtained a blocking position for plan voting purposes,

 proposed a plan to acquire debtor; the claims purchaser’s claims were equitably reduced to amount



                                                  54
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              55 of 105
                                                     Page 335 of 678 PageID 341



 paid for the claims since investor was a fiduciary who was deemed to have engaged in inequitable

 conduct); Figter Ltd. v. Teachers Ins. & Annuity Ass’n of Am. (In re Figter), 118 F.3d 635 (9th

 Cir. 1997) (Ninth Circuit affirmed bankruptcy court’s ruling that a secured creditor’s purchase of

 21 out of 34 unsecured claims in the case was in good faith and it would not be prohibited from

 voting such claims on the debtor’s plan, pursuant to Bankruptcy Code section 1126(e)); In re

 Lorraine Castle Apartments Bldg. Corp., 145 F.2d 55, 57 & 58 (7th Cir. 1945) (in a case under the

 old Bankruptcy Act, in which there were more restrictions on claims trading, a debtor and two of

 its stockholders argued that the claims of purchasers of bonds should be limited to the amounts

 they paid for them; bankruptcy court special master found, “that, though he did not approve

 generally the ethics reflected by speculation in such bonds,” there was no cause for limitation of

 the amounts of their claims, pointing out that the persons who had dealt in the bonds were not

 officials, directors, or stockholders of the corporation and owed no fiduciary duty to the estate or

 its beneficiaries—rather they were investors or speculators who thought the bonds were selling too

 cheaply and that they might make a legitimate profit upon them; the district court agreed, as did

 the Seventh Circuit, noting that “[t]o reduce the participation to the amount paid for securities, in

 the absence of exceptional circumstances which are not present here, would reduce the value of

 such bonds to those who have them and want to sell them. This would result in unearned,

 undeserved profit for the debtor, destroy or impair the sales value of securities by abolishing the

 profit motive, which inspires purchasers.”); In re Washington Mutual, Inc., 461 B.R. 200 (Bankr.

 Del. 2011), vacated in part, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (discussion of an

 equity committee’s potential standing to pursue equitable subordination or equitable disallowance

 of the claims of certain noteholders who had allegedly traded their claims during the chapter 11




                                                  55
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              56 of 105
                                                     Page 336 of 678 PageID 342



 case while having material non-public information; while bankruptcy court originally indicating

 these were viable tools, court later vacated its ruling on this after a settlement was reached).

          Suffice it to say that the courts have, more often than not, been unwilling to impose legal

 consequences, for an actor’s involvement with claims trading. At most, in outlier-type situations

 during a case, courts have taken steps to disallow claims for voting purposes or to subordinate

 claims to other unsecured creditors for distribution purposes.148 But the case at bar does not present

 facts that are typical of any of the situations in reported cases.

          For one thing, unlike in the reported cases this court has located, there seems to have been

 complete symmetry of sophistication among the claim sellers and claim purchasers here—and

 complete symmetry with HMIT for that matter. All persons involved are highly sophisticated

 financial institutions, hedge funds, or private equity funds. No one was a “mom-and-pop” type

 business or vendor that might be vulnerable to chicanery. The claims ranged from being worth

 $10’s of millions of dollars to $100’s of millions of dollars in face value. And, of course, the

 sellers/transferors of the claims have never shown up, subsequent to the claims trading


 148
     Note that, while some cases suggest that outright disallowance of an unsecured claim, in the case of “inequitable
 conduct” might be permitted (not merely equitable subordination to unsecured creditors)—usually citing to Pepper v.
 Litton, 308 U.S. 295 (1939)—the Fifth Circuit has suggested otherwise. In re Mobile Steel Co., Inc., 563 F.2d 692,
 699-700 (5th Cir. 1977) (cleaned up) (noting that “equitable considerations can justify only the subordination of
 claims, not their disallowance” and also noting that “three conditions must be satisfied before exercise of the power
 of equitable subordination is appropriate[:] (i) The claimant must have engaged in some type of inequitable conduct[;]
 (ii) The misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair advantage on
 the claimant[; and] (iii) Equitable subordination of the claim must not be inconsistent with the provisions of the
 Bankruptcy Act.” In Mobile Steel, the Fifth Circuit held that the bankruptcy judge exceeded the bounds of his equitable
 jurisdiction by disallowing a group of claims and also reversed the subordination of certain claims, on the grounds
 that the bankruptcy court had made clearly erroneous findings regarding alleged inequitable conduct and other
 necessary facts. Contrast In re Lothian Oil Inc., 650 F.3d 539 (5th Cir. 2011) (involving the question of whether a
 bankruptcy court may recharacterize a claim as equity rather than debt; the court held yes, but it has nothing to do
 with inequitable conduct per se; rather section 502(b)’s language that a claim should be allowed unless it is
 “unenforceable against the debtor and property of the debtor, under any agreement or applicable law....” is the relevant
 authority; unlike equitable subordination, recharacterization is about looking at the true substance of a transaction not
 the conduct of a party (if it looks like a duck and quacks like a duck, it’s a duck—i.e., equity); the court indicated that
 section 105 is not a basis to recharacterize debt as equity; it’s a matter of looking at state law to determine if there is
 any basis and looking at the nature of the underlying transaction—as either a lending arrangement or equity infusion.



                                                             56
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              57 of 105
                                                     Page 337 of 678 PageID 343



 transactions, to complain about anything. Everyone involved here is, essentially, a behemoth and

 there is literally no sign of innocent creditors getting harmed. Second, the case at bar is unique in

 that the claims traded here had all been allowed after objections, mediation, and Rule 9019

 settlements during the bankruptcy case. Thus, the amounts that would be paid on them were

 “locked in,” so to speak. There was no risk to a hypothetical claims-purchaser of disallowance,

 offset, or any “claw-back” litigation (or—one might have reasonably assumed—any type of

 litigation). Third, the terms for distributions on unsecured claims had been established in a

 confirmed plan (although the claims were purchased before the effective date of the Plan). Thus,

 there was a degree of certainty regarding return on investment for the Claims Purchasers here that

 was much higher than if the claims had been purchased early, during, or mid-way through the

 case.149 This was post-confirmation, pre-effective date claims purchasing. Interestingly, all three

 of these facts might suggest that little due diligence would be undertaken by any hypothetical

 purchaser. The rules of the road had been set. The court makes this observation because HMIT

 has suggested there is something highly suspicious about the fact that Farallon allegedly told

 Dondero that it did no due diligence before purchasing its claims (leading him to conclude that the

 Claims Purchasers must have purchased their claims based on receiving MNPI from Seery). Not

 only has there been no colorable evidence suggesting that insider information was shared, but the

 lack of due diligence in this context does not reasonably seem suspicious. The claims purchases


 149
       See discussion in BANKRUPTCY MARKETS, at 91:
             Some claims purchasers buy before the bankruptcy petition is filed, some at the beginning of the
             case, and some towards the end. For example, there are investors who look to purchase at low prices
             either when a business is failing or early in the bankruptcy and ride through the case until payouts
             are fairly certain. [Citations omitted.] These investors might be hoping to buy at 30 cents on the
             dollar and get a payout at 70 cents on the dollar. Perhaps if they waited another six months, the
             payout would be 74 cents on the dollar, but the additional 4 cents on the dollar for six months might
             not be a worthwhile return for the time value of the investment. Other investors might not want to
             assume the risk that exists in the early days of a case when the fate of the debtor is much less certain,
             but they would gladly purchase at 70 cents on the dollar at the end of the case to get a payout of 74
             cents on the dollar six months later.

                                                                57
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              58 of 105
                                                     Page 338 of 678 PageID 344



 were almost like passive investments, at this point—there was no risk of a claim objection and

 there was a confirmed plan, with a lengthy disclosure statement that described not only plan

 payment terms and projections, but essentially anything that any investor might want to know.

           To reiterate, here, HMIT seeks leave to assert the following causes of action:

    I.         Breach of Fiduciary Duties (Seery)

    II.        Knowing Participation in Breach of Fiduciary Duties (Claims Purchasers)

    III.       Conspiracy (all Proposed Defendants)

    IV.        Equitable Disallowance (Claims Purchasers)

    V.         Unjust Enrichment and Constructive Trust (all Proposed Defendants)

    VI.        Declaratory Judgment (all Proposed Defendants)

           The court struggles to fathom how any of these proposed causes of action or remedies

 can be applied in the context of: (a) post-confirmation claims trading; (b) where the claims

 have all been litigated and allowed.

           In reflecting on the case law and various Bankruptcy Code provisions, the court can fathom

 the following hypotheticals in which claims trading during a bankruptcy case might be somehow

 actionable:

           Hypothetical #1: The most obvious situation would be if a purchaser of a claim
           files a Rule 3001(e) Notice, and the seller/transferor then files an objection thereto.
           There would then be a contested hearing between purchaser and seller regarding
           the validity of the transfer with the bankruptcy court issuing an appropriate order
           after the hearing on the objection. As noted, there was no objection to the Rule
           3001(e) notices here.
           Hypothetical #2: Alternatively, there could be a breach of contract suit between
           purchaser and seller if one thinks the other breached the purchase-sale agreement
           somehow. Perhaps torts might also be alleged in such litigation. As noted, there is
           no dispute between purchasers and sellers here.
           Hypothetical #3: If there is believed to be fraud in connection with a plan, a party
           in interest might, pursuant to section 1144 of the Bankruptcy Code, move for

                                                     58
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              59 of 105
                                                     Page 339 of 678 PageID 345



       revocation of the plan “at any time before 180 days after the date of entry of the
       order for confirmation” and the court “may revoke such order if and only if such
       order was procured by fraud.” As noted, here HMIT has suggested that the
       “pessimistic” plan projections may have been fraudulent or misrepresentations
       somehow. The time elapsed long ago to seek revocation of the Plan.
       Hypothetical #4: As discussed above, in rare situations (bad faith), during a
       Chapter 11 case, before a plan is confirmed, a claims purchaser’s claim might not
       be allowed for voting purposes. See Sections 1126(e) of the Bankruptcy Code (“the
       court may designate any entity whose acceptance or rejection of such plan was not
       in good faith”). Obviously, in this case, this is not applicable—the claims were
       purchased post-confirmation.
       Hypothetical #5: As discussed above, in rare situations (inequitable conduct), a
       court might equitably subordinate claims to other claims. See Section 510(c) of
       the Bankruptcy Code. But here, HMIT is seeking either: (a) equitable subordination
       of the claims of the Claims Purchaser to HMIT’s Class 10 former equity interest
       (in contravention of the explicit terms of section 510(c)) or, (b) equitable
       disallowance of the claims of the Claims Purchasers (in contravention of Mobile
       Steel).
       Hypothetical #6: Bankruptcy Code section 502(b)(1) and the Fifth Circuit’s
       Lothian Oil case may permit “recharacterization” of a claim from debt to equity in
       certain circumstances, but not in circumstances like the ones in this case. Here, the
       claims have already been adjudicated and allowed (some after mediation, and all
       after Rule 9019 settlement orders). The only way to reconsider a claim in a
       bankruptcy case that has already been allowed is through Bankruptcy Code section
       502(j) (“A claim that has been allowed or disallowed may be reconsidered for
       cause. . . according to the equities of the case.”). The problem here is that
       Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order
       allowing or disallowing a claim against the estate entered without a contest is not
       subject to the one year limitation prescribed in Rule 60(c)” (emphasis added). Here
       there was most definitely “a contest” with regard to all of these purchased claims.
       Thus, it would appear that any effort to have a court reconsider these claims
       pursuant to section 502(j) is untimely—as it has been well beyond a year since
       they were allowed.
       Hypothetical #7: If a party believes “insider trading” occurred there are
       governmental agencies that investigate and police that. Here, the purchased claims
       (which were not based on bonds or certificated equity interests) would not be
       securities so as to fall under the SEC’s purview. Moreover, there was evidence
       that HMIT or Dondero-Related entities requested that the Texas State Securities
       Board investigate the claims trading and the board did not find a basis to pursue
       anyone for wrongdoing.
       Hypothetical #8: The United States Trustee can investigate wrongdoing by a
       debtor or unsecured creditors committee. While the United States Trustee would
       naturally have concerns about members of an unsecured creditors committee (or an
       officer of a debtor-in-possession) adhering to fiduciary duties and not putting their

                                                59
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              60 of 105
                                                     Page 340 of 678 PageID 346



            own interests above those of the estate, here, there are a couple of points that seem
            noteworthy. One, the claims trading activity was post-confirmation so—while
            certain of the claim-sellers may have still been on the unsecured creditors
            committee, as the effective date of the plan had not yet occurred—the
            circumstances are very different than if this had all happened during the early,
            contentious stages of the case. It seems inconceivable that there was somehow a
            disparity of information that might be troubling—the Plan had been confirmed and
            it was available for the world to see. The whole notion of “insider information”
            (just after confirmation here) feels a bit off-point. Bankruptcy practitioners and
            judges sometimes call bankruptcy a fishbowl or use the “open kimono” metaphor
            for good reason. It is generally a very open process. And information-sharing on
            the part of a debtor-in-possession or unsecured creditors committee is intended to
            be robust. See, e.g., Bankruptcy Code sections 521 and 1102(b)(3). In a way,
            HMIT here seems to be complaining about this very situation that the Code and
            Rules have designed.

            In summary, claims trading is a highly unregulated activity in the bankruptcy world.

 HMIT is attempting to pursue causes of action here that, to this court’s knowledge, have never

 been allowed in a context like this.

        B. Back to Standing—Would HMIT Have Standing to Bring the Proposed Claims?

            The Proposed Defendants argue that HMIT lacks standing to bring the Proposed Claims,

 either: (a) derivatively on behalf of the Reorganized Debtor and Claimant Trust, or (b) directly on

 behalf of itself. Thus, they argue that this is one reason that the Motion for Leave should be denied.

            In making their specific standing arguments, the parties analyze things slightly differently:

         The Claims Purchasers focus primarily on HMIT’s lack of constitutional standing but also
 argue that HMIT does not have prudential standing under Delaware trust law to bring the Proposed
 Claims either individually or derivatively. Why do they mention Delaware trust law? Because the
 Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust Act, 12
 Del. C. §§ 3801–29.150

       The Highland Parties’ standing arguments focus almost entirely on HMIT’s lack of
 prudential standing under Delaware trust law to bring the Proposed Claims.

        HMIT argues that the Proposed Defendants “play fast and loose with standing arguments”
 and that HMIT has constitutional standing as a “party aggrieved”151 to bring the Proposed Claims
 on behalf of itself. HMIT also argues that it has standing under Delaware trust law to bring a
 150
       See Proposed Complaint, ¶ 26.
 151
       Proposed Complaint, ¶7.

                                                     60
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              61 of 105
                                                     Page 341 of 678 PageID 347



 derivative action on behalf of the Claimant Trust, and that it not only has standing to bring the
 Proposed Claims derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best
 party to do so.

       1. The Different Types of Standing: Constitutional Versus Prudential

          The parties are addressing two concepts of standing that can sometimes be confused and

 misapplied by both attorneys and judges: constitutional Article III standing, which implicates

 federal court subject matter jurisdiction,152 and the narrower standing concept of prudential

 standing, which does not implicate subject matter jurisdiction but nevertheless might prevent a

 party from having capacity to sue, pursuant to limitations set by courts, statutes or other law.

          Article III constitutional standing works as follows: a plaintiff, as the party invoking

 federal jurisdiction, bears the burden of establishing three elements: (1) that he or she suffered an

 injury in fact that is concrete, particularized, and actual or imminent—not conjectural or

 hypothetical, (2) that there is a causal connection between the injury and the conduct complained

 of, and (3) it must be likely, not speculative, that the injury will be redressed by a favorable

 decision.153 “If the plaintiff does not claim to have suffered an injury that the defendant caused

 and the court can remedy, there is no case or controversy for the federal court to resolve.”154 These

 elements ensure that a plaintiff has “‘such a personal stake in the outcome of the controversy’ as

 to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s remedial

 powers on his behalf.”155




 152
      Article III, Section 2 of the U.S. Constitution gives federal courts jurisdiction over enumerated cases and
 controversies.
 153
     See Thole v. U.S. Bank, N.A., 140 S.Ct. 1615, 1618 (2020)(citing the Supreme Court’s seminal case on the tripartite
 test for Article III constitutional standing, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), where the
 Supreme Court stated that “the irreducible constitutional minimum of standing contains [the] three elements”); see
 also Spokeo, 578 U.S. at 338; Abraugh v. Altimus, 26 F.4th 298, 302 (5th Cir. 2022) (citing id.).
 154
     Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021)(cleaned up).
 155
     Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

                                                           61
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              62 of 105
                                                     Page 342 of 678 PageID 348



          Apart from this minimal constitutional mandate, courts and statutes have set other limits

 on the class of persons who may seek judicial remedies—and this is the concept of prudential

 standing. In its recent opinion in Abraugh v. Altimus,156 the Fifth Circuit set forth a detailed

 analysis of the two types of “standing,” noting that the term “standing” is often “misused” in our

 legal system, which has led to confusion for both attorneys and judges.157 The constitutional

 standing that is necessary for a court to exercise subject matter jurisdiction is broader than

 prudential standing and is only the first hurdle a party must clear before pursuing a claim in federal

 court.

            The Fifth Circuit explained that in addition to Article III constitutional standing, “courts

 have occasionally articulated other ‘standing’ requirements that plaintiffs must satisfy under

 certain conditions, beyond those imposed by Article III,”158 such as the “standing” requirement

 that might be imposed by a statute or by jurisprudence. The Abraugh case was a perfect example

 of the latter.

          Abraugh involved the civil rights statutes that provide, among other things, that “a party

 must have standing under the state wrongful death or survival statutes to bring [a § 1983 cause of

 action]” and noted that these statutes impose additional “standing” requirements that are a matter

 of prudential standing, not constitutional standing.159 In Abraugh, the Fifth Circuit reversed and

 remanded a district court’s dismissal of a § 1983 civil rights cause of action—noting that the

 district court had stated that it was dismissing based on a “lack of subject matter jurisdiction”

 because the plaintiff in that action lacked standing.160 The plaintiff was the mother of a prisoner


 156
     26 F.4th 298.
 157
     Id. at 303.
 158
     Id. at 302 (emphasis added).
 159
     Id. at 302-303.
 160
     Id. at 301.

                                                    62
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              63 of 105
                                                     Page 343 of 678 PageID 349



 who died by suicide while in custody who brought a § 1983 action against Louisiana correctional

 officers and officials. After finding that the plaintiff/mother lacked standing under Louisiana’s

 wrongful death and survival statutes (because there had been a surviving child and wife of the

 prisoner who were the proper parties with capacity to sue), the district court held that it was

 dismissing for lack of subject matter jurisdiction. The Fifth Circuit pointed out that the

 plaintiff/mother may have lacked standing under Louisiana’s wrongful death and survival statutes

 to bring the claim under § 1983, but that type of standing was matter of prudential standing, and

 the plaintiff/mother actually did have Article III constitutional standing (“a constitutionally

 cognizable interest in the life of her son”).161 Thus, the district court’s error was not in finding

 that the plaintiff/mother lacked prudential standing but in improperly conflating the two standing

 concepts when it held that it had lacked subject matter jurisdiction to consider any of the

 plaintiff’s/mother’s amended complaints.162 The Fifth Circuit noted specifically that163

          prudential standing does not present a jurisdictional question, but “a merits
          question: who, according to the governing substantive law, is entitled to enforce the
          right?” As the Federal Rules of Civil Procedure make clear, “an action must be
          prosecuted in the name of the real party in interest.” FED. R. CIV. P. 17(a)(1). And
          a violation of this rule is a failure of “prudential” standing. “Not one of our
          precedents holds that the inquiry is jurisdictional.” It goes only to the validity of
          the cause of action. And “the absence of a valid . . . cause of action does not
          implicate subject-matter jurisdiction.”

          Somewhat relevant to this prudential standing discussion is the fact that, in this bankruptcy

 case, there have been dozens of appeals of bankruptcy court orders by Dondero and Dondero-

 related entities. In connection therewith, both the district court and the Fifth Circuit, in evaluating

 the appellate standing of the appellants, have taken pains to distinguish between the concepts of:


 161
     Id.
 162
     Id. at 301, 303-304. The Fifth Circuit opined that “the district court did not err in describing [the mother’s] inability
 to sue under Louisiana law as a defect of ‘standing[, b]ut it is a defect of prudential standing, not Article III standing”
 thus technically not implicating the federal court’s subject matter jurisdiction. Id. at 303.
 163
     Id. at 304 (cleaned up).

                                                              63
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              64 of 105
                                                     Page 344 of 678 PageID 350



 (a) traditional, constitutional standing, and (b) a type of prudential standing known as the “person

 aggrieved” test, which is applied in the Fifth Circuit in determining whether a party has standing

 to appeal a bankruptcy court order—which it describes as a narrower and “more exacting”

 standard than constitutional standing. As explained in a Fifth Circuit opinion addressing the

 standing of a Dondero-related entity called NexPoint to appeal bankruptcy court orders allowing

 professional fees, the “person aggrieved” standard that is typically applied to ascertain bankruptcy

 appellate standing originated in a statute in the Bankruptcy Act. The Fifth Circuit continued to

 apply it after Congress removed the provision when it enacted the Bankruptcy Code in 1978.164

 Because it is narrower and “more exacting” than the test for Article III constitutional standing, it

 involves application of prudential standing considerations.165 The Fifth Circuit describes the

 “person aggrieved” test for bankruptcy appellant standing as requiring that an appellant show that

 it was “directly and adversely affected pecuniarily by the order of the bankruptcy court,” requiring

 “a higher causal nexus between act and injury than traditional standing . . . that best deals with the

 unique posture of bankruptcy actions.”166 In affirming the district court’s dismissal of NexPoint’s

 appeal of the bankruptcy court’s fee orders, due to NexPoint’s lack of prudential standing under

 the “person aggrieved” test, the court rejected NexPoint’s argument that it had standing to appeal

 164
     NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In re Highland Capital Management, L.P.), No.
 22-10575, 2023 WL 4621466, *2 (5th Cir. July 19, 2023)(citing In re Coho Energy Inc., 395 F.3d 198, 202 (5th Cir.
 2004)(cleaned up)).
 165
     Id. at *1, **4-6 (where the Fifth Circuit repeatedly throughout its opinion refers to the “person aggrieved” test for
 standing in bankruptcy actions as a test for “prudential standing.”); see also Dondero v. Highland Capital Mgt., L.P.,
 Civ. Act. No. 3:20-cv-3390-X, 2002 WL 837208 (N.D. Tex. Mar. 18, 2022)(where the district court, in addressing
 Dondero’s standing to appeal a bankruptcy court order approving a Rule 9019 settlement (between Highland and Acis
 Capital Management GP LLC), notes that “[i]t is substantially more difficult to have standing to appeal a bankruptcy
 court’s order than it is to pursue a typical complaint under Article III of the U.S. Constitution” and that “the Fifth
 Circuit has long recognized that bankruptcy cases’ wide-reaching scope calls for a more stringent standing test.”).
 166
     See id. at *3 (cleaned up). The court quotes its 2018 opinion in Matter of Technicool Sys., Inc. (In re Technicool),
 896 F.3d 382, 385 (5th Cir. 2018), which explains why the “person aggrieved” prudential standing standard is applied
 in bankruptcy actions: “Bankruptcy cases often involve numerous parties with conflicting and overlapping interests.
 Allowing each and every party to appeal each and every order would clog up the system and bog down the courts.
 Given the specter of such sclerotic litigation, standing to appeal a bankruptcy court order is, of necessity, quite
 limited.” Id. (cleaned up).

                                                            64
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              65 of 105
                                                     Page 345 of 678 PageID 351



 because “it meets traditional Article III standing requirements [and that the more exacting]

 prudential standing considerations such as the ‘person aggrieved’ standard” did not survive the

 Supreme Court’s 2014 Lexmark167 opinion,168 which addressed standing issues in the context of

 false advertising claims under the Lanham Act and reminded that courts may not “limit a cause of

 action that Congress has created merely because ‘prudence’ dictates.”169 The Fifth Circuit held

 that the Supreme Court’s reminder in Lexmark did not nullify the “person aggrieved” test for

 prudential standing in bankruptcy appeals, citing its own decision in Superior MRI Services Inc.

 v. Alliance Healthcare Services, Inc.170 (rendered a year after Lexmark was decided), in which it

 held that Lexmark applied only to the circumstances of that case, “rather than broadly modifying—

 or undermining—all prudential standing concerns, such as the one animating the ‘person

 aggrieved’ standard in bankruptcy appeals.”171

         Similarly, in yet another appeal in this bankruptcy case involving three Dondero-related

 entities as appellants (NexPoint, Dugaboy, and HCMFA)—this one an appeal of a bankruptcy

 court order authorizing the creation of an indemnity subtrust and entry into an indemnity trust

 agreement—the district court noted the parties’ confusion about the standing issue, as exemplified

 in the parties’ reference to constitutional standing when they were actually arguing that they had

 prudential standing under the “person aggrieved” test: “Although the parties frame this issue as

 one of constitutional standing . . . they cite case law and present arguments about the prudential




 167
     Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).
 168
     Id. at *2.
 169
     See id. at *4 (cleaned up).
 170
     778 F.3d 502 (5th Cir. 2015).
 171
     NexPoint, 2023 WL 4621466 at *4 (cleaned up). The Fifth Circuit explicitly stated that “Lexmark does not
 expressly reach prudential concerns in bankruptcy appeals and brought no change relevant here.” Id. at *5 (cleaned
 up).

                                                        65
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              66 of 105
                                                     Page 346 of 678 PageID 352



 standing requirement embodied in the ‘person aggrieved’ test.”172 The district court noted that it

 had an “independent obligation to consider constitutional standing before reaching its prudential

 aspects.”173 The district court dismissed the appeal as to Dugaboy and HCMFA for lack of

 standing but, upon concluding that NexPoint did have standing, dismissed the appeal as to it on

 the merits. The Fifth Circuit affirmed.174 Interestingly, the court noted that, while the parties did

 not contest the district court’s determination that NexPoint had standing to pursue the appeal, it

 “may consider prudential standing issues sua sponte.”175 In doing so, the Fifth Circuit recognized

 the distinction between constitutional standing and the prudential “person aggrieved” test applied

 to bankruptcy appeals, which “is, of necessity, quite limited” and “an even more exacting standard

 than traditional constitutional standing,” as it requires an appellant to show that it is “directly,

 adversely, and financially impacted by a bankruptcy order.”176

          In summary, in analyzing whether HMIT would have standing to bring the Proposed

 Claims, this court must first determine whether HMIT would have constitutional standing under

 Article III (which is a subject matter jurisdiction hurdle) and, assuming it does, then additionally

 address whether HMIT would also have prudential standing (i.e., capacity to sue) pursuant to any

 applicable statutes (e.g., Delaware statutes), jurisprudence, or other substantive law that might

 limit who may sue. Notwithstanding HMIT’s argument that it has standing under the “person



 172
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2002 WL 270862, *1 (N.D. Tex. Jan. 18, 2022)(cleaned up). The district court
 dismissed the appeals of two of the appellants, Dugaboy and HCMFA, finding that they lacked both constitutional
 standing and prudential standing under the “person aggrieved” test and affirmed the bankruptcy court’s order after
 finding the third appellant, NexPoint, to have prudential standing under the “person aggrieved” test. Id. at **1-3 and
 *4.
 173
     Id. at *1 n.2.
 174
     Highland Capital Mgt. Fund, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), 57 F.4th 494
 (5th Cir. 2023).
 175
     Id. at 501 (cleaned up).
 176
     Id.

                                                          66
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              67 of 105
                                                     Page 347 of 678 PageID 353



 aggrieved” test177—which, as discussed above, is a matter of prudential standing—this is applied

 only in the context of bankruptcy appellate matters.178 As noted in its most recent opinion

 discussing standing in an appeal from the Highland bankruptcy case, the Fifth Circuit reiterated

 that the “person aggrieved” test is a test for bankruptcy appellate standing, which is narrower than

 a party in interest’s right to be heard in bankruptcy cases in general.179 The court rejected an

 argument that Bankruptcy Code § 1109, which provides that “[a] party in interest . . . may raise

 and may appear and be heard on any issue in a case under this chapter” confers appellate standing,

 noting that “one’s standing to appear and be heard before the bankruptcy court [is] a concept

 distinct from standing to appeal the merits of a decision” and that the “person aggrieved” test for

 bankruptcy appellate standing is narrower than the test for determining one’s standing to appear

 and be heard in a bankruptcy proceeding.180

          Thus, the court will now analyze whether HMIT would, at a minimum, have constitutional

 standing to bring the Proposed Claims.

     2. HMIT Would Lack Article III Constitutional Standing to Bring the Proposed Claims.

          As noted above, the Supreme Court and the Fifth Circuit have made clear that constitutional

 standing is necessary for a court to exercise subject matter jurisdiction. It is only the first hurdle a

 party must clear before pursuing a claim in federal court. HMIT, as plaintiff, would bear the


 177
     HMIT insists that it has constitutional standing to bring claims on its individual behalf “as an aggrieved party.” See
 Reply, ¶ 7.
 178
     HMIT’s argument in this matter that it has constitutional standing because it is a “party aggrieved” incorrectly
 conflates the prudential bankruptcy appellate “person aggrieved” test with the broader test that is applied to
 constitutional standing. The court is not being critical of this mistake. As noted at supra note 149, the Fifth Circuit
 in Abraugh pointed out that courts and attorneys alike have created confusion by misusing the term “standing” when
 they equate a lack of “standing,” in all instances, with a lack of subject matter jurisdiction, even when the party is
 found to lack only prudential standing. Thus, HMIT is not alone in its confusion over the two different concepts of
 standing.
 179
     See NexPoint, 2023 WL 4621466 at *6.
 180
     Id. at *6 (cleaned up)(“Because Section 1109(b) expands the right to be heard [in a bankruptcy proceeding] to a
 wider class than those who qualify under the ‘person aggrieved’ standard, courts considering the issue have concluded
 that merely being a party in interest is insufficient to confer appellate standing.”)(emphasis added).

                                                            67
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              68 of 105
                                                     Page 348 of 678 PageID 354



 burden of establishing: (1) that it suffered an injury in fact that is concrete, particularized, and

 actual or imminent—not conjectural or hypothetical, (2) that there is a causal connection between

 the injury and the conduct complained of, and (3) it must be likely, not speculative, that the injury

 will be redressed by a favorable decision.181

         Concrete and Particularized; Actual or Imminent. As the Supreme Court made clear in the

 Lujan case, the injury in fact element requires a showing that the injury was “concrete and

 particularized” and “actual or imminent, not conjectural or hypothetical.”182 The Supreme Court

 in the Spokeo case expounded on the “concrete and particularized” requirements of the “injury in

 fact” element. Particularization requires a showing that the injury “must affect the plaintiff in a

 personal and individual way,” but while particularization is necessary, it alone is “not sufficient,”

 because an injury in fact must also be “concrete.”183 And, concreteness is “quite different from

 particularization.”184 A “concrete” injury must be “real,” and “not abstract,” though it does not

 mean that the injury must be “tangible,” as the injury can be intangible and nevertheless be

 concrete.185 In addition to the concreteness and particularization requirements, an injury in fact

 must be “actual or imminent” such that “allegations of injury that is merely conjectural or

 hypothetical do not suffice to confer standing.”186          “Although imminence is concededly a

 somewhat elastic concept, it cannot be stretched beyond its purpose, which is to ensure that the

 alleged injury is not too speculative for Article III purposes—that the injury is certainly




 181
     See supra note 153.
 182
     Lujan, 504 U.S. at 560 (cleaned up).
 183
     Spokeo, 578 U.S. at 339.
 184
     Id. at 340.
 185
     Id.
 186
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

                                                         68
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              69 of 105
                                                     Page 349 of 678 PageID 355



 impending”; “allegations of possible future injury are not sufficient.”187

          Traceability - Causal Connection. As to the second element—that the injury was caused

 by the defendant—the Supreme Court in Lujan further described it as requiring a showing that

 “the injury has to be fairly traceable to the challenged action of the defendant.”188 The “fairly

 traceable” test requires an examination of “the causal connection between the assertedly unlawful

 conduct and the alleged injury.”189

          Redressability. The third element—redressability—requires the court to examine the

 connection “between the alleged injury and the judicial relief requested.”190 “Relief that does not

 remedy the injury suffered cannot bootstrap a plaintiff into federal court.”191 “[A] court must

 determine that there is an available remedy which will have a ‘substantial probability’ of redressing

 the plaintiff’s injury.”192

          The Claims Purchasers argue that HMIT lacks constitutional standing to pursue the claims

 asserted in the Proposed Complaint because: (i) neither HMIT nor the Bankruptcy Estate was

 injured by the Claim Purchasers’ acquisition of the claims; and (ii) the Proposed Complaint lacks

 a theory of cognizable damages to the Reorganized Debtor, the Claimant Trust, and/or the

 beneficiaries of the Claimant Trust.193


 187
     Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)(cleaned up); see also Abdullah v. Paxton, 65 F.4th 204,
 208 (5th Cir. 2023)(“[Injury] cannot be speculative, conjectural, or hypothetical [and] [a]llegations of only a ‘possible’
 future injury similarly will not suffice.”)(cleaned up).
 188
     Lujan, 504 U.S. at 560-61 (cleaned up).
 189
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).
 190
      Id. (noting “it is important to keep the [‘fairly traceable’ and ‘redressability’] inquiries separate if the
 ‘redressability’ component is to focus on the requested relief.”).
 191
     Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).
 192
     City of Los Angeles v. Lyons, 461 U.S. 95, 129 n.20 (1983)(Marshall, J., dissenting)(cleaned up); see also Ondrusek
 v. U.S. Army Corps of Engineers, Civ. Act. No. 3:22-cv-1874-N, 2023 WL 2169908, at *5 (“Plaintiffs have not
 demonstrated that any available remedy would be sufficiently likely to relieve their alleged economic losses. Without
 a showing of redressability, those harms also cannot support Plaintiff’s Article III standing.”).
 193
     As noted earlier, certain of the Proposed Defendants—the Highland Parties—do not focus on HMIT’s lack of
 constitutional standing to pursue the Proposed Claims against them, but on its lack of prudential standing under


                                                            69
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              70 of 105
                                                     Page 350 of 678 PageID 356



          The court agrees with the Claims Purchasers’ argument here. What is HMIT’s concrete

 and particularized injury—that is “real” and is not abstract?                       That is not conjectural or

 hypothetical? That is actual or imminent?

          Recall that, under the Plan, HMIT holds a Class 10 contingent interest in the Claimant

 Trust that only realizes value if all creditors are paid in full with interest. HMIT alleges the

 following injury: it has suffered a devaluation of its unvested Contingent Claimant Trust Interest

 by virtue of the alleged over-compensation of Seery as the Claimant Trustee—Seery’s alleged

 over-compensation depletes the assets in the Claimant Trust available for distribution to creditors

 under the Plan, such that there is less likely a chance that HMIT ultimately receives any

 distributions on account of its Class 10 Contingent Claimant Trust Interest.194 Yet, HMIT testified,

 through both witnesses Dondero and Patrick, that it had no personal knowledge of what Seery’s

 actual compensation is under the CTA at the time HMIT filed its Motion for Leave. It was clear

 that HMIT’s allegations regarding Seery’s “excessive” compensation were based entirely on

 Dondero’s pure speculation. In reality, Seery’s base salary is exactly what the bankruptcy court

 approved during the bankruptcy case by a court order (after negotiations between Seery and the

 Committee). The CTA now further governs his compensation. The CTA, which was publicly

 filed in advance of the Plan confirmation hearing and approved by this court as part of the Plan


 applicable law. Because constitutional standing is a matter of subject matter jurisdiction, the court has an independent
 duty to determine whether HMIT would have constitutional standing to pursue the Proposed Claims in federal court.
 The issue cannot be forfeited or waived by a party. See Abraugh v. Y & H Corp., 546 U.S. 500, 514 (2006)(“[S]ubject-
 matter jurisdiction, because it involves a court’s power to hear a case, can never be forfeited or waived. Moreover,
 courts . . . have an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
 of a challenge from any party.”)(cleaned up); Abraugh, 26 F.4th at 304 (“It is our constitutional duty, of course, to
 decline subject matter jurisdiction where it does not exist—and that is so whether the parties challenge Article III
 standing or not.”)(cleaned up).
 194
     At the June 8 Hearing, HMIT’s counsel was unable to identify any other injury HMIT has alleged to have suffered.
 HMIT’s counsel acknowledged that claims trades, in and of themselves, would not “involve injury to the Reorganized
 Debtor and to the Claimant Trust” and that claims trades are “normally outside the purview of the bankruptcy court”
 but that “[h]ere, we have alleged . . . . injury [that] takes the form of unearned excessive fees that Mr. Seery has
 garnered as a result of his relationship and arrangements, as we have alleged, with the Claims Purchasers.” June 8
 Hearing Transcript, 67:16-68:8. HMIT can only point to Seery’s excess compensation as injury.

                                                           70
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              71 of 105
                                                     Page 351 of 678 PageID 357



 (which has been affirmed by the Fifth Circuit), specifically provides that Seery’s post-Effective

 Date compensation would include a “Base Salary” (again, same as during the bankruptcy case), a

 “success fee,” and “severance.”195 The CTA discussed the role of the Committee and then the

 CTOB in setting the success fee and severance and the like. A fully executed copy of the CTA

 was admitted into evidence at the June 8 Hearing. HMIT is essentially arguing that its injury (i.e.,

 diminished likelihood of realizing value on its Contingent Claimant Trust Interest) stems from a

 court-sanctioned and creditor-approved process for approving compensation to Seery. Moreover,

 HMIT has failed to plead facts sufficient to show that, even if Seery received excessive

 compensation and that compensation is ordered to be returned, HMIT’s Contingent Claimant Trust

 Interest will ever vest. The district court and the Fifth Circuit in various appeals by Dugaboy,

 another Dondero-related entity that, similar to HMIT, was a holder of a limited partnership interest

 in Highland whose interests were terminated as of the Effective Date of the Plan in exchange for

 a Contingent Claimant Trust Interest, have repeatedly rejected Dugaboy’s claims to have standing

 based on the speculative nature of its alleged injuries as a contingent beneficiary of the Claimant

 Trust under the Plan. For example, the Fifth Circuit affirmed the district court’s dismissal of an

 appeal by Dugaboy of the bankruptcy court’s order authorizing the creation of an indemnity

 subtrust, wherein Judge Fitzwater found that, in addition to lacking prudential standing under the



 195
     The Disclosure Statement that was approved by this court, after notice and a hearing, on November 24, 2020,
 provided that “The salient terms of each Trustee’s employment, including such Trustee’s duties and compensation
 shall be set forth in the Claimant Trust Agreement . . . .” The CTA was part of a Plan Supplement (as amended) that
 was filed in advance of the confirmation hearing and provided:
                     Compensation. As compensation for any services rendered by the Claimant Trustee in
           connection with this Agreement, the Claimant Trustee shall receive compensation of $150,000 per
           month (the “Base Salary”). Within the first forty-five days following the Confirmation Date, the
           Claimant Trustee, on the one hand, and the Committee, if prior to the Effective Date, or the
           Oversight Board, if on or after the Effective Date, on the other, will negotiate go-forward
           compensation for the Claimant Trustee which will include (a) the Base Salary, (b) a success fee, and
           (c) severance.
 See Highland Ex. 38, at § 3.13(a)(i).

                                                         71
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              72 of 105
                                                     Page 352 of 678 PageID 358



 “person aggrieved” test to appeal the bankruptcy court’s order, Dugaboy lacked constitutional

 standing “because they have not identified any injury fairly traceable to the Order: the injuries

 identified are speculative at best and nonexistent at worst.”196 HMIT’s allegations of injury are,

 without a doubt, “merely conjectural or hypothetical” and are only speculative of possible future

 injury if its Contingent Claimant Trust Interest ever vests.”197 The court finds that HMIT would

 not meet the “concrete and particularized” or the “actual or imminent” requirements for an “injury

 in fact,” and, thus, would lack constitutional standing to pursue the Proposed Claims.

          With regard to the second requirement of constitutional standing—whether HMIT could

 show “traceability” with respect to the Claims Purchasers and/or Seery (i.e., a “causal connection

 between the assertedly unlawful conduct and the alleged injury”198), as noted above, there is only

 a speculative injury. Even if there is unlawful conduct asserted (i.e., sharing of MNPI to Claims

 Purchasers who then, as a quid pro quo, rubber stamped excessive compensation for Seery), there

 is nothing other than a hypothetical theory of an alleged injury (i.e., an allegedly less likelihood of

 a distribution on a Contingent Claimant Trust Interest).

          With respect to the third requirement of constitutional standing—whether HMIT can show

 “redressability” (i.e., that it is likely, not speculative, that the injury can be redressed by a favorable




 196
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2022 WL 270862, *1 n.2 (N.D. Tex. Jan. 28, 2022), aff’d 57 F.4th 494 (5th Cir.
 2023)(emphasis added); see also Judge Scholer’s opinion in Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re
 Highland Capital Mgt., L.P.), Civ. Act. No. 3:21-cv-2268-S, 2022 WL 3701720, *3 (N.D. Tex. Aug. 8, 2022)(cleaned
 up), aff’d per curium, No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023) (where Dugaboy had argued that “its
 pecuniary interest is . . . a potential recovery under the Plan as one of Debtor's former equity holders” and that “it
 ha[d] standing as a ‘contingent beneficiary’ under the Plan, or a beneficiary who will be entitled to payment after all
 creditors are paid in full,” and Judge Scholer stated, “This assertion is premised on the assumption that Dugaboy's
 0.1866% pre-bankruptcy limited partnership interest in Debtor—which was extinguished under the Plan—makes it a
 contingent beneficiary of the creditor trust created under the Plan. . . . [S]uch a ‘speculative prospect of harm is far
 from a direct, adverse, pecuniary hit’ as required to confer standing.”
 197
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).
 198
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).

                                                           72
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              73 of 105
                                                     Page 353 of 678 PageID 359



 decision), there are multiple problems here.199 The major remedy sought here is the equitable

 disallowance of the allowed Purchased Claims (and disgorgement and/or constructive trust of amounts

 paid or owed to the Claim Purchasers on account of their claims). There is no such remedy

 available here. As noted earlier, there is a similar concept of equitable subordination of a claim

 to another claim, or of an interest to another interest, pursuant to Bankruptcy Code section 510(c).

 But under the literal terms of section 510(c), claims cannot be subordinated to interests.

 Moreover, the Fifth Circuit noted in the Mobile Steel case,200 that equitable disallowance of a

 claim (as opposed to equitable subordination of a claims) is not an available remedy. Bankruptcy

 Code section 502(b)(1) and the Fifth Circuit’s Lothian Oil case might permit “recharacterization”

 of a claim from debt to equity in certain circumstances—but not based on inequitable conduct but

 rather on the nature of a financial transaction. In any event, here, the claims have already been

 adjudicated and allowed (some after mediation, and all after Rule 9019 settlement orders). The

 only way to reconsider a claim in a bankruptcy case that has already been allowed is through

 Bankruptcy Code section 502(j) (“A claim that has been allowed or disallowed may be

 reconsidered for cause. . . according to the equities of the case.”). As noted earlier, the problem

 here is that Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order allowing

 or disallowing a claim against the estate entered without a contest is not subject to the one year

 limitation prescribed in Rule 60(c)” (emphasis added). As further noted earlier, here there was

 most definitely a “contest” with regard to all of these purchased claims. Thus, it would appear


 199
     See supra notes 182-184 and accompanying text. The court will note that, as discussed supra note 141 and pages
 71-72, the remedy of equitable subordination (as to the Claims Purchasers) would not redress HMIT’s alleged injury
 (because equitable subordination of claims to interests is not an available remedy in the Fifth Circuit and thus
 subordination of the Purchased Claims to other claims would not change HMIT’s distributions from the Claimant
 Trust, if any), and because outright disallowance of all or part of the already allowed Purchased Claims is not an
 available remedy either, HMIT would not be able to meet the “redressability” requirement with respect to the Claims
 Purchasers.
 200
     In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).

                                                         73
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              74 of 105
                                                     Page 354 of 678 PageID 360



 that any effort to have a court reconsider and potentially disallow these claims pursuant to

 section 502(j) is untimely—as it has been well beyond a year since they were allowed.

        3. HMIT Would Also Lack Prudential Standing to Bring the Proposed Claims.

            Even if HMIT would have constitutional standing to bring the Proposed Claims in an

 adversary proceeding filed in the bankruptcy court, the Proposed Claims would still be barred if

 HMIT would lack prudential standing to bring them under applicable state or federal law. HMIT

 argues that it does have prudential standing under both federal bankruptcy law and Delaware law

 to pursue the Proposed Claims derivatively and also to bring the Proposed Claims in its individual

 capacity.

            With regard to “federal bankruptcy law,” HMIT argues that it has standing pursuant to: (a)

 Rule 23.1 of the Federal Rules of Civil Procedure, pertaining to derivative actions, which “applies

 to this proceeding pursuant to” Rule 7023.1 of the Federal Rules of Bankruptcy Procedure, and (b)

 Louisiana World Exposition v. Federal Insurance Co. (“LWE”),201 the Fifth Circuit’s leading case

 addressing when a creditors committee may be granted standing to bring causes of action on behalf

 of a bankruptcy estate. But, federal bankruptcy law does not confer standing where the plaintiff

 otherwise lacks standing under applicable state law. In other words, whether HMIT would have

 prudential standing to sue under Delaware law is dispositive of the issue, regardless of the forum.

 Rule 23.1 “speaks only to the adequacy of the . . . pleadings,” and “cannot be understood to

 ‘abridge, enlarge, or modify any substantive right,’”202 including a right (or lack thereof) to bring

 a derivative action under the substantive law of Delaware. Additionally, HMIT’s reliance on LWE

 is misplaced: LWE permits creditors, in certain circumstances during a bankruptcy case, to “file




 201
       858 F.2d 233 (5th Cir. 1988).
 202
       Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)(quoting 28 U.S.C. § 2072(b)).

                                                           74
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              75 of 105
                                                     Page 355 of 678 PageID 361



 suit on behalf of a debtor-in-possession or a trustee”203 and does not apply to a party’s right to sue,

 derivatively, on behalf of the Reorganized Debtor or any entity that is the assignee of the former

 bankruptcy estate’s assets. Upon confirmation of the Plan, the bankruptcy estate of Highland

 ceased to exist;204 Highland is no longer a debtor-in-possession but a reorganized debtor, and the

 Claimant Trust is a new entity created under the Plan and Claimant Trust Agreement. Even if LWE

 did apply in this post-confirmation context, it supports the application of Delaware law to the issue

 of prudential standing and does not supersede state-law requirements for standing. In LWE, before

 addressing the requirements a creditors’ committee must meet to sue derivatively on behalf of a

 bankruptcy estate as a matter of federal bankruptcy law, the Fifth Circuit conducted a lengthy

 analysis to determine “as a threshold issue” whether the creditors’ committee in that case could

 assert its claims under Louisiana law.205 The court specifically addressed whether the creditors’

 committee could pursue a derivative action under Louisiana law and concluded that “there is no

 bar in Louisiana law to actions brought by or in the name of a corporation against the directors and

 officers of the corporation which benefit only the creditors of the corporation; indeed, Louisiana

 law specifically recognizes such actions.”206 So, even under LWE (which the court does not think

 applies in this post-confirmation context), if HMIT would be barred from bringing a derivative

 action on behalf the Reorganized Debtor or Claimant Trust under state law, the analysis stops

 there.207 Thus, the court looks to Delaware law to determine if HMIT would have prudential

 standing to pursue the derivative claims on behalf the Reorganized Debtor and the Claimant Trust.


 203
     LWE, 858 F.2d at 247.
 204
     See In re Craig’s Stores, 266 F.3d 388, 390 (5th Cir. 2001).
 205
     LWE, 858 F.2d at 236-45.
 206
     Id. at 243.
 207
     See In re Dura Automotive Sys., LLC, No. 19-123728 (Bankr. D. Del. June 10, 2020), Docket No. 1115 at 46 (where
 the Delaware bankruptcy court denied the creditors’ committee standing to sue derivatively on behalf of a Delaware
 LLC because the committee lacked standing under the Delaware LLC Act, stating, “To determine that the third party


                                                         75
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              76 of 105
                                                     Page 356 of 678 PageID 362



         HMIT acknowledges that both the Reorganized Debtor and the Claimant Trust are

 organized under Delaware law, and thus the cause of action against Seery alleging breach of

 fiduciary duties to the Reorganized Debtor and the Claimant Trust are governed by Delaware law

 under the “Internal Affairs Doctrine.”208 In addition, because HMIT’s breach of fiduciary duties

 claim is governed by Delaware law, its aiding and abetting theory of liability as to the Claims

 Purchasers is also governed by Delaware law.209 For the reasons set forth below, the court finds

 that HMIT would lack prudential standing under Delaware law to bring the claims set forth in the

 Proposed Complaint, derivatively, on behalf of either the Claimant Trust or the Reorganized

 Debtor.

              a) First, HMIT Would Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Claimant Trust.

         The Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust

 Act, 12 Del. C. §§ 3801–29,210 and “to proceed derivatively against a Delaware statutory trust, a

 plaintiff has the burden of satisfying the continuous ownership requirement” such that “the plaintiff

 must be a beneficial owner” continuously from “the time of the transaction of which the plaintiff

 complains” through “the time of bringing the action.”211 This requirement is “mandatory and

 exclusive” and only “a beneficial owner” “has standing to bring a derivative claim on behalf of the



 may bring the claim under the derivative basis and, thus, step into the shoes of the debtor to pursue them, the Court
 must look to the law of the debtors’ state of incorporation or formation.”).
 208
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 209
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).
 210
     See Proposed Complaint, ¶ 26.
 211
     Hartsel v. Vanguard Grp., Inc., 2011 WL 2421003, at *19 n.123 (Del. Ch. June 15, 2011), aff’d 38 A.3d 1254 (Del.
 2012); 12 Del C. § 3816(b).

                                                          76
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              77 of 105
                                                     Page 357 of 678 PageID 363



 Trust.”212 The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust

 and, therefore, would lack standing to bring derivative claims on behalf of the Claimant Trust.

 HMIT argues to the contrary: that it is currently, and was at all relevant times, a “beneficial owner”

 of the Claimant Trust under Delaware trust law such that it would have standing to bring derivative

 claims on behalf of the Claimant Trust if it were allowed to proceed with the filing of the Proposed

 Complaint. The disagreement turns on the nature of HMIT’s interest under the Plan and the

 Claimant Trust Agreement and whether HMIT, as a holder of such interest, would be considered

 a “beneficial owner” of the Claimant Trust under Delaware trust law.

          As noted, pursuant to the Plan, HMIT’s former limited partnership interest in Highland was

 cancelled as of the Effective Date in exchange for its pro rata share of a “Contingent Claimant

 Trust Interest,” as defined under the Plan.213 HMIT argues that its Contingent Claimant Trust

 Interest makes it a contingent beneficiary of the Claimant Trust, which makes it a present

 “beneficial owner” under Delaware trust law.

          The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust;

 rather, the “beneficial owners” of the Claimant Trust are the “Claimant Trust Beneficiaries,”214

 which are defined in the Plan and the CTA as “the Holders of Allowed General Unsecured Claims”

 (which are in Class 8 under the Plan) and “Holders of Allowed Subordinated Claims” (which are

 in Class 9 under the Plan); 215 HMIT, a holder of a Class 10 interest under the Plan, is neither.


 212
     In re Nat’l Coll. Student Loan Tr. Litig., 251 A.3d 116, 191 (Del. Ch. 2020) (citing CML V, LLC v. Bax, 28 A.3d
 1037, 1042 (Del. 2011)). HMIT acknowledges this requirement in its Reply: “Delaware statutory trust law provides
 that a plaintiff in a derivative action on behalf of a trust must be a beneficial owner at the time of the action and at the
 time of the transaction.” Reply, ¶ 19 (citing 12 Del C. § 3816).
 213
      See Plan Art. III.H.10 and Art. I.B.44.
 214
      Section 2.8 of the CTA provides, “The Claimant Trust Beneficiaries shall be the sole beneficiaries of the Claimant
 Trust . . . .” HMIT Ex. 26, § 2.8.
 215
      See Plan Art. I.B.44 (“‘Claimant Trust Beneficiaries’ means the Holders of Allowed General Unsecured Claims,
 Holders of Allowed Subordinated Claims, including, upon Allowance, Disputed General Unsecured Claims and
 Disputed Subordinated Claims that become Allowed following the Effective Date, and, only upon certification by the


                                                             77
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              78 of 105
                                                     Page 358 of 678 PageID 364



 HMIT, as the holder of a “Contingent Claimant Trust Interest,” has only an unvested contingent

 interest in the Claimant Trust and, as such, is not a “beneficial owner” of the Claimant Trust for

 standing purposes under Delaware trust law. HMIT argues that it “should be treated as a vested

 Claimant Trust Beneficiary due to [the Proposed Defendants’] wrongful conduct and considering

 the current value of the Claimant Trust Assets before and after the relief requested herein.”216 The

 court disagrees.

          HMIT’s status as a “beneficiary” of the Claimant Trust is defined by the CTA itself, pure

 and simple. The CTA specifically provides that “Contingent Trust Interests” “shall not have any

 rights under this Agreement” and will not “be deemed ‘Beneficiaries’ under this Agreement,”

 “unless and until” they vest in accordance with the Plan and the CTA. It is undisputed that HMIT’s

 Contingent Trust Interest has not vested under the terms of the Plan and the CTA, and the court

 does not have the power to equitably deem HMIT’s Contingent Trust Interest to be vested based

 on HMIT’s unsupported allegation of wrongdoing on the part of Seery, the Claimant Trustee.

 Thus, the court finds that HMIT is not a “beneficial owner” of the Claimant Trust and, therefore,

 lacks prudential standing under Delaware law to bring derivative claims on behalf of the Claimant

 Trust.217




 Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant Trust Agreement
 and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of Allowed Class B/C Limited Partnership
 Interests, and Holders of Allowed Class A Limited Partnership Interests.”); CTA § 1.1(h). See also, CTA, 1 at n.2
 (“For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
 B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
 that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
 in accordance with the terms and conditions set forth herein and in the Plan.”). HMIT Ex. 26.
 216
     Proposed Complaint ¶ 24.
 217
     See Nat’l Coll., 251 A.3d at 190–92 (dismissing creditors’ derivative claims because they were not “beneficial
 owners of the Trusts”); Hartsel, 2011 WL 2421003, at *19 n.123 (dismissing derivative claims by investors that “no
 longer own shares” because “those investors no longer have standing to pursue a derivative claim”).

                                                            78
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              79 of 105
                                                     Page 359 of 678 PageID 365



              b) HMIT Would Likewise Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Reorganized Debtor.


          HMIT acknowledges that the Reorganized Debtor, Highland Capital Management, L.P., is

 a Delaware limited liability partnership governed by the Delaware Limited Partnership Act, 6 Del.

 C. § 17-101, et seq.218 To bring “a derivative action” on behalf of a limited partnership, “the

 plaintiff must be a partner or an assignee of a partnership interest” continuously from “the time of

 the transaction of which the plaintiff complains” through “the time of bringing the action.”219

          HMIT is not a partner, general or limited, of the Reorganized Debtor limited partnership.

 HMIT was a limited partner in the original debtor (specifically, a holder of Class B/C Limited

 Partnership interests in Highland), but that limited partnership interest was extinguished on August

 11, 2021 (the Effective Date of the Plan) per the terms of the Plan, and HMIT does not own any

 partnership interest in the newly created Reorganized Debtor limited partnership.220 Because

 HMIT would not hold a partnership interest in the Reorganized Debtor at “the time of bringing the

 action,” it “lacks derivative standing” to bring claims “on the partnership’s behalf.”221 HMIT

 likewise cannot satisfy “the continuous ownership requirement”; when HMIT’s limited

 partnership interest in the original Debtor was cancelled on the Plan’s Effective Date, HMIT “los[t]

 standing to continue a derivative suit” on behalf of the Debtor.222 Finally, to the extent HMIT


 218
     Proposed Complaint ¶ 25.
 219
     6 Del. C. § 17-1002; see Tow v. Amegy Bank, N.A., 976 F. Supp. 2d 889, 904 (S.D. Tex. 2013) (“The [Delaware]
 partnership act facially bars any party other than a limited partner from suing derivatively. . . . Delaware courts
 historically have interpreted the provisions as giving the partners exclusive rights to sue for breach of another party’s
 fiduciary duties to them.”) (quoting CML V, LLC v. Bax, 6 A.3d 238, 245 (Del. Ch. 2010), aff’d 28 A.3d 1037 (Del.
 2011)); El Paso Pipeline GP Co. v. Brinckerhoff, 152 A.3d 1248, 1265 n.87 (Del. 2016) (“The statutory foundation
 for the continuous ownership requirement in the corporate realm is echoed in the limited partnership context.”) (citing
 6 Del. C. § 17-211(h)).
 220
     See Plan Art. IV.A.
 221
     Tow, 976 F. Supp. 2d at 904 (dismissing derivative claims by creditor on behalf of partnership for lack of standing).
 222
     El Paso, 152 A.3d at 1265 (cleaned up) (dismissing derivative action for lack of standing where plaintiff’s
 partnership interest was extinguished by a merger transaction); see also Schmermerhorn v. CenturyTel, Inc. (In re


                                                            79
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              80 of 105
                                                     Page 360 of 678 PageID 366



 seeks to bring a “double derivative” action on behalf of the Claimant Trust based on claims

 purportedly held by its wholly owned subsidiary, the Reorganized Debtor, HMIT lacks standing.

 A “double derivative” action is a suit “brought by a shareholder of a parent corporation to enforce

 a claim belonging to a subsidiary that is either wholly owned or majority controlled.”223 And, under

 Delaware law, “parent level standing is required to enforce a subsidiary’s claim derivatively.”224

 Because HMIT would lack derivative standing to bring claims on behalf of the parent Claimant

 Trust,225 it also would lack standing to bring a double derivative action.

               c) Finally, HMIT Would Also Lack Prudential Standing under Applicable Law to
                  Bring the Proposed Claims As Direct Claims.

          HMIT argues that it has “direct” standing to pursue the Proposed Claims on behalf of itself,

 individually.226 But just because HMIT asserts that some or even all of the Proposed Claims are

 direct, not derivative claims, does not make it so: “a claim is not ‘direct’ simply because it is

 pleaded that way.”227 Rather, in determining whether claims are direct or derivative, a court must

 “look at the substance of the Petition, and the nature of the wrongs alleged therein, rather than the

 Plaintiffs’ characterization.”228 And, under Delaware law, “whether a claim is solely derivative or



 SkyPort Global Commcn’s, Inc.), 2011 WL 111427, at *25–26 (Bankr. S.D. Tex. Jan. 13, 2011) (holding that pre-
 petition shareholders “lack standing to bring a derivative claim” under Delaware law because they “had their equity
 interests in the company extinguished pursuant to the merger under the Plan”); In re WorldCom, Inc., 351 B.R. 130,
 134 (Bankr. S.D.N.Y. 2006) (“[T]he cancellation of WorldCom shares under the Plan … prevents the required
 continuation of shareholder status through the litigation.”) (cleaned up).
 223
     Lambrecht v. O’Neal, 3 A.3d 277, 282 (Del. 2010).
 224
     Sagarra, 34 A.3d at 1079–81 (capitalization omitted) (citing Lambrecht, 3 A.3d at 282).
 225
     See supra pp. 80-82.
 226
     See e.g., Motion for Leave ¶ 10 (“HMIT has individual standing to bring this action because Seery owed fiduciary
 duties directly to HMIT at that time . . . .”); id. ¶ 67 (arguing that “HMIT has [d]irect [s]tanding”); Proposed Complaint
 ¶ 24 (“HMIT has constitutional standing and capacity to bring these claims both individually and derivatively.”).
 227
     Schmermerhorn, 2011 WL 111427, at *26 (quoting Gatz v. Ponsoldt, 2004 WL 3029868 at *7 (Del. Ch. Nov. 5,
 2004)).
 228
     See id. (citing Armstrong v. Capshaw, Goss & Bowers LLP, 404 F.3d 933, 936 (5th Cir. 2005)); see also Moore v.
 Simon Enters., Inc., 919 F.Supp. 1007, 1009 (N.D. Tex. 1995)(“The determination of whether a claim is a derivative
 claim or a direct claim is made by reference to the nature of the wrongs alleged in the complaint, and is not limited by
 a [party’s] characterization or stated intention.”)(cleaned up).

                                                            80
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              81 of 105
                                                     Page 361 of 678 PageID 367



 may continue as a dual-natured claim ‘must turn solely on the following questions: (1) who

 suffered the alleged harm (the corporation or the suing stockholders, individually); and (2) who

 would receive the benefit of any recovery or other remedy (the corporation or the stockholders,

 individually)?’”229 “In addition, to prove that a claim is direct, a plaintiff ‘must demonstrate that

 the duty breached was owed to the stockholder and that he or she can prevail without showing an

 injury to the corporation.’”230 Similarly, in the bankruptcy context, whether a creditor can assert

 a claim directly or whether the claim belongs to the estate turns on the nature of the injury for

 which relief is sought: “[i]f the harm to the creditor comes about only because of harm to the

 debtor, then its injury is derivative, and the claim is property of the estate,” such that “only the

 bankruptcy trustee has standing to pursue the claim for the estate . . . .”231 “To pursue a claim on

 its own behalf, a creditor must show this direct injury is not dependent on injury to the estate.”232

          As a reminder, HMIT argues that the injury it has suffered is a devaluation of its interests

 in the Claimant Trust by virtue of alleged over-compensation of Seery as the Claimant Trustee.

 HMIT was unable, when pressed during closing arguments, to identify any other injury. It

 essentially admitted that the claims trades, in and of themselves, would not have harmed the

 Claimant Trust, the Reorganized Debtor, or individual stakeholders, including HMIT, since the

 Claims Purchasers acquired already allowed unsecured claims, such that the distributions on

 those claims pursuant to the Plan would be unchanged in the hands of new holders of the claims.



 229
     El Paso, 152 A.3d at 1260 (quoting Tooley v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031, 1033 (Del. 2004))
 (emphasis in original).
 230
     Id. (quoting Tooley, 845 A.2d at 1033); see also Schmermerhorn, 2011 WL 111427, at *24 (same).
 231
     Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912 F.3d 291, 293 (5th Cir. 2019) (citing 11
 U.S.C. § 541(a)(1)).
 232
     Id.; see also Schertz-Cibolo-Universal City Indep. Sch. Dist. v. Wright (In re Educators Grp. Health Tr.), 25 F.3d
 1281, 1284 (5th Cir. 1994)(“If a cause of action alleges only indirect harm to a creditor (i.e., an injury which derives
 from harm to the debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then
 the cause of action belongs to the estate.”)(citations omitted).

                                                           81
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              82 of 105
                                                     Page 362 of 678 PageID 368



 Thus, by its own concessions, any alleged harm to HMIT (through devaluation of assets in the

 Claimant Trust) “comes about only because of harm to the debtor,” so the alleged “injury is

 derivative.”233 The court concludes that all of the claims set forth in the Proposed Complaint allege

 derivative claims only, and that none would be direct claims against the Proposed Defendants.

 Thus, HMIT would lack prudential standing to bring any of the Proposed Claims in the Proposed

 Complaint, so its Motion for Leave should be denied.

               d) Some Final Points Regarding Standing.

          In this standing discussion, one should not lose sight of the fact that there are both

 procedural safeguards in place, as well as certain independent individuals in place with fiduciary

 duties that might act in the event of any shenanigans regarding Claimant Trust activities. Under

 section 4.1 of the CTA (approved as part of the Plan process), the CTOB, which includes an

 independent disinterested member in addition to representatives of the Claims Purchasers,234

 oversees the Claimant Trustee’s performance of his duties, approves his compensation, and may

 remove him for cause. Moreover, there is a separate “Litigation Trustee” in this case who was

 brought in, post-confirmation, as an independent fiduciary to pursue claims and causes of action.

 These independent persons are checks and balances in the post-confirmation wind down of

 Highland. This is what creditors voted on in connection with the Plan. Seery and the Claims

 Purchasers are not in sole control of anything. The CTA, as well as Delaware law, very clearly set

 forth who can bring an action in the event of some colorable claim. This is the reality of prudential



 233
     Meridian, 912 F.3d at 293–94 (“The creditors’ injury (reduced bankruptcy recovery) derived from injury to the
 debtor (the loss of estate assets), so only the estate could sue the third parties.”); see also El Paso, 152 A.3d at 1260–
 61 & n.60 (holding that claim “claims of corporate overpayment are normally treated as causing harm solely to the
 corporation and, thus, are regarded as derivative”) (collecting cases); Gerber v EPE Holdings, LLC, 2013 WL 209658,
 at *12 (Del. Ch. Jan. 18, 2013) (holding that claims were derivative because plaintiff had “not identified any
 independent harm suffered by the limited partners”; “the partnership suffered all the harm at issue—it paid too much”).
 234
     See supra note 23 and accompanying text.

                                                            82
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              83 of 105
                                                     Page 363 of 678 PageID 369



 standing. Just as in the Abraugh case, where Louisiana law dictated that a mother could not bring

 a wrongful death case when the deceased prisoner had a surviving wife and child, Delaware law

 and the CTA dictate here that a contingent beneficiary cannot bring the Proposed Claims here.

 This is separate and apart from whether the claims are colorable.

       C. Are the Proposed Claims “Colorable”?

       1. What is the Proper Standard of Review for a “Colorability” Determination?

          Although the court has determined that HMIT would not have standing (constitutional or

 prudential) to bring the Proposed Claims, this court will nevertheless evaluate whether the

 claims—assuming HMIT somehow has standing—might be “colorable.” This, in turn, requires

 the court to assess what the legal standard is to determine if a claim is “colorable.” As a reminder,

 the Plan’s Gatekeeper Provision and this court’s prior Gatekeeper Orders entered in January and

 July 2020 each required that, before a party may commence or pursue claims relating to the

 bankruptcy case against certain protected parties, it must first obtain a finding from the bankruptcy

 court that its proposed claims are “colorable.” The Gatekeeper Provision and Gatekeeper Orders

 did not specifically define “colorable” or what type of legal standard should apply.

          HMIT argues that the standard for review to be applied by this court is the same as a simple

 “plausibility” standard used in connection with a Rule 12(b)(6) motions to dismiss. In other words,

 the court should simply assess whether the allegations of the Proposed Complaint, taken as true

 and with all inferences drawn in favor of the movant, state a plausible claim for relief (i.e.,

 colorable equals plausible), and that this standard does not allow for the weighing of evidence by

 the court.235 The Proposed Defendants, however, argue that the test for colorability should be more




 235
    Reply, ¶ 5 (“[T]he determination of ‘colorability’ does not allow the ‘weighing’ of evidence. At most, a Rule
 12(b)(6) ‘plausibility’ standard applies.”).

                                                       83
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              84 of 105
                                                     Page 364 of 678 PageID 370



 akin to the test applied under the Barton doctrine,236 under which a plaintiff must make a prima

 facie case that a proposed claim against a bankruptcy trustee is “not without foundation.” In this

 regard, they argue that the court can and should consider evidence outside of the four corners of

 the complaint—especially since HMIT attached to its Motion for Leave, as “evidence” to support

 it, two declarations of Dondero (as part of a 350-page attachment) and only attempted to withdraw

 those declarations after the Highland Parties urged that they be permitted to cross-examine

 Dondero on them.

         This court ultimately determined that the “colorability” standard was somewhat of a mixed

 question of fact and law and, therefore, the parties could put on evidence at the June 8 Hearing if

 they so-chose. The court would not require it. It was up to the parties. But, in any event, the

 Proposed Defendants should have an opportunity to cross-examine Dondero on the statements

 made in his declarations since the declarations had been filed on the docket and the court had

 reviewed them at this point. HMIT attempted to withdraw the declarations and any reference to

 them in the Motion for Leave, by filing redacted versions of the Motion for Leave,237 less than 72

 hours before the June 8 Hearing; however, the redacted versions did not redact any allegations in

 the Motion for Leave that were purportedly supported by the Dondero declarations. Also, HMIT

 called Dondero as a direct witness, in addition to calling Seery as an adverse witness at the June 8

 Hearing, albeit subject to its running objection to the evidentiary format of the hearing.238 HMIT

 also filed a witness and exhibit list attaching 80 exhibits and over 2850 pages of evidence and




 236
     Barton v. Barbour, 104 U.S. 126 (1881).
 237
     Bankr. Dkt. Nos. 3815 and 3816.
 238
     See June 8 Hearing Transcript, 7:20-24, 112:11-13.

                                                          84
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              85 of 105
                                                     Page 365 of 678 PageID 371



 moved for the admission of those exhibits at the June 8 Hearing (again, subject to its running

 objection to the evidentiary format of the hearing).239

         In determining what appropriate legal standard applies here in the “colorability” analysis,

 the context in which the Gatekeeper Provision of the Plan was approved seems very relevant. In

 determining that the Gatekeeper Provision was legal, necessary, and in the best interest of all of

 the parties, this court set forth in the Confirmation Order a lengthy discussion of the factual support

 for it, and made specific findings relating to Dondero’s post-petition litigation and the need for

 inclusion of the Gatekeeper Provision in the Plan.240 This court observed that “prior to the

 commencement of the Debtor’s bankruptcy case, and while under the direction of Dondero, the

 Debtor had been involved in a myriad of litigation, some of which had gone on for years and, in

 some cases, over a decade” and that “[d]uring the last several months, Dondero and the Dondero

 Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

 time-consuming litigation for the Debtor.”241 This court further found that: (1) Dondero’s post-

 petition litigation “was a result of Dondero failing to obtain creditor support for his plan proposal

 and consistent with his comments, as set forth in Seery’s credible testimony, that if Dondero’s plan

 proposal was not accepted, he would ‘burn down the place,’”242 (2) without the Gatekeeper

 Provision in place, “Dondero and his related entities will likely commence litigation against the

 Protected Parties after the Effective Date” and that “the threat of continued litigation by Dondero

 and his related entities after the Effective Date will impede efforts by the Claimant Trust to

 monetize assets for the benefit of creditors and result in lower distributions to creditors because of


 239
     See Hunter Mountain Investment Trust’s Witness and Exhibit List in Connection with Its Emergency Motion for
 Leave to File Verified Adversary Proceeding, and Supplement (“HMIT W&E List”)[Bankr. Dkt. No. 3818] and n.1
 thereto; see also June 8 Hearing Transcript, 33:7-10.
 240
     See Confirmation Order ¶¶ 76-79.
 241
     Id. ¶ 77.
 242
     Id. ¶ 78. See supra note 12.

                                                       85
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              86 of 105
                                                     Page 366 of 678 PageID 372



 costs and distraction such litigation or the threats of such litigation would cause,”243 and, (3)

 “unless the [court] approves the Gatekeeper Provision, the Claimant Trustee and the Claimant

 Trust Oversight Board will not be able to obtain D&O insurance,244 the absence of which will

 present unacceptable risks to parties currently willing to serve in such roles.” Thus, as set forth in

 the Confirmation Order, the Gatekeeper Provision (and the Gatekeeper Orders as well, which were

 approved based on the same concerns regarding the threat of continued litigation by Dondero and

 his related entities) required Dondero and related entities to make a threshold showing of

 colorability, noting that the:

         Gatekeeper Provision is also within the spirit of the Supreme Court’s “Barton
         Doctrine.” Barton v. Barbour, 104 U.S. 126 (1881). The Gatekeeper Provision is
         also consistent with the notion of a prefiling injunction to deter vexatious litigants,
         that has been approved by the Fifth Circuit in such cases as Baum v. Blue Moon
         Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811
         (5th Cir. 2017).”245

         The Fifth Circuit, in approving the Gatekeeper Provision on appeal, noted that that the Plan

 injunction and Gatekeeper Provision “screen and prevent bad-faith litigation against Highland

 Capital, its successors, and other bankruptcy participants that could disrupt the Plan’s

 effectiveness.”246

         Again, the court believes it is appropriate to consider the context in which—and the

 purpose for which—the Gatekeeper Orders and Gatekeeper Provision were entered in assessing




 243
     Id.
 244
     Asd noted at ⁋ 79 of the Confirmation Order, the bankruptcy court heard testimony from Mark Tauber, a Vice
 President with AON Financial Services, the Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O
 insurance for the post-confirmation parties implementing the Plan. Mr. Tauber credibly testified that of all the
 insurance carriers that AON approached to provide D&O insurance coverage after the Effective Date, the only one
 willing to do so without an exclusion for claims asserted by Mr. Dondero and his affiliates required that the
 Confirmation Order approve the Gatekeeper Provision.
 245
     Id. ¶ 80.
 246
     NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 435 (5th
 Cir. 2022).

                                                        86
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              87 of 105
                                                     Page 367 of 678 PageID 373



 how “colorability” should work here. It seems that applying HMIT’s proposed Rule 12(b)(6)

 “plausibility” standard would impose no hurdle at all to litigants and would render the threshold

 for bringing claims under the Gatekeeper Provision and Gatekeeper Orders entirely duplicative of

 the motion to dismiss standard that every litigant already faces.

          The authorities cited by HMIT in support of its argument for applying a Rule 12(b)(6)

 standard are inapposite. HMIT has cited no authority that addresses the appropriate standard for

 assessing the “colorability” of claims in the context of a plan gatekeeper provision—specifically,

 one implemented in response to a demonstrated need to screen and prevent continued bad-faith,

 harassing litigation against a chapter 11 debtor that would impede the debtor’s implementation of

 a plan, which is what we have here. HMIT relies on a bevy of cases that include benefits coverage

 disputes under ERISA, Medicare coverage disputes, and constitutional challenges247—none of

 which implicate the Barton doctrine and vexatious-litigant concerns that were referenced by the

 court in the Plan as justifications for the gatekeeping provisions at issue here.

          In affirming the Plan’s Gatekeeper Provision, the Fifth Circuit stated, “Courts have long

 recognized bankruptcy courts can perform a gatekeeping function” and noted, by way of example,

 that “[u]nder the ‘Barton doctrine,’ the bankruptcy court may require a party to ‘obtain leave of


 247
    See Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002)
 (assessing whether an employee has “a colorable claim to vested benefits” such that the employee may be considered
 a “participant” under ERISA); Abraham v. Exxon Corp., 85 F.3d 1126, 1129 (5th Cir. 1996) (same); Panaras v. Liquid
 Carbonic Indus. Corp., 74 F.3d 786, 790 (7th Cir. 1996) (same); Lake Eugenie Land & Dev., Inc. v. BP Expl. & Prods.
 (In re Deepwater Horizon), 732 F.3d 326, 340 (5th Cir. 2013) (holding that claims administrator incorrectly interpreted
 class settlement agreement by permitting “claimants [with] no colorable legal claim” to receive awards); Richardson
 v. United States, 468 U.S. 317, 326 n.6 (1984) (discussing whether criminal defendant’s double jeopardy claim was
 “colorable” such that it could be appealed before final judgments); Trippodo v. SP Plus Corp., 2021 WL 2446204, at
 *3 (S.D. Tex. June 15, 2021) (assessing whether plaintiff stated a “colorable claim” against proposed additional
 defendants in determining whether plaintiff could amend complaint); Reyes v. Vanmatre, 2021 WL 5905557, at *3
 (S.D. Tex. Dec. 13, 2021) (same); Family Rehab., Inc. v. Azar, 886 F.3d 496, 504 n.15 (5th Cir. 2018) (assessing
 whether plaintiff raised a “colorable claim” to warrant the district court’s exercise of jurisdiction over a Medicare
 coverage dispute); Am. Med. Hospice Care, LLC v. Azar, 2020 WL 9814144, at *5 (W.D. Tex. Dec. 9, 2020) (same);
 Harry v. Colvin, 2013 WL 12174300, at *5 (W.D. Tex. Nov. 6, 2013) (considering whether plaintiff asserted a
 “colorable constitutional claim” such that the court could exercise jurisdiction); Sabhari v. Mukasey, 522 F.3d 842,
 844 (8th Cir. 2008) (same); Stanley v. Gonzales, 476 F.3d 653, 657 (9th Cir. 2007) (same).

                                                           87
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              88 of 105
                                                     Page 368 of 678 PageID 374



 the bankruptcy court before initiating an action in district court when the action is against the

 trustee or other bankruptcy-court-appointed officer, for acts done in the actor’s official

 capacity.”248 As noted above, the Fifth Circuit found that the Gatekeeper Provision, which

 “requires that, before any lawsuit is filed, the plaintiff must seek the bankruptcy court’s approval

 of the claim as ‘colorable’”—i.e., to “screen and prevent bad-faith litigation,”—is “sound.”249

         On balance, the court views jurisprudence applying the Barton doctrine and vexatious

 litigant injunctions—while not specifically addressing the “colorability” standard under

 gatekeeping provisions in a plan250—as more informative on how to approach “colorability” than

 any of the other authorities presented by the parties. One example is In re VistaCare Group,

 LLC.251

         In VistaCare, the Third Circuit noted that, under the Barton doctrine, “[a] party seeking

 leave of court to sue a trustee must make a prima facie case against the trustee, showing that its

 claim is not without foundation,” and emphasized that the “not without foundation” standard, while

 similar to the standard courts apply in evaluating Rule 12(b)(6) motions to dismiss, “involves a

 greater degree of flexibility” than a Rule 12(b)(6) motion to dismiss because “the bankruptcy court,

 which given its familiarity with the underlying facts and the parties, is uniquely situated to

 determine whether a claim against the trustee has merit,” and “is also uniquely situated to

 determine the potential effect of a judgment against the trustee on the debtor’s estate.”252 To satisfy

 the “prima facie case standard,” “the movant must do more than meet the liberal notice-pleading




 248
     Id. at 438 (cleaned up).
 249
     Id. at 435.
 250
     The court acknowledges that the Barton doctrine itself would not be directly applicable here because HMIT is
 proposing to bring the Proposed Complaint in the bankruptcy court – the “appointing” court of Seery.
 251
     678 F.3d 218 (3d Cir. 2012).
 252
     Id. at 232-233 (cleaned up).

                                                       88
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              89 of 105
                                                     Page 369 of 678 PageID 375



 requirements of Rule 8.”253 “[I]f the [bankruptcy] court relied on mere notice-pleading standards

 rather than evaluating the merits of the allegations, the leave requirement would become

 meaningless.”254 This court agrees with the notion, that “[t]o apply a less stringent standard would

 eviscerate the protections” of the Gatekeeper Provision and Gatekeeper Orders.255 The court notes,

 as well, that courts in the Barton doctrine context regularly hold evidentiary hearings on motions

 for leave to determine if the proposed complaint meets the necessary threshold for pursuing

 litigation. The Third Circuit in VistaCare noted that “[w]hether to hold a hearing [on a motion for

 leave to bring suit against a trustee] is within the sound discretion of the bankruptcy court,”256 and

 that “the decision whether to grant leave may involve a ‘balancing of the interests of all parties

 involved,’” which will ordinarily require an evidentiary hearing.257 The Third Circuit applied “the

 deferential abuse of discretion standard” in considering whether the bankruptcy court’s granting

 of leave should be affirmed on appeal.258



 253
     In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) (cleaned up; collecting cases).
 254
     Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill. Nov. 30,
 2000).
 255
     World, 584 B.R. at 743 (quoting Leighton, 2000 WL 1761020, at *2).
 256
     VistaCare, 678 F.3d at 232 n.12.
 257
     Id. at 233 (quoting In re Kashani, 190 B.R. 875, 886–87 (9th Cir. BAP 1995)). The Third Circuit noted that the
 bankruptcy court’s holding of an evidentiary hearing on the motion for leave was appropriate (though not required in
 every case)). Id. at 232 n.12.
 258
     Id. at 224 (“We review a bankruptcy court’s decision to grant a motion for leave to sue a trustee under the deferential
 abuse of discretion standard.”) (citing In re Linton, 136 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725
 F.2d 880, 889 (2d Cir. 1984)). Courts of appeal routinely apply the deferential abuse of discretion standard to a
 bankruptcy court’s decision regarding whether leave should be granted to sue a trustee. Although the Fifth Circuit
 has not squarely addressed this issue, all nine Circuits that have considered this issue have also adopted an abuse-of-
 discretion standard. See In re Bednar, 2021 WL 1625399, at *3 (B.A.P. 10th Cir. Apr. 27, 2021) (“[T]he Bankruptcy
 Court's decision to decline leave to sue the Trustee under the Barton doctrine is reviewed for abuse of discretion . . .
 .”) (citing VistaCare); SEC v. N. Am. Clearing, Inc., 656 F. App’x 969, 973–74 (11th Cir. 2016) (“Although we have
 never determined the standard of review for a challenge to the denial of a Barton motion, other Circuits that have
 considered the issue review a lower court's ruling on a Barton motion for an abuse of discretion.”) (citing VistaCare);
 In re Lupo, 2014 WL 4653064, at *3 (B.A.P. 1st Cir. Sept. 17, 2014) (“Appellate courts review a bankruptcy court's
 decision to deny a motion for leave to sue under the abuse of discretion standard.”) (citing VistaCare); Grant,
 Konvalinka & Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 422 (6th Cir. 2013) (holding that abuse-of-
 discretion standard applies to Barton doctrine); Alexander v. Hedback, 718 F.3d 762 (8th Cir. 2013) (applying abuse-
 of-discretion standard to Barton doctrine).

                                                             89
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              90 of 105
                                                     Page 370 of 678 PageID 376



          The Fifth Circuit has affirmed a bankruptcy court’s conducting of an evidentiary hearing,

 in the context of applying a Barton doctrine analysis as to a proposed lawsuit against a trustee,

 without any concern that the inquiry was somehow improper.259

          Similarly, courts in the vexatious litigant context, where there was an injunction requiring

 a movant to seek leave to pursue claims, have required movants to “show that the claims sought

 to be asserted have sufficient merit,” including that “the proposed filing is both procedural and

 legally sound,” and “that the claims are not brought for any improper purpose, such as

 harassment.”260 “For a prefiling injunction to have the intended impact, it must not merely require

 a reviewing official to apply an already existing level of review,” such as the “plausibility”

 standard for a Rule 12(b)(6) motion.261 Rather, courts apply “an additional layer of review,” and

 “may appropriately deny leave to file when even part of the pleading fails to satisfy the reviewer

 that it warrants a federal civil action” or that the “litigant’s allegations are unlikely,” especially

 “when prior cases have shown the litigant to be untrustworthy or not credible . . . .”262

          In summary, the court rejects HMIT’s positions: (a) that it need only show, at most, that

 the allegations in the Proposed Complaint are “plausible” under the Rule 12(b)(6) standard for

 motions to dismiss; and (b) that this court improperly conducted an evidentiary hearing on the

 Motion for Leave (i.e., that consideration of evidence in this context is impermissible). The court

 notes, again, that HMIT’s argument that this court is not permitted to consider evidence in making

 its “colorability” determination is completely contradictory to HMIT’s actions in filing the Motion



 259
     See Howell v. Adler (In re Grodsky), 2019 WL 2006020, at *4 (Bankr. E.D. La. Apr. 11, 2019) (dismissing an
 action under Barton after “a close examination” by the bankruptcy court of the evidence regarding the trustee’s actions
 and finding that “the plaintiffs’ allegations are not based in fact”), aff’d 799 F. App’x 271 (5th Cir. 2020).
 260
     Silver v. City of San Antonio, 2020 WL 3803922, at *1 (W.D. Tex. July 7, 2020) (denying leave to file lawsuit);
 see also Silver v. Perez, 2020 WL 3790489, at *1 (W.D. Tex. July 7, 2020) (same).
 261
     Silver, 2020 WL 3803922, at *6.
 262
     Id.

                                                           90
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              91 of 105
                                                     Page 371 of 678 PageID 377



 for Leave, where it attached two Dondero declarations as part of 350 pages of “objective evidence”

 that “supported” its motion.

         The court concludes that the appropriate standard to be applied in making its “colorability”

 determination in this bankruptcy case, in the exercise of its gatekeeping function pursuant to the

 two Gatekeeper Orders and the Gatekeeper Provision in this Plan, is a broader standard than the

 “plausibility” standard applied to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that

 involves an additional level of review—one that places on the proposed plaintiff a burden of

 making a prima facie case that its proposed claims are not without foundation, are not without

 merit, and are not being pursued for any improper purpose such as harassment. Additionally,

 this court may, and should, take into consideration its knowledge of the bankruptcy proceedings

 and the parties and any additional evidence presented at the hearing on the Motion for Leave. For

 ease of reference, the court will refer to this standard of “colorability” as the “Gatekeeper

 Colorability Test.” The court considers this test as a sort of hybrid of what the Barton doctrine

 contemplates and what courts have applied when considering motions to file suit when a vexatious

 litigant bar order is in place.

     2. HMIT’s Proposed Complaint Does Not Present “Colorable” Claims Under this Court’s
        Gatekeeper Colorability Test or Even Under a Rule 12(b)(6) “Plausibility” Standard.

         The court finds, in the exercise of its gatekeeping function under the Gatekeeper Orders

 and the Gatekeeping Provision in the Plan, that the Motion for Leave should be denied as the

 claims set forth in the Proposed Complaint are not “colorable” claims. The court makes this

 determination after considering evidence admitted at the June 8 Hearing, including the testimony

 of Dondero, Patrick, and Seery, and the numerous exhibits offered by HMIT and the Highland

 Parties. HMIT’s Proposed Claims lack foundation, are without merit, and appear to be motivated

 by the improper purposes of vexatiousness and harassment. But, even under the less stringent


                                                  91
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              92 of 105
                                                     Page 372 of 678 PageID 378



 “plausibility” standard under Rule 12(b)(6) motions to dismiss, where all allegations must be

 accepted as true, HMIT’s “[t]hreadbare recitals of the elements of a cause of action, supported by

 mere conclusory statements,” fail to “[]cross the line from conceivable to plausible.”263

             HMIT makes unsubstantiated and conclusory allegations in its Motion for Leave and

 Proposed Complaint that the Claims Purchasers purchased the large allowed unsecured claims only

 because Seery, while he was CEO of Highland prior to the Effective Date of the Plan, provided

 them with MNPI and assurances that the Purchased Claims were very valuable. This was allegedly

 in exchange for their agreement to approve, in their future capacities as members of the CTOB,

 excessive compensation for Seery in his capacity as the Claimant Trustee after the Effective Date

 of the Plan. This was an alleged quid pro quo that HMIT claims establishes Seery’s breach of

 fiduciary duties and the Claims Purchasers’ conspiracy to participate in that breach. As discussed

 below, these allegations are unsubstantiated and conclusory allegations, and they do not support

 the inferences that HMIT needs the court to make when it analyzes whether the Proposed Claims

 are “colorable”—or even merely plausible.

                 a) HMIT’s Proposed Breach of Fiduciary Duties Claim Set Forth in Count I of the
                    Proposed Complaint

             Based on HMIT’s Proposed Complaint and the evidence admitted at the June 8 Hearing,

 the court finds that HMIT has not pleaded facts that would support a “colorable” breach of

 fiduciary duties claim against Seery, under this court’s Gatekeeper Colorability Test, nor a

 plausible claim pursuant to the Rule 12(b) standard. HMIT alleges that Seery breached his

 fiduciary duties (i) “[b]y disclosing material non-public information to Stonehill and Farallon”




 263
       Ashcroft v. Iqbal, 556 U.S. 662, 679–80 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

                                                             92
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              93 of 105
                                                     Page 373 of 678 PageID 379



 before their purchase of certain Highland claims, and (ii) by receiving “compensation paid to him

 under the terms of the [CTA] since the Effective Date of the Plan in August 2021.”264

         As earlier noted, both the Reorganized Debtor and the Claimant Trust are organized under

 Delaware law and, thus, its proposed Count I against Seery for breach of fiduciary duties to these

 entities is governed by Delaware law under the “Internal Affairs Doctrine.”265 Under Delaware

 law, “[t]o bring a claim for breach of fiduciary duty, a plaintiff must allege ‘(1) that a fiduciary

 duty existed and (2) that the defendant breached that duty.’”266 HMIT fails to plausibly or

 sufficiently allege either element such that its breach of fiduciary duty claims against Seery could

 survive.

         Under Delaware law, officers and directors generally owe fiduciary duties only to the entity

 and its stakeholders as a whole, not to individual shareholders.267 Because Seery did not owe any

 “duty” to HMIT directly and individually, the Proposed Complaint fails to state a claim for breach

 of fiduciary duties to HMIT. HMIT’s “legal conclusion[]” that Seery “owed fiduciary duties to

 HMIT, as equity, and to the Debtor’s Estate”268 “do[es] not suffice” to plausibly allege the

 existence of any actionable fiduciary relationship.269 And as discussed earlier in the standing

 section, HMIT does not have standing to assert a breach of fiduciary claim derivatively on behalf



 264
     Proposed Complaint ¶¶ 64–67.
 265
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 266
     Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020) (quoting Joseph C.
 Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch. Feb. 28, 2020)).
 267
     See Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) (“[D]irectors’ fiduciary duty runs to
 the corporation and to the entire body of shareholders generally, as opposed to specific shareholders or shareholder
 subgroups.”) aff’d, 575 A.2d 1131 (Del. 1990); Klaassen v Allegro Dev. Corp., 2013 WL 5967028, at *11 (Del. Ch.
 Nov. 7, 2013) (same).
 268
     Proposed Complaint ¶ 63.
 269
     Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                                                         93
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              94 of 105
                                                     Page 374 of 678 PageID 380



 of the Claimant Trust or Reorganized Debtor. But even if HMIT had sufficiently alleged the

 existence of a fiduciary duty by Seery to HMIT—or to the Reorganized Debtor or Claimant Trust

 that HMIT would have standing to assert—Seery’s alleged communications with Farallon would

 not have breached those duties.

            HMIT alleges that Seery ““disclose[d] material non-public information to Stonehill and

 Farallon,” and they “acted on inside information and Seery’s secret assurances of great profits.”270

 But the Proposed Complaint does not make any factual allegations regarding HMIT’s “conclusory

 allegations,” and its “legal conclusions” are “purely speculative, devoid of factual support,” and

 therefore “stop[] short of the line between possibility and plausibility of entitlement to relief”271

 (and certainly stop short of being “colorable”). HMIT never alleges when any of these purported

 communications occurred, what material non-public information Seery provided, and what

 “assurances of great profits” he made to Farallon or to Stonehill. At the June 8 Hearing, Dondero

 could only clarify that he believed the MGM Email to have been MNPI and that he believed that

 Seery must have communicated that MNPI to Farallon at some point between December 17, 2020

 (the date the MGM Email was sent) and May 28, 2021 (the day that Dondero alleges to have had

 three telephone calls with representatives of Farallon, Messrs. Patel and Linn, regarding Farallon’s

 purchase of the bankruptcy claims). Dondero alleges that, during these phone calls, Patel and Linn

 gave Dondero no reason for their purchase of the claims that “made [any] sense.” Dondero and

 Patrick also both testified that neither of them had any personal knowledge: (a) of a quid pro quo

 arrangement between Seery and the Claims Purchasers, (b) of Seery having actually communicated

 any information from the MGM Email to Farallon, or (c) whether Seery’s post-Effective Date

 compensation had or had not been negotiated in an arms’ length transaction. Dondero only

 270
       Proposed Complaint ¶¶ 3, 64; see also id. ¶¶ 13–14, 40, 47, 50.
 271
       Reed v. Linehan (In re Soporex, Inc.), 463 B.R. 344, 367, 386 (Bankr. N.D. Tex. 2011) (cleaned up).

                                                            94
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              95 of 105
                                                     Page 375 of 678 PageID 381



 speculates regarding these things, because it “made no sense” to him that the Claims Purchasers

 would have acquired the bankruptcy claims without having received the MNPI. But HMIT admits

 in the Proposed Complaint that Farallon and Stonehill purchased the Highland claims at discounts

 of 43% to 65% to their allowed amounts. Thus, they would receive at least an 18% return based

 on publicly available estimates in Highland’s court-approved Disclosure Statement.272 The

 evidence established that, if the acquisition of the UBS claims is excluded—recall that the UBS

 claims were not purchased until August 2021, which was after the May 28, 2021 phones calls that

 Dondero made to Farallon personnel—the Claims Purchasers would have expected to net over $33

 million in profits, or nearly a 30% return on their investment, had Highland met its projections

 (this is based on the aggregate purchase price of $113 million for the non-UBS claims purchased

 in the Spring 2021).

         To be clear, the only purported MNPI identified in HMIT’s Proposed Complaint was the

 MGM Email Dondero sent to Seery containing “information regarding Amazon and Apple’s

 interest in acquiring MGM.” But, the evidence showed that this information was widely reported

 in the financial press at the time. Thus, it could not have constituted MNPI as a matter of law.273

 Moreover, the evidence showed that Dondero did not communicate in the MGM Email the actual

 inside information that he claimed to have obtained as a board member of MGM–which was that

 Amazon had met MGM’s “strike price” and that the MGM board was going into exclusive

 negotiations with Amazon to culminate the merger with them (and, thus, Apple was no longer

 considered a potential purchaser). Dondero admitted that he included Apple in the MGM Email

 for the purpose of making it look like there was a competitive process still ongoing. In other


 272
    Proposed Complaint ¶¶ 3, 37, 42.
 273
    See, e.g., SEC v. Cuban, 2013 WL 791405, at *10–11 (N.D. Tex. Mar. 5, 2013) (holding that information is not
 “material, nonpublic information” and “‘becomes public when disclosed to achieve a broad dissemination to the
 investing public’”) (quoting SEC v. Mayhew, 121 F.3d 44, 50 (2d Cir. 1997)).

                                                       95
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              96 of 105
                                                     Page 376 of 678 PageID 382



 words, the MGM Email, at the very least, did not include MNPI and, at worst, was deceptive

 regarding the status of the negotiations between MGM and potential purchasers.

          As to HMIT’s allegations that Seery’s post-Effective Date compensation is “excessive”

 and that the negotiations between Seery and the CTOB “were not arm’s-length,”274 the evidence

 at the June 8 Hearing reflected that the allegations are completely speculative, without any

 foundation whatsoever, and lack merit. And they are also simply not plausible. HMIT fails to

 allege facts in the Proposed Complaint that would support a reasonable inference that Seery

 breached his fiduciary duty to HMIT or the estate as a result of bad faith, self-interest, or other

 intentional misconduct rising to the level of a breach of the duty of loyalty.275

               b) HMIT’s Proposed Claims Set Forth in Counts II (Knowing Participation in Breach
                  of Fiduciaries) and III (Conspiracy)

          HMIT seeks to hold the Claims Purchasers secondarily liable for Seery’s alleged breach of

 fiduciaries duties on an aiding and abetting theory in Count II of the Proposed Complaint276 and,

 along with Seery, on a civil conspiracy theory of liability in Count III of the Proposed

 Complaint.277 Because HMIT’s breach of fiduciary duties claim is governed by Delaware law, its

 aiding and abetting breach of fiduciary duties claim against the Claims Purchasers (Count II) is

 also governed by Delaware law.278 HMIT’s conspiracy cause of action against the Claims




 274
     Proposed Complaint ¶¶ 4, 13, 54, 74.
 275
     See Pfeffer v. Redstone, 965 A.2d 676, 690 (Del. 2009) (dismissing claim for breach of duty of loyalty against a
 director where “conclusory allegations” failed to give rise to inference that director failed to perform fiduciary duties);
 McMillan v. Intercargo Corp., 768 A.2d 492, 507 (Del. Ch. 2000) (dismissing claim for breach of fiduciary duty
 where “[a]though the complaint makes the conclusory allegation that the defendants breached their duty of disclosure
 in a ‘bad faith and knowing manner,’ no facts pled in the complaint buttress that accusation.”).
 276
     Proposed Complaint ¶¶ 69-74.
 277
     Proposed Complaint ¶¶ 75-81.
 278
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).

                                                             96
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              97 of 105
                                                     Page 377 of 678 PageID 383



 Purchasers and Seery (Count III), on the other hand, does not involve a matter of “internal affairs”

 or of corporate governance, so it is governed by Texas law under the Plan.279

          As an initial matter, because HMIT does not present either a “colorable”—or even

 plausible claim—that Seery breached his fiduciary duties, it cannot show that it has alleged a

 “colorable” or plausible claim for secondary liability for the same alleged wrongdoing.280 In

 addition, HMIT’s civil conspiracy claim against the Claims Purchasers and Seery is based entirely

 on Dondero’s speculation and unsupported inferences and, thus, HMIT has not “colorably”

 alleged, or even plausibly alleged, its conspiracy claim. Under Texas law, “civil conspiracy is a

 theory of vicarious liability and not an independent tort.”281 “[T]he elements of civil conspiracy

 [are] “(1) two or more persons; (2) an object to be accomplished; (3) a meeting of minds on the

 object or course of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

 result.”282 While HMIT alleges that “Defendants conspired with each other to unlawfully breach

 fiduciary duties,”283 it is simply a “legal conclusion” and not the kind of allegation that the court

 must assume to be true even for purposes of determining plausibility under a motion to dismiss.284


 279
     Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex. App. – Houston [14th Dist.] 2020) (applying Delaware
 law to fiduciary duty claim and Texas law to conspiracy theory); (Plan Art. XII.M)(which provides for the application
 of Texas law to “the rights and obligations arising under this Plan” except for “corporate governance matters.”)
 280
     See English v. Narang, 2019 WL 1300855, at *14 (Del. Ch. Mar. 20, 2019) (“As a matter of law and logic, there
 cannot be secondary liability for aiding and abetting an alleged harm in the absence of primary liability.”) (cleaned
 up; collecting cases); Hill v. Keliher, 2022 WL 213978, at *10 (Tex. App. Jan. 25, 2022) (“[A] defendant’s liability
 for conspiracy depends on participation in some underlying tort for which the plaintiff seeks to hold at least one of the
 named defendants liable.”) (quoting Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996)). Because HMIT’s breach
 of fiduciary duty claim is governed by Delaware law, its aiding and abetting theory of liability is also governed by
 Delaware law. See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D.
 Tex. 2016) (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware
 corporation headquartered in Texas). By contrast, “conspiracy is not an internal affair” or a matter of corporate
 governance, so it is governed by Texas law under the Plan. Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex.
 App. – Houston [14th Dist.] 2020) (applying Delaware law to fiduciary duty claim and Texas law to conspiracy
 theory); (Plan Art. XII.M).
 281
     Agar Corp., Inc. v. Electro Circuits Int’l, LLC, 580 S.W.3d 136, 142 (Tex. 2019).
 282
     Id. at 141 (cleaned up).
 283
     Proposed Complaint ¶ 76.
 284
     Iqbal, 556 U.S. at 680 (citing Twombly, 555 U.S. at 565–66).

                                                            97
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              98 of 105
                                                     Page 378 of 678 PageID 384



 HMIT repeats four times that Seery provided MNPI to Farallon and Stonehill as a “as a quid pro

 quo” for “additional compensation,”285 each time based upon conclusory allegations based “upon

 information and belief” and, frankly, pure speculation from Dondero that his imagined “scheme,”

 “covert quid pro quo,” and secret “conspiracy” between Seery, on the one hand, and Farallon and

 Stonehill, on the other,286 must have occurred because “[i]t made no sense for the [Claims]

 Purchasers to invest millions of dollars for assets that – per the publicly available information –

 did not offer a sufficient potential profit to justify the publicly disclosed risk” (i.e., “[t]he counter-

 intuitive nature of the purchases at issue compels the conclusion that the [Claims] Purchasers acted

 on inside information and Seery’s assurance of great profits.”)287 Importantly, HMIT admits that

 the Claims Purchasers would have turned a profit based on the information available to them at

 the time of their acquisitions of the Purchased Claims.288 HMIT’s allegations about the level of

 potential profits were contradicted by their own allegations and other evidence admitted at the June

 8 Hearing. But Dondero’s speculation about what level of projected return would be sufficient to

 justify the acquisition of the claims by the Claims Purchasers, or any other third-party investor,

 does not give rise to a plausible inference that they acted improperly.289 Thus, HMIT cannot meet


 285
     Proposed Complaint ¶ 77; see also id. ¶¶ 4, 47, 74.
 286
     See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the other
 Defendants with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”).
 287
     Id.
 288
     See, e.g., id. ¶ 3 (alleging that acquiring the claims “did not offer a sufficient potential profit to justify the publicly
 disclosed risk”)(emphasis added); ¶ 43 (“Furthermore, although the publicly available projections suggested only
 a small margin of error on any profit potential for its significant investment . . . .”); ¶ 49 (“Yet, in this case, it would
 have been impossible for Stonehill and Farallon (in the absence of inside information) to forecast any significant profit
 at the time of their multi-million-dollar investments given the publicly available, negative financial information.”)
 (third emphasis added).
 289
     In fact, the court did not allow Mr. Dondero to testify regarding what kind of information a hypothetical investor
 in bankruptcy claims would require or what level of potential profits would justify the purchase of bankruptcy claims
 by investors in the bankruptcy claims trading market because he was testifying as a fact witness, not an expert. Thus,
 the court only allowed Dondero to testify as to what data he (or entities he controls or controlled) would rely on, what
 his risk tolerance would have been, and what level of potential profits he would have required to purchase an allowed
 unsecured bankruptcy claim in a post-confirmation situation. June 8 Hearing Transcript, 129:6-130:4.

                                                               98
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              99 of 105
                                                     Page 379 of 678 PageID 385



 its burden, under the Gatekeeper Colorability Test, of making a prima facie showing that its

 allegations do not lack foundation or merit. Nor can it meet a plausibility standard.

         In addition, contrary to the Proposed Complaint’s statement that it would have been

 “impossible for Stonehill and Farallon (in the absence of insider information) to forecast any

 significant profit at the time of their multi-million-dollar investments,” the evidence showed there

 were already reports in the financial press that MGM was engaging with Amazon, Apple, and

 others in selling its media portfolio, and thus the prospect of an MGM transaction increasing the

 value of, and return on, the Purchased Claims, “at the time of their multi-million-dollar

 investments” was publicly available information.290                HMIT’s suggestion that the Claims

 Purchasers were in possession of inside information not publicly available when they acquired the

 Purchased Claims is simply not plausible. Nor is HMIT’s allegation that “[u]pon information and

 belief” Farallon “conducted no due diligence but relied on Seery’s profit guarantees” plausible.

 The allegations regarding Farallon not conducting any due diligence are based, again, entirely on

 Dondero’s speculation and inferences he made from what Patel and Linn (of Farallon) allegedly

 told him on May 28, 2021; Dondero did not testify that either Patel or Linn ever told him

 specifically that they had conducted no due diligence. HMIT’s allegations in the Proposed

 Complaint that Farallon “conducted no due diligence,” are based on Dondero’s speculation,

 unsubstantiated, and contradicted by the testimony of Seery, who testified that emails to him from

 Linn in June 2020 and later in January 2021 indicated to him that Farallon, at least, had been

 conducting some level of due diligence in that they had been following and paying attention to the




 290
     The court notes, as well, that the Claim Purchasers acquired the UBS claims in August 2021—approximately two
 and a half months after the announcement of the MGM-Amazon transaction (which was on May 26, 2021)—a fact
 that HMIT makes no attempt to harmonize with its conspiracy theory that the Claims Purchasers profited from the
 misuse of MNPI allegedly given to them by Seery.

                                                       99
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              100 of 105
                                                     Page 380 of 678 PageID 386



 Highland case.291 In addition, there are no allegations in the Proposed Complaint regarding

 whether Stonehill conducted due diligence or not, and Patrick testified that neither he nor HMIT

 had any personal knowledge of how much due diligence Farallon or Stonehill did prior to acquiring

 the Purchased Claims.292 The court finds and concludes that HMIT’s allegations of aiding and

 abetting and conspiracy in Counts II and III of the Proposed Complaint are based on

 unsubstantiated inferences and speculation, lack internal consistency, and lack consistency with

 verifiable public facts. Accordingly, HMIT has failed to show that these claims have a foundation

 and merit and has also failed to show that they are plausible.

              c) HMIT’s Proposed Claims Set Forth in Counts IV (Equitable Disallowance), V
                 (Unjust Enrichment and Constructive Trust), and VI (Declaratory Relief) of the
                 Proposed Complaint

            i.    Count IV (Equitable Disallowance).

         In Count IV of its Proposed Complaint, HMIT seeks “equitable disallowance” of the claims

 acquired by Farallon’s and Stonehill’s special purpose entities Muck and Jessup, “to the extent

 over and above their initial investment,” and, in the alternative, equitable subordination of their

 claims to all claims and interests, including HMIT’s unvested Class 10 Contingent Claimant Trust

 Interest, “given [their] willful, inequitable, bad faith conduct” of allegedly “purchasing the Claims

 based on material non-public information” and being “unfairly advantaged” in “earning significant

 profits on their purchases.”293 As noted above, these remedies are not available to HMIT.294

         First, HMIT’s request to equitably subordinate the Purchased Claims to all claims and

 interests is not permitted because Bankruptcy Code § 510(c), by its terms, permits equitable




 291
     See June 8 Hearing Transcript, 239:6-21.
 292
     See id., 310:19-312:2.
 293
     Proposed Complaint ¶¶ 83-87.
 294
     See infra pages 74-75.

                                                 100
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              101 of 105
                                                     Page 381 of 678 PageID 387



 subordination of a claim to other claims or an interest to other interests but does not permit

 equitable subordination of a claim to interests.

             Second, “equitable” disallowance of claims is not an available remedy in the Fifth Circuit

 pursuant to the Mobile Steel case.295

             Third, reconsideration of an already-allowed claim in a bankruptcy case can only be

 accomplished through Bankruptcy Code § 502(j), which, pursuant to Federal Rule of Bankruptcy

 Procedure 9024, allows reconsideration of allowance of a claim that was allowed following a

 contest (which is certainly the case with respect to the Purchased Claims) based on the “equities

 of the case.” But this is only if the request for reconsideration is made within the one-year

 limitation prescribed in Rule 60(c) of the Federal Rules of Civil Procedure. HMIT’s request for

 disallowance of Muck and Jessup’s Purchased Claims (if it could somehow be construed as a

 request for reconsideration of their claims), is clearly untimely, as it is being made well beyond a

 year since their allowance by this court following contests and approval of Rule 9019 settlements.

 Thus, the court finds that HMIT has not alleged a colorable or even plausible claim in Count IV

 of the Proposed Complaint and, therefore, the Motion for Leave should be denied.

               ii.    Count V (Unjust Enrichment and Constructive Trust)

             In Count V of the Proposed Complaint, HMIT alleges that, “by acquiring the Claims using

 [MNPI], Stonehill and Farallon were unjustly enriched and gained an undue advantage over other

 creditors and former equity” and that “[a]llowing [the Claims Purchasers] to retain their ill-gotten

 benefits would be unconscionable;” thus, HMIT alleges, the Claims Purchasers “should be forced

 to disgorge all distributions over and above their original investment in the Claims as restitution

 for their unjust enrichment” and “a constructive trust should be imposed on such proceeds . . . .”296

 295
       In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).
 296
       Proposed Complaint ¶¶ 89-93.

                                                             101
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              102 of 105
                                                     Page 382 of 678 PageID 388



 HMIT alleges further that “Seery was also unjustly enriched by his participation in this scheme

 and he should be required to disgorge or restitute all compensation he has received from the outset

 of his collusive activities” and “[a]lternatively he should be required to disgorge and restitute all

 compensation received since the Effective Date” over which a constructive trust should be

 imposed.297 HMIT has not alleged a colorable or even a plausible claim for unjust enrichment or

 constructive trust in Count V.

         Under Texas law,298 “[u]njust enrichment is not an independent cause of action but rather

 characterizes the result of a failure to make restitution of benefits either wrongfully or passively

 received under circumstances which give rise to an implied or quasi-contractual obligation to

 repay.”299 Thus, “when a valid, express contract covers the subject matter of the parties’ dispute,

 there can be no recovery under a quasi-contract theory.”300 Here, as noted above, HMIT’s only

 alleged injury is a diminution of the value of its unvested Contingent Claimant Trust Interest by

 virtue of Seery’s allegedly having wrongfully obtained excessive compensation, with the help of

 the Claims Purchasers. Yet Seery’s compensation is governed by express agreements (i.e., the

 Plan and the CTA). Thus, HMIT’s claim based on unjust enrichment is not an available theory of

 recovery.

           iii.   Count VI (Declaratory Relief)

         HMIT seeks declaratory relief in Count VI of the Proposed Complaint, essentially, that

 Dondero’s conspiracy theory is correct and that HMIT’s would succeed on the merits with respect



 297
     Id. ¶ 94.
 298
     Under the Plan, Texas law governs HMIT’s “claim” for unjust enrichment because it is not a “corporate governance
 matter.” (Plan Art. XII.M.) It also governs HMIT’s “claim” for constructive trust, which “is merely a remedy used to
 grant relief on the underlying cause of action.” Sherer v. Sherer, 393 S.W.3d 480, 491 (Tex. App. 2013).
 299
     Taylor v. Trevino, 569 F. Supp. 3d 414, 435 (N.D. Tex. 2021) (cleaned up); see also Yowell v. Granite Operating
 Co., 630 S.W.3d 566, 578 (Tex. App. 2021) (same).
 300
     Taylor, 569 F. Supp. 3d at 435 (quoting Fortune Prod. Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

                                                         102
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              103 of 105
                                                     Page 383 of 678 PageID 389



 to the Proposed Claims if it were permitted leave to bring them in an adversary proceeding.301 But,

 a request for declaratory relief is not “an independent cause of action”302 and “in the absence of

 any underlying viable claims such relief is unavailable.”303 This court has already found and

 concluded that HMIT would not have constitutional or prudential standing to bring the underlying

 causes of action in the Proposed Complaint. This court has also found and concluded that all of

 the Proposed Claims are without foundation or merit and are not even plausible and are all; being

 brought for the improper purpose of continuing Dondero’s vexatious, harassing, bad-faith

 litigation. Thus, HMIT would not be entitled to pursue declaratory judgement relief as requested

 in Count VI of the Proposed Complaint.

             d) HMIT Has No Basis to Seek Punitive Damages

         HMIT separately alleges that the Claims Purchasers’ and Seery’s “misconduct was

 intentional, knowing, willful, in bad faith, fraudulent, and in total disregard of the rights of others,”

 thus entitling HMIT to an award of punitive damages under applicable law. But, HMIT abandoned

 its proposed fraud claim that was in its Original Proposed Complaint, so its sole claim for primary

 liability is Seery’s alleged breach of his fiduciary duties. And under Delaware law, the “court

 cannot award punitive damages in [a] fiduciary duty action.”304




 301
     Proposed Complaint ¶¶ 96-99.
 302
     See Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 932 (5th Cir. 2023).
 303
     Green v. Wells Fargo Home Mtg., 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016) (citing Collin Cty. v.
 Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990)); see also Hopkins
 v. Cornerstone Am.
 304
     Buchwald v. Renco Grp. (In re Magnesium Corp. of Am.), 539 B.R. 31, 52 (S.D.N.Y. 2015) (citing Gesoff v. IIC
 Indus., Inc., 902 A.2d 1130, 1154 (Del. Ch. 2006)), aff’d 682 F. App’x 24 (2d Cir. 2017).

                                                       103
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              104 of 105
                                                     Page 384 of 678 PageID 390



    3. HMIT Does Not Present “Colorable” Claims Under this Court’s Gatekeeper Colorability
       Test Because It Seeks to Bring the Proposed Complaint for Improper Purposes of
       Harassment and Bad-Faith, Vexatiousness.

        Under this court’s Gatekeeper Colorability Test, in addition to showing that its allegations

 and claims are not without foundation or merit, HMIT must also show that the Proposed Claims

 are not being brought for any improper purpose. Taking into consideration the court’s knowledge

 of the bankruptcy proceedings and the parties and the evidence presented at the hearing on the

 Motion for Leave, the court finds that HMIT is acting at the behest of, and under the control or

 influence of, Dondero in continuing to pursue harassing, bad faith, vexatious litigation to achieve

 his desired result in these bankruptcy proceedings. So, in addition to failing to show that its

 Proposed Claims have foundation and merit, HMIT cannot show that it is pursuing the Proposed

 Claims for a proper purpose and, thus, cannot meet the requirements under the Gatekeeper

 Colorability Test; HMIT’s Motion for Leave should be denied.

        IV.     CONCLUSION

        The court concludes, having taken into consideration both its knowledge of the bankruptcy

 proceedings and the parties and the evidence presented at the hearing on the Motion for Leave,

 that HMIT’s Motion for Leave should be denied for three independent reasons: (1) HMIT would

 lack constitutional standing to bring the Proposed Claims (and, thus, the federal courts would lack

 subject matter jurisdiction over the Proposed Claims); (2) even if HMIT would have constitutional

 standing to pursue the Proposed Claims, it would lack prudential standing to bring the Proposed

 Claims; and (3) even if HMIT would have both constitutional standing and prudential standing to

 bring the Proposed Claims, it has not met its burden under the Gatekeeper Colorability Test of

 showing that its Proposed Claims are “colorable” claims—that the Proposed Claims are not

 without foundation, not without merit, and not being pursued for an improper purpose. Moreover,



                                                104
  Case 19-34054-sgj11 Doc 3903 Filed 08/25/23 Entered 08/25/23 15:59:46 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              105 of 105
                                                     Page 385 of 678 PageID 391



 even if this court’s Gatekeeper Colorability Test should be replaced with a Rule 12(b)(6)

 “plausibility” standard, the Proposed Claims are not plausible.

        Accordingly,

        IT IS ORDERED that HMIT’s Motion for Leave be, and hereby is DENIED.

                       ###End of Memorandum Opinion and Order###




                                                105
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 386 of 678   PageID 392




                       Exhibit 2
     Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
   Case 3:23-cv-02071-E Document
                           Main Document
                                 1-1 Filed 09/15/23
                                            Page 1 of 105
                                                       Page 387 of 678 PageID 393




The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 25, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor.            §


          MEMORANDUM OPINION AND ORDER PURSUANT TO PLAN “GATEKEEPER
          PROVISION” AND PRE-CONFIRMATION “GATEKEEPER ORDERS”: DENYING
           HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
                  LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING1
                       [BANKR. DKT. NOS. 3699, 3760, 3815, and 3816]

     I.      INTRODUCTION

             BEFORE THIS COURT is yet another post-confirmation dispute relating to the Chapter

     11 bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).



     1
       On August 2, 2023, this court signed an Order [Bankr. Dkt. No. 3897] that was agreed to among various parties,
     after the filing of a Motion to Stay and Compel Mediation [Bankr. Dkt. No. 3752] filed by James D. Dondero and
     related entities. Pursuant to paragraph 7 of that order, certain pending matters in the bankruptcy court are stayed
     pending mediation. The parties did not agree to stay the matter addressed in this Memorandum Opinion and Order.
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 2 of 105
                                                    Page 388 of 678 PageID 394



 It is now more than two and half years since the confirmation of Highland’s Plan2—the Plan having

 been confirmed on February 22, 2021.3 The Plan was never stayed; it went effective on August

 11, 2021 (“Effective Date”), and it was affirmed almost in its entirety by the United States Court

 of Appeals for the Fifth Circuit (“Fifth Circuit”), in late summer 2022, including an approval of

 the so-called Gatekeeper Provision4 therein. The Gatekeeper Provision—and how and whether it

 should now be exercised or interpreted to allow a certain lawsuit to be filed—is at the heart of the

 current Emergency Motion for Leave to File Verified Adversary Proceeding [Bankr. Dkt. Nos.

 3699, 3760, 3815, 3816] (collectively, the “Motion for Leave”) filed by a movant known as Hunter

 Mountain Investment Trust (“HMIT”).

          A.       Who is the Movant, HMIT?

          Who is HMIT? It is undisputed that it is a former equity owner of Highland. It held 99.5%

 of Highland’s Class B/C limited partnership interests and was classified in a Class 10 under the

 confirmed Plan, which class treatment provided it with a contingent interest in the Highland

 Claimant Trust (“Claimant Trust”) created under the Plan, and as defined in the Claimant Trust

 Agreement. This means that HMIT could receive consideration under the Plan if all claims against

 Highland are ultimately paid in full, with interest. As later further discussed, it is undisputed that

 2
   Capitalized terms not defined in this introduction shall have the meaning ascribed to them below.
 3
   The court entered its Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
 Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation Order”)[Bankr. Dkt. No. 1943].
 4
   In an initial opinion dated August 19, 2022, the Fifth Circuit affirmed the Confirmation Order in large part,
 “revers[ing] only insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strik[ing] those
 few parties from the plan’s exculpation, and affirm[ing] on all remaining grounds.” In re Highland Capital
 Management, L.P., No. 21-10449, 2022 WL 3571094, at *1 (5th Cir. Aug. 19, 2022). On September 7, 2022, following
 a petition for limited panel rehearing filed by certain appellants on September 2, 2022, “for the limited purpose of
 clarifying and confirming one part of its August 19, 2022 opinion,” the Fifth Circuit withdrew its original opinion and
 replaced it with its opinion reported at NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland
 Capital Mgmt., L.P.), 48 F.4th 419, 424 (5th Cir. 2022). The substituted opinion differed from the original opinion
 only by the replacement of one sentence from section “IV(E)(2) – Injunction and Gatekeeper Provisions” of the
 original opinion: “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” was replaced
 with “We now turn to the Plan’s injunction and gatekeeper provisions.” In all other respects, the Fifth Circuit panel’s
 original ruling remained unchanged. Petitions for writs of certiorari regarding the Confirmation Order have been
 pending at the United States Supreme Court since January 2023.

                                                            2
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 3 of 105
                                                    Page 389 of 678 PageID 395



 HMIT’s only asset is its contingent interest in the Claimant Trust. It has no employees or revenue.

 HMIT’s representative has testified that HMIT is liable on more than $62 million of indebtedness

 owed to The Dugaboy Investment Trust (“Dugaboy”), a family trust of which James Dondero

 (“Dondero”), the co-founder and former chief executive officer (“CEO”) of Highland, and his

 family members are beneficiaries, and that Dugaboy also is paying HMIT’s legal fees. HMIT

 vehemently disputes the suggestion that it is controlled by Dondero.

          B.       What Does the Movant HMIT Seek Leave to File?

          HMIT seeks leave to file an adversary proceeding (“Proposed Complaint”)5 in the

 bankruptcy court to bring claims on behalf of itself and, derivatively, on behalf of the Reorganized

 Debtor and the Claimant Trust for alleged breach of fiduciary duties by the Reorganized Debtor’s

 CEO and Claimant Trustee, James P. Seery, Jr. (“Seery”) and conspiracy against: (1) Seery; and

 (2) purchasers of $365 million face amount of allowed unsecured claims in this case, who

 purchased their claims post-confirmation but prior to the occurrence of the Effective Date of the

 Plan (“Claims Purchasers,”6 and with Seery, the “Proposed Defendants”). To be clear (and as later

 further explained), the claims acquired by the Claims Purchasers were acquired by them after

 extensive litigation, mediation, and settlements were approved by the bankruptcy court and after

 the original claims-holders had voted on the Plan and after Plan confirmation. As later explained,


 5
   In its original Motion for Leave filed at Bankruptcy Docket No. 3699 on March 28, 2023, HMIT sought leave to file
 the proposed complaint (“Initial Proposed Complaint”) attached as Exhibit 1 to the Motion for Leave. Nearly a month
 later, on April 23, 2023, HMIT filed a Supplement to Emergency Motion for Leave to File Verified Adversary
 Proceeding (“Supplement”) [Bankr. Dkt. No. 3760], a revised proposed complaint as Exhibit 1-A, and stating that
 “[t]he Supplement is not intended to supersede the [Motion for Leave]; rather, it is intended as a supplement to address
 procedural matters and to bring forth additional facts that further confirm the appropriateness of the derivative action.”
 Supplement, ¶ 1 and Exhibit 1-A. It is this revised proposed complaint to which this court will refer, when it uses the
 defined term “Proposed Complaint,” even though HMIT filed redacted versions of its Motion for Leave on June 5,
 2023 at Bankruptcy Docket Nos. 3815 and 3816 that attached the Initial Proposed Complaint as Exhibit 1.
 6
   The Claims Purchasers identified in the Proposed Complaint are Farallon Capital Management, LLC (“Farallon”);
 Muck Holdings, LLC (“Muck”), which is a special purpose entity created by Farallon to purchase allowed unsecured
 claims against Highland; Stonehill Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
 which is a special purpose entity created by Stonehill to purchase allowed unsecured claims against Highland.

                                                             3
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 4 of 105
                                                    Page 390 of 678 PageID 396



 the Claims Purchasers filed notices of their purchases as required by Bankruptcy Rule 3001(e)(2),

 and no objections were filed thereto. In any event, various damages or remedies are sought against

 the Proposed Defendants revolving around the Claims Purchasers’ claims purchasing activities.

          C.       Why Does HMIT Need to Seek Leave?

          As alluded to above, HMIT filed its Motion for Leave to comply with the provision in the

 Plan known as a “gatekeeper” provision (“Gatekeeper Provision”) and with this court’s prior

 gatekeeper orders entered in January and July 2020, which all require that, before a party may

 commence or pursue claims relating to the bankruptcy case against certain protected parties, it

 must first obtain (1) a finding from the bankruptcy court that its proposed claims (“Proposed

 Claims”) are “colorable”; and (2) specific authorization by the bankruptcy court to pursue the

 Proposed Claims.7 The Gatekeeper Provision was not included in the Plan sans raison. Indeed,

 as the Fifth Circuit recognized in affirming confirmation of the Plan, the Gatekeeper Provision

 (along with the other “protection provisions” in the Plan) had been included in the Plan to address

 the “continued litigiousness” of Mr. James Dondero (“Dondero”), Highland’s co-founder and

 former chief executive officer (“CEO”), that began prepetition and escalated following the post-

 petition “nasty breakup” between Highland and Dondero, by “screen[ing] and prevent[ing] bad-

 faith litigation against Highland Capital, its successors, and other bankruptcy participants that

 could disrupt the Plan’s effectiveness.”8



 7
   To be clear, the Gatekeeper Provision in the Plan was not the first or even second injunction of its type issued in this
 bankruptcy case. The Gatekeeper Orders were entered by the bankruptcy court pre-confirmation: (a) in January 2020,
 just a few months into the case, as part of this court’s order approving a corporate governance settlement between
 Highland and its unsecured creditors committee, in which Dondero, Highland’s co-founder and former CEO, was
 removed from any management role at Highland and three independent directors (“Independent Directors”) were
 appointed in lieu of a chapter 11 trustee being appointed (“January 2020 Order”); and (b) in July 2020, in this court’s
 order authorizing the employment of Seery (one of the three Independent Directors) as the Debtor’s new Chief
 Executive Officer, Chief Restructuring Officer, and Foreign Representative (“July 2020 Order,” together with the
 January 2020 Order, the “Gatekeeper Orders”).
 8
   See Highland Capital, 48 F.4th at 427, 435.

                                                             4
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 5 of 105
                                                    Page 391 of 678 PageID 397



        D.      Some Further Context Regarding Post-Confirmation Litigation Generally.

        Since confirmation of the Plan, hundreds of millions of dollars have been paid out to

 creditors under the Plan, and there are numerous adversary proceedings and contested matters still

 pending, at various stages of litigation, in the bankruptcy court, the district court, and the Fifth

 Circuit, almost exclusively involving Dondero and entities that he owns or controls. To be sure,

 the post-confirmation litigation in this case does not consist of the usual adversaries and contested

 matters one typically sees by and against a reorganized debtor and/or litigation trustee, such as

 preference or other avoidance actions and litigation over objections to claims that are still pending

 after confirmation of a plan. Indeed, the claims of the largest creditors in this case (with claims

 asserted in the aggregate of more than one billion dollars) were successfully mediated and

 incorporated into the Plan—a plan which was ultimately accepted by the votes of an overwhelming

 majority of Highland’s non-insider creditors. Dondero and entities under his control were the only

 parties who appealed the Confirmation Order, and Dondero and entities under his control have

 been the appellants in virtually every appeal that has been filed regarding this bankruptcy case.

 Petitions for writs of mandamus (which have been denied) have been filed in the district court and

 in the Fifth Circuit by some of these same entities, including one by HMIT, when this court denied

 setting an emergency hearing on the instant Motion for Leave (HMIT had sought a setting on

 three-days’ notice).

        A recent list of active matters involving Dondero and/or entities and/or individuals

 affiliated or associated with him, filed in the bankruptcy case by Highland and the Claimant Trust,

 reveals that there were at least 30 pending and “Active Dondero-Related Litigation” matters as of

 July 14, 2023: six (6) proceedings in this court; six (6) active appeals or actions are pending in the

 District Court for the Northern District of Texas; seven (7) appeals in the Fifth Circuit; two (2)



                                                   5
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 6 of 105
                                                    Page 392 of 678 PageID 398



 petitions for writs of certiorari in the United States Supreme Court; and nine (9) other proceedings

 or actions with or affecting the Highland Parties (“Highland,” the “Claimant Trust,” and “Seery”)

 in various other state, federal, and foreign jurisdictions.9

          The above-described context is included because the Proposed Defendants assert that the

 Motion for Leave is just a continuation of Dondero’s unrelenting barrage of meritless and

 harassing litigation, making good on his oft-mentioned alleged threat to “burn down the place”

 after not achieving the results he wanted in the Highland bankruptcy case. Indeed, the Motion for

 Leave was filed after two years of unsuccessful attempts by, first, Dondero personally, and then

 HMIT to obtain pre-suit discovery from the Proposed Defendants (i.e., the Claims Purchasers)

 through two different Texas state court proceedings, pursuant to Tex. R. Civ. P. 202 (“Rule 202”).

 In each of these Rule 202 proceedings, Dondero and HMIT espoused the same Seery/Claims


 9
   See Bankr. Dkt. No. 3880 (filed on July 14, 2023, providing a list of “Active Dondero-Related Litigation” and noting
 that the list is “a summary of active pending actions only and does not include actions that were resolved by final
 orders, including actions finally resolved after appeals to the U.S. District Court for the Northern District of Texas
 and/or the U.S. Court of Appeals for the Fifth Circuit.”). Just since the filing by the Highland Parties of the list, three
 of the appeals pending in the Fifth Circuit have been decided against the Dondero-related appellants, two of which
 upheld the district court’s dismissal of appeals by Dondero-related entities of bankruptcy court orders based on the
 lack of bankruptcy appellate standing on behalf of the appellant. On July 19, 2023, the Fifth Circuit affirmed the
 district court’s dismissal of an appeal by NexPoint Advisors, L.P. (“NexPoint”) of bankruptcy court orders approving
 professional compensation on the basis that NexPoint did not meet the bankruptcy appellate standing test of being a
 “person aggrieved” by the entry of the orders. NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In
 re Highland Capital Management, L.P.), 74 F.4th 361 (5th Cir. 2023). On July 31, 2023, the Fifth Circuit affirmed
 the district court’s dismissal of an appeal by Dugaboy—the Dondero family trust that, like the movant here in this
 Motion for Leave, was the holder of a limited partnership interest in Highland, and, as such, now has a contingent
 interest in the Claimant Trust—which had appealed a bankruptcy court order approving a Rule 9019 settlement on the
 same basis: Dugaboy did not meet the bankruptcy appellate standing test of being a “person aggrieved” by the entry
 of the settlement order. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), No.
 22-10960, 2023 WL 4861770 (5th Cir. July 31, 2023). The July 31, 2023 ruling followed the Fifth Circuit’s ruling
 on February 21, 2023, affirming the district court’s dismissal of an appeal by Dugaboy of yet another bankruptcy court
 order for lack of bankruptcy appellate standing. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland
 Capital Mgt., L.P.), No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023). These rulings by the Fifth Circuit are
 discussed in greater detail below. The third ruling by the Fifth Circuit since July 14, 2023, was issued by the Fifth
 Circuit in a per curium opinion not designated for publication on July 26, 2023, this one affirming the district court’s
 affirmance of yet another Rule 9019 settlement order of the bankruptcy court that was appealed by Dugaboy, agreeing
 with the district court that the bankruptcy court had jurisdiction to approve a settlement among the Debtor, an entity
 affiliated with the Debtor but not a debtor itself, and UBS (the Debtor’s largest prepetition creditor and the seller of
 its claims to the Claims Purchasers, which is one of the claims trading transactions HMIT complains about in the
 Proposed Complaint). See The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P., No. 22-10983, 2023 WL 4842320
 (5th Cir. July 26, 2023).

                                                             6
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 7 of 105
                                                    Page 393 of 678 PageID 399



 Purchasers conspiracy theory espoused in the Motion for Leave—that Seery must have provided

 one or more of the Claims Purchasers with material nonpublic information to induce them to want

 to purchase large, allowed, unsecured claims at a discount; a quid pro quo is suggested, such that

 the Claims Purchasers were allegedly told they would make a hefty profit on the claims they

 purchased and, in return, they would gladly “rubber stamp” Seery’s “excessive compensation” as

 the Claimant Trustee of the Claimant Trust. In sum, HMIT alleges this constituted wrongful

 “insider trading” of the bankruptcy claims. In addition, certain lawyers for Dondero and Dugaboy

 sent letters reporting this alleged conspiracy and “insider trading” to the Texas State Securities

 Board (“TSSB”) and the Executive Office of the United States Trustee (“EOUST”).

          It is against this background and in this context that the court must analyze, in the exercise

 of its gatekeeping function under the confirmed Plan and its prior Gatekeeping Orders, whether

 HMIT should be allowed to pursue the Proposed Claims (i.e., whether the Proposed Claims are

 “colorable” claims as contemplated under the Gatekeeper Orders and the Gatekeeper Provision of

 the Plan). The court held an evidentiary hearing on the Motion for Leave on June 8, 2023 (“June

 8 Hearing”), during which the court admitted exhibits and heard testimony from three witnesses

 both in support of and in opposition to the Motion for Leave. Having considered the Motion for

 Leave, the response of the Proposed Defendants thereto, HMIT’s reply to the response, and the

 arguments and evidence presented at the hearing on the Motion for Leave, the court denies HMIT’s

 request for leave to pursue its Proposed Claims. The court’s reasoning is set forth below.

 II.      BACKGROUND

       A. Highland’s Bankruptcy Case, Dondero’s Removal as CEO, and the Plan

          Highland was co-founded in Dallas in 1993 by Dondero and Mark Okada (“Okada”). It

 operated as a global investment adviser that provided investment management and advisory

 services and managed billions of dollars of assets, both directly and indirectly through numerous

                                                    7
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 8 of 105
                                                    Page 394 of 678 PageID 400



 affiliates. Highland’s equity interest holders included HMIT (99.5%), Dugaboy (0.1866%),

 Okada, personally and through trusts (0.0627%), and Strand Advisors, Inc. (“Strand”), which was

 wholly owned by Dondero and was the only general partner of Highland (0.25%). On October 16,

 2019 (the “Petition Date”), Highland, with Dondero in control10 and acting as its CEO, president,

 and portfolio manager, and facing a myriad of massive, business litigation claims – many of which

 had finally become or were about to be liquidated (after a decade or more of contentious litigation

 in multiple fora all over the world—filed for relief under chapter 11 of the United States

 Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware. The

 bankruptcy case was transferred to the Northern District of Texas, Dallas Division in December

 2019. The official committee of unsecured creditors (the “Committee”) (and later, the United

 States Trustee) expressed a desire for the appointment of a chapter 11 trustee due to concerns over

 and distrust of Dondero, his numerous conflicts of interest, and his history of alleged

 mismanagement (and perhaps worse).

         After many weeks under the specter of a possible appointment of a trustee, Highland and

 the Committee engaged in substantial and lengthy negotiations, resulting in a corporate governance

 settlement approved by this court on January 9, 2020.11 As a result of this settlement, Dondero

 relinquished control of Highland and resigned his positions as officer or director of Highland and

 its general partner, Strand,12 and three independent directors (“Independent Directors”) were



 10
   Mark Okada resigned from his role with Highland prior to the Petition Date.
 11
   This order is hereinafter referred to as the “January 2020 Order” and was entered by the court on January 9, 2020
 [Bankr. Dkt. No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of
 Unsecured Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course
 [Bankr. Dkt. No. 281].
 12
    Dondero agreed to this settlement pursuant to a stipulation he executed and that was filed in connection with
 Highland’s motion to approve the settlement. See Stipulation in Support of Motion of the Debtor for Approval of
 Settlement With the Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
 for Operations in Ordinary Course [Bankr. Dkt. No. 338].

                                                         8
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 9 of 105
                                                    Page 395 of 678 PageID 401



 chosen to lead Highland through its chapter 11 case: Seery, John S. Dubel, and retired bankruptcy

 judge Russell Nelms. Given the Debtor’s perceived culture of constant litigation while Dondero

 was at the helm, it was purportedly not easy to get such highly qualified persons to serve as

 independent board members. At the hearing on the corporate governance settlement motion, the

 court heard credible testimony that none of the Independent Directors would have taken on the

 role without (1) an adequate directors and officers’ (“D&O”) insurance policy protecting them; (2)

 indemnification from Strand that would be guaranteed by the Debtor; (3) exculpation from mere

 negligence claims; and (4) a gatekeeper provision prohibiting the commencement of litigation

 against the Independent Directors without the bankruptcy court’s prior authority. The gatekeeper

 provision approved by the court in its January 9 Order states,13

                  No entity may commence or pursue a claim or cause of action of any kind
          against any Independent Director, any Independent Director’s agents, or any
          Independent Director’s advisors relating in any way to the Independent Director’s
          role as an independent director of Strand without the Court (i) first determining
          after notice that such claim or cause of action represents a colorable claim of willful
          misconduct or gross negligence against Independent Director, any Independent
          Director’s agents, or any Independent Director’s advisors and (ii) specifically
          authorizing such entity to bring such claim. The Court will have sole jurisdiction to
          adjudicate any such claim for which approval of the Court to commence or pursue
          has been granted.

 Dondero agreed to remain with Highland as an unpaid portfolio manager following his resignation

 and did so “subject at all times to the supervision, direction and authority of the Independent

 Directors” and to his agreement to “resign immediately” “[i]n the event the Independent Directors

 determine for any reason that the Debtor shall no longer retain Dondero as an employee”14 and to

 “not cause any Related Entity to terminate any agreements with the Debtor.”15 The court later




 13
    January 2020 Order, 3-4, ¶ 10.
 14
    January 2020 Order, 3, ¶ 8.
 15
    Id. at ¶ 9.

                                                    9
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              10 of 105
                                                     Page 396 of 678 PageID 402



 entered, on July 16, 2020, an order approving the appointment of Seery as Highland’s Chief

 Executive Officer, Chief Restructuring Officer, and Foreign Representative,16 which included

 essentially the same “gatekeeper” language with respect to the pursuit of claims against Seery

 acting in these roles. The gatekeeper provision in the July 2020 Order was essentially the same as

 the gatekeeper provision in the January 2020 Order:

         No entity may commence or pursue a claim or cause of action of any kind against
         Seery relating in any way to his role as the chief executive officer and chief
         restructuring officer of the Debtor without the Bankruptcy Court (i) first
         determining after notice that such claim or cause of action represents a colorable
         claim of willful misconduct or gross negligence against Seery, and (ii) specifically
         authorizing such entity to bring such claim. The Bankruptcy Court shall have sole
         jurisdiction to adjudicate any such claim for which approval of the Court to
         commence or pursue has been granted.

 July 2020 Order, 3, ¶5. Neither the January 2020 Order nor the July 2020 Order were appealed.

         Throughout the summer of 2020, Dondero informally proposed several reorganization

 plans, none of which were embraced by the Committee or the Independent Directors. When

 Dondero’s plans failed to gain support, he and entities under his control engaged in substantial,

 costly, and time-consuming litigation for Highland.17 As the Fifth Circuit described the situation,

 after Dondero’s plans failed “he and other creditors began to frustrate the proceedings by objecting

 to settlements, appealing orders, seeking writs of mandamus, interfering with Highland Capital’s

 management, threatening employees, and canceling trades between Highland Capital and its

 clients.”18 On October 9, 2020, Dondero resigned from all positions with the Debtor and its


 16
    See the July 16, 2020 order approving the retention by Highland of Seery as Chief Executive Officer, Chief
 Restructuring Officer, and Foreign Representative, nunc pro tunc, to March 15, 2020 (“July 2020 Order”) [Bankr.
 Dkt. No. 854].
 17
    According to Seery’s credible testimony during the hearing on confirmation of the Plan that had been negotiated
 between the Committee and the Independent Directors, Dondero had threatened to “burn the place down” if his
 proposed plan was not accepted. See Transcript of Confirmation Hearing dated February 3, 2021 at 105:10-20. Bankr.
 Dkt. No. #1894.
 18
    Highland Capital, 48 F.4th at 426 (citing Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Capital Mgmt.,
 L.P.), Ch. 11 Case No. 19-34054-SGJ11, Adv. No. 20-03190-SGJ11, 2021 WL 2326350, at *1, *26 (Bankr. N.D. Tex.


                                                        10
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              11 of 105
                                                     Page 397 of 678 PageID 403



 affiliates in response to a demand by the Independent Directors made after Dondero’s purported

 threats and disruptions to the Debtor’s operations.19

          The Independent Directors and the Committee had negotiated their own plan of

 reorganization which culminated in the filing by Highland of its Fifth Amended Plan of

 Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”) [Bankr. Dkt.

 No. 1808] on January 22, 2021.20 Highland had negotiated settlements with most of its major

 creditors following mediation and had amended its initially proposed plan to address the objections

 of most of its creditors, leaving only the objections of Dondero and entities under his control (the

 “Dondero Parties”) at the time of the confirmation hearing,21 which was held over two days in

 early February 2021. The Plan is essentially an “asset monetization” plan pursuant to which the

 Committee was dissolved, and four new entities were created: the Reorganized Debtor; a new

 general partner for the Reorganized Debtor called HCMLP GP, LLC; the Claimant Trust

 (administered by Seery, its trustee); and a Litigation Sub-Trust (administered by its trustee, Marc

 Kirschner). Highland’s various servicing agreements were vested in the Reorganized Debtor,

 which continues to manage collateralized loan obligation vehicles (“CLOs”) and various other

 investments postconfirmation. The Claimant Trust owns the limited partnership interests in the

 Reorganized Debtor, HCMLP GP LLC, and the Litigation Sub-Trust and is charged with winding

 down the Reorganized Debtor over a three-year period by monetizing its assets and making




 June 7, 2021) where this court “h[eld] Dondero in civil contempt, sanctioning him $100,000, and comparing this case
 to a ‘nasty divorce.’”).
 19
    See Highland Ex. 13. The court shall refer to exhibits offered and admitted at the June 8 Hearing on the Motion for
 Leave by the Highland Parties as “Highland Ex. ___” and to exhibits offered and admitted by HMIT as “HMIT Ex.
 ___.”
 20
    The Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 was filed on November 24, 2020 (“Disclosure Statement”) [Bankr. Dkt. No. 1473].
 21
    The only other objection remaining was the objection of the United States Trustee to the Plan’s exculpation,
 injunction, and release provisions.

                                                          11
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              12 of 105
                                                     Page 398 of 678 PageID 404



 distributions to Class 8 and Class 9 creditors as Claimant Trust Beneficiaries. The Claimant Trust

 is overseen by a Claimant Trust Oversight Board (“CTOB”), and pursuant to the terms of the Plan

 and the Claimant Trust Agreement (“CTA”),22 the CTOB approved Seery’s compensation package

 as the CEO of the Reorganized Debtor and the Claimant Trustee. Following their acquisition of

 their unsecured claims, representatives of Claims Purchasers Muck and Jessup became members

 of the CTOB.23 Seery’s compensation included the same base salary that he was receiving as CEO

 and CRO of Highland, plus an added incentive bonus tiered to recoveries and distributions to the

 creditors under the Plan. The Plan provides for the cancellation of the limited partnership interests

 in Highland held by HMIT, Dugaboy, and Okada and his family trusts in exchange for each

 holder’s pro rata share of a contingent interest in the Claimant Trust (“Contingent Claimant Trust

 Interest”), as holders of allowed interests in Class 10 (holders of Class B/C limited partnership

 interests) or Class 11 (holders of Class A limited partnership interests) under the Plan.

      B. Dondero Communicates Alleged Material Non-Public Information (“MNPI”) to Seery,
         and Seery Allegedly Provides the MNPI to the Claims Purchasers in Furtherance of an
         Alleged Fraudulent Scheme to Have the Claims Purchasers “Rubber Stamp” His
         Compensation as Claimant Trustee Post-Confirmation

          1. The December 17, 2020 MGM Email

          Between Dondero’s forced resignation from Highland in October 2020 and the

 confirmation hearing in February 2021, Dondero engaged in what appeared to be attempts to

 thwart, impede, and otherwise interfere with the Plan being proposed by the Independent Directors

 and the Committee. In the midst of this, on December 17, 2020, Dondero sent Seery24 an email

 22
    Highland Ex. 38
 23
    The CTOB had three members: a representative of Muck (Michael Linn), a representative of Jessup (Christopher
 Provost), and an independent member (Richard Katz). See Joint Opposition ¶ 79.
 24
    Dondero sent the email to others as well but did not copy counsel for the Independent Directors (including Seery)
 in violation of the terms of an existing temporary restraining order that enjoined Dondero from, among other things,
 “communicating . . . with any Board member” (including Seery) without including Debtor’s counsel. Morris Dec. Ex.
 23 ¶ 2(a). Citations to “Morris Dec. Ex. ” are to the exhibits attached to the Declaration of John A. Morris in Support


                                                           12
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              13 of 105
                                                     Page 399 of 678 PageID 405



 (the “MGM Email”) that featured prominently in HMIT’s Motion for Leave. According to HMIT

 and Dondero, the MGM Email contained material nonpublic information (“MNPI”) regarding the

 possibility of an imminent acquisition of Metro-Goldwyn-Mayer Studios, Inc. (“MGM”), likely

 by either Amazon or Apple.25 At the time Dondero sent the MGM Email, Dondero sat on the board

 of directors of MGM, and the Debtor owned MGM stock directly. The Debtor also managed and

 partially owned a couple of other entities that owned MGM stock and managed various CLOs that

 owned some MGM stock as well. HMIT alleges now that Seery later misused and wrongfully

 disclosed to the Claims Purchasers this purported MNPI as part of a quid pro quo scheme, whereby

 the Claims Purchasers agreed to approve excessive compensation for Seery in the future (in

 exchange for him providing this allegedly “insider” information that inspired them to purchase

 unsecured claims with an alleged expectation of future large profits).26 A timeline of events (in

 late 2020) in the weeks leading up to Dondero’s MGM Email to Seery, following Dondero’s

 departure from Highland, helps to put the email in full context:

             October 16: Dondero and his affiliates attempt to impede the Debtor’s trading
              activities by demanding—with no legal basis—that Seery cease selling certain
              assets;27

             November 24: Bankruptcy Court enters an Order approving the Debtor’s
              Disclosure Statement, scheduling the confirmation hearing on the Debtor’s
              Plan for January 13, 2021, and granting related relief;28

             November 24–27: Dondero personally interferes with the Debtor’s

 of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint Opposition to
 Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding, Bankr. Dkt. No. 3784.
 25
    See Proposed Complaint ¶ 45.
 26
    See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the [Claims
 Purchasers], with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”); ¶ 4 (“As part of the scheme, the [Claims Purchasers] obtained a position to
 approve Seery’s ongoing compensation – to Seery’s benefit and also to the detriment of the Claimant Trust, the
 Reorganized Debtor, and HMIT.”).
 27
    See Highland Ex. 14, Dondero-Related Entities’ October 16, 2020 Letter; Highland Ex. 15, Memorandum Opinion
 and Order Holding Dondero in Contempt for Violation of TRO, 13-15.
 28
    See Bankr. Dkt. No. 1476.

                                                          13
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              14 of 105
                                                     Page 400 of 678 PageID 406



              implementation of certain securities trades ordered by Seery;29

             November 30: The Debtor provides written notice of termination of certain shared
              services agreements it had with Dondero’s two non-debtor affiliates, NexPoint
              Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund
              Advisors, L.P. (“HCMFA”; together with NexPoint, the “Advisors”);30

             December 3: The Debtor makes written demands to Dondero and certain
              affiliates for payment of all amounts due under certain promissory notes they
              owed to the Debtor, that had an aggregate face amount of more than $60
              million—this was part of creating liquidity for the Debtor’s Plan;31

             December 3: Dondero responds with what appeared to be a threat of some sort to Seery
              in a text message: “Be careful what you do -- last warning;”32

             December 10: Dondero’s interference and apparent threat cause the Debtor to
              seek and obtain a temporary restraining order (“TRO”) against Dondero;33

             December 16: This court denies as “frivolous” a motion filed by certain
              affiliates of Dondero, in which they sought “temporary restrictions” on certain
              asset sales;34 and

             December 17: Dondero sends the unsolicited MGM Email35 to Seery, which
              violates the TRO entered just a week earlier.36



 29
    See Highland Ex. 15, 30-36.
 30
    Morris Decl. Ex. 17; see also Transcript of June 8, 2023 Hearing on HMIT’s Motion for Leave (“June 8 Hearing
 Transcript”), 273:23-24.
 31
    Morris Decl. Exs. 18-21; see also June 8 Hearing Transcript, 273:23-274:1.
 32
    Morris Decl. Ex. 22 (emphasis added); see also June 8 Hearing Transcript, 273:1-12 (where Seery testified about
 receiving the threat from Dondero: “A: [T]his came after he threatened me. He threatened me in writing. I’d never
 been threatened in my career. I’ve never heard of anyone else in this business who’s been threatened in their career.
 So anything I would get from him, I was going to be highly suspicious.”).
 33
    See Morris Decl. Ex. 23, Order Granting Debtor’s Motion for a Temporary Restraining Order Against James
 Dondero entered December 10, 2020 [Adv. Pro. No. 20-3190 Dkt. No. 10].
 34
    See Morris Decl. Ex. 24, Transcript of December 16, 2020 Hearing, 63:5-64:15.
 35
    Highland Ex. 11.
 36
    Seery testified at the June 8 Hearing that Dondero knowingly violated the TRO when he sent the MGM Email:
         [The MGM Email] . . . followed the imposition of a TRO for interfering with the business. He knew
         what was in the TRO and he knew what it applied to, and it restricted him from communicating with
         me or any of the other independent directors without Pachulski [Debtor’s counsel] being on it.
         Furthermore, Pachulski had advised Dondero’s counsel that not only could they not communicate
         with us, if they wanted to communicate they had to prescreen the topics. And how do we know that?
         Because Dondero filed a motion to modify the TRO. And that was all before this email.
 June 8 Hearing Transcript, 273:13-22.

                                                          14
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              15 of 105
                                                     Page 401 of 678 PageID 407



 The MGM Email had the subject line “Trading Restriction re MGM – material non public

 information” and stated:

         Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and
         Apple actively diligencing in Data Room. Both continue to express material
         interest. Probably first quarter event, will update as facts change. Note also any
         sales are subject to a shareholder agreement.37

         Seery credibly testified at the June 8 Hearing that he was “highly suspicious” when he

 received the MGM Email. This was because, among other reasons, Dondero sent it after: (i)

 unsuccessful efforts to impede the Debtor’s trading activities (followed by the TRO); (ii) the “be

 careful what you do” text to Seery by Dondero: (iii) Highland’s termination of its shared service

 arrangements with Dondero’s various affiliated entities; (iv) the bankruptcy court’s approval of

 the disclosure statement; and (v) Highland’s demand to collect on the demand notes for which

 Dondero and his entities were liable.38 Highland’s Chapter 11 case was fast approaching the finish

 line. Moreover, MGM was already on the restricted list at Highland Capital, and had been for a

 long time, and Dondero would know this.39 Still further, as of December 17, 2020 (the date

 Dondero sent the unsolicited MGM Email to Seery), Dondero no longer owed a duty of any kind

 to the Debtor or any entity controlled by the Debtor, having surrendered in January 2020 direct

 and indirect control of the Debtor to the Independent Board as part of the corporate governance

 settlement40 and having resigned from all roles at the Debtor and affiliates in October 2020. Still

 further, Dondero—to the extent he was sharing with Seery MNPI that he obtained as a member of

 the board of directors of MGM—would have been violating his own fiduciary duties to MGM.




 37
    Highland Ex. 11.
 38
    June 8 Hearing Transcript, 273:1-274:4.
 39
    June 8 Hearing, 215:21-216:9.
 40
    See Bankr. Dkt. Nos. 339, 354-1 (Term Sheet)).

                                                     15
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              16 of 105
                                                     Page 402 of 678 PageID 408



          In any event, in a declaration filed by Dondero in support of HMIT’s Rule 202 petition in

 Texas state court for pre-suit discovery,41 he indicated that his goal in sending the MGM E-mail

 was to impede the Debtor and Seery from engaging in any transactions involving MGM:

          On December 17, 2020, I sent an email to employees at HCM, including the then
          Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
          public information regarding Amazon and Apple’s interest in acquiring MGM. I
          became aware of this information due to my involvement as a member of the board
          of MGM. My purpose was to alert Seery and others that MGM stock, which was
          owned either directly or indirectly by HCM, should be on a restricted list and not
          be involved in any trades.

          It is noteworthy that Dondero’s labeling of the MGM Email (in the subject line) as a

 communication containing “material non public information” did not make it so. In fact, it

 appears from the credible evidence presented at the June 8, 2023 hearing on HMIT’s Motion for

 Leave that the MGM Email did not disclose information to Seery that was not already made available

 to the public at the time it was sent. Seery testified that he did not think the MGM Email contained

 MNPI and that he did not personally “take any steps . . . to make sure that MGM stock was placed

 on a restricted list at Highland Capital after [he] received [the MGM Email]” because—as earlier

 noted—“MGM was already on the restricted list at Highland Capital . . . before I got to

 Highland.”42 Indeed, MGM was ultimately purchased by Amazon after a sale process that had

 been quite publicly discussed in media reports for several months43 and that was officially


 41
    Highland Ex. 9 ¶ 3 (emphasis added).
 42
    June 8 Hearing Transcript, 215:21-216:9. Seery elaborated upon further questioning from HMIT’s counsel that he
 did not think the indications in the MGM Email (that came from a member of the board of directors of MGM) that “it
 was probably a first-quarter event” and that “Amazon and Apple were actively diligencing – are diligencing in the
 data room, both continue to express material interest” were not MNPI. Id., 217:23-218:10. He testified that “it was
 clear [before he received the MGM Email] from the media reports and the actual quotes from Kevin Ulrich of
 Anchorage, who was the chairman at MGM, that a transaction would have to take place very quickly. And, in fact,
 the transaction did not take place in the first quarter.” Id., 219:3-7.
 43
    See Highland Ex. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
 . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
 Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
 (article dated 1/26/20); Highland Ex. 26 (describing prospects of an MGM sale, noting that, among its largest


                                                          16
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              17 of 105
                                                     Page 403 of 678 PageID 409



 announced to the public in late May 2021 (just a few weeks after the Claims Purchasers purchased

 some of their claims, but a few months before certain of their claims—the UBS claims—were

 purchased).44 For example, as early as January 2020, Apple and Amazon were identified as being

 among a new group of “Big 6” global media companies, and MGM was identified as being a

 leading media acquisition target. Indeed, according to at least one media report on January 26,

 2020, “MGM, in particular, seems like a logical candidate to sell this year” having already held

 “preliminary talks with Apple, Netflix and other larger media companies.”45 In October 2020, the

 Wall Street Journal reported that MGM’s largest shareholder, Anchorage Capital Group

 (“Anchorage”), was facing mounting pressure to sell the company. Anchorage was led by Kevin

 Ulrich, who also served as Chairman of MGM’s Board. The article reported that “[i]n recent

 months, Mr. Ulrich has said he is working toward a deal,” and he specifically named Amazon and

 Apple as being among four possible buyers.46 Thus, no one following the MGM story would have

 been surprised to learn in December 2020 that Apple and Amazon were conducting due diligence

 and had expressed “material interest” in acquiring MGM. Dondero testified during the June 8

 Hearing that, at the time he sent the MGM Email, he “knew with certainty from the board level

 that Amazon had hit our price, and it was going to close in the next couple of months,”47 that “as

 of December 17th, Amazon had made an offer that was acceptable to MGM, [and that] that’s what

 the board meeting was. We were going into exclusive negotiations to culminate the merger with




 shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exs. 27-30 &
 34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
 announcing sale to Amazon on May 26, 2021, for $8.4 billion).
 44
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.
 45
    Highland Ex. 25.
 46
    Highland Ex. 26.
 47
    June 8 Hearing Transcript, 127:2-4.

                                                       17
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              18 of 105
                                                     Page 404 of 678 PageID 410



 them.”48 Notwithstanding this testimony, Dondero eventually admitted (after a lengthy and

 torturous cross examination) that he did not actually communicate this supposed “inside”

 information to Seery in the MGM Email. He did not “say anything about Amazon hitting the

 price.” He did not say anything about the MGM board going into exclusive negotiations with

 Amazon “to culminate the merger with them.” Rather, he communicated information that Seery

 and any member of the public who cared to look could have gleaned from publicly available

 information as of December 17, 2020, regarding a much-written-about potential MGM transaction

 that involved interest from numerous companies, including, specifically, Amazon and Apple.

 When questioned why “[he felt] the need to mention Apple [in the MGM Email] if Amazon had

 already hit the price,” Dondero simply answered, “The only way you generally get something done

 at attractive levels in business is if two people are interested,” suggesting that he specifically did

 not communicate the purported inside information he obtained as a MGM board member—that

 Amazon had met MGM’s strike price and that the MGM board was moving forward with exclusive

 negotiations with Amazon—because he wanted it to appear that there was still a competitive

 process going on that included both Amazon and Apple.49

            Even if the MGM Email contained MNPI on the day it was sent (four months prior to the

 first of the Claim Purchases that occurred in April 2021), the information was fully and publicly

 disclosed to the market in the days and weeks that followed. For example, on December 21, 2020,

 just four days later, a Wall Street Journal article titled MGM Holdings, Studio Behind ‘James

 Bond,’ Explores a Sale, reported that MGM had “tapped investment banks Morgan Stanley and

 LionTree LLC and begun a formal sale process,” and had “a market value of around $5.5 billion,

 based on privately traded shares and including debt.” The Wall Street Journal Article reiterated

 48
      Id., 161:10-14.
 49
      June 8 Hearing Transcript, 162:2-6.

                                                  18
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              19 of 105
                                                     Page 405 of 678 PageID 411



 that (i) Anchorage “has come under pressure in recent years from weak performance and defecting

 clients, and its illiquid investment in MGM has become a larger percentage of its hedge fund as it

 shrinks,” and (ii) “Mr. Ulrich has told clients in recent months he was working toward a deal for

 the studio and has spoken of big technology companies as logical buyers.”50 (Id. Ex. 27.) The

 Wall Street Journal’s reporting was picked up and expanded upon in other publications soon after.

 For example:

             On December 23, 2020, Business Matters published an article specifically
              identifying Amazon as a potential suitor for MGM. The article, titled The world is
              net enough! Amazon joins other streaming services in £4bn bidding war for Bond
              films as MGM considers selling back catalogue, cited the Wall Street Journal article
              and further reported that MGM “hopes to spark a battle that could interest streaming
              services such as Amazon Prime”;51

             On December 24, 2020, an article in iDropNews specifically identified Apple as
              entering the fray. In an article titled Could Apple be Ready to Gobble Up MGM
              Studios Entirely?, the author observed that “it’s now become apparent that MGM is
              actually up on the auction block,” noting that the Wall Street Journal was “reporting
              that the studio has begun a formal sale process” and that Apple—with a long history
              of exploratory interest in MGM—would be a likely bidder;52 and

             On January 15, 2021, Bulwark published an article entitled MGM is For Sale (Again)
              that identified attributes of MGM likely to appeal to potential purchasers and
              handicapped the odds of seven likely buyers—with Apple and Amazon named as two
              of three potential buyers most likely to close on an acquisition.53

          Finally, Highland and entities it controlled did not sell their MGM stock while the MGM-

 Amazon deal was under discussion and/or not made public but, instead, they tendered their MGM

 holdings in connection with, and as part of, the ultimate MGM-Amazon transaction after it closed

 in March 2022.




 50
    Highland Ex. 27.
 51
    Highland Ex. 28.
 52
    Highland Ex. 29.
 53
    Highland Ex. 30.

                                                   19
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              20 of 105
                                                     Page 406 of 678 PageID 412



          2. No Evidence to Support HMIT/Dondero’s Assumptions that Seery Shared Alleged
             MNPI in the MGM Email with Claims Purchasers

          One of HMIT’s allegations in the Proposed Complaint it seeks leave to file—which is

 central to HMIT’s and Dondero’s conspiracy theory—is that Seery shared the alleged MNPI from

 the MGM Email with the Claims Purchasers (or at least Farallon—the owner/affiliate of Muck,

 one of the Claims Purchasers) and that the Claims Purchasers only acquired the purchased claims

 (“Purchased Claims”) based on, and because, of their receipt of the MNPI from Seery. HMIT

 essentially admits in the original version of its Motion for Leave that it has no direct evidence that

 Seery communicated the alleged MNPI to any of the Claims Purchasers. Rather, its allegation is

 based on inferences it wants the court to make based on “circumstantial” evidence and on the

 Dondero Declarations that were attached to the Motion for Leave, which described

 communications Dondero purportedly had with one or two representatives of Farallon in the “late

 spring” of 2021 concerning Farallon’s recent acquisition of certain claims in the Highland

 bankruptcy case.54 Based on these communications, HMIT and Dondero only assume Seery must

 have provided the MNPI about MGM to Farallon, which must have caused both Farallon and the

 other Claims Purchaser, Stonehill, to acquire the Purchased Claims.55

          At the June 8 Hearing, HMIT offered Dondero’s testimony that he had three telephone

 conversations with two representatives of Farallon, Mike Linn (“Linn”) and Raj Patel (“Patel”),



 54
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 1 and Ex. 3; see also Highland Ex. 9, Declaration of James Dondero
 (with Exhibit 1) dated February 15, 2023.
 55
    Motion for Leave (Bankr. Dkt. No. 3699) ¶ 28. HMIT subsequently filed the final version of the Motion for Leave
 that was revised to withdraw the Dondero Declarations and delete all references therein to the Dondero Declarations
 (but, notably, leaving in the allegations that were based on the Dondero Declaration(s)). This was done after the court
 ruled that it would allow the Proposed Defendants to examine Dondero regarding his Declarations. HMIT contended
 at that point that the court should consider the Motion for Leave on a no-evidence Rule 12(b)(6) type basis (but could
 not explain why it had attached the Dondero Declarations as evidence that “supported” the Motion for Leave, if it
 believed no evidence should be considered). See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 28; see also infra pages
 45 to 47 regarding the “sideshow” litigation that occurred prior to the June 8 Hearing over whether the hearing on the
 Motion for Leave would be an evidentiary hearing.

                                                           20
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              21 of 105
                                                     Page 407 of 678 PageID 413



 who allegedly told him that they purchased the claims without conducting any due diligence and

 based solely on Seery’s assurances that the claims were valuable. These conversations allegedly

 took place on May 28, 2021—two days after the MGM-Amazon deal was officially announced to

 the public (on May 26, 2021). Dondero also testified that a photocopy of handwritten notes

 (“Dondero Notes”)56 (which were partially cut off) were notes he took contemporaneously with

 these short telephone conversations he initiated (one with Patel and two follow-up conversations

 with Linn).57 He testified that his purpose in taking these notes and in initiating the phone calls

 was that “[w]e’d been trying nonstop to settle the case for two-plus years. . . . [a]nd when we heard

 the claims traded, we realized there were new parties to potentially negotiate to resolve the case

 . . . [s]o I reached out [to] the Farallon guys,”58 and further, on voir dire from the Proposed

 Defendants’ counsel, that the purpose of taking the notes was so that he had “a written record of

 the important points that [he] discussed . . . so I know how to address it the next time.”59 The

 handwritten notes60 stated:

           Raj Patel bought it because of Seery               1
           50-70¢ not compelling                              2
              Class 8                                        3
           Asked what would be compelling                     4
           -- No Offer                                        5
           Bought in Feb/March timeframe                      6
                  Bought assets w/ Claims                     7
             Offered him 40-50% premium                      8
           130% of cost; “Not Compelling”                     9
           No Counter; Told Discovery coming                 10

 56
    HMIT Ex. 4. The handwritten notes were admitted into evidence after voir dire, not for the truth of anything Patel
 or Linn allegedly said to him during the three telephone conversations, but as Dondero’s “present sense impression”
 of the telephone conversations.
 57
    June 8 Hearing Transcript, 133:1-136:3.
 58
    See id., 133:13-23.
 59
    See id. (on voir dire), 144:1838-145:4.
 60
    HMIT Ex. 4. The court has placed in a table and numbered each line for ease of reference. The table does not
 include the separate apparent partial date from the top left corner that Dondero testified was the date that he made the
 initial call to Patel: May 28, 2021.

                                                           21
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              22 of 105
                                                     Page 408 of 678 PageID 414



         On direct examination, Dondero testified that line 1 is what he wrote contemporaneously

 with the short call he initiated to Patel of Farallon in which Patel allegedly told Dondero “that he

 bought it because Seery told him to buy it and they had made money with Seery before”61 and that

 Farallon “bought [the claim] because he was very optimistic regarding MGM”62 before referring

 him to Linn, a portfolio manager at Farallon. Dondero testified that the rest of the handwritten

 notes (reflected in lines 2 through 10 of the table) were notes he took contemporaneously with two

 telephone conversations he had with Linn following his call to Patel, with lines 2-8 referring to

 Dondero’s first call with Linn and lines 9 and 10 referring to his second call with Linn.63 Dondero

 testified that the “50-70¢” in line 2 referred to his offer to Linn to pay 70 cents on the dollar to buy

 Farallon’s64 claims because “[w]e knew that they had – that the claims had traded around 50 cents”

 and “[w]e wanted to prevent the $5 million-a-month burn” (referring to attorney‘s fees in the

 Highland case) and that “not compelling Class 8” in lines 2-3 referred to Linn’s response to him

 that the offer was not compelling.65 Dondero testified that lines 4-5 referred to him asking Linn

 what amount would be compelling and to Linn’s response that “he had no offer.”66 Dondero

 testified that lines 6-8 referred to Linn telling Dondero that Farallon bought the claims in the

 February, March timeframe and that Dondero told Linn that, given that the estate was spending $5

 million a month on legal fees, Farallon should want to sell its claims and Linn’s alleged response

 that “Seery told him it was worth a lot more.”67 Lastly, Dondero testified on direct examination




 61
    June 8 Hearing Transcript, 134:7-10, 135:13-22.
 62
    Id., 139:3-11.
 63
    Id., 136:4-138:16.
 64
    As noted above, Farallon did not acquire any of the Purchased Claims; rather, Farallon created a special purpose
 entity, Muck, to acquire the claims.
 65
    June 8 Hearing Transcript, 136:4-16.
 66
    Id., 136:17-23.
 67
    Id., 137:6-138:7.

                                                         22
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              23 of 105
                                                     Page 409 of 678 PageID 415



 that the last two lines referred to a second telephone conversation he had with Linn in which

 Dondero offered 130 percent of cost for the claims and that Linn told him that the offer was not

 compelling, and he would not give a price at which he would sell.68

         On cross-examination, Dondero acknowledged that, though he had testified that the

 handwritten notes were intended to be a written record of the important points from the telephone

 conversations he had with Patel and Linn, there was no mention in the notes of: (1) MGM: (2) or

 that Farallon was very optimistic about MGM; (3) the sharing of MNPI; (4) a quid pro quo; or

 (5) Seery’s compensation, and that his last note—“Told Discovery coming”—was a reference to

 Dondero telling Linn (not Linn telling Dondero) that discovery was coming in response to

 Dondero’s own supposition that Farallon must have traded on MNPI.69 Cross-examination also

 revealed that Farallon never told Dondero that Seery gave them MNPI, and that Dondero only

 believed Seery must have given Farallon MNPI, because Farallon (Patel and Linn) had told him

 that the only reason Farallon bought their claims was because of their prior dealings with Seery,

 which Dondero took to mean that they had conducted no due diligence on their own prior to

 acquiring the claims. Dondero also testified that he did not have any personal knowledge as to

 how Seery’s compensation package, as CEO of the Reorganized Debtor and Claimant Trustee,

 was determined because he was “not involved” in the setting of Seery’s compensation pursuant to

 the Claimant Trust70 and that he never discussed Seery’s compensation with Farallon.71

         As noted earlier, Dondero attempted to obtain discovery from the Claims Purchasers in a

 Texas state court pursuant to Rule 202 of the Texas Rules of Civil Procedure. The Texas state



 68
    Id., 138:8-22.
 69
    Id., 190:14-191:25. Dondero testified that he told Linn that discovery “would be coming in the next few weeks” and
 noted that “this has been a couple years. . . . [w]e’ve been trying for two years to get . . . discovery in this.”
 70
    Id., 200:13-201:1.
 71
    Id., 208:23-209:8.

                                                          23
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              24 of 105
                                                     Page 410 of 678 PageID 416



 court denied the First Rule 202 petition on June 1, 2022, after having considered the amended

 petition, the responses, the record, applicable authorities and having conducted a hearing on the

 petition on June 1, 2022.72

         3. Dondero Unsuccessfully Seeks Discovery and to Have Various Agencies and Courts
            Outside of the Bankruptcy Court Acknowledge His Insider Trading Theories

         Dondero acknowledged at the June 8 Hearing that the verified petition (“First Rule 202

 Petition”) he signed and filed on July 22, 2021, in the first Texas Rule 202 proceeding—just weeks

 after his telephone calls with Linn and Patel—was true and accurate. In it, he swore under oath as

 to what Linn told him in the telephone call concerning Farallon’s purchase of the claims, and the

 only reason he gave for wanting discovery was that Linn told him Farallon bought the claims “sight

 unseen—relying entirely on Seery’s advice solely because of their prior dealings.”73 Dondero

 acknowledged, as well, that his sworn statement that he filed in support of an amended verified

 Rule 202 petition filed in the same Texas Rule 202 proceeding, but nearly ten months later (in May

 2022), described the same telephone conversation he had with Linn, and it did not mention MGM

 at all and did not say that Linn told him that Seery gave him MNPI; rather, the sworn statement

 stated only that “On a telephone call between Petitioner and Michael Lin[n], a representative of

 Farallon, Mr. Lin[n] informed Petitioner that Farallon had purchased the claims sight unseen and

 with no due diligence—100% relying on Seery’s say-so because they had made so much money

 in the past when Seery told them to purchase claims” and that Linn did not tell him that Seery gave

 them MNPI, but he concluded that Seery gave Farallon MNPI based on what Linn did tell him.74



 72
    Highland Ex. 7.
 73
    Id., 193:8-194:16; Highland Ex. 3, Verified Petition to Take Deposition before Suit and Seek Documents, ¶ 21. The
 first Texas Rule 202 proceeding in which Dondero sought discovery regarding the Farallon acquisition of its claims
 was brought by Dondero, individually, in the 95th Judicial District, Dallas County, Texas.
 74
    Id., 195:11-197:17; Highland Ex. 4, Amended Verified Petition to Take Deposition before Suit and Seek Documents,
 ¶ 23.

                                                         24
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              25 of 105
                                                     Page 411 of 678 PageID 417



 Nine days later, Dondero filed a declaration in the same proceeding, in which he described the

 same call with Linn as follows:75

          Last year, I called Farallon’s Michael Lin[n] about purchasing their claims in the
          bankruptcy. I offered them 30% more than what they paid. I was told by Michael
          Lin[n] of Farallon that they purchased the interests without doing any due diligence
          other than what Mr. James Seery—the CEO of Highland—told them, and that he
          told them that the interests would be worth far more than what Farallon paid. Given
          the value of those claims that Seery had testified in court, it made no sense to me
          that Mr. Lin[n] would think that the claims were worth more than what Seery
          testified under oath was the value of the bankruptcy claims.

 Dondero further stated in his declaration that “I have an interest in ensuring that the claims

 purchased by [Farallon] are not used as a means to deprive the equity holders of their share of the

 funds,” and that “[i]t has become obvious that despite the fact that the bankruptcy estate has enough

 money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to drain the

 bankrupt estate and deprive equity of their rights. Accordingly, “I commissioned an investigation

 by counsel who have been in communication with the Office of the United States Trustee.”76

 Dondero attached as Exhibit A to his declaration a letter from Douglas Draper (“Draper”), an

 attorney with the law firm of Heller, Draper & Horn, L.L.C. in New Orleans, to the office of the

 General Counsel, Executive Office for U.S. Trustees, dated October 5, 2021, in which Draper

 opens the letter by stating that “[t]he purpose of this letter is to request that your office investigate

 the circumstances surrounding the sale of claims by members of the [Creditors’ Committee] in the

 bankruptcy of [Highland],” and later noted that he “became involved in Highland’s bankruptcy

 through my representation of [Dugaboy], an irrevocable trust of which Dondero is the primary

 beneficiary.”77 Mr. Draper laid out the same allegations of insider claims trading, breach of




 75
    Highland Ex. 5, ¶ 2.
 76
    Id., ¶¶ 3-4.
 77
    Id., Ex. A, 1-2.

                                                    25
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              26 of 105
                                                     Page 412 of 678 PageID 418



 fiduciary duties, and conspiracy that HMIT seeks to bring in the Proposed Complaint.78 The U.S.

 Trustee’s office took no action. Dondero made a second and third attempt to get the U.S. Trustee’s

 office to conduct an investigation into the same allegations laid out in Draper’s letter, this time in

 “follow-up” letters to the Office of the U.S. Trustee on November 3, 2021, and six months later,

 on May 11, 2022, through another lawyer, Davor Rukavina (“Rukavina”), in which Rukavina

 wrote “to provide additional information regarding the systemic abuses of bankruptcy process

 occasioned during the [Highland] bankruptcy.”79 Again, the U.S. Trustee’s office took no action.

          On February 15, 2023, Dondero filed yet another sworn statement about his alleged

 conversation with Linn, this time in support of a Verified Rule 202 Petition filed by HMIT

 (“Second Rule 202 Petition”), filed in a different Texas state court (Texas District Court, 191st

 Judicial District, Dallas County, Texas), following Dondero’s unsuccessful attempts throughout

 2021 and 2022 to obtain discovery in the First Rule 202 proceeding and based on the same

 allegations of misconduct by Seery and Farallon.80         In this new sworn statement, Dondero

 describes for the first time the “call” he had with Linn as having been “phone calls” with Patel and

 Linn and mentions MGM and Farallon’s alleged optimism about the expected sale of MGM:81

          In late Spring of 2021, I had phone calls with two principals at Farallon Capital
          Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
          calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
          purchase the Acis and HarbourVest claims, which I understood to refer to claims
          that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
          Mr. Linn stated that Farallon agreed to purchase these claims based solely on
          conversations with Seery because they had made significant profits when Seery told
          them to purchase other claims in the past. They also stated that they were
          particularly optimistic because of the expected sale of MGM.




 78
    Id., Ex. A, 6-11.
 79
    HMIT Ex. 61.
 80
    Highland Ex. 9.
 81
    Id., ¶ 4.

                                                  26
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              27 of 105
                                                     Page 413 of 678 PageID 419



 The Second Rule 202 Petition was also denied by the second Texas state court on March 8, 2023.82

         HMIT, in an apparent attempt to provide support for its argument that the Proposed Claims

 are “colorable,” stated in its Motion for Leave that “[t]he Court also should be aware that the Texas

 States [sic] Securities Board (“TSSB”) opened an investigation into the subject matter of the

 insider trades at issue, and this investigation has not been closed. The continuing nature of this

 investigation underscores HMIT’s position that the claims described in the attached Adversary

 Proceeding are plausible and certainly far more than merely ‘colorable.’”83 But, two days before

 opposition briefing was due, on May 9, 2023, the TSSB issued a letter (“TSSB Letter”) to

 Highland, informing it that “[t]he staff of the [TSSB] has completed its review of the complaint

 received by the Staff against [Highland]. The issues raised in the complaint and information

 provided to our Agency were given full consideration, and a decision was made that no further

 regulatory action is warranted at this time.”84 HMIT’s counsel (frankly, to the astonishment of the

 court) objected to the admission of the TSSB Letter at the June 8 Hearing “on the grounds of

 relevance, 403, hearsay, and authenticity . . . [a]nd I also . . . think it's important that the decision

 by a regulatory body has no bearing on this cause of action or the colorability of this claim, and

 the Texas State Securities Board will tell you that. This is completely and utterly irrelevant to your

 inquiry.”85 The court overruled HMIT’s objection to the relevance of this exhibit—considering,

 among other things, that HMIT, in its Motion for Leave, specifically mentioned the allegedly open

 TSSB “investigation” as relevant evidence the court “should be aware” of in making its

 determination of whether the Proposed Claims were “colorable.”86


 82
    Highland Ex. 10.
 83
    Motion for Leave, ¶ 37.
 84
    See Highland Ex. 33.
 85
     June 8 Hearing Transcript, 323:22-324:3.
 86
    Id., 324:4-328:2.

                                                    27
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              28 of 105
                                                     Page 414 of 678 PageID 420



      C. Claims Purchasers Purchase Claims and File Notices of Transfers of Claims

         To be clear about the time line here, it was after confirmation of the Plan but prior to the

 Effective Date of the Plan, that the Claims Purchasers: (1) purchased several large unsecured

 claims that had been allowed following, and as part of, Rule 9019 settlements, each of which were

 approved by the bankruptcy court, after notice and hearing, prior to the confirmation hearing; and

 (2) filed notices of the transfers of those claims pursuant to Rule 3001(e)(2) of the Federal Rules

 of Bankruptcy Procedure. The noticing of the claims transfers began on April 16, 2021, with the

 notice of transfer of the claim held by Acis Capital Management to Muck, and ended on August

 9, 2021, with the notices of transfers of the claims held by UBS Securities to Muck and Jessup:

      Claimant(s)                Date Filed/     Asserted Amount                Claim                Date Filed/
                                 Claim No.                                Settled/Allowed?          Rule 3001
                                                                           If so, Amount            Notice Dkt.
                                                                                                        No.
 Acis Capital Management          12/31/2019     $23,000,000             Yes87                  4/16/2021
 LP and Acis Capital              Claim No.                                                     Bankr. Dkt. No.
 Management, GP LLC                  23                                  $23,000,000            2215
 (together, “Acis”)                                                                             (Muck)
 Redeemer Committee of             4/3/2020      $190,824,557            Yes88                  4/30/2021
 the Highland Crusader              Claim                                                       Bankr. Dkt. No.
 Fund (the “Redeemer               No. 72                                $137,696,610           2261
 Committee”)                                                                                    (Jessup)
 HarbourVest 2017 Global           4/8/2020      Unliquidated            Yes89                  4/30/2021
 Fund, LP, HarbourVest                                                                          Bankr. Dkt. No.
 2017 Global AIF, LP,            Claim Nos.                              $80,000,000 in         2263
 HarbourVest Partners LP,         143, 147,                              aggregate              (Muck)
 HarbourVest Dover Street         149, 150,                              ($45,000,000
 IX Investment LP, HV             153, 154                               General
 International VIII                                                      Unsecured
 Secondary LP,                                                           Claim, and
 HarbourVest Skew Base                                                   $35,000,000
 AIF LP (the “HarbourVest                                               subordinated claim)
 Parties”)



 87
    Bankr. Dkt. No. 1302. The Debtor’s settlement with Acis was approved over the objection of Dondero. Bankr. Dkt.
 No. 1121.
 88
    Bankr. Dkt. No. 1273.
 89
    Bankr. Dkt. No. 1788. The Debtor’s settlement with the HarbourVest Parties was approved over the objections of
 Dondero, Bankr. Dkt. No. 1697, and Dugaboy and the Get Good Trust. Bankr. Dkt. No. 1706.

                                                        28
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              29 of 105
                                                     Page 415 of 678 PageID 421



 UBS Securities LLC, UBS           6/26/2020      $1,039,957,799.40       Yes90                   8/9/2021
 AG, London Branch (the                                                                           Bankr. Dkt. No.
 “UBS Parties”)                   Claim Nos.                              $125,000,000 in         2698
                                   190, 191                               aggregate               (Muck) and
                                                                          ($65,000,000            Bankr. Dkt. No.
                                                                          General                 2697
                                                                                                  (Jessup)


             HMIT insists that it “made no sense” for the Claims Purchasers to buy the Purchased

 Claims because “the publicly available information [] did not offer a sufficient potential profit to

 justify the publicly disclosed risk,” and “their investment was projected to yield a small return with

 virtually no margin for error.”91 Dondero testified that it was his view that there was insufficient

 information in the public to justify the claims purchases.92 But, HMIT’s arguments here are

 contradicted by the information that was publicly available to Farallon and Stonehill at the time of

 their purchases and by HMIT’s own allegations. In advance of Plan confirmation, Highland

 projected that Class 8 general unsecured creditors would recover 71.32% on their allowed claims.

 In the Proposed Complaint, HMIT sets forth the amounts the Claims Purchasers purportedly paid

 for their claims.93 Taking into account the face amount of the allowed claims, the Claims

 Purchasers’ projected profits (in millions of dollars) were as follows:

                                               Ascribed                                  Purchase       Projected
       Creditor        Class 8     Class 9     Value94             Purchaser              Price          Profit

      Redeemer        $137.0       $0.0        $97.71         Stonehill                  $78.0          $19.71

      Acis             $23.0       $0.0        $16.4          Farallon                   $8.0           $8.40


 90
    Bankr. Dkt. No. 2389. The Debtor’s settlement with the UBS Parties was approved over the objections of Dondero,
 Dkt. No. 2295, and Dugaboy and the Get Good Trust. Bankr. Dkt. Nos. 2268, 2293.
 91
    Proposed Complaint, ¶ 3.
 92
    June 8 Hearing Transcript, 187:3-7 (“Q: And it’s your testimony that there wasn’t sufficient information in the
 public for them to buy – this is your view – that there wasn’t sufficient information in the public to justify their
 purchases. Is that your view? A: Correct.).
 93
    Id., ¶ 42.
 94
    “Ascribed Value” is derived by multiplying the Class 8 amount by the projected recovery of 71.32% for that class.

                                                         29
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              30 of 105
                                                     Page 416 of 678 PageID 422



      HarbourVest     $45.0       $35.0       $32.09         Farallon                  $27.0         $5.09

      UBS             $65.0       $60.0       $46.39         Stonehill & Farallon      $50.0         ($3.61)

 As HMIT acknowledges, by the time Dondero spoke with Farallon in the “late spring” of 2021,

 the Claims Purchasers had acquired the allowed claims previously held by Acis, Redeemer, and

 HarbourVest.95 Based on an aggregate purchase price of $113 million for these three claims, the

 Claims Purchasers would have expected to net over $33 million in profits, or nearly 30% on their

 investment, had Highland met its projections. The Claims Purchasers would make even more

 money if Highland beat its projections, because they also purchased the Class 9 claims and would

 therefore capture any upside. In this context, HMIT’s and Dondero’s assertions that it did not

 “make any sense” for the Claims Purchasers to purchase their claims when they did does not pass

 muster—given the publicly available information about potential recoveries under the Plan.

 Dondero even acknowledged, on cross-examination, that he was prepared to pay 30 percent more

 than Farallon had paid, even though he did not think there was sufficient public information

 available to justify Farallon’s purchase of the claims.96 Dondero essentially testified that he

 wanted to purchase Farallon’s claims because he wanted to be in a position of control to force a

 settlement or resolution of the bankruptcy case, post-confirmation, under terms acceptable to him.

 He did not want to try to settle by negotiating with Farallon and Stonehill as creditors, but instead

 he wanted to purchase the claims because “if we owned all the claims, it would settle the case.”97




 95
    See Complaint, ¶ 41 n.12. The UBS claims were not acquired until August 2021, long after the alleged “quid pro
 quo” was supposedly agreed upon and the MGM-Amazon deal was announced in the press in late May 2021. See,
 Highland Ex. 34, Amazon’s $8.45 Billion Deal for MGM is Historic But Feels Mundane (dated May 26, 2021).
 96
    June 8 Hearing Transcript, 187:8-11.
 97
    Id., 187:12-189:10.

                                                        30
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              31 of 105
                                                     Page 417 of 678 PageID 423



        D. Fifth Circuit’s Approval of the Gatekeeper Provision in Plan, Recognition of Res Judicata
           Effect of the Prior Gatekeeper Orders, and the Bankruptcy Court’s Order Approving
           Highland’s Motion to Conform Plan

            Harkening back to February 22, 2021, after a robust confirmation hearing, this court

 entered its order confirming the Plan, over the objections of Dondero and Dondero-Related Parties,

 specifically questioning the good faith of their objections. The court found, after noting “the

 remoteness of their economic interests” that “[it] has good reason to believe that [the Dondero

 Parties] are not objecting to protect economic interests they have in the Debtor but to be disruptors.

 Dondero wants his company back. This is understandable, but it is not a good faith basis to lob

 objections to the Plan.”94 The Plan became effective on August 11, 2021.

            Of relevance to the Motion for Leave, the confirmed Plan included certain exculpations,

 releases, and injunctions designed to protect the Debtor and other bankruptcy participants from

 bad-faith litigation. These participants included: Highland’s employees (with certain exceptions);

 Seery as Highland’s CEO and CRO; Strand (after the appointment of the Independent Directors);

 the Independent Directors; the successor entities; the CTOB and its members; the Committee and

 its members; professionals retained in the case; and all “Related Persons.” The injunction

 provisions contained a Gatekeeper Provision which is similar to the gatekeeper provisions in the

 prior Gatekeeper Orders in that it provided that the bankruptcy court will act as a “gatekeeper” to

 screen and prevent bad-faith litigation against the Protected Parties. The Gatekeeper Provision in

 the Plan states, in pertinent part:98

            No Enjoined Party may commence or pursue a claim or cause of action of any kind
            against any Protected Party that arose or arises from or is related to the Chapter 11
            Case . . . without the Bankruptcy Court (i) first determining, after notice and a
            hearing, that such claim or cause of action represents a colorable claim of any kind,
            including, but not limited to, negligence, bad faith, criminal misconduct, willful
            misconduct, fraud, or gross negligence against a Protected Party and (ii) specifically


 98
      Plan, 50-51 (emphasis added).

                                                     31
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              32 of 105
                                                     Page 418 of 678 PageID 424



          authorizing such Enjoined Party to bring such claim or cause of action against such
          Protected Party.

 The Plan defines Protected Parties as,

          collectively, (i) the Debtor and its successors and assigns, direct and indirect
          majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii)
          Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
          Committee, (vii) the members of the Committee (in their official capacities), (viii)
          the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the
          Litigation Trustee, (xii) the members of the [CTOB] (in their official capacities),
          (xiii) [HCMLP GP LLC], (xiv) the Professionals retained by the Debtor and the
          Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
          Persons of each of the parties listed in (iv) through (xv); [but excluding Dondero
          and Okada and various entities including HMIT and Dugaboy].

 The court notes that the Gatekeeper Provision in the Plan provides protection to a broader number

 of persons than the persons protected under the January 2020 Order (addressing the Independent

 Directors and their agents and advisors) and the July 2020 Order (addressing Seery in his role as

 CEO and CRO of the Debtor). But, at the same time, it is less restrictive than the gatekeeping

 provisions under the Gatekeeper Orders, in that the gatekeeping provisions in the prior orders

 shield the protected parties from any claim that is not both “colorable” and a claim for “willful

 misconduct or gross negligence,” effectively providing the protected parties under the prior orders

 with a limited immunity from claims of simple negligence or breach of contract that do not rise to

 the level of “willful misconduct or gross negligence,” whereas the Gatekeeping Provision under

 the Plan does not act as a release or exculpation of the Protected Parties in any way because it does

 not prohibit any party from bringing any kind of claim against a Protected Party, provided the

 proposed claimant first obtains a finding in the bankruptcy court that its proposed claims are

 “colorable.”99




 99
   It should be noted that--as discussed further below--there are, separately in the Plan, exculpations as to a smaller
 universe of persons--e.g., the Debtor, the Committee and its members, and the Independent Directors.

                                                           32
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              33 of 105
                                                     Page 419 of 678 PageID 425



          Dondero and some of the entities under his control appealed100 the Confirmation Order

 directly to the Fifth Circuit, arguing, among other issues, that the Plan’s exculpation, release, and

 injunction provisions, including the Gatekeeper Provision (collectively, the “Protection

 Provisions”) impermissibly provide certain non-debtor bankruptcy participants with a discharge,

 purportedly in contravention of the provisions of Bankruptcy Code § 524(e)’s statutory bar on non-

 debtor discharges. As noted above, the Fifth Circuit, “affirm[ed] the confirmation order in large

 part” and “reverse[d] only insofar as the plan exculpates certain non-debtors in violation of 11

 U.S.C. § 524(e), strik[ing] those few parties from the plan’s exculpation, and affirm[ed] on all

 remaining grounds.”101 The Fifth Circuit specifically found the “injunction and gatekeeping

 provisions [to be] sound” and found that it was only “the exculpation of certain non-debtors” that

 “exceed[ed] the bankruptcy court’s authority,” agreeing with the bankruptcy court’s conclusions

 that the Protection Provisions were legal, necessary under the circumstances, and in the best

 interest of all parties” in part, and only disagreeing to the extent that the exculpation provision

 improperly extended to certain bankruptcy participants other than Highland, the Committee and

 its members, and the Independent Directors and “revers[ing] and strik[ing] the few unlawful parts


 100
     On appeal, the appellant funds (“Funds”), whom this court found to be “owned and/or controlled” by Dondero
 despite their purported independence, also asked the Fifth Circuit to vacate this court’s factual finding “because it
 threatens the Funds’ compliance with federal law and damages their reputations and values” and because “[a]ccording
 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely independent from
 him.” NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital Mgmt., L.P.), 48 F.4th at 434.
 Applying the “clear error” standard of review, the Fifth Circuit “le[ft] the bankruptcy court’s factual finding
 undisturbed” because “nothing in this record leaves us with a firm and definite conviction that the bankruptcy court
 made a mistake in finding that the Funds are ‘owned and/or controlled by [Dondero].” Id. at 434-35.
 101
     See supra note 4. The Fifth Circuit replaced its initial opinion with its final opinion a few days after certain
 appellants had filed a short (four-and-one-half pages) motion for rehearing (the “Motion for Rehearing”) on September
 2, 2022. The movants had asked the Fifth Circuit to “narrowly amend the [initial] Opinion in order to confirm the
 Court’s holding that the impermissibly exculpated parties are similarly struck from the protections of the injunction
 and gatekeeper provisions of the plan (in other words, that such parties cannot constitute ‘Protected Parties’).” In the
 final Fifth Circuit opinion, same as the initial Fifth Circuit opinion, the Fifth Circuit stated that, with regard to the
 Confirmation Order, the panel would “reverse only insofar as the plan exculpates certain non-debtors in violation of
 11 U.S.C. § 524(e), strike those few parties from the plan’s exculpation, and affirm on all remaining grounds.”
 Highland Capital, 48 F.4th at 424. No findings, discussion, or rulings regarding the injunction and gatekeeper
 provisions that were in the initial Fifth Circuit opinion were disturbed.

                                                            33
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              34 of 105
                                                     Page 420 of 678 PageID 426



 of the Plan’s exculpation provision.”102 The Fifth Circuit then remanded to the Bankruptcy Court

 “for further proceedings in accordance with the opinion.”103

          In the course of analyzing the Protection Provisions under the Plan, the Fifth Circuit noted

 that the protection provisions in the January and July 2020 Orders appointing the Independent

 Directors and Seery as CEO and CRO of Highland were res judicata and that “those orders have

 the effect of exculpating the Independent Directors and Seery in his executive capacities” such that

 “[d]espite removal from the exculpation provision in the confirmation order, the Independent

 Directors’ agents, advisors, and employees, as well as Seery in his official capacities are all

 exculpated to the extent provided in the January and July 2020 Orders.”104

          The Reorganized Debtor filed a motion in the bankruptcy court to conform the plan to the

 Fifth Circuit’s mandate, proposing that only one change was needed to make the Plan compliant

 with the Fifth Circuit’s ruling: narrow the defined term for “Exculpated Parties” to read as follows:

          “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the Independent
          Directors, (iii) the Committee, and (iv) members of the Committee (in their official
          capacities).

 The Reorganized Debtor proposed that this one simple revision of this defined term removed the

 exculpations deemed by the Fifth Circuit to violate section 524(e) of the Bankruptcy Code, and

 that no other changes would be required to conform the Plan and Confirmation Order to the Fifth

 Circuit’s mandate. Some of the Dondero-related entities objected to the motion to conform,

 arguing that the Fifth Circuit’s ruling required more surgery on the Plan than simply narrowing

 the defined term “Exculpated Parties.” On February 27, 2023, this court entered its order granting


 102
     Id. at 435.
 103
     Id. at 440. The Fifth Circuit’s docket reflects that it issued its Judgment and mandate on September 12, 2022.
 104
     Highland Capital, 48 F.4th at 438 n.15. The Fifth Circuit stated, “To the extent Appellants seek to roll back the
 protections in the bankruptcy court’s January 2020 and July 2020 orders (which is not clear from their briefing), such
 a collateral attack is precluded.” Id.

                                                          34
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              35 of 105
                                                     Page 421 of 678 PageID 427



 Highland’s motion to conform the Plan, ordering that one change be made to the Plan – revising

 the definition of “Exculpated Parties” – and no more.105 The objecting parties’ direct appeal of

 this order has been certified to the Fifth Circuit and is one of the numerous currently active appeals

 by Dondero-related parties pending in the Fifth Circuit.

       E. HMIT’s Motion for Leave

          HMIT filed its emergency Motion for Leave on March 28, 2023, which, with attachments,

 as first filed, was 387 pages in length, including an initial proposed complaint (“Initial Proposed

 Complaint”) and two sworn declarations of Dondero that were attached as “objective evidence” in

 “support[ ]” of the Motion for Leave,106 and with it, an application for an emergency setting on the

 hearing on the Motion to Leave. On April 23, 2023, HMIT filed a pleading entitled a “supplement”

 to its Motion to Leave (“Supplement”),107 to which it attached a revised proposed verified

 complaint (“Proposed Complaint”)108 as Exhibit 1-A to the Motion for Leave and stated that “[t]he

 Supplement is not intended to amend or supersede the [Motion for Leave]; rather, it is intended as

 a supplement to address procedural matters and to bring forth additional facts that further confirm

 the appropriateness of the derivative action.”109          The HMIT Motion for Leave was later amended

 to eliminate the Dondero Declarations and references to the same (but not the underlying

 allegations that were supposedly supported by the Dondero Declarations).110




 105
     Bankr. Dkt. No. 3672.
 106
     Bankr. Dkt. No. 3699.
 107
     Bankr. Dkt. No. 3760.
 108
     See supra note 5.
 109
     Supplement ¶ 1.
 110
     Bankr. Dkt. Nos. 3815 and 3816. Both of these filings had the Initial Proposed Complaint attached as Exhibit 1 to
 the Motion for Leave.

                                                          35
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              36 of 105
                                                     Page 422 of 678 PageID 428



        As earlier noted, HMIT desires leave to sue the Proposed Defendants regarding the post-

 confirmation, pre-Effective Date purchase of allowed unsecured claims.           The Proposed

 Defendants would be:

                Seery, who was a stranger to Highland until approximately four months
        following the Petition Date when he was brought in as one of the three Independent
        Directors, and now serves as the CEO of the Reorganized Debtor and the Trustee
        of the Claimant Trust (and also was previously Highland’s CRO during the case,
        then CEO, and, also, an Independent Board Member of Highland’s general partner
        during the Highland case). Seery is best understood as the man who took Dondero’s
        place running Highland—per the request of the Committee.
                Claims Purchasers, who were strangers to Highland until the end of the
        bankruptcy case. They are identified as Farallon Capital Management, LLC
        (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
        created by Farallon to purchase unsecured claims against Highland; Stonehill
        Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
        which was a special purpose entity created by Stonehill to purchase unsecured
        claims against Highland (collectively, the “Claims Purchasers”). The Claims
        Purchasers purchased $240 million face value of already-allowed unsecured claims
        post-confirmation and pre-Effective Date in the spring of 2021 and another $125
        million face value of already-allowed unsecured claims in August 2021.
        Bankruptcy Rule 3001(e) notices—giving notice of same—were filed on the
        bankruptcy clerk’s docket regarding these purchases. The claims had previously
        been held by the creditors known as the Crusader Redeemer Committee, Acis
        Capital, HarbourVest, and UBS (three of these four creditors formerly served on
        the Committee during the Highland bankruptcy case).
               John Doe Defendants Nos. 1-10, which are described to be “currently
        unknown individuals or business entities who may be identified in discovery as
        involved in the wrongful transactions at issue.”
               Highland, as a nominal defendant. HMIT added Highland as a nominal
        defendant in the Revised Proposed Complaint attached to the Supplement.
              Claimant Trust, as a nominal defendant. HMIT added the Claimant Trust
        as a nominal defendant in the Revised Proposed Complaint attached to the
        Supplement.
 The proposed plaintiffs would be:
                HMIT, which, again, was the largest equity holder in Highland and held a
        99.5% limited partnership interest (specifically, Class B/C limited partnership
        interests). HMIT is the holder of a Class 10 interest under the Plan, pursuant to
        which HMIT’s limited partnership interest in Highland was extinguished as of the
        Effective Date in exchange for a pro rata share of a contingent interest in the
        Claimant Trust.

                                               36
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              37 of 105
                                                     Page 423 of 678 PageID 429



                  Highland, as a nominal party. HMIT wishes to bring its complaint on behalf
         of itself and derivatively on behalf of the Reorganized Debtor.
                 Claimant Trust, as a nominal party. HMIT wishes to bring its complaint on
         behalf of itself and derivatively on behalf of the Claimant Trust.

         In the Proposed Complaint, HMIT asserts the following six counts: Count I (against Seery)

 for breach of fiduciary duties; Count II (against the Claims Purchasers and John Doe Defendants)

 for knowing participation in breach of fiduciary duties; Count III (against all Proposed Defendants)

 for conspiracy; Count IV (against Muck and Jessup) for equitable disallowance of their claims;

 Count V (against all Proposed Defendants) for unjust enrichment and constructive trust; and Count

 VI (against all Proposed Defendants) for declaratory relief.111 The gist of the Proposed Complaint

 is as follows. HMIT asserts that something seems amiss regarding the post-confirmation/pre-

 Effective Date purchase of claims by the Claims Purchasers. Actually, more bluntly, HMIT asserts

 that “wrongful conduct occurred” and “improper trades” were made.112 HMIT believes the Claims

 Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

 HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

 funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

 Statement and Plan projections regarding the projected distributions under the Plan to holders of

 allowed unsecured claims. And, of course, Dondero purports to have concluded from the three

 phone conversations he had with representatives of one of the Claims Purchasers that they did no

 due diligence before purchasing the claims. Therefore, HMIT surmises, Seery must have given

 these Claims Purchasers MNPI regarding Highland that convinced them that it was to their

 economic advantage to purchase the claims. In particular, HMIT surmises Seery must have shared

 111
     In the Initial Proposed Complaint, HMIT proposed to bring claims against the various Proposed Defendants in
 seven counts, including a count for fraud by misrepresentation and material nondisclosure against all Proposed
 Defendants. In the Proposed Complaint, HMIT abandons its claim for fraud by misrepresentation and material
 nondisclosure.
 112
     Motion for Leave, 7.

                                                       37
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              38 of 105
                                                     Page 424 of 678 PageID 430



 MNPI regarding the likely imminent sale of MGM, in which Highland had, directly and indirectly,

 substantial holdings. As noted earlier, MGM was ultimately purchased by Amazon after a sale

 process that had been quite publicly discussed in media reports for several months and that was

 officially announced to the public in late May 2021 (just a few weeks after the Claims Purchasers

 purchased some of their claims, but a few months before certain of their claims—the UBS

 claims—were purchased).113 In summary, while the Proposed Complaint is lengthy and at times

 hard to follow, it boils down to allegations that: (a) Seery filed (or caused to be filed) deflated,

 pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

 the Plan, (b) then induced very sophisticated unsecured creditors to discount and sell their claims

 to the likewise very sophisticated Claims Purchasers, (c) which Claims Purchasers are allegedly

 friendly with Seery, and are now happily approving Seery’s allegedly excessive compensation

 demands post-Effective Date (resulting in less money in the pot to pay off the creditor body in full,

 and, thus, a diminished likelihood that HMIT will realize any recovery on its contingent Class 10

 interest). HMIT argues that Seery should be required to disgorge his compensation. It appears

 that HMIT also seeks other damages in the form of equitable disallowance of the Claims

 Purchasers’ claims and disgorgement of distributions on account of those claims, the imposition

 of a constructive trust over all disgorged funds, and declaratory relief.

         HMIT claims that, in seeking to file the Proposed Complaint, it is seeking to protect the

 rights and interests of the Reorganized Debtor, the Claimant Trust, and “innocent stakeholders”

 who were allegedly injured by Seery’s and the Claims Purchasers’ alleged conspiratorial and



 113
    The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid. Credible testimony
 from Seery at the June 8 Hearing revealed that Highland and entities it controlled tendered their MGM holdings in
 connection with the Amazon transaction (they did not sell their holdings while the MGM-Amazon deal was under
 discussion and/or not made public).

                                                        38
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              39 of 105
                                                     Page 425 of 678 PageID 431



 fraudulent scheme to line Seery’s pockets with excessive compensation for his role as Claimant

 Trustee. In its Motion for Leave, HMIT states that “[t]he attached Adversary Proceeding alleges

 claims which are substantially more than ‘colorable’ based upon plausible allegations that the

 Proposed Defendants, acting in concert, perpetrated a fraud, including a fraud upon innocent

 stakeholders, as well as breaches of fiduciary duties and knowing participation in (or aiding or

 abetting) breaches of fiduciary duty.”114

       F. Is HMIT Really Dondero by Another Name?

          The Proposed Defendants argue that HMIT’s Motion for Leave is nothing more than a

 continuation of the harassing and bad-faith litigation by Dondero and his related entities that the

 Gatekeeper Provisions were intended to prevent and, thus, this is one of multiple reasons that the

 Motion for Leave should be denied.

          To be clear, HMIT asserts that it is controlled by Mark Patrick (“Patrick”), who has been

 HMIT’s administrator since August 2022. Patrick asserts that he is not influenced or controlled

 by Dondero, in general, and specifically not in its efforts to pursue the Proposed Claims against

 Seery and the Claims Purchasers. However, the testimony elicited at the June 8 Hearing—the

 hearing at which HMIT had the burden of showing the court that its Proposed Claims were

 “colorable” such that it should be allowed to pursue them through the filing of the Proposed

 Complaint—paints a different picture. Somewhat tellingly, HMIT chose not to call Patrick—

 allegedly HMIT’s only representative and control person—as a witness in support of its Motion

 for Leave. Rather, Dondero was HMIT’s first witness called in support of its motion, and the first



 114
    See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 3. HMIT notes, in a footnote 6, that “Neither this Motion nor the
 proposed Adversary Complaint seeks to challenge the Court’s Orders or the Plan. In addition, neither this Motion nor
 the proposed Adversary Complaint seeks to redistribute the assets of the Claimant Trust in a manner that would
 adversely impact innocent creditors. Rather, the proposed Adversary Proceeding seeks to benefit all innocent
 stakeholders while working within the terms and provisions of the Plan, as well as the Claimant Trust Agreement.”

                                                         39
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              40 of 105
                                                     Page 426 of 678 PageID 432



 questions on direct from HMIT’s counsel were aimed at establishing that Dondero was not behind

 the filing of the Motion for Leave and the pursuit of the Proposed Claims.115 Dondero testified

 that he did not (i) “have any current official position” with HMIT, (ii) “attempt to exercise [control]

 on the business affairs of [HMIT],” (iii) “have any official legal relationship with [HMIT] where

 [he] can attempt to exercise either direct or indirect control over [HMIT],” or (iv) “participate in

 the decision of whether or not to file the proceedings that are currently pending before Judge

 Jernigan.”116 After HMIT rested, Highland and the Claimant Trust called Patrick as a witness, and

 he testified that he was the administrator of HMIT, that HMIT does not have any employees,

 operations, or revenues, and, when asked if HMIT owned any assets, Patrick testified, with not a

 great deal of certainty, that “it’s my understanding it has a contingent beneficiary interest in the

 Claimants [sic] Trust” and that is the only asset HMIT has.117 Patrick testified that HMIT did not

 owe any money to Dondero personally, but acknowledged that in 2015, HMIT had issued a secured

 promissory note in favor of Dondero’s family trust, Dugaboy, in the amount of approximately

 $62.6 million (the “Dugaboy Note”) in exchange for Dugaboy transferring a portion of its limited

 partner interests in Highland to HMIT; the Dugaboy Note was secured in part by the Highland

 limited partnership interests purchased from Dugaboy.118 Patrick admitted that, if HMIT’s Class

 10 interest has no value, HMIT would have no ability to pay the Dugaboy Note.119 He further

 testified that neither he nor any representative of HMIT had ever spoken with any representative

 of Farallon or Stonehill, that he had no personal knowledge about any quid pro quo, the amount

 of due diligence Farallon or Stonehill conducted prior to buying their claims, or the terms of

 115
     See June 8 Hearing Transcript, 113:10-25.
 116
     Id.
 117
     June 8 Hearing Transcript, 307:7-308:2.
 118
     Id., 303:11-305:1; Highland Ex. 51, HMIT’s $62,657,647.27 Secured Promissory Note dated December 24, 2015,
 in favor of Dugaboy.
 119
     Id., 308:3-16.

                                                      40
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              41 of 105
                                                     Page 427 of 678 PageID 433



 Seery’s compensation package (until the terms were disclosed to them in opposition to the Motion

 for Leave).120 Patrick admitted that Dugaboy was paying HMIT’s attorneys’ fees pursuant to a

 settlement agreement between HMIT and Dugaboy.121

         On cross-examination by HMIT’s counsel, Patrick further testified that HMIT has not filed

 any litigation, as plaintiff, other than its efforts to be a plaintiff in the Motion for Leave and its

 action as a petitioner in the Texas Rule 202 proceeding filed earlier in 2023 in the Texas state

 court.122 HMIT’s counsel argued that the point of this questioning was that “they’re just trying to

 draw Dondero into this and – this vexatious litigant argument, and we’re just developing the fact

 that obviously Hunter Mountain has only filed – attempting to file this action and a Rule 202

 proceeding.123 But, Dondero and HMIT’s counsel referred during the June 8 Hearing to the First

 Rule 202 Petition (where Dondero was the petitioner) and the Second Rule 202 Petition (where

 HMIT was the petitioner) as “our” Rule 202 petitions, and also to the numerous attempts at getting

 the discovery (that Dondero had warned Linn was coming) in the collective. For example, in

 objecting to the admission of Highland’s Exhibit 10 – the Texas state court order denying and

 dismissing the Second Rule 202 Petition – on the basis of relevance, HMIT’s counsel referred to

 the order as “an order denying our second” Rule 202 Petition.124 And, Dondero testified that his

 warning to Linn in May 2021 that “discovery was coming” was “my response to I knew they had

 traded on material nonpublic information” and that “I thought it would be a lot easier to get


 120
      Id., 308:18-312:12. This testimony from Patrick came after HMIT’s counsel objection to counsel’s line of
 questioning regarding Patrick’s personal knowledge of the facts supporting the allegations in the Proposed Complaint
 on the basis that he was invading the attorney work product privilege, which was overruled by this court; HMIT’s
 counsel argued (311:4-19) that the line of questioning was an “invasion of attorney work product . . . [b]ecause they
 might – he would have knowledge from the efforts and investigation through attorneys in the case.”
 121
     Id., 312:24-313:18.
 122
     Id., 315:3-9.
 123
     Id., 316:6-11.
 124
     Id., 58:11-13. The court overruled HMIT’s relevance objection and admitted Highland’s Exhibit 10 into evidence.
 Id., 58:14-15.

                                                          41
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              42 of 105
                                                     Page 428 of 678 PageID 434



 discovery on a situation like this than it has been for the last two years” and that “we’ve been trying

 for two years to get . . . discovery.“125

            Dondero’s use of an entity over which he exerts influence and control to pursue his own

 agenda in the bankruptcy case is not new. Rather, this has been part of Dondero’s modus operandi

 since the “nasty breakup” between Dondero and Highland that culminated with Dondero’s ouster

 in October 2020, whereby Dondero, after not getting his way in the bankruptcy court, continued

 to lob objections and create obstacles to Highland’s implementation of the Plan through entities

 he owns or controls. As noted above, the Fifth Circuit specifically upheld this court’s finding in

 the Confirmation Order that Dondero owned or controlled the various entities that had objected to

 confirmation of the Plan and appealed the Confirmation Order, where the Dondero-related

 appellants made similar protestations that they are not owned or controlled by Dondero and asked

 the Fifth Circuit to vacate this court’s factual finding because, among other reasons, “[a]ccording

 to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely

 independent from him.”126 Based on the totality of the evidence in this proceeding, the court finds

 that, contrary to the protestations of HMIT’s counsel and Patrick otherwise, Dondero is the driving

 force behind HMIT’s Motion for Leave and the Proposed Complaint. The Motion for Leave is

 just one more attempt by Dondero to press his conspiracy theory that he has pressed for over two

 years now, unsuccessfully, in Texas state court through Rule 202 proceedings, with the Texas State

 Securities Board, and with the United States Trustee’s office.




 125
       Id., 191:5-25.
 126
        Highland Capital, 48 F.4th at 434-435.

                                                   42
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              43 of 105
                                                     Page 429 of 678 PageID 435



     G. Opposition to Motion for Leave: Arguing No Standing and No “Colorable” Claims

         Highland, the Claimant Trust, and Seery (together, the “Highland Parties”) filed a joint

 opposition (“Joint Opposition”) to HMIT’s Motion for Leave on May 11, 2023.127 The Claims

 Purchasers filed a separate objection (“Claims Purchasers’ Objection”) to the Motion for Leave on

 May 11, 2023, as well.128 In the Joint Opposition, the Highland Parties urge the court to deny

 HMIT leave to pursue the Proposed Claims because, as a threshold matter, HMIT does not have

 standing to bring them, directly or derivatively against the Proposed Defendants. They argue, in

 the alternative, that the Motion for Leave should be denied even if HMIT had standing to pursue

 the Proposed Claims because none of the Proposed Claims are “colorable” claims as that term is

 used in the Gatekeeper Provision of the Plan (and Gatekeeper Orders).129

         The Claims Purchasers likewise argue that HMIT lacks standing to complain about claims

 trading in the bankruptcy which occurred between sophisticated Claims Purchasers and

 sophisticated sellers (“Claims Sellers”), represented by skilled bankruptcy and transactional

 counsel. Moreover, they argue HMIT cannot show that it or the Reorganized Debtor or the

 Claimant Trust were injured by the claims trading at issue because the Purchased Claims had

 already been adjudicated as allowed claims in the bankruptcy case—thus, distributions under the

 Plan on account of the Purchased Claims remain the same, the only difference being who holds

 the claims. Moreover, even if HMIT could succeed in equitably subordinating the validly

 transferred allowed claims, HMIT would still be in the same position it is today: the holder of a


 127
     Bankr. Dkt. Nos. 3783. Highland, the Claimant Trust, and Seery also filed on May 11 a Declaration of John A.
 Morris in Support of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint
 Opposition to Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding (“Morris
 Declaration”) that attached 44 Exhibits in support of the Joint Opposition. Bankr. Dkt. No. 3784.
 128
     Bankr. Dkt. No. 3780.
 129
     See Joint Opposition ¶ 139 (“Because HMIT lacks standing, this Court need not reach the merits of HMIT’s
 proposed Adversary Complaint. As a matter of judicial economy, however, the Highland Parties respectfully request
 that this Court address the lack of merit as an alternative basis to deny the Motion.”).

                                                        43
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              44 of 105
                                                     Page 430 of 678 PageID 436



 contingent, speculative Class 10 interest that would only be paid after payment, in full, with

 interest, of all creditors under the Plan. The Claims Purchasers argue in the alternative that the

 Proposed Claims are not “colorable.”

          Finally, the Proposed Defendants argue that the standard of review for assessing whether

 the Proposed Claims are “colorable” (as such term is used in the Gatekeeper Provision and

 Gatekeeping Orders) is a standard that is a higher than the “plausibility” standard applied to Rule

 12(b)(6). They argue that HMIT should be required to meet a higher bar with respect to

 colorability that includes making a prima facie showing that the Proposed Claims have merit

 (and/or are not without foundation) which requires HMIT to do more than meet the liberal notice-

 pleading standards.

       H. HMIT’s Reply to the Proposed Defendants’ Opposition to the Motion for Leave

          In its reply brief (“Reply”), filed by HMIT on May 18, 2023,130 it argues that it has

  constitutional standing as an “aggrieved party” to bring the Proposed Claims on behalf of itself.131

  HMIT also argues that it has standing under Delaware Trust law to bring a derivative action on

  behalf of the Claimant Trust and that it not only has standing to bring the Proposed Claims

  derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best party to bring

  the claims.132 Finally, HMIT maintains that the standard of review that the bankruptcy court

  should apply in assessing the “colorability” of the Proposed Claims is no greater than the standard

  of review applied to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6), which

  would require the bankruptcy court to look only to the “four corners” of the Proposed Complaint


 130
     Bankr. Dkt. No. 3785.
 131
     See Reply ¶ 7.
 132
     See, Reply ¶ 23 n.5, where HMIT argues “The nature of this injury, in addition to Seery’s influence over the
 Claimant Trust, and the lack of prior action by the Claimant Trust to pursue the claims HMIT seeks to pursue
 derivatively, among other things, demonstrate that HMIT is not only a proper party to assert its derivative claims –
 but the best party to do so.”

                                                         44
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              45 of 105
                                                     Page 431 of 678 PageID 437



  and “not weigh extraneous evidence,”133 take all allegations as true, and view all allegations and

  inferences in a light most favorable to HMIT. As discussed in greater length below, HMIT argues

  that, under this standard, the bankruptcy court should not consider evidence in making its

  determination as to whether the Proposed Complaint presents “colorable” claims.

       I. Litigation within the Litigation: The Pre- June 8 Hearing Skirmishes

          Suffice it to say there was significant activity before the Motion for Leave actually was

 presented at the June 8 hearing. HMIT sought an emergency hearing on its Motion for Leave

 (wanting a hearing on three days’ notice). When the bankruptcy court denied an emergency

 hearing, HMIT unsuccessfully pursued an interlocutory appeal of the denial of an emergency

 hearing to the district court. HMIT then petitioned for a writ of mandamus at the Fifth Circuit

 regarding the emergency hearing denial, which was denied by the Fifth Circuit on April 12, 2023.

          Next, there were multiple pleadings and hearings regarding what kind of hearing the

 bankruptcy court should or should not hold on the Motion for Leave—particularly focusing on

 whether or not it would be an evidentiary hearing.134 The resolution of this issue turned on what

 standard of review the court should apply in exercising its gatekeeping function and determining

 the colorability of the Proposed Claims. HMIT (although it had submitted two declarations of

 Dondero with its original Motion for Leave and approximately 350 pages of total evidentiary

 support) was adamant that there should be no evidence presented at the hearing on the Motion for

 Leave, arguing that the standard for review should be the plausibility standard under Rule 12(b)(6)


 133
    See Reply ¶ 47.
 134
     Highland, joined by Seery and the Claims Purchasers, had filed a motion asking the bankruptcy court to set a
 briefing schedule on the Motion for Leave and to schedule a status conference, indicating that Highland’s proposed
 timetable for same was opposed by HMIT. HMIT subsequently filed a response unopposed to a briefing schedule and
 status conference, but, before the status conference, HMIT filed a brief, stating it was opposed to there being any
 evidence at the ultimate hearing on the HMIT Motion for Leave—arguing the bankruptcy court did not need evidence
 to exercise its gatekeeping function and determine if HMIT has a “colorable” claim. Rather, the court need only
 engage in a Rule 12(b)(6)-type plausibility analysis.

                                                         45
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              46 of 105
                                                     Page 432 of 678 PageID 438



 motions to dismiss such that “the threshold inquiry is very, very low. Evidence is not allowed. . . .

 [S]imilar to a 12(b)(6) inquiry, [the court] is limited to the four corners of the principal pleading –

 in this case, the complaint, or now the revised complaint.”135 Counsel for the Proposed Defendants

 argued that the standard of review for colorability here, in the specific context of the court

 exercising its gatekeeping function under the Plan, is more akin to the standards applied under the

 Supreme Court’s Barton Doctrine136 pursuant to which that the bankruptcy court must apply a

 higher standard than the 12(b)(6) standard, including the consideration of evidence at the hearing

 on the motion for leave; if the standard of review presents no greater hurdle to the movant than the

 12(b)(6) standard applied to every plaintiff in every case, then the gatekeeping provisions mean

 nothing and do nothing to protect the parties from the harassing, bad-faith litigation they were put

 in place to prevent.137 On May 22, 2023, after receipt of post-hearing briefing on the issue, the

 court entered an order stating that “the court has determined that there may be mixed questions of

 fact and law implicated by the Motion for Leave” and “[t]herefore, the parties will be permitted to

 present evidence (including witness testimony) at the June 8, 2023 hearing [on the Motion to

 Leave] if they so choose.”

          Two days later, HMIT filed an emergency motion for expedited discovery or alternatively

 for continuance of the June 8, 2023 hearing, seeking expedited depositions of corporate



 135
     Transcript of April 24, 2023 Status Conference, Bankr. Dkt. No. 3765 (“April 24 Transcript”), 14:6-11.
 136
     The Barton Doctrine was established in the 19th century Supreme Court case of Barton v. Barbour, 104 U.S. 126
 (1881), and states that a party wishing to sue a court-appointed trustee or receiver must first obtain leave of the
 appointing court by making a prima facie case that the claim it wishes to bring is not without foundation.
 137
     See April 24 Transcript, 36:24-37:4 (“[W]e’re exactly today where the Court had predicted in entering [the
 Confirmation Order], that the costs and distraction of this litigation are substantial. And if all we’re doing is replicating
 a 12(b)(6) hearing on a motion for leave, we’re actually not doing anything to reduce, as the Court made clear, the
 burdens, distractions, of litigation.”); 37:5-13 (“The Fifth Circuit likewise cited Barton in its order affirming the
 confirmation order. Specifically, it also explained that the provisions, these gatekeeper provisions requiring advance
 approval were meant to ‘screen and prevent bad-faith litigation.’ Well that – if that means only what the Plaintiff[ ]
 say[s] it does, then it really doesn’t do anything at all to screen. There’s no gatekeeping because their version of what
 that means is always policed under 12(b)(6) standards.”).

                                                              46
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              47 of 105
                                                     Page 433 of 678 PageID 439



 representatives of the Claims Purchasers and of Seery and production of documents pursuant to

 deposition notices and subpoenas duces tecum that HMIT had attached to the motion. On May

 26, 2023, this court held yet another status conference. Following the status conference, the court

 granted in part and denied in part HMIT’s request for expedited discovery by ordering only Seery

 and Dondero to be made available for depositions prior to the June 8 Hearing. The court reached

 what seemed like appropriate middle ground by allowing the deposition of Seery and allowing the

 other parties to depose Dondero (for whom sworn declarations had been submitted), but the court

 was not going to allow any more discovery (i.e., of the Claims Purchasers) at so late an hour. The

 court was aware that HMIT and Dondero had been seeking discovery relating to the very claims

 trades that are the subject of the Revised Proposed Complaint from the Claims Purchasers in Texas

 state court “Rule 202” proceedings for approximately two years, where their attempts were

 rebuffed.

        Approximately 60 hours before the June 8 Hearing, HMIT filed its Witness and Exhibit

 List disclosing for the first time two potential expert witnesses (along with biographical

 information and a disclosure regarding the subject matter of their likely testimony). Highland, the

 Claimant Trust, and Seery filed a joint motion to exclude the expert testimony and documents

 (“Motion to Exclude”), which the court ultimately granted in a separate order.

        During the full-day June 8 Hearing on the Motion to Leave, the court admitted over 50

 HMIT exhibits and over 30 Highland/Claimant Trust exhibits. The court heard testimony from

 HMIT’s witnesses Dondero and Seery (as an adverse witness) and from the Highland Parties’

 witness Mark Patrick, the administrator of HMIT since August 2022 (as an adverse witness). The

 bankruptcy court allowed HMIT to make a running objection to all evidence—as it continued to

 argue that evidence was not appropriate.



                                                 47
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              48 of 105
                                                     Page 434 of 678 PageID 440




 III.      LEGAL ANALYSIS

           In determining whether HMIT should be granted leave, pursuant to the Gatekeeper

 Provision of the Plan and the court’s prior Gatekeeper Orders, to pursue the Proposed Claims, the

 court must address the issue of whether HMIT would have standing to bring the Proposed Claims

 in the first instance. If so, the next question is whether the Proposed Claims are “colorable.” But

 prior to getting into the weeds on standing and “colorability,” some general discussion regarding

 the topic of claims trading in the bankruptcy world seems appropriate, given that HMIT’s Proposed

 Claims are based, in large part, on allegations of improper claims trading.

        A. Claims Trading in the Context of Bankruptcy Cases—Can It Be Tortious or Otherwise
           Actionable?
           As noted, at the crux of HMIT’s desired lawsuit is what this court will refer to as “claims

 trading activity” that occurred shortly after the Plan was confirmed, but before the Plan went

 effective. HMIT believes that the claims trading activity gave rise to various torts: breach of

 fiduciary duty on the part of Seery; knowing participation in breach of fiduciary duty by the other

 Proposed Defendants; and conspiracy by all Defendants. HMIT also believes that the following

 remedies should be imposed: equitable disallowance of the Purchased Claims; disgorgement of

 the alleged profits the Claims Purchasers made on their purchases; and disgorgement of all Seery’s

 compensation received since the beginning of his “collusion” with the other Defendants. Without

 a doubt, the Motion for Leave and Proposed Complaint revolve almost entirely around the claims

 trading activity.

           This begs the question: When (or under what circumstances) might claims trading

 activity during a bankruptcy case give rise to a cause of action that either the bankruptcy estate

 or an economic stakeholder in the case might have standing to bring? Here, the claims trading


                                                   48
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              49 of 105
                                                     Page 435 of 678 PageID 441



 wasn’t even “during a bankruptcy case” really—it was post-confirmation and pre-effective date,

 and it happened to be: (a) after mediation of the claims, (b) after Rule 9019 settlement motions,

 (c) after objections by Dondero and certain of his family trusts were lodged, (d) after evidentiary

 hearings, and (e) after orders were ultimately entered allowing the claims (and in most cases, such

 orders were appealed). The further crux of HMIT’s desired lawsuit is that Seery allegedly

 “wrongfully facilitated and promoted the sale of large unsecured creditor claims to his close

 business allies and friends” by sharing material non-public information to them regarding the

 potential value of the claims (i.e., the potential value of the bankruptcy estate), and this is what

 made the claims trading activity particularly pernicious. The alleged sharing of MNPI allegedly

 caused the Claims Purchasers to purchase their claims without doing any due diligence and with

 knowledge that the claims would be worth much more than the Plan’s “pessimistic” projections

 might have suggested, and also allowed Seery to plant friendly allies into the creditor constituency

 (and on the post-confirmation CTOB) that would “rubber stamp” his generous compensation. This

 is all referred to as “not arm’s-length” and “collusive.” Notably, the MNPI mostly pertained to a

 likely future acquisition of MGM by Amazon (which transaction, indeed, occurred in 2022, after

 being publicly announced in Spring of 2021); as noted earlier, Highland owned, directly and

 indirectly, common stock in MGM. Also notably, there had been rumors and media attention

 regarding a potential sale of MGM for many months.138 In summary, to be clear, HMIT’s desired

 lawsuit is laced with a theme of “insider trading”—although this isn’t a situation of securities

 trading per se (i.e., the unsecured Purchased Claims were not securities), and, as noted earlier, the

 Texas State Securities Board has not seen fit to investigate the claims trading activity.

         So, preliminarily, is claims trading in bankruptcy sinister per se? The answer is no.


 138
   E.g., Benjamin Mullin, MGM Holdings, Studio Behind ‘James Bond,’ Explores a Sale, THE WALL STREET JOURNAL
 (Dec. 21, 2020, 6:38 p.m.).

                                                     49
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              50 of 105
                                                     Page 436 of 678 PageID 442



         The activity of investing in distressed debt (which frequently occurs during a bankruptcy

 case—sometimes referred to as “claims trading”) is ubiquitous and, indeed, has been so for a very

 long time. As noted by one scholar:

         The creation of a market in bankruptcy claims is the single most important
         development in the bankruptcy world since the Bankruptcy Code’s enactment in
         1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
         it a much more market-driven process. [Citations omitted.] . . . The development
         of a robust market for all types of claims against debtors has changed the cast of
         characters involved in bankruptcies. In addition to long-standing relational
         creditors, like trade creditors or a single senior secured bank or bank group,
         bankruptcy cases now involve professional distressed debt investors, whose
         interests and behavior are often quite different than traditional relational
         counterparty creditors.
 Adam J. Levitin, Bankruptcy Markets: Making Sense of Claims Trading, 4 BROOK. J. CORP. FIN.

 & COM. L. 64, 65 (2010) (hereinafter “Bankruptcy Markets”).139

         As a pure policy matter, some practitioners have bemoaned this claims trading

 phenomenon, suggesting that “distressed debt traders may sacrifice the long-term viability of a

 debtor for the ability to realize substantial and quick returns on their investments.”140 Others

 suggest that claims trading in bankruptcy is beneficial, in that it allows creditors of a debtor an

 early exit from a potentially long bankruptcy case, enabling them to save expense and

 administrative hassles, realize immediate liquidity on their claims (albeit discounted), and may




 139
     See also Aaron Hammer & Michael Brandess, Claims Trading: The Wild West of Chapter 11s, AM. BANKR. INST.
 JOURNAL 62 (Jul./Aug. 2010); Chaim Fortgang & Thomas Mayer, Trading Claims and Taking Control of
 Corporations in Chapter 11, 12 CARDOZO L. REV. 1, 25 (1990) (noting that “the first recorded instance of American
 fiduciaries trading claims against insolvent debtors predates all federal bankruptcy laws and goes back to 1790” when
 the original 13 colonies were insolvent, owing tremendous amounts of debt to various parties in connection with the
 Revolutionary War; early American investors purchased these debts for approximately 25% of their par value, hoping
 the claims would be paid at face value by the American government).
 140
     Harvey R. Miller, Chapter 11 Reorganization Cases and the Delaware Myth, 55 VAND. L. REV. 1987, 2016 (2002).
 See also Harvey R. Miller & Shai Y. Waisman, Does Chapter 11 Reorganization Remain a Viable Option for
 Distressed Businesses for the Twenty-First Century?, 78 AM. BANKR. L.J. 153 (2004); Harvey R. Miller & Shai Y.
 Waisman, Is Chapter 11 Bankrupt?, 47 B.C. L. REV. 129 (2005).

                                                          50
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              51 of 105
                                                     Page 437 of 678 PageID 443



 even permit them to take advantage of a tax loss on their own desired timetable.141 On the flipside,

 “[c]aims trading permits an entrance to the bankruptcy process for those investors who want to

 take the time and effort to monitor the debtor and contribute expertise to the reorganization

 process.”142

         So, what are the “rules of the road” here? What does the Bankruptcy Code dictate

 regarding claims trading? The answer is nothing. The Bankruptcy Code itself has no provisions

 whatsoever regarding claims trading. The only thing resembling any regulation of claims trading

 during a bankruptcy case is found at Federal Rule of Bankruptcy Procedure 3001(e)—the current

 version of which went into effect in 1991—and it imposes extremely light regulation—if it could

 even be called that. This rule requires, in pertinent part (at subsection (2)), that “[i]f a claim other

 than one based on a publicly traded note, bond, or debenture” is traded during the case after a proof

 of claim is filed, notice/evidence of that trade must be filed with the bankruptcy clerk by the

 transferee. The transferor shall then be notified and given 21 days to object. If there is an

 objection, the bankruptcy court will hold a hearing regarding whether a transfer, in fact, took place.

 If there is no objection, nothing further needs to happen, and the transferee will be considered

 substituted for the transferor.

         There are several things noteworthy about Rule 3001(e)(2). First, the only party given the

 opportunity to object is the transferor of the claim (presumably, in the situation of a dispute

 regarding whether there was truly an agreement regarding the transfer of the claim). Second, there

 is no need for a bankruptcy court order approving the transfer (except in the event of an objection


 141
     See Bankruptcy Markets, at 70. See also In re Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (“Claims trading allows
 creditors to opt out of the bankruptcy system, trading an uncertain future payment for an immediate one, so long as
 they can find a purchaser.”).
 142
      Bankruptcy Markets at 70 (citing, among other authorities, Edith S. Hotchkiss & Robert M. Mooradian, Vulture
 Investors and the Market for Control of Distressed Firms, 43 J. FIN. ECON. 401, 401 (1997) (finding that “vulture
 investors add value by disciplining managers of distressed firms”).

                                                          51
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              52 of 105
                                                     Page 438 of 678 PageID 444



 by the alleged transferor). Third, the economic consideration paid need not be disclosed to the

 court or anyone. Fourth, there is no requirement or definition of timeliness. Finally, it explicitly

 does not apply with regard to publicly traded debt. This, alone, means that many claims trades are

 not even reported in a bankruptcy case. But it is not just publicly traded debt that will not be

 reflected with a Rule 3001(e) filing. For example, bank debt, in modern times, is often syndicated

 (i.e., fragmented into many beneficial holders of portions of the debt) and only the administrative

 agent for the syndicate (or the “lead bank”) will file a proof of claim in the bankruptcy—thus, as

 the syndicated interests (participations) change hands, and they frequently do, there typically will

 not be a Rule 3001(e) notice filed.143 To be clear here, this syndication-of-bank-debt fact, along

 with the fact that there are financial products whereby bank debt might be carved up into economic

 interests separate and apart from legal title to the loan, means there are many situations in which

 trading of claims during a bankruptcy case is not necessarily transparent or, for that matter, policed

 by the bankruptcy court. This is the world of modern bankruptcy. Most of the claims trading that

 gets reported through a Rule 3001(e) notice is the trading of small vendor claims. And this is all

 regarded as private sale transactions for the most part.144

          Suffice it to say that there is not a wealth of case law dealing with claims trading in a

 bankruptcy context. Perhaps this is not surprising, since it is not prohibited and is mostly a matter

 of private contract between buyer and seller. The case law that does exist seems to arise in

 situations of perceived bad faith of a purchaser—for example, when there was an attempt to control

 voting and/or ultimate control of the debtor through the plan process (not always problematic, but


 143
     Anne Marrs Huber & Thomas H. Young, The Trading of Bank Debt in and Out of Chapter 11, 15 J. BANKR. L.
 & PRAC. 1, 1, 3 (2006).
 144
     Note that Bankruptcy Rule 3001(e) was very different before 1991. Between 1983-1991, the rule required that
 parties transferring claims inform the court that a transfer of claims was taking place and also disclose the
 consideration paid for the transferred claims. A hearing would take place prior to the execution of a trade. Judicial
 involvement was required and resulted in judicial scrutiny of transactions—something that simply does not exist today.

                                                          52
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              53 of 105
                                                     Page 439 of 678 PageID 445



 there are outlier cases where this was found to cross a line and result in consequences such as

 disallowing votes on a plan or even equitable subordination of a claim).145 Another type of case

 that has generated case law is where the purchaser of claims occupied a fiduciary status with the

 debtor.146 Still another type of case that has generated case law is where there is an attempt to

 cleanse claims that might have risks because of a seller’s malfeasance, by trading the claim to a

 new claim holder.147

          The following is a potpourri of the more notable cases that have addressed claims trading

 in different contexts. Most of them imposed no adverse consequences on claims traders: In re

 Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (where a corporation named Garlin, that was owned

 by the individual chapter 7 debtors’ sister and close friend, purchased a $900,000 bank claim for

 $16,500, and there was no disclosure of Garlin’s connections to debtors and no Rule 3001(e)(2)

 notice was filed, the Seventh Circuit reversed the bankruptcy court’s invocation of the doctrine of

 equitable subordination to the claim, stating: “Equitable subordination is generally appropriate

 only if a creditor is guilty of misconduct that causes injury to the interests of other creditors;” the

 Seventh Circuit further stated that it could “put to one side whether the court’s finding of

 inequitable conduct was correct” because even if there was misconduct, it did not harm the other

 creditors, who were in the same position whether the original creditor or Garlin happened to own

 the claim; the Seventh Circuit did note that Garlin’s decision to purchase the original bank

 145
     In re Applegate Prop. Ltd., 133 B.R. 827, 836 (Bankr. W.D. Tex. 1991) (designating votes of an affiliate of the
 debtor that purchased a blocking position to thwart a creditor’s plan because it was done in bad faith); In re Allegheny
 Int’l, Inc., 118 B.R. 282, 289–90 (Bankr. W.D. Pa. 1990) (because of bad faith activities, the court designated votes
 of a claims purchaser who purchased to get a blocking position on a plan). But see In re First Humanics Corp., 124
 B.R. 87, 92 (Bankr. W.D. Mo. 1991) (claims purchased by debtor’s former management company to gain standing to
 file a plan to protect interest of the debtor was in good faith).
 146
     See In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649-650 (Bankr. E.D. La. 1988) (and numerous old cites therein).
 147
     Enron Corp. v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180 (Bankr. S.D.N.Y. 2006),
 vacated, Enron Corp. v. Springfield Assocs., L.L.C. (In re Enron Corp.), 379 B.R. 425 (S.D.N.Y 2007); Enron Corp.
 v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 211 (Bankr. S.D.N.Y. 2005).



                                                           53
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              54 of 105
                                                     Page 440 of 678 PageID 446



 creditor’s claim might have disadvantaged the other creditors if it interfered with the trustee’s own

 potential settlement with the original bank creditor (note that the trustee argued that she had been

 negotiating a deal with bank under which bank might have reduced its claims); however, the trustee

 presented no evidence that any deal with the bank was imminent or even likely; thus, whether such

 a deal could have been reached was speculation; equitable subordination was therefore

 improper.”); Viking Assocs., L.L.C. v. Drewes (In re Olson), 120 F.3d 98, 102 (8th Cir. 1997) (case

 involved the actions of an entity known as Viking in purchasing all of the unsecured claims against

 the bankruptcy estate of two chapter 7 debtors, Hugo and Jeraldine Olson; Viking was a related

 entity, owned by the debtors’ children, and purchased $525,000 of unsecured claims for $67,000;

 while the bankruptcy court had discounted the claims down to the purchase amount and

 subordinated Viking's discounted claims to the claims of the other unsecured creditors, relying on

 section 105 of the Bankruptcy Code, the Eighth Circuit held that the bankruptcy court lacked the

 authority to do this, and, thus, reversed and remanded; the Eighth Circuit noted that in 1991,

 Bankruptcy Rule 3001(e)(2) was amended “to restrict the bankruptcy court's power to inspect the

 terms of” claims transfers. Id. at 101 (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1314 n. 9 (1st

 Cir. 1993)); the text of the rule makes clear that the existence of a “dispute” depends upon an

 objection by the transferor; where there is no objection by the transferor, there is no longer any

 role for the court); Citicorp. Venture Capital, Ltd. v. Official Committee of Unsecured Creditors

 (In re Papercraft Corp.), 160 F.3d 982 (3d Cir. 1998) (large investor who held seat on board of

 directors of debtor and debtor’s parent, and who also had nonpublic information regarding the

 debtor’s value, anonymously purchased 40% of the unsecured claims at a steep discount during

 the chapter 11 case, and then, having obtained a blocking position for plan voting purposes,

 proposed a plan to acquire debtor; the claims purchaser’s claims were equitably reduced to amount



                                                  54
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              55 of 105
                                                     Page 441 of 678 PageID 447



 paid for the claims since investor was a fiduciary who was deemed to have engaged in inequitable

 conduct); Figter Ltd. v. Teachers Ins. & Annuity Ass’n of Am. (In re Figter), 118 F.3d 635 (9th

 Cir. 1997) (Ninth Circuit affirmed bankruptcy court’s ruling that a secured creditor’s purchase of

 21 out of 34 unsecured claims in the case was in good faith and it would not be prohibited from

 voting such claims on the debtor’s plan, pursuant to Bankruptcy Code section 1126(e)); In re

 Lorraine Castle Apartments Bldg. Corp., 145 F.2d 55, 57 & 58 (7th Cir. 1945) (in a case under the

 old Bankruptcy Act, in which there were more restrictions on claims trading, a debtor and two of

 its stockholders argued that the claims of purchasers of bonds should be limited to the amounts

 they paid for them; bankruptcy court special master found, “that, though he did not approve

 generally the ethics reflected by speculation in such bonds,” there was no cause for limitation of

 the amounts of their claims, pointing out that the persons who had dealt in the bonds were not

 officials, directors, or stockholders of the corporation and owed no fiduciary duty to the estate or

 its beneficiaries—rather they were investors or speculators who thought the bonds were selling too

 cheaply and that they might make a legitimate profit upon them; the district court agreed, as did

 the Seventh Circuit, noting that “[t]o reduce the participation to the amount paid for securities, in

 the absence of exceptional circumstances which are not present here, would reduce the value of

 such bonds to those who have them and want to sell them. This would result in unearned,

 undeserved profit for the debtor, destroy or impair the sales value of securities by abolishing the

 profit motive, which inspires purchasers.”); In re Washington Mutual, Inc., 461 B.R. 200 (Bankr.

 Del. 2011), vacated in part, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (discussion of an

 equity committee’s potential standing to pursue equitable subordination or equitable disallowance

 of the claims of certain noteholders who had allegedly traded their claims during the chapter 11




                                                  55
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              56 of 105
                                                     Page 442 of 678 PageID 448



 case while having material non-public information; while bankruptcy court originally indicating

 these were viable tools, court later vacated its ruling on this after a settlement was reached).

          Suffice it to say that the courts have, more often than not, been unwilling to impose legal

 consequences, for an actor’s involvement with claims trading. At most, in outlier-type situations

 during a case, courts have taken steps to disallow claims for voting purposes or to subordinate

 claims to other unsecured creditors for distribution purposes.148 But the case at bar does not present

 facts that are typical of any of the situations in reported cases.

          For one thing, unlike in the reported cases this court has located, there seems to have been

 complete symmetry of sophistication among the claim sellers and claim purchasers here—and

 complete symmetry with HMIT for that matter. All persons involved are highly sophisticated

 financial institutions, hedge funds, or private equity funds. No one was a “mom-and-pop” type

 business or vendor that might be vulnerable to chicanery. The claims ranged from being worth

 $10’s of millions of dollars to $100’s of millions of dollars in face value. And, of course, the

 sellers/transferors of the claims have never shown up, subsequent to the claims trading


 148
     Note that, while some cases suggest that outright disallowance of an unsecured claim, in the case of “inequitable
 conduct” might be permitted (not merely equitable subordination to unsecured creditors)—usually citing to Pepper v.
 Litton, 308 U.S. 295 (1939)—the Fifth Circuit has suggested otherwise. In re Mobile Steel Co., Inc., 563 F.2d 692,
 699-700 (5th Cir. 1977) (cleaned up) (noting that “equitable considerations can justify only the subordination of
 claims, not their disallowance” and also noting that “three conditions must be satisfied before exercise of the power
 of equitable subordination is appropriate[:] (i) The claimant must have engaged in some type of inequitable conduct[;]
 (ii) The misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair advantage on
 the claimant[; and] (iii) Equitable subordination of the claim must not be inconsistent with the provisions of the
 Bankruptcy Act.” In Mobile Steel, the Fifth Circuit held that the bankruptcy judge exceeded the bounds of his equitable
 jurisdiction by disallowing a group of claims and also reversed the subordination of certain claims, on the grounds
 that the bankruptcy court had made clearly erroneous findings regarding alleged inequitable conduct and other
 necessary facts. Contrast In re Lothian Oil Inc., 650 F.3d 539 (5th Cir. 2011) (involving the question of whether a
 bankruptcy court may recharacterize a claim as equity rather than debt; the court held yes, but it has nothing to do
 with inequitable conduct per se; rather section 502(b)’s language that a claim should be allowed unless it is
 “unenforceable against the debtor and property of the debtor, under any agreement or applicable law....” is the relevant
 authority; unlike equitable subordination, recharacterization is about looking at the true substance of a transaction not
 the conduct of a party (if it looks like a duck and quacks like a duck, it’s a duck—i.e., equity); the court indicated that
 section 105 is not a basis to recharacterize debt as equity; it’s a matter of looking at state law to determine if there is
 any basis and looking at the nature of the underlying transaction—as either a lending arrangement or equity infusion.



                                                             56
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              57 of 105
                                                     Page 443 of 678 PageID 449



 transactions, to complain about anything. Everyone involved here is, essentially, a behemoth and

 there is literally no sign of innocent creditors getting harmed. Second, the case at bar is unique in

 that the claims traded here had all been allowed after objections, mediation, and Rule 9019

 settlements during the bankruptcy case. Thus, the amounts that would be paid on them were

 “locked in,” so to speak. There was no risk to a hypothetical claims-purchaser of disallowance,

 offset, or any “claw-back” litigation (or—one might have reasonably assumed—any type of

 litigation). Third, the terms for distributions on unsecured claims had been established in a

 confirmed plan (although the claims were purchased before the effective date of the Plan). Thus,

 there was a degree of certainty regarding return on investment for the Claims Purchasers here that

 was much higher than if the claims had been purchased early, during, or mid-way through the

 case.149 This was post-confirmation, pre-effective date claims purchasing. Interestingly, all three

 of these facts might suggest that little due diligence would be undertaken by any hypothetical

 purchaser. The rules of the road had been set. The court makes this observation because HMIT

 has suggested there is something highly suspicious about the fact that Farallon allegedly told

 Dondero that it did no due diligence before purchasing its claims (leading him to conclude that the

 Claims Purchasers must have purchased their claims based on receiving MNPI from Seery). Not

 only has there been no colorable evidence suggesting that insider information was shared, but the

 lack of due diligence in this context does not reasonably seem suspicious. The claims purchases


 149
       See discussion in BANKRUPTCY MARKETS, at 91:
             Some claims purchasers buy before the bankruptcy petition is filed, some at the beginning of the
             case, and some towards the end. For example, there are investors who look to purchase at low prices
             either when a business is failing or early in the bankruptcy and ride through the case until payouts
             are fairly certain. [Citations omitted.] These investors might be hoping to buy at 30 cents on the
             dollar and get a payout at 70 cents on the dollar. Perhaps if they waited another six months, the
             payout would be 74 cents on the dollar, but the additional 4 cents on the dollar for six months might
             not be a worthwhile return for the time value of the investment. Other investors might not want to
             assume the risk that exists in the early days of a case when the fate of the debtor is much less certain,
             but they would gladly purchase at 70 cents on the dollar at the end of the case to get a payout of 74
             cents on the dollar six months later.

                                                                57
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              58 of 105
                                                     Page 444 of 678 PageID 450



 were almost like passive investments, at this point—there was no risk of a claim objection and

 there was a confirmed plan, with a lengthy disclosure statement that described not only plan

 payment terms and projections, but essentially anything that any investor might want to know.

           To reiterate, here, HMIT seeks leave to assert the following causes of action:

    I.         Breach of Fiduciary Duties (Seery)

    II.        Knowing Participation in Breach of Fiduciary Duties (Claims Purchasers)

    III.       Conspiracy (all Proposed Defendants)

    IV.        Equitable Disallowance (Claims Purchasers)

    V.         Unjust Enrichment and Constructive Trust (all Proposed Defendants)

    VI.        Declaratory Judgment (all Proposed Defendants)

           The court struggles to fathom how any of these proposed causes of action or remedies

 can be applied in the context of: (a) post-confirmation claims trading; (b) where the claims

 have all been litigated and allowed.

           In reflecting on the case law and various Bankruptcy Code provisions, the court can fathom

 the following hypotheticals in which claims trading during a bankruptcy case might be somehow

 actionable:

           Hypothetical #1: The most obvious situation would be if a purchaser of a claim
           files a Rule 3001(e) Notice, and the seller/transferor then files an objection thereto.
           There would then be a contested hearing between purchaser and seller regarding
           the validity of the transfer with the bankruptcy court issuing an appropriate order
           after the hearing on the objection. As noted, there was no objection to the Rule
           3001(e) notices here.
           Hypothetical #2: Alternatively, there could be a breach of contract suit between
           purchaser and seller if one thinks the other breached the purchase-sale agreement
           somehow. Perhaps torts might also be alleged in such litigation. As noted, there is
           no dispute between purchasers and sellers here.
           Hypothetical #3: If there is believed to be fraud in connection with a plan, a party
           in interest might, pursuant to section 1144 of the Bankruptcy Code, move for

                                                     58
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              59 of 105
                                                     Page 445 of 678 PageID 451



       revocation of the plan “at any time before 180 days after the date of entry of the
       order for confirmation” and the court “may revoke such order if and only if such
       order was procured by fraud.” As noted, here HMIT has suggested that the
       “pessimistic” plan projections may have been fraudulent or misrepresentations
       somehow. The time elapsed long ago to seek revocation of the Plan.
       Hypothetical #4: As discussed above, in rare situations (bad faith), during a
       Chapter 11 case, before a plan is confirmed, a claims purchaser’s claim might not
       be allowed for voting purposes. See Sections 1126(e) of the Bankruptcy Code (“the
       court may designate any entity whose acceptance or rejection of such plan was not
       in good faith”). Obviously, in this case, this is not applicable—the claims were
       purchased post-confirmation.
       Hypothetical #5: As discussed above, in rare situations (inequitable conduct), a
       court might equitably subordinate claims to other claims. See Section 510(c) of
       the Bankruptcy Code. But here, HMIT is seeking either: (a) equitable subordination
       of the claims of the Claims Purchaser to HMIT’s Class 10 former equity interest
       (in contravention of the explicit terms of section 510(c)) or, (b) equitable
       disallowance of the claims of the Claims Purchasers (in contravention of Mobile
       Steel).
       Hypothetical #6: Bankruptcy Code section 502(b)(1) and the Fifth Circuit’s
       Lothian Oil case may permit “recharacterization” of a claim from debt to equity in
       certain circumstances, but not in circumstances like the ones in this case. Here, the
       claims have already been adjudicated and allowed (some after mediation, and all
       after Rule 9019 settlement orders). The only way to reconsider a claim in a
       bankruptcy case that has already been allowed is through Bankruptcy Code section
       502(j) (“A claim that has been allowed or disallowed may be reconsidered for
       cause. . . according to the equities of the case.”). The problem here is that
       Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order
       allowing or disallowing a claim against the estate entered without a contest is not
       subject to the one year limitation prescribed in Rule 60(c)” (emphasis added). Here
       there was most definitely “a contest” with regard to all of these purchased claims.
       Thus, it would appear that any effort to have a court reconsider these claims
       pursuant to section 502(j) is untimely—as it has been well beyond a year since
       they were allowed.
       Hypothetical #7: If a party believes “insider trading” occurred there are
       governmental agencies that investigate and police that. Here, the purchased claims
       (which were not based on bonds or certificated equity interests) would not be
       securities so as to fall under the SEC’s purview. Moreover, there was evidence
       that HMIT or Dondero-Related entities requested that the Texas State Securities
       Board investigate the claims trading and the board did not find a basis to pursue
       anyone for wrongdoing.
       Hypothetical #8: The United States Trustee can investigate wrongdoing by a
       debtor or unsecured creditors committee. While the United States Trustee would
       naturally have concerns about members of an unsecured creditors committee (or an
       officer of a debtor-in-possession) adhering to fiduciary duties and not putting their

                                                59
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              60 of 105
                                                     Page 446 of 678 PageID 452



            own interests above those of the estate, here, there are a couple of points that seem
            noteworthy. One, the claims trading activity was post-confirmation so—while
            certain of the claim-sellers may have still been on the unsecured creditors
            committee, as the effective date of the plan had not yet occurred—the
            circumstances are very different than if this had all happened during the early,
            contentious stages of the case. It seems inconceivable that there was somehow a
            disparity of information that might be troubling—the Plan had been confirmed and
            it was available for the world to see. The whole notion of “insider information”
            (just after confirmation here) feels a bit off-point. Bankruptcy practitioners and
            judges sometimes call bankruptcy a fishbowl or use the “open kimono” metaphor
            for good reason. It is generally a very open process. And information-sharing on
            the part of a debtor-in-possession or unsecured creditors committee is intended to
            be robust. See, e.g., Bankruptcy Code sections 521 and 1102(b)(3). In a way,
            HMIT here seems to be complaining about this very situation that the Code and
            Rules have designed.

            In summary, claims trading is a highly unregulated activity in the bankruptcy world.

 HMIT is attempting to pursue causes of action here that, to this court’s knowledge, have never

 been allowed in a context like this.

        B. Back to Standing—Would HMIT Have Standing to Bring the Proposed Claims?

            The Proposed Defendants argue that HMIT lacks standing to bring the Proposed Claims,

 either: (a) derivatively on behalf of the Reorganized Debtor and Claimant Trust, or (b) directly on

 behalf of itself. Thus, they argue that this is one reason that the Motion for Leave should be denied.

            In making their specific standing arguments, the parties analyze things slightly differently:

         The Claims Purchasers focus primarily on HMIT’s lack of constitutional standing but also
 argue that HMIT does not have prudential standing under Delaware trust law to bring the Proposed
 Claims either individually or derivatively. Why do they mention Delaware trust law? Because the
 Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust Act, 12
 Del. C. §§ 3801–29.150

       The Highland Parties’ standing arguments focus almost entirely on HMIT’s lack of
 prudential standing under Delaware trust law to bring the Proposed Claims.

        HMIT argues that the Proposed Defendants “play fast and loose with standing arguments”
 and that HMIT has constitutional standing as a “party aggrieved”151 to bring the Proposed Claims
 on behalf of itself. HMIT also argues that it has standing under Delaware trust law to bring a
 150
       See Proposed Complaint, ¶ 26.
 151
       Proposed Complaint, ¶7.

                                                     60
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              61 of 105
                                                     Page 447 of 678 PageID 453



 derivative action on behalf of the Claimant Trust, and that it not only has standing to bring the
 Proposed Claims derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best
 party to do so.

       1. The Different Types of Standing: Constitutional Versus Prudential

          The parties are addressing two concepts of standing that can sometimes be confused and

 misapplied by both attorneys and judges: constitutional Article III standing, which implicates

 federal court subject matter jurisdiction,152 and the narrower standing concept of prudential

 standing, which does not implicate subject matter jurisdiction but nevertheless might prevent a

 party from having capacity to sue, pursuant to limitations set by courts, statutes or other law.

          Article III constitutional standing works as follows: a plaintiff, as the party invoking

 federal jurisdiction, bears the burden of establishing three elements: (1) that he or she suffered an

 injury in fact that is concrete, particularized, and actual or imminent—not conjectural or

 hypothetical, (2) that there is a causal connection between the injury and the conduct complained

 of, and (3) it must be likely, not speculative, that the injury will be redressed by a favorable

 decision.153 “If the plaintiff does not claim to have suffered an injury that the defendant caused

 and the court can remedy, there is no case or controversy for the federal court to resolve.”154 These

 elements ensure that a plaintiff has “‘such a personal stake in the outcome of the controversy’ as

 to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s remedial

 powers on his behalf.”155




 152
      Article III, Section 2 of the U.S. Constitution gives federal courts jurisdiction over enumerated cases and
 controversies.
 153
     See Thole v. U.S. Bank, N.A., 140 S.Ct. 1615, 1618 (2020)(citing the Supreme Court’s seminal case on the tripartite
 test for Article III constitutional standing, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), where the
 Supreme Court stated that “the irreducible constitutional minimum of standing contains [the] three elements”); see
 also Spokeo, 578 U.S. at 338; Abraugh v. Altimus, 26 F.4th 298, 302 (5th Cir. 2022) (citing id.).
 154
     Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021)(cleaned up).
 155
     Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

                                                           61
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              62 of 105
                                                     Page 448 of 678 PageID 454



          Apart from this minimal constitutional mandate, courts and statutes have set other limits

 on the class of persons who may seek judicial remedies—and this is the concept of prudential

 standing. In its recent opinion in Abraugh v. Altimus,156 the Fifth Circuit set forth a detailed

 analysis of the two types of “standing,” noting that the term “standing” is often “misused” in our

 legal system, which has led to confusion for both attorneys and judges.157 The constitutional

 standing that is necessary for a court to exercise subject matter jurisdiction is broader than

 prudential standing and is only the first hurdle a party must clear before pursuing a claim in federal

 court.

            The Fifth Circuit explained that in addition to Article III constitutional standing, “courts

 have occasionally articulated other ‘standing’ requirements that plaintiffs must satisfy under

 certain conditions, beyond those imposed by Article III,”158 such as the “standing” requirement

 that might be imposed by a statute or by jurisprudence. The Abraugh case was a perfect example

 of the latter.

          Abraugh involved the civil rights statutes that provide, among other things, that “a party

 must have standing under the state wrongful death or survival statutes to bring [a § 1983 cause of

 action]” and noted that these statutes impose additional “standing” requirements that are a matter

 of prudential standing, not constitutional standing.159 In Abraugh, the Fifth Circuit reversed and

 remanded a district court’s dismissal of a § 1983 civil rights cause of action—noting that the

 district court had stated that it was dismissing based on a “lack of subject matter jurisdiction”

 because the plaintiff in that action lacked standing.160 The plaintiff was the mother of a prisoner


 156
     26 F.4th 298.
 157
     Id. at 303.
 158
     Id. at 302 (emphasis added).
 159
     Id. at 302-303.
 160
     Id. at 301.

                                                    62
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              63 of 105
                                                     Page 449 of 678 PageID 455



 who died by suicide while in custody who brought a § 1983 action against Louisiana correctional

 officers and officials. After finding that the plaintiff/mother lacked standing under Louisiana’s

 wrongful death and survival statutes (because there had been a surviving child and wife of the

 prisoner who were the proper parties with capacity to sue), the district court held that it was

 dismissing for lack of subject matter jurisdiction. The Fifth Circuit pointed out that the

 plaintiff/mother may have lacked standing under Louisiana’s wrongful death and survival statutes

 to bring the claim under § 1983, but that type of standing was matter of prudential standing, and

 the plaintiff/mother actually did have Article III constitutional standing (“a constitutionally

 cognizable interest in the life of her son”).161 Thus, the district court’s error was not in finding

 that the plaintiff/mother lacked prudential standing but in improperly conflating the two standing

 concepts when it held that it had lacked subject matter jurisdiction to consider any of the

 plaintiff’s/mother’s amended complaints.162 The Fifth Circuit noted specifically that163

          prudential standing does not present a jurisdictional question, but “a merits
          question: who, according to the governing substantive law, is entitled to enforce the
          right?” As the Federal Rules of Civil Procedure make clear, “an action must be
          prosecuted in the name of the real party in interest.” FED. R. CIV. P. 17(a)(1). And
          a violation of this rule is a failure of “prudential” standing. “Not one of our
          precedents holds that the inquiry is jurisdictional.” It goes only to the validity of
          the cause of action. And “the absence of a valid . . . cause of action does not
          implicate subject-matter jurisdiction.”

          Somewhat relevant to this prudential standing discussion is the fact that, in this bankruptcy

 case, there have been dozens of appeals of bankruptcy court orders by Dondero and Dondero-

 related entities. In connection therewith, both the district court and the Fifth Circuit, in evaluating

 the appellate standing of the appellants, have taken pains to distinguish between the concepts of:


 161
     Id.
 162
     Id. at 301, 303-304. The Fifth Circuit opined that “the district court did not err in describing [the mother’s] inability
 to sue under Louisiana law as a defect of ‘standing[, b]ut it is a defect of prudential standing, not Article III standing”
 thus technically not implicating the federal court’s subject matter jurisdiction. Id. at 303.
 163
     Id. at 304 (cleaned up).

                                                              63
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              64 of 105
                                                     Page 450 of 678 PageID 456



 (a) traditional, constitutional standing, and (b) a type of prudential standing known as the “person

 aggrieved” test, which is applied in the Fifth Circuit in determining whether a party has standing

 to appeal a bankruptcy court order—which it describes as a narrower and “more exacting”

 standard than constitutional standing. As explained in a Fifth Circuit opinion addressing the

 standing of a Dondero-related entity called NexPoint to appeal bankruptcy court orders allowing

 professional fees, the “person aggrieved” standard that is typically applied to ascertain bankruptcy

 appellate standing originated in a statute in the Bankruptcy Act. The Fifth Circuit continued to

 apply it after Congress removed the provision when it enacted the Bankruptcy Code in 1978.164

 Because it is narrower and “more exacting” than the test for Article III constitutional standing, it

 involves application of prudential standing considerations.165 The Fifth Circuit describes the

 “person aggrieved” test for bankruptcy appellant standing as requiring that an appellant show that

 it was “directly and adversely affected pecuniarily by the order of the bankruptcy court,” requiring

 “a higher causal nexus between act and injury than traditional standing . . . that best deals with the

 unique posture of bankruptcy actions.”166 In affirming the district court’s dismissal of NexPoint’s

 appeal of the bankruptcy court’s fee orders, due to NexPoint’s lack of prudential standing under

 the “person aggrieved” test, the court rejected NexPoint’s argument that it had standing to appeal

 164
     NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In re Highland Capital Management, L.P.), No.
 22-10575, 2023 WL 4621466, *2 (5th Cir. July 19, 2023)(citing In re Coho Energy Inc., 395 F.3d 198, 202 (5th Cir.
 2004)(cleaned up)).
 165
     Id. at *1, **4-6 (where the Fifth Circuit repeatedly throughout its opinion refers to the “person aggrieved” test for
 standing in bankruptcy actions as a test for “prudential standing.”); see also Dondero v. Highland Capital Mgt., L.P.,
 Civ. Act. No. 3:20-cv-3390-X, 2002 WL 837208 (N.D. Tex. Mar. 18, 2022)(where the district court, in addressing
 Dondero’s standing to appeal a bankruptcy court order approving a Rule 9019 settlement (between Highland and Acis
 Capital Management GP LLC), notes that “[i]t is substantially more difficult to have standing to appeal a bankruptcy
 court’s order than it is to pursue a typical complaint under Article III of the U.S. Constitution” and that “the Fifth
 Circuit has long recognized that bankruptcy cases’ wide-reaching scope calls for a more stringent standing test.”).
 166
     See id. at *3 (cleaned up). The court quotes its 2018 opinion in Matter of Technicool Sys., Inc. (In re Technicool),
 896 F.3d 382, 385 (5th Cir. 2018), which explains why the “person aggrieved” prudential standing standard is applied
 in bankruptcy actions: “Bankruptcy cases often involve numerous parties with conflicting and overlapping interests.
 Allowing each and every party to appeal each and every order would clog up the system and bog down the courts.
 Given the specter of such sclerotic litigation, standing to appeal a bankruptcy court order is, of necessity, quite
 limited.” Id. (cleaned up).

                                                            64
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              65 of 105
                                                     Page 451 of 678 PageID 457



 because “it meets traditional Article III standing requirements [and that the more exacting]

 prudential standing considerations such as the ‘person aggrieved’ standard” did not survive the

 Supreme Court’s 2014 Lexmark167 opinion,168 which addressed standing issues in the context of

 false advertising claims under the Lanham Act and reminded that courts may not “limit a cause of

 action that Congress has created merely because ‘prudence’ dictates.”169 The Fifth Circuit held

 that the Supreme Court’s reminder in Lexmark did not nullify the “person aggrieved” test for

 prudential standing in bankruptcy appeals, citing its own decision in Superior MRI Services Inc.

 v. Alliance Healthcare Services, Inc.170 (rendered a year after Lexmark was decided), in which it

 held that Lexmark applied only to the circumstances of that case, “rather than broadly modifying—

 or undermining—all prudential standing concerns, such as the one animating the ‘person

 aggrieved’ standard in bankruptcy appeals.”171

         Similarly, in yet another appeal in this bankruptcy case involving three Dondero-related

 entities as appellants (NexPoint, Dugaboy, and HCMFA)—this one an appeal of a bankruptcy

 court order authorizing the creation of an indemnity subtrust and entry into an indemnity trust

 agreement—the district court noted the parties’ confusion about the standing issue, as exemplified

 in the parties’ reference to constitutional standing when they were actually arguing that they had

 prudential standing under the “person aggrieved” test: “Although the parties frame this issue as

 one of constitutional standing . . . they cite case law and present arguments about the prudential




 167
     Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).
 168
     Id. at *2.
 169
     See id. at *4 (cleaned up).
 170
     778 F.3d 502 (5th Cir. 2015).
 171
     NexPoint, 2023 WL 4621466 at *4 (cleaned up). The Fifth Circuit explicitly stated that “Lexmark does not
 expressly reach prudential concerns in bankruptcy appeals and brought no change relevant here.” Id. at *5 (cleaned
 up).

                                                        65
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              66 of 105
                                                     Page 452 of 678 PageID 458



 standing requirement embodied in the ‘person aggrieved’ test.”172 The district court noted that it

 had an “independent obligation to consider constitutional standing before reaching its prudential

 aspects.”173 The district court dismissed the appeal as to Dugaboy and HCMFA for lack of

 standing but, upon concluding that NexPoint did have standing, dismissed the appeal as to it on

 the merits. The Fifth Circuit affirmed.174 Interestingly, the court noted that, while the parties did

 not contest the district court’s determination that NexPoint had standing to pursue the appeal, it

 “may consider prudential standing issues sua sponte.”175 In doing so, the Fifth Circuit recognized

 the distinction between constitutional standing and the prudential “person aggrieved” test applied

 to bankruptcy appeals, which “is, of necessity, quite limited” and “an even more exacting standard

 than traditional constitutional standing,” as it requires an appellant to show that it is “directly,

 adversely, and financially impacted by a bankruptcy order.”176

          In summary, in analyzing whether HMIT would have standing to bring the Proposed

 Claims, this court must first determine whether HMIT would have constitutional standing under

 Article III (which is a subject matter jurisdiction hurdle) and, assuming it does, then additionally

 address whether HMIT would also have prudential standing (i.e., capacity to sue) pursuant to any

 applicable statutes (e.g., Delaware statutes), jurisprudence, or other substantive law that might

 limit who may sue. Notwithstanding HMIT’s argument that it has standing under the “person



 172
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2002 WL 270862, *1 (N.D. Tex. Jan. 18, 2022)(cleaned up). The district court
 dismissed the appeals of two of the appellants, Dugaboy and HCMFA, finding that they lacked both constitutional
 standing and prudential standing under the “person aggrieved” test and affirmed the bankruptcy court’s order after
 finding the third appellant, NexPoint, to have prudential standing under the “person aggrieved” test. Id. at **1-3 and
 *4.
 173
     Id. at *1 n.2.
 174
     Highland Capital Mgt. Fund, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), 57 F.4th 494
 (5th Cir. 2023).
 175
     Id. at 501 (cleaned up).
 176
     Id.

                                                          66
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              67 of 105
                                                     Page 453 of 678 PageID 459



 aggrieved” test177—which, as discussed above, is a matter of prudential standing—this is applied

 only in the context of bankruptcy appellate matters.178 As noted in its most recent opinion

 discussing standing in an appeal from the Highland bankruptcy case, the Fifth Circuit reiterated

 that the “person aggrieved” test is a test for bankruptcy appellate standing, which is narrower than

 a party in interest’s right to be heard in bankruptcy cases in general.179 The court rejected an

 argument that Bankruptcy Code § 1109, which provides that “[a] party in interest . . . may raise

 and may appear and be heard on any issue in a case under this chapter” confers appellate standing,

 noting that “one’s standing to appear and be heard before the bankruptcy court [is] a concept

 distinct from standing to appeal the merits of a decision” and that the “person aggrieved” test for

 bankruptcy appellate standing is narrower than the test for determining one’s standing to appear

 and be heard in a bankruptcy proceeding.180

          Thus, the court will now analyze whether HMIT would, at a minimum, have constitutional

 standing to bring the Proposed Claims.

     2. HMIT Would Lack Article III Constitutional Standing to Bring the Proposed Claims.

          As noted above, the Supreme Court and the Fifth Circuit have made clear that constitutional

 standing is necessary for a court to exercise subject matter jurisdiction. It is only the first hurdle a

 party must clear before pursuing a claim in federal court. HMIT, as plaintiff, would bear the


 177
     HMIT insists that it has constitutional standing to bring claims on its individual behalf “as an aggrieved party.” See
 Reply, ¶ 7.
 178
     HMIT’s argument in this matter that it has constitutional standing because it is a “party aggrieved” incorrectly
 conflates the prudential bankruptcy appellate “person aggrieved” test with the broader test that is applied to
 constitutional standing. The court is not being critical of this mistake. As noted at supra note 149, the Fifth Circuit
 in Abraugh pointed out that courts and attorneys alike have created confusion by misusing the term “standing” when
 they equate a lack of “standing,” in all instances, with a lack of subject matter jurisdiction, even when the party is
 found to lack only prudential standing. Thus, HMIT is not alone in its confusion over the two different concepts of
 standing.
 179
     See NexPoint, 2023 WL 4621466 at *6.
 180
     Id. at *6 (cleaned up)(“Because Section 1109(b) expands the right to be heard [in a bankruptcy proceeding] to a
 wider class than those who qualify under the ‘person aggrieved’ standard, courts considering the issue have concluded
 that merely being a party in interest is insufficient to confer appellate standing.”)(emphasis added).

                                                            67
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              68 of 105
                                                     Page 454 of 678 PageID 460



 burden of establishing: (1) that it suffered an injury in fact that is concrete, particularized, and

 actual or imminent—not conjectural or hypothetical, (2) that there is a causal connection between

 the injury and the conduct complained of, and (3) it must be likely, not speculative, that the injury

 will be redressed by a favorable decision.181

         Concrete and Particularized; Actual or Imminent. As the Supreme Court made clear in the

 Lujan case, the injury in fact element requires a showing that the injury was “concrete and

 particularized” and “actual or imminent, not conjectural or hypothetical.”182 The Supreme Court

 in the Spokeo case expounded on the “concrete and particularized” requirements of the “injury in

 fact” element. Particularization requires a showing that the injury “must affect the plaintiff in a

 personal and individual way,” but while particularization is necessary, it alone is “not sufficient,”

 because an injury in fact must also be “concrete.”183 And, concreteness is “quite different from

 particularization.”184 A “concrete” injury must be “real,” and “not abstract,” though it does not

 mean that the injury must be “tangible,” as the injury can be intangible and nevertheless be

 concrete.185 In addition to the concreteness and particularization requirements, an injury in fact

 must be “actual or imminent” such that “allegations of injury that is merely conjectural or

 hypothetical do not suffice to confer standing.”186          “Although imminence is concededly a

 somewhat elastic concept, it cannot be stretched beyond its purpose, which is to ensure that the

 alleged injury is not too speculative for Article III purposes—that the injury is certainly




 181
     See supra note 153.
 182
     Lujan, 504 U.S. at 560 (cleaned up).
 183
     Spokeo, 578 U.S. at 339.
 184
     Id. at 340.
 185
     Id.
 186
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

                                                         68
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              69 of 105
                                                     Page 455 of 678 PageID 461



 impending”; “allegations of possible future injury are not sufficient.”187

          Traceability - Causal Connection. As to the second element—that the injury was caused

 by the defendant—the Supreme Court in Lujan further described it as requiring a showing that

 “the injury has to be fairly traceable to the challenged action of the defendant.”188 The “fairly

 traceable” test requires an examination of “the causal connection between the assertedly unlawful

 conduct and the alleged injury.”189

          Redressability. The third element—redressability—requires the court to examine the

 connection “between the alleged injury and the judicial relief requested.”190 “Relief that does not

 remedy the injury suffered cannot bootstrap a plaintiff into federal court.”191 “[A] court must

 determine that there is an available remedy which will have a ‘substantial probability’ of redressing

 the plaintiff’s injury.”192

          The Claims Purchasers argue that HMIT lacks constitutional standing to pursue the claims

 asserted in the Proposed Complaint because: (i) neither HMIT nor the Bankruptcy Estate was

 injured by the Claim Purchasers’ acquisition of the claims; and (ii) the Proposed Complaint lacks

 a theory of cognizable damages to the Reorganized Debtor, the Claimant Trust, and/or the

 beneficiaries of the Claimant Trust.193


 187
     Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)(cleaned up); see also Abdullah v. Paxton, 65 F.4th 204,
 208 (5th Cir. 2023)(“[Injury] cannot be speculative, conjectural, or hypothetical [and] [a]llegations of only a ‘possible’
 future injury similarly will not suffice.”)(cleaned up).
 188
     Lujan, 504 U.S. at 560-61 (cleaned up).
 189
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).
 190
      Id. (noting “it is important to keep the [‘fairly traceable’ and ‘redressability’] inquiries separate if the
 ‘redressability’ component is to focus on the requested relief.”).
 191
     Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).
 192
     City of Los Angeles v. Lyons, 461 U.S. 95, 129 n.20 (1983)(Marshall, J., dissenting)(cleaned up); see also Ondrusek
 v. U.S. Army Corps of Engineers, Civ. Act. No. 3:22-cv-1874-N, 2023 WL 2169908, at *5 (“Plaintiffs have not
 demonstrated that any available remedy would be sufficiently likely to relieve their alleged economic losses. Without
 a showing of redressability, those harms also cannot support Plaintiff’s Article III standing.”).
 193
     As noted earlier, certain of the Proposed Defendants—the Highland Parties—do not focus on HMIT’s lack of
 constitutional standing to pursue the Proposed Claims against them, but on its lack of prudential standing under


                                                            69
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              70 of 105
                                                     Page 456 of 678 PageID 462



          The court agrees with the Claims Purchasers’ argument here. What is HMIT’s concrete

 and particularized injury—that is “real” and is not abstract?                       That is not conjectural or

 hypothetical? That is actual or imminent?

          Recall that, under the Plan, HMIT holds a Class 10 contingent interest in the Claimant

 Trust that only realizes value if all creditors are paid in full with interest. HMIT alleges the

 following injury: it has suffered a devaluation of its unvested Contingent Claimant Trust Interest

 by virtue of the alleged over-compensation of Seery as the Claimant Trustee—Seery’s alleged

 over-compensation depletes the assets in the Claimant Trust available for distribution to creditors

 under the Plan, such that there is less likely a chance that HMIT ultimately receives any

 distributions on account of its Class 10 Contingent Claimant Trust Interest.194 Yet, HMIT testified,

 through both witnesses Dondero and Patrick, that it had no personal knowledge of what Seery’s

 actual compensation is under the CTA at the time HMIT filed its Motion for Leave. It was clear

 that HMIT’s allegations regarding Seery’s “excessive” compensation were based entirely on

 Dondero’s pure speculation. In reality, Seery’s base salary is exactly what the bankruptcy court

 approved during the bankruptcy case by a court order (after negotiations between Seery and the

 Committee). The CTA now further governs his compensation. The CTA, which was publicly

 filed in advance of the Plan confirmation hearing and approved by this court as part of the Plan


 applicable law. Because constitutional standing is a matter of subject matter jurisdiction, the court has an independent
 duty to determine whether HMIT would have constitutional standing to pursue the Proposed Claims in federal court.
 The issue cannot be forfeited or waived by a party. See Abraugh v. Y & H Corp., 546 U.S. 500, 514 (2006)(“[S]ubject-
 matter jurisdiction, because it involves a court’s power to hear a case, can never be forfeited or waived. Moreover,
 courts . . . have an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
 of a challenge from any party.”)(cleaned up); Abraugh, 26 F.4th at 304 (“It is our constitutional duty, of course, to
 decline subject matter jurisdiction where it does not exist—and that is so whether the parties challenge Article III
 standing or not.”)(cleaned up).
 194
     At the June 8 Hearing, HMIT’s counsel was unable to identify any other injury HMIT has alleged to have suffered.
 HMIT’s counsel acknowledged that claims trades, in and of themselves, would not “involve injury to the Reorganized
 Debtor and to the Claimant Trust” and that claims trades are “normally outside the purview of the bankruptcy court”
 but that “[h]ere, we have alleged . . . . injury [that] takes the form of unearned excessive fees that Mr. Seery has
 garnered as a result of his relationship and arrangements, as we have alleged, with the Claims Purchasers.” June 8
 Hearing Transcript, 67:16-68:8. HMIT can only point to Seery’s excess compensation as injury.

                                                           70
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              71 of 105
                                                     Page 457 of 678 PageID 463



 (which has been affirmed by the Fifth Circuit), specifically provides that Seery’s post-Effective

 Date compensation would include a “Base Salary” (again, same as during the bankruptcy case), a

 “success fee,” and “severance.”195 The CTA discussed the role of the Committee and then the

 CTOB in setting the success fee and severance and the like. A fully executed copy of the CTA

 was admitted into evidence at the June 8 Hearing. HMIT is essentially arguing that its injury (i.e.,

 diminished likelihood of realizing value on its Contingent Claimant Trust Interest) stems from a

 court-sanctioned and creditor-approved process for approving compensation to Seery. Moreover,

 HMIT has failed to plead facts sufficient to show that, even if Seery received excessive

 compensation and that compensation is ordered to be returned, HMIT’s Contingent Claimant Trust

 Interest will ever vest. The district court and the Fifth Circuit in various appeals by Dugaboy,

 another Dondero-related entity that, similar to HMIT, was a holder of a limited partnership interest

 in Highland whose interests were terminated as of the Effective Date of the Plan in exchange for

 a Contingent Claimant Trust Interest, have repeatedly rejected Dugaboy’s claims to have standing

 based on the speculative nature of its alleged injuries as a contingent beneficiary of the Claimant

 Trust under the Plan. For example, the Fifth Circuit affirmed the district court’s dismissal of an

 appeal by Dugaboy of the bankruptcy court’s order authorizing the creation of an indemnity

 subtrust, wherein Judge Fitzwater found that, in addition to lacking prudential standing under the



 195
     The Disclosure Statement that was approved by this court, after notice and a hearing, on November 24, 2020,
 provided that “The salient terms of each Trustee’s employment, including such Trustee’s duties and compensation
 shall be set forth in the Claimant Trust Agreement . . . .” The CTA was part of a Plan Supplement (as amended) that
 was filed in advance of the confirmation hearing and provided:
                     Compensation. As compensation for any services rendered by the Claimant Trustee in
           connection with this Agreement, the Claimant Trustee shall receive compensation of $150,000 per
           month (the “Base Salary”). Within the first forty-five days following the Confirmation Date, the
           Claimant Trustee, on the one hand, and the Committee, if prior to the Effective Date, or the
           Oversight Board, if on or after the Effective Date, on the other, will negotiate go-forward
           compensation for the Claimant Trustee which will include (a) the Base Salary, (b) a success fee, and
           (c) severance.
 See Highland Ex. 38, at § 3.13(a)(i).

                                                         71
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              72 of 105
                                                     Page 458 of 678 PageID 464



 “person aggrieved” test to appeal the bankruptcy court’s order, Dugaboy lacked constitutional

 standing “because they have not identified any injury fairly traceable to the Order: the injuries

 identified are speculative at best and nonexistent at worst.”196 HMIT’s allegations of injury are,

 without a doubt, “merely conjectural or hypothetical” and are only speculative of possible future

 injury if its Contingent Claimant Trust Interest ever vests.”197 The court finds that HMIT would

 not meet the “concrete and particularized” or the “actual or imminent” requirements for an “injury

 in fact,” and, thus, would lack constitutional standing to pursue the Proposed Claims.

          With regard to the second requirement of constitutional standing—whether HMIT could

 show “traceability” with respect to the Claims Purchasers and/or Seery (i.e., a “causal connection

 between the assertedly unlawful conduct and the alleged injury”198), as noted above, there is only

 a speculative injury. Even if there is unlawful conduct asserted (i.e., sharing of MNPI to Claims

 Purchasers who then, as a quid pro quo, rubber stamped excessive compensation for Seery), there

 is nothing other than a hypothetical theory of an alleged injury (i.e., an allegedly less likelihood of

 a distribution on a Contingent Claimant Trust Interest).

          With respect to the third requirement of constitutional standing—whether HMIT can show

 “redressability” (i.e., that it is likely, not speculative, that the injury can be redressed by a favorable




 196
     Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
 Civ. Act. No. 3:21-cv-1895-D, 2022 WL 270862, *1 n.2 (N.D. Tex. Jan. 28, 2022), aff’d 57 F.4th 494 (5th Cir.
 2023)(emphasis added); see also Judge Scholer’s opinion in Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re
 Highland Capital Mgt., L.P.), Civ. Act. No. 3:21-cv-2268-S, 2022 WL 3701720, *3 (N.D. Tex. Aug. 8, 2022)(cleaned
 up), aff’d per curium, No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023) (where Dugaboy had argued that “its
 pecuniary interest is . . . a potential recovery under the Plan as one of Debtor's former equity holders” and that “it
 ha[d] standing as a ‘contingent beneficiary’ under the Plan, or a beneficiary who will be entitled to payment after all
 creditors are paid in full,” and Judge Scholer stated, “This assertion is premised on the assumption that Dugaboy's
 0.1866% pre-bankruptcy limited partnership interest in Debtor—which was extinguished under the Plan—makes it a
 contingent beneficiary of the creditor trust created under the Plan. . . . [S]uch a ‘speculative prospect of harm is far
 from a direct, adverse, pecuniary hit’ as required to confer standing.”
 197
     Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).
 198
     Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).

                                                           72
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              73 of 105
                                                     Page 459 of 678 PageID 465



 decision), there are multiple problems here.199 The major remedy sought here is the equitable

 disallowance of the allowed Purchased Claims (and disgorgement and/or constructive trust of amounts

 paid or owed to the Claim Purchasers on account of their claims). There is no such remedy

 available here. As noted earlier, there is a similar concept of equitable subordination of a claim

 to another claim, or of an interest to another interest, pursuant to Bankruptcy Code section 510(c).

 But under the literal terms of section 510(c), claims cannot be subordinated to interests.

 Moreover, the Fifth Circuit noted in the Mobile Steel case,200 that equitable disallowance of a

 claim (as opposed to equitable subordination of a claims) is not an available remedy. Bankruptcy

 Code section 502(b)(1) and the Fifth Circuit’s Lothian Oil case might permit “recharacterization”

 of a claim from debt to equity in certain circumstances—but not based on inequitable conduct but

 rather on the nature of a financial transaction. In any event, here, the claims have already been

 adjudicated and allowed (some after mediation, and all after Rule 9019 settlement orders). The

 only way to reconsider a claim in a bankruptcy case that has already been allowed is through

 Bankruptcy Code section 502(j) (“A claim that has been allowed or disallowed may be

 reconsidered for cause. . . according to the equities of the case.”). As noted earlier, the problem

 here is that Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order allowing

 or disallowing a claim against the estate entered without a contest is not subject to the one year

 limitation prescribed in Rule 60(c)” (emphasis added). As further noted earlier, here there was

 most definitely a “contest” with regard to all of these purchased claims. Thus, it would appear


 199
     See supra notes 182-184 and accompanying text. The court will note that, as discussed supra note 141 and pages
 71-72, the remedy of equitable subordination (as to the Claims Purchasers) would not redress HMIT’s alleged injury
 (because equitable subordination of claims to interests is not an available remedy in the Fifth Circuit and thus
 subordination of the Purchased Claims to other claims would not change HMIT’s distributions from the Claimant
 Trust, if any), and because outright disallowance of all or part of the already allowed Purchased Claims is not an
 available remedy either, HMIT would not be able to meet the “redressability” requirement with respect to the Claims
 Purchasers.
 200
     In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).

                                                         73
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              74 of 105
                                                     Page 460 of 678 PageID 466



 that any effort to have a court reconsider and potentially disallow these claims pursuant to

 section 502(j) is untimely—as it has been well beyond a year since they were allowed.

        3. HMIT Would Also Lack Prudential Standing to Bring the Proposed Claims.

            Even if HMIT would have constitutional standing to bring the Proposed Claims in an

 adversary proceeding filed in the bankruptcy court, the Proposed Claims would still be barred if

 HMIT would lack prudential standing to bring them under applicable state or federal law. HMIT

 argues that it does have prudential standing under both federal bankruptcy law and Delaware law

 to pursue the Proposed Claims derivatively and also to bring the Proposed Claims in its individual

 capacity.

            With regard to “federal bankruptcy law,” HMIT argues that it has standing pursuant to: (a)

 Rule 23.1 of the Federal Rules of Civil Procedure, pertaining to derivative actions, which “applies

 to this proceeding pursuant to” Rule 7023.1 of the Federal Rules of Bankruptcy Procedure, and (b)

 Louisiana World Exposition v. Federal Insurance Co. (“LWE”),201 the Fifth Circuit’s leading case

 addressing when a creditors committee may be granted standing to bring causes of action on behalf

 of a bankruptcy estate. But, federal bankruptcy law does not confer standing where the plaintiff

 otherwise lacks standing under applicable state law. In other words, whether HMIT would have

 prudential standing to sue under Delaware law is dispositive of the issue, regardless of the forum.

 Rule 23.1 “speaks only to the adequacy of the . . . pleadings,” and “cannot be understood to

 ‘abridge, enlarge, or modify any substantive right,’”202 including a right (or lack thereof) to bring

 a derivative action under the substantive law of Delaware. Additionally, HMIT’s reliance on LWE

 is misplaced: LWE permits creditors, in certain circumstances during a bankruptcy case, to “file




 201
       858 F.2d 233 (5th Cir. 1988).
 202
       Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)(quoting 28 U.S.C. § 2072(b)).

                                                           74
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              75 of 105
                                                     Page 461 of 678 PageID 467



 suit on behalf of a debtor-in-possession or a trustee”203 and does not apply to a party’s right to sue,

 derivatively, on behalf of the Reorganized Debtor or any entity that is the assignee of the former

 bankruptcy estate’s assets. Upon confirmation of the Plan, the bankruptcy estate of Highland

 ceased to exist;204 Highland is no longer a debtor-in-possession but a reorganized debtor, and the

 Claimant Trust is a new entity created under the Plan and Claimant Trust Agreement. Even if LWE

 did apply in this post-confirmation context, it supports the application of Delaware law to the issue

 of prudential standing and does not supersede state-law requirements for standing. In LWE, before

 addressing the requirements a creditors’ committee must meet to sue derivatively on behalf of a

 bankruptcy estate as a matter of federal bankruptcy law, the Fifth Circuit conducted a lengthy

 analysis to determine “as a threshold issue” whether the creditors’ committee in that case could

 assert its claims under Louisiana law.205 The court specifically addressed whether the creditors’

 committee could pursue a derivative action under Louisiana law and concluded that “there is no

 bar in Louisiana law to actions brought by or in the name of a corporation against the directors and

 officers of the corporation which benefit only the creditors of the corporation; indeed, Louisiana

 law specifically recognizes such actions.”206 So, even under LWE (which the court does not think

 applies in this post-confirmation context), if HMIT would be barred from bringing a derivative

 action on behalf the Reorganized Debtor or Claimant Trust under state law, the analysis stops

 there.207 Thus, the court looks to Delaware law to determine if HMIT would have prudential

 standing to pursue the derivative claims on behalf the Reorganized Debtor and the Claimant Trust.


 203
     LWE, 858 F.2d at 247.
 204
     See In re Craig’s Stores, 266 F.3d 388, 390 (5th Cir. 2001).
 205
     LWE, 858 F.2d at 236-45.
 206
     Id. at 243.
 207
     See In re Dura Automotive Sys., LLC, No. 19-123728 (Bankr. D. Del. June 10, 2020), Docket No. 1115 at 46 (where
 the Delaware bankruptcy court denied the creditors’ committee standing to sue derivatively on behalf of a Delaware
 LLC because the committee lacked standing under the Delaware LLC Act, stating, “To determine that the third party


                                                         75
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              76 of 105
                                                     Page 462 of 678 PageID 468



         HMIT acknowledges that both the Reorganized Debtor and the Claimant Trust are

 organized under Delaware law, and thus the cause of action against Seery alleging breach of

 fiduciary duties to the Reorganized Debtor and the Claimant Trust are governed by Delaware law

 under the “Internal Affairs Doctrine.”208 In addition, because HMIT’s breach of fiduciary duties

 claim is governed by Delaware law, its aiding and abetting theory of liability as to the Claims

 Purchasers is also governed by Delaware law.209 For the reasons set forth below, the court finds

 that HMIT would lack prudential standing under Delaware law to bring the claims set forth in the

 Proposed Complaint, derivatively, on behalf of either the Claimant Trust or the Reorganized

 Debtor.

              a) First, HMIT Would Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Claimant Trust.

         The Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust

 Act, 12 Del. C. §§ 3801–29,210 and “to proceed derivatively against a Delaware statutory trust, a

 plaintiff has the burden of satisfying the continuous ownership requirement” such that “the plaintiff

 must be a beneficial owner” continuously from “the time of the transaction of which the plaintiff

 complains” through “the time of bringing the action.”211 This requirement is “mandatory and

 exclusive” and only “a beneficial owner” “has standing to bring a derivative claim on behalf of the



 may bring the claim under the derivative basis and, thus, step into the shoes of the debtor to pursue them, the Court
 must look to the law of the debtors’ state of incorporation or formation.”).
 208
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 209
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).
 210
     See Proposed Complaint, ¶ 26.
 211
     Hartsel v. Vanguard Grp., Inc., 2011 WL 2421003, at *19 n.123 (Del. Ch. June 15, 2011), aff’d 38 A.3d 1254 (Del.
 2012); 12 Del C. § 3816(b).

                                                          76
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              77 of 105
                                                     Page 463 of 678 PageID 469



 Trust.”212 The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust

 and, therefore, would lack standing to bring derivative claims on behalf of the Claimant Trust.

 HMIT argues to the contrary: that it is currently, and was at all relevant times, a “beneficial owner”

 of the Claimant Trust under Delaware trust law such that it would have standing to bring derivative

 claims on behalf of the Claimant Trust if it were allowed to proceed with the filing of the Proposed

 Complaint. The disagreement turns on the nature of HMIT’s interest under the Plan and the

 Claimant Trust Agreement and whether HMIT, as a holder of such interest, would be considered

 a “beneficial owner” of the Claimant Trust under Delaware trust law.

          As noted, pursuant to the Plan, HMIT’s former limited partnership interest in Highland was

 cancelled as of the Effective Date in exchange for its pro rata share of a “Contingent Claimant

 Trust Interest,” as defined under the Plan.213 HMIT argues that its Contingent Claimant Trust

 Interest makes it a contingent beneficiary of the Claimant Trust, which makes it a present

 “beneficial owner” under Delaware trust law.

          The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust;

 rather, the “beneficial owners” of the Claimant Trust are the “Claimant Trust Beneficiaries,”214

 which are defined in the Plan and the CTA as “the Holders of Allowed General Unsecured Claims”

 (which are in Class 8 under the Plan) and “Holders of Allowed Subordinated Claims” (which are

 in Class 9 under the Plan); 215 HMIT, a holder of a Class 10 interest under the Plan, is neither.


 212
     In re Nat’l Coll. Student Loan Tr. Litig., 251 A.3d 116, 191 (Del. Ch. 2020) (citing CML V, LLC v. Bax, 28 A.3d
 1037, 1042 (Del. 2011)). HMIT acknowledges this requirement in its Reply: “Delaware statutory trust law provides
 that a plaintiff in a derivative action on behalf of a trust must be a beneficial owner at the time of the action and at the
 time of the transaction.” Reply, ¶ 19 (citing 12 Del C. § 3816).
 213
      See Plan Art. III.H.10 and Art. I.B.44.
 214
      Section 2.8 of the CTA provides, “The Claimant Trust Beneficiaries shall be the sole beneficiaries of the Claimant
 Trust . . . .” HMIT Ex. 26, § 2.8.
 215
      See Plan Art. I.B.44 (“‘Claimant Trust Beneficiaries’ means the Holders of Allowed General Unsecured Claims,
 Holders of Allowed Subordinated Claims, including, upon Allowance, Disputed General Unsecured Claims and
 Disputed Subordinated Claims that become Allowed following the Effective Date, and, only upon certification by the


                                                             77
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              78 of 105
                                                     Page 464 of 678 PageID 470



 HMIT, as the holder of a “Contingent Claimant Trust Interest,” has only an unvested contingent

 interest in the Claimant Trust and, as such, is not a “beneficial owner” of the Claimant Trust for

 standing purposes under Delaware trust law. HMIT argues that it “should be treated as a vested

 Claimant Trust Beneficiary due to [the Proposed Defendants’] wrongful conduct and considering

 the current value of the Claimant Trust Assets before and after the relief requested herein.”216 The

 court disagrees.

          HMIT’s status as a “beneficiary” of the Claimant Trust is defined by the CTA itself, pure

 and simple. The CTA specifically provides that “Contingent Trust Interests” “shall not have any

 rights under this Agreement” and will not “be deemed ‘Beneficiaries’ under this Agreement,”

 “unless and until” they vest in accordance with the Plan and the CTA. It is undisputed that HMIT’s

 Contingent Trust Interest has not vested under the terms of the Plan and the CTA, and the court

 does not have the power to equitably deem HMIT’s Contingent Trust Interest to be vested based

 on HMIT’s unsupported allegation of wrongdoing on the part of Seery, the Claimant Trustee.

 Thus, the court finds that HMIT is not a “beneficial owner” of the Claimant Trust and, therefore,

 lacks prudential standing under Delaware law to bring derivative claims on behalf of the Claimant

 Trust.217




 Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant Trust Agreement
 and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of Allowed Class B/C Limited Partnership
 Interests, and Holders of Allowed Class A Limited Partnership Interests.”); CTA § 1.1(h). See also, CTA, 1 at n.2
 (“For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
 B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
 that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
 in accordance with the terms and conditions set forth herein and in the Plan.”). HMIT Ex. 26.
 216
     Proposed Complaint ¶ 24.
 217
     See Nat’l Coll., 251 A.3d at 190–92 (dismissing creditors’ derivative claims because they were not “beneficial
 owners of the Trusts”); Hartsel, 2011 WL 2421003, at *19 n.123 (dismissing derivative claims by investors that “no
 longer own shares” because “those investors no longer have standing to pursue a derivative claim”).

                                                            78
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              79 of 105
                                                     Page 465 of 678 PageID 471



              b) HMIT Would Likewise Lack Prudential Standing Under Delaware Law to Bring
                 Derivative Actions on behalf of the Reorganized Debtor.


          HMIT acknowledges that the Reorganized Debtor, Highland Capital Management, L.P., is

 a Delaware limited liability partnership governed by the Delaware Limited Partnership Act, 6 Del.

 C. § 17-101, et seq.218 To bring “a derivative action” on behalf of a limited partnership, “the

 plaintiff must be a partner or an assignee of a partnership interest” continuously from “the time of

 the transaction of which the plaintiff complains” through “the time of bringing the action.”219

          HMIT is not a partner, general or limited, of the Reorganized Debtor limited partnership.

 HMIT was a limited partner in the original debtor (specifically, a holder of Class B/C Limited

 Partnership interests in Highland), but that limited partnership interest was extinguished on August

 11, 2021 (the Effective Date of the Plan) per the terms of the Plan, and HMIT does not own any

 partnership interest in the newly created Reorganized Debtor limited partnership.220 Because

 HMIT would not hold a partnership interest in the Reorganized Debtor at “the time of bringing the

 action,” it “lacks derivative standing” to bring claims “on the partnership’s behalf.”221 HMIT

 likewise cannot satisfy “the continuous ownership requirement”; when HMIT’s limited

 partnership interest in the original Debtor was cancelled on the Plan’s Effective Date, HMIT “los[t]

 standing to continue a derivative suit” on behalf of the Debtor.222 Finally, to the extent HMIT


 218
     Proposed Complaint ¶ 25.
 219
     6 Del. C. § 17-1002; see Tow v. Amegy Bank, N.A., 976 F. Supp. 2d 889, 904 (S.D. Tex. 2013) (“The [Delaware]
 partnership act facially bars any party other than a limited partner from suing derivatively. . . . Delaware courts
 historically have interpreted the provisions as giving the partners exclusive rights to sue for breach of another party’s
 fiduciary duties to them.”) (quoting CML V, LLC v. Bax, 6 A.3d 238, 245 (Del. Ch. 2010), aff’d 28 A.3d 1037 (Del.
 2011)); El Paso Pipeline GP Co. v. Brinckerhoff, 152 A.3d 1248, 1265 n.87 (Del. 2016) (“The statutory foundation
 for the continuous ownership requirement in the corporate realm is echoed in the limited partnership context.”) (citing
 6 Del. C. § 17-211(h)).
 220
     See Plan Art. IV.A.
 221
     Tow, 976 F. Supp. 2d at 904 (dismissing derivative claims by creditor on behalf of partnership for lack of standing).
 222
     El Paso, 152 A.3d at 1265 (cleaned up) (dismissing derivative action for lack of standing where plaintiff’s
 partnership interest was extinguished by a merger transaction); see also Schmermerhorn v. CenturyTel, Inc. (In re


                                                            79
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              80 of 105
                                                     Page 466 of 678 PageID 472



 seeks to bring a “double derivative” action on behalf of the Claimant Trust based on claims

 purportedly held by its wholly owned subsidiary, the Reorganized Debtor, HMIT lacks standing.

 A “double derivative” action is a suit “brought by a shareholder of a parent corporation to enforce

 a claim belonging to a subsidiary that is either wholly owned or majority controlled.”223 And, under

 Delaware law, “parent level standing is required to enforce a subsidiary’s claim derivatively.”224

 Because HMIT would lack derivative standing to bring claims on behalf of the parent Claimant

 Trust,225 it also would lack standing to bring a double derivative action.

               c) Finally, HMIT Would Also Lack Prudential Standing under Applicable Law to
                  Bring the Proposed Claims As Direct Claims.

          HMIT argues that it has “direct” standing to pursue the Proposed Claims on behalf of itself,

 individually.226 But just because HMIT asserts that some or even all of the Proposed Claims are

 direct, not derivative claims, does not make it so: “a claim is not ‘direct’ simply because it is

 pleaded that way.”227 Rather, in determining whether claims are direct or derivative, a court must

 “look at the substance of the Petition, and the nature of the wrongs alleged therein, rather than the

 Plaintiffs’ characterization.”228 And, under Delaware law, “whether a claim is solely derivative or



 SkyPort Global Commcn’s, Inc.), 2011 WL 111427, at *25–26 (Bankr. S.D. Tex. Jan. 13, 2011) (holding that pre-
 petition shareholders “lack standing to bring a derivative claim” under Delaware law because they “had their equity
 interests in the company extinguished pursuant to the merger under the Plan”); In re WorldCom, Inc., 351 B.R. 130,
 134 (Bankr. S.D.N.Y. 2006) (“[T]he cancellation of WorldCom shares under the Plan … prevents the required
 continuation of shareholder status through the litigation.”) (cleaned up).
 223
     Lambrecht v. O’Neal, 3 A.3d 277, 282 (Del. 2010).
 224
     Sagarra, 34 A.3d at 1079–81 (capitalization omitted) (citing Lambrecht, 3 A.3d at 282).
 225
     See supra pp. 80-82.
 226
     See e.g., Motion for Leave ¶ 10 (“HMIT has individual standing to bring this action because Seery owed fiduciary
 duties directly to HMIT at that time . . . .”); id. ¶ 67 (arguing that “HMIT has [d]irect [s]tanding”); Proposed Complaint
 ¶ 24 (“HMIT has constitutional standing and capacity to bring these claims both individually and derivatively.”).
 227
     Schmermerhorn, 2011 WL 111427, at *26 (quoting Gatz v. Ponsoldt, 2004 WL 3029868 at *7 (Del. Ch. Nov. 5,
 2004)).
 228
     See id. (citing Armstrong v. Capshaw, Goss & Bowers LLP, 404 F.3d 933, 936 (5th Cir. 2005)); see also Moore v.
 Simon Enters., Inc., 919 F.Supp. 1007, 1009 (N.D. Tex. 1995)(“The determination of whether a claim is a derivative
 claim or a direct claim is made by reference to the nature of the wrongs alleged in the complaint, and is not limited by
 a [party’s] characterization or stated intention.”)(cleaned up).

                                                            80
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              81 of 105
                                                     Page 467 of 678 PageID 473



 may continue as a dual-natured claim ‘must turn solely on the following questions: (1) who

 suffered the alleged harm (the corporation or the suing stockholders, individually); and (2) who

 would receive the benefit of any recovery or other remedy (the corporation or the stockholders,

 individually)?’”229 “In addition, to prove that a claim is direct, a plaintiff ‘must demonstrate that

 the duty breached was owed to the stockholder and that he or she can prevail without showing an

 injury to the corporation.’”230 Similarly, in the bankruptcy context, whether a creditor can assert

 a claim directly or whether the claim belongs to the estate turns on the nature of the injury for

 which relief is sought: “[i]f the harm to the creditor comes about only because of harm to the

 debtor, then its injury is derivative, and the claim is property of the estate,” such that “only the

 bankruptcy trustee has standing to pursue the claim for the estate . . . .”231 “To pursue a claim on

 its own behalf, a creditor must show this direct injury is not dependent on injury to the estate.”232

          As a reminder, HMIT argues that the injury it has suffered is a devaluation of its interests

 in the Claimant Trust by virtue of alleged over-compensation of Seery as the Claimant Trustee.

 HMIT was unable, when pressed during closing arguments, to identify any other injury. It

 essentially admitted that the claims trades, in and of themselves, would not have harmed the

 Claimant Trust, the Reorganized Debtor, or individual stakeholders, including HMIT, since the

 Claims Purchasers acquired already allowed unsecured claims, such that the distributions on

 those claims pursuant to the Plan would be unchanged in the hands of new holders of the claims.



 229
     El Paso, 152 A.3d at 1260 (quoting Tooley v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031, 1033 (Del. 2004))
 (emphasis in original).
 230
     Id. (quoting Tooley, 845 A.2d at 1033); see also Schmermerhorn, 2011 WL 111427, at *24 (same).
 231
     Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912 F.3d 291, 293 (5th Cir. 2019) (citing 11
 U.S.C. § 541(a)(1)).
 232
     Id.; see also Schertz-Cibolo-Universal City Indep. Sch. Dist. v. Wright (In re Educators Grp. Health Tr.), 25 F.3d
 1281, 1284 (5th Cir. 1994)(“If a cause of action alleges only indirect harm to a creditor (i.e., an injury which derives
 from harm to the debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then
 the cause of action belongs to the estate.”)(citations omitted).

                                                           81
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              82 of 105
                                                     Page 468 of 678 PageID 474



 Thus, by its own concessions, any alleged harm to HMIT (through devaluation of assets in the

 Claimant Trust) “comes about only because of harm to the debtor,” so the alleged “injury is

 derivative.”233 The court concludes that all of the claims set forth in the Proposed Complaint allege

 derivative claims only, and that none would be direct claims against the Proposed Defendants.

 Thus, HMIT would lack prudential standing to bring any of the Proposed Claims in the Proposed

 Complaint, so its Motion for Leave should be denied.

               d) Some Final Points Regarding Standing.

          In this standing discussion, one should not lose sight of the fact that there are both

 procedural safeguards in place, as well as certain independent individuals in place with fiduciary

 duties that might act in the event of any shenanigans regarding Claimant Trust activities. Under

 section 4.1 of the CTA (approved as part of the Plan process), the CTOB, which includes an

 independent disinterested member in addition to representatives of the Claims Purchasers,234

 oversees the Claimant Trustee’s performance of his duties, approves his compensation, and may

 remove him for cause. Moreover, there is a separate “Litigation Trustee” in this case who was

 brought in, post-confirmation, as an independent fiduciary to pursue claims and causes of action.

 These independent persons are checks and balances in the post-confirmation wind down of

 Highland. This is what creditors voted on in connection with the Plan. Seery and the Claims

 Purchasers are not in sole control of anything. The CTA, as well as Delaware law, very clearly set

 forth who can bring an action in the event of some colorable claim. This is the reality of prudential



 233
     Meridian, 912 F.3d at 293–94 (“The creditors’ injury (reduced bankruptcy recovery) derived from injury to the
 debtor (the loss of estate assets), so only the estate could sue the third parties.”); see also El Paso, 152 A.3d at 1260–
 61 & n.60 (holding that claim “claims of corporate overpayment are normally treated as causing harm solely to the
 corporation and, thus, are regarded as derivative”) (collecting cases); Gerber v EPE Holdings, LLC, 2013 WL 209658,
 at *12 (Del. Ch. Jan. 18, 2013) (holding that claims were derivative because plaintiff had “not identified any
 independent harm suffered by the limited partners”; “the partnership suffered all the harm at issue—it paid too much”).
 234
     See supra note 23 and accompanying text.

                                                            82
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              83 of 105
                                                     Page 469 of 678 PageID 475



 standing. Just as in the Abraugh case, where Louisiana law dictated that a mother could not bring

 a wrongful death case when the deceased prisoner had a surviving wife and child, Delaware law

 and the CTA dictate here that a contingent beneficiary cannot bring the Proposed Claims here.

 This is separate and apart from whether the claims are colorable.

       C. Are the Proposed Claims “Colorable”?

       1. What is the Proper Standard of Review for a “Colorability” Determination?

          Although the court has determined that HMIT would not have standing (constitutional or

 prudential) to bring the Proposed Claims, this court will nevertheless evaluate whether the

 claims—assuming HMIT somehow has standing—might be “colorable.” This, in turn, requires

 the court to assess what the legal standard is to determine if a claim is “colorable.” As a reminder,

 the Plan’s Gatekeeper Provision and this court’s prior Gatekeeper Orders entered in January and

 July 2020 each required that, before a party may commence or pursue claims relating to the

 bankruptcy case against certain protected parties, it must first obtain a finding from the bankruptcy

 court that its proposed claims are “colorable.” The Gatekeeper Provision and Gatekeeper Orders

 did not specifically define “colorable” or what type of legal standard should apply.

          HMIT argues that the standard for review to be applied by this court is the same as a simple

 “plausibility” standard used in connection with a Rule 12(b)(6) motions to dismiss. In other words,

 the court should simply assess whether the allegations of the Proposed Complaint, taken as true

 and with all inferences drawn in favor of the movant, state a plausible claim for relief (i.e.,

 colorable equals plausible), and that this standard does not allow for the weighing of evidence by

 the court.235 The Proposed Defendants, however, argue that the test for colorability should be more




 235
    Reply, ¶ 5 (“[T]he determination of ‘colorability’ does not allow the ‘weighing’ of evidence. At most, a Rule
 12(b)(6) ‘plausibility’ standard applies.”).

                                                       83
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              84 of 105
                                                     Page 470 of 678 PageID 476



 akin to the test applied under the Barton doctrine,236 under which a plaintiff must make a prima

 facie case that a proposed claim against a bankruptcy trustee is “not without foundation.” In this

 regard, they argue that the court can and should consider evidence outside of the four corners of

 the complaint—especially since HMIT attached to its Motion for Leave, as “evidence” to support

 it, two declarations of Dondero (as part of a 350-page attachment) and only attempted to withdraw

 those declarations after the Highland Parties urged that they be permitted to cross-examine

 Dondero on them.

         This court ultimately determined that the “colorability” standard was somewhat of a mixed

 question of fact and law and, therefore, the parties could put on evidence at the June 8 Hearing if

 they so-chose. The court would not require it. It was up to the parties. But, in any event, the

 Proposed Defendants should have an opportunity to cross-examine Dondero on the statements

 made in his declarations since the declarations had been filed on the docket and the court had

 reviewed them at this point. HMIT attempted to withdraw the declarations and any reference to

 them in the Motion for Leave, by filing redacted versions of the Motion for Leave,237 less than 72

 hours before the June 8 Hearing; however, the redacted versions did not redact any allegations in

 the Motion for Leave that were purportedly supported by the Dondero declarations. Also, HMIT

 called Dondero as a direct witness, in addition to calling Seery as an adverse witness at the June 8

 Hearing, albeit subject to its running objection to the evidentiary format of the hearing.238 HMIT

 also filed a witness and exhibit list attaching 80 exhibits and over 2850 pages of evidence and




 236
     Barton v. Barbour, 104 U.S. 126 (1881).
 237
     Bankr. Dkt. Nos. 3815 and 3816.
 238
     See June 8 Hearing Transcript, 7:20-24, 112:11-13.

                                                          84
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              85 of 105
                                                     Page 471 of 678 PageID 477



 moved for the admission of those exhibits at the June 8 Hearing (again, subject to its running

 objection to the evidentiary format of the hearing).239

         In determining what appropriate legal standard applies here in the “colorability” analysis,

 the context in which the Gatekeeper Provision of the Plan was approved seems very relevant. In

 determining that the Gatekeeper Provision was legal, necessary, and in the best interest of all of

 the parties, this court set forth in the Confirmation Order a lengthy discussion of the factual support

 for it, and made specific findings relating to Dondero’s post-petition litigation and the need for

 inclusion of the Gatekeeper Provision in the Plan.240 This court observed that “prior to the

 commencement of the Debtor’s bankruptcy case, and while under the direction of Dondero, the

 Debtor had been involved in a myriad of litigation, some of which had gone on for years and, in

 some cases, over a decade” and that “[d]uring the last several months, Dondero and the Dondero

 Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

 time-consuming litigation for the Debtor.”241 This court further found that: (1) Dondero’s post-

 petition litigation “was a result of Dondero failing to obtain creditor support for his plan proposal

 and consistent with his comments, as set forth in Seery’s credible testimony, that if Dondero’s plan

 proposal was not accepted, he would ‘burn down the place,’”242 (2) without the Gatekeeper

 Provision in place, “Dondero and his related entities will likely commence litigation against the

 Protected Parties after the Effective Date” and that “the threat of continued litigation by Dondero

 and his related entities after the Effective Date will impede efforts by the Claimant Trust to

 monetize assets for the benefit of creditors and result in lower distributions to creditors because of


 239
     See Hunter Mountain Investment Trust’s Witness and Exhibit List in Connection with Its Emergency Motion for
 Leave to File Verified Adversary Proceeding, and Supplement (“HMIT W&E List”)[Bankr. Dkt. No. 3818] and n.1
 thereto; see also June 8 Hearing Transcript, 33:7-10.
 240
     See Confirmation Order ¶¶ 76-79.
 241
     Id. ¶ 77.
 242
     Id. ¶ 78. See supra note 12.

                                                       85
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              86 of 105
                                                     Page 472 of 678 PageID 478



 costs and distraction such litigation or the threats of such litigation would cause,”243 and, (3)

 “unless the [court] approves the Gatekeeper Provision, the Claimant Trustee and the Claimant

 Trust Oversight Board will not be able to obtain D&O insurance,244 the absence of which will

 present unacceptable risks to parties currently willing to serve in such roles.” Thus, as set forth in

 the Confirmation Order, the Gatekeeper Provision (and the Gatekeeper Orders as well, which were

 approved based on the same concerns regarding the threat of continued litigation by Dondero and

 his related entities) required Dondero and related entities to make a threshold showing of

 colorability, noting that the:

         Gatekeeper Provision is also within the spirit of the Supreme Court’s “Barton
         Doctrine.” Barton v. Barbour, 104 U.S. 126 (1881). The Gatekeeper Provision is
         also consistent with the notion of a prefiling injunction to deter vexatious litigants,
         that has been approved by the Fifth Circuit in such cases as Baum v. Blue Moon
         Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811
         (5th Cir. 2017).”245

         The Fifth Circuit, in approving the Gatekeeper Provision on appeal, noted that that the Plan

 injunction and Gatekeeper Provision “screen and prevent bad-faith litigation against Highland

 Capital, its successors, and other bankruptcy participants that could disrupt the Plan’s

 effectiveness.”246

         Again, the court believes it is appropriate to consider the context in which—and the

 purpose for which—the Gatekeeper Orders and Gatekeeper Provision were entered in assessing




 243
     Id.
 244
     Asd noted at ⁋ 79 of the Confirmation Order, the bankruptcy court heard testimony from Mark Tauber, a Vice
 President with AON Financial Services, the Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O
 insurance for the post-confirmation parties implementing the Plan. Mr. Tauber credibly testified that of all the
 insurance carriers that AON approached to provide D&O insurance coverage after the Effective Date, the only one
 willing to do so without an exclusion for claims asserted by Mr. Dondero and his affiliates required that the
 Confirmation Order approve the Gatekeeper Provision.
 245
     Id. ¶ 80.
 246
     NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 435 (5th
 Cir. 2022).

                                                        86
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              87 of 105
                                                     Page 473 of 678 PageID 479



 how “colorability” should work here. It seems that applying HMIT’s proposed Rule 12(b)(6)

 “plausibility” standard would impose no hurdle at all to litigants and would render the threshold

 for bringing claims under the Gatekeeper Provision and Gatekeeper Orders entirely duplicative of

 the motion to dismiss standard that every litigant already faces.

          The authorities cited by HMIT in support of its argument for applying a Rule 12(b)(6)

 standard are inapposite. HMIT has cited no authority that addresses the appropriate standard for

 assessing the “colorability” of claims in the context of a plan gatekeeper provision—specifically,

 one implemented in response to a demonstrated need to screen and prevent continued bad-faith,

 harassing litigation against a chapter 11 debtor that would impede the debtor’s implementation of

 a plan, which is what we have here. HMIT relies on a bevy of cases that include benefits coverage

 disputes under ERISA, Medicare coverage disputes, and constitutional challenges247—none of

 which implicate the Barton doctrine and vexatious-litigant concerns that were referenced by the

 court in the Plan as justifications for the gatekeeping provisions at issue here.

          In affirming the Plan’s Gatekeeper Provision, the Fifth Circuit stated, “Courts have long

 recognized bankruptcy courts can perform a gatekeeping function” and noted, by way of example,

 that “[u]nder the ‘Barton doctrine,’ the bankruptcy court may require a party to ‘obtain leave of


 247
    See Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002)
 (assessing whether an employee has “a colorable claim to vested benefits” such that the employee may be considered
 a “participant” under ERISA); Abraham v. Exxon Corp., 85 F.3d 1126, 1129 (5th Cir. 1996) (same); Panaras v. Liquid
 Carbonic Indus. Corp., 74 F.3d 786, 790 (7th Cir. 1996) (same); Lake Eugenie Land & Dev., Inc. v. BP Expl. & Prods.
 (In re Deepwater Horizon), 732 F.3d 326, 340 (5th Cir. 2013) (holding that claims administrator incorrectly interpreted
 class settlement agreement by permitting “claimants [with] no colorable legal claim” to receive awards); Richardson
 v. United States, 468 U.S. 317, 326 n.6 (1984) (discussing whether criminal defendant’s double jeopardy claim was
 “colorable” such that it could be appealed before final judgments); Trippodo v. SP Plus Corp., 2021 WL 2446204, at
 *3 (S.D. Tex. June 15, 2021) (assessing whether plaintiff stated a “colorable claim” against proposed additional
 defendants in determining whether plaintiff could amend complaint); Reyes v. Vanmatre, 2021 WL 5905557, at *3
 (S.D. Tex. Dec. 13, 2021) (same); Family Rehab., Inc. v. Azar, 886 F.3d 496, 504 n.15 (5th Cir. 2018) (assessing
 whether plaintiff raised a “colorable claim” to warrant the district court’s exercise of jurisdiction over a Medicare
 coverage dispute); Am. Med. Hospice Care, LLC v. Azar, 2020 WL 9814144, at *5 (W.D. Tex. Dec. 9, 2020) (same);
 Harry v. Colvin, 2013 WL 12174300, at *5 (W.D. Tex. Nov. 6, 2013) (considering whether plaintiff asserted a
 “colorable constitutional claim” such that the court could exercise jurisdiction); Sabhari v. Mukasey, 522 F.3d 842,
 844 (8th Cir. 2008) (same); Stanley v. Gonzales, 476 F.3d 653, 657 (9th Cir. 2007) (same).

                                                           87
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              88 of 105
                                                     Page 474 of 678 PageID 480



 the bankruptcy court before initiating an action in district court when the action is against the

 trustee or other bankruptcy-court-appointed officer, for acts done in the actor’s official

 capacity.”248 As noted above, the Fifth Circuit found that the Gatekeeper Provision, which

 “requires that, before any lawsuit is filed, the plaintiff must seek the bankruptcy court’s approval

 of the claim as ‘colorable’”—i.e., to “screen and prevent bad-faith litigation,”—is “sound.”249

         On balance, the court views jurisprudence applying the Barton doctrine and vexatious

 litigant injunctions—while not specifically addressing the “colorability” standard under

 gatekeeping provisions in a plan250—as more informative on how to approach “colorability” than

 any of the other authorities presented by the parties. One example is In re VistaCare Group,

 LLC.251

         In VistaCare, the Third Circuit noted that, under the Barton doctrine, “[a] party seeking

 leave of court to sue a trustee must make a prima facie case against the trustee, showing that its

 claim is not without foundation,” and emphasized that the “not without foundation” standard, while

 similar to the standard courts apply in evaluating Rule 12(b)(6) motions to dismiss, “involves a

 greater degree of flexibility” than a Rule 12(b)(6) motion to dismiss because “the bankruptcy court,

 which given its familiarity with the underlying facts and the parties, is uniquely situated to

 determine whether a claim against the trustee has merit,” and “is also uniquely situated to

 determine the potential effect of a judgment against the trustee on the debtor’s estate.”252 To satisfy

 the “prima facie case standard,” “the movant must do more than meet the liberal notice-pleading




 248
     Id. at 438 (cleaned up).
 249
     Id. at 435.
 250
     The court acknowledges that the Barton doctrine itself would not be directly applicable here because HMIT is
 proposing to bring the Proposed Complaint in the bankruptcy court – the “appointing” court of Seery.
 251
     678 F.3d 218 (3d Cir. 2012).
 252
     Id. at 232-233 (cleaned up).

                                                       88
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              89 of 105
                                                     Page 475 of 678 PageID 481



 requirements of Rule 8.”253 “[I]f the [bankruptcy] court relied on mere notice-pleading standards

 rather than evaluating the merits of the allegations, the leave requirement would become

 meaningless.”254 This court agrees with the notion, that “[t]o apply a less stringent standard would

 eviscerate the protections” of the Gatekeeper Provision and Gatekeeper Orders.255 The court notes,

 as well, that courts in the Barton doctrine context regularly hold evidentiary hearings on motions

 for leave to determine if the proposed complaint meets the necessary threshold for pursuing

 litigation. The Third Circuit in VistaCare noted that “[w]hether to hold a hearing [on a motion for

 leave to bring suit against a trustee] is within the sound discretion of the bankruptcy court,”256 and

 that “the decision whether to grant leave may involve a ‘balancing of the interests of all parties

 involved,’” which will ordinarily require an evidentiary hearing.257 The Third Circuit applied “the

 deferential abuse of discretion standard” in considering whether the bankruptcy court’s granting

 of leave should be affirmed on appeal.258



 253
     In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) (cleaned up; collecting cases).
 254
     Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill. Nov. 30,
 2000).
 255
     World, 584 B.R. at 743 (quoting Leighton, 2000 WL 1761020, at *2).
 256
     VistaCare, 678 F.3d at 232 n.12.
 257
     Id. at 233 (quoting In re Kashani, 190 B.R. 875, 886–87 (9th Cir. BAP 1995)). The Third Circuit noted that the
 bankruptcy court’s holding of an evidentiary hearing on the motion for leave was appropriate (though not required in
 every case)). Id. at 232 n.12.
 258
     Id. at 224 (“We review a bankruptcy court’s decision to grant a motion for leave to sue a trustee under the deferential
 abuse of discretion standard.”) (citing In re Linton, 136 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725
 F.2d 880, 889 (2d Cir. 1984)). Courts of appeal routinely apply the deferential abuse of discretion standard to a
 bankruptcy court’s decision regarding whether leave should be granted to sue a trustee. Although the Fifth Circuit
 has not squarely addressed this issue, all nine Circuits that have considered this issue have also adopted an abuse-of-
 discretion standard. See In re Bednar, 2021 WL 1625399, at *3 (B.A.P. 10th Cir. Apr. 27, 2021) (“[T]he Bankruptcy
 Court's decision to decline leave to sue the Trustee under the Barton doctrine is reviewed for abuse of discretion . . .
 .”) (citing VistaCare); SEC v. N. Am. Clearing, Inc., 656 F. App’x 969, 973–74 (11th Cir. 2016) (“Although we have
 never determined the standard of review for a challenge to the denial of a Barton motion, other Circuits that have
 considered the issue review a lower court's ruling on a Barton motion for an abuse of discretion.”) (citing VistaCare);
 In re Lupo, 2014 WL 4653064, at *3 (B.A.P. 1st Cir. Sept. 17, 2014) (“Appellate courts review a bankruptcy court's
 decision to deny a motion for leave to sue under the abuse of discretion standard.”) (citing VistaCare); Grant,
 Konvalinka & Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 422 (6th Cir. 2013) (holding that abuse-of-
 discretion standard applies to Barton doctrine); Alexander v. Hedback, 718 F.3d 762 (8th Cir. 2013) (applying abuse-
 of-discretion standard to Barton doctrine).

                                                             89
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              90 of 105
                                                     Page 476 of 678 PageID 482



          The Fifth Circuit has affirmed a bankruptcy court’s conducting of an evidentiary hearing,

 in the context of applying a Barton doctrine analysis as to a proposed lawsuit against a trustee,

 without any concern that the inquiry was somehow improper.259

          Similarly, courts in the vexatious litigant context, where there was an injunction requiring

 a movant to seek leave to pursue claims, have required movants to “show that the claims sought

 to be asserted have sufficient merit,” including that “the proposed filing is both procedural and

 legally sound,” and “that the claims are not brought for any improper purpose, such as

 harassment.”260 “For a prefiling injunction to have the intended impact, it must not merely require

 a reviewing official to apply an already existing level of review,” such as the “plausibility”

 standard for a Rule 12(b)(6) motion.261 Rather, courts apply “an additional layer of review,” and

 “may appropriately deny leave to file when even part of the pleading fails to satisfy the reviewer

 that it warrants a federal civil action” or that the “litigant’s allegations are unlikely,” especially

 “when prior cases have shown the litigant to be untrustworthy or not credible . . . .”262

          In summary, the court rejects HMIT’s positions: (a) that it need only show, at most, that

 the allegations in the Proposed Complaint are “plausible” under the Rule 12(b)(6) standard for

 motions to dismiss; and (b) that this court improperly conducted an evidentiary hearing on the

 Motion for Leave (i.e., that consideration of evidence in this context is impermissible). The court

 notes, again, that HMIT’s argument that this court is not permitted to consider evidence in making

 its “colorability” determination is completely contradictory to HMIT’s actions in filing the Motion



 259
     See Howell v. Adler (In re Grodsky), 2019 WL 2006020, at *4 (Bankr. E.D. La. Apr. 11, 2019) (dismissing an
 action under Barton after “a close examination” by the bankruptcy court of the evidence regarding the trustee’s actions
 and finding that “the plaintiffs’ allegations are not based in fact”), aff’d 799 F. App’x 271 (5th Cir. 2020).
 260
     Silver v. City of San Antonio, 2020 WL 3803922, at *1 (W.D. Tex. July 7, 2020) (denying leave to file lawsuit);
 see also Silver v. Perez, 2020 WL 3790489, at *1 (W.D. Tex. July 7, 2020) (same).
 261
     Silver, 2020 WL 3803922, at *6.
 262
     Id.

                                                           90
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              91 of 105
                                                     Page 477 of 678 PageID 483



 for Leave, where it attached two Dondero declarations as part of 350 pages of “objective evidence”

 that “supported” its motion.

         The court concludes that the appropriate standard to be applied in making its “colorability”

 determination in this bankruptcy case, in the exercise of its gatekeeping function pursuant to the

 two Gatekeeper Orders and the Gatekeeper Provision in this Plan, is a broader standard than the

 “plausibility” standard applied to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that

 involves an additional level of review—one that places on the proposed plaintiff a burden of

 making a prima facie case that its proposed claims are not without foundation, are not without

 merit, and are not being pursued for any improper purpose such as harassment. Additionally,

 this court may, and should, take into consideration its knowledge of the bankruptcy proceedings

 and the parties and any additional evidence presented at the hearing on the Motion for Leave. For

 ease of reference, the court will refer to this standard of “colorability” as the “Gatekeeper

 Colorability Test.” The court considers this test as a sort of hybrid of what the Barton doctrine

 contemplates and what courts have applied when considering motions to file suit when a vexatious

 litigant bar order is in place.

     2. HMIT’s Proposed Complaint Does Not Present “Colorable” Claims Under this Court’s
        Gatekeeper Colorability Test or Even Under a Rule 12(b)(6) “Plausibility” Standard.

         The court finds, in the exercise of its gatekeeping function under the Gatekeeper Orders

 and the Gatekeeping Provision in the Plan, that the Motion for Leave should be denied as the

 claims set forth in the Proposed Complaint are not “colorable” claims. The court makes this

 determination after considering evidence admitted at the June 8 Hearing, including the testimony

 of Dondero, Patrick, and Seery, and the numerous exhibits offered by HMIT and the Highland

 Parties. HMIT’s Proposed Claims lack foundation, are without merit, and appear to be motivated

 by the improper purposes of vexatiousness and harassment. But, even under the less stringent


                                                  91
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              92 of 105
                                                     Page 478 of 678 PageID 484



 “plausibility” standard under Rule 12(b)(6) motions to dismiss, where all allegations must be

 accepted as true, HMIT’s “[t]hreadbare recitals of the elements of a cause of action, supported by

 mere conclusory statements,” fail to “[]cross the line from conceivable to plausible.”263

             HMIT makes unsubstantiated and conclusory allegations in its Motion for Leave and

 Proposed Complaint that the Claims Purchasers purchased the large allowed unsecured claims only

 because Seery, while he was CEO of Highland prior to the Effective Date of the Plan, provided

 them with MNPI and assurances that the Purchased Claims were very valuable. This was allegedly

 in exchange for their agreement to approve, in their future capacities as members of the CTOB,

 excessive compensation for Seery in his capacity as the Claimant Trustee after the Effective Date

 of the Plan. This was an alleged quid pro quo that HMIT claims establishes Seery’s breach of

 fiduciary duties and the Claims Purchasers’ conspiracy to participate in that breach. As discussed

 below, these allegations are unsubstantiated and conclusory allegations, and they do not support

 the inferences that HMIT needs the court to make when it analyzes whether the Proposed Claims

 are “colorable”—or even merely plausible.

                 a) HMIT’s Proposed Breach of Fiduciary Duties Claim Set Forth in Count I of the
                    Proposed Complaint

             Based on HMIT’s Proposed Complaint and the evidence admitted at the June 8 Hearing,

 the court finds that HMIT has not pleaded facts that would support a “colorable” breach of

 fiduciary duties claim against Seery, under this court’s Gatekeeper Colorability Test, nor a

 plausible claim pursuant to the Rule 12(b) standard. HMIT alleges that Seery breached his

 fiduciary duties (i) “[b]y disclosing material non-public information to Stonehill and Farallon”




 263
       Ashcroft v. Iqbal, 556 U.S. 662, 679–80 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

                                                             92
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              93 of 105
                                                     Page 479 of 678 PageID 485



 before their purchase of certain Highland claims, and (ii) by receiving “compensation paid to him

 under the terms of the [CTA] since the Effective Date of the Plan in August 2021.”264

         As earlier noted, both the Reorganized Debtor and the Claimant Trust are organized under

 Delaware law and, thus, its proposed Count I against Seery for breach of fiduciary duties to these

 entities is governed by Delaware law under the “Internal Affairs Doctrine.”265 Under Delaware

 law, “[t]o bring a claim for breach of fiduciary duty, a plaintiff must allege ‘(1) that a fiduciary

 duty existed and (2) that the defendant breached that duty.’”266 HMIT fails to plausibly or

 sufficiently allege either element such that its breach of fiduciary duty claims against Seery could

 survive.

         Under Delaware law, officers and directors generally owe fiduciary duties only to the entity

 and its stakeholders as a whole, not to individual shareholders.267 Because Seery did not owe any

 “duty” to HMIT directly and individually, the Proposed Complaint fails to state a claim for breach

 of fiduciary duties to HMIT. HMIT’s “legal conclusion[]” that Seery “owed fiduciary duties to

 HMIT, as equity, and to the Debtor’s Estate”268 “do[es] not suffice” to plausibly allege the

 existence of any actionable fiduciary relationship.269 And as discussed earlier in the standing

 section, HMIT does not have standing to assert a breach of fiduciary claim derivatively on behalf



 264
     Proposed Complaint ¶¶ 64–67.
 265
     Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
 by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
 Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
 a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
 organized under the laws of Delaware.
 266
     Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020) (quoting Joseph C.
 Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch. Feb. 28, 2020)).
 267
     See Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) (“[D]irectors’ fiduciary duty runs to
 the corporation and to the entire body of shareholders generally, as opposed to specific shareholders or shareholder
 subgroups.”) aff’d, 575 A.2d 1131 (Del. 1990); Klaassen v Allegro Dev. Corp., 2013 WL 5967028, at *11 (Del. Ch.
 Nov. 7, 2013) (same).
 268
     Proposed Complaint ¶ 63.
 269
     Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                                                         93
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              94 of 105
                                                     Page 480 of 678 PageID 486



 of the Claimant Trust or Reorganized Debtor. But even if HMIT had sufficiently alleged the

 existence of a fiduciary duty by Seery to HMIT—or to the Reorganized Debtor or Claimant Trust

 that HMIT would have standing to assert—Seery’s alleged communications with Farallon would

 not have breached those duties.

            HMIT alleges that Seery ““disclose[d] material non-public information to Stonehill and

 Farallon,” and they “acted on inside information and Seery’s secret assurances of great profits.”270

 But the Proposed Complaint does not make any factual allegations regarding HMIT’s “conclusory

 allegations,” and its “legal conclusions” are “purely speculative, devoid of factual support,” and

 therefore “stop[] short of the line between possibility and plausibility of entitlement to relief”271

 (and certainly stop short of being “colorable”). HMIT never alleges when any of these purported

 communications occurred, what material non-public information Seery provided, and what

 “assurances of great profits” he made to Farallon or to Stonehill. At the June 8 Hearing, Dondero

 could only clarify that he believed the MGM Email to have been MNPI and that he believed that

 Seery must have communicated that MNPI to Farallon at some point between December 17, 2020

 (the date the MGM Email was sent) and May 28, 2021 (the day that Dondero alleges to have had

 three telephone calls with representatives of Farallon, Messrs. Patel and Linn, regarding Farallon’s

 purchase of the bankruptcy claims). Dondero alleges that, during these phone calls, Patel and Linn

 gave Dondero no reason for their purchase of the claims that “made [any] sense.” Dondero and

 Patrick also both testified that neither of them had any personal knowledge: (a) of a quid pro quo

 arrangement between Seery and the Claims Purchasers, (b) of Seery having actually communicated

 any information from the MGM Email to Farallon, or (c) whether Seery’s post-Effective Date

 compensation had or had not been negotiated in an arms’ length transaction. Dondero only

 270
       Proposed Complaint ¶¶ 3, 64; see also id. ¶¶ 13–14, 40, 47, 50.
 271
       Reed v. Linehan (In re Soporex, Inc.), 463 B.R. 344, 367, 386 (Bankr. N.D. Tex. 2011) (cleaned up).

                                                            94
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              95 of 105
                                                     Page 481 of 678 PageID 487



 speculates regarding these things, because it “made no sense” to him that the Claims Purchasers

 would have acquired the bankruptcy claims without having received the MNPI. But HMIT admits

 in the Proposed Complaint that Farallon and Stonehill purchased the Highland claims at discounts

 of 43% to 65% to their allowed amounts. Thus, they would receive at least an 18% return based

 on publicly available estimates in Highland’s court-approved Disclosure Statement.272 The

 evidence established that, if the acquisition of the UBS claims is excluded—recall that the UBS

 claims were not purchased until August 2021, which was after the May 28, 2021 phones calls that

 Dondero made to Farallon personnel—the Claims Purchasers would have expected to net over $33

 million in profits, or nearly a 30% return on their investment, had Highland met its projections

 (this is based on the aggregate purchase price of $113 million for the non-UBS claims purchased

 in the Spring 2021).

         To be clear, the only purported MNPI identified in HMIT’s Proposed Complaint was the

 MGM Email Dondero sent to Seery containing “information regarding Amazon and Apple’s

 interest in acquiring MGM.” But, the evidence showed that this information was widely reported

 in the financial press at the time. Thus, it could not have constituted MNPI as a matter of law.273

 Moreover, the evidence showed that Dondero did not communicate in the MGM Email the actual

 inside information that he claimed to have obtained as a board member of MGM–which was that

 Amazon had met MGM’s “strike price” and that the MGM board was going into exclusive

 negotiations with Amazon to culminate the merger with them (and, thus, Apple was no longer

 considered a potential purchaser). Dondero admitted that he included Apple in the MGM Email

 for the purpose of making it look like there was a competitive process still ongoing. In other


 272
    Proposed Complaint ¶¶ 3, 37, 42.
 273
    See, e.g., SEC v. Cuban, 2013 WL 791405, at *10–11 (N.D. Tex. Mar. 5, 2013) (holding that information is not
 “material, nonpublic information” and “‘becomes public when disclosed to achieve a broad dissemination to the
 investing public’”) (quoting SEC v. Mayhew, 121 F.3d 44, 50 (2d Cir. 1997)).

                                                       95
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              96 of 105
                                                     Page 482 of 678 PageID 488



 words, the MGM Email, at the very least, did not include MNPI and, at worst, was deceptive

 regarding the status of the negotiations between MGM and potential purchasers.

          As to HMIT’s allegations that Seery’s post-Effective Date compensation is “excessive”

 and that the negotiations between Seery and the CTOB “were not arm’s-length,”274 the evidence

 at the June 8 Hearing reflected that the allegations are completely speculative, without any

 foundation whatsoever, and lack merit. And they are also simply not plausible. HMIT fails to

 allege facts in the Proposed Complaint that would support a reasonable inference that Seery

 breached his fiduciary duty to HMIT or the estate as a result of bad faith, self-interest, or other

 intentional misconduct rising to the level of a breach of the duty of loyalty.275

               b) HMIT’s Proposed Claims Set Forth in Counts II (Knowing Participation in Breach
                  of Fiduciaries) and III (Conspiracy)

          HMIT seeks to hold the Claims Purchasers secondarily liable for Seery’s alleged breach of

 fiduciaries duties on an aiding and abetting theory in Count II of the Proposed Complaint276 and,

 along with Seery, on a civil conspiracy theory of liability in Count III of the Proposed

 Complaint.277 Because HMIT’s breach of fiduciary duties claim is governed by Delaware law, its

 aiding and abetting breach of fiduciary duties claim against the Claims Purchasers (Count II) is

 also governed by Delaware law.278 HMIT’s conspiracy cause of action against the Claims




 274
     Proposed Complaint ¶¶ 4, 13, 54, 74.
 275
     See Pfeffer v. Redstone, 965 A.2d 676, 690 (Del. 2009) (dismissing claim for breach of duty of loyalty against a
 director where “conclusory allegations” failed to give rise to inference that director failed to perform fiduciary duties);
 McMillan v. Intercargo Corp., 768 A.2d 492, 507 (Del. Ch. 2000) (dismissing claim for breach of fiduciary duty
 where “[a]though the complaint makes the conclusory allegation that the defendants breached their duty of disclosure
 in a ‘bad faith and knowing manner,’ no facts pled in the complaint buttress that accusation.”).
 276
     Proposed Complaint ¶¶ 69-74.
 277
     Proposed Complaint ¶¶ 75-81.
 278
     See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
 (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
 headquartered in Texas).

                                                             96
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              97 of 105
                                                     Page 483 of 678 PageID 489



 Purchasers and Seery (Count III), on the other hand, does not involve a matter of “internal affairs”

 or of corporate governance, so it is governed by Texas law under the Plan.279

          As an initial matter, because HMIT does not present either a “colorable”—or even

 plausible claim—that Seery breached his fiduciary duties, it cannot show that it has alleged a

 “colorable” or plausible claim for secondary liability for the same alleged wrongdoing.280 In

 addition, HMIT’s civil conspiracy claim against the Claims Purchasers and Seery is based entirely

 on Dondero’s speculation and unsupported inferences and, thus, HMIT has not “colorably”

 alleged, or even plausibly alleged, its conspiracy claim. Under Texas law, “civil conspiracy is a

 theory of vicarious liability and not an independent tort.”281 “[T]he elements of civil conspiracy

 [are] “(1) two or more persons; (2) an object to be accomplished; (3) a meeting of minds on the

 object or course of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

 result.”282 While HMIT alleges that “Defendants conspired with each other to unlawfully breach

 fiduciary duties,”283 it is simply a “legal conclusion” and not the kind of allegation that the court

 must assume to be true even for purposes of determining plausibility under a motion to dismiss.284


 279
     Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex. App. – Houston [14th Dist.] 2020) (applying Delaware
 law to fiduciary duty claim and Texas law to conspiracy theory); (Plan Art. XII.M)(which provides for the application
 of Texas law to “the rights and obligations arising under this Plan” except for “corporate governance matters.”)
 280
     See English v. Narang, 2019 WL 1300855, at *14 (Del. Ch. Mar. 20, 2019) (“As a matter of law and logic, there
 cannot be secondary liability for aiding and abetting an alleged harm in the absence of primary liability.”) (cleaned
 up; collecting cases); Hill v. Keliher, 2022 WL 213978, at *10 (Tex. App. Jan. 25, 2022) (“[A] defendant’s liability
 for conspiracy depends on participation in some underlying tort for which the plaintiff seeks to hold at least one of the
 named defendants liable.”) (quoting Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996)). Because HMIT’s breach
 of fiduciary duty claim is governed by Delaware law, its aiding and abetting theory of liability is also governed by
 Delaware law. See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D.
 Tex. 2016) (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware
 corporation headquartered in Texas). By contrast, “conspiracy is not an internal affair” or a matter of corporate
 governance, so it is governed by Texas law under the Plan. Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex.
 App. – Houston [14th Dist.] 2020) (applying Delaware law to fiduciary duty claim and Texas law to conspiracy
 theory); (Plan Art. XII.M).
 281
     Agar Corp., Inc. v. Electro Circuits Int’l, LLC, 580 S.W.3d 136, 142 (Tex. 2019).
 282
     Id. at 141 (cleaned up).
 283
     Proposed Complaint ¶ 76.
 284
     Iqbal, 556 U.S. at 680 (citing Twombly, 555 U.S. at 565–66).

                                                            97
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              98 of 105
                                                     Page 484 of 678 PageID 490



 HMIT repeats four times that Seery provided MNPI to Farallon and Stonehill as a “as a quid pro

 quo” for “additional compensation,”285 each time based upon conclusory allegations based “upon

 information and belief” and, frankly, pure speculation from Dondero that his imagined “scheme,”

 “covert quid pro quo,” and secret “conspiracy” between Seery, on the one hand, and Farallon and

 Stonehill, on the other,286 must have occurred because “[i]t made no sense for the [Claims]

 Purchasers to invest millions of dollars for assets that – per the publicly available information –

 did not offer a sufficient potential profit to justify the publicly disclosed risk” (i.e., “[t]he counter-

 intuitive nature of the purchases at issue compels the conclusion that the [Claims] Purchasers acted

 on inside information and Seery’s assurance of great profits.”)287 Importantly, HMIT admits that

 the Claims Purchasers would have turned a profit based on the information available to them at

 the time of their acquisitions of the Purchased Claims.288 HMIT’s allegations about the level of

 potential profits were contradicted by their own allegations and other evidence admitted at the June

 8 Hearing. But Dondero’s speculation about what level of projected return would be sufficient to

 justify the acquisition of the claims by the Claims Purchasers, or any other third-party investor,

 does not give rise to a plausible inference that they acted improperly.289 Thus, HMIT cannot meet


 285
     Proposed Complaint ¶ 77; see also id. ¶¶ 4, 47, 74.
 286
     See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the other
 Defendants with material non-public information concerning the value of assets which they then used to purchase the
 largest approved unsecured claims.”).
 287
     Id.
 288
     See, e.g., id. ¶ 3 (alleging that acquiring the claims “did not offer a sufficient potential profit to justify the publicly
 disclosed risk”)(emphasis added); ¶ 43 (“Furthermore, although the publicly available projections suggested only
 a small margin of error on any profit potential for its significant investment . . . .”); ¶ 49 (“Yet, in this case, it would
 have been impossible for Stonehill and Farallon (in the absence of inside information) to forecast any significant profit
 at the time of their multi-million-dollar investments given the publicly available, negative financial information.”)
 (third emphasis added).
 289
     In fact, the court did not allow Mr. Dondero to testify regarding what kind of information a hypothetical investor
 in bankruptcy claims would require or what level of potential profits would justify the purchase of bankruptcy claims
 by investors in the bankruptcy claims trading market because he was testifying as a fact witness, not an expert. Thus,
 the court only allowed Dondero to testify as to what data he (or entities he controls or controlled) would rely on, what
 his risk tolerance would have been, and what level of potential profits he would have required to purchase an allowed
 unsecured bankruptcy claim in a post-confirmation situation. June 8 Hearing Transcript, 129:6-130:4.

                                                               98
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 Filed Page
                                         09/15/23
                                              99 of 105
                                                     Page 485 of 678 PageID 491



 its burden, under the Gatekeeper Colorability Test, of making a prima facie showing that its

 allegations do not lack foundation or merit. Nor can it meet a plausibility standard.

         In addition, contrary to the Proposed Complaint’s statement that it would have been

 “impossible for Stonehill and Farallon (in the absence of insider information) to forecast any

 significant profit at the time of their multi-million-dollar investments,” the evidence showed there

 were already reports in the financial press that MGM was engaging with Amazon, Apple, and

 others in selling its media portfolio, and thus the prospect of an MGM transaction increasing the

 value of, and return on, the Purchased Claims, “at the time of their multi-million-dollar

 investments” was publicly available information.290                HMIT’s suggestion that the Claims

 Purchasers were in possession of inside information not publicly available when they acquired the

 Purchased Claims is simply not plausible. Nor is HMIT’s allegation that “[u]pon information and

 belief” Farallon “conducted no due diligence but relied on Seery’s profit guarantees” plausible.

 The allegations regarding Farallon not conducting any due diligence are based, again, entirely on

 Dondero’s speculation and inferences he made from what Patel and Linn (of Farallon) allegedly

 told him on May 28, 2021; Dondero did not testify that either Patel or Linn ever told him

 specifically that they had conducted no due diligence. HMIT’s allegations in the Proposed

 Complaint that Farallon “conducted no due diligence,” are based on Dondero’s speculation,

 unsubstantiated, and contradicted by the testimony of Seery, who testified that emails to him from

 Linn in June 2020 and later in January 2021 indicated to him that Farallon, at least, had been

 conducting some level of due diligence in that they had been following and paying attention to the




 290
     The court notes, as well, that the Claim Purchasers acquired the UBS claims in August 2021—approximately two
 and a half months after the announcement of the MGM-Amazon transaction (which was on May 26, 2021)—a fact
 that HMIT makes no attempt to harmonize with its conspiracy theory that the Claims Purchasers profited from the
 misuse of MNPI allegedly given to them by Seery.

                                                       99
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              100 of 105
                                                     Page 486 of 678 PageID 492



 Highland case.291 In addition, there are no allegations in the Proposed Complaint regarding

 whether Stonehill conducted due diligence or not, and Patrick testified that neither he nor HMIT

 had any personal knowledge of how much due diligence Farallon or Stonehill did prior to acquiring

 the Purchased Claims.292 The court finds and concludes that HMIT’s allegations of aiding and

 abetting and conspiracy in Counts II and III of the Proposed Complaint are based on

 unsubstantiated inferences and speculation, lack internal consistency, and lack consistency with

 verifiable public facts. Accordingly, HMIT has failed to show that these claims have a foundation

 and merit and has also failed to show that they are plausible.

              c) HMIT’s Proposed Claims Set Forth in Counts IV (Equitable Disallowance), V
                 (Unjust Enrichment and Constructive Trust), and VI (Declaratory Relief) of the
                 Proposed Complaint

            i.    Count IV (Equitable Disallowance).

         In Count IV of its Proposed Complaint, HMIT seeks “equitable disallowance” of the claims

 acquired by Farallon’s and Stonehill’s special purpose entities Muck and Jessup, “to the extent

 over and above their initial investment,” and, in the alternative, equitable subordination of their

 claims to all claims and interests, including HMIT’s unvested Class 10 Contingent Claimant Trust

 Interest, “given [their] willful, inequitable, bad faith conduct” of allegedly “purchasing the Claims

 based on material non-public information” and being “unfairly advantaged” in “earning significant

 profits on their purchases.”293 As noted above, these remedies are not available to HMIT.294

         First, HMIT’s request to equitably subordinate the Purchased Claims to all claims and

 interests is not permitted because Bankruptcy Code § 510(c), by its terms, permits equitable




 291
     See June 8 Hearing Transcript, 239:6-21.
 292
     See id., 310:19-312:2.
 293
     Proposed Complaint ¶¶ 83-87.
 294
     See infra pages 74-75.

                                                 100
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              101 of 105
                                                     Page 487 of 678 PageID 493



 subordination of a claim to other claims or an interest to other interests but does not permit

 equitable subordination of a claim to interests.

             Second, “equitable” disallowance of claims is not an available remedy in the Fifth Circuit

 pursuant to the Mobile Steel case.295

             Third, reconsideration of an already-allowed claim in a bankruptcy case can only be

 accomplished through Bankruptcy Code § 502(j), which, pursuant to Federal Rule of Bankruptcy

 Procedure 9024, allows reconsideration of allowance of a claim that was allowed following a

 contest (which is certainly the case with respect to the Purchased Claims) based on the “equities

 of the case.” But this is only if the request for reconsideration is made within the one-year

 limitation prescribed in Rule 60(c) of the Federal Rules of Civil Procedure. HMIT’s request for

 disallowance of Muck and Jessup’s Purchased Claims (if it could somehow be construed as a

 request for reconsideration of their claims), is clearly untimely, as it is being made well beyond a

 year since their allowance by this court following contests and approval of Rule 9019 settlements.

 Thus, the court finds that HMIT has not alleged a colorable or even plausible claim in Count IV

 of the Proposed Complaint and, therefore, the Motion for Leave should be denied.

               ii.    Count V (Unjust Enrichment and Constructive Trust)

             In Count V of the Proposed Complaint, HMIT alleges that, “by acquiring the Claims using

 [MNPI], Stonehill and Farallon were unjustly enriched and gained an undue advantage over other

 creditors and former equity” and that “[a]llowing [the Claims Purchasers] to retain their ill-gotten

 benefits would be unconscionable;” thus, HMIT alleges, the Claims Purchasers “should be forced

 to disgorge all distributions over and above their original investment in the Claims as restitution

 for their unjust enrichment” and “a constructive trust should be imposed on such proceeds . . . .”296

 295
       In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).
 296
       Proposed Complaint ¶¶ 89-93.

                                                             101
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              102 of 105
                                                     Page 488 of 678 PageID 494



 HMIT alleges further that “Seery was also unjustly enriched by his participation in this scheme

 and he should be required to disgorge or restitute all compensation he has received from the outset

 of his collusive activities” and “[a]lternatively he should be required to disgorge and restitute all

 compensation received since the Effective Date” over which a constructive trust should be

 imposed.297 HMIT has not alleged a colorable or even a plausible claim for unjust enrichment or

 constructive trust in Count V.

         Under Texas law,298 “[u]njust enrichment is not an independent cause of action but rather

 characterizes the result of a failure to make restitution of benefits either wrongfully or passively

 received under circumstances which give rise to an implied or quasi-contractual obligation to

 repay.”299 Thus, “when a valid, express contract covers the subject matter of the parties’ dispute,

 there can be no recovery under a quasi-contract theory.”300 Here, as noted above, HMIT’s only

 alleged injury is a diminution of the value of its unvested Contingent Claimant Trust Interest by

 virtue of Seery’s allegedly having wrongfully obtained excessive compensation, with the help of

 the Claims Purchasers. Yet Seery’s compensation is governed by express agreements (i.e., the

 Plan and the CTA). Thus, HMIT’s claim based on unjust enrichment is not an available theory of

 recovery.

           iii.   Count VI (Declaratory Relief)

         HMIT seeks declaratory relief in Count VI of the Proposed Complaint, essentially, that

 Dondero’s conspiracy theory is correct and that HMIT’s would succeed on the merits with respect



 297
     Id. ¶ 94.
 298
     Under the Plan, Texas law governs HMIT’s “claim” for unjust enrichment because it is not a “corporate governance
 matter.” (Plan Art. XII.M.) It also governs HMIT’s “claim” for constructive trust, which “is merely a remedy used to
 grant relief on the underlying cause of action.” Sherer v. Sherer, 393 S.W.3d 480, 491 (Tex. App. 2013).
 299
     Taylor v. Trevino, 569 F. Supp. 3d 414, 435 (N.D. Tex. 2021) (cleaned up); see also Yowell v. Granite Operating
 Co., 630 S.W.3d 566, 578 (Tex. App. 2021) (same).
 300
     Taylor, 569 F. Supp. 3d at 435 (quoting Fortune Prod. Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

                                                         102
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              103 of 105
                                                     Page 489 of 678 PageID 495



 to the Proposed Claims if it were permitted leave to bring them in an adversary proceeding.301 But,

 a request for declaratory relief is not “an independent cause of action”302 and “in the absence of

 any underlying viable claims such relief is unavailable.”303 This court has already found and

 concluded that HMIT would not have constitutional or prudential standing to bring the underlying

 causes of action in the Proposed Complaint. This court has also found and concluded that all of

 the Proposed Claims are without foundation or merit and are not even plausible and are all; being

 brought for the improper purpose of continuing Dondero’s vexatious, harassing, bad-faith

 litigation. Thus, HMIT would not be entitled to pursue declaratory judgement relief as requested

 in Count VI of the Proposed Complaint.

             d) HMIT Has No Basis to Seek Punitive Damages

         HMIT separately alleges that the Claims Purchasers’ and Seery’s “misconduct was

 intentional, knowing, willful, in bad faith, fraudulent, and in total disregard of the rights of others,”

 thus entitling HMIT to an award of punitive damages under applicable law. But, HMIT abandoned

 its proposed fraud claim that was in its Original Proposed Complaint, so its sole claim for primary

 liability is Seery’s alleged breach of his fiduciary duties. And under Delaware law, the “court

 cannot award punitive damages in [a] fiduciary duty action.”304




 301
     Proposed Complaint ¶¶ 96-99.
 302
     See Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 932 (5th Cir. 2023).
 303
     Green v. Wells Fargo Home Mtg., 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016) (citing Collin Cty. v.
 Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990)); see also Hopkins
 v. Cornerstone Am.
 304
     Buchwald v. Renco Grp. (In re Magnesium Corp. of Am.), 539 B.R. 31, 52 (S.D.N.Y. 2015) (citing Gesoff v. IIC
 Indus., Inc., 902 A.2d 1130, 1154 (Del. Ch. 2006)), aff’d 682 F. App’x 24 (2d Cir. 2017).

                                                       103
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              104 of 105
                                                     Page 490 of 678 PageID 496



    3. HMIT Does Not Present “Colorable” Claims Under this Court’s Gatekeeper Colorability
       Test Because It Seeks to Bring the Proposed Complaint for Improper Purposes of
       Harassment and Bad-Faith, Vexatiousness.

        Under this court’s Gatekeeper Colorability Test, in addition to showing that its allegations

 and claims are not without foundation or merit, HMIT must also show that the Proposed Claims

 are not being brought for any improper purpose. Taking into consideration the court’s knowledge

 of the bankruptcy proceedings and the parties and the evidence presented at the hearing on the

 Motion for Leave, the court finds that HMIT is acting at the behest of, and under the control or

 influence of, Dondero in continuing to pursue harassing, bad faith, vexatious litigation to achieve

 his desired result in these bankruptcy proceedings. So, in addition to failing to show that its

 Proposed Claims have foundation and merit, HMIT cannot show that it is pursuing the Proposed

 Claims for a proper purpose and, thus, cannot meet the requirements under the Gatekeeper

 Colorability Test; HMIT’s Motion for Leave should be denied.

        IV.     CONCLUSION

        The court concludes, having taken into consideration both its knowledge of the bankruptcy

 proceedings and the parties and the evidence presented at the hearing on the Motion for Leave,

 that HMIT’s Motion for Leave should be denied for three independent reasons: (1) HMIT would

 lack constitutional standing to bring the Proposed Claims (and, thus, the federal courts would lack

 subject matter jurisdiction over the Proposed Claims); (2) even if HMIT would have constitutional

 standing to pursue the Proposed Claims, it would lack prudential standing to bring the Proposed

 Claims; and (3) even if HMIT would have both constitutional standing and prudential standing to

 bring the Proposed Claims, it has not met its burden under the Gatekeeper Colorability Test of

 showing that its Proposed Claims are “colorable” claims—that the Proposed Claims are not

 without foundation, not without merit, and not being pursued for an improper purpose. Moreover,



                                                104
  Case 19-34054-sgj11 Doc 3904 Filed 08/25/23 Entered 08/25/23 16:05:41 Desc
Case 3:23-cv-02071-E Document
                       Main Document
                              1-1 FiledPage
                                         09/15/23
                                              105 of 105
                                                     Page 491 of 678 PageID 497



 even if this court’s Gatekeeper Colorability Test should be replaced with a Rule 12(b)(6)

 “plausibility” standard, the Proposed Claims are not plausible.

        Accordingly,

        IT IS ORDERED that HMIT’s Motion for Leave be, and hereby is DENIED.

                       ###End of Memorandum Opinion and Order###




                                                105
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 492 of 678   PageID 498




                       Exhibit 3
     Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 3Page 493 of 678 PageID 499




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 31, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
      In re:                                                          Chapter 11
                                                                  §
                                                                  §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §


           ORDER DENYING APPLICATION FOR EXPEDITED HEARING [DE # 3700]


               This Order is issued in response to the Application for Expedited Hearing on Emergency

     Motion for Leave to File Verified Adversary Proceeding (“Expedited Haring Request”) [DE #

     3700] filed by Hunter Mountain Investment Trust (“HMIT” or “Movant”) on March 28, 2023, at

     4:09 p.m. C.D.T. The Expedited Hearing Request seeks a hearing within three days, or as soon

     thereafter as counsel can be heard, on HMIT’s Emergency Motion for Leave to File Verified

     Adversary Proceeding (“Motion for Leave”) which was filed on March 28, 2023, at 4:02 p.m.

     C.D.T.



                                                      1
  Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 3Page 494 of 678 PageID 500



         The court has concluded that no emergency or other good cause exists, pursuant to Fed.

 R. Bankr. Proc. 9006, and the Expedited Hearing Request will be denied. The Motion for Leave

 will be set in the ordinary course (after 21 days’ notice to affected parties)—i.e., after April 18,

 2023.

         The Motion for Leave is 37 pages in length and contains 350 pages of attachments. It

 seeks leave from the bankruptcy court—pursuant to the bankruptcy court’s “gatekeeping” role 1

 under the confirmed Chapter 11 plan of Highland Capital Management, L.P. (“Highland” or

 “Reorganized Debtor”)—to sue at least the following parties: Muck Holdings, LLC (“Muck”);

 Jessup Holdings, LLC (“Jessup”); Farallon Capital Management, LLC (“Farallon”); Stonehill

 Capital Management, LLC (“Stonehill”); James P. Seery, Jr. (“Seery”); and John Doe Defendant

 Nos. 1-10 (collectively, the “Affected Parties”). The conduct that is described as a basis for the

 desired lawsuit is certain trading of unsecured claims that occurred in 2021 during the Highland

 bankruptcy case. 2 It appears that millions of dollars of damages are sought by Movant, who was

 formerly the largest indirect (ultimate) equity holder of Highland. The legal theories (e.g.,

 breaches of fiduciary duties; fraud; conspiracy; equitable disallowance) are novel in the

 bankruptcy claims trading context. The bankruptcy court, pursuant to the Highland plan, will

 need to analyze whether such claims are “colorable” such that leave to sue should be granted.

         The Affected Parties—and other parties in interest in the underlying bankruptcy case, for

 that matter—should be afforded a reasonable opportunity to respond to the Motion for Leave.

 While Movant, HMIT, has alleged that it may be facing a statute of limitations defense as to


 1
   The bankruptcy court’s “gatekeeping” role was recently affirmed by the Fifth Circuit in In re Highland Capital
 Management, L.P., 48 F.4th 419, 438 (5th Cir. 2022).
 2
   Notice of the claims trading was provided in filings in Highland bankruptcy case, as follows: Claim No. 23 (DE ##
 2211, 2212, and 2215), Claim Nos. 190 and 191 (DE ## 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153 and
 154 (DE # 2263), Claim No. 81 (DE # 2262), Claim No. 72 (DE # 2261).

                                                          2
  Case 19-34054-sgj11 Doc 3713 Filed 03/31/23 Entered 03/31/23 16:43:55 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 3Page 495 of 678 PageID 501



 some claims after April 16, 2023, it appears that Movant has known about the conduct

 underlying the desired lawsuit for well over a year, based on activity that has occurred in the

 bankruptcy court. See, e.g., Memorandum Opinion and Order Granting James Dondero’s

 Motion to Remand Adversary Proceeding to State Court, Denying Fee Reimbursement Request,

 and Related Rulings, Dondero v. Alvarez & Marsal CRF Management, LLC and Farallon

 Capital Management LLC [DE # 22], in Adv. Proc. # 21-03051 (January 4, 2022). Thus, the

 need for an emergency hearing is dubious. Accordingly

        IT IS ORDERED that the Expedited Hearing Request is denied.

        Counsel shall contact the Courtroom Deputy for a setting on the Motion for Leave, which

 setting shall be no sooner than April 19, 2023.

                                       * * * END OF ORDER * * *




                                                   3
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 496 of 678   PageID 502




                       Exhibit 4
     Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 5Page 497 of 678 PageID 503




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 10, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                Chapter 11

      HIGHLAND CAPITAL MANAGEMENT, L.P., Case No. 19-34054-sgj

                                 Reorganized Debtor.




                   ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE
                 WITH RESPECT TO HUNTER MOUNTAIN INVESTMENT TRUST’S
                    EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
                       ADVERSARY PROCEEDING AS SUPPLEMENTED

               The Court conducted a status conference on April 24, 2023, concerning the final scheduling

     of Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No. 3699] and

     Supplement to Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No.

     3760] (collectively, the “Underlying Motion”), as well as whether the hearing on the Underlying

     Motion would be evidentiary, and the Court having considered (i) the Opposed Emergency Motion



     ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
     MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
     ADVERARY PROCEEDING AS SUPPLEMENTED
     Page 1
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 5Page 498 of 678 PageID 504



 to Modify and Fix a Briefing Schedule and Set a Hearing Date with Respect to Hunter Mountain

 Investment Trust’s Emergency Motion for Leave to File Verified Adversary Proceeding [Docket

 No. 3738] (the “Motion”) 1 filed by Highland Capital Management, L.P., and the Highland

 Claimant Trust; (ii) the Joinder to Highland’s Emergency Motion to Modify and Fix Briefing

 Schedule and Set Hearing Date with Respect to Hunter Mountain Investment Trust’s Emergency

 Motion for Leave to File Verified Adversary Proceeding [Docket No. 3740] filed by Muck

 Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management, L.L.C., and Stonehill

 Capital Management LLC; (iii) the Response and Reservation of Rights [Docket No. 3748] filed

 by Hunter Mountain Investment Trust; (iv) the Objection Regarding Evidentiary Hearing and

 Brief Concerning Gatekeeper Proceedings Relating to “Colorability” [Docket No. 3758] filed by

 Hunter Mountain Investment Trust, and (v) the arguments of counsel,

            IT IS HEREBY ORDERED that:

            1.       The hearing on Hunter Mountain Investment Trust’s Emergency Motion for Leave
                     to File Verified Adversary Proceeding [Docket No. 3699] and Supplement to
                     Emergency Motion for Leave to File Verified Adversary Proceeding [Docket No.
                     3760] (collectively, the “Underlying Motion”) shall be held in person on June 8,
                     2023, at 9:30 a.m. (Central Time) before the Honorable Stacey G. C. Jernigan, at
                     1100 Commerce Street, 14th Floor, Courtroom 1, Dallas, Texas, and by Webex for
                     those interested but not directly participating in the hearing.

            2.       Any responses to the Underlying Motion shall be filed no later than May 11, 2023.

            3.       Any replies in support of the Underlying Motion shall be filed no later than May
                     18, 2023.

            4.       The Court will advise the parties on or reasonably after May 18, 2023, whether the
                     Court intends to conduct the hearing on an evidentiary basis.

                                                ###End of Order###




 1
     All capitalized terms used but not defined herein have the meanings given to them in the Motion.

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 2
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 5Page 499 of 678 PageID 505



 Approved as Form Only:

 PARSONS MCENTIRE MCCLEARY PLLC

 /s/ Sawnie A. McEntire______
 Sawnie A. McEntire
 Texas State Bar No. 13590100
 smcentire@pmmlaw.com
 1700 Pacific Avenue, Suite 4400
 Dallas, Texas 75201
 Telephone: (214) 237-4300
 Facsimile: (214) 237-4340

 Roger L. McCleary
 Texas State Bar No. 13393700
 rmccleary@pmmlaw.com
 One Riverway, Suite 1800
 Houston, Texas 77056
 Telephone: (713) 960-7315
 Facsimile: (713) 960-7347

 Counsel for Hunter Mountain Investment Trust

 PACHULSKI STANG ZIEHL & JONES LLP

 Jeffrey N. Pomerantz (CA Bar No. 143717)
 John A. Morris (NY Bar No. 2405397)
 Gregory V. Demo (NY Bar No. 5371992)
 Hayley R. Winograd (NY Bar No. 5612569)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760
 Email: jpomerantz@pszjlaw.com
 jmorris@pszjlaw.com
 gdemo@pszjlaw.com
 hwinograd@pszjlaw.com

 -and-

 HAYWARD PLLC

 /s/ Zachery Z. Annable_____________
 Melissa S. Hayward (Texas Bar No. 24044908)
 Zachery Z. Annable (Texas Bar No. 24053075)

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 3
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 5Page 500 of 678 PageID 506



 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110
 Email: MHayward@HaywardFirm.com
 ZAnnable@HaywardFirm.com

 Counsel for Highland Capital Management, L.P. and the
 Highland Claimant Trust

 HOLLAND & KNIGHT LLP

 /s/ Christopher A. Bailey____________
 Brent R. McIlwain, TSB 24013140
 David C. Schulte TSB 24037456
 Christopher A. Bailey TSB 24104598
 Holland & Knight LLP
 1722 Routh Street, Suite 1500
 Dallas, TX 75201
 Tel.: (214) 964-9500
 Fax (214) 964-9501
 brent.mcilwain@hklaw.com
 david.schulte@hklaw.com
 chris.bailey@hklaw.com

 Counsel for Muck Holdings, LLC,
 Jessup Holdings LLC, Farallon
 Capital Management, L.L.C., and
 Stonehill Capital Management LLC

 REED SMITH LLP

 /s/ Omar J. Alaniz
 Omar J. Alaniz
 Texas Bar No. 24040402
 Lindsey L. Robin
 Texas Bar No. 24091422
 2850 N. Harwood Street, Suite 1500
 Dallas, Texas 75201
 T: 469.680.4200
 F: 469.680.4299
 oalaniz@reedsmith.com
 lrobin@reedsmith.com

 WILLKIE FARR & GALLAGHER LLP

 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 4
  Case 19-34054-sgj11 Doc 3781 Filed 05/11/23 Entered 05/11/23 16:14:25 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 5 of 5Page 501 of 678 PageID 507



 Mark T. Stancil
 Joshua S. Levy
 1875 K Street, N.W.
 Washington, DC 20006
 T: 202.303.1000
 mstancil@willkie.com
 jlevy@willkie.com

 Counsel for James P. Seery, Jr.




 ORDER FIXING BRIEFING SCHEDULE AND HEARING DATE WITH RESPECT TO HUNTER
 MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR LEAVE TO FILE VERIFIED
 ADVERARY PROCEEDING AS SUPPLEMENTED
 Page 5
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 502 of 678   PageID 508




                       Exhibit 5
   Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
 Case 3:23-cv-02071-E Imaged
                       Document
                             Certificate
                                1-1 Filedof Notice
                                              09/15/23
                                                    Page 1
                                                         Page
                                                           of 23503 of 678 PageID 509




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 22, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

      In re:                                                       §
                                                                   § Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                           §
                                                                   § Case No. 19-34054-sgj11
                                      Reorganized Debtor.          §
                                                                   §


      ORDER PERTAINING TO THE HEARING ON HUNTER MOUNTAIN INVESTMENT
          TRUST’S MOTION FOR LEAVE TO FILE ADVERSARY PROCEEDING
                                            [DE ## 3699 & 3760]


               Based on the court’s review of all of the parties’ pleadings and briefing relating to the

     above-referenced motion and supplemental motion (“Motion for Leave”), the court has determined

     that there may be mixed questions of fact and law implicated by the Motion for Leave—and, in

     particular, pertaining to the court’s required inquiry into whether “colorable” claims may exist, as

     described in the Motion for Leave. Therefore, the parties will be permitted to present evidence

     (including witness testimony) at the June 8, 2023 hearing if they so choose. This may include


                                                       1
  Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
Case 3:23-cv-02071-E Imaged
                      Document
                            Certificate
                               1-1 Filedof Notice
                                             09/15/23
                                                   Page 2
                                                        Page
                                                          of 23504 of 678 PageID 510


   examining any witness for whom a Declaration or Affidavit has already been filed. The parties

   will be allowed no more than three hours of presentation time each (allocated three hours to the

   movant and three hours to the aggregate respondents). This allocated presentation time may be

   spent in whatever manner the parties believe will be useful to the court (argument/evidence).

                                    # # # END OF ORDER # # #




                                                   2
         Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
       Case 3:23-cv-02071-E Imaged
                             Document
                                   Certificate
                                      1-1 Filedof Notice
                                                    09/15/23
                                                          Page 3
                                                               Page
                                                                 of 23505 of 678 PageID 511
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
In re:                                                                                                                 Case No. 19-34054-sgj
Highland Capital Management, L.P.                                                                                      Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: admin                                                                 Page 1 of 21
Date Rcvd: May 23, 2023                                               Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 24, 2023:
Recip ID                 Recipient Name and Address
aty                    + Alan J. Kornfeld, Pachulski Stang Ziehl & Jones LLPL, 10100 Santa Monica Blvd., 13 Fl, Los Angeles, CA 90067-4114

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 24, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 22, 2023 at the address(es) listed below:
Name                               Email Address
A. Lee Hogewood, III
                                   on behalf of Interested Party NexPoint Real Estate Strategies Fund lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Defendant NexPoint Advisors L.P. lee.hogewood@klgates.com,
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Interested Party NexPoint Strategic Opportunities Fund lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                   mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                   on behalf of Interested Party Highland/iBoxx Senior Loan ETF lee.hogewood@klgates.com
                                   matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 4
                                                             Page
                                                               of 23506 of 678 PageID 512
District/off: 0539-3                                     User: admin                                                          Page 2 of 21
Date Rcvd: May 23, 2023                                  Form ID: pdf012                                                     Total Noticed: 1
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Merger Arbitrage Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party NexPoint Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Total Return Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Global Allocation Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Funds I and its series lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Opportunistic Credit Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant Highland Income Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Fixed Income Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant NexPoint Capital Inc. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Defendant NexPoint Strategic Opportunities Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Small-Cap Equity Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Socially Responsible Equity Fund lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Funds II and its series lee.hogewood@klgates.com
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party NexPoint Capital Inc. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. lee.hogewood@klgates.com,
                          matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                          mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 5
                                                             Page
                                                               of 23507 of 678 PageID 513
District/off: 0539-3                                              User: admin                                                                Page 3 of 21
Date Rcvd: May 23, 2023                                           Form ID: pdf012                                                           Total Noticed: 1
                                on behalf of Interested Party Highland Healthcare Opportunities Fund lee.hogewood@klgates.com
                                matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                mily.mather@klgates.com;Artoush.varshosaz@klgates.com

A. Lee Hogewood, III
                                on behalf of Interested Party Highland Income Fund lee.hogewood@klgates.com
                                matthew.houston@klgates.com;Sarah.bryant@klgates.com;Mary-Beth.pearson@klgates.com;litigation.docketing@klgates.com;E
                                mily.mather@klgates.com;Artoush.varshosaz@klgates.com

Alexandre J. Tschumi
                                on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
                                alexandretschumi@quinnemanuel.com

Alyssa Russell
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors alyssa.russell@sidley.com
                                efilingnotice@sidley.com;alyssa-russell-3063@ecf.pacerpro.com

Amanda Rush
                                on behalf of Interested Party CCS Medical Inc. asrush@jonesday.com

Amy K. Anderson
                                on behalf of Creditor Issuer Group aanderson@joneswalker.com
                                lfields@joneswalker.com;amy-anderson-9331@ecf.pacerpro.com

Andrew Clubok
                                on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Plaintiff UBS Securities LLC andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Interested Party UBS Securities LLC andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Andrew Clubok
                                on behalf of Interested Party UBS AG London Branch andrew.clubok@lw.com
                                andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com,dclitserv@lw.com

Annmarie Antoniette Chiarello
                                on behalf of Creditor Acis Capital Management L.P. achiarello@winstead.com, dgalindo@winstead.com;kknight@winstead.com

Annmarie Antoniette Chiarello
                                on behalf of Creditor Acis Capital Management GP LLC achiarello@winstead.com,
                                dgalindo@winstead.com;kknight@winstead.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Fixed Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Capital Management Fund Advisors L.P. artoush.varshosaz@klgates.com,
                                Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Small-Cap Equity Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Defendant Highland Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Real Estate Strategies Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Funds II and its series artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Capital Inc. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Socially Responsible Equity Fund artoush.varshosaz@klgates.com
                                Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland/iBoxx Senior Loan ETF artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party NexPoint Strategic Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                                on behalf of Interested Party Highland Total Return Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 6
                                                             Page
                                                               of 23508 of 678 PageID 514
District/off: 0539-3                                        User: admin                                                               Page 4 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                          Total Noticed: 1
                          on behalf of Defendant NexPoint Strategic Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. artoush.varshosaz@klgates.com,
                          Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party NexPoint Advisors L.P. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant NexPoint Advisors L.P. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Defendant NexPoint Capital Inc. artoush.varshosaz@klgates.com, Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Healthcare Opportunities Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Income Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Funds I and its series artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Global Allocation Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Artoush Varshosaz
                          on behalf of Interested Party Highland Merger Arbitrage Fund artoush.varshosaz@klgates.com Julie.garrett@klgates.com

Asif Attarwala
                          on behalf of Interested Party UBS Securities LLC asif.attarwala@lw.com

Asif Attarwala
                          on behalf of Interested Party UBS AG London Branch asif.attarwala@lw.com

Basil A. Umari
                          on behalf of Interested Party Meta-e Discovery LLC BUmari@dykema.com, pelliott@dykema.com

Bennett Rawicki
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC brawicki@gibsondunn.com

Bojan Guzina
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bguzina@sidley.com

Brant C. Martin
                          on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC brant.martin@wickphillips.com
                          samantha.tandy@wickphillips.com

Brent Ryan McIlwain
                          on behalf of Defendant Farallon Capital Management L.L.C. brent.mcilwain@hklaw.com,
                          robert.jones@hklaw.com;brian.smith@hklaw.com

Brent Ryan McIlwain
                          on behalf of Creditor Muck Holdings LLC brent.mcilwain@hklaw.com robert.jones@hklaw.com;brian.smith@hklaw.com

Brian D. Glueckstein
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2 AND LAWRENCE TONOMURA
                          IN HIS CAPACITY AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2
                          gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Defendant Mark Okada gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party Mark Okada gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 AND LAWRENCE TONOMURA
                          AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #2 gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Okada Insurance Rabbi Trust gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party Okada Family Foundation Inc. gluecksteinb@sullcrom.com

Brian D. Glueckstein
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #1 gluecksteinb@sullcrom.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                            Document
                                  Certificate
                                     1-1 Filedof Notice
                                                   09/15/23
                                                         Page 7
                                                              Page
                                                                of 23509 of 678 PageID 515
District/off: 0539-3                                           User: admin                                                           Page 5 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                      Total Noticed: 1
Brian J. Smith
                              on behalf of Defendant Farallon Capital Management L.L.C. brian.smith@hklaw.com,
                              robert.jones@hklaw.com;brent.mcilwain@hklaw.com

Bryan C. Assink
                              on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

Bryan C. Assink
                              on behalf of Creditor The Dugaboy Investment Trust bryan.assink@bondsellis.com

Bryan C. Assink
                              on behalf of Plaintiff James Dondero bryan.assink@bondsellis.com

Cameron A. Fine
                              on behalf of Defendant Hunter Mountain Investment Trust cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                              INVESTMENT TRUST cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross-Claimant Hunter Mountain Investment Trust cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant STRAND ADVISORS INC cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                              INVESTMENT TRUST cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant GET GOOD TRUST AND GRANT JAMES SCOTT III AS TRUSTEE OF GET GOOD TRUST
                              cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant James D. Dondero cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Cross-Claimant RAND PE FUND I LP, SERIES 1 cameron.fine@us.dlapiper.com

Cameron A. Fine
                              on behalf of Defendant RAND PE FUND I LP, SERIES 1 cameron.fine@us.dlapiper.com

Candice Marie Carson
                              on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Interested Party UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                              on behalf of Interested Party UBS Securities LLC Candice.Carson@butlersnow.com

Chad D. Timmons
                              on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR bankruptcy@abernathy-law.com

Charles Martin Persons, Jr.
                              on behalf of Creditor Committee Official Committee of Unsecured Creditors cpersons@sidley.com
                              txefilingnotice@sidley.com;charles-persons-5722@ecf.pacerpro.com

Charles W. Gameros, Jr.
                              on behalf of Creditor HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) bgameros@legaltexas.com,
                              lmilam@legaltexas.com;jrauch@legaltexas.com;wcarvell@legaltexas.com

Charles W. Gameros, Jr.
                              on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC bgameros@legaltexas.com
                              lmilam@legaltexas.com;jrauch@legaltexas.com;wcarvell@legaltexas.com

Christopher Andrew Bailey
                              on behalf of Creditor Jessup Holdings LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Stonehill Capital Management LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Farallon Capital Management LLC Christopher.Bailey@hklaw.com, hapi@hklaw.com

Christopher Andrew Bailey
                              on behalf of Creditor Muck Holdings LLC Christopher.Bailey@hklaw.com hapi@hklaw.com

Christopher J. Akin
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                            Document
                                  Certificate
                                     1-1 Filedof Notice
                                                   09/15/23
                                                         Page 8
                                                              Page
                                                                of 23510 of 678 PageID 516
District/off: 0539-3                                       User: admin                                                            Page 6 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          on behalf of Defendant Isaac Leventon cakin@lynnllp.com cbaker@lynnllp.com

Christopher J. Akin
                          on behalf of Defendant Scott Ellington cakin@lynnllp.com cbaker@lynnllp.com

Clay M. Taylor
                          on behalf of Interested Party James Dondero clay.taylor@bondsellis.com linda.gordon@bondsellis.com

Clay M. Taylor
                          on behalf of Plaintiff James Dondero clay.taylor@bondsellis.com linda.gordon@bondsellis.com

Cortney C. Thomas
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #2 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 AND LAWRENCE TONOMURA
                          AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #1 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant Mark Okada cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party Okada Family Foundation Inc. cort@brownfoxlaw.com, korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Defendant MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2 AND LAWRENCE TONOMURA
                          IN HIS CAPACITY AS TRUSTEE OF MARK & PAMELA OKADA FAMILY TRUST EXEMPT TRUST #2
                          cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party The Okada Insurance Rabbi Trust cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party Mark Okada cort@brownfoxlaw.com korourke@brownfoxlaw.com

Cortney C. Thomas
                          on behalf of Interested Party The Mark & Pamela Okada Family Trust - Exempt Trust #1 cort@brownfoxlaw.com
                          korourke@brownfoxlaw.com

Daniel P. Winikka
                          on behalf of Interested Party Jack Yang dan@danwinlaw.com dan@danwinlaw.com

Daniel P. Winikka
                          on behalf of Interested Party Brad Borud dan@danwinlaw.com dan@danwinlaw.com

David G. Adams
                          on behalf of Creditor United States (IRS) david.g.adams@usdoj.gov southwestern.taxcivil@usdoj.gov;dolores.c.lopez@usdoj.gov

David Grant Crooks
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors dcrooks@foxrothschild.com
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

David Grant Crooks
                          on behalf of Creditor PensionDanmark Pensionsforsikringsaktieselskab dcrooks@foxrothschild.com
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

David Grant Crooks
                          on behalf of Debtor Highland Capital Management L.P. dcrooks@foxrothschild.com,
                          etaylor@foxrothschild.com,rdietz@foxrothschild.com,plabov@foxrothschild.com,jmanfrey@foxrothschild.com

Davor Rukavina
                          on behalf of Defendant NexPoint Advisors L.P. drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Healthcare Opportunities Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party NexPoint Real Estate Strategies Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Global Allocation Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Funds I and its series drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party NexPoint Strategic Opportunities Fund drukavina@munsch.com

Davor Rukavina
                          on behalf of Interested Party Highland Merger Arbitrage Fund drukavina@munsch.com
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                           Document
                                 Certificate
                                    1-1 Filedof Notice
                                                  09/15/23
                                                        Page 9
                                                             Page
                                                               of 23511 of 678 PageID 517
District/off: 0539-3                                          User: admin                                                          Page 7 of 21
Date Rcvd: May 23, 2023                                       Form ID: pdf012                                                     Total Noticed: 1
Davor Rukavina
                             on behalf of Interested Party Highland Total Return Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Socially Responsible Equity Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party NexPoint Capital Inc. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant NexPoint Strategic Opportunities Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Small-Cap Equity Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant Highland Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party NexPoint Advisors L.P. drukavina@munsch.com

Davor Rukavina
                             on behalf of Defendant NexPoint Capital Inc. drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Fixed Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Opportunistic Credit Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Income Fund drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland Funds II and its series drukavina@munsch.com

Davor Rukavina
                             on behalf of Interested Party Highland/iBoxx Senior Loan ETF drukavina@munsch.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Nancy Dondero deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Highland Capital Management Services Inc. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant Highland Capital Management Fund Advisors L.P. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Plaintiff Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Plaintiff Hunter Mountain Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant James Dondero deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant NexPoint Advisors L.P. deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Creditor The Dugaboy Investment Trust deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Witness Nancy Dondero deborah.deitschperez@stinson.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 10
                                                              Page
                                                                of 23
                                                                    512 of 678 PageID 518
District/off: 0539-3                                         User: admin                                                            Page 8 of 21
Date Rcvd: May 23, 2023                                      Form ID: pdf012                                                       Total Noticed: 1
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Interested Party Highland CLO Management Ltd deborah.deitschperez@stinson.com
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Deborah Rose Deitsch-Perez
                             on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) deborah.deitschperez@stinson.com,
                             patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Debra A Dandeneau
                             on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon debra.dandeneau@bakermckenzie.com,
                             blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Frank Waterhouse debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Isaac Leventon debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Interested Party CPCM LLC debra.dandeneau@bakermckenzie.com, blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant CPCM LLC debra.dandeneau@bakermckenzie.com, blaire.cahn@bakermckenzie.com

Debra A Dandeneau
                             on behalf of Defendant Scott Ellington debra.dandeneau@bakermckenzie.com blaire.cahn@bakermckenzie.com

Dennis M. Twomey
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors dtwomey@sidley.com

Donna K. Webb
                             on behalf of Creditor Pension Benefit Guaranty Corporation donna.webb@usdoj.gov
                             brian.stoltz@usdoj.gov;CaseView.ECF@usdoj.gov;brooke.lewis@usdoj.gov

Douglas J. Schneller
                             on behalf of Creditor Contrarian Funds LLC douglas.schneller@rimonlaw.com

Douglas S. Draper
                             on behalf of Creditor The Get Good Non Exempt Trust No 2 ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Better Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Canis Minor Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Good Non Exempt Trust No 1 ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor The Dondero Insurance Rabbi Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Get Good Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor Dana Scott Breault ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor SLHC Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Defendant The Get Good Nonexempt Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Douglas S. Draper
                             on behalf of Creditor The Dugaboy Investment Trust ddraper@hellerdraper.com
                             dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 11
                                                             Page
                                                               of 23
                                                                   513 of 678 PageID 519
District/off: 0539-3                                       User: admin                                                             Page 9 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                        Total Noticed: 1
Douglas S. Draper
                          on behalf of Creditor Dolomiti LLC ddraper@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com;mlandis@hellerdraper.com;gbrouphy@hellerdraper.com

Edmon L. Morton
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors emorton@ycst.com

Edward J. Leen
                          on behalf of Creditor Jessup Holdings LLC eleen@mkbllp.com

Edwin Paul Keiffer
                          on behalf of Creditor Beacon Mountain LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Atlas IDF GP, LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand PE Fund Management LLC pkeiffer@romclaw.com,
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Defendant Hunter Mountain Investment Trust pkeiffer@romclaw.com
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Atlas IDF LP pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Hunter Mountain Investment Trust pkeiffer@romclaw.com
                          bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand PE Fund I LP pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor John Honis pkeiffer@romclaw.com bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Interested Party Hunter Mountain Trust pkeiffer@romclaw.com bwallace@romclaw.com,dsalinas@romclaw.com

Edwin Paul Keiffer
                          on behalf of Creditor Rand Advisors LLC pkeiffer@romclaw.com, bwallace@romclaw.com,dsalinas@romclaw.com

Elizabeth Weller
                          on behalf of Creditor Fannin CAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Grayson County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Dallas County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Coleman County TAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Allen ISD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Irving ISD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Tarrant County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Rockwall CAD Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Kaufman County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Elizabeth Weller
                          on behalf of Creditor Upshur County Dora.Casiano-Perez@lgbs.com dallas.bankruptcy@lgbs.com

Eric A. Soderlund
                          on behalf of Interested Party CPCM LLC eric.soderlund@rsbfirm.com

Eric A. Soderlund
                          on behalf of Interested Party Former Employees eric.soderlund@rsbfirm.com

Eric A. Soderlund
                          on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon eric.soderlund@rsbfirm.com

Eric A. Soderlund
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 12
                                                             Page
                                                               of 23
                                                                   514 of 678 PageID 520
District/off: 0539-3                                        User: admin                                                             Page 10 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                         Total Noticed: 1
                          on behalf of Creditor Frank Waterhouse Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter Covitz and Thomas Surgent
                          eric.soderlund@rsbfirm.com

Eric Thomas Haitz
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC ehaitz@gibsondunn.com, skoller@gibsondunn.com

Frances Anne Smith
                          on behalf of Interested Party CPCM LLC frances.smith@rsbfirm.com, michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Plaintiff Scott Byron Ellington frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Frank Waterhouse frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Interested Party Former Employees frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Interested Party Matthew DiOrio Scott Ellington, Isaac Leventon, Mary Kathryn Lucas (nee Irving), John Paul
                          Sevilla, Stephanie Vitiello, and Frank Waterhouse frances.smith@rsbfirm.com, michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Scott Ellington frances.smith@rsbfirm.com michael.coulombe@rsbfirm.com

Frances Anne Smith
                          on behalf of Creditor Scott Ellington Thomas Surgent, Frank Waterhouse, Isaac Leventon frances.smith@rsbfirm.com,
                          michael.coulombe@rsbfirm.com

Gregory Getty Hesse
                          on behalf of Spec. Counsel Hunton Andrews Kurth LLP ghesse@huntonak.com
                          kkirk@huntonak.com;tcanada@HuntonAK.com;creeves@HuntonAK.com

Gregory V. Demo
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors gdemo@pszjlaw.com
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Defendant Highland Capital Management LP gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Debtor Highland Capital Management L.P. gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Gregory V. Demo
                          on behalf of Defendant Highland Capital Management L.P. gdemo@pszjlaw.com,
                          jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com;jmorris@pszjlaw.com;jpomerantz@pszj
                          law.com;hwinograd@pszjlaw.com;kyee@pszjlaw.com;lsc@pszjlaw.com

Greta M. Brouphy
                          on behalf of Creditor The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com

Greta M. Brouphy
                          on behalf of Defendant The Dugaboy Investment Trust gbrouphy@hellerdraper.com
                          dhepting@hellerdraper.com;vgamble@hellerdraper.com

Greta M. Brouphy
                          on behalf of Creditor Get Good Trust gbrouphy@hellerdraper.com dhepting@hellerdraper.com;vgamble@hellerdraper.com

Hayley R. Winograd
                          on behalf of Defendant Highland Capital Management LP hwinograd@pszjlaw.com

Hayley R. Winograd
                          on behalf of Defendant Highland Capital Management L.P. hwinograd@pszjlaw.com

Hayley R. Winograd
                          on behalf of Debtor Highland Capital Management L.P. hwinograd@pszjlaw.com

Holland N. O'Neil
                          on behalf of Spec. Counsel Foley Gardere Foley & Lardner LLP honeil@foley.com,
                          jcharrison@foley.com;holly-holland-oneil-3540@ecf.pacerpro.com

J. Seth Moore
                          on behalf of Creditor Siepe LLC smoore@condontobin.com, jsteele@condontobin.com

Jaclyn C. Weissgerber
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bankfilings@ycst.com jweissgerber@ycst.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 13
                                                              Page
                                                                of 23
                                                                    515 of 678 PageID 521
District/off: 0539-3                                       User: admin                                                       Page 11 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                   Total Noticed: 1
Jason Bernstein
                          on behalf of Creditor BHH Equities LLC casey.doherty@dentons.com
                          dawn.brown@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com

Jason Bernstein
                          on behalf of Interested Party Jefferies LLC casey.doherty@dentons.com
                          dawn.brown@dentons.com;Melinda.sanchez@dentons.com;docket.general.lit.dal@dentons.com

Jason Alexander Enright
                          on behalf of Creditor Acis Capital Management L.P. jenright@winstead.com

Jason Alexander Enright
                          on behalf of Creditor Acis Capital Management GP LLC jenright@winstead.com

Jason Michael Hopkins
                          on behalf of Interested Party James Dondero jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant James D. Dondero jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant DUGABOY INVESTMENT TRUST AND NANCY DONDERO AS TRUSTEE OF DUGABOY
                          INVESTMENT TRUST jason.hopkins@dlapiper.com, jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor The Dugaboy Investment Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant RAND PE FUND I LP, SERIES 1 jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor Strand Advisors Inc. jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant GET GOOD TRUST AND GRANT JAMES SCOTT III AS TRUSTEE OF GET GOOD TRUST
                          jason.hopkins@dlapiper.com, jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Creditor Get Good Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant STRAND ADVISORS INC jason.hopkins@dlapiper.com,
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Michael Hopkins
                          on behalf of Defendant Hunter Mountain Investment Trust jason.hopkins@dlapiper.com
                          jen.westin@dlapiper.com;jason-hopkins-2248@ecf.pacerpro.com

Jason Patrick Kathman
                          on behalf of Creditor Patrick Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Paul Kauffman jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Defendant Patrick Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Todd Travers jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Defendant Patrick Hagaman Daugherty jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason Patrick Kathman
                          on behalf of Creditor Davis Deadman jkathman@spencerfane.com
                          gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com

Jason S. Brookner
                          on behalf of Creditor Patrick Daugherty jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com

Jason S. Brookner
                          on behalf of Defendant Patrick Daugherty jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 14
                                                              Page
                                                                of 23
                                                                    516 of 678 PageID 522
District/off: 0539-3                                        User: admin                                                         Page 12 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                     Total Noticed: 1
Jason S. Brookner
                           on behalf of Creditor Gray Reed & McGraw LLP jbrookner@grayreed.com lwebb@grayreed.com;acarson@grayreed.com

Jeff P. Prostok
                           on behalf of Creditor Acis Capital Management L.P. jprostok@forsheyprostok.com,
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Joshua Terry jprostok@forsheyprostok.com
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Jennifer G. Terry jprostok@forsheyprostok.com
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeff P. Prostok
                           on behalf of Creditor Acis Capital Management GP LLC jprostok@forsheyprostok.com,
                           calendar@forsheyprostok.com;calendar_0573@ecf.courtdrive.com;jprostok@ecf.courtdrive.com;khartogh@forsheyprostok.com;
                           khartogh@ecf.courtdrive.com

Jeffrey Kurtzman
                           on behalf of Creditor BET Investments II L.P. kurtzman@kurtzmansteady.com

Jeffrey Nathan Pomerantz
                           on behalf of Defendant Highland Capital Management L.P. jpomerantz@pszjlaw.com

Jeffrey Nathan Pomerantz
                           on behalf of Debtor Highland Capital Management L.P. jpomerantz@pszjlaw.com

John A. Morris
                           on behalf of Defendant Highland Capital Management L.P. jmorris@pszjlaw.com

John A. Morris
                           on behalf of Defendant Highland Capital Management LP jmorris@pszjlaw.com

John A. Morris
                           on behalf of Debtor Highland Capital Management L.P. jmorris@pszjlaw.com

John J. Kane
                           on behalf of Defendant CLO Holdco Ltd. jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Creditor Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John J. Kane
                           on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

John Kendrick Turner
                           on behalf of Creditor City of Allen john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Tarrant County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Fannin CAD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Irving ISD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Dallas County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Upshur County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Allen ISD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Kaufman County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor City of Richardson john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John Kendrick Turner
                           on behalf of Creditor Grayson County john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 15
                                                              Page
                                                                of 23
                                                                    517 of 678 PageID 523
District/off: 0539-3                                        User: admin                                                    Page 13 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                Total Noticed: 1
John Kendrick Turner
                          on behalf of Creditor Coleman County TAD john.turner@lgbs.com Dora.Casiano-Perez@lgbs.com;Dallas.Bankruptcy@lgbs.com

John T. Cox, III
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC tcox@gibsondunn.com,
                          WCassidy@gibsondunn.com;twesley@gibsondunn.com

Jonathan D. Sundheimer
                          on behalf of Creditor NWCC LLC jsundhimer@btlaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff PCMG Trading Partners XXIII LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff CLO Holdco Ltd. jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Interested Party CLO Holdco Ltd. jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Plaintiff Charitable DAF Fund LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Interested Party Charitable DAF Fund LP jeb@sbaitilaw.com

Jonathan E. Bridges
                          on behalf of Creditor CLO Holdco Ltd. jeb@sbaitilaw.com

Jordan A. Kroop
                          on behalf of Debtor Highland Capital Management L.P. jkroop@pszjlaw.com, tcorrea@pszjlaw.com

Joseph E. Bain
                          on behalf of Creditor Issuer Group JBain@joneswalker.com
                          kvrana@joneswalker.com;joseph-bain-8368@ecf.pacerpro.com;msalinas@joneswalker.com

Joshua Seth Levy
                          on behalf of Other Professional James P. Seery Jr. jlevy@willkie.com

Joshua Seth Levy
                          on behalf of Creditor James P. Seery Jr. jlevy@willkie.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Real Estate Strategies Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Opportunistic Credit Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Capital Inc. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Small-Cap Equity Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Healthcare Opportunities Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Merger Arbitrage Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Capital Inc. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Fixed Income Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland/iBoxx Senior Loan ETF jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Funds I and its series jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Advisors GP LLC jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Strategic Opportunities Fund jvasek@munsch.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 16
                                                              Page
                                                                of 23
                                                                    518 of 678 PageID 524
District/off: 0539-3                                        User: admin                                                   Page 14 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                               Total Noticed: 1
Julian Preston Vasek
                          on behalf of Interested Party NexPoint Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Socially Responsible Equity Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Global Allocation Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Total Return Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party NexPoint Strategic Opportunities Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Funds II and its series jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Interested Party Highland Income Fund jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant NexPoint Advisors L.P. jvasek@munsch.com

Julian Preston Vasek
                          on behalf of Defendant Highland Income Fund jvasek@munsch.com

Juliana Hoffman
                          on behalf of Creditor Sidley Austin LLP jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Financial Advisor FTI Consulting Inc. jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Plaintiff Official Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Plaintiff Marc Kirschner jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Other Professional Teneo Capital LLC jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party UBS Securities LLC jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party UBS AG London Branch jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Debtor Highland Capital Management L.P. jhoffman@sidley.com,
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Juliana Hoffman
                          on behalf of Interested Party Committee of Unsecured Creditors jhoffman@sidley.com
                          txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Kesha Tanabe
                          on behalf of Creditor Cedar Glade LP kesha@tanabelaw.com

Kevin Perkins
                          on behalf of Defendant MASSAND CAPITAL LLC kperkins@vanacourperkins.com

Kevin Perkins
                          on behalf of Defendant MASSAND CAPITAL INC. kperkins@vanacourperkins.com

Kimberly A. Posin
                          on behalf of Interested Party UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 17
                                                              Page
                                                                of 23
                                                                    519 of 678 PageID 525
District/off: 0539-3                                       User: admin                                                           Page 15 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          on behalf of Interested Party UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                          on behalf of Plaintiff UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Kristin H. Jain
                          on behalf of Interested Party NexPoint Advisors L.P. KHJain@JainLaw.com, dskierski@skijain.com

Kristin H. Jain
                          on behalf of Interested Party NexPoint Real Estate Advisors L.P. KHJain@JainLaw.com, dskierski@skijain.com

Larry R. Boyd
                          on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR lboyd@abernathy-law.com
                          ljameson@abernathy-law.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Residential Trust Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Finance Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Eagle Equity Advisors LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Highland Capital Management Services Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party VineBrook Homes Trust, Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Partners LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party Nexpoint Real Estate Capital LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VIII L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VI L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor NexPoint Real Estate Partners LLC f/k/a HCRE Partners LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors III L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Multifamily Capital Trust Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party MGM Holdings Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Securities Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Title Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor Advisors Equity Group LLC lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Hospitality Trust lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors VII L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Creditor HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexBank Capital Inc. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors V L.P. lkdrawhorn@gmail.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 18
                                                              Page
                                                                of 23
                                                                    520 of 678 PageID 526
District/off: 0539-3                                        User: admin                                                      Page 16 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                  Total Noticed: 1
Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors IV L.P. lkdrawhorn@gmail.com

Lauren Kessler Drawhorn
                          on behalf of Interested Party NexPoint Real Estate Advisors II L.P. lkdrawhorn@gmail.com

Laurie A Spindler
                          on behalf of Creditor Grayson County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Dallas County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Allen ISD Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Kaufman County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Tarrant County Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor City of Allen Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor City of Richardson Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Laurie A Spindler
                          on behalf of Creditor Irving ISD Laurie.Spindler@lgbs.com
                          Dora.Casiano-Perez@lgbs.com;Olivia.salvatierra@lgbs.com;Michael.Alvis@lgbs.com;dallas.bankruptcy@lgbs.com

Leslie A. Collins
                          on behalf of Creditor The Dugaboy Investment Trust lcollins@hellerdraper.com

Leslie A. Collins
                          on behalf of Defendant The Dugaboy Investment Trust lcollins@hellerdraper.com

Leslie A. Collins
                          on behalf of Creditor Get Good Trust lcollins@hellerdraper.com

Linda D. Reece
                          on behalf of Creditor Plano ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor City of Garland lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor Wylie ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Linda D. Reece
                          on behalf of Creditor Garland ISD lreece@pbfcm.com lreece@ecf.courtdrive.com

Lindsey Lee Robin
                          on behalf of Other Professional James P. Seery Jr. lrobin@reedsmith.com,
                          jkrasnic@reedsmith.com;anixon@reedsmith.com;ahinson@reedsmith.com

Lindsey Lee Robin
                          on behalf of Creditor James P. Seery Jr. lrobin@reedsmith.com,
                          jkrasnic@reedsmith.com;anixon@reedsmith.com;ahinson@reedsmith.com

Lisa L. Lambert
                          on behalf of U.S. Trustee United States Trustee lisa.l.lambert@usdoj.gov

Louis M. Phillips
                          on behalf of Creditor Charitable DAF HoldCo Ltd. louis.phillips@kellyhart.com,
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                          on behalf of Interested Party Mary Jalonick louis.phillips@kellyhart.com
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                          on behalf of Defendant Charitable DAF Fund LP louis.phillips@kellyhart.com,
                          june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 19
                                                              Page
                                                                of 23
                                                                    521 of 678 PageID 527
District/off: 0539-3                                           User: admin                                                             Page 17 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                         Total Noticed: 1
                             on behalf of Defendant CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Santa Barbara Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Defendant Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Dallas Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Charitable DAF Fund LP louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Respondent Mark Patrick louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor The Charitable DAF Fund L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Charitable DAF GP L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Greater Kansas City Community Foundation louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Santa Barbara Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Kansas City Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Plaintiff CLO Holdco Ltd. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Plaintiff Charitable DAF Fund LP louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Interested Party The Charitable DAF Fund L.P. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Defendant CLO HOLDCO LTD.; CHARITABLE DAF HOLDCO, LTD. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Highland Dallas Foundation Inc. louis.phillips@kellyhart.com,
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

Louis M. Phillips
                             on behalf of Creditor Hunter Mountain Investment Trust louis.phillips@kellyhart.com
                             june.alcantara-davis@kellyhart.com;Amelia.Hurt@kellyhart.com

M. David Bryant, Jr.
                             on behalf of Interested Party Integrated Financial Associates Inc. dbryant@dykema.com, csmith@dykema.com

Margaret Michelle Hartmann
       Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
     Case 3:23-cv-02071-E Imaged
                            Document
                                 Certificate
                                     1-1 Filed
                                             of Notice
                                                  09/15/23
                                                       Page 20
                                                             Page
                                                               of 23
                                                                   522 of 678 PageID 528
District/off: 0539-3                                           User: admin                                                        Page 18 of 21
Date Rcvd: May 23, 2023                                        Form ID: pdf012                                                    Total Noticed: 1
                             on behalf of Defendant Scott Ellington michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Interested Party CPCM LLC michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant Frank Waterhouse michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant CPCM LLC michelle.hartmann@bakermckenzie.com

Margaret Michelle Hartmann
                             on behalf of Defendant Isaac Leventon michelle.hartmann@bakermckenzie.com

Mark Stancil
                             on behalf of Other Professional James P. Seery Jr. mstancil@robbinsrussell.com

Mark Stancil
                             on behalf of Creditor James P. Seery Jr. mstancil@robbinsrussell.com

Mark A. Platt
                             on behalf of Interested Party Redeemer Committee of the Highland Crusader Fund mplatt@fbtlaw.com
                             dwilliams@fbtlaw.com,mluna@fbtlaw.com

Martin A. Sosland
                             on behalf of Interested Party UBS AG London Branch martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Plaintiff UBS AG London Branch martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Interested Party UBS Securities LLC martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                             on behalf of Plaintiff UBS Securities LLC martin.sosland@butlersnow.com
                             ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Matthew Gold
                             on behalf of Creditor Argo Partners courts@argopartners.net

Matthew A. Clemente
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Matthew A. Clemente
                             on behalf of Interested Party Committee of Unsecured Creditors mclemente@sidley.com
                             matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                             ey@sidley.com

Matthew G. Bouslog
                             on behalf of Interested Party Alvarez & Marsal CRF Management LLC, as Investment Manager of the Highland Crusader Funds
                             mbouslog@gibsondunn.com, nbrosman@gibsondunn.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff CLO Holdco Ltd. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party Charitable DAF Fund LP mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff PCMG Trading Partners XXIII LP mas@sbaitilaw.com
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party CLO Holdco Ltd. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Creditor The Charitable DAF Fund L.P. mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Plaintiff Charitable DAF Fund LP mas@sbaitilaw.com,
                             krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                             on behalf of Interested Party The Charitable DAF Fund L.P. mas@sbaitilaw.com,
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 21
                                                              Page
                                                                of 23
                                                                    523 of 678 PageID 529
District/off: 0539-3                                       User: admin                                                           Page 19 of 21
Date Rcvd: May 23, 2023                                    Form ID: pdf012                                                       Total Noticed: 1
                          krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Mazin Ahmad Sbaiti
                          on behalf of Creditor CLO Holdco Ltd. mas@sbaitilaw.com,
                          krj@sbaitilaw.com;jeb@sbaitilaw.com;mgp@sbaitilaw.com;mgp@sbaitilaw.com

Megan Young-John
                          on behalf of Creditor Issuer Group myoung-john@porterhedges.com

Megan F. Clontz
                          on behalf of Creditor Todd Travers mclontz@spencerfane.com lvargas@spencerfane.com

Megan F. Clontz
                          on behalf of Creditor Patrick Daugherty mclontz@spencerfane.com lvargas@spencerfane.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Debtor Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Defendant Highland Capital Management LP MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Melissa S. Hayward
                          on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael A. Rosenthal
                          on behalf of Defendant Alvarez & Marsal CRF Management LLC mrosenthal@gibsondunn.com

Michael Justin Lang
                          on behalf of Interested Party James Dondero mlang@cwl.law aohlinger@cwl.law;mbrown@cwl.law

Michael P. Aigen
                          on behalf of Plaintiff Hunter Mountain Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Creditor The Dugaboy Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant James Dondero michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Plaintiff Dugaboy Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant NexPoint Advisors L.P. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant HCRE Partners LLC (n/k/a NexPoint Real Estate Partners, LLC) michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Highland Capital Management Services Inc. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Creditor Hunter Mountain Investment Trust michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Defendant Nancy Dondero michael.aigen@stinson.com

Michael P. Aigen
                          on behalf of Interested Party Highland CLO Management Ltd michael.aigen@stinson.com

Michael Scott Held
                          on behalf of Creditor Crescent TC Investors L.P. mheld@jw.com, kgradney@jw.com;azuniga@jw.com

Michelle E. Shriro
                          on behalf of Interested Party California Public Employees Retirement System (CalPERS) mshriro@singerlevick.com
                          scotton@singerlevick.com;tguillory@singerlevick.com

Nicole Skolnekovich
                          on behalf of Interested Party Hunton Andrews Kurth LLP nskolnekovich@hunton.com
                          astowe@huntonak.com;creeves@huntonak.com

Omar Jesus Alaniz
                          on behalf of Other Professional James P. Seery Jr. oalaniz@reedsmith.com,
                          omar-alaniz-2648@ecf.pacerpro.com;jkrasnic@reedsmith.com;ahinson@reedsmith.com

Paige Holden Montgomery
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 22
                                                              Page
                                                                of 23
                                                                    524 of 678 PageID 530
District/off: 0539-3                                        User: admin                                                               Page 20 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                           Total Noticed: 1
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Plaintiff Marc Kirschner pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Interested Party Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Plaintiff Official Committee of Unsecured Creditors pmontgomery@sidley.com
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paige Holden Montgomery
                          on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
                          pmontgomery@sidley.com,
                          txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;spencer.stephens@sidley.com;ebromagen@sidley.com;e
                          filingnotice@sidley.com

Paul M. Lopez
                          on behalf of Creditor COLLIN COUNTY TAX ASSESSOR/COLLECTOR bankruptcy@abernathy-law.com

Paul Richard Bessette
                          on behalf of Interested Party Highland CLO Funding Ltd. pbessette@KSLAW.com,
                          ccisneros@kslaw.com;jworsham@kslaw.com;kbryan@kslaw.com;jcarvalho@kslaw.com

Penny Packard Reid
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors preid@sidley.com
                          txefilingnotice@sidley.com;penny-reid-4098@ecf.pacerpro.com;ncade@sidley.com

Phillip L. Lamberson
                          on behalf of Creditor Acis Capital Management GP LLC plamberson@winstead.com

Phillip L. Lamberson
                          on behalf of Creditor Acis Capital Management L.P. plamberson@winstead.com

Rakhee V. Patel
                          on behalf of Creditor Acis Capital Management GP LLC rpatel@sidley.com, dgalindo@winstead.com;achiarello@winstead.com

Rakhee V. Patel
                          on behalf of Creditor Acis Capital Management L.P. rpatel@sidley.com, dgalindo@winstead.com;achiarello@winstead.com

Robert Joel Feinstein
                          on behalf of Debtor Highland Capital Management L.P. rfeinstein@pszjlaw.com

Robert Joel Feinstein
                          on behalf of Defendant Highland Capital Management LP rfeinstein@pszjlaw.com

Ryan E. Manns
                          on behalf of Interested Party UBS Securities LLC ryan.manns@nortonrosefulbright.com

Ryan E. Manns
                          on behalf of Interested Party UBS AG London Branch ryan.manns@nortonrosefulbright.com

Sarah A. Schultz
                          on behalf of Interested Party PetroCap LLC sschultz@akingump.com,
                          mstamer@akingump.com;afreeman@akingump.com;dkazlow@akingump.com;aqureshi@akingump.com;dkrasa-berstell@akingu
                          mp.com;bkemp@akingump.com;brenda-kemp-7410@ecf.pacerpro.com

Sawnie A. McEntire
                          on behalf of Interested Party Hunter Mountain Trust smcentire@pmmlaw.com
                          gromero@pmmlaw.com;tmiller@pmmlaw.com;bcandis@pmmlaw.com

Sawnie A. McEntire
                          on behalf of Creditor Hunter Mountain Investment Trust smcentire@pmmlaw.com
                          gromero@pmmlaw.com;tmiller@pmmlaw.com;bcandis@pmmlaw.com

Sean M. Beach
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors bankfilings@ycst.com sbeach@ycst.com

Shawn M Bates
                          on behalf of Creditor Acis Capital Management L.P. sbates@azalaw.com, tbyrd@azalaw.com

Shawn M. Christianson
                          on behalf of Creditor Oracle America Inc. schristianson@buchalter.com, cmcintire@buchalter.com

Susheel Kirpalani
                          on behalf of Interested Party Litigation Trustee of the Highland Capital Management L.P. Litigation Sub-Trust
        Case 19-34054-sgj11 Doc 3790 Filed 05/24/23 Entered 05/24/23 23:21:14 Desc
      Case 3:23-cv-02071-E Imaged
                             Document
                                  Certificate
                                      1-1 Filed
                                              of Notice
                                                   09/15/23
                                                        Page 23
                                                              Page
                                                                of 23
                                                                    525 of 678 PageID 531
District/off: 0539-3                                        User: admin                                                             Page 21 of 21
Date Rcvd: May 23, 2023                                     Form ID: pdf012                                                         Total Noticed: 1
                          susheelkirpalani@quinnemanuel.com, dian.gwinnup@haynesboone.com

Suzanne K. Rosen
                          on behalf of Creditor Acis Capital Management GP LLC srosen@forsheyprostok.com,
                          calendar@forsheyprostok.com;srosen@ecf.courtdrive.com;calendar_0573@ecf.courtdrive.com;khartogh@forsheyprostok.com;kh
                          artogh@ecf.courtdrive.com

Suzanne K. Rosen
                          on behalf of Creditor Acis Capital Management L.P. srosen@forsheyprostok.com,
                          calendar@forsheyprostok.com;srosen@ecf.courtdrive.com;calendar_0573@ecf.courtdrive.com;khartogh@forsheyprostok.com;kh
                          artogh@ecf.courtdrive.com

Thomas Albert Cooke
                          on behalf of Creditor Acis Capital Management L.P. tcooke@azalaw.com, mflores@azalaw.com

Thomas C. Scannell
                          on behalf of Interested Party Sentinel Reinsurance Ltd. tscannell@foley.com
                          acordero@foley.com;thomas-scannell-3441@ecf.pacerpro.com

Thomas Daniel Berghman
                          on behalf of Interested Party NexPoint Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Interested Party Highland Capital Management Fund Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Defendant NexPoint Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas Daniel Berghman
                          on behalf of Defendant Highland Capital Management Fund Advisors L.P. tberghman@munsch.com, amays@munsch.com

Thomas G. Haskins, Jr.
                          on behalf of Creditor NWCC LLC thaskins@btlaw.com

Thomas M. Melsheimer
                          on behalf of Creditor Frank Waterhouse Scott B. Ellington, Isaac Leventon, Jean Paul Sevilla, Hunter Covitz and Thomas Surgent
                          tmelsheimer@winston.com, tom-melsheimer-7823@ecf.pacerpro.com

United States Trustee
                          ustpregion06.da.ecf@usdoj.gov

Vickie L. Driver
                          on behalf of Creditor HarbourVest et al Vickie.Driver@crowedunlevy.com
                          crissie.stephenson@crowedunlevy.com;elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

William R. Howell, Jr.
                          on behalf of Defendant James D. Dondero williamhowell@utexas.edu williamhowell@utexas.edu

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management LP zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Hayward PLLC zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Highland Claimant Trust zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Debtor Highland Capital Management L.P. zannable@haywardfirm.com

Zachery Z. Annable
                          on behalf of Other Professional Hayward & Associates PLLC zannable@haywardfirm.com


TOTAL: 476
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 526 of 678   PageID 532




                       Exhibit 6
     Case 19-34054-sgj11 Doc 3800 Filed 05/26/23 Entered 05/26/23 14:33:34 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 2Page 527 of 678 PageID 533




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 26, 2023
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                 §
      In re:                                                         Chapter 11
                                                                 §
                                                                 §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                 §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.         §
                                                                 §


     ORDER REGARDING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
         MOTION FOR EXPEDITED DISCOVERY OR, ALTERNATIVELY, FOR
                 CONTINUANCE OF THE JUNE 8, 2023 HEARING
                                        [Dkt. Nos. 3788 and 3791]


               Having considered the Emergency Motion for Expedited Discovery or, Alternatively, for

     Continuance of the June 8, 2023 Hearing of Hunter Mountain Investment Trust (“HMIT”) filed

     on May 24, 2023, at Dkt. No. 3788 (“Motion for Expedited Discovery”), and, separately, on May

     25, 2023, at Dkt. No. 3791 (“Motion for Continuance,” and, together with the Motion for

     Expedited Discovery, the “Motions”), and the arguments of counsel at the emergency hearing on

     the Motions held on Friday May 26, 2023, at 9:30 a.m.,

                                                     1
  Case 19-34054-sgj11 Doc 3800 Filed 05/26/23 Entered 05/26/23 14:33:34 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 2Page 528 of 678 PageID 534



        IT IS ORDERED that the Motion for Continuance be, and hereby is, DENIED;

        IT IS FURTHER ORDERED that the Motion for Expedited Discovery be, and hereby

 is, GRANTED, in part and only to the extent as set forth below:

    (1) To the extent any party would like to depose either James P. Seery, Jr. or James Dondero

        in advance of the June 8 hearing (“June 8 Hearing”) on HMIT’s Emergency Motion for

        Leave to File Verified Adversary Proceeding [Dkt. No. 3699] and Supplement to

        Emergency Motion for Leave to File Verified Adversary Proceeding [Dkt. 3760] (together,

        the “Motion for Leave”), Mr. Seery and Mr. Dondero shall be made available for

        depositions (“Depositions”) on a date and at a time agreeable to the parties that is no earlier

        than May 31, 2023, and no later than June 7, 2023, and no discovery or depositions of any

        other party or witness will be permitted prior to the June 8 hearing; and

    (2) None of the parties shall be entitled to any other discovery, including the production of

        documents from Mr. Seery or Mr. Dondero, or any other party or witness pursuant to a

        subpoena duces tecum, or otherwise, prior to the conduct of the Depositions or to the

        court’s ruling on the Motion for Leave following the June 8, 2023 hearing;

        IT IS FURTHER ORDERED that, except as specifically set forth in this Order, HMIT’s

 Motion for Expedited Discovery be, and hereby is, DENIED.

                                   # # # END OF ORDER # # #




                                                  2
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 529 of 678   PageID 535




                       Exhibit 7
     Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
   Case 3:23-cv-02071-E Document
                           Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 16
                                                        Page 530 of 678 PageID 536




The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 16, 2023
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

      In re:                                                     §
                                                                 §   Chapter 11
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                         §
                                                                 §   Case No. 19-34054-sgj11
                                    Reorganized Debtor.          §
                                                                 §


           MEMORANDUM OPINION AND ORDER GRANTING JOINT MOTION TO
                    EXCLUDE EXPERT EVIDENCE [DE # 3820]


               I.    INTRODUCTION.

               BEFORE THIS COURT is yet another dispute in the continuing saga of the Chapter 11

     bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).

               The Reorganized Debtor has been operating under a confirmed Chapter 11 plan for

     approximately two years now—a plan having been confirmed on February 22, 2021. The plan

     was never stayed; it went effective in August 2021; and it was affirmed almost in its entirety by



                                                    1
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 16
                                                     Page 531 of 678 PageID 537



 the United States Court of Appeals for the Fifth Circuit (in late summer 2022). A petition for writ

 of certiorari regarding the plan confirmation order has been pending at the United States Supreme

 Court since January 2023. Millions of dollars have been paid out to creditors under the plan,

 although the plan has not been completed.

        This court uses the words “continuing saga” because there is a mountain of litigation that

 is still pending. First, there are numerous adversary proceedings still pending, in which the

 Reorganized Debtor and a Litigation Trustee appointed under the plan are seeking to liquidate

 claims that Highland has against others, in order to augment the pot of money available for

 unsecured creditors. Some of these adversary proceedings involve what seem like simple suits on

 promissory notes (albeit very large promissory notes), and others involve highly complex torts.

 There are numerous appeals pending and, from time to time, petitions for writs of mandamus have

 been filed post-confirmation. And there are new lawsuits popping up around every corner it seems.

        To be sure, this post-confirmation litigation is not the “usual stuff,” and the adverse parties

 in this ongoing post-confirmation litigation are not the “usual suspects.” For example, the

 numerous post-confirmation adversary proceedings do not involve preference lawsuits or other

 Chapter 5 avoidance actions against non-insider creditors—as we so often see proliferate in

 Chapter 11 cases post-confirmation. And we do not have long-running proof of claim objections

 pending post-confirmation—because all of the proof of claim objections regarding non-insider

 creditors were resolved long ago (with major compromises reached and settlements approved by

 the court—some after formal mediation). And as for the myriad appeals, the non-insider creditors

 in this case—with proofs of claim asserted in the hundreds of millions of dollars—overwhelmingly

 supported Highland’s confirmed plan and, therefore, they have not been appellants on any of the

 aforementioned appeals.

                                                  2
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 16
                                                     Page 532 of 678 PageID 538



        So who has been the adverse party in this deluge of post-confirmation litigation? The

 founder and former Chief Executive Officer (“CEO”) of Highland, Mr. James Dondero personally,

 and entities that he controls (e.g., family trusts; investment advisory firms; managed funds; and

 other entities—frequently organized offshore—that were not themselves debtors in the Highland

 Chapter 11 case but assert party-in-interest status in various capacities). To be clear, Mr. Dondero

 takes umbrage at the suggestion that all of the adverse parties in these numerous post-confirmation

 scuffles are controlled by him.

        Which brings us to the current, post-confirmation contested matter before the court.

 Currently, a party called Hunter Mountain Investment Trust (“HMIT”), a Delaware trust, has filed

 a “gatekeeper motion”—that is, a motion seeking leave from this court to file an adversary

 proceeding in the bankruptcy court against the Reorganized Debtor’s CEO and certain investors

 who purchased allowed unsecured claims in this case post-confirmation and pre-Effective Date (as

 further described below). HMIT’s gatekeeper motion has given birth to a sideshow, so to speak,

 regarding what, if any, evidence the court ought to consider in connection with HMIT’s

 gatekeeper motion—the latest “act” in such sideshow focusing on the propriety of considering

 expert testimony.

        Who or what exactly is HMIT? HMIT is an entity with no employees and no income whose

 only asset is a contingent right of recovery under the Highland confirmed plan—by virtue of HMIT

 having held a majority (99.5%) of the limited partnership interests in Highland pre-confirmation,

 which interests were classified in the plan in a “Class 10” (that was projected to receive no

 recovery). Mr. Dondero asserts that he does not control HMIT. HMIT represents that, since on or

 about August 2022, it has been solely controlled by a Mr. Mark Patrick (a former employee of

 Highland who left Highland one week after its Plan was confirmed and went to work for an entity

                                                  3
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 16
                                                     Page 533 of 678 PageID 539



 called “Skyview Group,” that was formed by certain former Highland employees, and apparently

 now advises various affiliate entities of Mr. Dondero). 1 While HMIT only has one asset (the “Class

 10” contingent interest), Mark Patrick has testified that HMIT is liable on a $62.6 million-dollar

 indebtedness that it owes to The Dugaboy Investment Trust (a family trust of which Mr. Dondero

 is the lifetime beneficiary), pursuant to a promissory note made by HMIT in favor of Dugaboy, in

 2015, in exchange for Dugaboy transferring to HMIT an ownership interest in Highland. See

 Transcript 6/8/23 Hearing, at pp. 304-308 [DE # 3843]. See also Highland Exh. 51 from 6/8/23

 Hearing [DE # 3817]. Mr. Patrick has testified that Dugaboy and HMIT have a settlement,

 pursuant to which, Dugaboy is paying HMIT’s attorney’s fees. Transcript 6/8/23 Hearing, at p. at

 313:2-18 [DE # 3843].

            II.      HMIT’S MOTION FOR LEAVE TO FILE LAWSUIT (a.k.a. THE
                     “GATEKEEPER MOTION”).


            To understand the procedural motion now before the court—which deals with whether or

 not the bankruptcy court should allow or exclude expert witness testimony and documents (more

 fully described below)—one must understand the context in which it is being considered, which is

 the hearing on HMIT’s Emergency Motion for Leave to File Verified Adversary Proceeding that

 was filed by HMIT (the “HMIT Motion for Leave”), which this court loosely refers to sometimes

 as the “Gatekeeping Motion.”

            The HMIT Motion for Leave, as alluded to, requests leave from the bankruptcy court to

 file a post-confirmation, post-Effective Date adversary proceeding pursuant to this bankruptcy

 court’s “gatekeeping” orders and, specifically, the gatekeeping, injunction, and exculpation




 1
     See DE # 2440 (Transcript of a 6/8/21 Hearing, at pp. 95:18-96:10).

                                                            4
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 5 of 16
                                                     Page 534 of 678 PageID 540



 provisions of the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

 [DE # 1943], as modified (the “Plan”). The HMIT Motion for Leave, with attachments, as first

 filed, was 387 pages in length, and the attachments included a proposed complaint and two sworn

 declarations of the aforementioned former CEO of the Reorganized Debtor, Mr. Dondero. The

 HMIT Motion for Leave was later amended to eliminate the declarations of Mr. Dondero. DE ##

 3815 & 3816. In a nutshell, HMIT desires leave to sue certain parties regarding the post-

 confirmation, pre-Effective Date purchase of allowed unsecured claims.           The proposed

 defendants would be:

               Mr. James P. Seery, Jr., who now serves as the CEO of the Reorganized
        Debtor and also serves as the Trustee of the Highland Claimant Trust created
        pursuant to the Plan, and also was previously Highland’s Chief Restructuring
        Officer (“CRO”) during the case, then CEO, and, also, an Independent Board
        Member of Highland’s general partner during the Highland case. Mr. Seery is best
        understood as the man who took Mr. Dondero’s place running Highland—per the
        request of the Official Unsecured Creditors Committee.
                Certain Claims Purchasers, known as Farallon Capital Management, LLC
        (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
        created by Farallon to purchase unsecured claims against Highland; Stonehill
        Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
        which was a special purpose entity created by Stonehill to purchase unsecured
        claims against Highland (collectively, the “Claims Purchasers”). The Claims
        Purchasers purchased $240 million face value of unsecured claims post-
        confirmation and pre-Effective Date—which claims had already been allowed
        during the Highland case—in the spring of 2021 and another $125 million face
        value allowed unsecured claims in August 2021. Bankruptcy Rule 3001(e)
        notices—giving notice of same—were filed on the bankruptcy clerk’s docket
        regarding these purchases. The claims had previously been held by the creditors
        known as the Crusader Redeemer Committee, Acis Capital, HarbourVest, and UBS
        (three of these four creditors formerly served on the Official Unsecured Creditors
        Committee during the Highland bankruptcy case).
               John Doe Defendant Nos. 1-10, which are described to be “currently
        unknown individuals or business entities who may be identified in discovery as
        involved in the wrongful transactions at issue.”
               The proposed plaintiffs would be:
              HMIT, which represents that it was the largest equity holder in Highland
        and held a 99.5% limited partnership interest (specifically, Class B/C limited
                                                5
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 6 of 16
                                                     Page 535 of 678 PageID 541



        partnership interests). HMIT represents that it currently holds a Class 10 interest
        under the confirmed Highland plan, which gives it a contingent interest in the
        Claimant Trust created under the plan, and as defined in the Claimant Trust
        Agreement (“CTA”).
              Reorganized Debtor, as a nominal party. HMIT wishes to bring its
        complaint on behalf of itself and derivatively on behalf of the Reorganized Debtor.
               Highland Claimant Trust, as a nominal party. HMIT wishes to bring its
        complaint on behalf of itself and derivatively on behalf of the Highland Claimant
        Trust.


        The gist of the complaint that HMIT seeks leave to file is as follows. HMIT asserts that

 something seems amiss regarding the post-confirmation/pre-Effective Date purchase of claims by

 the Claims Purchasers. Actually, more bluntly, HMIT asserts that “wrongful conduct occurred”

 and “improper trades” were made. HMIT Motion for Leave, 7. HMIT believes the Claim

 Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

 HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

 funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

 Statement and Plan projections regarding the projected distributions under the Plan to holders of

 allowed unsecured claims. Also, Mr. Dondero purports to have concluded from conversations he

 had with representatives of one of the Claims Purchasers that they did no due diligence before

 purchasing the claims. Therefore, HMIT surmises, Mr. Seery must have given these claims

 purchasers material nonpublic information (“MNPI”) regarding Highland that convinced them that

 it was to their economic advantage to purchase the claims. In particular, HMIT surmises Mr. Seery

 shared MNPI regarding the likely imminent sale of Metro-Goldwyn-Mayer Studios, Inc.

 (“MGM”), in which Highland had, directly and indirectly, substantial holdings. Indeed, MGM

 was ultimately purchased by Amazon after a sale process that had been quite publicly discussed in




                                                6
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 7 of 16
                                                     Page 536 of 678 PageID 542



 media reports for several months 2 and that was officially announced to the public in late May 2021

 (just a few weeks after the Claims Purchasers purchased some of their claims, but a few months

 before certain of their claims—the UBS claims—were purchased). 3 Note that Highland and

 entities it controlled tendered their MGM holdings in connection with the Amazon transaction

 (they did not sell their holdings while the MGM-Amazon deal was under discussion and/or not

 made public). In summary, while HMIT’s proposed complaint is lengthy and at times hard to

 follow, it boils down to allegations that: (a) Mr. Seery filed (or caused to be filed) deflated,

 pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

 the Plan, (b) then induced very sophisticated unsecured creditors (who, incidentally, are not

 complaining) to discount and sell their claims to the likewise very sophisticated Claims Purchasers,

 (c) which Claims Purchasers are allegedly friendly with Mr. Seery, and are now happily approving

 Mr. Seery’s allegedly excessive compensation demands post-Effective Date (resulting in less

 money in the pot to pay off the creditor body in full, and, thus, a diminished likelihood that HMIT

 will realize any recovery on its contingent Class 10 interest). HMIT argues that Mr. Seery should

 be required to disgorge his compensation. It appears that HMIT also seeks other damages.

          The individual counts that HMIT wants to allege are:

                   I.       Breach of Fiduciary Duty (as to Mr. Seery)



 2
   See Highland Exh. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
 . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
 Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
 (article dated 1/26/20); Highland Exh. 26 (describing prospects of an MGM sale noting that, among its largest
 shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exhs. 27-30
 & 34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
 announcing sale to Amazon on May 26, 2021, for $8.4 billion).

 3
  The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
 acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.

                                                           7
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 8 of 16
                                                     Page 537 of 678 PageID 543



                   II.      Breach of Fiduciary Duty and Knowing Participation in Breach of
                            Fiduciary Duty (as to Claims Purchasers)
                   III.     Fraud by Misrepresentation and Material Nondisclosure (as to all
                            proposed defendants) 4
                   IV.      Conspiracy (as to all proposed defendants)
                   V.       Equitable Disallowance (as to Muck and Jessup)
                   VI.      Unjust Enrichment and Constructive Trust (as to all proposed
                            defendants)
                   V.       Declaratory Judgment (as to all proposed defendants)


          III. NEXT, THE DELUGE OF ACTIVITY, IN MULTIPLE COURTS, AFTER
          THE FILING OF THE HMIT MOTION FOR LEAVE.


          After the HMIT Motion for Leave was filed on March 28, 2023, there was two-and-a-half

 months of activity regarding what type of hearing the bankruptcy court would hold and when on

 the HMIT Motion for Leave. A timeline is set forth below.

         3/28/23: The HMIT Motion for Leave was filed, along with a request for emergency
 hearing on same. DE ## 3699 & 3700. HMIT requested that the court schedule a hearing on the
 motion “on three (3) days’ notice, and that any responses be filed no later than twenty-four hours
 before the scheduled hearing sought.” DE # 3700, 2. The HMIT Motion for Leave was 37 pages
 in length, plus another 350 pages of supporting exhibits, including two sworn declarations of Mr.
 Dondero.
         3/31/23: Bankruptcy Court entered order denying an emergency hearing on the HMIT
 Motion for Leave. DE # 3713. The court stated that it would set the hearing on normal notice (at
 least 21 days’ notice), seeing no emergency.
         4/4/23-4/12/23: HMIT pursued an unsuccessful interlocutory appeal and then a petition
 for writ of mandamus regarding the Bankruptcy Court’s denial of an emergency hearing at first the
 District Court and then the Fifth Circuit.
        4/13/23: Highland filed a motion asking the Bankruptcy Court to set a briefing schedule
 on the HMIT Motion for Leave, indicating that Highland’s proposed timetable for same was
 opposed by HMIT. DE # 3738. The Claims Purchaser and Mr. Seery joined in that motion. DE
 ## 3740 & 3747. HMIT subsequently filed a response unopposed to a briefing schedule and status
 conference. DE # 3748.

 4
  This Count III has gone in and out of the various drafts HMIT has filed with the court and was included in the latest
 version of the proposed complaint that was filed at DE # 3816.

                                                           8
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                          Page 9 of 16
                                                     Page 538 of 678 PageID 544



        4/21/23: HMIT filed a Brief [DE # 3758] before the status conference indicating it was
 opposed to there being any evidence at the ultimate hearing on the HMIT Motion for Leave—
 arguing the Bankruptcy Court did not need evidence in order to exercise its gatekeeping function
 and determine if HMIT has a “colorable” claim. Rather, the court need only engage in a Rule
 12(b)(6)-type plausibility analysis.
        4/24/23: The Bankruptcy Court held a status/scheduling conference; there was extensive
 discussion among all the parties regarding what type of hearing there needed to be on the HMIT
 Motion for Leave. HMIT was adamant there should be no evidence. Highland and Mr. Seery
 argued they ought to be able to cross-examine Mr. Dondero since his sworn declarations had been
 attached to the HMIT Motion for Leave as “objective evidence” that “supported” the HMIT
 Motion for Leave. DE #3699, p. 2. HMIT stated that it would withdraw Mr. Dondero’s
 declarations, but not if the court was going to allow evidence.
         5/11/23: Bankruptcy Court entered Order [DE # 3781] fixing a briefing schedule for the
 parties and stating that the court would “advise the parties on or reasonably after May 18, 2023,
 whether the Court intend[ed] to conduct the hearing on an evidentiary basis.”
         5/22/23: Bankruptcy Court issued an Order [DE # 3787] after receipt of briefing, stating
 that “the court has determined that there may be mixed questions of fact and law implicated by the
 Motion for Leave—and, in particular, pertaining to the court’s required inquiry into whether
 ‘colorable’ claims may exist, as described in the Motion for Leave. Therefore, the parties will be
 permitted to present evidence (including witness testimony) at the June 8, 2023 hearing if they so
 choose. This may include examining any witness for whom a Declaration or Affidavit has already
 been filed. The parties will be allowed no more than three hours of presentation time each
 (allocated three hours to the movant and three hours to the aggregate respondents). This allocated
 presentation time may be spent in whatever manner the parties believe will be useful to the court
 (argument/evidence).”
          5/24/23: HMIT filed an emergency motion for expedited discovery or alternatively for
 continuance of the June 8, 2023 hearing. [DE # 3788 & 3789]. HMIT continued to urge that it did
 not think presentation of evidence was appropriate in connection with the HMIT Motion for Leave,
 but that “subject to and without waiving its objections, HMIT requests immediate leave to obtain
 all of its requested discovery on or before the specific dates identified in each deposition notice
 (with duces tecum), failing which the hearing on HMIT’s Motion for Leave should be continued
 until HMIT has obtained such discovery. The requested discovery is generally described in this
 Motion, but is set forth with particularity in the Deposition Notices with Duces Tecum attached as
 Exhibits A-E. [paragraph numbering omitted.] In summary, HMIT seeks expedited depositions of
 corporate representatives of Farallon Capital Management, LLC (“Farallon”), Stonehill Capital
 Management, LLC (“Stonehill”), Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC
 (“Jessup”) and also seeks the deposition of James A. Seery, Jr. (“Seery”).” Deposition Notices
 were attached for each of these five parties. Nothing was stated about a possible need for (or
 intention to present) expert testimony.
        5/26/23: The Bankruptcy Court held yet another status conference in response to HMIT’s
 newest emergency motion. The Bankruptcy Court referred to this as a “second hearing on what
 kind of hearing we were going to have” on the HMIT Motion for Leave. The court heard more
 discussions on whether it was appropriate to consider evidence at the hearing on the HMIT Motion
 for Leave. Nothing was mentioned about possible experts. The court, continuing to believe that
                                                 9
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 10 of 16
                                                    Page 539 of 678 PageID 545



 there could be mixed questions of fact and law inherent in deciding the HMIT Motion for Leave,
 granted in part and denied in part HMIT’s request for expedited discovery it sought of Mr. Seery
 and the Claims Purchasers. The Bankruptcy Court issued a follow-up order [DE # 3800] that
 provided: “(1) To the extent any party would like to depose either James P. Seery, Jr. or James
 Dondero in advance of the June 8 hearing (“June 8 Hearing”) on HMIT’s Emergency Motion for
 Leave to File Verified Adversary Proceeding [Dkt. No. 3699] and Supplement to Emergency
 Motion for Leave to File Verified Adversary Proceeding [Dkt. 3760] (together, the “Motion for
 Leave”), Mr. Seery and Mr. Dondero shall be made available for depositions (“Depositions”) on a
 date and at a time agreeable to the parties that is no earlier than May 31, 2023, and no later than
 June 7, 2023, and no discovery or depositions of any other party or witness will be permitted prior
 to the June 8 hearing; and (2) None of the parties shall be entitled to any other discovery, including
 the production of documents from Mr. Seery or Mr. Dondero, or any other party or witness
 pursuant to a subpoena duces tecum, or otherwise, prior to the conduct of the Depositions or to the
 court’s ruling on the Motion for Leave following the June 8, 2023 hearing” The Bankruptcy Court
 issued this ruling with the expectation—based on everything it heard—that HMIT did not wish for
 the court to consider evidence but, if it did, it thought it should get to depose Mr. Seery and the
 Claims Purchasers. The court reached what seemed like appropriate middle ground by allowing
 the deposition of Mr. Seery and allowing the other parties to depose Mr. Dondero (for whom sworn
 declarations had been submitted), but the court was not going to allow any more discovery (i.e.,
 of the Claims Purchasers) at so late an hour. The court was aware that HMIT and Mr. Dondero
 had been seeking discovery from the Claims Purchasers in state court “Rule 202” proceedings for
 approximately two years.
        June 5, 2023 (10:10 pm): HMIT filed its Witness and Exhibit List disclosing two potential
 expert witnesses (along with biographical information and a disclosure regarding the subject
 matter of their likely testimony).
         June 7, 2023 (4:07 pm): A Joint Motion to Exclude Expert Testimony and Documents
 was filed by Highland, Mr. Seery, and the Highland Claimant Trust (“Motion to Exclude Expert
 Evidence”).
       June 8, 2023 (8:12 am): HMIT filed a Response to the Motion to Exclude Expert
 Evidence.
         June 8, 2023 (9:30 am): The Bankruptcy Court commenced its hearing on the HMIT
 Motion for Leave. The parties desired for court to rule on whether the expert testimony and
 exhibits should be allowed into the record. After much discussion, the court informed parties that
 it had not had the opportunity to study their eleventh-hour filings, and that the court would go
 forward with the hearing as the court had earlier contemplated (three hours per side; no experts for
 now) and the court would take the Motion to Exclude Expert Evidence under advisement and
 would schedule a “Day 2” for the hearing on the HMIT Motion for Leave for the experts if it
 determined that was appropriate. The court gave Highland, Mr. Seery, and the Highland Claimant
 Trust a deadline of 6/12/23 to reply to HMIT’s Response. They filed a Reply (in which the Claims
 Purchasers joined). The Bankruptcy Court ordered no more pleadings would be considered.
 HMIT filed another pleading on this topic on 6/13/23 [DE # 3845] and Highland and Mr. Seery
 responded to the HMIT additional pleading [DE # 3846] and then HMIT replied to their response
 [DE # 3847].


                                                  10
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 11 of 16
                                                    Page 540 of 678 PageID 546



        IV.     TURNING, FINALLY, TO THE MOTION TO EXCLUDE EXPERT
                EVIDENCE
        As indicated in the timeline above, HMIT designated on June 5, 2023, at 10:10 pm CDT,

 two expert witnesses to testify at the hearing on the HMIT Motion for Leave. The first one was

 Mr. Scott Van Meter, stating that he “may provide opinion testimony on issues relating to Mr.

 Seery’s compensation and claims trading.” The second one was Mr. Steve Pully, stating that he

 “may provide opinion testimony on issues relating to Mr. Seery’s claims trading.” To be clear, Mr.

 Seery is not alleged to have engaged in claims trading (i.e., he is not alleged to have either sold or

 purchased any claims in the Highland case). Rather, it is surmised by HMIT that Mr. Seery might

 have shared MNPI with the Claims Purchasers. Details about the two proposed experts’ education,

 experience, and the likely substance of their testimony were provided.

        Further, with regard to Mr. Van Meter, HMIT disclosed that he had analyzed the claims

 trading in the Highland case and holds the opinion that there are “red flags” plausibly indicating

 the use of MNPI in connection with the claim purchasers’ investment in their claims –primarily

 among them the fact that the claims purchasers allegedly did not undertake due diligence. He also

 would apparently opine that Mr. Seery’s compensation is not reasonable or excessive because not

 based on any market study and because the Claims Purchasers, as large creditors on the post-

 confirmation oversight committee, have the ability to control it.

        Further, with regard to Mr. Pully, HMIT disclosed that the projections in the publicly

 available information (presumably the Disclosure Statement and Plan and accompanying exhibits,

 the Bankruptcy Schedules, and Monthly Operating Reports) would not have rewarded the Claims

 Purchasers with the type of economic return that hedge funds/private equity firms would expect to

 realize. Thus, they must have had some MNPI to convince them that the claims purchasing was

 worthwhile.

                                                  11
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 12 of 16
                                                    Page 541 of 678 PageID 547



        There are procedural problems and substantive problems with the Proposed Experts

 (hereinafter so called).

    A. The Procedural Problems.

        The timeline set forth above is highly problematic. Highland, Mr. Seery, and the Highland

 Claimant Trust refer to the timeline here as tantamount to “trial by ambush.”

        HMIT counters that it, in fact, complied with this court’s local rules and national rules as

 well. As to the local rules, Local Bankruptcy Rule 9014-1(c) of the Northern District of Texas

 requires, in contested matters, the exchange of exhibits and witness lists with opposing parties at

 least 3 calendar days before a scheduled hearing (unless a specific order otherwise applies). The

 hearing on the HMIT Motion for Leave was scheduled for June 8, 2023, at 9:30 am CDT, and

 HMIT filed its exhibit and witness list on June 5, 2023, at 10:10 pm CDT—technically three

 calendar days before the hearing, albeit less than 72 hours before the hearing. As for the national

 rules, HMIT states that it was under no duty to disclose the existence or substance of expert

 testimony prior to the exchange of witness lists, because national Rule 9014 of the Federal Rules

 of Bankruptcy Procedure (“FRBP”), applying to contested matters, does not incorporate Rule

 26(a)(2) of the Federal Rules of Civil Procedure (“FRCP”), which defines the content and timing

 for expert disclosures (unless the court directs otherwise, which it did not here).

        HMIT’s focus on these rules is disingenuous. The court does not view the Proposed

 Experts as having been appropriately and timely disclosed in light of the two-and-a-half-month

 timeline set forth above and—most importantly—the bankruptcy court’s multiple prior

 conferences and orders setting the scope of the hearing and associated discovery. HMIT’s

 revelation (approximately 60 hours before the hearing on the HMIT Motion for Leave) that it


                                                  12
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 13 of 16
                                                    Page 542 of 678 PageID 548



 sought to offer expert testimony came far too late. HMIT never raised even the prospect of expert

 testimony at any point in its multiple filings with the bankruptcy court (which consisted of many

 hundreds of pages) or during the two status/scheduling conferences on the HMIT Motion for

 Leave. During the two status/scheduling conferences, this court repeatedly asked HMIT what it

 wanted to do at the hearing on the HMIT Motion for Leave (as far as there being evidence or no

 evidence—zeroing in on the inconvenient complication for HMIT that it had already put in some

 evidence, through the filing of the declarations of Mr. Dondero in support of its motion, and this,

 at the very least, would entitle the parties to cross-examine him on the statements contained in the

 declarations). HMIT represented that it desired for the hearing to be conducted “on the pleadings

 only” and that it had or would withdraw the declarations of Mr. Dondero (it had not withdrawn the

 declarations as of the status/scheduling conferences).      But, alternatively, if there would be

 evidence, HMIT wanted to conduct expedited discovery of documents, fact depositions, and

 corporate representative depositions. [DE # 3791]. HMIT made no mention of any experts. Only

 after the bankruptcy court had ruled on HMIT’s request for expedited discovery—and expressly

 limited the scope of discovery—did HMIT reveal its Proposed Experts [DE # 3818]. Obviously,

 the court would have fully vetted with the parties at the status/scheduling conferences the need for

 experts and the need for any discovery of them if HMIT mentioned it as a possibility.

        Additionally, while HMIT focuses on the fact that FRBP 9014 excludes FRCP 26(a)(2)(b)’s

 requirements regarding expert witness disclosures and reports (absent the court directing

 otherwise), FRBP 9014 does include FRCP 26(b)(4)(A), in contested matters, which provides that

 “[a] party may depose any person who has been identified as an expert whose opinions may be

 presented at trial.” See FRBP 9014(b); FRBP 7026. As alluded to above, this bankruptcy court

 had limited pre-hearing discovery to “depositions of Mr. Dondero and/or Mr. Seery” in reliance on


                                                 13
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 14 of 16
                                                    Page 543 of 678 PageID 549



 HMIT’s representations, which omitted any reference to expert witnesses. By waiting until

 roughly 60 hours before the hearing to disclose the Proposed Experts, this resulted in Highland,

 Mr. Seery, and the Highland Claimant Trust not having sufficient time to seek to modify the court’s

 prior status/scheduling orders, let alone take two expert depositions.

    B. The Substantive Problems.

        Finally, on a substantive level, the Proposed Experts’ testimony and documents are

 inadmissible because they will not “help the trier of fact to understand the evidence or to determine

 a fact in issue.” Fed. R. Evid. 702(a). Federal Rule of Evidence 702(a) provides that a witness

 who is qualified as an expert may testify in the form of an opinion or otherwise if, among other

 requirements, “the expert’s scientific, technical, or otherwise specialized knowledge will help the

 trier of fact to understand the evidence or to determine a fact in issue.”

        The fact finder here at this stage, in the context of determining whether HMIT’s proposed

 complaint asserts “colorable” claims under the gatekeeper provision of the Plan, obviously, is the

 bankruptcy judge. The judge, thus, may decide whether the Proposed Experts would help her

 analyze or understand an issue. This court is well within its discretion to conclude that the Proposed

 Experts would not advance the judge’s analysis. This bankruptcy judge has had years of experience

 (both before and after her 17 years as a bankruptcy judge) with the topic of claims purchasing that

 sometimes occurs during a bankruptcy case. The court notes, anecdotally, that the activity of

 investing in distressed debt (which frequently even occurs during a bankruptcy case—sometimes

 referred to as “claims trading”) is ubiquitous and has, indeed, been for a couple of decades. As

 noted by one scholar:

               The creation of a market in bankruptcy claims is the single most important
        development in the bankruptcy world since the Bankruptcy Code’s enactment in

                                                  14
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 15 of 16
                                                    Page 544 of 678 PageID 550



          1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
          it a much more market-driven process. [Citations omitted.] . . . The development
          of a robust market for all types of claims against debtors has changed the cast of
          characters involved in bankruptcies. In addition to long-standing relational
          creditors, like trade creditors or a single senior secured bank or bank group,
          bankruptcy cases now involve professional distressed debt investors, whose
          interests and behavior are often quite different than traditional relational
          counterparty creditors.
 ADAM J. LEVITIN, BANKRUPTCY MARKETS: MAKING SENSE OF CLAIMS TRADING, 4 BROOK. J.

 CORP. FIN. & COM. L. 64, 65 (2010).

          This judge has likewise had decades of experience with hedge funds and private equity

 funds. The court understands very well financial concepts such as return on investment, risk, and

 the handicapping of how certain events might impact recoveries. This court can take judicial notice

 that there was volatility in the capital markets during the time period of this case that would

 certainly factor into decisions to buy or sell claims. 5 This court understands the concepts of MNPI

 and fiduciary duties. The judge remembers very well when the possibility of an MGM-Amazon

 transaction flooded the news in late 2020 and 2021, and then became a reality.                            The court

 remembers asking the parties in the Highland case during open court about it, since it was widely

 known that Highland and its affiliates owned direct or indirect interests in MGM stock. This was

 before, by the way, certain of the claims purchases that are at issue here were made.

          Finally, this judge has decades of experience with executive compensation in bankruptcy

 cases and in connection with post-confirmation trusts. 6 In fact, this court approved Mr. Seery’s


 5
  A court “can, of course, take judicial notice of stock prices.” Schweitzer v. Invs. Comm. of Phillips 66 Savings Plan,
 960 F.3d 190, 193 n.3 (5th Cir. 2020).

 6
  This court even ran across one article that the above-signing judge published on the topic before she was a judge.
 Bringing Home the Bacon, or Just Being a Hog? Employee and Executive Compensation Issues in Chapter 11, 22nd
 Annual Bankruptcy Conference, The University of Texas School of Law (Nov. 2003) (co-authored with Frances
 Smith). The bankruptcy judge does not mean to suggest that a 20-year-old article makes anyone per se an expert. It


                                                           15
  Case 19-34054-sgj11 Doc 3853 Filed 06/16/23 Entered 06/16/23 16:38:27 Desc
Case 3:23-cv-02071-E Document
                        Main Document
                              1-1 Filed 09/15/23
                                         Page 16 of 16
                                                    Page 545 of 678 PageID 551



 compensation early on during the bankruptcy case (in 2020), and his compensation was negotiated

 by the former members of the Official Unsecured Creditors Committee, among others. Mr. Seery’s

 compensation during this bankruptcy case was obviously subject to a motion, notice and a hearing,

 and was fully disclosed. Mr. Seery’s base compensation now is the same as what this court

 approved back in 2020. Certainly, in a bankruptcy case, one size does not fit all. Highland is a

 unique case that has involved great contentiousness and hundreds of millions of dollars of assets.

 Mr. Seery’s compensation reflects these circumstances, among other things.

         In summary, with all due respect to the Proposed Experts, it is hard for this court to

 conceive how they could help this court to understand the evidence or determine a fact in issue

 relative to the gatekeeping motion—as contemplated by Fed. R. Evid. 702(a)—when this court

 deals with the issues presented by motion, and similar issues, somewhat regularly.

         Accordingly, the court will exercise its discretion under Fed. R. Evid 702(a) and exclude

 the Proposed Experts testimony and HMIT Exhibits 39-52 relating to same.

         A further opinion and order will be forthcoming on the HMIT Motion for Leave.

                  #### END OF MEMORANDUM OPINION AND ORDER####




 is merely to further the point that a long-term bankruptcy judge with Chapter 11 experience typically has developed
 expertise regarding executive compensation issues pre-and post-confirmation in Chapter 11 cases.

                                                         16
Case 3:23-cv-02071-E   Document 1-1   Filed 09/15/23   Page 546 of 678   PageID 552




                       Exhibit 8
     Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
   Case 3:23-cv-02071-E Document
                            Main Document
                                 1-1 Filed 09/15/23
                                             Page 1 of 4Page 547 of 678 PageID 553




The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 1, 2023
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                            )
      In re:                                                )   Chapter 11
                                                            )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                    )   Case No. 19-34054-sgj11
                                                            )
                                   Reorganized Debtor.      )
                                                            )
                                                            )


               ORDER STRIKING HMIT’S EVIDENTIARY PROFFER PURSUANT TO
                         RULE 103(a)(2) AND LIMITING BRIEFING

               The Court has reviewed Hunter Mountain Investment Trust’s (“HMIT”) Evidentiary

     Proffer Pursuant to Rule 103(a)(2) (“Proffer”; Dkt. No. 3858), the Highland Parties’ Joint

     Objections To And Motion To Strike HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)

     (“Motion”; Dkt. No. 3860) filed by Highland Capital Management, L.P., the Highland Claimant

     Trust, and James P. Seery, Jr. (collectively, the “Highland Parties”), and the Claims Purchasers’

     Joinder to the Highland Parties’ Objections and Motion to Strike HMIT’s Purported Proffer (Dkt.

     No. 3861) filed by Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management,
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 2 of 4Page 548 of 678 PageID 554



 L.L.C., and Stonehill Capital Management LLC (collectively with HMIT and the Highland Parties,

 the “Parties”). After due deliberation, the Court has determined that good and sufficient cause has

 been shown for the relief requested in the Motion. It is therefore ORDERED that:

        1.      The Motion is GRANTED.

        2.      The Proffer and its accompanying declarations are stricken from the record for the

 reasons set forth in the Court’s June 27, 2023 email (attached hereto as Exhibit A). The Court

 directs the Clerk to remove docket entry 3858 from the docket.

        3.      The Parties shall not file any additional briefs, motions, pleadings, proffers, or other

 submissions with the Court in connection with the Motion, the Highland Parties’ Joint Motion to

 Exclude Testimony and Documents of Scott Van Meter and Steve Pully (Dkt. No. 3820), or any

 proposed/excluded expert evidence relative to HMIT’s Motion for Leave to File Verified

 Adversary Proceeding (Dkt. No. 3699).



                                     ### END OF ORDER ###
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 3 of 4Page 549 of 678 PageID 555




                Exhibit A
  Case 19-34054-sgj11 Doc 3869 Filed 07/05/23 Entered 07/05/23 16:14:02 Desc
Case 3:23-cv-02071-E Document
                         Main Document
                              1-1 Filed 09/15/23
                                          Page 4 of 4Page 550 of 678 PageID 556
   Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 551 of 678           PageID 557




The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 25, 2023
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     IN RE:                             §
                                        §                                  Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §                                  Case No. 19-34054-sgj-11
         Reorganized Debtor.            §


          MEMORANDUM OPINION AND ORDER PURSUANT TO PLAN “GATEKEEPER
          PROVISION” AND PRE-CONFIRMATION “GATEKEEPER ORDERS”: DENYING
           HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
                  LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING1
                       [BANKR. DKT. NOS. 3699, 3760, 3815, and 3816]

     I.      INTRODUCTION

             BEFORE THIS COURT is yet another post-confirmation dispute relating to the Chapter

     11 bankruptcy case of Highland Capital Management, L.P. (“Highland” or “Reorganized Debtor”).



     1
       On August 2, 2023, this court signed an Order [Bankr. Dkt. No. 3897] that was agreed to among various parties,
     after the filing of a Motion to Stay and Compel Mediation [Bankr. Dkt. No. 3752] filed by James D. Dondero and
     related entities. Pursuant to paragraph 7 of that order, certain pending matters in the bankruptcy court are stayed
     pending mediation. The parties did not agree to stay the matter addressed in this Memorandum Opinion and Order.
Case 3:23-cv-02071-E              Document 1-1           Filed 09/15/23           Page 552 of 678            PageID 558



  It is now more than two and half years since the confirmation of Highland’s Plan2—the Plan having

  been confirmed on February 22, 2021.3 The Plan was never stayed; it went effective on August

  11, 2021 (“Effective Date”), and it was affirmed almost in its entirety by the United States Court

  of Appeals for the Fifth Circuit (“Fifth Circuit”), in late summer 2022, including an approval of

  the so-called Gatekeeper Provision4 therein. The Gatekeeper Provision—and how and whether it

  should now be exercised or interpreted to allow a certain lawsuit to be filed—is at the heart of the

  current Emergency Motion for Leave to File Verified Adversary Proceeding [Bankr. Dkt. Nos.

  3699, 3760, 3815, 3816] (collectively, the “Motion for Leave”) filed by a movant known as Hunter

  Mountain Investment Trust (“HMIT”).

           A.       Who is the Movant, HMIT?

           Who is HMIT? It is undisputed that it is a former equity owner of Highland. It held 99.5%

  of Highland’s Class B/C limited partnership interests and was classified in a Class 10 under the

  confirmed Plan, which class treatment provided it with a contingent interest in the Highland

  Claimant Trust (“Claimant Trust”) created under the Plan, and as defined in the Claimant Trust

  Agreement. This means that HMIT could receive consideration under the Plan if all claims against

  Highland are ultimately paid in full, with interest. As later further discussed, it is undisputed that

  2
    Capitalized terms not defined in this introduction shall have the meaning ascribed to them below.
  3
    The court entered its Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital
  Management, L.P. (as Modified) and (II) Granting Related Relief (“Confirmation Order”)[Bankr. Dkt. No. 1943].
  4
    In an initial opinion dated August 19, 2022, the Fifth Circuit affirmed the Confirmation Order in large part,
  “revers[ing] only insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strik[ing] those
  few parties from the plan’s exculpation, and affirm[ing] on all remaining grounds.” In re Highland Capital
  Management, L.P., No. 21-10449, 2022 WL 3571094, at *1 (5th Cir. Aug. 19, 2022). On September 7, 2022, following
  a petition for limited panel rehearing filed by certain appellants on September 2, 2022, “for the limited purpose of
  clarifying and confirming one part of its August 19, 2022 opinion,” the Fifth Circuit withdrew its original opinion and
  replaced it with its opinion reported at NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland
  Capital Mgmt., L.P.), 48 F.4th 419, 424 (5th Cir. 2022). The substituted opinion differed from the original opinion
  only by the replacement of one sentence from section “IV(E)(2) – Injunction and Gatekeeper Provisions” of the
  original opinion: “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful.” was replaced
  with “We now turn to the Plan’s injunction and gatekeeper provisions.” In all other respects, the Fifth Circuit panel’s
  original ruling remained unchanged. Petitions for writs of certiorari regarding the Confirmation Order have been
  pending at the United States Supreme Court since January 2023.

                                                             2
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 553 of 678            PageID 559



  HMIT’s only asset is its contingent interest in the Claimant Trust. It has no employees or revenue.

  HMIT’s representative has testified that HMIT is liable on more than $62 million of indebtedness

  owed to The Dugaboy Investment Trust (“Dugaboy”), a family trust of which James Dondero

  (“Dondero”), the co-founder and former chief executive officer (“CEO”) of Highland, and his

  family members are beneficiaries, and that Dugaboy also is paying HMIT’s legal fees. HMIT

  vehemently disputes the suggestion that it is controlled by Dondero.

           B.       What Does the Movant HMIT Seek Leave to File?

           HMIT seeks leave to file an adversary proceeding (“Proposed Complaint”)5 in the

  bankruptcy court to bring claims on behalf of itself and, derivatively, on behalf of the Reorganized

  Debtor and the Claimant Trust for alleged breach of fiduciary duties by the Reorganized Debtor’s

  CEO and Claimant Trustee, James P. Seery, Jr. (“Seery”) and conspiracy against: (1) Seery; and

  (2) purchasers of $365 million face amount of allowed unsecured claims in this case, who

  purchased their claims post-confirmation but prior to the occurrence of the Effective Date of the

  Plan (“Claims Purchasers,”6 and with Seery, the “Proposed Defendants”). To be clear (and as later

  further explained), the claims acquired by the Claims Purchasers were acquired by them after

  extensive litigation, mediation, and settlements were approved by the bankruptcy court and after

  the original claims-holders had voted on the Plan and after Plan confirmation. As later explained,


  5
    In its original Motion for Leave filed at Bankruptcy Docket No. 3699 on March 28, 2023, HMIT sought leave to file
  the proposed complaint (“Initial Proposed Complaint”) attached as Exhibit 1 to the Motion for Leave. Nearly a month
  later, on April 23, 2023, HMIT filed a Supplement to Emergency Motion for Leave to File Verified Adversary
  Proceeding (“Supplement”) [Bankr. Dkt. No. 3760], a revised proposed complaint as Exhibit 1-A, and stating that
  “[t]he Supplement is not intended to supersede the [Motion for Leave]; rather, it is intended as a supplement to address
  procedural matters and to bring forth additional facts that further confirm the appropriateness of the derivative action.”
  Supplement, ¶ 1 and Exhibit 1-A. It is this revised proposed complaint to which this court will refer, when it uses the
  defined term “Proposed Complaint,” even though HMIT filed redacted versions of its Motion for Leave on June 5,
  2023 at Bankruptcy Docket Nos. 3815 and 3816 that attached the Initial Proposed Complaint as Exhibit 1.
  6
    The Claims Purchasers identified in the Proposed Complaint are Farallon Capital Management, LLC (“Farallon”);
  Muck Holdings, LLC (“Muck”), which is a special purpose entity created by Farallon to purchase allowed unsecured
  claims against Highland; Stonehill Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
  which is a special purpose entity created by Stonehill to purchase allowed unsecured claims against Highland.

                                                              3
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 554 of 678            PageID 560



  the Claims Purchasers filed notices of their purchases as required by Bankruptcy Rule 3001(e)(2),

  and no objections were filed thereto. In any event, various damages or remedies are sought against

  the Proposed Defendants revolving around the Claims Purchasers’ claims purchasing activities.

           C.       Why Does HMIT Need to Seek Leave?

           As alluded to above, HMIT filed its Motion for Leave to comply with the provision in the

  Plan known as a “gatekeeper” provision (“Gatekeeper Provision”) and with this court’s prior

  gatekeeper orders entered in January and July 2020, which all require that, before a party may

  commence or pursue claims relating to the bankruptcy case against certain protected parties, it

  must first obtain (1) a finding from the bankruptcy court that its proposed claims (“Proposed

  Claims”) are “colorable”; and (2) specific authorization by the bankruptcy court to pursue the

  Proposed Claims.7 The Gatekeeper Provision was not included in the Plan sans raison. Indeed,

  as the Fifth Circuit recognized in affirming confirmation of the Plan, the Gatekeeper Provision

  (along with the other “protection provisions” in the Plan) had been included in the Plan to address

  the “continued litigiousness” of Mr. James Dondero (“Dondero”), Highland’s co-founder and

  former chief executive officer (“CEO”), that began prepetition and escalated following the post-

  petition “nasty breakup” between Highland and Dondero, by “screen[ing] and prevent[ing] bad-

  faith litigation against Highland Capital, its successors, and other bankruptcy participants that

  could disrupt the Plan’s effectiveness.”8



  7
    To be clear, the Gatekeeper Provision in the Plan was not the first or even second injunction of its type issued in this
  bankruptcy case. The Gatekeeper Orders were entered by the bankruptcy court pre-confirmation: (a) in January 2020,
  just a few months into the case, as part of this court’s order approving a corporate governance settlement between
  Highland and its unsecured creditors committee, in which Dondero, Highland’s co-founder and former CEO, was
  removed from any management role at Highland and three independent directors (“Independent Directors”) were
  appointed in lieu of a chapter 11 trustee being appointed (“January 2020 Order”); and (b) in July 2020, in this court’s
  order authorizing the employment of Seery (one of the three Independent Directors) as the Debtor’s new Chief
  Executive Officer, Chief Restructuring Officer, and Foreign Representative (“July 2020 Order,” together with the
  January 2020 Order, the “Gatekeeper Orders”).
  8
    See Highland Capital, 48 F.4th at 427, 435.

                                                              4
Case 3:23-cv-02071-E         Document 1-1        Filed 09/15/23       Page 555 of 678       PageID 561



         D.      Some Further Context Regarding Post-Confirmation Litigation Generally.

         Since confirmation of the Plan, hundreds of millions of dollars have been paid out to

  creditors under the Plan, and there are numerous adversary proceedings and contested matters still

  pending, at various stages of litigation, in the bankruptcy court, the district court, and the Fifth

  Circuit, almost exclusively involving Dondero and entities that he owns or controls. To be sure,

  the post-confirmation litigation in this case does not consist of the usual adversaries and contested

  matters one typically sees by and against a reorganized debtor and/or litigation trustee, such as

  preference or other avoidance actions and litigation over objections to claims that are still pending

  after confirmation of a plan. Indeed, the claims of the largest creditors in this case (with claims

  asserted in the aggregate of more than one billion dollars) were successfully mediated and

  incorporated into the Plan—a plan which was ultimately accepted by the votes of an overwhelming

  majority of Highland’s non-insider creditors. Dondero and entities under his control were the only

  parties who appealed the Confirmation Order, and Dondero and entities under his control have

  been the appellants in virtually every appeal that has been filed regarding this bankruptcy case.

  Petitions for writs of mandamus (which have been denied) have been filed in the district court and

  in the Fifth Circuit by some of these same entities, including one by HMIT, when this court denied

  setting an emergency hearing on the instant Motion for Leave (HMIT had sought a setting on

  three-days’ notice).

         A recent list of active matters involving Dondero and/or entities and/or individuals

  affiliated or associated with him, filed in the bankruptcy case by Highland and the Claimant Trust,

  reveals that there were at least 30 pending and “Active Dondero-Related Litigation” matters as of

  July 14, 2023: six (6) proceedings in this court; six (6) active appeals or actions are pending in the

  District Court for the Northern District of Texas; seven (7) appeals in the Fifth Circuit; two (2)



                                                    5
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23            Page 556 of 678            PageID 562



  petitions for writs of certiorari in the United States Supreme Court; and nine (9) other proceedings

  or actions with or affecting the Highland Parties (“Highland,” the “Claimant Trust,” and “Seery”)

  in various other state, federal, and foreign jurisdictions.9

           The above-described context is included because the Proposed Defendants assert that the

  Motion for Leave is just a continuation of Dondero’s unrelenting barrage of meritless and

  harassing litigation, making good on his oft-mentioned alleged threat to “burn down the place”

  after not achieving the results he wanted in the Highland bankruptcy case. Indeed, the Motion for

  Leave was filed after two years of unsuccessful attempts by, first, Dondero personally, and then

  HMIT to obtain pre-suit discovery from the Proposed Defendants (i.e., the Claims Purchasers)

  through two different Texas state court proceedings, pursuant to Tex. R. Civ. P. 202 (“Rule 202”).

  In each of these Rule 202 proceedings, Dondero and HMIT espoused the same Seery/Claims


  9
    See Bankr. Dkt. No. 3880 (filed on July 14, 2023, providing a list of “Active Dondero-Related Litigation” and noting
  that the list is “a summary of active pending actions only and does not include actions that were resolved by final
  orders, including actions finally resolved after appeals to the U.S. District Court for the Northern District of Texas
  and/or the U.S. Court of Appeals for the Fifth Circuit.”). Just since the filing by the Highland Parties of the list, three
  of the appeals pending in the Fifth Circuit have been decided against the Dondero-related appellants, two of which
  upheld the district court’s dismissal of appeals by Dondero-related entities of bankruptcy court orders based on the
  lack of bankruptcy appellate standing on behalf of the appellant. On July 19, 2023, the Fifth Circuit affirmed the
  district court’s dismissal of an appeal by NexPoint Advisors, L.P. (“NexPoint”) of bankruptcy court orders approving
  professional compensation on the basis that NexPoint did not meet the bankruptcy appellate standing test of being a
  “person aggrieved” by the entry of the orders. NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In
  re Highland Capital Management, L.P.), 74 F.4th 361 (5th Cir. 2023). On July 31, 2023, the Fifth Circuit affirmed
  the district court’s dismissal of an appeal by Dugaboy—the Dondero family trust that, like the movant here in this
  Motion for Leave, was the holder of a limited partnership interest in Highland, and, as such, now has a contingent
  interest in the Claimant Trust—which had appealed a bankruptcy court order approving a Rule 9019 settlement on the
  same basis: Dugaboy did not meet the bankruptcy appellate standing test of being a “person aggrieved” by the entry
  of the settlement order. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), No.
  22-10960, 2023 WL 4861770 (5th Cir. July 31, 2023). The July 31, 2023 ruling followed the Fifth Circuit’s ruling
  on February 21, 2023, affirming the district court’s dismissal of an appeal by Dugaboy of yet another bankruptcy court
  order for lack of bankruptcy appellate standing. The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re Highland
  Capital Mgt., L.P.), No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023). These rulings by the Fifth Circuit are
  discussed in greater detail below. The third ruling by the Fifth Circuit since July 14, 2023, was issued by the Fifth
  Circuit in a per curium opinion not designated for publication on July 26, 2023, this one affirming the district court’s
  affirmance of yet another Rule 9019 settlement order of the bankruptcy court that was appealed by Dugaboy, agreeing
  with the district court that the bankruptcy court had jurisdiction to approve a settlement among the Debtor, an entity
  affiliated with the Debtor but not a debtor itself, and UBS (the Debtor’s largest prepetition creditor and the seller of
  its claims to the Claims Purchasers, which is one of the claims trading transactions HMIT complains about in the
  Proposed Complaint). See The Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P., No. 22-10983, 2023 WL 4842320
  (5th Cir. July 26, 2023).

                                                              6
Case 3:23-cv-02071-E          Document 1-1        Filed 09/15/23       Page 557 of 678       PageID 563



  Purchasers conspiracy theory espoused in the Motion for Leave—that Seery must have provided

  one or more of the Claims Purchasers with material nonpublic information to induce them to want

  to purchase large, allowed, unsecured claims at a discount; a quid pro quo is suggested, such that

  the Claims Purchasers were allegedly told they would make a hefty profit on the claims they

  purchased and, in return, they would gladly “rubber stamp” Seery’s “excessive compensation” as

  the Claimant Trustee of the Claimant Trust. In sum, HMIT alleges this constituted wrongful

  “insider trading” of the bankruptcy claims. In addition, certain lawyers for Dondero and Dugaboy

  sent letters reporting this alleged conspiracy and “insider trading” to the Texas State Securities

  Board (“TSSB”) and the Executive Office of the United States Trustee (“EOUST”).

           It is against this background and in this context that the court must analyze, in the exercise

  of its gatekeeping function under the confirmed Plan and its prior Gatekeeping Orders, whether

  HMIT should be allowed to pursue the Proposed Claims (i.e., whether the Proposed Claims are

  “colorable” claims as contemplated under the Gatekeeper Orders and the Gatekeeper Provision of

  the Plan). The court held an evidentiary hearing on the Motion for Leave on June 8, 2023 (“June

  8 Hearing”), during which the court admitted exhibits and heard testimony from three witnesses

  both in support of and in opposition to the Motion for Leave. Having considered the Motion for

  Leave, the response of the Proposed Defendants thereto, HMIT’s reply to the response, and the

  arguments and evidence presented at the hearing on the Motion for Leave, the court denies HMIT’s

  request for leave to pursue its Proposed Claims. The court’s reasoning is set forth below.

  II.      BACKGROUND

        A. Highland’s Bankruptcy Case, Dondero’s Removal as CEO, and the Plan

           Highland was co-founded in Dallas in 1993 by Dondero and Mark Okada (“Okada”). It

  operated as a global investment adviser that provided investment management and advisory

  services and managed billions of dollars of assets, both directly and indirectly through numerous

                                                     7
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 558 of 678           PageID 564



  affiliates. Highland’s equity interest holders included HMIT (99.5%), Dugaboy (0.1866%),

  Okada, personally and through trusts (0.0627%), and Strand Advisors, Inc. (“Strand”), which was

  wholly owned by Dondero and was the only general partner of Highland (0.25%). On October 16,

  2019 (the “Petition Date”), Highland, with Dondero in control10 and acting as its CEO, president,

  and portfolio manager, and facing a myriad of massive, business litigation claims – many of which

  had finally become or were about to be liquidated (after a decade or more of contentious litigation

  in multiple fora all over the world—filed for relief under chapter 11 of the United States

  Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware. The

  bankruptcy case was transferred to the Northern District of Texas, Dallas Division in December

  2019. The official committee of unsecured creditors (the “Committee”) (and later, the United

  States Trustee) expressed a desire for the appointment of a chapter 11 trustee due to concerns over

  and distrust of Dondero, his numerous conflicts of interest, and his history of alleged

  mismanagement (and perhaps worse).

          After many weeks under the specter of a possible appointment of a trustee, Highland and

  the Committee engaged in substantial and lengthy negotiations, resulting in a corporate governance

  settlement approved by this court on January 9, 2020.11 As a result of this settlement, Dondero

  relinquished control of Highland and resigned his positions as officer or director of Highland and

  its general partner, Strand,12 and three independent directors (“Independent Directors”) were



  10
    Mark Okada resigned from his role with Highland prior to the Petition Date.
  11
    This order is hereinafter referred to as the “January 2020 Order” and was entered by the court on January 9, 2020
  [Bankr. Dkt. No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of
  Unsecured Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course
  [Bankr. Dkt. No. 281].
  12
     Dondero agreed to this settlement pursuant to a stipulation he executed and that was filed in connection with
  Highland’s motion to approve the settlement. See Stipulation in Support of Motion of the Debtor for Approval of
  Settlement With the Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
  for Operations in Ordinary Course [Bankr. Dkt. No. 338].

                                                          8
Case 3:23-cv-02071-E             Document 1-1     Filed 09/15/23       Page 559 of 678        PageID 565



  chosen to lead Highland through its chapter 11 case: Seery, John S. Dubel, and retired bankruptcy

  judge Russell Nelms. Given the Debtor’s perceived culture of constant litigation while Dondero

  was at the helm, it was purportedly not easy to get such highly qualified persons to serve as

  independent board members. At the hearing on the corporate governance settlement motion, the

  court heard credible testimony that none of the Independent Directors would have taken on the

  role without (1) an adequate directors and officers’ (“D&O”) insurance policy protecting them; (2)

  indemnification from Strand that would be guaranteed by the Debtor; (3) exculpation from mere

  negligence claims; and (4) a gatekeeper provision prohibiting the commencement of litigation

  against the Independent Directors without the bankruptcy court’s prior authority. The gatekeeper

  provision approved by the court in its January 9 Order states,13

                   No entity may commence or pursue a claim or cause of action of any kind
           against any Independent Director, any Independent Director’s agents, or any
           Independent Director’s advisors relating in any way to the Independent Director’s
           role as an independent director of Strand without the Court (i) first determining
           after notice that such claim or cause of action represents a colorable claim of willful
           misconduct or gross negligence against Independent Director, any Independent
           Director’s agents, or any Independent Director’s advisors and (ii) specifically
           authorizing such entity to bring such claim. The Court will have sole jurisdiction to
           adjudicate any such claim for which approval of the Court to commence or pursue
           has been granted.

  Dondero agreed to remain with Highland as an unpaid portfolio manager following his resignation

  and did so “subject at all times to the supervision, direction and authority of the Independent

  Directors” and to his agreement to “resign immediately” “[i]n the event the Independent Directors

  determine for any reason that the Debtor shall no longer retain Dondero as an employee”14 and to

  “not cause any Related Entity to terminate any agreements with the Debtor.”15 The court later




  13
     January 2020 Order, 3-4, ¶ 10.
  14
     January 2020 Order, 3, ¶ 8.
  15
     Id. at ¶ 9.

                                                     9
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23          Page 560 of 678          PageID 566



  entered, on July 16, 2020, an order approving the appointment of Seery as Highland’s Chief

  Executive Officer, Chief Restructuring Officer, and Foreign Representative,16 which included

  essentially the same “gatekeeper” language with respect to the pursuit of claims against Seery

  acting in these roles. The gatekeeper provision in the July 2020 Order was essentially the same as

  the gatekeeper provision in the January 2020 Order:

          No entity may commence or pursue a claim or cause of action of any kind against
          Seery relating in any way to his role as the chief executive officer and chief
          restructuring officer of the Debtor without the Bankruptcy Court (i) first
          determining after notice that such claim or cause of action represents a colorable
          claim of willful misconduct or gross negligence against Seery, and (ii) specifically
          authorizing such entity to bring such claim. The Bankruptcy Court shall have sole
          jurisdiction to adjudicate any such claim for which approval of the Court to
          commence or pursue has been granted.

  July 2020 Order, 3, ¶5. Neither the January 2020 Order nor the July 2020 Order were appealed.

          Throughout the summer of 2020, Dondero informally proposed several reorganization

  plans, none of which were embraced by the Committee or the Independent Directors. When

  Dondero’s plans failed to gain support, he and entities under his control engaged in substantial,

  costly, and time-consuming litigation for Highland.17 As the Fifth Circuit described the situation,

  after Dondero’s plans failed “he and other creditors began to frustrate the proceedings by objecting

  to settlements, appealing orders, seeking writs of mandamus, interfering with Highland Capital’s

  management, threatening employees, and canceling trades between Highland Capital and its

  clients.”18 On October 9, 2020, Dondero resigned from all positions with the Debtor and its


  16
     See the July 16, 2020 order approving the retention by Highland of Seery as Chief Executive Officer, Chief
  Restructuring Officer, and Foreign Representative, nunc pro tunc, to March 15, 2020 (“July 2020 Order”) [Bankr.
  Dkt. No. 854].
  17
     According to Seery’s credible testimony during the hearing on confirmation of the Plan that had been negotiated
  between the Committee and the Independent Directors, Dondero had threatened to “burn the place down” if his
  proposed plan was not accepted. See Transcript of Confirmation Hearing dated February 3, 2021 at 105:10-20. Bankr.
  Dkt. No. #1894.
  18
     Highland Capital, 48 F.4th at 426 (citing Highland Cap. Mgmt., L.P. v. Dondero (In re Highland Capital Mgmt.,
  L.P.), Ch. 11 Case No. 19-34054-SGJ11, Adv. No. 20-03190-SGJ11, 2021 WL 2326350, at *1, *26 (Bankr. N.D. Tex.


                                                         10
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 561 of 678            PageID 567



  affiliates in response to a demand by the Independent Directors made after Dondero’s purported

  threats and disruptions to the Debtor’s operations.19

           The Independent Directors and the Committee had negotiated their own plan of

  reorganization which culminated in the filing by Highland of its Fifth Amended Plan of

  Reorganization of Highland Capital Management, L.P. (as Modified) (the “Plan”) [Bankr. Dkt.

  No. 1808] on January 22, 2021.20 Highland had negotiated settlements with most of its major

  creditors following mediation and had amended its initially proposed plan to address the objections

  of most of its creditors, leaving only the objections of Dondero and entities under his control (the

  “Dondero Parties”) at the time of the confirmation hearing,21 which was held over two days in

  early February 2021. The Plan is essentially an “asset monetization” plan pursuant to which the

  Committee was dissolved, and four new entities were created: the Reorganized Debtor; a new

  general partner for the Reorganized Debtor called HCMLP GP, LLC; the Claimant Trust

  (administered by Seery, its trustee); and a Litigation Sub-Trust (administered by its trustee, Marc

  Kirschner). Highland’s various servicing agreements were vested in the Reorganized Debtor,

  which continues to manage collateralized loan obligation vehicles (“CLOs”) and various other

  investments postconfirmation. The Claimant Trust owns the limited partnership interests in the

  Reorganized Debtor, HCMLP GP LLC, and the Litigation Sub-Trust and is charged with winding

  down the Reorganized Debtor over a three-year period by monetizing its assets and making




  June 7, 2021) where this court “h[eld] Dondero in civil contempt, sanctioning him $100,000, and comparing this case
  to a ‘nasty divorce.’”).
  19
     See Highland Ex. 13. The court shall refer to exhibits offered and admitted at the June 8 Hearing on the Motion for
  Leave by the Highland Parties as “Highland Ex. ___” and to exhibits offered and admitted by HMIT as “HMIT Ex.
  ___.”
  20
     The Disclosure Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
  was filed on November 24, 2020 (“Disclosure Statement”) [Bankr. Dkt. No. 1473].
  21
     The only other objection remaining was the objection of the United States Trustee to the Plan’s exculpation,
  injunction, and release provisions.

                                                           11
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 562 of 678           PageID 568



  distributions to Class 8 and Class 9 creditors as Claimant Trust Beneficiaries. The Claimant Trust

  is overseen by a Claimant Trust Oversight Board (“CTOB”), and pursuant to the terms of the Plan

  and the Claimant Trust Agreement (“CTA”),22 the CTOB approved Seery’s compensation package

  as the CEO of the Reorganized Debtor and the Claimant Trustee. Following their acquisition of

  their unsecured claims, representatives of Claims Purchasers Muck and Jessup became members

  of the CTOB.23 Seery’s compensation included the same base salary that he was receiving as CEO

  and CRO of Highland, plus an added incentive bonus tiered to recoveries and distributions to the

  creditors under the Plan. The Plan provides for the cancellation of the limited partnership interests

  in Highland held by HMIT, Dugaboy, and Okada and his family trusts in exchange for each

  holder’s pro rata share of a contingent interest in the Claimant Trust (“Contingent Claimant Trust

  Interest”), as holders of allowed interests in Class 10 (holders of Class B/C limited partnership

  interests) or Class 11 (holders of Class A limited partnership interests) under the Plan.

       B. Dondero Communicates Alleged Material Non-Public Information (“MNPI”) to Seery,
          and Seery Allegedly Provides the MNPI to the Claims Purchasers in Furtherance of an
          Alleged Fraudulent Scheme to Have the Claims Purchasers “Rubber Stamp” His
          Compensation as Claimant Trustee Post-Confirmation

           1. The December 17, 2020 MGM Email

           Between Dondero’s forced resignation from Highland in October 2020 and the

  confirmation hearing in February 2021, Dondero engaged in what appeared to be attempts to

  thwart, impede, and otherwise interfere with the Plan being proposed by the Independent Directors

  and the Committee. In the midst of this, on December 17, 2020, Dondero sent Seery24 an email

  22
     Highland Ex. 38
  23
     The CTOB had three members: a representative of Muck (Michael Linn), a representative of Jessup (Christopher
  Provost), and an independent member (Richard Katz). See Joint Opposition ¶ 79.
  24
     Dondero sent the email to others as well but did not copy counsel for the Independent Directors (including Seery)
  in violation of the terms of an existing temporary restraining order that enjoined Dondero from, among other things,
  “communicating . . . with any Board member” (including Seery) without including Debtor’s counsel. Morris Dec. Ex.
  23 ¶ 2(a). Citations to “Morris Dec. Ex. ” are to the exhibits attached to the Declaration of John A. Morris in Support


                                                            12
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 563 of 678           PageID 569



  (the “MGM Email”) that featured prominently in HMIT’s Motion for Leave. According to HMIT

  and Dondero, the MGM Email contained material nonpublic information (“MNPI”) regarding the

  possibility of an imminent acquisition of Metro-Goldwyn-Mayer Studios, Inc. (“MGM”), likely

  by either Amazon or Apple.25 At the time Dondero sent the MGM Email, Dondero sat on the board

  of directors of MGM, and the Debtor owned MGM stock directly. The Debtor also managed and

  partially owned a couple of other entities that owned MGM stock and managed various CLOs that

  owned some MGM stock as well. HMIT alleges now that Seery later misused and wrongfully

  disclosed to the Claims Purchasers this purported MNPI as part of a quid pro quo scheme, whereby

  the Claims Purchasers agreed to approve excessive compensation for Seery in the future (in

  exchange for him providing this allegedly “insider” information that inspired them to purchase

  unsecured claims with an alleged expectation of future large profits).26 A timeline of events (in

  late 2020) in the weeks leading up to Dondero’s MGM Email to Seery, following Dondero’s

  departure from Highland, helps to put the email in full context:

              October 16: Dondero and his affiliates attempt to impede the Debtor’s trading
               activities by demanding—with no legal basis—that Seery cease selling certain
               assets;27

              November 24: Bankruptcy Court enters an Order approving the Debtor’s
               Disclosure Statement, scheduling the confirmation hearing on the Debtor’s
               Plan for January 13, 2021, and granting related relief;28

              November 24–27: Dondero personally interferes with the Debtor’s

  of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint Opposition to
  Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding, Bankr. Dkt. No. 3784.
  25
     See Proposed Complaint ¶ 45.
  26
     See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the [Claims
  Purchasers], with material non-public information concerning the value of assets which they then used to purchase the
  largest approved unsecured claims.”); ¶ 4 (“As part of the scheme, the [Claims Purchasers] obtained a position to
  approve Seery’s ongoing compensation – to Seery’s benefit and also to the detriment of the Claimant Trust, the
  Reorganized Debtor, and HMIT.”).
  27
     See Highland Ex. 14, Dondero-Related Entities’ October 16, 2020 Letter; Highland Ex. 15, Memorandum Opinion
  and Order Holding Dondero in Contempt for Violation of TRO, 13-15.
  28
     See Bankr. Dkt. No. 1476.

                                                           13
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 564 of 678           PageID 570



               implementation of certain securities trades ordered by Seery;29

              November 30: The Debtor provides written notice of termination of certain shared
               services agreements it had with Dondero’s two non-debtor affiliates, NexPoint
               Advisors, L.P. (“NexPoint”) and Highland Capital Management Fund
               Advisors, L.P. (“HCMFA”; together with NexPoint, the “Advisors”);30

              December 3: The Debtor makes written demands to Dondero and certain
               affiliates for payment of all amounts due under certain promissory notes they
               owed to the Debtor, that had an aggregate face amount of more than $60
               million—this was part of creating liquidity for the Debtor’s Plan;31

              December 3: Dondero responds with what appeared to be a threat of some sort to Seery
               in a text message: “Be careful what you do -- last warning;”32

              December 10: Dondero’s interference and apparent threat cause the Debtor to
               seek and obtain a temporary restraining order (“TRO”) against Dondero;33

              December 16: This court denies as “frivolous” a motion filed by certain
               affiliates of Dondero, in which they sought “temporary restrictions” on certain
               asset sales;34 and

              December 17: Dondero sends the unsolicited MGM Email35 to Seery, which
               violates the TRO entered just a week earlier.36



  29
     See Highland Ex. 15, 30-36.
  30
     Morris Decl. Ex. 17; see also Transcript of June 8, 2023 Hearing on HMIT’s Motion for Leave (“June 8 Hearing
  Transcript”), 273:23-24.
  31
     Morris Decl. Exs. 18-21; see also June 8 Hearing Transcript, 273:23-274:1.
  32
     Morris Decl. Ex. 22 (emphasis added); see also June 8 Hearing Transcript, 273:1-12 (where Seery testified about
  receiving the threat from Dondero: “A: [T]his came after he threatened me. He threatened me in writing. I’d never
  been threatened in my career. I’ve never heard of anyone else in this business who’s been threatened in their career.
  So anything I would get from him, I was going to be highly suspicious.”).
  33
     See Morris Decl. Ex. 23, Order Granting Debtor’s Motion for a Temporary Restraining Order Against James
  Dondero entered December 10, 2020 [Adv. Pro. No. 20-3190 Dkt. No. 10].
  34
     See Morris Decl. Ex. 24, Transcript of December 16, 2020 Hearing, 63:5-64:15.
  35
     Highland Ex. 11.
  36
     Seery testified at the June 8 Hearing that Dondero knowingly violated the TRO when he sent the MGM Email:
          [The MGM Email] . . . followed the imposition of a TRO for interfering with the business. He knew
          what was in the TRO and he knew what it applied to, and it restricted him from communicating with
          me or any of the other independent directors without Pachulski [Debtor’s counsel] being on it.
          Furthermore, Pachulski had advised Dondero’s counsel that not only could they not communicate
          with us, if they wanted to communicate they had to prescreen the topics. And how do we know that?
          Because Dondero filed a motion to modify the TRO. And that was all before this email.
  June 8 Hearing Transcript, 273:13-22.

                                                           14
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23   Page 565 of 678    PageID 571



  The MGM Email had the subject line “Trading Restriction re MGM – material non public

  information” and stated:

          Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and
          Apple actively diligencing in Data Room. Both continue to express material
          interest. Probably first quarter event, will update as facts change. Note also any
          sales are subject to a shareholder agreement.37

          Seery credibly testified at the June 8 Hearing that he was “highly suspicious” when he

  received the MGM Email. This was because, among other reasons, Dondero sent it after: (i)

  unsuccessful efforts to impede the Debtor’s trading activities (followed by the TRO); (ii) the “be

  careful what you do” text to Seery by Dondero: (iii) Highland’s termination of its shared service

  arrangements with Dondero’s various affiliated entities; (iv) the bankruptcy court’s approval of

  the disclosure statement; and (v) Highland’s demand to collect on the demand notes for which

  Dondero and his entities were liable.38 Highland’s Chapter 11 case was fast approaching the finish

  line. Moreover, MGM was already on the restricted list at Highland Capital, and had been for a

  long time, and Dondero would know this.39 Still further, as of December 17, 2020 (the date

  Dondero sent the unsolicited MGM Email to Seery), Dondero no longer owed a duty of any kind

  to the Debtor or any entity controlled by the Debtor, having surrendered in January 2020 direct

  and indirect control of the Debtor to the Independent Board as part of the corporate governance

  settlement40 and having resigned from all roles at the Debtor and affiliates in October 2020. Still

  further, Dondero—to the extent he was sharing with Seery MNPI that he obtained as a member of

  the board of directors of MGM—would have been violating his own fiduciary duties to MGM.




  37
     Highland Ex. 11.
  38
     June 8 Hearing Transcript, 273:1-274:4.
  39
     June 8 Hearing, 215:21-216:9.
  40
     See Bankr. Dkt. Nos. 339, 354-1 (Term Sheet)).

                                                        15
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 566 of 678            PageID 572



           In any event, in a declaration filed by Dondero in support of HMIT’s Rule 202 petition in

  Texas state court for pre-suit discovery,41 he indicated that his goal in sending the MGM E-mail

  was to impede the Debtor and Seery from engaging in any transactions involving MGM:

           On December 17, 2020, I sent an email to employees at HCM, including the then
           Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
           public information regarding Amazon and Apple’s interest in acquiring MGM. I
           became aware of this information due to my involvement as a member of the board
           of MGM. My purpose was to alert Seery and others that MGM stock, which was
           owned either directly or indirectly by HCM, should be on a restricted list and not
           be involved in any trades.

           It is noteworthy that Dondero’s labeling of the MGM Email (in the subject line) as a

  communication containing “material non public information” did not make it so. In fact, it

  appears from the credible evidence presented at the June 8, 2023 hearing on HMIT’s Motion for

  Leave that the MGM Email did not disclose information to Seery that was not already made available

  to the public at the time it was sent. Seery testified that he did not think the MGM Email contained

  MNPI and that he did not personally “take any steps . . . to make sure that MGM stock was placed

  on a restricted list at Highland Capital after [he] received [the MGM Email]” because—as earlier

  noted—“MGM was already on the restricted list at Highland Capital . . . before I got to

  Highland.”42 Indeed, MGM was ultimately purchased by Amazon after a sale process that had

  been quite publicly discussed in media reports for several months43 and that was officially


  41
     Highland Ex. 9 ¶ 3 (emphasis added).
  42
     June 8 Hearing Transcript, 215:21-216:9. Seery elaborated upon further questioning from HMIT’s counsel that he
  did not think the indications in the MGM Email (that came from a member of the board of directors of MGM) that “it
  was probably a first-quarter event” and that “Amazon and Apple were actively diligencing – are diligencing in the
  data room, both continue to express material interest” were not MNPI. Id., 217:23-218:10. He testified that “it was
  clear [before he received the MGM Email] from the media reports and the actual quotes from Kevin Ulrich of
  Anchorage, who was the chairman at MGM, that a transaction would have to take place very quickly. And, in fact,
  the transaction did not take place in the first quarter.” Id., 219:3-7.
  43
     See Highland Ex. 25 (“MGM has held preliminary talks with Apple, Netflix and other larger media companies . . .
  . MGM, in particular, seems like a logical candidate to sell this year. Its owners include Anchorage Capital, Highland
  Capital and Solus Alternative Asset Management, hedge funds that acquired the company out of bankruptcy in 2010.”)
  (article dated 1/26/20); Highland Ex. 26 (describing prospects of an MGM sale, noting that, among its largest


                                                           16
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 567 of 678         PageID 573



  announced to the public in late May 2021 (just a few weeks after the Claims Purchasers purchased

  some of their claims, but a few months before certain of their claims—the UBS claims—were

  purchased).44 For example, as early as January 2020, Apple and Amazon were identified as being

  among a new group of “Big 6” global media companies, and MGM was identified as being a

  leading media acquisition target. Indeed, according to at least one media report on January 26,

  2020, “MGM, in particular, seems like a logical candidate to sell this year” having already held

  “preliminary talks with Apple, Netflix and other larger media companies.”45 In October 2020, the

  Wall Street Journal reported that MGM’s largest shareholder, Anchorage Capital Group

  (“Anchorage”), was facing mounting pressure to sell the company. Anchorage was led by Kevin

  Ulrich, who also served as Chairman of MGM’s Board. The article reported that “[i]n recent

  months, Mr. Ulrich has said he is working toward a deal,” and he specifically named Amazon and

  Apple as being among four possible buyers.46 Thus, no one following the MGM story would have

  been surprised to learn in December 2020 that Apple and Amazon were conducting due diligence

  and had expressed “material interest” in acquiring MGM. Dondero testified during the June 8

  Hearing that, at the time he sent the MGM Email, he “knew with certainty from the board level

  that Amazon had hit our price, and it was going to close in the next couple of months,”47 that “as

  of December 17th, Amazon had made an offer that was acceptable to MGM, [and that] that’s what

  the board meeting was. We were going into exclusive negotiations to culminate the merger with




  shareholders, was “Highland Capital Management, LP”) (article October 11, 2020). See also Highland Exs. 27-30 &
  34 (various other articles regarding possible sale/suitors of MGM, dated in years 2020 and 2021, and ultimately
  announcing sale to Amazon on May 26, 2021, for $8.4 billion).
  44
     The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
  acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid.
  45
     Highland Ex. 25.
  46
     Highland Ex. 26.
  47
     June 8 Hearing Transcript, 127:2-4.

                                                        17
Case 3:23-cv-02071-E               Document 1-1   Filed 09/15/23      Page 568 of 678       PageID 574



  them.”48 Notwithstanding this testimony, Dondero eventually admitted (after a lengthy and

  torturous cross examination) that he did not actually communicate this supposed “inside”

  information to Seery in the MGM Email. He did not “say anything about Amazon hitting the

  price.” He did not say anything about the MGM board going into exclusive negotiations with

  Amazon “to culminate the merger with them.” Rather, he communicated information that Seery

  and any member of the public who cared to look could have gleaned from publicly available

  information as of December 17, 2020, regarding a much-written-about potential MGM transaction

  that involved interest from numerous companies, including, specifically, Amazon and Apple.

  When questioned why “[he felt] the need to mention Apple [in the MGM Email] if Amazon had

  already hit the price,” Dondero simply answered, “The only way you generally get something done

  at attractive levels in business is if two people are interested,” suggesting that he specifically did

  not communicate the purported inside information he obtained as a MGM board member—that

  Amazon had met MGM’s strike price and that the MGM board was moving forward with exclusive

  negotiations with Amazon—because he wanted it to appear that there was still a competitive

  process going on that included both Amazon and Apple.49

             Even if the MGM Email contained MNPI on the day it was sent (four months prior to the

  first of the Claim Purchases that occurred in April 2021), the information was fully and publicly

  disclosed to the market in the days and weeks that followed. For example, on December 21, 2020,

  just four days later, a Wall Street Journal article titled MGM Holdings, Studio Behind ‘James

  Bond,’ Explores a Sale, reported that MGM had “tapped investment banks Morgan Stanley and

  LionTree LLC and begun a formal sale process,” and had “a market value of around $5.5 billion,

  based on privately traded shares and including debt.” The Wall Street Journal Article reiterated

  48
       Id., 161:10-14.
  49
       June 8 Hearing Transcript, 162:2-6.

                                                    18
Case 3:23-cv-02071-E         Document 1-1        Filed 09/15/23      Page 569 of 678       PageID 575



  that (i) Anchorage “has come under pressure in recent years from weak performance and defecting

  clients, and its illiquid investment in MGM has become a larger percentage of its hedge fund as it

  shrinks,” and (ii) “Mr. Ulrich has told clients in recent months he was working toward a deal for

  the studio and has spoken of big technology companies as logical buyers.”50 (Id. Ex. 27.) The

  Wall Street Journal’s reporting was picked up and expanded upon in other publications soon after.

  For example:

              On December 23, 2020, Business Matters published an article specifically
               identifying Amazon as a potential suitor for MGM. The article, titled The world is
               net enough! Amazon joins other streaming services in £4bn bidding war for Bond
               films as MGM considers selling back catalogue, cited the Wall Street Journal article
               and further reported that MGM “hopes to spark a battle that could interest streaming
               services such as Amazon Prime”;51

              On December 24, 2020, an article in iDropNews specifically identified Apple as
               entering the fray. In an article titled Could Apple be Ready to Gobble Up MGM
               Studios Entirely?, the author observed that “it’s now become apparent that MGM is
               actually up on the auction block,” noting that the Wall Street Journal was “reporting
               that the studio has begun a formal sale process” and that Apple—with a long history
               of exploratory interest in MGM—would be a likely bidder;52 and

              On January 15, 2021, Bulwark published an article entitled MGM is For Sale (Again)
               that identified attributes of MGM likely to appeal to potential purchasers and
               handicapped the odds of seven likely buyers—with Apple and Amazon named as two
               of three potential buyers most likely to close on an acquisition.53

           Finally, Highland and entities it controlled did not sell their MGM stock while the MGM-

  Amazon deal was under discussion and/or not made public but, instead, they tendered their MGM

  holdings in connection with, and as part of, the ultimate MGM-Amazon transaction after it closed

  in March 2022.




  50
     Highland Ex. 27.
  51
     Highland Ex. 28.
  52
     Highland Ex. 29.
  53
     Highland Ex. 30.

                                                    19
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 570 of 678           PageID 576



           2. No Evidence to Support HMIT/Dondero’s Assumptions that Seery Shared Alleged
              MNPI in the MGM Email with Claims Purchasers

           One of HMIT’s allegations in the Proposed Complaint it seeks leave to file—which is

  central to HMIT’s and Dondero’s conspiracy theory—is that Seery shared the alleged MNPI from

  the MGM Email with the Claims Purchasers (or at least Farallon—the owner/affiliate of Muck,

  one of the Claims Purchasers) and that the Claims Purchasers only acquired the purchased claims

  (“Purchased Claims”) based on, and because, of their receipt of the MNPI from Seery. HMIT

  essentially admits in the original version of its Motion for Leave that it has no direct evidence that

  Seery communicated the alleged MNPI to any of the Claims Purchasers. Rather, its allegation is

  based on inferences it wants the court to make based on “circumstantial” evidence and on the

  Dondero Declarations that were attached to the Motion for Leave, which described

  communications Dondero purportedly had with one or two representatives of Farallon in the “late

  spring” of 2021 concerning Farallon’s recent acquisition of certain claims in the Highland

  bankruptcy case.54 Based on these communications, HMIT and Dondero only assume Seery must

  have provided the MNPI about MGM to Farallon, which must have caused both Farallon and the

  other Claims Purchaser, Stonehill, to acquire the Purchased Claims.55

           At the June 8 Hearing, HMIT offered Dondero’s testimony that he had three telephone

  conversations with two representatives of Farallon, Mike Linn (“Linn”) and Raj Patel (“Patel”),



  54
     Motion for Leave (Bankr. Dkt. No. 3699) ¶ 1 and Ex. 3; see also Highland Ex. 9, Declaration of James Dondero
  (with Exhibit 1) dated February 15, 2023.
  55
     Motion for Leave (Bankr. Dkt. No. 3699) ¶ 28. HMIT subsequently filed the final version of the Motion for Leave
  that was revised to withdraw the Dondero Declarations and delete all references therein to the Dondero Declarations
  (but, notably, leaving in the allegations that were based on the Dondero Declaration(s)). This was done after the court
  ruled that it would allow the Proposed Defendants to examine Dondero regarding his Declarations. HMIT contended
  at that point that the court should consider the Motion for Leave on a no-evidence Rule 12(b)(6) type basis (but could
  not explain why it had attached the Dondero Declarations as evidence that “supported” the Motion for Leave, if it
  believed no evidence should be considered). See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 28; see also infra pages
  45 to 47 regarding the “sideshow” litigation that occurred prior to the June 8 Hearing over whether the hearing on the
  Motion for Leave would be an evidentiary hearing.

                                                            20
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 571 of 678           PageID 577



  who allegedly told him that they purchased the claims without conducting any due diligence and

  based solely on Seery’s assurances that the claims were valuable. These conversations allegedly

  took place on May 28, 2021—two days after the MGM-Amazon deal was officially announced to

  the public (on May 26, 2021). Dondero also testified that a photocopy of handwritten notes

  (“Dondero Notes”)56 (which were partially cut off) were notes he took contemporaneously with

  these short telephone conversations he initiated (one with Patel and two follow-up conversations

  with Linn).57 He testified that his purpose in taking these notes and in initiating the phone calls

  was that “[w]e’d been trying nonstop to settle the case for two-plus years. . . . [a]nd when we heard

  the claims traded, we realized there were new parties to potentially negotiate to resolve the case

  . . . [s]o I reached out [to] the Farallon guys,”58 and further, on voir dire from the Proposed

  Defendants’ counsel, that the purpose of taking the notes was so that he had “a written record of

  the important points that [he] discussed . . . so I know how to address it the next time.”59 The

  handwritten notes60 stated:

            Raj Patel bought it because of Seery               1
            50-70¢ not compelling                              2
               Class 8                                        3
            Asked what would be compelling                     4
            -- No Offer                                        5
            Bought in Feb/March timeframe                      6
                   Bought assets w/ Claims                     7
              Offered him 40-50% premium                      8
            130% of cost; “Not Compelling”                     9
            No Counter; Told Discovery coming                 10

  56
     HMIT Ex. 4. The handwritten notes were admitted into evidence after voir dire, not for the truth of anything Patel
  or Linn allegedly said to him during the three telephone conversations, but as Dondero’s “present sense impression”
  of the telephone conversations.
  57
     June 8 Hearing Transcript, 133:1-136:3.
  58
     See id., 133:13-23.
  59
     See id. (on voir dire), 144:1838-145:4.
  60
     HMIT Ex. 4. The court has placed in a table and numbered each line for ease of reference. The table does not
  include the separate apparent partial date from the top left corner that Dondero testified was the date that he made the
  initial call to Patel: May 28, 2021.

                                                            21
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 572 of 678           PageID 578



          On direct examination, Dondero testified that line 1 is what he wrote contemporaneously

  with the short call he initiated to Patel of Farallon in which Patel allegedly told Dondero “that he

  bought it because Seery told him to buy it and they had made money with Seery before”61 and that

  Farallon “bought [the claim] because he was very optimistic regarding MGM”62 before referring

  him to Linn, a portfolio manager at Farallon. Dondero testified that the rest of the handwritten

  notes (reflected in lines 2 through 10 of the table) were notes he took contemporaneously with two

  telephone conversations he had with Linn following his call to Patel, with lines 2-8 referring to

  Dondero’s first call with Linn and lines 9 and 10 referring to his second call with Linn.63 Dondero

  testified that the “50-70¢” in line 2 referred to his offer to Linn to pay 70 cents on the dollar to buy

  Farallon’s64 claims because “[w]e knew that they had – that the claims had traded around 50 cents”

  and “[w]e wanted to prevent the $5 million-a-month burn” (referring to attorney‘s fees in the

  Highland case) and that “not compelling Class 8” in lines 2-3 referred to Linn’s response to him

  that the offer was not compelling.65 Dondero testified that lines 4-5 referred to him asking Linn

  what amount would be compelling and to Linn’s response that “he had no offer.”66 Dondero

  testified that lines 6-8 referred to Linn telling Dondero that Farallon bought the claims in the

  February, March timeframe and that Dondero told Linn that, given that the estate was spending $5

  million a month on legal fees, Farallon should want to sell its claims and Linn’s alleged response

  that “Seery told him it was worth a lot more.”67 Lastly, Dondero testified on direct examination




  61
     June 8 Hearing Transcript, 134:7-10, 135:13-22.
  62
     Id., 139:3-11.
  63
     Id., 136:4-138:16.
  64
     As noted above, Farallon did not acquire any of the Purchased Claims; rather, Farallon created a special purpose
  entity, Muck, to acquire the claims.
  65
     June 8 Hearing Transcript, 136:4-16.
  66
     Id., 136:17-23.
  67
     Id., 137:6-138:7.

                                                          22
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 573 of 678           PageID 579



  that the last two lines referred to a second telephone conversation he had with Linn in which

  Dondero offered 130 percent of cost for the claims and that Linn told him that the offer was not

  compelling, and he would not give a price at which he would sell.68

          On cross-examination, Dondero acknowledged that, though he had testified that the

  handwritten notes were intended to be a written record of the important points from the telephone

  conversations he had with Patel and Linn, there was no mention in the notes of: (1) MGM: (2) or

  that Farallon was very optimistic about MGM; (3) the sharing of MNPI; (4) a quid pro quo; or

  (5) Seery’s compensation, and that his last note—“Told Discovery coming”—was a reference to

  Dondero telling Linn (not Linn telling Dondero) that discovery was coming in response to

  Dondero’s own supposition that Farallon must have traded on MNPI.69 Cross-examination also

  revealed that Farallon never told Dondero that Seery gave them MNPI, and that Dondero only

  believed Seery must have given Farallon MNPI, because Farallon (Patel and Linn) had told him

  that the only reason Farallon bought their claims was because of their prior dealings with Seery,

  which Dondero took to mean that they had conducted no due diligence on their own prior to

  acquiring the claims. Dondero also testified that he did not have any personal knowledge as to

  how Seery’s compensation package, as CEO of the Reorganized Debtor and Claimant Trustee,

  was determined because he was “not involved” in the setting of Seery’s compensation pursuant to

  the Claimant Trust70 and that he never discussed Seery’s compensation with Farallon.71

          As noted earlier, Dondero attempted to obtain discovery from the Claims Purchasers in a

  Texas state court pursuant to Rule 202 of the Texas Rules of Civil Procedure. The Texas state



  68
     Id., 138:8-22.
  69
     Id., 190:14-191:25. Dondero testified that he told Linn that discovery “would be coming in the next few weeks” and
  noted that “this has been a couple years. . . . [w]e’ve been trying for two years to get . . . discovery in this.”
  70
     Id., 200:13-201:1.
  71
     Id., 208:23-209:8.

                                                           23
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 574 of 678           PageID 580



  court denied the First Rule 202 petition on June 1, 2022, after having considered the amended

  petition, the responses, the record, applicable authorities and having conducted a hearing on the

  petition on June 1, 2022.72

          3. Dondero Unsuccessfully Seeks Discovery and to Have Various Agencies and Courts
             Outside of the Bankruptcy Court Acknowledge His Insider Trading Theories

          Dondero acknowledged at the June 8 Hearing that the verified petition (“First Rule 202

  Petition”) he signed and filed on July 22, 2021, in the first Texas Rule 202 proceeding—just weeks

  after his telephone calls with Linn and Patel—was true and accurate. In it, he swore under oath as

  to what Linn told him in the telephone call concerning Farallon’s purchase of the claims, and the

  only reason he gave for wanting discovery was that Linn told him Farallon bought the claims “sight

  unseen—relying entirely on Seery’s advice solely because of their prior dealings.”73 Dondero

  acknowledged, as well, that his sworn statement that he filed in support of an amended verified

  Rule 202 petition filed in the same Texas Rule 202 proceeding, but nearly ten months later (in May

  2022), described the same telephone conversation he had with Linn, and it did not mention MGM

  at all and did not say that Linn told him that Seery gave him MNPI; rather, the sworn statement

  stated only that “On a telephone call between Petitioner and Michael Lin[n], a representative of

  Farallon, Mr. Lin[n] informed Petitioner that Farallon had purchased the claims sight unseen and

  with no due diligence—100% relying on Seery’s say-so because they had made so much money

  in the past when Seery told them to purchase claims” and that Linn did not tell him that Seery gave

  them MNPI, but he concluded that Seery gave Farallon MNPI based on what Linn did tell him.74



  72
     Highland Ex. 7.
  73
     Id., 193:8-194:16; Highland Ex. 3, Verified Petition to Take Deposition before Suit and Seek Documents, ¶ 21. The
  first Texas Rule 202 proceeding in which Dondero sought discovery regarding the Farallon acquisition of its claims
  was brought by Dondero, individually, in the 95th Judicial District, Dallas County, Texas.
  74
     Id., 195:11-197:17; Highland Ex. 4, Amended Verified Petition to Take Deposition before Suit and Seek Documents,
  ¶ 23.

                                                          24
Case 3:23-cv-02071-E         Document 1-1         Filed 09/15/23        Page 575 of 678        PageID 581



  Nine days later, Dondero filed a declaration in the same proceeding, in which he described the

  same call with Linn as follows:75

           Last year, I called Farallon’s Michael Lin[n] about purchasing their claims in the
           bankruptcy. I offered them 30% more than what they paid. I was told by Michael
           Lin[n] of Farallon that they purchased the interests without doing any due diligence
           other than what Mr. James Seery—the CEO of Highland—told them, and that he
           told them that the interests would be worth far more than what Farallon paid. Given
           the value of those claims that Seery had testified in court, it made no sense to me
           that Mr. Lin[n] would think that the claims were worth more than what Seery
           testified under oath was the value of the bankruptcy claims.

  Dondero further stated in his declaration that “I have an interest in ensuring that the claims

  purchased by [Farallon] are not used as a means to deprive the equity holders of their share of the

  funds,” and that “[i]t has become obvious that despite the fact that the bankruptcy estate has enough

  money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to drain the

  bankrupt estate and deprive equity of their rights. Accordingly, “I commissioned an investigation

  by counsel who have been in communication with the Office of the United States Trustee.”76

  Dondero attached as Exhibit A to his declaration a letter from Douglas Draper (“Draper”), an

  attorney with the law firm of Heller, Draper & Horn, L.L.C. in New Orleans, to the office of the

  General Counsel, Executive Office for U.S. Trustees, dated October 5, 2021, in which Draper

  opens the letter by stating that “[t]he purpose of this letter is to request that your office investigate

  the circumstances surrounding the sale of claims by members of the [Creditors’ Committee] in the

  bankruptcy of [Highland],” and later noted that he “became involved in Highland’s bankruptcy

  through my representation of [Dugaboy], an irrevocable trust of which Dondero is the primary

  beneficiary.”77 Mr. Draper laid out the same allegations of insider claims trading, breach of




  75
     Highland Ex. 5, ¶ 2.
  76
     Id., ¶¶ 3-4.
  77
     Id., Ex. A, 1-2.

                                                     25
Case 3:23-cv-02071-E         Document 1-1        Filed 09/15/23       Page 576 of 678       PageID 582



  fiduciary duties, and conspiracy that HMIT seeks to bring in the Proposed Complaint.78 The U.S.

  Trustee’s office took no action. Dondero made a second and third attempt to get the U.S. Trustee’s

  office to conduct an investigation into the same allegations laid out in Draper’s letter, this time in

  “follow-up” letters to the Office of the U.S. Trustee on November 3, 2021, and six months later,

  on May 11, 2022, through another lawyer, Davor Rukavina (“Rukavina”), in which Rukavina

  wrote “to provide additional information regarding the systemic abuses of bankruptcy process

  occasioned during the [Highland] bankruptcy.”79 Again, the U.S. Trustee’s office took no action.

           On February 15, 2023, Dondero filed yet another sworn statement about his alleged

  conversation with Linn, this time in support of a Verified Rule 202 Petition filed by HMIT

  (“Second Rule 202 Petition”), filed in a different Texas state court (Texas District Court, 191st

  Judicial District, Dallas County, Texas), following Dondero’s unsuccessful attempts throughout

  2021 and 2022 to obtain discovery in the First Rule 202 proceeding and based on the same

  allegations of misconduct by Seery and Farallon.80         In this new sworn statement, Dondero

  describes for the first time the “call” he had with Linn as having been “phone calls” with Patel and

  Linn and mentions MGM and Farallon’s alleged optimism about the expected sale of MGM:81

           In late Spring of 2021, I had phone calls with two principals at Farallon Capital
           Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
           calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
           purchase the Acis and HarbourVest claims, which I understood to refer to claims
           that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
           Mr. Linn stated that Farallon agreed to purchase these claims based solely on
           conversations with Seery because they had made significant profits when Seery told
           them to purchase other claims in the past. They also stated that they were
           particularly optimistic because of the expected sale of MGM.




  78
     Id., Ex. A, 6-11.
  79
     HMIT Ex. 61.
  80
     Highland Ex. 9.
  81
     Id., ¶ 4.

                                                   26
Case 3:23-cv-02071-E            Document 1-1      Filed 09/15/23        Page 577 of 678        PageID 583



  The Second Rule 202 Petition was also denied by the second Texas state court on March 8, 2023.82

          HMIT, in an apparent attempt to provide support for its argument that the Proposed Claims

  are “colorable,” stated in its Motion for Leave that “[t]he Court also should be aware that the Texas

  States [sic] Securities Board (“TSSB”) opened an investigation into the subject matter of the

  insider trades at issue, and this investigation has not been closed. The continuing nature of this

  investigation underscores HMIT’s position that the claims described in the attached Adversary

  Proceeding are plausible and certainly far more than merely ‘colorable.’”83 But, two days before

  opposition briefing was due, on May 9, 2023, the TSSB issued a letter (“TSSB Letter”) to

  Highland, informing it that “[t]he staff of the [TSSB] has completed its review of the complaint

  received by the Staff against [Highland]. The issues raised in the complaint and information

  provided to our Agency were given full consideration, and a decision was made that no further

  regulatory action is warranted at this time.”84 HMIT’s counsel (frankly, to the astonishment of the

  court) objected to the admission of the TSSB Letter at the June 8 Hearing “on the grounds of

  relevance, 403, hearsay, and authenticity . . . [a]nd I also . . . think it's important that the decision

  by a regulatory body has no bearing on this cause of action or the colorability of this claim, and

  the Texas State Securities Board will tell you that. This is completely and utterly irrelevant to your

  inquiry.”85 The court overruled HMIT’s objection to the relevance of this exhibit—considering,

  among other things, that HMIT, in its Motion for Leave, specifically mentioned the allegedly open

  TSSB “investigation” as relevant evidence the court “should be aware” of in making its

  determination of whether the Proposed Claims were “colorable.”86


  82
     Highland Ex. 10.
  83
     Motion for Leave, ¶ 37.
  84
     See Highland Ex. 33.
  85
      June 8 Hearing Transcript, 323:22-324:3.
  86
     Id., 324:4-328:2.

                                                     27
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23          Page 578 of 678          PageID 584



       C. Claims Purchasers Purchase Claims and File Notices of Transfers of Claims

          To be clear about the time line here, it was after confirmation of the Plan but prior to the

  Effective Date of the Plan, that the Claims Purchasers: (1) purchased several large unsecured

  claims that had been allowed following, and as part of, Rule 9019 settlements, each of which were

  approved by the bankruptcy court, after notice and hearing, prior to the confirmation hearing; and

  (2) filed notices of the transfers of those claims pursuant to Rule 3001(e)(2) of the Federal Rules

  of Bankruptcy Procedure. The noticing of the claims transfers began on April 16, 2021, with the

  notice of transfer of the claim held by Acis Capital Management to Muck, and ended on August

  9, 2021, with the notices of transfers of the claims held by UBS Securities to Muck and Jessup:

       Claimant(s)                Date Filed/     Asserted Amount                Claim                Date Filed/
                                  Claim No.                                Settled/Allowed?          Rule 3001
                                                                            If so, Amount            Notice Dkt.
                                                                                                         No.
 Acis Capital Management           12/31/2019     $23,000,000             Yes87                  4/16/2021
 LP and Acis Capital               Claim No.                                                     Bankr. Dkt. No.
 Management, GP LLC                   23                                  $23,000,000            2215
 (together, “Acis”)                                                                              (Muck)
 Redeemer Committee of              4/3/2020      $190,824,557            Yes88                  4/30/2021
 the Highland Crusader               Claim                                                       Bankr. Dkt. No.
 Fund (the “Redeemer                No. 72                                $137,696,610           2261
 Committee”)                                                                                     (Jessup)
 HarbourVest 2017 Global            4/8/2020      Unliquidated            Yes89                  4/30/2021
 Fund, LP, HarbourVest                                                                           Bankr. Dkt. No.
 2017 Global AIF, LP,             Claim Nos.                              $80,000,000 in         2263
 HarbourVest Partners LP,          143, 147,                              aggregate              (Muck)
 HarbourVest Dover Street          149, 150,                              ($45,000,000
 IX Investment LP, HV              153, 154                               General
 International VIII                                                       Unsecured
 Secondary LP,                                                            Claim, and
 HarbourVest Skew Base                                                    $35,000,000
 AIF LP (the “HarbourVest                                                subordinated claim)
 Parties”)



  87
     Bankr. Dkt. No. 1302. The Debtor’s settlement with Acis was approved over the objection of Dondero. Bankr. Dkt.
  No. 1121.
  88
     Bankr. Dkt. No. 1273.
  89
     Bankr. Dkt. No. 1788. The Debtor’s settlement with the HarbourVest Parties was approved over the objections of
  Dondero, Bankr. Dkt. No. 1697, and Dugaboy and the Get Good Trust. Bankr. Dkt. No. 1706.

                                                         28
Case 3:23-cv-02071-E            Document 1-1            Filed 09/15/23         Page 579 of 678           PageID 585



 UBS Securities LLC, UBS            6/26/2020      $1,039,957,799.40       Yes90                   8/9/2021
 AG, London Branch (the                                                                            Bankr. Dkt. No.
 “UBS Parties”)                    Claim Nos.                              $125,000,000 in         2698
                                    190, 191                               aggregate               (Muck) and
                                                                           ($65,000,000            Bankr. Dkt. No.
                                                                           General                 2697
                                                                                                   (Jessup)


              HMIT insists that it “made no sense” for the Claims Purchasers to buy the Purchased

  Claims because “the publicly available information [] did not offer a sufficient potential profit to

  justify the publicly disclosed risk,” and “their investment was projected to yield a small return with

  virtually no margin for error.”91 Dondero testified that it was his view that there was insufficient

  information in the public to justify the claims purchases.92 But, HMIT’s arguments here are

  contradicted by the information that was publicly available to Farallon and Stonehill at the time of

  their purchases and by HMIT’s own allegations. In advance of Plan confirmation, Highland

  projected that Class 8 general unsecured creditors would recover 71.32% on their allowed claims.

  In the Proposed Complaint, HMIT sets forth the amounts the Claims Purchasers purportedly paid

  for their claims.93 Taking into account the face amount of the allowed claims, the Claims

  Purchasers’ projected profits (in millions of dollars) were as follows:

                                                Ascribed                                  Purchase       Projected
        Creditor        Class 8     Class 9     Value94             Purchaser              Price          Profit

       Redeemer        $137.0       $0.0        $97.71         Stonehill                  $78.0          $19.71

       Acis             $23.0       $0.0        $16.4          Farallon                   $8.0           $8.40


  90
     Bankr. Dkt. No. 2389. The Debtor’s settlement with the UBS Parties was approved over the objections of Dondero,
  Dkt. No. 2295, and Dugaboy and the Get Good Trust. Bankr. Dkt. Nos. 2268, 2293.
  91
     Proposed Complaint, ¶ 3.
  92
     June 8 Hearing Transcript, 187:3-7 (“Q: And it’s your testimony that there wasn’t sufficient information in the
  public for them to buy – this is your view – that there wasn’t sufficient information in the public to justify their
  purchases. Is that your view? A: Correct.).
  93
     Id., ¶ 42.
  94
     “Ascribed Value” is derived by multiplying the Class 8 amount by the projected recovery of 71.32% for that class.

                                                          29
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23         Page 580 of 678          PageID 586



       HarbourVest     $45.0       $35.0       $32.09         Farallon                  $27.0         $5.09

       UBS             $65.0       $60.0       $46.39         Stonehill & Farallon      $50.0         ($3.61)

  As HMIT acknowledges, by the time Dondero spoke with Farallon in the “late spring” of 2021,

  the Claims Purchasers had acquired the allowed claims previously held by Acis, Redeemer, and

  HarbourVest.95 Based on an aggregate purchase price of $113 million for these three claims, the

  Claims Purchasers would have expected to net over $33 million in profits, or nearly 30% on their

  investment, had Highland met its projections. The Claims Purchasers would make even more

  money if Highland beat its projections, because they also purchased the Class 9 claims and would

  therefore capture any upside. In this context, HMIT’s and Dondero’s assertions that it did not

  “make any sense” for the Claims Purchasers to purchase their claims when they did does not pass

  muster—given the publicly available information about potential recoveries under the Plan.

  Dondero even acknowledged, on cross-examination, that he was prepared to pay 30 percent more

  than Farallon had paid, even though he did not think there was sufficient public information

  available to justify Farallon’s purchase of the claims.96 Dondero essentially testified that he

  wanted to purchase Farallon’s claims because he wanted to be in a position of control to force a

  settlement or resolution of the bankruptcy case, post-confirmation, under terms acceptable to him.

  He did not want to try to settle by negotiating with Farallon and Stonehill as creditors, but instead

  he wanted to purchase the claims because “if we owned all the claims, it would settle the case.”97




  95
     See Complaint, ¶ 41 n.12. The UBS claims were not acquired until August 2021, long after the alleged “quid pro
  quo” was supposedly agreed upon and the MGM-Amazon deal was announced in the press in late May 2021. See,
  Highland Ex. 34, Amazon’s $8.45 Billion Deal for MGM is Historic But Feels Mundane (dated May 26, 2021).
  96
     June 8 Hearing Transcript, 187:8-11.
  97
     Id., 187:12-189:10.

                                                         30
Case 3:23-cv-02071-E              Document 1-1      Filed 09/15/23      Page 581 of 678        PageID 587



         D. Fifth Circuit’s Approval of the Gatekeeper Provision in Plan, Recognition of Res Judicata
            Effect of the Prior Gatekeeper Orders, and the Bankruptcy Court’s Order Approving
            Highland’s Motion to Conform Plan

             Harkening back to February 22, 2021, after a robust confirmation hearing, this court

  entered its order confirming the Plan, over the objections of Dondero and Dondero-Related Parties,

  specifically questioning the good faith of their objections. The court found, after noting “the

  remoteness of their economic interests” that “[it] has good reason to believe that [the Dondero

  Parties] are not objecting to protect economic interests they have in the Debtor but to be disruptors.

  Dondero wants his company back. This is understandable, but it is not a good faith basis to lob

  objections to the Plan.”94 The Plan became effective on August 11, 2021.

             Of relevance to the Motion for Leave, the confirmed Plan included certain exculpations,

  releases, and injunctions designed to protect the Debtor and other bankruptcy participants from

  bad-faith litigation. These participants included: Highland’s employees (with certain exceptions);

  Seery as Highland’s CEO and CRO; Strand (after the appointment of the Independent Directors);

  the Independent Directors; the successor entities; the CTOB and its members; the Committee and

  its members; professionals retained in the case; and all “Related Persons.” The injunction

  provisions contained a Gatekeeper Provision which is similar to the gatekeeper provisions in the

  prior Gatekeeper Orders in that it provided that the bankruptcy court will act as a “gatekeeper” to

  screen and prevent bad-faith litigation against the Protected Parties. The Gatekeeper Provision in

  the Plan states, in pertinent part:98

             No Enjoined Party may commence or pursue a claim or cause of action of any kind
             against any Protected Party that arose or arises from or is related to the Chapter 11
             Case . . . without the Bankruptcy Court (i) first determining, after notice and a
             hearing, that such claim or cause of action represents a colorable claim of any kind,
             including, but not limited to, negligence, bad faith, criminal misconduct, willful
             misconduct, fraud, or gross negligence against a Protected Party and (ii) specifically


  98
       Plan, 50-51 (emphasis added).

                                                      31
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 582 of 678            PageID 588



           authorizing such Enjoined Party to bring such claim or cause of action against such
           Protected Party.

  The Plan defines Protected Parties as,

           collectively, (i) the Debtor and its successors and assigns, direct and indirect
           majority-owned subsidiaries, and the Managed Funds, (ii) the Employees, (iii)
           Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
           Committee, (vii) the members of the Committee (in their official capacities), (viii)
           the Claimant Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the
           Litigation Trustee, (xii) the members of the [CTOB] (in their official capacities),
           (xiii) [HCMLP GP LLC], (xiv) the Professionals retained by the Debtor and the
           Committee in the Chapter 11 Case, (xv) the CEO/CRO; and (xvi) the Related
           Persons of each of the parties listed in (iv) through (xv); [but excluding Dondero
           and Okada and various entities including HMIT and Dugaboy].

  The court notes that the Gatekeeper Provision in the Plan provides protection to a broader number

  of persons than the persons protected under the January 2020 Order (addressing the Independent

  Directors and their agents and advisors) and the July 2020 Order (addressing Seery in his role as

  CEO and CRO of the Debtor). But, at the same time, it is less restrictive than the gatekeeping

  provisions under the Gatekeeper Orders, in that the gatekeeping provisions in the prior orders

  shield the protected parties from any claim that is not both “colorable” and a claim for “willful

  misconduct or gross negligence,” effectively providing the protected parties under the prior orders

  with a limited immunity from claims of simple negligence or breach of contract that do not rise to

  the level of “willful misconduct or gross negligence,” whereas the Gatekeeping Provision under

  the Plan does not act as a release or exculpation of the Protected Parties in any way because it does

  not prohibit any party from bringing any kind of claim against a Protected Party, provided the

  proposed claimant first obtains a finding in the bankruptcy court that its proposed claims are

  “colorable.”99




  99
    It should be noted that--as discussed further below--there are, separately in the Plan, exculpations as to a smaller
  universe of persons--e.g., the Debtor, the Committee and its members, and the Independent Directors.

                                                            32
Case 3:23-cv-02071-E              Document 1-1           Filed 09/15/23           Page 583 of 678            PageID 589



           Dondero and some of the entities under his control appealed100 the Confirmation Order

  directly to the Fifth Circuit, arguing, among other issues, that the Plan’s exculpation, release, and

  injunction provisions, including the Gatekeeper Provision (collectively, the “Protection

  Provisions”) impermissibly provide certain non-debtor bankruptcy participants with a discharge,

  purportedly in contravention of the provisions of Bankruptcy Code § 524(e)’s statutory bar on non-

  debtor discharges. As noted above, the Fifth Circuit, “affirm[ed] the confirmation order in large

  part” and “reverse[d] only insofar as the plan exculpates certain non-debtors in violation of 11

  U.S.C. § 524(e), strik[ing] those few parties from the plan’s exculpation, and affirm[ed] on all

  remaining grounds.”101 The Fifth Circuit specifically found the “injunction and gatekeeping

  provisions [to be] sound” and found that it was only “the exculpation of certain non-debtors” that

  “exceed[ed] the bankruptcy court’s authority,” agreeing with the bankruptcy court’s conclusions

  that the Protection Provisions were legal, necessary under the circumstances, and in the best

  interest of all parties” in part, and only disagreeing to the extent that the exculpation provision

  improperly extended to certain bankruptcy participants other than Highland, the Committee and

  its members, and the Independent Directors and “revers[ing] and strik[ing] the few unlawful parts


  100
      On appeal, the appellant funds (“Funds”), whom this court found to be “owned and/or controlled” by Dondero
  despite their purported independence, also asked the Fifth Circuit to vacate this court’s factual finding “because it
  threatens the Funds’ compliance with federal law and damages their reputations and values” and because “[a]ccording
  to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely independent from
  him.” NexPoint Advisors, L.P. v. Highland Capital Mgmt., L.P. (In re Highland Capital Mgmt., L.P.), 48 F.4th at 434.
  Applying the “clear error” standard of review, the Fifth Circuit “le[ft] the bankruptcy court’s factual finding
  undisturbed” because “nothing in this record leaves us with a firm and definite conviction that the bankruptcy court
  made a mistake in finding that the Funds are ‘owned and/or controlled by [Dondero].” Id. at 434-35.
  101
      See supra note 4. The Fifth Circuit replaced its initial opinion with its final opinion a few days after certain
  appellants had filed a short (four-and-one-half pages) motion for rehearing (the “Motion for Rehearing”) on September
  2, 2022. The movants had asked the Fifth Circuit to “narrowly amend the [initial] Opinion in order to confirm the
  Court’s holding that the impermissibly exculpated parties are similarly struck from the protections of the injunction
  and gatekeeper provisions of the plan (in other words, that such parties cannot constitute ‘Protected Parties’).” In the
  final Fifth Circuit opinion, same as the initial Fifth Circuit opinion, the Fifth Circuit stated that, with regard to the
  Confirmation Order, the panel would “reverse only insofar as the plan exculpates certain non-debtors in violation of
  11 U.S.C. § 524(e), strike those few parties from the plan’s exculpation, and affirm on all remaining grounds.”
  Highland Capital, 48 F.4th at 424. No findings, discussion, or rulings regarding the injunction and gatekeeper
  provisions that were in the initial Fifth Circuit opinion were disturbed.

                                                             33
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 584 of 678            PageID 590



  of the Plan’s exculpation provision.”102 The Fifth Circuit then remanded to the Bankruptcy Court

  “for further proceedings in accordance with the opinion.”103

           In the course of analyzing the Protection Provisions under the Plan, the Fifth Circuit noted

  that the protection provisions in the January and July 2020 Orders appointing the Independent

  Directors and Seery as CEO and CRO of Highland were res judicata and that “those orders have

  the effect of exculpating the Independent Directors and Seery in his executive capacities” such that

  “[d]espite removal from the exculpation provision in the confirmation order, the Independent

  Directors’ agents, advisors, and employees, as well as Seery in his official capacities are all

  exculpated to the extent provided in the January and July 2020 Orders.”104

           The Reorganized Debtor filed a motion in the bankruptcy court to conform the plan to the

  Fifth Circuit’s mandate, proposing that only one change was needed to make the Plan compliant

  with the Fifth Circuit’s ruling: narrow the defined term for “Exculpated Parties” to read as follows:

           “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the Independent
           Directors, (iii) the Committee, and (iv) members of the Committee (in their official
           capacities).

  The Reorganized Debtor proposed that this one simple revision of this defined term removed the

  exculpations deemed by the Fifth Circuit to violate section 524(e) of the Bankruptcy Code, and

  that no other changes would be required to conform the Plan and Confirmation Order to the Fifth

  Circuit’s mandate. Some of the Dondero-related entities objected to the motion to conform,

  arguing that the Fifth Circuit’s ruling required more surgery on the Plan than simply narrowing

  the defined term “Exculpated Parties.” On February 27, 2023, this court entered its order granting


  102
      Id. at 435.
  103
      Id. at 440. The Fifth Circuit’s docket reflects that it issued its Judgment and mandate on September 12, 2022.
  104
      Highland Capital, 48 F.4th at 438 n.15. The Fifth Circuit stated, “To the extent Appellants seek to roll back the
  protections in the bankruptcy court’s January 2020 and July 2020 orders (which is not clear from their briefing), such
  a collateral attack is precluded.” Id.

                                                           34
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 585 of 678           PageID 591



  Highland’s motion to conform the Plan, ordering that one change be made to the Plan – revising

  the definition of “Exculpated Parties” – and no more.105 The objecting parties’ direct appeal of

  this order has been certified to the Fifth Circuit and is one of the numerous currently active appeals

  by Dondero-related parties pending in the Fifth Circuit.

        E. HMIT’s Motion for Leave

           HMIT filed its emergency Motion for Leave on March 28, 2023, which, with attachments,

  as first filed, was 387 pages in length, including an initial proposed complaint (“Initial Proposed

  Complaint”) and two sworn declarations of Dondero that were attached as “objective evidence” in

  “support[ ]” of the Motion for Leave,106 and with it, an application for an emergency setting on the

  hearing on the Motion to Leave. On April 23, 2023, HMIT filed a pleading entitled a “supplement”

  to its Motion to Leave (“Supplement”),107 to which it attached a revised proposed verified

  complaint (“Proposed Complaint”)108 as Exhibit 1-A to the Motion for Leave and stated that “[t]he

  Supplement is not intended to amend or supersede the [Motion for Leave]; rather, it is intended as

  a supplement to address procedural matters and to bring forth additional facts that further confirm

  the appropriateness of the derivative action.”109          The HMIT Motion for Leave was later amended

  to eliminate the Dondero Declarations and references to the same (but not the underlying

  allegations that were supposedly supported by the Dondero Declarations).110




  105
      Bankr. Dkt. No. 3672.
  106
      Bankr. Dkt. No. 3699.
  107
      Bankr. Dkt. No. 3760.
  108
      See supra note 5.
  109
      Supplement ¶ 1.
  110
      Bankr. Dkt. Nos. 3815 and 3816. Both of these filings had the Initial Proposed Complaint attached as Exhibit 1 to
  the Motion for Leave.

                                                           35
Case 3:23-cv-02071-E       Document 1-1       Filed 09/15/23      Page 586 of 678      PageID 592



         As earlier noted, HMIT desires leave to sue the Proposed Defendants regarding the post-

  confirmation, pre-Effective Date purchase of allowed unsecured claims.           The Proposed

  Defendants would be:

                 Seery, who was a stranger to Highland until approximately four months
         following the Petition Date when he was brought in as one of the three Independent
         Directors, and now serves as the CEO of the Reorganized Debtor and the Trustee
         of the Claimant Trust (and also was previously Highland’s CRO during the case,
         then CEO, and, also, an Independent Board Member of Highland’s general partner
         during the Highland case). Seery is best understood as the man who took Dondero’s
         place running Highland—per the request of the Committee.
                 Claims Purchasers, who were strangers to Highland until the end of the
         bankruptcy case. They are identified as Farallon Capital Management, LLC
         (“Farallon”); Muck Holdings, LLC (“Muck”), which was a special purpose entity
         created by Farallon to purchase unsecured claims against Highland; Stonehill
         Capital Management, LLC (“Stonehill”); and Jessup Holdings, LLC (“Jessup”),
         which was a special purpose entity created by Stonehill to purchase unsecured
         claims against Highland (collectively, the “Claims Purchasers”). The Claims
         Purchasers purchased $240 million face value of already-allowed unsecured claims
         post-confirmation and pre-Effective Date in the spring of 2021 and another $125
         million face value of already-allowed unsecured claims in August 2021.
         Bankruptcy Rule 3001(e) notices—giving notice of same—were filed on the
         bankruptcy clerk’s docket regarding these purchases. The claims had previously
         been held by the creditors known as the Crusader Redeemer Committee, Acis
         Capital, HarbourVest, and UBS (three of these four creditors formerly served on
         the Committee during the Highland bankruptcy case).
                John Doe Defendants Nos. 1-10, which are described to be “currently
         unknown individuals or business entities who may be identified in discovery as
         involved in the wrongful transactions at issue.”
                Highland, as a nominal defendant. HMIT added Highland as a nominal
         defendant in the Revised Proposed Complaint attached to the Supplement.
               Claimant Trust, as a nominal defendant. HMIT added the Claimant Trust
         as a nominal defendant in the Revised Proposed Complaint attached to the
         Supplement.
  The proposed plaintiffs would be:
                 HMIT, which, again, was the largest equity holder in Highland and held a
         99.5% limited partnership interest (specifically, Class B/C limited partnership
         interests). HMIT is the holder of a Class 10 interest under the Plan, pursuant to
         which HMIT’s limited partnership interest in Highland was extinguished as of the
         Effective Date in exchange for a pro rata share of a contingent interest in the
         Claimant Trust.

                                                36
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 587 of 678         PageID 593



                   Highland, as a nominal party. HMIT wishes to bring its complaint on behalf
          of itself and derivatively on behalf of the Reorganized Debtor.
                  Claimant Trust, as a nominal party. HMIT wishes to bring its complaint on
          behalf of itself and derivatively on behalf of the Claimant Trust.

          In the Proposed Complaint, HMIT asserts the following six counts: Count I (against Seery)

  for breach of fiduciary duties; Count II (against the Claims Purchasers and John Doe Defendants)

  for knowing participation in breach of fiduciary duties; Count III (against all Proposed Defendants)

  for conspiracy; Count IV (against Muck and Jessup) for equitable disallowance of their claims;

  Count V (against all Proposed Defendants) for unjust enrichment and constructive trust; and Count

  VI (against all Proposed Defendants) for declaratory relief.111 The gist of the Proposed Complaint

  is as follows. HMIT asserts that something seems amiss regarding the post-confirmation/pre-

  Effective Date purchase of claims by the Claims Purchasers. Actually, more bluntly, HMIT asserts

  that “wrongful conduct occurred” and “improper trades” were made.112 HMIT believes the Claims

  Purchasers paid around $160 million for the $365 million face amount of claims they purchased.

  HMIT believes that this amount was too high for any rational claim purchaser (particularly hedge

  funds who expect high returns) to have paid for the claims—based on Highland’s Disclosure

  Statement and Plan projections regarding the projected distributions under the Plan to holders of

  allowed unsecured claims. And, of course, Dondero purports to have concluded from the three

  phone conversations he had with representatives of one of the Claims Purchasers that they did no

  due diligence before purchasing the claims. Therefore, HMIT surmises, Seery must have given

  these Claims Purchasers MNPI regarding Highland that convinced them that it was to their

  economic advantage to purchase the claims. In particular, HMIT surmises Seery must have shared

  111
      In the Initial Proposed Complaint, HMIT proposed to bring claims against the various Proposed Defendants in
  seven counts, including a count for fraud by misrepresentation and material nondisclosure against all Proposed
  Defendants. In the Proposed Complaint, HMIT abandons its claim for fraud by misrepresentation and material
  nondisclosure.
  112
      Motion for Leave, 7.

                                                        37
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23         Page 588 of 678          PageID 594



  MNPI regarding the likely imminent sale of MGM, in which Highland had, directly and indirectly,

  substantial holdings. As noted earlier, MGM was ultimately purchased by Amazon after a sale

  process that had been quite publicly discussed in media reports for several months and that was

  officially announced to the public in late May 2021 (just a few weeks after the Claims Purchasers

  purchased some of their claims, but a few months before certain of their claims—the UBS

  claims—were purchased).113 In summary, while the Proposed Complaint is lengthy and at times

  hard to follow, it boils down to allegations that: (a) Seery filed (or caused to be filed) deflated,

  pessimistic, misleading projections regarding the value of the Debtor’s estate in connection with

  the Plan, (b) then induced very sophisticated unsecured creditors to discount and sell their claims

  to the likewise very sophisticated Claims Purchasers, (c) which Claims Purchasers are allegedly

  friendly with Seery, and are now happily approving Seery’s allegedly excessive compensation

  demands post-Effective Date (resulting in less money in the pot to pay off the creditor body in full,

  and, thus, a diminished likelihood that HMIT will realize any recovery on its contingent Class 10

  interest). HMIT argues that Seery should be required to disgorge his compensation. It appears

  that HMIT also seeks other damages in the form of equitable disallowance of the Claims

  Purchasers’ claims and disgorgement of distributions on account of those claims, the imposition

  of a constructive trust over all disgorged funds, and declaratory relief.

          HMIT claims that, in seeking to file the Proposed Complaint, it is seeking to protect the

  rights and interests of the Reorganized Debtor, the Claimant Trust, and “innocent stakeholders”

  who were allegedly injured by Seery’s and the Claims Purchasers’ alleged conspiratorial and



  113
     The MGM-Amazon deal was ultimately consummated in March 2022 for approximately $6.1 billion, net of cash
  acquired, plus approximately $2.5 billion in debt that Amazon assumed and immediately repaid. Credible testimony
  from Seery at the June 8 Hearing revealed that Highland and entities it controlled tendered their MGM holdings in
  connection with the Amazon transaction (they did not sell their holdings while the MGM-Amazon deal was under
  discussion and/or not made public).

                                                         38
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 589 of 678           PageID 595



  fraudulent scheme to line Seery’s pockets with excessive compensation for his role as Claimant

  Trustee. In its Motion for Leave, HMIT states that “[t]he attached Adversary Proceeding alleges

  claims which are substantially more than ‘colorable’ based upon plausible allegations that the

  Proposed Defendants, acting in concert, perpetrated a fraud, including a fraud upon innocent

  stakeholders, as well as breaches of fiduciary duties and knowing participation in (or aiding or

  abetting) breaches of fiduciary duty.”114

        F. Is HMIT Really Dondero by Another Name?

           The Proposed Defendants argue that HMIT’s Motion for Leave is nothing more than a

  continuation of the harassing and bad-faith litigation by Dondero and his related entities that the

  Gatekeeper Provisions were intended to prevent and, thus, this is one of multiple reasons that the

  Motion for Leave should be denied.

           To be clear, HMIT asserts that it is controlled by Mark Patrick (“Patrick”), who has been

  HMIT’s administrator since August 2022. Patrick asserts that he is not influenced or controlled

  by Dondero, in general, and specifically not in its efforts to pursue the Proposed Claims against

  Seery and the Claims Purchasers. However, the testimony elicited at the June 8 Hearing—the

  hearing at which HMIT had the burden of showing the court that its Proposed Claims were

  “colorable” such that it should be allowed to pursue them through the filing of the Proposed

  Complaint—paints a different picture. Somewhat tellingly, HMIT chose not to call Patrick—

  allegedly HMIT’s only representative and control person—as a witness in support of its Motion

  for Leave. Rather, Dondero was HMIT’s first witness called in support of its motion, and the first



  114
     See Motion for Leave (Bankr. Dkt. No. 3816) ¶ 3. HMIT notes, in a footnote 6, that “Neither this Motion nor the
  proposed Adversary Complaint seeks to challenge the Court’s Orders or the Plan. In addition, neither this Motion nor
  the proposed Adversary Complaint seeks to redistribute the assets of the Claimant Trust in a manner that would
  adversely impact innocent creditors. Rather, the proposed Adversary Proceeding seeks to benefit all innocent
  stakeholders while working within the terms and provisions of the Plan, as well as the Claimant Trust Agreement.”

                                                          39
Case 3:23-cv-02071-E           Document 1-1         Filed 09/15/23         Page 590 of 678          PageID 596



  questions on direct from HMIT’s counsel were aimed at establishing that Dondero was not behind

  the filing of the Motion for Leave and the pursuit of the Proposed Claims.115 Dondero testified

  that he did not (i) “have any current official position” with HMIT, (ii) “attempt to exercise [control]

  on the business affairs of [HMIT],” (iii) “have any official legal relationship with [HMIT] where

  [he] can attempt to exercise either direct or indirect control over [HMIT],” or (iv) “participate in

  the decision of whether or not to file the proceedings that are currently pending before Judge

  Jernigan.”116 After HMIT rested, Highland and the Claimant Trust called Patrick as a witness, and

  he testified that he was the administrator of HMIT, that HMIT does not have any employees,

  operations, or revenues, and, when asked if HMIT owned any assets, Patrick testified, with not a

  great deal of certainty, that “it’s my understanding it has a contingent beneficiary interest in the

  Claimants [sic] Trust” and that is the only asset HMIT has.117 Patrick testified that HMIT did not

  owe any money to Dondero personally, but acknowledged that in 2015, HMIT had issued a secured

  promissory note in favor of Dondero’s family trust, Dugaboy, in the amount of approximately

  $62.6 million (the “Dugaboy Note”) in exchange for Dugaboy transferring a portion of its limited

  partner interests in Highland to HMIT; the Dugaboy Note was secured in part by the Highland

  limited partnership interests purchased from Dugaboy.118 Patrick admitted that, if HMIT’s Class

  10 interest has no value, HMIT would have no ability to pay the Dugaboy Note.119 He further

  testified that neither he nor any representative of HMIT had ever spoken with any representative

  of Farallon or Stonehill, that he had no personal knowledge about any quid pro quo, the amount

  of due diligence Farallon or Stonehill conducted prior to buying their claims, or the terms of

  115
      See June 8 Hearing Transcript, 113:10-25.
  116
      Id.
  117
      June 8 Hearing Transcript, 307:7-308:2.
  118
      Id., 303:11-305:1; Highland Ex. 51, HMIT’s $62,657,647.27 Secured Promissory Note dated December 24, 2015,
  in favor of Dugaboy.
  119
      Id., 308:3-16.

                                                       40
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 591 of 678           PageID 597



  Seery’s compensation package (until the terms were disclosed to them in opposition to the Motion

  for Leave).120 Patrick admitted that Dugaboy was paying HMIT’s attorneys’ fees pursuant to a

  settlement agreement between HMIT and Dugaboy.121

          On cross-examination by HMIT’s counsel, Patrick further testified that HMIT has not filed

  any litigation, as plaintiff, other than its efforts to be a plaintiff in the Motion for Leave and its

  action as a petitioner in the Texas Rule 202 proceeding filed earlier in 2023 in the Texas state

  court.122 HMIT’s counsel argued that the point of this questioning was that “they’re just trying to

  draw Dondero into this and – this vexatious litigant argument, and we’re just developing the fact

  that obviously Hunter Mountain has only filed – attempting to file this action and a Rule 202

  proceeding.123 But, Dondero and HMIT’s counsel referred during the June 8 Hearing to the First

  Rule 202 Petition (where Dondero was the petitioner) and the Second Rule 202 Petition (where

  HMIT was the petitioner) as “our” Rule 202 petitions, and also to the numerous attempts at getting

  the discovery (that Dondero had warned Linn was coming) in the collective. For example, in

  objecting to the admission of Highland’s Exhibit 10 – the Texas state court order denying and

  dismissing the Second Rule 202 Petition – on the basis of relevance, HMIT’s counsel referred to

  the order as “an order denying our second” Rule 202 Petition.124 And, Dondero testified that his

  warning to Linn in May 2021 that “discovery was coming” was “my response to I knew they had

  traded on material nonpublic information” and that “I thought it would be a lot easier to get


  120
       Id., 308:18-312:12. This testimony from Patrick came after HMIT’s counsel objection to counsel’s line of
  questioning regarding Patrick’s personal knowledge of the facts supporting the allegations in the Proposed Complaint
  on the basis that he was invading the attorney work product privilege, which was overruled by this court; HMIT’s
  counsel argued (311:4-19) that the line of questioning was an “invasion of attorney work product . . . [b]ecause they
  might – he would have knowledge from the efforts and investigation through attorneys in the case.”
  121
      Id., 312:24-313:18.
  122
      Id., 315:3-9.
  123
      Id., 316:6-11.
  124
      Id., 58:11-13. The court overruled HMIT’s relevance objection and admitted Highland’s Exhibit 10 into evidence.
  Id., 58:14-15.

                                                           41
Case 3:23-cv-02071-E               Document 1-1   Filed 09/15/23      Page 592 of 678        PageID 598



  discovery on a situation like this than it has been for the last two years” and that “we’ve been trying

  for two years to get . . . discovery.“125

             Dondero’s use of an entity over which he exerts influence and control to pursue his own

  agenda in the bankruptcy case is not new. Rather, this has been part of Dondero’s modus operandi

  since the “nasty breakup” between Dondero and Highland that culminated with Dondero’s ouster

  in October 2020, whereby Dondero, after not getting his way in the bankruptcy court, continued

  to lob objections and create obstacles to Highland’s implementation of the Plan through entities

  he owns or controls. As noted above, the Fifth Circuit specifically upheld this court’s finding in

  the Confirmation Order that Dondero owned or controlled the various entities that had objected to

  confirmation of the Plan and appealed the Confirmation Order, where the Dondero-related

  appellants made similar protestations that they are not owned or controlled by Dondero and asked

  the Fifth Circuit to vacate this court’s factual finding because, among other reasons, “[a]ccording

  to the Funds, the characterization is unfair, as they are not litigious like Dondero and are completely

  independent from him.”126 Based on the totality of the evidence in this proceeding, the court finds

  that, contrary to the protestations of HMIT’s counsel and Patrick otherwise, Dondero is the driving

  force behind HMIT’s Motion for Leave and the Proposed Complaint. The Motion for Leave is

  just one more attempt by Dondero to press his conspiracy theory that he has pressed for over two

  years now, unsuccessfully, in Texas state court through Rule 202 proceedings, with the Texas State

  Securities Board, and with the United States Trustee’s office.




  125
        Id., 191:5-25.
  126
         Highland Capital, 48 F.4th at 434-435.

                                                    42
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23         Page 593 of 678          PageID 599



      G. Opposition to Motion for Leave: Arguing No Standing and No “Colorable” Claims

          Highland, the Claimant Trust, and Seery (together, the “Highland Parties”) filed a joint

  opposition (“Joint Opposition”) to HMIT’s Motion for Leave on May 11, 2023.127 The Claims

  Purchasers filed a separate objection (“Claims Purchasers’ Objection”) to the Motion for Leave on

  May 11, 2023, as well.128 In the Joint Opposition, the Highland Parties urge the court to deny

  HMIT leave to pursue the Proposed Claims because, as a threshold matter, HMIT does not have

  standing to bring them, directly or derivatively against the Proposed Defendants. They argue, in

  the alternative, that the Motion for Leave should be denied even if HMIT had standing to pursue

  the Proposed Claims because none of the Proposed Claims are “colorable” claims as that term is

  used in the Gatekeeper Provision of the Plan (and Gatekeeper Orders).129

          The Claims Purchasers likewise argue that HMIT lacks standing to complain about claims

  trading in the bankruptcy which occurred between sophisticated Claims Purchasers and

  sophisticated sellers (“Claims Sellers”), represented by skilled bankruptcy and transactional

  counsel. Moreover, they argue HMIT cannot show that it or the Reorganized Debtor or the

  Claimant Trust were injured by the claims trading at issue because the Purchased Claims had

  already been adjudicated as allowed claims in the bankruptcy case—thus, distributions under the

  Plan on account of the Purchased Claims remain the same, the only difference being who holds

  the claims. Moreover, even if HMIT could succeed in equitably subordinating the validly

  transferred allowed claims, HMIT would still be in the same position it is today: the holder of a


  127
      Bankr. Dkt. Nos. 3783. Highland, the Claimant Trust, and Seery also filed on May 11 a Declaration of John A.
  Morris in Support of Highland Capital Management, L.P., Highland Claimant Trust, and James P. Seery, Jr.’s Joint
  Opposition to Hunter Mountain Investment Trust’s Motion for Leave to File Verified Adversary Proceeding (“Morris
  Declaration”) that attached 44 Exhibits in support of the Joint Opposition. Bankr. Dkt. No. 3784.
  128
      Bankr. Dkt. No. 3780.
  129
      See Joint Opposition ¶ 139 (“Because HMIT lacks standing, this Court need not reach the merits of HMIT’s
  proposed Adversary Complaint. As a matter of judicial economy, however, the Highland Parties respectfully request
  that this Court address the lack of merit as an alternative basis to deny the Motion.”).

                                                         43
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 594 of 678           PageID 600



  contingent, speculative Class 10 interest that would only be paid after payment, in full, with

  interest, of all creditors under the Plan. The Claims Purchasers argue in the alternative that the

  Proposed Claims are not “colorable.”

           Finally, the Proposed Defendants argue that the standard of review for assessing whether

  the Proposed Claims are “colorable” (as such term is used in the Gatekeeper Provision and

  Gatekeeping Orders) is a standard that is a higher than the “plausibility” standard applied to Rule

  12(b)(6). They argue that HMIT should be required to meet a higher bar with respect to

  colorability that includes making a prima facie showing that the Proposed Claims have merit

  (and/or are not without foundation) which requires HMIT to do more than meet the liberal notice-

  pleading standards.

        H. HMIT’s Reply to the Proposed Defendants’ Opposition to the Motion for Leave

           In its reply brief (“Reply”), filed by HMIT on May 18, 2023,130 it argues that it has

   constitutional standing as an “aggrieved party” to bring the Proposed Claims on behalf of itself.131

   HMIT also argues that it has standing under Delaware Trust law to bring a derivative action on

   behalf of the Claimant Trust and that it not only has standing to bring the Proposed Claims

   derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best party to bring

   the claims.132 Finally, HMIT maintains that the standard of review that the bankruptcy court

   should apply in assessing the “colorability” of the Proposed Claims is no greater than the standard

   of review applied to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6), which

   would require the bankruptcy court to look only to the “four corners” of the Proposed Complaint


  130
      Bankr. Dkt. No. 3785.
  131
      See Reply ¶ 7.
  132
      See, Reply ¶ 23 n.5, where HMIT argues “The nature of this injury, in addition to Seery’s influence over the
  Claimant Trust, and the lack of prior action by the Claimant Trust to pursue the claims HMIT seeks to pursue
  derivatively, among other things, demonstrate that HMIT is not only a proper party to assert its derivative claims –
  but the best party to do so.”

                                                          44
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 595 of 678           PageID 601



   and “not weigh extraneous evidence,”133 take all allegations as true, and view all allegations and

   inferences in a light most favorable to HMIT. As discussed in greater length below, HMIT argues

   that, under this standard, the bankruptcy court should not consider evidence in making its

   determination as to whether the Proposed Complaint presents “colorable” claims.

        I. Litigation within the Litigation: The Pre- June 8 Hearing Skirmishes

           Suffice it to say there was significant activity before the Motion for Leave actually was

  presented at the June 8 hearing. HMIT sought an emergency hearing on its Motion for Leave

  (wanting a hearing on three days’ notice). When the bankruptcy court denied an emergency

  hearing, HMIT unsuccessfully pursued an interlocutory appeal of the denial of an emergency

  hearing to the district court. HMIT then petitioned for a writ of mandamus at the Fifth Circuit

  regarding the emergency hearing denial, which was denied by the Fifth Circuit on April 12, 2023.

           Next, there were multiple pleadings and hearings regarding what kind of hearing the

  bankruptcy court should or should not hold on the Motion for Leave—particularly focusing on

  whether or not it would be an evidentiary hearing.134 The resolution of this issue turned on what

  standard of review the court should apply in exercising its gatekeeping function and determining

  the colorability of the Proposed Claims. HMIT (although it had submitted two declarations of

  Dondero with its original Motion for Leave and approximately 350 pages of total evidentiary

  support) was adamant that there should be no evidence presented at the hearing on the Motion for

  Leave, arguing that the standard for review should be the plausibility standard under Rule 12(b)(6)


  133
     See Reply ¶ 47.
  134
      Highland, joined by Seery and the Claims Purchasers, had filed a motion asking the bankruptcy court to set a
  briefing schedule on the Motion for Leave and to schedule a status conference, indicating that Highland’s proposed
  timetable for same was opposed by HMIT. HMIT subsequently filed a response unopposed to a briefing schedule and
  status conference, but, before the status conference, HMIT filed a brief, stating it was opposed to there being any
  evidence at the ultimate hearing on the HMIT Motion for Leave—arguing the bankruptcy court did not need evidence
  to exercise its gatekeeping function and determine if HMIT has a “colorable” claim. Rather, the court need only
  engage in a Rule 12(b)(6)-type plausibility analysis.

                                                          45
Case 3:23-cv-02071-E               Document 1-1            Filed 09/15/23            Page 596 of 678             PageID 602



  motions to dismiss such that “the threshold inquiry is very, very low. Evidence is not allowed. . . .

  [S]imilar to a 12(b)(6) inquiry, [the court] is limited to the four corners of the principal pleading –

  in this case, the complaint, or now the revised complaint.”135 Counsel for the Proposed Defendants

  argued that the standard of review for colorability here, in the specific context of the court

  exercising its gatekeeping function under the Plan, is more akin to the standards applied under the

  Supreme Court’s Barton Doctrine136 pursuant to which that the bankruptcy court must apply a

  higher standard than the 12(b)(6) standard, including the consideration of evidence at the hearing

  on the motion for leave; if the standard of review presents no greater hurdle to the movant than the

  12(b)(6) standard applied to every plaintiff in every case, then the gatekeeping provisions mean

  nothing and do nothing to protect the parties from the harassing, bad-faith litigation they were put

  in place to prevent.137 On May 22, 2023, after receipt of post-hearing briefing on the issue, the

  court entered an order stating that “the court has determined that there may be mixed questions of

  fact and law implicated by the Motion for Leave” and “[t]herefore, the parties will be permitted to

  present evidence (including witness testimony) at the June 8, 2023 hearing [on the Motion to

  Leave] if they so choose.”

           Two days later, HMIT filed an emergency motion for expedited discovery or alternatively

  for continuance of the June 8, 2023 hearing, seeking expedited depositions of corporate



  135
      Transcript of April 24, 2023 Status Conference, Bankr. Dkt. No. 3765 (“April 24 Transcript”), 14:6-11.
  136
      The Barton Doctrine was established in the 19th century Supreme Court case of Barton v. Barbour, 104 U.S. 126
  (1881), and states that a party wishing to sue a court-appointed trustee or receiver must first obtain leave of the
  appointing court by making a prima facie case that the claim it wishes to bring is not without foundation.
  137
      See April 24 Transcript, 36:24-37:4 (“[W]e’re exactly today where the Court had predicted in entering [the
  Confirmation Order], that the costs and distraction of this litigation are substantial. And if all we’re doing is replicating
  a 12(b)(6) hearing on a motion for leave, we’re actually not doing anything to reduce, as the Court made clear, the
  burdens, distractions, of litigation.”); 37:5-13 (“The Fifth Circuit likewise cited Barton in its order affirming the
  confirmation order. Specifically, it also explained that the provisions, these gatekeeper provisions requiring advance
  approval were meant to ‘screen and prevent bad-faith litigation.’ Well that – if that means only what the Plaintiff[ ]
  say[s] it does, then it really doesn’t do anything at all to screen. There’s no gatekeeping because their version of what
  that means is always policed under 12(b)(6) standards.”).

                                                               46
Case 3:23-cv-02071-E        Document 1-1       Filed 09/15/23       Page 597 of 678       PageID 603



  representatives of the Claims Purchasers and of Seery and production of documents pursuant to

  deposition notices and subpoenas duces tecum that HMIT had attached to the motion. On May

  26, 2023, this court held yet another status conference. Following the status conference, the court

  granted in part and denied in part HMIT’s request for expedited discovery by ordering only Seery

  and Dondero to be made available for depositions prior to the June 8 Hearing. The court reached

  what seemed like appropriate middle ground by allowing the deposition of Seery and allowing the

  other parties to depose Dondero (for whom sworn declarations had been submitted), but the court

  was not going to allow any more discovery (i.e., of the Claims Purchasers) at so late an hour. The

  court was aware that HMIT and Dondero had been seeking discovery relating to the very claims

  trades that are the subject of the Revised Proposed Complaint from the Claims Purchasers in Texas

  state court “Rule 202” proceedings for approximately two years, where their attempts were

  rebuffed.

         Approximately 60 hours before the June 8 Hearing, HMIT filed its Witness and Exhibit

  List disclosing for the first time two potential expert witnesses (along with biographical

  information and a disclosure regarding the subject matter of their likely testimony). Highland, the

  Claimant Trust, and Seery filed a joint motion to exclude the expert testimony and documents

  (“Motion to Exclude”), which the court ultimately granted in a separate order.

         During the full-day June 8 Hearing on the Motion to Leave, the court admitted over 50

  HMIT exhibits and over 30 Highland/Claimant Trust exhibits. The court heard testimony from

  HMIT’s witnesses Dondero and Seery (as an adverse witness) and from the Highland Parties’

  witness Mark Patrick, the administrator of HMIT since August 2022 (as an adverse witness). The

  bankruptcy court allowed HMIT to make a running objection to all evidence—as it continued to

  argue that evidence was not appropriate.



                                                  47
Case 3:23-cv-02071-E          Document 1-1       Filed 09/15/23       Page 598 of 678       PageID 604




  III.      LEGAL ANALYSIS

            In determining whether HMIT should be granted leave, pursuant to the Gatekeeper

  Provision of the Plan and the court’s prior Gatekeeper Orders, to pursue the Proposed Claims, the

  court must address the issue of whether HMIT would have standing to bring the Proposed Claims

  in the first instance. If so, the next question is whether the Proposed Claims are “colorable.” But

  prior to getting into the weeds on standing and “colorability,” some general discussion regarding

  the topic of claims trading in the bankruptcy world seems appropriate, given that HMIT’s Proposed

  Claims are based, in large part, on allegations of improper claims trading.

         A. Claims Trading in the Context of Bankruptcy Cases—Can It Be Tortious or Otherwise
            Actionable?
            As noted, at the crux of HMIT’s desired lawsuit is what this court will refer to as “claims

  trading activity” that occurred shortly after the Plan was confirmed, but before the Plan went

  effective. HMIT believes that the claims trading activity gave rise to various torts: breach of

  fiduciary duty on the part of Seery; knowing participation in breach of fiduciary duty by the other

  Proposed Defendants; and conspiracy by all Defendants. HMIT also believes that the following

  remedies should be imposed: equitable disallowance of the Purchased Claims; disgorgement of

  the alleged profits the Claims Purchasers made on their purchases; and disgorgement of all Seery’s

  compensation received since the beginning of his “collusion” with the other Defendants. Without

  a doubt, the Motion for Leave and Proposed Complaint revolve almost entirely around the claims

  trading activity.

            This begs the question: When (or under what circumstances) might claims trading

  activity during a bankruptcy case give rise to a cause of action that either the bankruptcy estate

  or an economic stakeholder in the case might have standing to bring? Here, the claims trading


                                                    48
Case 3:23-cv-02071-E          Document 1-1         Filed 09/15/23        Page 599 of 678         PageID 605



  wasn’t even “during a bankruptcy case” really—it was post-confirmation and pre-effective date,

  and it happened to be: (a) after mediation of the claims, (b) after Rule 9019 settlement motions,

  (c) after objections by Dondero and certain of his family trusts were lodged, (d) after evidentiary

  hearings, and (e) after orders were ultimately entered allowing the claims (and in most cases, such

  orders were appealed). The further crux of HMIT’s desired lawsuit is that Seery allegedly

  “wrongfully facilitated and promoted the sale of large unsecured creditor claims to his close

  business allies and friends” by sharing material non-public information to them regarding the

  potential value of the claims (i.e., the potential value of the bankruptcy estate), and this is what

  made the claims trading activity particularly pernicious. The alleged sharing of MNPI allegedly

  caused the Claims Purchasers to purchase their claims without doing any due diligence and with

  knowledge that the claims would be worth much more than the Plan’s “pessimistic” projections

  might have suggested, and also allowed Seery to plant friendly allies into the creditor constituency

  (and on the post-confirmation CTOB) that would “rubber stamp” his generous compensation. This

  is all referred to as “not arm’s-length” and “collusive.” Notably, the MNPI mostly pertained to a

  likely future acquisition of MGM by Amazon (which transaction, indeed, occurred in 2022, after

  being publicly announced in Spring of 2021); as noted earlier, Highland owned, directly and

  indirectly, common stock in MGM. Also notably, there had been rumors and media attention

  regarding a potential sale of MGM for many months.138 In summary, to be clear, HMIT’s desired

  lawsuit is laced with a theme of “insider trading”—although this isn’t a situation of securities

  trading per se (i.e., the unsecured Purchased Claims were not securities), and, as noted earlier, the

  Texas State Securities Board has not seen fit to investigate the claims trading activity.

          So, preliminarily, is claims trading in bankruptcy sinister per se? The answer is no.


  138
    E.g., Benjamin Mullin, MGM Holdings, Studio Behind ‘James Bond,’ Explores a Sale, THE WALL STREET JOURNAL
  (Dec. 21, 2020, 6:38 p.m.).

                                                      49
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 600 of 678           PageID 606



          The activity of investing in distressed debt (which frequently occurs during a bankruptcy

  case—sometimes referred to as “claims trading”) is ubiquitous and, indeed, has been so for a very

  long time. As noted by one scholar:

          The creation of a market in bankruptcy claims is the single most important
          development in the bankruptcy world since the Bankruptcy Code’s enactment in
          1978. [Citations omitted.] Claims trading has revolutionized bankruptcy by making
          it a much more market-driven process. [Citations omitted.] . . . The development
          of a robust market for all types of claims against debtors has changed the cast of
          characters involved in bankruptcies. In addition to long-standing relational
          creditors, like trade creditors or a single senior secured bank or bank group,
          bankruptcy cases now involve professional distressed debt investors, whose
          interests and behavior are often quite different than traditional relational
          counterparty creditors.
  Adam J. Levitin, Bankruptcy Markets: Making Sense of Claims Trading, 4 BROOK. J. CORP. FIN.

  & COM. L. 64, 65 (2010) (hereinafter “Bankruptcy Markets”).139

          As a pure policy matter, some practitioners have bemoaned this claims trading

  phenomenon, suggesting that “distressed debt traders may sacrifice the long-term viability of a

  debtor for the ability to realize substantial and quick returns on their investments.”140 Others

  suggest that claims trading in bankruptcy is beneficial, in that it allows creditors of a debtor an

  early exit from a potentially long bankruptcy case, enabling them to save expense and

  administrative hassles, realize immediate liquidity on their claims (albeit discounted), and may




  139
      See also Aaron Hammer & Michael Brandess, Claims Trading: The Wild West of Chapter 11s, AM. BANKR. INST.
  JOURNAL 62 (Jul./Aug. 2010); Chaim Fortgang & Thomas Mayer, Trading Claims and Taking Control of
  Corporations in Chapter 11, 12 CARDOZO L. REV. 1, 25 (1990) (noting that “the first recorded instance of American
  fiduciaries trading claims against insolvent debtors predates all federal bankruptcy laws and goes back to 1790” when
  the original 13 colonies were insolvent, owing tremendous amounts of debt to various parties in connection with the
  Revolutionary War; early American investors purchased these debts for approximately 25% of their par value, hoping
  the claims would be paid at face value by the American government).
  140
      Harvey R. Miller, Chapter 11 Reorganization Cases and the Delaware Myth, 55 VAND. L. REV. 1987, 2016 (2002).
  See also Harvey R. Miller & Shai Y. Waisman, Does Chapter 11 Reorganization Remain a Viable Option for
  Distressed Businesses for the Twenty-First Century?, 78 AM. BANKR. L.J. 153 (2004); Harvey R. Miller & Shai Y.
  Waisman, Is Chapter 11 Bankrupt?, 47 B.C. L. REV. 129 (2005).

                                                           50
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 601 of 678           PageID 607



  even permit them to take advantage of a tax loss on their own desired timetable.141 On the flipside,

  “[c]aims trading permits an entrance to the bankruptcy process for those investors who want to

  take the time and effort to monitor the debtor and contribute expertise to the reorganization

  process.”142

          So, what are the “rules of the road” here? What does the Bankruptcy Code dictate

  regarding claims trading? The answer is nothing. The Bankruptcy Code itself has no provisions

  whatsoever regarding claims trading. The only thing resembling any regulation of claims trading

  during a bankruptcy case is found at Federal Rule of Bankruptcy Procedure 3001(e)—the current

  version of which went into effect in 1991—and it imposes extremely light regulation—if it could

  even be called that. This rule requires, in pertinent part (at subsection (2)), that “[i]f a claim other

  than one based on a publicly traded note, bond, or debenture” is traded during the case after a proof

  of claim is filed, notice/evidence of that trade must be filed with the bankruptcy clerk by the

  transferee. The transferor shall then be notified and given 21 days to object. If there is an

  objection, the bankruptcy court will hold a hearing regarding whether a transfer, in fact, took place.

  If there is no objection, nothing further needs to happen, and the transferee will be considered

  substituted for the transferor.

          There are several things noteworthy about Rule 3001(e)(2). First, the only party given the

  opportunity to object is the transferor of the claim (presumably, in the situation of a dispute

  regarding whether there was truly an agreement regarding the transfer of the claim). Second, there

  is no need for a bankruptcy court order approving the transfer (except in the event of an objection


  141
      See Bankruptcy Markets, at 70. See also In re Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (“Claims trading allows
  creditors to opt out of the bankruptcy system, trading an uncertain future payment for an immediate one, so long as
  they can find a purchaser.”).
  142
       Bankruptcy Markets at 70 (citing, among other authorities, Edith S. Hotchkiss & Robert M. Mooradian, Vulture
  Investors and the Market for Control of Distressed Firms, 43 J. FIN. ECON. 401, 401 (1997) (finding that “vulture
  investors add value by disciplining managers of distressed firms”).

                                                           51
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 602 of 678            PageID 608



  by the alleged transferor). Third, the economic consideration paid need not be disclosed to the

  court or anyone. Fourth, there is no requirement or definition of timeliness. Finally, it explicitly

  does not apply with regard to publicly traded debt. This, alone, means that many claims trades are

  not even reported in a bankruptcy case. But it is not just publicly traded debt that will not be

  reflected with a Rule 3001(e) filing. For example, bank debt, in modern times, is often syndicated

  (i.e., fragmented into many beneficial holders of portions of the debt) and only the administrative

  agent for the syndicate (or the “lead bank”) will file a proof of claim in the bankruptcy—thus, as

  the syndicated interests (participations) change hands, and they frequently do, there typically will

  not be a Rule 3001(e) notice filed.143 To be clear here, this syndication-of-bank-debt fact, along

  with the fact that there are financial products whereby bank debt might be carved up into economic

  interests separate and apart from legal title to the loan, means there are many situations in which

  trading of claims during a bankruptcy case is not necessarily transparent or, for that matter, policed

  by the bankruptcy court. This is the world of modern bankruptcy. Most of the claims trading that

  gets reported through a Rule 3001(e) notice is the trading of small vendor claims. And this is all

  regarded as private sale transactions for the most part.144

           Suffice it to say that there is not a wealth of case law dealing with claims trading in a

  bankruptcy context. Perhaps this is not surprising, since it is not prohibited and is mostly a matter

  of private contract between buyer and seller. The case law that does exist seems to arise in

  situations of perceived bad faith of a purchaser—for example, when there was an attempt to control

  voting and/or ultimate control of the debtor through the plan process (not always problematic, but


  143
      Anne Marrs Huber & Thomas H. Young, The Trading of Bank Debt in and Out of Chapter 11, 15 J. BANKR. L.
  & PRAC. 1, 1, 3 (2006).
  144
      Note that Bankruptcy Rule 3001(e) was very different before 1991. Between 1983-1991, the rule required that
  parties transferring claims inform the court that a transfer of claims was taking place and also disclose the
  consideration paid for the transferred claims. A hearing would take place prior to the execution of a trade. Judicial
  involvement was required and resulted in judicial scrutiny of transactions—something that simply does not exist today.

                                                           52
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 603 of 678           PageID 609



  there are outlier cases where this was found to cross a line and result in consequences such as

  disallowing votes on a plan or even equitable subordination of a claim).145 Another type of case

  that has generated case law is where the purchaser of claims occupied a fiduciary status with the

  debtor.146 Still another type of case that has generated case law is where there is an attempt to

  cleanse claims that might have risks because of a seller’s malfeasance, by trading the claim to a

  new claim holder.147

           The following is a potpourri of the more notable cases that have addressed claims trading

  in different contexts. Most of them imposed no adverse consequences on claims traders: In re

  Kreisler, 546 F.3d 863, 864 (7th Cir. 2008) (where a corporation named Garlin, that was owned

  by the individual chapter 7 debtors’ sister and close friend, purchased a $900,000 bank claim for

  $16,500, and there was no disclosure of Garlin’s connections to debtors and no Rule 3001(e)(2)

  notice was filed, the Seventh Circuit reversed the bankruptcy court’s invocation of the doctrine of

  equitable subordination to the claim, stating: “Equitable subordination is generally appropriate

  only if a creditor is guilty of misconduct that causes injury to the interests of other creditors;” the

  Seventh Circuit further stated that it could “put to one side whether the court’s finding of

  inequitable conduct was correct” because even if there was misconduct, it did not harm the other

  creditors, who were in the same position whether the original creditor or Garlin happened to own

  the claim; the Seventh Circuit did note that Garlin’s decision to purchase the original bank

  145
      In re Applegate Prop. Ltd., 133 B.R. 827, 836 (Bankr. W.D. Tex. 1991) (designating votes of an affiliate of the
  debtor that purchased a blocking position to thwart a creditor’s plan because it was done in bad faith); In re Allegheny
  Int’l, Inc., 118 B.R. 282, 289–90 (Bankr. W.D. Pa. 1990) (because of bad faith activities, the court designated votes
  of a claims purchaser who purchased to get a blocking position on a plan). But see In re First Humanics Corp., 124
  B.R. 87, 92 (Bankr. W.D. Mo. 1991) (claims purchased by debtor’s former management company to gain standing to
  file a plan to protect interest of the debtor was in good faith).
  146
      See In re Exec. Office Ctrs., Inc., 96 B.R. 642, 649-650 (Bankr. E.D. La. 1988) (and numerous old cites therein).
  147
      Enron Corp. v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180 (Bankr. S.D.N.Y. 2006),
  vacated, Enron Corp. v. Springfield Assocs., L.L.C. (In re Enron Corp.), 379 B.R. 425 (S.D.N.Y 2007); Enron Corp.
  v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 211 (Bankr. S.D.N.Y. 2005).



                                                            53
Case 3:23-cv-02071-E        Document 1-1        Filed 09/15/23       Page 604 of 678       PageID 610



  creditor’s claim might have disadvantaged the other creditors if it interfered with the trustee’s own

  potential settlement with the original bank creditor (note that the trustee argued that she had been

  negotiating a deal with bank under which bank might have reduced its claims); however, the trustee

  presented no evidence that any deal with the bank was imminent or even likely; thus, whether such

  a deal could have been reached was speculation; equitable subordination was therefore

  improper.”); Viking Assocs., L.L.C. v. Drewes (In re Olson), 120 F.3d 98, 102 (8th Cir. 1997) (case

  involved the actions of an entity known as Viking in purchasing all of the unsecured claims against

  the bankruptcy estate of two chapter 7 debtors, Hugo and Jeraldine Olson; Viking was a related

  entity, owned by the debtors’ children, and purchased $525,000 of unsecured claims for $67,000;

  while the bankruptcy court had discounted the claims down to the purchase amount and

  subordinated Viking's discounted claims to the claims of the other unsecured creditors, relying on

  section 105 of the Bankruptcy Code, the Eighth Circuit held that the bankruptcy court lacked the

  authority to do this, and, thus, reversed and remanded; the Eighth Circuit noted that in 1991,

  Bankruptcy Rule 3001(e)(2) was amended “to restrict the bankruptcy court's power to inspect the

  terms of” claims transfers. Id. at 101 (citing In re SPM Mfg. Corp., 984 F.2d 1305, 1314 n. 9 (1st

  Cir. 1993)); the text of the rule makes clear that the existence of a “dispute” depends upon an

  objection by the transferor; where there is no objection by the transferor, there is no longer any

  role for the court); Citicorp. Venture Capital, Ltd. v. Official Committee of Unsecured Creditors

  (In re Papercraft Corp.), 160 F.3d 982 (3d Cir. 1998) (large investor who held seat on board of

  directors of debtor and debtor’s parent, and who also had nonpublic information regarding the

  debtor’s value, anonymously purchased 40% of the unsecured claims at a steep discount during

  the chapter 11 case, and then, having obtained a blocking position for plan voting purposes,

  proposed a plan to acquire debtor; the claims purchaser’s claims were equitably reduced to amount



                                                   54
Case 3:23-cv-02071-E        Document 1-1        Filed 09/15/23       Page 605 of 678       PageID 611



  paid for the claims since investor was a fiduciary who was deemed to have engaged in inequitable

  conduct); Figter Ltd. v. Teachers Ins. & Annuity Ass’n of Am. (In re Figter), 118 F.3d 635 (9th

  Cir. 1997) (Ninth Circuit affirmed bankruptcy court’s ruling that a secured creditor’s purchase of

  21 out of 34 unsecured claims in the case was in good faith and it would not be prohibited from

  voting such claims on the debtor’s plan, pursuant to Bankruptcy Code section 1126(e)); In re

  Lorraine Castle Apartments Bldg. Corp., 145 F.2d 55, 57 & 58 (7th Cir. 1945) (in a case under the

  old Bankruptcy Act, in which there were more restrictions on claims trading, a debtor and two of

  its stockholders argued that the claims of purchasers of bonds should be limited to the amounts

  they paid for them; bankruptcy court special master found, “that, though he did not approve

  generally the ethics reflected by speculation in such bonds,” there was no cause for limitation of

  the amounts of their claims, pointing out that the persons who had dealt in the bonds were not

  officials, directors, or stockholders of the corporation and owed no fiduciary duty to the estate or

  its beneficiaries—rather they were investors or speculators who thought the bonds were selling too

  cheaply and that they might make a legitimate profit upon them; the district court agreed, as did

  the Seventh Circuit, noting that “[t]o reduce the participation to the amount paid for securities, in

  the absence of exceptional circumstances which are not present here, would reduce the value of

  such bonds to those who have them and want to sell them. This would result in unearned,

  undeserved profit for the debtor, destroy or impair the sales value of securities by abolishing the

  profit motive, which inspires purchasers.”); In re Washington Mutual, Inc., 461 B.R. 200 (Bankr.

  Del. 2011), vacated in part, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (discussion of an

  equity committee’s potential standing to pursue equitable subordination or equitable disallowance

  of the claims of certain noteholders who had allegedly traded their claims during the chapter 11




                                                   55
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23            Page 606 of 678            PageID 612



  case while having material non-public information; while bankruptcy court originally indicating

  these were viable tools, court later vacated its ruling on this after a settlement was reached).

           Suffice it to say that the courts have, more often than not, been unwilling to impose legal

  consequences, for an actor’s involvement with claims trading. At most, in outlier-type situations

  during a case, courts have taken steps to disallow claims for voting purposes or to subordinate

  claims to other unsecured creditors for distribution purposes.148 But the case at bar does not present

  facts that are typical of any of the situations in reported cases.

           For one thing, unlike in the reported cases this court has located, there seems to have been

  complete symmetry of sophistication among the claim sellers and claim purchasers here—and

  complete symmetry with HMIT for that matter. All persons involved are highly sophisticated

  financial institutions, hedge funds, or private equity funds. No one was a “mom-and-pop” type

  business or vendor that might be vulnerable to chicanery. The claims ranged from being worth

  $10’s of millions of dollars to $100’s of millions of dollars in face value. And, of course, the

  sellers/transferors of the claims have never shown up, subsequent to the claims trading


  148
      Note that, while some cases suggest that outright disallowance of an unsecured claim, in the case of “inequitable
  conduct” might be permitted (not merely equitable subordination to unsecured creditors)—usually citing to Pepper v.
  Litton, 308 U.S. 295 (1939)—the Fifth Circuit has suggested otherwise. In re Mobile Steel Co., Inc., 563 F.2d 692,
  699-700 (5th Cir. 1977) (cleaned up) (noting that “equitable considerations can justify only the subordination of
  claims, not their disallowance” and also noting that “three conditions must be satisfied before exercise of the power
  of equitable subordination is appropriate[:] (i) The claimant must have engaged in some type of inequitable conduct[;]
  (ii) The misconduct must have resulted in injury to the creditors of the bankrupt or conferred an unfair advantage on
  the claimant[; and] (iii) Equitable subordination of the claim must not be inconsistent with the provisions of the
  Bankruptcy Act.” In Mobile Steel, the Fifth Circuit held that the bankruptcy judge exceeded the bounds of his equitable
  jurisdiction by disallowing a group of claims and also reversed the subordination of certain claims, on the grounds
  that the bankruptcy court had made clearly erroneous findings regarding alleged inequitable conduct and other
  necessary facts. Contrast In re Lothian Oil Inc., 650 F.3d 539 (5th Cir. 2011) (involving the question of whether a
  bankruptcy court may recharacterize a claim as equity rather than debt; the court held yes, but it has nothing to do
  with inequitable conduct per se; rather section 502(b)’s language that a claim should be allowed unless it is
  “unenforceable against the debtor and property of the debtor, under any agreement or applicable law....” is the relevant
  authority; unlike equitable subordination, recharacterization is about looking at the true substance of a transaction not
  the conduct of a party (if it looks like a duck and quacks like a duck, it’s a duck—i.e., equity); the court indicated that
  section 105 is not a basis to recharacterize debt as equity; it’s a matter of looking at state law to determine if there is
  any basis and looking at the nature of the underlying transaction—as either a lending arrangement or equity infusion.



                                                              56
Case 3:23-cv-02071-E                 Document 1-1            Filed 09/15/23            Page 607 of 678            PageID 613



  transactions, to complain about anything. Everyone involved here is, essentially, a behemoth and

  there is literally no sign of innocent creditors getting harmed. Second, the case at bar is unique in

  that the claims traded here had all been allowed after objections, mediation, and Rule 9019

  settlements during the bankruptcy case. Thus, the amounts that would be paid on them were

  “locked in,” so to speak. There was no risk to a hypothetical claims-purchaser of disallowance,

  offset, or any “claw-back” litigation (or—one might have reasonably assumed—any type of

  litigation). Third, the terms for distributions on unsecured claims had been established in a

  confirmed plan (although the claims were purchased before the effective date of the Plan). Thus,

  there was a degree of certainty regarding return on investment for the Claims Purchasers here that

  was much higher than if the claims had been purchased early, during, or mid-way through the

  case.149 This was post-confirmation, pre-effective date claims purchasing. Interestingly, all three

  of these facts might suggest that little due diligence would be undertaken by any hypothetical

  purchaser. The rules of the road had been set. The court makes this observation because HMIT

  has suggested there is something highly suspicious about the fact that Farallon allegedly told

  Dondero that it did no due diligence before purchasing its claims (leading him to conclude that the

  Claims Purchasers must have purchased their claims based on receiving MNPI from Seery). Not

  only has there been no colorable evidence suggesting that insider information was shared, but the

  lack of due diligence in this context does not reasonably seem suspicious. The claims purchases


  149
        See discussion in BANKRUPTCY MARKETS, at 91:
              Some claims purchasers buy before the bankruptcy petition is filed, some at the beginning of the
              case, and some towards the end. For example, there are investors who look to purchase at low prices
              either when a business is failing or early in the bankruptcy and ride through the case until payouts
              are fairly certain. [Citations omitted.] These investors might be hoping to buy at 30 cents on the
              dollar and get a payout at 70 cents on the dollar. Perhaps if they waited another six months, the
              payout would be 74 cents on the dollar, but the additional 4 cents on the dollar for six months might
              not be a worthwhile return for the time value of the investment. Other investors might not want to
              assume the risk that exists in the early days of a case when the fate of the debtor is much less certain,
              but they would gladly purchase at 70 cents on the dollar at the end of the case to get a payout of 74
              cents on the dollar six months later.

                                                                 57
Case 3:23-cv-02071-E           Document 1-1        Filed 09/15/23       Page 608 of 678        PageID 614



  were almost like passive investments, at this point—there was no risk of a claim objection and

  there was a confirmed plan, with a lengthy disclosure statement that described not only plan

  payment terms and projections, but essentially anything that any investor might want to know.

            To reiterate, here, HMIT seeks leave to assert the following causes of action:

     I.         Breach of Fiduciary Duties (Seery)

     II.        Knowing Participation in Breach of Fiduciary Duties (Claims Purchasers)

     III.       Conspiracy (all Proposed Defendants)

     IV.        Equitable Disallowance (Claims Purchasers)

     V.         Unjust Enrichment and Constructive Trust (all Proposed Defendants)

     VI.        Declaratory Judgment (all Proposed Defendants)

            The court struggles to fathom how any of these proposed causes of action or remedies

  can be applied in the context of: (a) post-confirmation claims trading; (b) where the claims

  have all been litigated and allowed.

            In reflecting on the case law and various Bankruptcy Code provisions, the court can fathom

  the following hypotheticals in which claims trading during a bankruptcy case might be somehow

  actionable:

            Hypothetical #1: The most obvious situation would be if a purchaser of a claim
            files a Rule 3001(e) Notice, and the seller/transferor then files an objection thereto.
            There would then be a contested hearing between purchaser and seller regarding
            the validity of the transfer with the bankruptcy court issuing an appropriate order
            after the hearing on the objection. As noted, there was no objection to the Rule
            3001(e) notices here.
            Hypothetical #2: Alternatively, there could be a breach of contract suit between
            purchaser and seller if one thinks the other breached the purchase-sale agreement
            somehow. Perhaps torts might also be alleged in such litigation. As noted, there is
            no dispute between purchasers and sellers here.
            Hypothetical #3: If there is believed to be fraud in connection with a plan, a party
            in interest might, pursuant to section 1144 of the Bankruptcy Code, move for

                                                      58
Case 3:23-cv-02071-E      Document 1-1        Filed 09/15/23       Page 609 of 678       PageID 615



        revocation of the plan “at any time before 180 days after the date of entry of the
        order for confirmation” and the court “may revoke such order if and only if such
        order was procured by fraud.” As noted, here HMIT has suggested that the
        “pessimistic” plan projections may have been fraudulent or misrepresentations
        somehow. The time elapsed long ago to seek revocation of the Plan.
        Hypothetical #4: As discussed above, in rare situations (bad faith), during a
        Chapter 11 case, before a plan is confirmed, a claims purchaser’s claim might not
        be allowed for voting purposes. See Sections 1126(e) of the Bankruptcy Code (“the
        court may designate any entity whose acceptance or rejection of such plan was not
        in good faith”). Obviously, in this case, this is not applicable—the claims were
        purchased post-confirmation.
        Hypothetical #5: As discussed above, in rare situations (inequitable conduct), a
        court might equitably subordinate claims to other claims. See Section 510(c) of
        the Bankruptcy Code. But here, HMIT is seeking either: (a) equitable subordination
        of the claims of the Claims Purchaser to HMIT’s Class 10 former equity interest
        (in contravention of the explicit terms of section 510(c)) or, (b) equitable
        disallowance of the claims of the Claims Purchasers (in contravention of Mobile
        Steel).
        Hypothetical #6: Bankruptcy Code section 502(b)(1) and the Fifth Circuit’s
        Lothian Oil case may permit “recharacterization” of a claim from debt to equity in
        certain circumstances, but not in circumstances like the ones in this case. Here, the
        claims have already been adjudicated and allowed (some after mediation, and all
        after Rule 9019 settlement orders). The only way to reconsider a claim in a
        bankruptcy case that has already been allowed is through Bankruptcy Code section
        502(j) (“A claim that has been allowed or disallowed may be reconsidered for
        cause. . . according to the equities of the case.”). The problem here is that
        Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order
        allowing or disallowing a claim against the estate entered without a contest is not
        subject to the one year limitation prescribed in Rule 60(c)” (emphasis added). Here
        there was most definitely “a contest” with regard to all of these purchased claims.
        Thus, it would appear that any effort to have a court reconsider these claims
        pursuant to section 502(j) is untimely—as it has been well beyond a year since
        they were allowed.
        Hypothetical #7: If a party believes “insider trading” occurred there are
        governmental agencies that investigate and police that. Here, the purchased claims
        (which were not based on bonds or certificated equity interests) would not be
        securities so as to fall under the SEC’s purview. Moreover, there was evidence
        that HMIT or Dondero-Related entities requested that the Texas State Securities
        Board investigate the claims trading and the board did not find a basis to pursue
        anyone for wrongdoing.
        Hypothetical #8: The United States Trustee can investigate wrongdoing by a
        debtor or unsecured creditors committee. While the United States Trustee would
        naturally have concerns about members of an unsecured creditors committee (or an
        officer of a debtor-in-possession) adhering to fiduciary duties and not putting their

                                                 59
Case 3:23-cv-02071-E              Document 1-1     Filed 09/15/23       Page 610 of 678       PageID 616



             own interests above those of the estate, here, there are a couple of points that seem
             noteworthy. One, the claims trading activity was post-confirmation so—while
             certain of the claim-sellers may have still been on the unsecured creditors
             committee, as the effective date of the plan had not yet occurred—the
             circumstances are very different than if this had all happened during the early,
             contentious stages of the case. It seems inconceivable that there was somehow a
             disparity of information that might be troubling—the Plan had been confirmed and
             it was available for the world to see. The whole notion of “insider information”
             (just after confirmation here) feels a bit off-point. Bankruptcy practitioners and
             judges sometimes call bankruptcy a fishbowl or use the “open kimono” metaphor
             for good reason. It is generally a very open process. And information-sharing on
             the part of a debtor-in-possession or unsecured creditors committee is intended to
             be robust. See, e.g., Bankruptcy Code sections 521 and 1102(b)(3). In a way,
             HMIT here seems to be complaining about this very situation that the Code and
             Rules have designed.

             In summary, claims trading is a highly unregulated activity in the bankruptcy world.

  HMIT is attempting to pursue causes of action here that, to this court’s knowledge, have never

  been allowed in a context like this.

         B. Back to Standing—Would HMIT Have Standing to Bring the Proposed Claims?

             The Proposed Defendants argue that HMIT lacks standing to bring the Proposed Claims,

  either: (a) derivatively on behalf of the Reorganized Debtor and Claimant Trust, or (b) directly on

  behalf of itself. Thus, they argue that this is one reason that the Motion for Leave should be denied.

             In making their specific standing arguments, the parties analyze things slightly differently:

          The Claims Purchasers focus primarily on HMIT’s lack of constitutional standing but also
  argue that HMIT does not have prudential standing under Delaware trust law to bring the Proposed
  Claims either individually or derivatively. Why do they mention Delaware trust law? Because the
  Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust Act, 12
  Del. C. §§ 3801–29.150

        The Highland Parties’ standing arguments focus almost entirely on HMIT’s lack of
  prudential standing under Delaware trust law to bring the Proposed Claims.

         HMIT argues that the Proposed Defendants “play fast and loose with standing arguments”
  and that HMIT has constitutional standing as a “party aggrieved”151 to bring the Proposed Claims
  on behalf of itself. HMIT also argues that it has standing under Delaware trust law to bring a
  150
        See Proposed Complaint, ¶ 26.
  151
        Proposed Complaint, ¶7.

                                                      60
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23          Page 611 of 678           PageID 617



  derivative action on behalf of the Claimant Trust, and that it not only has standing to bring the
  Proposed Claims derivatively on behalf of the Reorganized Debtor under the Plan, but it is the best
  party to do so.

        1. The Different Types of Standing: Constitutional Versus Prudential

           The parties are addressing two concepts of standing that can sometimes be confused and

  misapplied by both attorneys and judges: constitutional Article III standing, which implicates

  federal court subject matter jurisdiction,152 and the narrower standing concept of prudential

  standing, which does not implicate subject matter jurisdiction but nevertheless might prevent a

  party from having capacity to sue, pursuant to limitations set by courts, statutes or other law.

           Article III constitutional standing works as follows: a plaintiff, as the party invoking

  federal jurisdiction, bears the burden of establishing three elements: (1) that he or she suffered an

  injury in fact that is concrete, particularized, and actual or imminent—not conjectural or

  hypothetical, (2) that there is a causal connection between the injury and the conduct complained

  of, and (3) it must be likely, not speculative, that the injury will be redressed by a favorable

  decision.153 “If the plaintiff does not claim to have suffered an injury that the defendant caused

  and the court can remedy, there is no case or controversy for the federal court to resolve.”154 These

  elements ensure that a plaintiff has “‘such a personal stake in the outcome of the controversy’ as

  to warrant his invocation of federal-court jurisdiction and to justify exercise of the court’s remedial

  powers on his behalf.”155




  152
       Article III, Section 2 of the U.S. Constitution gives federal courts jurisdiction over enumerated cases and
  controversies.
  153
      See Thole v. U.S. Bank, N.A., 140 S.Ct. 1615, 1618 (2020)(citing the Supreme Court’s seminal case on the tripartite
  test for Article III constitutional standing, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), where the
  Supreme Court stated that “the irreducible constitutional minimum of standing contains [the] three elements”); see
  also Spokeo, 578 U.S. at 338; Abraugh v. Altimus, 26 F.4th 298, 302 (5th Cir. 2022) (citing id.).
  154
      Transunion LLC v. Ramirez, 141 S.Ct. 2190, 2203 (2021)(cleaned up).
  155
      Warth v. Seldin, 422 U.S. 490, 498-99 (1975) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)).

                                                            61
Case 3:23-cv-02071-E             Document 1-1     Filed 09/15/23       Page 612 of 678       PageID 618



           Apart from this minimal constitutional mandate, courts and statutes have set other limits

  on the class of persons who may seek judicial remedies—and this is the concept of prudential

  standing. In its recent opinion in Abraugh v. Altimus,156 the Fifth Circuit set forth a detailed

  analysis of the two types of “standing,” noting that the term “standing” is often “misused” in our

  legal system, which has led to confusion for both attorneys and judges.157 The constitutional

  standing that is necessary for a court to exercise subject matter jurisdiction is broader than

  prudential standing and is only the first hurdle a party must clear before pursuing a claim in federal

  court.

             The Fifth Circuit explained that in addition to Article III constitutional standing, “courts

  have occasionally articulated other ‘standing’ requirements that plaintiffs must satisfy under

  certain conditions, beyond those imposed by Article III,”158 such as the “standing” requirement

  that might be imposed by a statute or by jurisprudence. The Abraugh case was a perfect example

  of the latter.

           Abraugh involved the civil rights statutes that provide, among other things, that “a party

  must have standing under the state wrongful death or survival statutes to bring [a § 1983 cause of

  action]” and noted that these statutes impose additional “standing” requirements that are a matter

  of prudential standing, not constitutional standing.159 In Abraugh, the Fifth Circuit reversed and

  remanded a district court’s dismissal of a § 1983 civil rights cause of action—noting that the

  district court had stated that it was dismissing based on a “lack of subject matter jurisdiction”

  because the plaintiff in that action lacked standing.160 The plaintiff was the mother of a prisoner


  156
      26 F.4th 298.
  157
      Id. at 303.
  158
      Id. at 302 (emphasis added).
  159
      Id. at 302-303.
  160
      Id. at 301.

                                                     62
Case 3:23-cv-02071-E               Document 1-1            Filed 09/15/23            Page 613 of 678             PageID 619



  who died by suicide while in custody who brought a § 1983 action against Louisiana correctional

  officers and officials. After finding that the plaintiff/mother lacked standing under Louisiana’s

  wrongful death and survival statutes (because there had been a surviving child and wife of the

  prisoner who were the proper parties with capacity to sue), the district court held that it was

  dismissing for lack of subject matter jurisdiction. The Fifth Circuit pointed out that the

  plaintiff/mother may have lacked standing under Louisiana’s wrongful death and survival statutes

  to bring the claim under § 1983, but that type of standing was matter of prudential standing, and

  the plaintiff/mother actually did have Article III constitutional standing (“a constitutionally

  cognizable interest in the life of her son”).161 Thus, the district court’s error was not in finding

  that the plaintiff/mother lacked prudential standing but in improperly conflating the two standing

  concepts when it held that it had lacked subject matter jurisdiction to consider any of the

  plaintiff’s/mother’s amended complaints.162 The Fifth Circuit noted specifically that163

           prudential standing does not present a jurisdictional question, but “a merits
           question: who, according to the governing substantive law, is entitled to enforce the
           right?” As the Federal Rules of Civil Procedure make clear, “an action must be
           prosecuted in the name of the real party in interest.” FED. R. CIV. P. 17(a)(1). And
           a violation of this rule is a failure of “prudential” standing. “Not one of our
           precedents holds that the inquiry is jurisdictional.” It goes only to the validity of
           the cause of action. And “the absence of a valid . . . cause of action does not
           implicate subject-matter jurisdiction.”

           Somewhat relevant to this prudential standing discussion is the fact that, in this bankruptcy

  case, there have been dozens of appeals of bankruptcy court orders by Dondero and Dondero-

  related entities. In connection therewith, both the district court and the Fifth Circuit, in evaluating

  the appellate standing of the appellants, have taken pains to distinguish between the concepts of:


  161
      Id.
  162
      Id. at 301, 303-304. The Fifth Circuit opined that “the district court did not err in describing [the mother’s] inability
  to sue under Louisiana law as a defect of ‘standing[, b]ut it is a defect of prudential standing, not Article III standing”
  thus technically not implicating the federal court’s subject matter jurisdiction. Id. at 303.
  163
      Id. at 304 (cleaned up).

                                                               63
Case 3:23-cv-02071-E              Document 1-1           Filed 09/15/23           Page 614 of 678            PageID 620



  (a) traditional, constitutional standing, and (b) a type of prudential standing known as the “person

  aggrieved” test, which is applied in the Fifth Circuit in determining whether a party has standing

  to appeal a bankruptcy court order—which it describes as a narrower and “more exacting”

  standard than constitutional standing. As explained in a Fifth Circuit opinion addressing the

  standing of a Dondero-related entity called NexPoint to appeal bankruptcy court orders allowing

  professional fees, the “person aggrieved” standard that is typically applied to ascertain bankruptcy

  appellate standing originated in a statute in the Bankruptcy Act. The Fifth Circuit continued to

  apply it after Congress removed the provision when it enacted the Bankruptcy Code in 1978.164

  Because it is narrower and “more exacting” than the test for Article III constitutional standing, it

  involves application of prudential standing considerations.165 The Fifth Circuit describes the

  “person aggrieved” test for bankruptcy appellant standing as requiring that an appellant show that

  it was “directly and adversely affected pecuniarily by the order of the bankruptcy court,” requiring

  “a higher causal nexus between act and injury than traditional standing . . . that best deals with the

  unique posture of bankruptcy actions.”166 In affirming the district court’s dismissal of NexPoint’s

  appeal of the bankruptcy court’s fee orders, due to NexPoint’s lack of prudential standing under

  the “person aggrieved” test, the court rejected NexPoint’s argument that it had standing to appeal

  164
      NexPoint Advisors, L.P. v. Pachulski Stang Ziehl & Jones, L.L.P. (In re Highland Capital Management, L.P.), No.
  22-10575, 2023 WL 4621466, *2 (5th Cir. July 19, 2023)(citing In re Coho Energy Inc., 395 F.3d 198, 202 (5th Cir.
  2004)(cleaned up)).
  165
      Id. at *1, **4-6 (where the Fifth Circuit repeatedly throughout its opinion refers to the “person aggrieved” test for
  standing in bankruptcy actions as a test for “prudential standing.”); see also Dondero v. Highland Capital Mgt., L.P.,
  Civ. Act. No. 3:20-cv-3390-X, 2002 WL 837208 (N.D. Tex. Mar. 18, 2022)(where the district court, in addressing
  Dondero’s standing to appeal a bankruptcy court order approving a Rule 9019 settlement (between Highland and Acis
  Capital Management GP LLC), notes that “[i]t is substantially more difficult to have standing to appeal a bankruptcy
  court’s order than it is to pursue a typical complaint under Article III of the U.S. Constitution” and that “the Fifth
  Circuit has long recognized that bankruptcy cases’ wide-reaching scope calls for a more stringent standing test.”).
  166
      See id. at *3 (cleaned up). The court quotes its 2018 opinion in Matter of Technicool Sys., Inc. (In re Technicool),
  896 F.3d 382, 385 (5th Cir. 2018), which explains why the “person aggrieved” prudential standing standard is applied
  in bankruptcy actions: “Bankruptcy cases often involve numerous parties with conflicting and overlapping interests.
  Allowing each and every party to appeal each and every order would clog up the system and bog down the courts.
  Given the specter of such sclerotic litigation, standing to appeal a bankruptcy court order is, of necessity, quite
  limited.” Id. (cleaned up).

                                                             64
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23          Page 615 of 678          PageID 621



  because “it meets traditional Article III standing requirements [and that the more exacting]

  prudential standing considerations such as the ‘person aggrieved’ standard” did not survive the

  Supreme Court’s 2014 Lexmark167 opinion,168 which addressed standing issues in the context of

  false advertising claims under the Lanham Act and reminded that courts may not “limit a cause of

  action that Congress has created merely because ‘prudence’ dictates.”169 The Fifth Circuit held

  that the Supreme Court’s reminder in Lexmark did not nullify the “person aggrieved” test for

  prudential standing in bankruptcy appeals, citing its own decision in Superior MRI Services Inc.

  v. Alliance Healthcare Services, Inc.170 (rendered a year after Lexmark was decided), in which it

  held that Lexmark applied only to the circumstances of that case, “rather than broadly modifying—

  or undermining—all prudential standing concerns, such as the one animating the ‘person

  aggrieved’ standard in bankruptcy appeals.”171

          Similarly, in yet another appeal in this bankruptcy case involving three Dondero-related

  entities as appellants (NexPoint, Dugaboy, and HCMFA)—this one an appeal of a bankruptcy

  court order authorizing the creation of an indemnity subtrust and entry into an indemnity trust

  agreement—the district court noted the parties’ confusion about the standing issue, as exemplified

  in the parties’ reference to constitutional standing when they were actually arguing that they had

  prudential standing under the “person aggrieved” test: “Although the parties frame this issue as

  one of constitutional standing . . . they cite case law and present arguments about the prudential




  167
      Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014).
  168
      Id. at *2.
  169
      See id. at *4 (cleaned up).
  170
      778 F.3d 502 (5th Cir. 2015).
  171
      NexPoint, 2023 WL 4621466 at *4 (cleaned up). The Fifth Circuit explicitly stated that “Lexmark does not
  expressly reach prudential concerns in bankruptcy appeals and brought no change relevant here.” Id. at *5 (cleaned
  up).

                                                         65
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 616 of 678            PageID 622



  standing requirement embodied in the ‘person aggrieved’ test.”172 The district court noted that it

  had an “independent obligation to consider constitutional standing before reaching its prudential

  aspects.”173 The district court dismissed the appeal as to Dugaboy and HCMFA for lack of

  standing but, upon concluding that NexPoint did have standing, dismissed the appeal as to it on

  the merits. The Fifth Circuit affirmed.174 Interestingly, the court noted that, while the parties did

  not contest the district court’s determination that NexPoint had standing to pursue the appeal, it

  “may consider prudential standing issues sua sponte.”175 In doing so, the Fifth Circuit recognized

  the distinction between constitutional standing and the prudential “person aggrieved” test applied

  to bankruptcy appeals, which “is, of necessity, quite limited” and “an even more exacting standard

  than traditional constitutional standing,” as it requires an appellant to show that it is “directly,

  adversely, and financially impacted by a bankruptcy order.”176

           In summary, in analyzing whether HMIT would have standing to bring the Proposed

  Claims, this court must first determine whether HMIT would have constitutional standing under

  Article III (which is a subject matter jurisdiction hurdle) and, assuming it does, then additionally

  address whether HMIT would also have prudential standing (i.e., capacity to sue) pursuant to any

  applicable statutes (e.g., Delaware statutes), jurisprudence, or other substantive law that might

  limit who may sue. Notwithstanding HMIT’s argument that it has standing under the “person



  172
      Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
  Civ. Act. No. 3:21-cv-1895-D, 2002 WL 270862, *1 (N.D. Tex. Jan. 18, 2022)(cleaned up). The district court
  dismissed the appeals of two of the appellants, Dugaboy and HCMFA, finding that they lacked both constitutional
  standing and prudential standing under the “person aggrieved” test and affirmed the bankruptcy court’s order after
  finding the third appellant, NexPoint, to have prudential standing under the “person aggrieved” test. Id. at **1-3 and
  *4.
  173
      Id. at *1 n.2.
  174
      Highland Capital Mgt. Fund, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.), 57 F.4th 494
  (5th Cir. 2023).
  175
      Id. at 501 (cleaned up).
  176
      Id.

                                                           66
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 617 of 678            PageID 623



  aggrieved” test177—which, as discussed above, is a matter of prudential standing—this is applied

  only in the context of bankruptcy appellate matters.178 As noted in its most recent opinion

  discussing standing in an appeal from the Highland bankruptcy case, the Fifth Circuit reiterated

  that the “person aggrieved” test is a test for bankruptcy appellate standing, which is narrower than

  a party in interest’s right to be heard in bankruptcy cases in general.179 The court rejected an

  argument that Bankruptcy Code § 1109, which provides that “[a] party in interest . . . may raise

  and may appear and be heard on any issue in a case under this chapter” confers appellate standing,

  noting that “one’s standing to appear and be heard before the bankruptcy court [is] a concept

  distinct from standing to appeal the merits of a decision” and that the “person aggrieved” test for

  bankruptcy appellate standing is narrower than the test for determining one’s standing to appear

  and be heard in a bankruptcy proceeding.180

           Thus, the court will now analyze whether HMIT would, at a minimum, have constitutional

  standing to bring the Proposed Claims.

      2. HMIT Would Lack Article III Constitutional Standing to Bring the Proposed Claims.

           As noted above, the Supreme Court and the Fifth Circuit have made clear that constitutional

  standing is necessary for a court to exercise subject matter jurisdiction. It is only the first hurdle a

  party must clear before pursuing a claim in federal court. HMIT, as plaintiff, would bear the


  177
      HMIT insists that it has constitutional standing to bring claims on its individual behalf “as an aggrieved party.” See
  Reply, ¶ 7.
  178
      HMIT’s argument in this matter that it has constitutional standing because it is a “party aggrieved” incorrectly
  conflates the prudential bankruptcy appellate “person aggrieved” test with the broader test that is applied to
  constitutional standing. The court is not being critical of this mistake. As noted at supra note 149, the Fifth Circuit
  in Abraugh pointed out that courts and attorneys alike have created confusion by misusing the term “standing” when
  they equate a lack of “standing,” in all instances, with a lack of subject matter jurisdiction, even when the party is
  found to lack only prudential standing. Thus, HMIT is not alone in its confusion over the two different concepts of
  standing.
  179
      See NexPoint, 2023 WL 4621466 at *6.
  180
      Id. at *6 (cleaned up)(“Because Section 1109(b) expands the right to be heard [in a bankruptcy proceeding] to a
  wider class than those who qualify under the ‘person aggrieved’ standard, courts considering the issue have concluded
  that merely being a party in interest is insufficient to confer appellate standing.”)(emphasis added).

                                                             67
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23   Page 618 of 678    PageID 624



  burden of establishing: (1) that it suffered an injury in fact that is concrete, particularized, and

  actual or imminent—not conjectural or hypothetical, (2) that there is a causal connection between

  the injury and the conduct complained of, and (3) it must be likely, not speculative, that the injury

  will be redressed by a favorable decision.181

          Concrete and Particularized; Actual or Imminent. As the Supreme Court made clear in the

  Lujan case, the injury in fact element requires a showing that the injury was “concrete and

  particularized” and “actual or imminent, not conjectural or hypothetical.”182 The Supreme Court

  in the Spokeo case expounded on the “concrete and particularized” requirements of the “injury in

  fact” element. Particularization requires a showing that the injury “must affect the plaintiff in a

  personal and individual way,” but while particularization is necessary, it alone is “not sufficient,”

  because an injury in fact must also be “concrete.”183 And, concreteness is “quite different from

  particularization.”184 A “concrete” injury must be “real,” and “not abstract,” though it does not

  mean that the injury must be “tangible,” as the injury can be intangible and nevertheless be

  concrete.185 In addition to the concreteness and particularization requirements, an injury in fact

  must be “actual or imminent” such that “allegations of injury that is merely conjectural or

  hypothetical do not suffice to confer standing.”186            “Although imminence is concededly a

  somewhat elastic concept, it cannot be stretched beyond its purpose, which is to ensure that the

  alleged injury is not too speculative for Article III purposes—that the injury is certainly




  181
      See supra note 153.
  182
      Lujan, 504 U.S. at 560 (cleaned up).
  183
      Spokeo, 578 U.S. at 339.
  184
      Id. at 340.
  185
      Id.
  186
      Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).

                                                          68
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 619 of 678            PageID 625



  impending”; “allegations of possible future injury are not sufficient.”187

           Traceability - Causal Connection. As to the second element—that the injury was caused

  by the defendant—the Supreme Court in Lujan further described it as requiring a showing that

  “the injury has to be fairly traceable to the challenged action of the defendant.”188 The “fairly

  traceable” test requires an examination of “the causal connection between the assertedly unlawful

  conduct and the alleged injury.”189

           Redressability. The third element—redressability—requires the court to examine the

  connection “between the alleged injury and the judicial relief requested.”190 “Relief that does not

  remedy the injury suffered cannot bootstrap a plaintiff into federal court.”191 “[A] court must

  determine that there is an available remedy which will have a ‘substantial probability’ of redressing

  the plaintiff’s injury.”192

           The Claims Purchasers argue that HMIT lacks constitutional standing to pursue the claims

  asserted in the Proposed Complaint because: (i) neither HMIT nor the Bankruptcy Estate was

  injured by the Claim Purchasers’ acquisition of the claims; and (ii) the Proposed Complaint lacks

  a theory of cognizable damages to the Reorganized Debtor, the Claimant Trust, and/or the

  beneficiaries of the Claimant Trust.193


  187
      Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409 (2013)(cleaned up); see also Abdullah v. Paxton, 65 F.4th 204,
  208 (5th Cir. 2023)(“[Injury] cannot be speculative, conjectural, or hypothetical [and] [a]llegations of only a ‘possible’
  future injury similarly will not suffice.”)(cleaned up).
  188
      Lujan, 504 U.S. at 560-61 (cleaned up).
  189
      Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).
  190
       Id. (noting “it is important to keep the [‘fairly traceable’ and ‘redressability’] inquiries separate if the
  ‘redressability’ component is to focus on the requested relief.”).
  191
      Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).
  192
      City of Los Angeles v. Lyons, 461 U.S. 95, 129 n.20 (1983)(Marshall, J., dissenting)(cleaned up); see also Ondrusek
  v. U.S. Army Corps of Engineers, Civ. Act. No. 3:22-cv-1874-N, 2023 WL 2169908, at *5 (“Plaintiffs have not
  demonstrated that any available remedy would be sufficiently likely to relieve their alleged economic losses. Without
  a showing of redressability, those harms also cannot support Plaintiff’s Article III standing.”).
  193
      As noted earlier, certain of the Proposed Defendants—the Highland Parties—do not focus on HMIT’s lack of
  constitutional standing to pursue the Proposed Claims against them, but on its lack of prudential standing under


                                                             69
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 620 of 678           PageID 626



           The court agrees with the Claims Purchasers’ argument here. What is HMIT’s concrete

  and particularized injury—that is “real” and is not abstract?                       That is not conjectural or

  hypothetical? That is actual or imminent?

           Recall that, under the Plan, HMIT holds a Class 10 contingent interest in the Claimant

  Trust that only realizes value if all creditors are paid in full with interest. HMIT alleges the

  following injury: it has suffered a devaluation of its unvested Contingent Claimant Trust Interest

  by virtue of the alleged over-compensation of Seery as the Claimant Trustee—Seery’s alleged

  over-compensation depletes the assets in the Claimant Trust available for distribution to creditors

  under the Plan, such that there is less likely a chance that HMIT ultimately receives any

  distributions on account of its Class 10 Contingent Claimant Trust Interest.194 Yet, HMIT testified,

  through both witnesses Dondero and Patrick, that it had no personal knowledge of what Seery’s

  actual compensation is under the CTA at the time HMIT filed its Motion for Leave. It was clear

  that HMIT’s allegations regarding Seery’s “excessive” compensation were based entirely on

  Dondero’s pure speculation. In reality, Seery’s base salary is exactly what the bankruptcy court

  approved during the bankruptcy case by a court order (after negotiations between Seery and the

  Committee). The CTA now further governs his compensation. The CTA, which was publicly

  filed in advance of the Plan confirmation hearing and approved by this court as part of the Plan


  applicable law. Because constitutional standing is a matter of subject matter jurisdiction, the court has an independent
  duty to determine whether HMIT would have constitutional standing to pursue the Proposed Claims in federal court.
  The issue cannot be forfeited or waived by a party. See Abraugh v. Y & H Corp., 546 U.S. 500, 514 (2006)(“[S]ubject-
  matter jurisdiction, because it involves a court’s power to hear a case, can never be forfeited or waived. Moreover,
  courts . . . have an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence
  of a challenge from any party.”)(cleaned up); Abraugh, 26 F.4th at 304 (“It is our constitutional duty, of course, to
  decline subject matter jurisdiction where it does not exist—and that is so whether the parties challenge Article III
  standing or not.”)(cleaned up).
  194
      At the June 8 Hearing, HMIT’s counsel was unable to identify any other injury HMIT has alleged to have suffered.
  HMIT’s counsel acknowledged that claims trades, in and of themselves, would not “involve injury to the Reorganized
  Debtor and to the Claimant Trust” and that claims trades are “normally outside the purview of the bankruptcy court”
  but that “[h]ere, we have alleged . . . . injury [that] takes the form of unearned excessive fees that Mr. Seery has
  garnered as a result of his relationship and arrangements, as we have alleged, with the Claims Purchasers.” June 8
  Hearing Transcript, 67:16-68:8. HMIT can only point to Seery’s excess compensation as injury.

                                                            70
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 621 of 678           PageID 627



  (which has been affirmed by the Fifth Circuit), specifically provides that Seery’s post-Effective

  Date compensation would include a “Base Salary” (again, same as during the bankruptcy case), a

  “success fee,” and “severance.”195 The CTA discussed the role of the Committee and then the

  CTOB in setting the success fee and severance and the like. A fully executed copy of the CTA

  was admitted into evidence at the June 8 Hearing. HMIT is essentially arguing that its injury (i.e.,

  diminished likelihood of realizing value on its Contingent Claimant Trust Interest) stems from a

  court-sanctioned and creditor-approved process for approving compensation to Seery. Moreover,

  HMIT has failed to plead facts sufficient to show that, even if Seery received excessive

  compensation and that compensation is ordered to be returned, HMIT’s Contingent Claimant Trust

  Interest will ever vest. The district court and the Fifth Circuit in various appeals by Dugaboy,

  another Dondero-related entity that, similar to HMIT, was a holder of a limited partnership interest

  in Highland whose interests were terminated as of the Effective Date of the Plan in exchange for

  a Contingent Claimant Trust Interest, have repeatedly rejected Dugaboy’s claims to have standing

  based on the speculative nature of its alleged injuries as a contingent beneficiary of the Claimant

  Trust under the Plan. For example, the Fifth Circuit affirmed the district court’s dismissal of an

  appeal by Dugaboy of the bankruptcy court’s order authorizing the creation of an indemnity

  subtrust, wherein Judge Fitzwater found that, in addition to lacking prudential standing under the



  195
      The Disclosure Statement that was approved by this court, after notice and a hearing, on November 24, 2020,
  provided that “The salient terms of each Trustee’s employment, including such Trustee’s duties and compensation
  shall be set forth in the Claimant Trust Agreement . . . .” The CTA was part of a Plan Supplement (as amended) that
  was filed in advance of the confirmation hearing and provided:
                      Compensation. As compensation for any services rendered by the Claimant Trustee in
            connection with this Agreement, the Claimant Trustee shall receive compensation of $150,000 per
            month (the “Base Salary”). Within the first forty-five days following the Confirmation Date, the
            Claimant Trustee, on the one hand, and the Committee, if prior to the Effective Date, or the
            Oversight Board, if on or after the Effective Date, on the other, will negotiate go-forward
            compensation for the Claimant Trustee which will include (a) the Base Salary, (b) a success fee, and
            (c) severance.
  See Highland Ex. 38, at § 3.13(a)(i).

                                                          71
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 622 of 678           PageID 628



  “person aggrieved” test to appeal the bankruptcy court’s order, Dugaboy lacked constitutional

  standing “because they have not identified any injury fairly traceable to the Order: the injuries

  identified are speculative at best and nonexistent at worst.”196 HMIT’s allegations of injury are,

  without a doubt, “merely conjectural or hypothetical” and are only speculative of possible future

  injury if its Contingent Claimant Trust Interest ever vests.”197 The court finds that HMIT would

  not meet the “concrete and particularized” or the “actual or imminent” requirements for an “injury

  in fact,” and, thus, would lack constitutional standing to pursue the Proposed Claims.

           With regard to the second requirement of constitutional standing—whether HMIT could

  show “traceability” with respect to the Claims Purchasers and/or Seery (i.e., a “causal connection

  between the assertedly unlawful conduct and the alleged injury”198), as noted above, there is only

  a speculative injury. Even if there is unlawful conduct asserted (i.e., sharing of MNPI to Claims

  Purchasers who then, as a quid pro quo, rubber stamped excessive compensation for Seery), there

  is nothing other than a hypothetical theory of an alleged injury (i.e., an allegedly less likelihood of

  a distribution on a Contingent Claimant Trust Interest).

           With respect to the third requirement of constitutional standing—whether HMIT can show

  “redressability” (i.e., that it is likely, not speculative, that the injury can be redressed by a favorable




  196
      Highland Capital Mgt. Fund Advisors, L.P. v. Highland Capital Mgt., L.P. (In re Highland Capital Mgt., L.P.),
  Civ. Act. No. 3:21-cv-1895-D, 2022 WL 270862, *1 n.2 (N.D. Tex. Jan. 28, 2022), aff’d 57 F.4th 494 (5th Cir.
  2023)(emphasis added); see also Judge Scholer’s opinion in Dugaboy Inv. Tr. v. Highland Capital Mgt., L.P. (In re
  Highland Capital Mgt., L.P.), Civ. Act. No. 3:21-cv-2268-S, 2022 WL 3701720, *3 (N.D. Tex. Aug. 8, 2022)(cleaned
  up), aff’d per curium, No. 22-10831, 2023 WL 2263022 (5th Cir. Feb. 28, 2023) (where Dugaboy had argued that “its
  pecuniary interest is . . . a potential recovery under the Plan as one of Debtor's former equity holders” and that “it
  ha[d] standing as a ‘contingent beneficiary’ under the Plan, or a beneficiary who will be entitled to payment after all
  creditors are paid in full,” and Judge Scholer stated, “This assertion is premised on the assumption that Dugaboy's
  0.1866% pre-bankruptcy limited partnership interest in Debtor—which was extinguished under the Plan—makes it a
  contingent beneficiary of the creditor trust created under the Plan. . . . [S]uch a ‘speculative prospect of harm is far
  from a direct, adverse, pecuniary hit’ as required to confer standing.”
  197
      Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009).
  198
      Allen v. Wright, 468 U.S. 737, 753 n. 19 (1984).

                                                            72
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 623 of 678           PageID 629



  decision), there are multiple problems here.199 The major remedy sought here is the equitable

  disallowance of the allowed Purchased Claims (and disgorgement and/or constructive trust of amounts

  paid or owed to the Claim Purchasers on account of their claims). There is no such remedy

  available here. As noted earlier, there is a similar concept of equitable subordination of a claim

  to another claim, or of an interest to another interest, pursuant to Bankruptcy Code section 510(c).

  But under the literal terms of section 510(c), claims cannot be subordinated to interests.

  Moreover, the Fifth Circuit noted in the Mobile Steel case,200 that equitable disallowance of a

  claim (as opposed to equitable subordination of a claims) is not an available remedy. Bankruptcy

  Code section 502(b)(1) and the Fifth Circuit’s Lothian Oil case might permit “recharacterization”

  of a claim from debt to equity in certain circumstances—but not based on inequitable conduct but

  rather on the nature of a financial transaction. In any event, here, the claims have already been

  adjudicated and allowed (some after mediation, and all after Rule 9019 settlement orders). The

  only way to reconsider a claim in a bankruptcy case that has already been allowed is through

  Bankruptcy Code section 502(j) (“A claim that has been allowed or disallowed may be

  reconsidered for cause. . . according to the equities of the case.”). As noted earlier, the problem

  here is that Bankruptcy Rule 9024 provides that a motion for “reconsideration of an order allowing

  or disallowing a claim against the estate entered without a contest is not subject to the one year

  limitation prescribed in Rule 60(c)” (emphasis added). As further noted earlier, here there was

  most definitely a “contest” with regard to all of these purchased claims. Thus, it would appear


  199
      See supra notes 182-184 and accompanying text. The court will note that, as discussed supra note 141 and pages
  71-72, the remedy of equitable subordination (as to the Claims Purchasers) would not redress HMIT’s alleged injury
  (because equitable subordination of claims to interests is not an available remedy in the Fifth Circuit and thus
  subordination of the Purchased Claims to other claims would not change HMIT’s distributions from the Claimant
  Trust, if any), and because outright disallowance of all or part of the already allowed Purchased Claims is not an
  available remedy either, HMIT would not be able to meet the “redressability” requirement with respect to the Claims
  Purchasers.
  200
      In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).

                                                          73
Case 3:23-cv-02071-E               Document 1-1          Filed 09/15/23         Page 624 of 678   PageID 630



  that any effort to have a court reconsider and potentially disallow these claims pursuant to

  section 502(j) is untimely—as it has been well beyond a year since they were allowed.

         3. HMIT Would Also Lack Prudential Standing to Bring the Proposed Claims.

             Even if HMIT would have constitutional standing to bring the Proposed Claims in an

  adversary proceeding filed in the bankruptcy court, the Proposed Claims would still be barred if

  HMIT would lack prudential standing to bring them under applicable state or federal law. HMIT

  argues that it does have prudential standing under both federal bankruptcy law and Delaware law

  to pursue the Proposed Claims derivatively and also to bring the Proposed Claims in its individual

  capacity.

             With regard to “federal bankruptcy law,” HMIT argues that it has standing pursuant to: (a)

  Rule 23.1 of the Federal Rules of Civil Procedure, pertaining to derivative actions, which “applies

  to this proceeding pursuant to” Rule 7023.1 of the Federal Rules of Bankruptcy Procedure, and (b)

  Louisiana World Exposition v. Federal Insurance Co. (“LWE”),201 the Fifth Circuit’s leading case

  addressing when a creditors committee may be granted standing to bring causes of action on behalf

  of a bankruptcy estate. But, federal bankruptcy law does not confer standing where the plaintiff

  otherwise lacks standing under applicable state law. In other words, whether HMIT would have

  prudential standing to sue under Delaware law is dispositive of the issue, regardless of the forum.

  Rule 23.1 “speaks only to the adequacy of the . . . pleadings,” and “cannot be understood to

  ‘abridge, enlarge, or modify any substantive right,’”202 including a right (or lack thereof) to bring

  a derivative action under the substantive law of Delaware. Additionally, HMIT’s reliance on LWE

  is misplaced: LWE permits creditors, in certain circumstances during a bankruptcy case, to “file




  201
        858 F.2d 233 (5th Cir. 1988).
  202
        Kamen v. Kemper Fin. Servs., Inc., 500 U.S. 90, 96 (1991)(quoting 28 U.S.C. § 2072(b)).

                                                            74
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23         Page 625 of 678           PageID 631



  suit on behalf of a debtor-in-possession or a trustee”203 and does not apply to a party’s right to sue,

  derivatively, on behalf of the Reorganized Debtor or any entity that is the assignee of the former

  bankruptcy estate’s assets. Upon confirmation of the Plan, the bankruptcy estate of Highland

  ceased to exist;204 Highland is no longer a debtor-in-possession but a reorganized debtor, and the

  Claimant Trust is a new entity created under the Plan and Claimant Trust Agreement. Even if LWE

  did apply in this post-confirmation context, it supports the application of Delaware law to the issue

  of prudential standing and does not supersede state-law requirements for standing. In LWE, before

  addressing the requirements a creditors’ committee must meet to sue derivatively on behalf of a

  bankruptcy estate as a matter of federal bankruptcy law, the Fifth Circuit conducted a lengthy

  analysis to determine “as a threshold issue” whether the creditors’ committee in that case could

  assert its claims under Louisiana law.205 The court specifically addressed whether the creditors’

  committee could pursue a derivative action under Louisiana law and concluded that “there is no

  bar in Louisiana law to actions brought by or in the name of a corporation against the directors and

  officers of the corporation which benefit only the creditors of the corporation; indeed, Louisiana

  law specifically recognizes such actions.”206 So, even under LWE (which the court does not think

  applies in this post-confirmation context), if HMIT would be barred from bringing a derivative

  action on behalf the Reorganized Debtor or Claimant Trust under state law, the analysis stops

  there.207 Thus, the court looks to Delaware law to determine if HMIT would have prudential

  standing to pursue the derivative claims on behalf the Reorganized Debtor and the Claimant Trust.


  203
      LWE, 858 F.2d at 247.
  204
      See In re Craig’s Stores, 266 F.3d 388, 390 (5th Cir. 2001).
  205
      LWE, 858 F.2d at 236-45.
  206
      Id. at 243.
  207
      See In re Dura Automotive Sys., LLC, No. 19-123728 (Bankr. D. Del. June 10, 2020), Docket No. 1115 at 46 (where
  the Delaware bankruptcy court denied the creditors’ committee standing to sue derivatively on behalf of a Delaware
  LLC because the committee lacked standing under the Delaware LLC Act, stating, “To determine that the third party


                                                          75
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23          Page 626 of 678           PageID 632



          HMIT acknowledges that both the Reorganized Debtor and the Claimant Trust are

  organized under Delaware law, and thus the cause of action against Seery alleging breach of

  fiduciary duties to the Reorganized Debtor and the Claimant Trust are governed by Delaware law

  under the “Internal Affairs Doctrine.”208 In addition, because HMIT’s breach of fiduciary duties

  claim is governed by Delaware law, its aiding and abetting theory of liability as to the Claims

  Purchasers is also governed by Delaware law.209 For the reasons set forth below, the court finds

  that HMIT would lack prudential standing under Delaware law to bring the claims set forth in the

  Proposed Complaint, derivatively, on behalf of either the Claimant Trust or the Reorganized

  Debtor.

               a) First, HMIT Would Lack Prudential Standing Under Delaware Law to Bring
                  Derivative Actions on behalf of the Claimant Trust.

          The Claimant Trust is a Delaware statutory trust governed by the Delaware Statutory Trust

  Act, 12 Del. C. §§ 3801–29,210 and “to proceed derivatively against a Delaware statutory trust, a

  plaintiff has the burden of satisfying the continuous ownership requirement” such that “the plaintiff

  must be a beneficial owner” continuously from “the time of the transaction of which the plaintiff

  complains” through “the time of bringing the action.”211 This requirement is “mandatory and

  exclusive” and only “a beneficial owner” “has standing to bring a derivative claim on behalf of the



  may bring the claim under the derivative basis and, thus, step into the shoes of the debtor to pursue them, the Court
  must look to the law of the debtors’ state of incorporation or formation.”).
  208
      Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
  by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
  Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
  a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
  organized under the laws of Delaware.
  209
      See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
  (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
  headquartered in Texas).
  210
      See Proposed Complaint, ¶ 26.
  211
      Hartsel v. Vanguard Grp., Inc., 2011 WL 2421003, at *19 n.123 (Del. Ch. June 15, 2011), aff’d 38 A.3d 1254 (Del.
  2012); 12 Del C. § 3816(b).

                                                           76
Case 3:23-cv-02071-E              Document 1-1             Filed 09/15/23           Page 627 of 678             PageID 633



  Trust.”212 The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust

  and, therefore, would lack standing to bring derivative claims on behalf of the Claimant Trust.

  HMIT argues to the contrary: that it is currently, and was at all relevant times, a “beneficial owner”

  of the Claimant Trust under Delaware trust law such that it would have standing to bring derivative

  claims on behalf of the Claimant Trust if it were allowed to proceed with the filing of the Proposed

  Complaint. The disagreement turns on the nature of HMIT’s interest under the Plan and the

  Claimant Trust Agreement and whether HMIT, as a holder of such interest, would be considered

  a “beneficial owner” of the Claimant Trust under Delaware trust law.

           As noted, pursuant to the Plan, HMIT’s former limited partnership interest in Highland was

  cancelled as of the Effective Date in exchange for its pro rata share of a “Contingent Claimant

  Trust Interest,” as defined under the Plan.213 HMIT argues that its Contingent Claimant Trust

  Interest makes it a contingent beneficiary of the Claimant Trust, which makes it a present

  “beneficial owner” under Delaware trust law.

           The Highland Parties argue that HMIT is not a “beneficial owner” of the Claimant Trust;

  rather, the “beneficial owners” of the Claimant Trust are the “Claimant Trust Beneficiaries,”214

  which are defined in the Plan and the CTA as “the Holders of Allowed General Unsecured Claims”

  (which are in Class 8 under the Plan) and “Holders of Allowed Subordinated Claims” (which are

  in Class 9 under the Plan); 215 HMIT, a holder of a Class 10 interest under the Plan, is neither.


  212
      In re Nat’l Coll. Student Loan Tr. Litig., 251 A.3d 116, 191 (Del. Ch. 2020) (citing CML V, LLC v. Bax, 28 A.3d
  1037, 1042 (Del. 2011)). HMIT acknowledges this requirement in its Reply: “Delaware statutory trust law provides
  that a plaintiff in a derivative action on behalf of a trust must be a beneficial owner at the time of the action and at the
  time of the transaction.” Reply, ¶ 19 (citing 12 Del C. § 3816).
  213
       See Plan Art. III.H.10 and Art. I.B.44.
  214
       Section 2.8 of the CTA provides, “The Claimant Trust Beneficiaries shall be the sole beneficiaries of the Claimant
  Trust . . . .” HMIT Ex. 26, § 2.8.
  215
       See Plan Art. I.B.44 (“‘Claimant Trust Beneficiaries’ means the Holders of Allowed General Unsecured Claims,
  Holders of Allowed Subordinated Claims, including, upon Allowance, Disputed General Unsecured Claims and
  Disputed Subordinated Claims that become Allowed following the Effective Date, and, only upon certification by the


                                                              77
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 628 of 678            PageID 634



  HMIT, as the holder of a “Contingent Claimant Trust Interest,” has only an unvested contingent

  interest in the Claimant Trust and, as such, is not a “beneficial owner” of the Claimant Trust for

  standing purposes under Delaware trust law. HMIT argues that it “should be treated as a vested

  Claimant Trust Beneficiary due to [the Proposed Defendants’] wrongful conduct and considering

  the current value of the Claimant Trust Assets before and after the relief requested herein.”216 The

  court disagrees.

           HMIT’s status as a “beneficiary” of the Claimant Trust is defined by the CTA itself, pure

  and simple. The CTA specifically provides that “Contingent Trust Interests” “shall not have any

  rights under this Agreement” and will not “be deemed ‘Beneficiaries’ under this Agreement,”

  “unless and until” they vest in accordance with the Plan and the CTA. It is undisputed that HMIT’s

  Contingent Trust Interest has not vested under the terms of the Plan and the CTA, and the court

  does not have the power to equitably deem HMIT’s Contingent Trust Interest to be vested based

  on HMIT’s unsupported allegation of wrongdoing on the part of Seery, the Claimant Trustee.

  Thus, the court finds that HMIT is not a “beneficial owner” of the Claimant Trust and, therefore,

  lacks prudential standing under Delaware law to bring derivative claims on behalf of the Claimant

  Trust.217




  Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
  unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
  at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant Trust Agreement
  and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of Allowed Class B/C Limited Partnership
  Interests, and Holders of Allowed Class A Limited Partnership Interests.”); CTA § 1.1(h). See also, CTA, 1 at n.2
  (“For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
  B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
  that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
  in accordance with the terms and conditions set forth herein and in the Plan.”). HMIT Ex. 26.
  216
      Proposed Complaint ¶ 24.
  217
      See Nat’l Coll., 251 A.3d at 190–92 (dismissing creditors’ derivative claims because they were not “beneficial
  owners of the Trusts”); Hartsel, 2011 WL 2421003, at *19 n.123 (dismissing derivative claims by investors that “no
  longer own shares” because “those investors no longer have standing to pursue a derivative claim”).

                                                             78
Case 3:23-cv-02071-E              Document 1-1           Filed 09/15/23           Page 629 of 678            PageID 635



               b) HMIT Would Likewise Lack Prudential Standing Under Delaware Law to Bring
                  Derivative Actions on behalf of the Reorganized Debtor.


           HMIT acknowledges that the Reorganized Debtor, Highland Capital Management, L.P., is

  a Delaware limited liability partnership governed by the Delaware Limited Partnership Act, 6 Del.

  C. § 17-101, et seq.218 To bring “a derivative action” on behalf of a limited partnership, “the

  plaintiff must be a partner or an assignee of a partnership interest” continuously from “the time of

  the transaction of which the plaintiff complains” through “the time of bringing the action.”219

           HMIT is not a partner, general or limited, of the Reorganized Debtor limited partnership.

  HMIT was a limited partner in the original debtor (specifically, a holder of Class B/C Limited

  Partnership interests in Highland), but that limited partnership interest was extinguished on August

  11, 2021 (the Effective Date of the Plan) per the terms of the Plan, and HMIT does not own any

  partnership interest in the newly created Reorganized Debtor limited partnership.220 Because

  HMIT would not hold a partnership interest in the Reorganized Debtor at “the time of bringing the

  action,” it “lacks derivative standing” to bring claims “on the partnership’s behalf.”221 HMIT

  likewise cannot satisfy “the continuous ownership requirement”; when HMIT’s limited

  partnership interest in the original Debtor was cancelled on the Plan’s Effective Date, HMIT “los[t]

  standing to continue a derivative suit” on behalf of the Debtor.222 Finally, to the extent HMIT


  218
      Proposed Complaint ¶ 25.
  219
      6 Del. C. § 17-1002; see Tow v. Amegy Bank, N.A., 976 F. Supp. 2d 889, 904 (S.D. Tex. 2013) (“The [Delaware]
  partnership act facially bars any party other than a limited partner from suing derivatively. . . . Delaware courts
  historically have interpreted the provisions as giving the partners exclusive rights to sue for breach of another party’s
  fiduciary duties to them.”) (quoting CML V, LLC v. Bax, 6 A.3d 238, 245 (Del. Ch. 2010), aff’d 28 A.3d 1037 (Del.
  2011)); El Paso Pipeline GP Co. v. Brinckerhoff, 152 A.3d 1248, 1265 n.87 (Del. 2016) (“The statutory foundation
  for the continuous ownership requirement in the corporate realm is echoed in the limited partnership context.”) (citing
  6 Del. C. § 17-211(h)).
  220
      See Plan Art. IV.A.
  221
      Tow, 976 F. Supp. 2d at 904 (dismissing derivative claims by creditor on behalf of partnership for lack of standing).
  222
      El Paso, 152 A.3d at 1265 (cleaned up) (dismissing derivative action for lack of standing where plaintiff’s
  partnership interest was extinguished by a merger transaction); see also Schmermerhorn v. CenturyTel, Inc. (In re


                                                             79
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 630 of 678            PageID 636



  seeks to bring a “double derivative” action on behalf of the Claimant Trust based on claims

  purportedly held by its wholly owned subsidiary, the Reorganized Debtor, HMIT lacks standing.

  A “double derivative” action is a suit “brought by a shareholder of a parent corporation to enforce

  a claim belonging to a subsidiary that is either wholly owned or majority controlled.”223 And, under

  Delaware law, “parent level standing is required to enforce a subsidiary’s claim derivatively.”224

  Because HMIT would lack derivative standing to bring claims on behalf of the parent Claimant

  Trust,225 it also would lack standing to bring a double derivative action.

                c) Finally, HMIT Would Also Lack Prudential Standing under Applicable Law to
                   Bring the Proposed Claims As Direct Claims.

           HMIT argues that it has “direct” standing to pursue the Proposed Claims on behalf of itself,

  individually.226 But just because HMIT asserts that some or even all of the Proposed Claims are

  direct, not derivative claims, does not make it so: “a claim is not ‘direct’ simply because it is

  pleaded that way.”227 Rather, in determining whether claims are direct or derivative, a court must

  “look at the substance of the Petition, and the nature of the wrongs alleged therein, rather than the

  Plaintiffs’ characterization.”228 And, under Delaware law, “whether a claim is solely derivative or



  SkyPort Global Commcn’s, Inc.), 2011 WL 111427, at *25–26 (Bankr. S.D. Tex. Jan. 13, 2011) (holding that pre-
  petition shareholders “lack standing to bring a derivative claim” under Delaware law because they “had their equity
  interests in the company extinguished pursuant to the merger under the Plan”); In re WorldCom, Inc., 351 B.R. 130,
  134 (Bankr. S.D.N.Y. 2006) (“[T]he cancellation of WorldCom shares under the Plan … prevents the required
  continuation of shareholder status through the litigation.”) (cleaned up).
  223
      Lambrecht v. O’Neal, 3 A.3d 277, 282 (Del. 2010).
  224
      Sagarra, 34 A.3d at 1079–81 (capitalization omitted) (citing Lambrecht, 3 A.3d at 282).
  225
      See supra pp. 80-82.
  226
      See e.g., Motion for Leave ¶ 10 (“HMIT has individual standing to bring this action because Seery owed fiduciary
  duties directly to HMIT at that time . . . .”); id. ¶ 67 (arguing that “HMIT has [d]irect [s]tanding”); Proposed Complaint
  ¶ 24 (“HMIT has constitutional standing and capacity to bring these claims both individually and derivatively.”).
  227
      Schmermerhorn, 2011 WL 111427, at *26 (quoting Gatz v. Ponsoldt, 2004 WL 3029868 at *7 (Del. Ch. Nov. 5,
  2004)).
  228
      See id. (citing Armstrong v. Capshaw, Goss & Bowers LLP, 404 F.3d 933, 936 (5th Cir. 2005)); see also Moore v.
  Simon Enters., Inc., 919 F.Supp. 1007, 1009 (N.D. Tex. 1995)(“The determination of whether a claim is a derivative
  claim or a direct claim is made by reference to the nature of the wrongs alleged in the complaint, and is not limited by
  a [party’s] characterization or stated intention.”)(cleaned up).

                                                             80
Case 3:23-cv-02071-E             Document 1-1            Filed 09/15/23           Page 631 of 678           PageID 637



  may continue as a dual-natured claim ‘must turn solely on the following questions: (1) who

  suffered the alleged harm (the corporation or the suing stockholders, individually); and (2) who

  would receive the benefit of any recovery or other remedy (the corporation or the stockholders,

  individually)?’”229 “In addition, to prove that a claim is direct, a plaintiff ‘must demonstrate that

  the duty breached was owed to the stockholder and that he or she can prevail without showing an

  injury to the corporation.’”230 Similarly, in the bankruptcy context, whether a creditor can assert

  a claim directly or whether the claim belongs to the estate turns on the nature of the injury for

  which relief is sought: “[i]f the harm to the creditor comes about only because of harm to the

  debtor, then its injury is derivative, and the claim is property of the estate,” such that “only the

  bankruptcy trustee has standing to pursue the claim for the estate . . . .”231 “To pursue a claim on

  its own behalf, a creditor must show this direct injury is not dependent on injury to the estate.”232

           As a reminder, HMIT argues that the injury it has suffered is a devaluation of its interests

  in the Claimant Trust by virtue of alleged over-compensation of Seery as the Claimant Trustee.

  HMIT was unable, when pressed during closing arguments, to identify any other injury. It

  essentially admitted that the claims trades, in and of themselves, would not have harmed the

  Claimant Trust, the Reorganized Debtor, or individual stakeholders, including HMIT, since the

  Claims Purchasers acquired already allowed unsecured claims, such that the distributions on

  those claims pursuant to the Plan would be unchanged in the hands of new holders of the claims.



  229
      El Paso, 152 A.3d at 1260 (quoting Tooley v. Donaldson, Lufkin & Jenrette, Inc., 845 A.2d 1031, 1033 (Del. 2004))
  (emphasis in original).
  230
      Id. (quoting Tooley, 845 A.2d at 1033); see also Schmermerhorn, 2011 WL 111427, at *24 (same).
  231
      Meridian Cap. CIS Fund v. Burton (In re Buccaneer Res., L.L.C.), 912 F.3d 291, 293 (5th Cir. 2019) (citing 11
  U.S.C. § 541(a)(1)).
  232
      Id.; see also Schertz-Cibolo-Universal City Indep. Sch. Dist. v. Wright (In re Educators Grp. Health Tr.), 25 F.3d
  1281, 1284 (5th Cir. 1994)(“If a cause of action alleges only indirect harm to a creditor (i.e., an injury which derives
  from harm to the debtor), and the debtor could have raised a claim for its direct injury under the applicable law, then
  the cause of action belongs to the estate.”)(citations omitted).

                                                            81
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23           Page 632 of 678            PageID 638



  Thus, by its own concessions, any alleged harm to HMIT (through devaluation of assets in the

  Claimant Trust) “comes about only because of harm to the debtor,” so the alleged “injury is

  derivative.”233 The court concludes that all of the claims set forth in the Proposed Complaint allege

  derivative claims only, and that none would be direct claims against the Proposed Defendants.

  Thus, HMIT would lack prudential standing to bring any of the Proposed Claims in the Proposed

  Complaint, so its Motion for Leave should be denied.

                d) Some Final Points Regarding Standing.

           In this standing discussion, one should not lose sight of the fact that there are both

  procedural safeguards in place, as well as certain independent individuals in place with fiduciary

  duties that might act in the event of any shenanigans regarding Claimant Trust activities. Under

  section 4.1 of the CTA (approved as part of the Plan process), the CTOB, which includes an

  independent disinterested member in addition to representatives of the Claims Purchasers,234

  oversees the Claimant Trustee’s performance of his duties, approves his compensation, and may

  remove him for cause. Moreover, there is a separate “Litigation Trustee” in this case who was

  brought in, post-confirmation, as an independent fiduciary to pursue claims and causes of action.

  These independent persons are checks and balances in the post-confirmation wind down of

  Highland. This is what creditors voted on in connection with the Plan. Seery and the Claims

  Purchasers are not in sole control of anything. The CTA, as well as Delaware law, very clearly set

  forth who can bring an action in the event of some colorable claim. This is the reality of prudential



  233
      Meridian, 912 F.3d at 293–94 (“The creditors’ injury (reduced bankruptcy recovery) derived from injury to the
  debtor (the loss of estate assets), so only the estate could sue the third parties.”); see also El Paso, 152 A.3d at 1260–
  61 & n.60 (holding that claim “claims of corporate overpayment are normally treated as causing harm solely to the
  corporation and, thus, are regarded as derivative”) (collecting cases); Gerber v EPE Holdings, LLC, 2013 WL 209658,
  at *12 (Del. Ch. Jan. 18, 2013) (holding that claims were derivative because plaintiff had “not identified any
  independent harm suffered by the limited partners”; “the partnership suffered all the harm at issue—it paid too much”).
  234
      See supra note 23 and accompanying text.

                                                             82
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 633 of 678          PageID 639



  standing. Just as in the Abraugh case, where Louisiana law dictated that a mother could not bring

  a wrongful death case when the deceased prisoner had a surviving wife and child, Delaware law

  and the CTA dictate here that a contingent beneficiary cannot bring the Proposed Claims here.

  This is separate and apart from whether the claims are colorable.

        C. Are the Proposed Claims “Colorable”?

        1. What is the Proper Standard of Review for a “Colorability” Determination?

           Although the court has determined that HMIT would not have standing (constitutional or

  prudential) to bring the Proposed Claims, this court will nevertheless evaluate whether the

  claims—assuming HMIT somehow has standing—might be “colorable.” This, in turn, requires

  the court to assess what the legal standard is to determine if a claim is “colorable.” As a reminder,

  the Plan’s Gatekeeper Provision and this court’s prior Gatekeeper Orders entered in January and

  July 2020 each required that, before a party may commence or pursue claims relating to the

  bankruptcy case against certain protected parties, it must first obtain a finding from the bankruptcy

  court that its proposed claims are “colorable.” The Gatekeeper Provision and Gatekeeper Orders

  did not specifically define “colorable” or what type of legal standard should apply.

           HMIT argues that the standard for review to be applied by this court is the same as a simple

  “plausibility” standard used in connection with a Rule 12(b)(6) motions to dismiss. In other words,

  the court should simply assess whether the allegations of the Proposed Complaint, taken as true

  and with all inferences drawn in favor of the movant, state a plausible claim for relief (i.e.,

  colorable equals plausible), and that this standard does not allow for the weighing of evidence by

  the court.235 The Proposed Defendants, however, argue that the test for colorability should be more




  235
     Reply, ¶ 5 (“[T]he determination of ‘colorability’ does not allow the ‘weighing’ of evidence. At most, a Rule
  12(b)(6) ‘plausibility’ standard applies.”).

                                                        83
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23   Page 634 of 678    PageID 640



  akin to the test applied under the Barton doctrine,236 under which a plaintiff must make a prima

  facie case that a proposed claim against a bankruptcy trustee is “not without foundation.” In this

  regard, they argue that the court can and should consider evidence outside of the four corners of

  the complaint—especially since HMIT attached to its Motion for Leave, as “evidence” to support

  it, two declarations of Dondero (as part of a 350-page attachment) and only attempted to withdraw

  those declarations after the Highland Parties urged that they be permitted to cross-examine

  Dondero on them.

          This court ultimately determined that the “colorability” standard was somewhat of a mixed

  question of fact and law and, therefore, the parties could put on evidence at the June 8 Hearing if

  they so-chose. The court would not require it. It was up to the parties. But, in any event, the

  Proposed Defendants should have an opportunity to cross-examine Dondero on the statements

  made in his declarations since the declarations had been filed on the docket and the court had

  reviewed them at this point. HMIT attempted to withdraw the declarations and any reference to

  them in the Motion for Leave, by filing redacted versions of the Motion for Leave,237 less than 72

  hours before the June 8 Hearing; however, the redacted versions did not redact any allegations in

  the Motion for Leave that were purportedly supported by the Dondero declarations. Also, HMIT

  called Dondero as a direct witness, in addition to calling Seery as an adverse witness at the June 8

  Hearing, albeit subject to its running objection to the evidentiary format of the hearing.238 HMIT

  also filed a witness and exhibit list attaching 80 exhibits and over 2850 pages of evidence and




  236
      Barton v. Barbour, 104 U.S. 126 (1881).
  237
      Bankr. Dkt. Nos. 3815 and 3816.
  238
      See June 8 Hearing Transcript, 7:20-24, 112:11-13.

                                                           84
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 635 of 678         PageID 641



  moved for the admission of those exhibits at the June 8 Hearing (again, subject to its running

  objection to the evidentiary format of the hearing).239

          In determining what appropriate legal standard applies here in the “colorability” analysis,

  the context in which the Gatekeeper Provision of the Plan was approved seems very relevant. In

  determining that the Gatekeeper Provision was legal, necessary, and in the best interest of all of

  the parties, this court set forth in the Confirmation Order a lengthy discussion of the factual support

  for it, and made specific findings relating to Dondero’s post-petition litigation and the need for

  inclusion of the Gatekeeper Provision in the Plan.240 This court observed that “prior to the

  commencement of the Debtor’s bankruptcy case, and while under the direction of Dondero, the

  Debtor had been involved in a myriad of litigation, some of which had gone on for years and, in

  some cases, over a decade” and that “[d]uring the last several months, Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor.”241 This court further found that: (1) Dondero’s post-

  petition litigation “was a result of Dondero failing to obtain creditor support for his plan proposal

  and consistent with his comments, as set forth in Seery’s credible testimony, that if Dondero’s plan

  proposal was not accepted, he would ‘burn down the place,’”242 (2) without the Gatekeeper

  Provision in place, “Dondero and his related entities will likely commence litigation against the

  Protected Parties after the Effective Date” and that “the threat of continued litigation by Dondero

  and his related entities after the Effective Date will impede efforts by the Claimant Trust to

  monetize assets for the benefit of creditors and result in lower distributions to creditors because of


  239
      See Hunter Mountain Investment Trust’s Witness and Exhibit List in Connection with Its Emergency Motion for
  Leave to File Verified Adversary Proceeding, and Supplement (“HMIT W&E List”)[Bankr. Dkt. No. 3818] and n.1
  thereto; see also June 8 Hearing Transcript, 33:7-10.
  240
      See Confirmation Order ¶¶ 76-79.
  241
      Id. ¶ 77.
  242
      Id. ¶ 78. See supra note 12.

                                                        85
Case 3:23-cv-02071-E            Document 1-1          Filed 09/15/23          Page 636 of 678          PageID 642



  costs and distraction such litigation or the threats of such litigation would cause,”243 and, (3)

  “unless the [court] approves the Gatekeeper Provision, the Claimant Trustee and the Claimant

  Trust Oversight Board will not be able to obtain D&O insurance,244 the absence of which will

  present unacceptable risks to parties currently willing to serve in such roles.” Thus, as set forth in

  the Confirmation Order, the Gatekeeper Provision (and the Gatekeeper Orders as well, which were

  approved based on the same concerns regarding the threat of continued litigation by Dondero and

  his related entities) required Dondero and related entities to make a threshold showing of

  colorability, noting that the:

          Gatekeeper Provision is also within the spirit of the Supreme Court’s “Barton
          Doctrine.” Barton v. Barbour, 104 U.S. 126 (1881). The Gatekeeper Provision is
          also consistent with the notion of a prefiling injunction to deter vexatious litigants,
          that has been approved by the Fifth Circuit in such cases as Baum v. Blue Moon
          Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811
          (5th Cir. 2017).”245

          The Fifth Circuit, in approving the Gatekeeper Provision on appeal, noted that that the Plan

  injunction and Gatekeeper Provision “screen and prevent bad-faith litigation against Highland

  Capital, its successors, and other bankruptcy participants that could disrupt the Plan’s

  effectiveness.”246

          Again, the court believes it is appropriate to consider the context in which—and the

  purpose for which—the Gatekeeper Orders and Gatekeeper Provision were entered in assessing




  243
      Id.
  244
      Asd noted at ⁋ 79 of the Confirmation Order, the bankruptcy court heard testimony from Mark Tauber, a Vice
  President with AON Financial Services, the Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O
  insurance for the post-confirmation parties implementing the Plan. Mr. Tauber credibly testified that of all the
  insurance carriers that AON approached to provide D&O insurance coverage after the Effective Date, the only one
  willing to do so without an exclusion for claims asserted by Mr. Dondero and his affiliates required that the
  Confirmation Order approve the Gatekeeper Provision.
  245
      Id. ¶ 80.
  246
      NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P. (In re Highland Cap. Mgmt., L.P.), 48 F.4th 419, 435 (5th
  Cir. 2022).

                                                         86
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 637 of 678           PageID 643



  how “colorability” should work here. It seems that applying HMIT’s proposed Rule 12(b)(6)

  “plausibility” standard would impose no hurdle at all to litigants and would render the threshold

  for bringing claims under the Gatekeeper Provision and Gatekeeper Orders entirely duplicative of

  the motion to dismiss standard that every litigant already faces.

           The authorities cited by HMIT in support of its argument for applying a Rule 12(b)(6)

  standard are inapposite. HMIT has cited no authority that addresses the appropriate standard for

  assessing the “colorability” of claims in the context of a plan gatekeeper provision—specifically,

  one implemented in response to a demonstrated need to screen and prevent continued bad-faith,

  harassing litigation against a chapter 11 debtor that would impede the debtor’s implementation of

  a plan, which is what we have here. HMIT relies on a bevy of cases that include benefits coverage

  disputes under ERISA, Medicare coverage disputes, and constitutional challenges247—none of

  which implicate the Barton doctrine and vexatious-litigant concerns that were referenced by the

  court in the Plan as justifications for the gatekeeping provisions at issue here.

           In affirming the Plan’s Gatekeeper Provision, the Fifth Circuit stated, “Courts have long

  recognized bankruptcy courts can perform a gatekeeping function” and noted, by way of example,

  that “[u]nder the ‘Barton doctrine,’ the bankruptcy court may require a party to ‘obtain leave of


  247
     See Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002)
  (assessing whether an employee has “a colorable claim to vested benefits” such that the employee may be considered
  a “participant” under ERISA); Abraham v. Exxon Corp., 85 F.3d 1126, 1129 (5th Cir. 1996) (same); Panaras v. Liquid
  Carbonic Indus. Corp., 74 F.3d 786, 790 (7th Cir. 1996) (same); Lake Eugenie Land & Dev., Inc. v. BP Expl. & Prods.
  (In re Deepwater Horizon), 732 F.3d 326, 340 (5th Cir. 2013) (holding that claims administrator incorrectly interpreted
  class settlement agreement by permitting “claimants [with] no colorable legal claim” to receive awards); Richardson
  v. United States, 468 U.S. 317, 326 n.6 (1984) (discussing whether criminal defendant’s double jeopardy claim was
  “colorable” such that it could be appealed before final judgments); Trippodo v. SP Plus Corp., 2021 WL 2446204, at
  *3 (S.D. Tex. June 15, 2021) (assessing whether plaintiff stated a “colorable claim” against proposed additional
  defendants in determining whether plaintiff could amend complaint); Reyes v. Vanmatre, 2021 WL 5905557, at *3
  (S.D. Tex. Dec. 13, 2021) (same); Family Rehab., Inc. v. Azar, 886 F.3d 496, 504 n.15 (5th Cir. 2018) (assessing
  whether plaintiff raised a “colorable claim” to warrant the district court’s exercise of jurisdiction over a Medicare
  coverage dispute); Am. Med. Hospice Care, LLC v. Azar, 2020 WL 9814144, at *5 (W.D. Tex. Dec. 9, 2020) (same);
  Harry v. Colvin, 2013 WL 12174300, at *5 (W.D. Tex. Nov. 6, 2013) (considering whether plaintiff asserted a
  “colorable constitutional claim” such that the court could exercise jurisdiction); Sabhari v. Mukasey, 522 F.3d 842,
  844 (8th Cir. 2008) (same); Stanley v. Gonzales, 476 F.3d 653, 657 (9th Cir. 2007) (same).

                                                            87
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 638 of 678          PageID 644



  the bankruptcy court before initiating an action in district court when the action is against the

  trustee or other bankruptcy-court-appointed officer, for acts done in the actor’s official

  capacity.”248 As noted above, the Fifth Circuit found that the Gatekeeper Provision, which

  “requires that, before any lawsuit is filed, the plaintiff must seek the bankruptcy court’s approval

  of the claim as ‘colorable’”—i.e., to “screen and prevent bad-faith litigation,”—is “sound.”249

          On balance, the court views jurisprudence applying the Barton doctrine and vexatious

  litigant injunctions—while not specifically addressing the “colorability” standard under

  gatekeeping provisions in a plan250—as more informative on how to approach “colorability” than

  any of the other authorities presented by the parties. One example is In re VistaCare Group,

  LLC.251

          In VistaCare, the Third Circuit noted that, under the Barton doctrine, “[a] party seeking

  leave of court to sue a trustee must make a prima facie case against the trustee, showing that its

  claim is not without foundation,” and emphasized that the “not without foundation” standard, while

  similar to the standard courts apply in evaluating Rule 12(b)(6) motions to dismiss, “involves a

  greater degree of flexibility” than a Rule 12(b)(6) motion to dismiss because “the bankruptcy court,

  which given its familiarity with the underlying facts and the parties, is uniquely situated to

  determine whether a claim against the trustee has merit,” and “is also uniquely situated to

  determine the potential effect of a judgment against the trustee on the debtor’s estate.”252 To satisfy

  the “prima facie case standard,” “the movant must do more than meet the liberal notice-pleading




  248
      Id. at 438 (cleaned up).
  249
      Id. at 435.
  250
      The court acknowledges that the Barton doctrine itself would not be directly applicable here because HMIT is
  proposing to bring the Proposed Complaint in the bankruptcy court – the “appointing” court of Seery.
  251
      678 F.3d 218 (3d Cir. 2012).
  252
      Id. at 232-233 (cleaned up).

                                                        88
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23            Page 639 of 678            PageID 645



  requirements of Rule 8.”253 “[I]f the [bankruptcy] court relied on mere notice-pleading standards

  rather than evaluating the merits of the allegations, the leave requirement would become

  meaningless.”254 This court agrees with the notion, that “[t]o apply a less stringent standard would

  eviscerate the protections” of the Gatekeeper Provision and Gatekeeper Orders.255 The court notes,

  as well, that courts in the Barton doctrine context regularly hold evidentiary hearings on motions

  for leave to determine if the proposed complaint meets the necessary threshold for pursuing

  litigation. The Third Circuit in VistaCare noted that “[w]hether to hold a hearing [on a motion for

  leave to bring suit against a trustee] is within the sound discretion of the bankruptcy court,”256 and

  that “the decision whether to grant leave may involve a ‘balancing of the interests of all parties

  involved,’” which will ordinarily require an evidentiary hearing.257 The Third Circuit applied “the

  deferential abuse of discretion standard” in considering whether the bankruptcy court’s granting

  of leave should be affirmed on appeal.258



  253
      In re World Mktg. Chi., LLC, 584 B.R. 737, 743 (Bankr. N.D. Ill. 2018) (cleaned up; collecting cases).
  254
      Leighton Holdings, Ltd. v. Belofsky (In re Kids Creek Partners, L.P.), 2000 WL 1761020, at *2 (N.D. Ill. Nov. 30,
  2000).
  255
      World, 584 B.R. at 743 (quoting Leighton, 2000 WL 1761020, at *2).
  256
      VistaCare, 678 F.3d at 232 n.12.
  257
      Id. at 233 (quoting In re Kashani, 190 B.R. 875, 886–87 (9th Cir. BAP 1995)). The Third Circuit noted that the
  bankruptcy court’s holding of an evidentiary hearing on the motion for leave was appropriate (though not required in
  every case)). Id. at 232 n.12.
  258
      Id. at 224 (“We review a bankruptcy court’s decision to grant a motion for leave to sue a trustee under the deferential
  abuse of discretion standard.”) (citing In re Linton, 136 F.3d 544, 546 (7th Cir. 1998); In re Beck Indus., Inc., 725
  F.2d 880, 889 (2d Cir. 1984)). Courts of appeal routinely apply the deferential abuse of discretion standard to a
  bankruptcy court’s decision regarding whether leave should be granted to sue a trustee. Although the Fifth Circuit
  has not squarely addressed this issue, all nine Circuits that have considered this issue have also adopted an abuse-of-
  discretion standard. See In re Bednar, 2021 WL 1625399, at *3 (B.A.P. 10th Cir. Apr. 27, 2021) (“[T]he Bankruptcy
  Court's decision to decline leave to sue the Trustee under the Barton doctrine is reviewed for abuse of discretion . . .
  .”) (citing VistaCare); SEC v. N. Am. Clearing, Inc., 656 F. App’x 969, 973–74 (11th Cir. 2016) (“Although we have
  never determined the standard of review for a challenge to the denial of a Barton motion, other Circuits that have
  considered the issue review a lower court's ruling on a Barton motion for an abuse of discretion.”) (citing VistaCare);
  In re Lupo, 2014 WL 4653064, at *3 (B.A.P. 1st Cir. Sept. 17, 2014) (“Appellate courts review a bankruptcy court's
  decision to deny a motion for leave to sue under the abuse of discretion standard.”) (citing VistaCare); Grant,
  Konvalinka & Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 422 (6th Cir. 2013) (holding that abuse-of-
  discretion standard applies to Barton doctrine); Alexander v. Hedback, 718 F.3d 762 (8th Cir. 2013) (applying abuse-
  of-discretion standard to Barton doctrine).

                                                              89
Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 640 of 678           PageID 646



           The Fifth Circuit has affirmed a bankruptcy court’s conducting of an evidentiary hearing,

  in the context of applying a Barton doctrine analysis as to a proposed lawsuit against a trustee,

  without any concern that the inquiry was somehow improper.259

           Similarly, courts in the vexatious litigant context, where there was an injunction requiring

  a movant to seek leave to pursue claims, have required movants to “show that the claims sought

  to be asserted have sufficient merit,” including that “the proposed filing is both procedural and

  legally sound,” and “that the claims are not brought for any improper purpose, such as

  harassment.”260 “For a prefiling injunction to have the intended impact, it must not merely require

  a reviewing official to apply an already existing level of review,” such as the “plausibility”

  standard for a Rule 12(b)(6) motion.261 Rather, courts apply “an additional layer of review,” and

  “may appropriately deny leave to file when even part of the pleading fails to satisfy the reviewer

  that it warrants a federal civil action” or that the “litigant’s allegations are unlikely,” especially

  “when prior cases have shown the litigant to be untrustworthy or not credible . . . .”262

           In summary, the court rejects HMIT’s positions: (a) that it need only show, at most, that

  the allegations in the Proposed Complaint are “plausible” under the Rule 12(b)(6) standard for

  motions to dismiss; and (b) that this court improperly conducted an evidentiary hearing on the

  Motion for Leave (i.e., that consideration of evidence in this context is impermissible). The court

  notes, again, that HMIT’s argument that this court is not permitted to consider evidence in making

  its “colorability” determination is completely contradictory to HMIT’s actions in filing the Motion



  259
      See Howell v. Adler (In re Grodsky), 2019 WL 2006020, at *4 (Bankr. E.D. La. Apr. 11, 2019) (dismissing an
  action under Barton after “a close examination” by the bankruptcy court of the evidence regarding the trustee’s actions
  and finding that “the plaintiffs’ allegations are not based in fact”), aff’d 799 F. App’x 271 (5th Cir. 2020).
  260
      Silver v. City of San Antonio, 2020 WL 3803922, at *1 (W.D. Tex. July 7, 2020) (denying leave to file lawsuit);
  see also Silver v. Perez, 2020 WL 3790489, at *1 (W.D. Tex. July 7, 2020) (same).
  261
      Silver, 2020 WL 3803922, at *6.
  262
      Id.

                                                            90
Case 3:23-cv-02071-E          Document 1-1      Filed 09/15/23      Page 641 of 678        PageID 647



  for Leave, where it attached two Dondero declarations as part of 350 pages of “objective evidence”

  that “supported” its motion.

          The court concludes that the appropriate standard to be applied in making its “colorability”

  determination in this bankruptcy case, in the exercise of its gatekeeping function pursuant to the

  two Gatekeeper Orders and the Gatekeeper Provision in this Plan, is a broader standard than the

  “plausibility” standard applied to Rule 12(b)(6) motions to dismiss. It is, rather, a standard that

  involves an additional level of review—one that places on the proposed plaintiff a burden of

  making a prima facie case that its proposed claims are not without foundation, are not without

  merit, and are not being pursued for any improper purpose such as harassment. Additionally,

  this court may, and should, take into consideration its knowledge of the bankruptcy proceedings

  and the parties and any additional evidence presented at the hearing on the Motion for Leave. For

  ease of reference, the court will refer to this standard of “colorability” as the “Gatekeeper

  Colorability Test.” The court considers this test as a sort of hybrid of what the Barton doctrine

  contemplates and what courts have applied when considering motions to file suit when a vexatious

  litigant bar order is in place.

      2. HMIT’s Proposed Complaint Does Not Present “Colorable” Claims Under this Court’s
         Gatekeeper Colorability Test or Even Under a Rule 12(b)(6) “Plausibility” Standard.

          The court finds, in the exercise of its gatekeeping function under the Gatekeeper Orders

  and the Gatekeeping Provision in the Plan, that the Motion for Leave should be denied as the

  claims set forth in the Proposed Complaint are not “colorable” claims. The court makes this

  determination after considering evidence admitted at the June 8 Hearing, including the testimony

  of Dondero, Patrick, and Seery, and the numerous exhibits offered by HMIT and the Highland

  Parties. HMIT’s Proposed Claims lack foundation, are without merit, and appear to be motivated

  by the improper purposes of vexatiousness and harassment. But, even under the less stringent


                                                   91
Case 3:23-cv-02071-E                Document 1-1           Filed 09/15/23          Page 642 of 678            PageID 648



  “plausibility” standard under Rule 12(b)(6) motions to dismiss, where all allegations must be

  accepted as true, HMIT’s “[t]hreadbare recitals of the elements of a cause of action, supported by

  mere conclusory statements,” fail to “[]cross the line from conceivable to plausible.”263

              HMIT makes unsubstantiated and conclusory allegations in its Motion for Leave and

  Proposed Complaint that the Claims Purchasers purchased the large allowed unsecured claims only

  because Seery, while he was CEO of Highland prior to the Effective Date of the Plan, provided

  them with MNPI and assurances that the Purchased Claims were very valuable. This was allegedly

  in exchange for their agreement to approve, in their future capacities as members of the CTOB,

  excessive compensation for Seery in his capacity as the Claimant Trustee after the Effective Date

  of the Plan. This was an alleged quid pro quo that HMIT claims establishes Seery’s breach of

  fiduciary duties and the Claims Purchasers’ conspiracy to participate in that breach. As discussed

  below, these allegations are unsubstantiated and conclusory allegations, and they do not support

  the inferences that HMIT needs the court to make when it analyzes whether the Proposed Claims

  are “colorable”—or even merely plausible.

                  a) HMIT’s Proposed Breach of Fiduciary Duties Claim Set Forth in Count I of the
                     Proposed Complaint

              Based on HMIT’s Proposed Complaint and the evidence admitted at the June 8 Hearing,

  the court finds that HMIT has not pleaded facts that would support a “colorable” breach of

  fiduciary duties claim against Seery, under this court’s Gatekeeper Colorability Test, nor a

  plausible claim pursuant to the Rule 12(b) standard. HMIT alleges that Seery breached his

  fiduciary duties (i) “[b]y disclosing material non-public information to Stonehill and Farallon”




  263
        Ashcroft v. Iqbal, 556 U.S. 662, 679–80 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

                                                              92
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 643 of 678           PageID 649



  before their purchase of certain Highland claims, and (ii) by receiving “compensation paid to him

  under the terms of the [CTA] since the Effective Date of the Plan in August 2021.”264

          As earlier noted, both the Reorganized Debtor and the Claimant Trust are organized under

  Delaware law and, thus, its proposed Count I against Seery for breach of fiduciary duties to these

  entities is governed by Delaware law under the “Internal Affairs Doctrine.”265 Under Delaware

  law, “[t]o bring a claim for breach of fiduciary duty, a plaintiff must allege ‘(1) that a fiduciary

  duty existed and (2) that the defendant breached that duty.’”266 HMIT fails to plausibly or

  sufficiently allege either element such that its breach of fiduciary duty claims against Seery could

  survive.

          Under Delaware law, officers and directors generally owe fiduciary duties only to the entity

  and its stakeholders as a whole, not to individual shareholders.267 Because Seery did not owe any

  “duty” to HMIT directly and individually, the Proposed Complaint fails to state a claim for breach

  of fiduciary duties to HMIT. HMIT’s “legal conclusion[]” that Seery “owed fiduciary duties to

  HMIT, as equity, and to the Debtor’s Estate”268 “do[es] not suffice” to plausibly allege the

  existence of any actionable fiduciary relationship.269 And as discussed earlier in the standing

  section, HMIT does not have standing to assert a breach of fiduciary claim derivatively on behalf



  264
      Proposed Complaint ¶¶ 64–67.
  265
      Motion for Leave, ¶ 21 and n.24; see also Plan Art. XII.M (“corporate governance matters . . . shall be governed
  by the laws of the state of organization” of the respective entity); Sagarra Inversiones, S.L. v. Cementos Portland
  Valderrivas, S.A., 34 A.3d 1074, 1081–82 (Del. 2011) (“In American corporation law, the internal affairs doctrine is
  a dominant and overarching choice of law principle.”). The Reorganized Debtor and the Claimant Trust are both
  organized under the laws of Delaware.
  266
      Brooks v. United Dev. Funding III, L.P., 2020 WL 6132230, at *30 (N.D. Tex. Apr. 15, 2020) (quoting Joseph C.
  Bamford & Young Min Ban v. Penfold, L.P., 2020 WL 967942, at *8 (Del. Ch. Feb. 28, 2020)).
  267
      See Gilbert v El Paso Co., 1988 WL 124325, at *9 (Del. Ch. Nov. 21, 1988) (“[D]irectors’ fiduciary duty runs to
  the corporation and to the entire body of shareholders generally, as opposed to specific shareholders or shareholder
  subgroups.”) aff’d, 575 A.2d 1131 (Del. 1990); Klaassen v Allegro Dev. Corp., 2013 WL 5967028, at *11 (Del. Ch.
  Nov. 7, 2013) (same).
  268
      Proposed Complaint ¶ 63.
  269
      Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

                                                          93
Case 3:23-cv-02071-E               Document 1-1           Filed 09/15/23         Page 644 of 678              PageID 650



  of the Claimant Trust or Reorganized Debtor. But even if HMIT had sufficiently alleged the

  existence of a fiduciary duty by Seery to HMIT—or to the Reorganized Debtor or Claimant Trust

  that HMIT would have standing to assert—Seery’s alleged communications with Farallon would

  not have breached those duties.

             HMIT alleges that Seery ““disclose[d] material non-public information to Stonehill and

  Farallon,” and they “acted on inside information and Seery’s secret assurances of great profits.”270

  But the Proposed Complaint does not make any factual allegations regarding HMIT’s “conclusory

  allegations,” and its “legal conclusions” are “purely speculative, devoid of factual support,” and

  therefore “stop[] short of the line between possibility and plausibility of entitlement to relief”271

  (and certainly stop short of being “colorable”). HMIT never alleges when any of these purported

  communications occurred, what material non-public information Seery provided, and what

  “assurances of great profits” he made to Farallon or to Stonehill. At the June 8 Hearing, Dondero

  could only clarify that he believed the MGM Email to have been MNPI and that he believed that

  Seery must have communicated that MNPI to Farallon at some point between December 17, 2020

  (the date the MGM Email was sent) and May 28, 2021 (the day that Dondero alleges to have had

  three telephone calls with representatives of Farallon, Messrs. Patel and Linn, regarding Farallon’s

  purchase of the bankruptcy claims). Dondero alleges that, during these phone calls, Patel and Linn

  gave Dondero no reason for their purchase of the claims that “made [any] sense.” Dondero and

  Patrick also both testified that neither of them had any personal knowledge: (a) of a quid pro quo

  arrangement between Seery and the Claims Purchasers, (b) of Seery having actually communicated

  any information from the MGM Email to Farallon, or (c) whether Seery’s post-Effective Date

  compensation had or had not been negotiated in an arms’ length transaction. Dondero only

  270
        Proposed Complaint ¶¶ 3, 64; see also id. ¶¶ 13–14, 40, 47, 50.
  271
        Reed v. Linehan (In re Soporex, Inc.), 463 B.R. 344, 367, 386 (Bankr. N.D. Tex. 2011) (cleaned up).

                                                             94
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 645 of 678         PageID 651



  speculates regarding these things, because it “made no sense” to him that the Claims Purchasers

  would have acquired the bankruptcy claims without having received the MNPI. But HMIT admits

  in the Proposed Complaint that Farallon and Stonehill purchased the Highland claims at discounts

  of 43% to 65% to their allowed amounts. Thus, they would receive at least an 18% return based

  on publicly available estimates in Highland’s court-approved Disclosure Statement.272 The

  evidence established that, if the acquisition of the UBS claims is excluded—recall that the UBS

  claims were not purchased until August 2021, which was after the May 28, 2021 phones calls that

  Dondero made to Farallon personnel—the Claims Purchasers would have expected to net over $33

  million in profits, or nearly a 30% return on their investment, had Highland met its projections

  (this is based on the aggregate purchase price of $113 million for the non-UBS claims purchased

  in the Spring 2021).

          To be clear, the only purported MNPI identified in HMIT’s Proposed Complaint was the

  MGM Email Dondero sent to Seery containing “information regarding Amazon and Apple’s

  interest in acquiring MGM.” But, the evidence showed that this information was widely reported

  in the financial press at the time. Thus, it could not have constituted MNPI as a matter of law.273

  Moreover, the evidence showed that Dondero did not communicate in the MGM Email the actual

  inside information that he claimed to have obtained as a board member of MGM–which was that

  Amazon had met MGM’s “strike price” and that the MGM board was going into exclusive

  negotiations with Amazon to culminate the merger with them (and, thus, Apple was no longer

  considered a potential purchaser). Dondero admitted that he included Apple in the MGM Email

  for the purpose of making it look like there was a competitive process still ongoing. In other


  272
     Proposed Complaint ¶¶ 3, 37, 42.
  273
     See, e.g., SEC v. Cuban, 2013 WL 791405, at *10–11 (N.D. Tex. Mar. 5, 2013) (holding that information is not
  “material, nonpublic information” and “‘becomes public when disclosed to achieve a broad dissemination to the
  investing public’”) (quoting SEC v. Mayhew, 121 F.3d 44, 50 (2d Cir. 1997)).

                                                        95
Case 3:23-cv-02071-E              Document 1-1            Filed 09/15/23            Page 646 of 678            PageID 652



  words, the MGM Email, at the very least, did not include MNPI and, at worst, was deceptive

  regarding the status of the negotiations between MGM and potential purchasers.

           As to HMIT’s allegations that Seery’s post-Effective Date compensation is “excessive”

  and that the negotiations between Seery and the CTOB “were not arm’s-length,”274 the evidence

  at the June 8 Hearing reflected that the allegations are completely speculative, without any

  foundation whatsoever, and lack merit. And they are also simply not plausible. HMIT fails to

  allege facts in the Proposed Complaint that would support a reasonable inference that Seery

  breached his fiduciary duty to HMIT or the estate as a result of bad faith, self-interest, or other

  intentional misconduct rising to the level of a breach of the duty of loyalty.275

                b) HMIT’s Proposed Claims Set Forth in Counts II (Knowing Participation in Breach
                   of Fiduciaries) and III (Conspiracy)

           HMIT seeks to hold the Claims Purchasers secondarily liable for Seery’s alleged breach of

  fiduciaries duties on an aiding and abetting theory in Count II of the Proposed Complaint276 and,

  along with Seery, on a civil conspiracy theory of liability in Count III of the Proposed

  Complaint.277 Because HMIT’s breach of fiduciary duties claim is governed by Delaware law, its

  aiding and abetting breach of fiduciary duties claim against the Claims Purchasers (Count II) is

  also governed by Delaware law.278 HMIT’s conspiracy cause of action against the Claims




  274
      Proposed Complaint ¶¶ 4, 13, 54, 74.
  275
      See Pfeffer v. Redstone, 965 A.2d 676, 690 (Del. 2009) (dismissing claim for breach of duty of loyalty against a
  director where “conclusory allegations” failed to give rise to inference that director failed to perform fiduciary duties);
  McMillan v. Intercargo Corp., 768 A.2d 492, 507 (Del. Ch. 2000) (dismissing claim for breach of fiduciary duty
  where “[a]though the complaint makes the conclusory allegation that the defendants breached their duty of disclosure
  in a ‘bad faith and knowing manner,’ no facts pled in the complaint buttress that accusation.”).
  276
      Proposed Complaint ¶¶ 69-74.
  277
      Proposed Complaint ¶¶ 75-81.
  278
      See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D. Tex. 2016)
  (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware corporation
  headquartered in Texas).

                                                              96
Case 3:23-cv-02071-E              Document 1-1           Filed 09/15/23           Page 647 of 678            PageID 653



  Purchasers and Seery (Count III), on the other hand, does not involve a matter of “internal affairs”

  or of corporate governance, so it is governed by Texas law under the Plan.279

           As an initial matter, because HMIT does not present either a “colorable”—or even

  plausible claim—that Seery breached his fiduciary duties, it cannot show that it has alleged a

  “colorable” or plausible claim for secondary liability for the same alleged wrongdoing.280 In

  addition, HMIT’s civil conspiracy claim against the Claims Purchasers and Seery is based entirely

  on Dondero’s speculation and unsupported inferences and, thus, HMIT has not “colorably”

  alleged, or even plausibly alleged, its conspiracy claim. Under Texas law, “civil conspiracy is a

  theory of vicarious liability and not an independent tort.”281 “[T]he elements of civil conspiracy

  [are] “(1) two or more persons; (2) an object to be accomplished; (3) a meeting of minds on the

  object or course of action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

  result.”282 While HMIT alleges that “Defendants conspired with each other to unlawfully breach

  fiduciary duties,”283 it is simply a “legal conclusion” and not the kind of allegation that the court

  must assume to be true even for purposes of determining plausibility under a motion to dismiss.284


  279
      Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex. App. – Houston [14th Dist.] 2020) (applying Delaware
  law to fiduciary duty claim and Texas law to conspiracy theory); (Plan Art. XII.M)(which provides for the application
  of Texas law to “the rights and obligations arising under this Plan” except for “corporate governance matters.”)
  280
      See English v. Narang, 2019 WL 1300855, at *14 (Del. Ch. Mar. 20, 2019) (“As a matter of law and logic, there
  cannot be secondary liability for aiding and abetting an alleged harm in the absence of primary liability.”) (cleaned
  up; collecting cases); Hill v. Keliher, 2022 WL 213978, at *10 (Tex. App. Jan. 25, 2022) (“[A] defendant’s liability
  for conspiracy depends on participation in some underlying tort for which the plaintiff seeks to hold at least one of the
  named defendants liable.”) (quoting Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996)). Because HMIT’s breach
  of fiduciary duty claim is governed by Delaware law, its aiding and abetting theory of liability is also governed by
  Delaware law. See Xtreme Power Plan Tr. v. Schindler (In re Xtreme Power), 563 B.R. 614, 632, 645 (Bankr. W.D.
  Tex. 2016) (applying Delaware law to claim for aiding and abetting breach of fiduciary duty involving Delaware
  corporation headquartered in Texas). By contrast, “conspiracy is not an internal affair” or a matter of corporate
  governance, so it is governed by Texas law under the Plan. Klinek v. LuxeYard, Inc., 596 S.W.3d 437, 450 n.9 (Tex.
  App. – Houston [14th Dist.] 2020) (applying Delaware law to fiduciary duty claim and Texas law to conspiracy
  theory); (Plan Art. XII.M).
  281
      Agar Corp., Inc. v. Electro Circuits Int’l, LLC, 580 S.W.3d 136, 142 (Tex. 2019).
  282
      Id. at 141 (cleaned up).
  283
      Proposed Complaint ¶ 76.
  284
      Iqbal, 556 U.S. at 680 (citing Twombly, 555 U.S. at 565–66).

                                                             97
Case 3:23-cv-02071-E               Document 1-1             Filed 09/15/23            Page 648 of 678              PageID 654



  HMIT repeats four times that Seery provided MNPI to Farallon and Stonehill as a “as a quid pro

  quo” for “additional compensation,”285 each time based upon conclusory allegations based “upon

  information and belief” and, frankly, pure speculation from Dondero that his imagined “scheme,”

  “covert quid pro quo,” and secret “conspiracy” between Seery, on the one hand, and Farallon and

  Stonehill, on the other,286 must have occurred because “[i]t made no sense for the [Claims]

  Purchasers to invest millions of dollars for assets that – per the publicly available information –

  did not offer a sufficient potential profit to justify the publicly disclosed risk” (i.e., “[t]he counter-

  intuitive nature of the purchases at issue compels the conclusion that the [Claims] Purchasers acted

  on inside information and Seery’s assurance of great profits.”)287 Importantly, HMIT admits that

  the Claims Purchasers would have turned a profit based on the information available to them at

  the time of their acquisitions of the Purchased Claims.288 HMIT’s allegations about the level of

  potential profits were contradicted by their own allegations and other evidence admitted at the June

  8 Hearing. But Dondero’s speculation about what level of projected return would be sufficient to

  justify the acquisition of the claims by the Claims Purchasers, or any other third-party investor,

  does not give rise to a plausible inference that they acted improperly.289 Thus, HMIT cannot meet


  285
      Proposed Complaint ¶ 77; see also id. ¶¶ 4, 47, 74.
  286
      See id. ¶ 3 (“Thus, acting within a cloak of secrecy, Seery provided close business acquaintances, the other
  Defendants with material non-public information concerning the value of assets which they then used to purchase the
  largest approved unsecured claims.”).
  287
      Id.
  288
      See, e.g., id. ¶ 3 (alleging that acquiring the claims “did not offer a sufficient potential profit to justify the publicly
  disclosed risk”)(emphasis added); ¶ 43 (“Furthermore, although the publicly available projections suggested only
  a small margin of error on any profit potential for its significant investment . . . .”); ¶ 49 (“Yet, in this case, it would
  have been impossible for Stonehill and Farallon (in the absence of inside information) to forecast any significant profit
  at the time of their multi-million-dollar investments given the publicly available, negative financial information.”)
  (third emphasis added).
  289
      In fact, the court did not allow Mr. Dondero to testify regarding what kind of information a hypothetical investor
  in bankruptcy claims would require or what level of potential profits would justify the purchase of bankruptcy claims
  by investors in the bankruptcy claims trading market because he was testifying as a fact witness, not an expert. Thus,
  the court only allowed Dondero to testify as to what data he (or entities he controls or controlled) would rely on, what
  his risk tolerance would have been, and what level of potential profits he would have required to purchase an allowed
  unsecured bankruptcy claim in a post-confirmation situation. June 8 Hearing Transcript, 129:6-130:4.

                                                                98
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 649 of 678          PageID 655



  its burden, under the Gatekeeper Colorability Test, of making a prima facie showing that its

  allegations do not lack foundation or merit. Nor can it meet a plausibility standard.

          In addition, contrary to the Proposed Complaint’s statement that it would have been

  “impossible for Stonehill and Farallon (in the absence of insider information) to forecast any

  significant profit at the time of their multi-million-dollar investments,” the evidence showed there

  were already reports in the financial press that MGM was engaging with Amazon, Apple, and

  others in selling its media portfolio, and thus the prospect of an MGM transaction increasing the

  value of, and return on, the Purchased Claims, “at the time of their multi-million-dollar

  investments” was publicly available information.290                HMIT’s suggestion that the Claims

  Purchasers were in possession of inside information not publicly available when they acquired the

  Purchased Claims is simply not plausible. Nor is HMIT’s allegation that “[u]pon information and

  belief” Farallon “conducted no due diligence but relied on Seery’s profit guarantees” plausible.

  The allegations regarding Farallon not conducting any due diligence are based, again, entirely on

  Dondero’s speculation and inferences he made from what Patel and Linn (of Farallon) allegedly

  told him on May 28, 2021; Dondero did not testify that either Patel or Linn ever told him

  specifically that they had conducted no due diligence. HMIT’s allegations in the Proposed

  Complaint that Farallon “conducted no due diligence,” are based on Dondero’s speculation,

  unsubstantiated, and contradicted by the testimony of Seery, who testified that emails to him from

  Linn in June 2020 and later in January 2021 indicated to him that Farallon, at least, had been

  conducting some level of due diligence in that they had been following and paying attention to the




  290
      The court notes, as well, that the Claim Purchasers acquired the UBS claims in August 2021—approximately two
  and a half months after the announcement of the MGM-Amazon transaction (which was on May 26, 2021)—a fact
  that HMIT makes no attempt to harmonize with its conspiracy theory that the Claims Purchasers profited from the
  misuse of MNPI allegedly given to them by Seery.

                                                        99
Case 3:23-cv-02071-E             Document 1-1    Filed 09/15/23      Page 650 of 678       PageID 656



  Highland case.291 In addition, there are no allegations in the Proposed Complaint regarding

  whether Stonehill conducted due diligence or not, and Patrick testified that neither he nor HMIT

  had any personal knowledge of how much due diligence Farallon or Stonehill did prior to acquiring

  the Purchased Claims.292 The court finds and concludes that HMIT’s allegations of aiding and

  abetting and conspiracy in Counts II and III of the Proposed Complaint are based on

  unsubstantiated inferences and speculation, lack internal consistency, and lack consistency with

  verifiable public facts. Accordingly, HMIT has failed to show that these claims have a foundation

  and merit and has also failed to show that they are plausible.

               c) HMIT’s Proposed Claims Set Forth in Counts IV (Equitable Disallowance), V
                  (Unjust Enrichment and Constructive Trust), and VI (Declaratory Relief) of the
                  Proposed Complaint

             i.    Count IV (Equitable Disallowance).

          In Count IV of its Proposed Complaint, HMIT seeks “equitable disallowance” of the claims

  acquired by Farallon’s and Stonehill’s special purpose entities Muck and Jessup, “to the extent

  over and above their initial investment,” and, in the alternative, equitable subordination of their

  claims to all claims and interests, including HMIT’s unvested Class 10 Contingent Claimant Trust

  Interest, “given [their] willful, inequitable, bad faith conduct” of allegedly “purchasing the Claims

  based on material non-public information” and being “unfairly advantaged” in “earning significant

  profits on their purchases.”293 As noted above, these remedies are not available to HMIT.294

          First, HMIT’s request to equitably subordinate the Purchased Claims to all claims and

  interests is not permitted because Bankruptcy Code § 510(c), by its terms, permits equitable




  291
      See June 8 Hearing Transcript, 239:6-21.
  292
      See id., 310:19-312:2.
  293
      Proposed Complaint ¶¶ 83-87.
  294
      See infra pages 74-75.

                                                  100
Case 3:23-cv-02071-E                Document 1-1           Filed 09/15/23   Page 651 of 678   PageID 657



  subordination of a claim to other claims or an interest to other interests but does not permit

  equitable subordination of a claim to interests.

              Second, “equitable” disallowance of claims is not an available remedy in the Fifth Circuit

  pursuant to the Mobile Steel case.295

              Third, reconsideration of an already-allowed claim in a bankruptcy case can only be

  accomplished through Bankruptcy Code § 502(j), which, pursuant to Federal Rule of Bankruptcy

  Procedure 9024, allows reconsideration of allowance of a claim that was allowed following a

  contest (which is certainly the case with respect to the Purchased Claims) based on the “equities

  of the case.” But this is only if the request for reconsideration is made within the one-year

  limitation prescribed in Rule 60(c) of the Federal Rules of Civil Procedure. HMIT’s request for

  disallowance of Muck and Jessup’s Purchased Claims (if it could somehow be construed as a

  request for reconsideration of their claims), is clearly untimely, as it is being made well beyond a

  year since their allowance by this court following contests and approval of Rule 9019 settlements.

  Thus, the court finds that HMIT has not alleged a colorable or even plausible claim in Count IV

  of the Proposed Complaint and, therefore, the Motion for Leave should be denied.

                ii.    Count V (Unjust Enrichment and Constructive Trust)

              In Count V of the Proposed Complaint, HMIT alleges that, “by acquiring the Claims using

  [MNPI], Stonehill and Farallon were unjustly enriched and gained an undue advantage over other

  creditors and former equity” and that “[a]llowing [the Claims Purchasers] to retain their ill-gotten

  benefits would be unconscionable;” thus, HMIT alleges, the Claims Purchasers “should be forced

  to disgorge all distributions over and above their original investment in the Claims as restitution

  for their unjust enrichment” and “a constructive trust should be imposed on such proceeds . . . .”296

  295
        In re Mobile Steel Co., Inc., 563 F.2d 692 (5th Cir. 1977).
  296
        Proposed Complaint ¶¶ 89-93.

                                                              101
Case 3:23-cv-02071-E            Document 1-1           Filed 09/15/23          Page 652 of 678           PageID 658



  HMIT alleges further that “Seery was also unjustly enriched by his participation in this scheme

  and he should be required to disgorge or restitute all compensation he has received from the outset

  of his collusive activities” and “[a]lternatively he should be required to disgorge and restitute all

  compensation received since the Effective Date” over which a constructive trust should be

  imposed.297 HMIT has not alleged a colorable or even a plausible claim for unjust enrichment or

  constructive trust in Count V.

          Under Texas law,298 “[u]njust enrichment is not an independent cause of action but rather

  characterizes the result of a failure to make restitution of benefits either wrongfully or passively

  received under circumstances which give rise to an implied or quasi-contractual obligation to

  repay.”299 Thus, “when a valid, express contract covers the subject matter of the parties’ dispute,

  there can be no recovery under a quasi-contract theory.”300 Here, as noted above, HMIT’s only

  alleged injury is a diminution of the value of its unvested Contingent Claimant Trust Interest by

  virtue of Seery’s allegedly having wrongfully obtained excessive compensation, with the help of

  the Claims Purchasers. Yet Seery’s compensation is governed by express agreements (i.e., the

  Plan and the CTA). Thus, HMIT’s claim based on unjust enrichment is not an available theory of

  recovery.

            iii.   Count VI (Declaratory Relief)

          HMIT seeks declaratory relief in Count VI of the Proposed Complaint, essentially, that

  Dondero’s conspiracy theory is correct and that HMIT’s would succeed on the merits with respect



  297
      Id. ¶ 94.
  298
      Under the Plan, Texas law governs HMIT’s “claim” for unjust enrichment because it is not a “corporate governance
  matter.” (Plan Art. XII.M.) It also governs HMIT’s “claim” for constructive trust, which “is merely a remedy used to
  grant relief on the underlying cause of action.” Sherer v. Sherer, 393 S.W.3d 480, 491 (Tex. App. 2013).
  299
      Taylor v. Trevino, 569 F. Supp. 3d 414, 435 (N.D. Tex. 2021) (cleaned up); see also Yowell v. Granite Operating
  Co., 630 S.W.3d 566, 578 (Tex. App. 2021) (same).
  300
      Taylor, 569 F. Supp. 3d at 435 (quoting Fortune Prod. Co. v. Conoco, Inc., 52 S.W.3d 671, 684 (Tex. 2000)).

                                                          102
Case 3:23-cv-02071-E           Document 1-1          Filed 09/15/23         Page 653 of 678          PageID 659



  to the Proposed Claims if it were permitted leave to bring them in an adversary proceeding.301 But,

  a request for declaratory relief is not “an independent cause of action”302 and “in the absence of

  any underlying viable claims such relief is unavailable.”303 This court has already found and

  concluded that HMIT would not have constitutional or prudential standing to bring the underlying

  causes of action in the Proposed Complaint. This court has also found and concluded that all of

  the Proposed Claims are without foundation or merit and are not even plausible and are all; being

  brought for the improper purpose of continuing Dondero’s vexatious, harassing, bad-faith

  litigation. Thus, HMIT would not be entitled to pursue declaratory judgement relief as requested

  in Count VI of the Proposed Complaint.

              d) HMIT Has No Basis to Seek Punitive Damages

          HMIT separately alleges that the Claims Purchasers’ and Seery’s “misconduct was

  intentional, knowing, willful, in bad faith, fraudulent, and in total disregard of the rights of others,”

  thus entitling HMIT to an award of punitive damages under applicable law. But, HMIT abandoned

  its proposed fraud claim that was in its Original Proposed Complaint, so its sole claim for primary

  liability is Seery’s alleged breach of his fiduciary duties. And under Delaware law, the “court

  cannot award punitive damages in [a] fiduciary duty action.”304




  301
      Proposed Complaint ¶¶ 96-99.
  302
      See Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 932 (5th Cir. 2023).
  303
      Green v. Wells Fargo Home Mtg., 2016 WL 3746276, at *2 (S.D. Tex. June 7, 2016) (citing Collin Cty. v.
  Homeowners Ass’n for Values Essential to Neighborhoods, 915 F.2d 167, 170–71 (5th Cir. 1990)); see also Hopkins
  v. Cornerstone Am.
  304
      Buchwald v. Renco Grp. (In re Magnesium Corp. of Am.), 539 B.R. 31, 52 (S.D.N.Y. 2015) (citing Gesoff v. IIC
  Indus., Inc., 902 A.2d 1130, 1154 (Del. Ch. 2006)), aff’d 682 F. App’x 24 (2d Cir. 2017).

                                                        103
Case 3:23-cv-02071-E        Document 1-1       Filed 09/15/23       Page 654 of 678       PageID 660



     3. HMIT Does Not Present “Colorable” Claims Under this Court’s Gatekeeper Colorability
        Test Because It Seeks to Bring the Proposed Complaint for Improper Purposes of
        Harassment and Bad-Faith, Vexatiousness.

         Under this court’s Gatekeeper Colorability Test, in addition to showing that its allegations

  and claims are not without foundation or merit, HMIT must also show that the Proposed Claims

  are not being brought for any improper purpose. Taking into consideration the court’s knowledge

  of the bankruptcy proceedings and the parties and the evidence presented at the hearing on the

  Motion for Leave, the court finds that HMIT is acting at the behest of, and under the control or

  influence of, Dondero in continuing to pursue harassing, bad faith, vexatious litigation to achieve

  his desired result in these bankruptcy proceedings. So, in addition to failing to show that its

  Proposed Claims have foundation and merit, HMIT cannot show that it is pursuing the Proposed

  Claims for a proper purpose and, thus, cannot meet the requirements under the Gatekeeper

  Colorability Test; HMIT’s Motion for Leave should be denied.

         IV.     CONCLUSION

         The court concludes, having taken into consideration both its knowledge of the bankruptcy

  proceedings and the parties and the evidence presented at the hearing on the Motion for Leave,

  that HMIT’s Motion for Leave should be denied for three independent reasons: (1) HMIT would

  lack constitutional standing to bring the Proposed Claims (and, thus, the federal courts would lack

  subject matter jurisdiction over the Proposed Claims); (2) even if HMIT would have constitutional

  standing to pursue the Proposed Claims, it would lack prudential standing to bring the Proposed

  Claims; and (3) even if HMIT would have both constitutional standing and prudential standing to

  bring the Proposed Claims, it has not met its burden under the Gatekeeper Colorability Test of

  showing that its Proposed Claims are “colorable” claims—that the Proposed Claims are not

  without foundation, not without merit, and not being pursued for an improper purpose. Moreover,



                                                 104
Case 3:23-cv-02071-E        Document 1-1       Filed 09/15/23       Page 655 of 678   PageID 661



  even if this court’s Gatekeeper Colorability Test should be replaced with a Rule 12(b)(6)

  “plausibility” standard, the Proposed Claims are not plausible.

         Accordingly,

         IT IS ORDERED that HMIT’s Motion for Leave be, and hereby is DENIED.

                        ###End of Memorandum Opinion and Order###




                                                 105
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                 1234252678ÿ5:;<=>3??<@A8ÿ35B3C48
        Case 3:23-cv-02071-E
                                                 ÿD>EF:;=G:>3??<@APage
                                         Document 1-1
                                                Filed 09/15/23
                                                                  8ÿ3CC2348ÿ1<@A<H5I=GJ<K>8ÿLMN518
                                                                       656 of 678 PageID 662
                                             OP3N1QN8ÿP2LRPS8ÿFA@:JT3U<K>8ÿ267QVQO18ÿFRSC426
                                               MW1WÿV@KX;G?>=YÿFIG;>
                                          NI;>E<;Kÿ5:T>;:=>ÿIZÿO<[@Tÿ\5@AA@T]
                                         V@KX;G?>=YÿC<>:>:IKÿ^_ÿ̀abcdeDdbTUf``
                                                                                                       olÿilmqÿÿ
 ghhijklmÿopqÿstuvwÿxyz{|}~ÿ}ÿyvÿÿv|zuyz                                       olÿkÿpkilmqÿÿ
 sty~v|ÿ                                                                                     olÿokhllmqÿÿ
 }zy|                                                                                       kÿpkilmqÿÿ
 v                                                                                               ÿlloikjqÿÿ
                                                                                     lmiklÿpÿiikjÿihqÿÿ
                                                                               lmiklÿpÿiikjÿihÿjp¡o¢£qÿÿ¤
 ¥¦§¨©ª                                                                 |v~|vvzvÿ³´@=E<;Yÿ́Wÿ3KK@µA<
 7:UEA@KHÿF@?:>@AÿS@K@U<J<K>8ÿ4WCW                                                    ¶y·y|ÿ̧±±s
 ÿs|vvzÿs}|                                                                   «ÿ¹ºÿsvz|yÿ»¼~|v·y
 }uvÿ«                                                                           }uvÿ
 ¬yy­ÿ®¯ÿ°«                                                                     ¬yy­ÿ®¯ÿ°«¤
 ¬±±²®¯                                                                            ½°¾ÿ°««²°
                                                                                      ¿y¼ÿÀÿ½°¾ÿ°««²°
                                                                                      »ÁyuÀÿÂyzzy³vÃty·y|wu|ÁºÁ
                                                                                      Ä<KK<>Eÿ7WÿV;IÅK
                                                                                      ¸yt}{uÿyzÿÆuvtÿÇÿzvÿ±±¸
                                                                                      «ÿsyuw|zuyÿ|vv­ÿ«tÿ¿|
                                                                                      yzÿ¿|yzu­ÿsÿ²«
                                                                                      «²¤²°
                                                                                      ¿y¼ÿÀÿ«²¤²°
                                                                                      »ÁyuÀÿtu³³y|Ãzv¬yºÁ
                                                                                      5@È:HÿÉ;@K>ÿF;IIXT
                                                                                      ¿¼ÿÊttuÿ±±¸
                                                                                      «ÿ±xÿ¿|vv·y­ÿ}uvÿ
                                                                                      ¬yy­ÿ®¯ÿ°«
                                                                                      ½°¾ÿ²
                                                                                      ¿y¼ÿÀÿ½°¾ÿ²«
                                                                                      »ÁyuÀÿ|{Ãw¼|ttuºÁ
                                                                                      É;<UI;YÿBWÿ5<JI
                                                                                      ¸yt}{uÿyzÿÆuvtÿÇÿzvÿ±º±º̧º
                                                                                      °ÿ®tu|ÿËvz}v
                                                                                      ¹v·ÿÌ|{­ÿ¹Ìÿ°²
                                                                                      ½¾ÿ«²°°
                                                                                      ¿y¼ÿÀÿ½¾ÿ«²°°°°
                                                                                      »ÁyuÀÿvÁÃ~ÂÍy·ºÁ
                                                                                      Î<ZZ;<YÿSWÿ5:K<
                                                                                      ¸yt}{uÿyzÿÆuvtÿÇÿzvÿ±±¸
                                                                                      °ÿ®tu|ÿËvz}v
                                                                                      ¤tÿ¿|
                                                                                      ¹v·ÿÌ|{­ÿ¹Ìÿ°
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                    2134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23             121345236674 PageID 663
                                                                                         Page 657 of 678
                                                                                           89:ÿ<ÿ121345236666
                                                                                           =>?@ABÿD>@EÿF@GHIB@GH
                                                                                           J9KLMNOPQÿRS9TUÿVQWLNÿXÿYZTWOÿ[[J
                                                                                           6\]ÿ^LQ_`ÿabWTMWcÿ7dSLÿ8NZZ_
                                                                                           eWfÿgZ_Pcÿegÿ2]]2631]1d
                                                                                           h121iÿ452366]]
                                                                                           89:ÿ<ÿh121iÿ45236666
                                                                                           jk9QN<ÿ_lWQTOSWQTmnOopN9fqKZk
                                                                                           rAGsÿtu>vwIÿxwGBy
                                                                                           zQ{OZTcÿ|MTTÿXÿ}_MSKLW_ÿ[[J
                                                                                           \22ÿ~9QTÿRS_WWScÿRMQSWÿ7]]]
                                                                                           ZMOSZTcÿ^ÿ66]]1
                                                                                           7d5362\355d\
                                                                                           jk9QN<ÿWL9QSomUQ{OZT`MTTqKZk
                                                                                            ÿ
                                                                                           @EGIIwÿÿxwwA
                                                                                           9f9_`ÿJ[[}
                                                                                           2]4]2ÿeqÿ}WTS_9Nÿj:n_cÿRSWqÿ2]5
                                                                                           |9NN9Ocÿ^ÿ64172
                                                                                           613644362]d
                                                                                           89:ÿ<ÿ613644362]d
                                                                                           jk9QN<ÿ~9f9_`m9f9_`8Q_kqKZk
                                                                                           xwwAÿÿII>sGwB@Iÿ
                                                                                           2]4]2ÿeqÿ}WTS_9Nÿj:nfqcÿRSWÿ2]5
                                                                                           |9NN9Ocÿ^ÿ64172
                                                                                           DEGwHwÿx>vwH
                                                                                           RQ̀NWÿaMOSQTÿ[[J
                                                                                           1]12ÿ~KQTTWÿabWTMWcÿRMQSWÿ1]]]
                                                                                           |9NN9Ocÿ^ÿ641]2
                                                                                           h12diÿ5374\2
                                                                                           89:ÿ<ÿh12diÿ\237d]]
                                                                                           jk9QN<ÿpLZllk9TmOQ̀NWqKZk
                                                                                            Awÿ¡ÿ¢uwAwIsu
                                                                                           2]2]]ÿR9TS9ÿ~ZTQK9ÿ£ZMNWb9_`
                                                                                           27SLÿ8NZZ_
                                                                                           [ZOÿaTUWNWOcÿ}aÿ]]56
                                                                                           72]3116352]
                                                                                           89:ÿ<ÿ72]31]23]65]
                                                                                           jk9QN<ÿQPL9_9OKLmnOopN9fqKZk
                                                                                           EwHÿDÿ¢>AH@E
                                                                                           J9KLMNOPQÿRS9TUÿVQWLNÿXÿYZTWOÿ[[J[
                                                                                           2]2]]ÿR9TS9ÿ~ZTQK9ÿ£Nb`qcÿ27ÿ8N
                                                                                           [ZOÿaTUWNWOcÿ}aÿ]]56
                                                                                           72]3166352]
                                                                                           89:ÿ<ÿ7]231]23]65]
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                             3134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23             123456ÿ89ÿ:322; PageID 664
                                                                                         Page 658 of 678
                                                                                           <=>?@ABCDÿBF=GHÿIDJ?AÿK
                                                                                           LMGJBÿAA<
                                                                                           NOPÿFQRSTÿ=UVWXV
                                                                                           YZ[Qÿ\]^^S
                                                                                           GV_ÿ̀^SabÿG`ÿcPPcNdePeZ
                                                                                           ecedfgcdNNPP
                                                                                           \hiÿjÿecedfgcdNNNN
                                                                                           JkhR]jÿlaS^^mnmopl]h_qr^k
                                                                                           s5tuvÿwÿxuyz5{
                                                                                           <hrQX]oaRÿB[hW|ÿIRVQ]ÿKÿL^WVoÿAA<
                                                                                           cfPÿ>h]R}^SWRhÿB[SVV[
                                                                                           cf[Qÿ\]^^S
                                                                                           BhWÿ\ShWrRor^bÿ>=ÿ~Zccc
                                                                                           ZcfdegYdNPPP
                                                                                           JkhR]jÿk]R[Uhanmopl]h_qr^k
                                                                                           126ÿ8ÿs233u
                                                                                           <hrQX]oaRÿB[hW|ÿIRVQ]ÿKÿL^WVoÿAA<
                                                                                           NOPÿFQRSTÿ=UVWXV
                                                                                           B[VÿYZ[Qÿ\]^^S
                                                                                           GV_ÿ̀^SabÿG`ÿcPPcN
                                                                                           ecedfgcdNNgP
                                                                                           \hiÿjÿecedfgcdNNNN
                                                                                           JkhR]jÿlk^SSRonmopl]h_qr^k
                                                                                           15vÿ9ÿu
                                                                                           <hrQX]oaRÿB[hW|ÿIRVQ]ÿKÿL^WVoÿAA<
                                                                                           ~c~ÿG^S[QÿhSaV[ÿB[SVV[bÿcN[Qÿ\]q
                                                                                           R]kRW|[^WbÿJÿc~OPc
                                                                                           YPedgfedZcPP
                                                                                           \hiÿjÿYPedgfedZZPP
                                                                                           JkhR]jÿl^WVR]]nmopl]h_qr^k
                                                                                           13ÿ9ÿ2v356y
                                                                                           <hrQX]oaRÿB[hW|ÿIRVQ]ÿKÿL^WVoÿAA<
                                                                                           cPcPPÿBhW[hÿ^WRrhÿ]UTqbÿcY[Qÿ\]^^S
                                                                                           A^oÿ=W|V]Vobÿ>=ÿ~PPgN
                                                                                           YcPdeNNdg~cP
                                                                                           \hiÿjÿYcPdePcdPNgP
                                                                                           JkhR]jÿlm^kVShW[pnmopl]h_qr^k
                                                                                           13ÿ5y56ÿ2v356y
                                                                                           <hrQX]oaRÿB[hW|ÿIRVQ]ÿKÿL^WVoÿAA<
                                                                                           cPcPPÿBhW[hÿ^WRrhÿ]UTqbÿcc[Qÿ\]^^S
                                                                                           A^oÿ=W|V]Vobÿ>=ÿ~PPgN
                                                                                           YcPÿeNNdg~cP
                                                                                           \hiÿjÿYcPÿePcdPNgP
                                                                                           JkhR]jÿlm^kVShW[pnmopl]h_qr^k
                                                                                           s53{ÿy56u
                                                                                           R]]aRVÿ\hSSÿKÿHh]]h|QVSÿAA<
                                                                                           cONfÿCÿB[SVV[bÿG
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                               4134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23        1234567896:ÿ<=ÿ>??PageID
                                                                                         Page 659 of 678   ?@ 665
                                                                                      >?>AB?BACCBB
                                                                                      D2EÿFÿ>?>AB?BA>CBB
                                                                                      GH25IFÿH3826J5IKL5IIM5NOJ9H
                                                                                      PQRSSTÿVWÿXTYZ[\
                                                                                      ]2J4^I3M5ÿ_8267ÿ̀5N4Iÿaÿb96N3ÿcc]
                                                                                      C?C??ÿ_2682ÿd965J2ÿeIfgO:ÿCB84ÿDI99h
                                                                                      c93ÿi67NIN3:ÿ=iÿj??@kAl??B
                                                                                      BC?A>kkA@jC?
                                                                                      D2EÿFÿBC?A>?CA?k@?
                                                                                      mTnQ[nÿoÿXRZpY\Tq
                                                                                      ]2J4^I3M5ÿ_8267ÿ̀5N4Iÿaÿb96N3ÿcc]
                                                                                      kr?ÿs45hgÿifN6^N:ÿBl84ÿDI99h
                                                                                      tNLÿu9hM:ÿtuÿC??Ck
                                                                                      >C>Av@CAkkB>
                                                                                      GH25IFÿ42wINwL5697h2gK7H25IOJ9H
 xyzyÿ|}~                                                           hNhN3N68NgÿwRSTÿWÿT[\
 ZR[qÿT[Sÿ\S[[                                                                 5JNÿ9ÿ84Nÿ658Ngÿ_828N3ÿsh^38NN
 CC??ÿ=9HHNhJNÿ_8hNN8                                                                 CC??ÿ=9HHNhJNÿ_8O:ÿHOÿjk@
 99Hÿjk@                                                                             <2II23:ÿsÿkv>l>
 <2II23:ÿsÿkv>?>                                                                     >Clÿk@kArj@kÿNE8ÿC?r?
 >ClAk@kArj@k                                                                         D2EÿFÿ>Clÿk@kArjkC
                                                                                      GH25IFÿI532OIOI2HNh8K^3g9O79f
 }}ÿ                                                     hNhN3N68Ngÿw[TZÿWÿ[T
 RRTQÿpR[[ÿpÿZS[\[qÿ\[qRp\S                                            ut ÿ=ti1iuÿ_si issÿa
                                                                                      siuc:ÿcc]
                                                                                      9g6Nwÿ_¡^2hN
                                                                                      C???ÿt9h84ÿ¢567ÿ_8hNN8
                                                                                      15IH567896:ÿ<GÿCjr?C
                                                                                      B?>AvkCA@@??
                                                                                      GH25IFÿ26M5I5673KwJ38OJ9H
                                                                                      £[SSRTÿp[Q[\
                                                                                      _¤<cGuÿi_s¤tÿcc]
                                                                                      krkÿ_NfN684ÿifN6^N
                                                                                      tNLÿu9hM:ÿtuÿC??Cj
                                                                                      >C>ArBjAvB??
                                                                                      D2EÿFÿ>C>ArBjAvvjj
                                                                                      GH25IFÿ9NI8NhK35gINwOJ9H
                                                                                      T[¥ÿVWÿQ[[Z[
                                                                                      _5gINwÿi^3856ÿcc]
                                                                                      6Nÿ_9^84ÿ<N2h9h6
                                                                                      =45J279:ÿ¤cÿ@?@?B
                                                                                      BC>ÿrvBAkvBj
                                                                                      GH25IFÿHJINHN68NK35gINwOJ9H
                                                                                      ¦T§Rqÿ̈\TZÿ\pp©S
                                                                                      _NNÿ29fNÿ9hÿ2gghN33
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                          8134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23             1234526ÿ89ÿ:3;5 PageID 666
                                                                                         Page 660 of 678
                                                                                           <=>>ÿ@ABC>ÿDBEÿ@FFE>GGH
                                                                                           I5JKLÿ1MNOLK
                                                                                           =PQRSTÿUV=WPXÿRRY
                                                                                           Z[>ÿ=B\]^ÿQ>@EABE[ÿ=]E>>]
                                                                                           _^à@bBcÿPRÿdedef
                                                                                           fghijkfilfhf
                                                                                           m@nÿoÿfghijkfilefd
                                                                                           Sp@q̀oÿAb\r`[@sGF̀q>tuaBp
                                                                                           I5JKLÿ1MNOLK
                                                                                           =F̀q>tÿU\G]`[ÿRRY
                                                                                           Z[>ÿ=B\]^ÿQ>@EABE[ÿ=]E>>]
                                                                                           _^à@bBcÿPRÿdedef
                                                                                           fghjkflfhf
                                                                                           Sp@q̀oÿAb\r`[@sGF̀q>tuaBp
                                                                                           vMwOKLKÿx5yy;KL
                                                                                           <=>>ÿ@ABC>ÿDBEÿ@FFE>GGH
                                                                                           zKO43ÿx5w{3Lÿ|5L}45;326
                                                                                           =F̀q>tÿU\G]`[ÿRRY
                                                                                           hehgÿ~a`[[>tÿUC>[\>
                                                                                           =\`]>ÿheee
                                                                                           Q@qq@GcÿWÿlkheg
                                                                                           hgidifkee
                                                                                           m@nÿoÿhgijgifee
                                                                                           Sp@q̀oÿpB[]bBp>EtsGF̀q>tuaBp
                                                                                           {;5Lÿ9ÿ|52}5L
                                                                                           TZVXÿ_ZXUUTÿ=WUUWWÿ
                                                                                           WUTRZcÿRRY
                                                                                           geeeÿXBE]^ÿ`[bÿ=]E>>]
                                                                                           q̀p`[b]B[cÿQSÿgjeg
                                                                                           fehiklgiddfl
                                                                                           m@nÿoÿfehiklgighkf
                                                                                           Sp@q̀oÿ>pBE]B[staG]uaBp
                                                                                           |OK3wÿ9ÿ3}52
                                                                                           TZVXÿ_ZXUUTÿ=WUUWWÿ
                                                                                           WUTRZcÿRR
                                                                                           BF[>tÿ=\@E>
                                                                                           geeeÿXBE]^ÿ`[bÿ=]E>>]
                                                                                           q̀p`[b]B[cÿQSÿgjeg
                                                                                           fehiklgiddee
                                                                                           Sp@q̀oÿp[>G]BEstaG]uaBp
                                                                                           K2w3ÿ|K2}OLÿz325Lÿv29
                                                                                           =F̀q>tÿU\G]`[ÿRRY
                                                                                           heheÿ~a`[[>tÿUC>[\>cÿ=\`]>ÿheee
                                                                                           Q@qq@GcÿWÿlkhge
                                                                                           <hgHÿjgiffee
                                                                                           m@nÿoÿ<hgHÿjgifee
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                             9134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23             123456ÿ89:;<=><?<4@PageID
                                                                                         Page 661 of 678        5:AB8=2667
                                                                                           CDEEFDGÿIJÿKLMDFNOPQ
                                                                                           RS::ÿ3T=U:ÿV=;ÿ3@@;:<<W
                                                                                           KDOOGÿKNXYNFZÿ[D\Z
                                                                                           S4@5:Aÿ]^<_4>ÿ̀`a
                                                                                           bcbdÿe8f4>>:Aÿ]U:>^:gÿS^4_:ÿbccc
                                                                                           h3553<gÿijÿklbcd
                                                                                           RbdmWÿnodpqmdq
                                                                                           r3sÿ6ÿRbdmWÿnodpqmcc
                                                                                           123456ÿ9;:4@?<4@5:AB8=2
                                                                                           tuGvvNÿ[wvvDuu
                                                                                           S4@5:Aÿ]^<_4>ÿ̀`a
                                                                                           x>:ÿS=^_yÿh:3;T=;>
                                                                                           zy483{=gÿ|`ÿ}c}cq
                                                                                           RqdbWÿolqpkmbb
                                                                                           r3sÿ6ÿRqdbWÿolqpkcq}
                                                                                           123456ÿ35A<<3B;^<<:55?<4@5:AB8=2
                                                                                           ~DOO\vÿJÿLMDG
                                                                                           S4@5:Aÿ]^<_4>gÿ̀`a
                                                                                           x>:ÿS=^_yÿh:3;T=;>ÿS_;::_
                                                                                           zy483{=gÿ|`ÿ}c}cq
                                                                                           RqdbWÿolqpkmqo
                                                                                           r3sÿ6ÿRqdbWÿolqpkcq}
                                                                                           123456ÿ@_=2:A?<4@5:AB8=2
                                                                                           CNXuGOÿJÿD\vvDFDF
                                                                                           xÿzx]]ÿSi]]iiÿ
                                                                                           i]`xgÿ̀`a
                                                                                           =@>:AÿS^3;:
                                                                                           dcccÿ=;_yÿf4>{ÿS_;::_
                                                                                           4524>{_=>gÿh1ÿdnocd
                                                                                           qcbplkdp}}cc
                                                                                           123456ÿT3>V454>{<?A8<_B8=2
                                                                                           DNOÿJÿLwOÿLONGÿPNFNPPÿ
                                                                                           NGuLFÿK
                                                                                           =^>{ÿz=>3AÿS_3;{3__ÿÿi3A5=;gÿ̀`a
                                                                                           =@>:AÿS^3;:
                                                                                           dcccÿ=;_yÿf4>{ÿS_;::_
                                                                                           4524>{_=>gÿh1ÿdnocd
                                                                                           qcbplkdp}}cc
                                                                                           123456ÿ<T:38y?A8<_B8=2
     \u\Oÿ~NPD                                                        ~LXYDPÿDP
                          ÿdÿÿRbÿ9{<Wÿx;@:;ÿ_;3><V:;;4>{ÿ83<:ÿ>^2T:;ÿdnpdbbqnÿV;=2ÿBSBÿ3>;^9_8Aÿz=^;_ÿV=;ÿ_y:ÿh4<_;48_ÿ=V
  dbcmbcdn            h:533;:ÿr45:@ÿTAÿ4{y53>@ÿz394_35ÿe3>3{:2:>_gÿ̀BaBÿRx3V=;gÿeBW

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                  -134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 662 of 678    PageID 668
                           ÿ2ÿÿ819ÿ:;<=ÿ>?@ABCÿDEBBCÿFGHIJÿGKÿ16L122M6ÿGKÿNOIÿPQDQÿRSKTUV:NWXÿ@YVUNÿFYUÿ>IHSZSUIÿQÿ8?TSFYU[
  1234532416            \Q=
                           ÿMÿÿ814]ÿ:;<^ÿ2ÿJYW<=ÿ@OS:NIUÿ11ÿ_YHVKNSUXÿ̀INGNGYKÿQÿaIIÿbcYVKNÿd1e1eQÿaGHIJÿfXÿEG;OHSKJÿ@S:GNSH
                        \SKS;IcIKN[ÿgQ̀QQÿ8bNNSWOcIKN<hÿiÿ1ÿ@UIJGNYUÿ\SNUGj=ÿk?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿi1ÿ?o
  1234532416            1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlCÿa?lÿCEBÿ>mDClm@Cÿ?aÿ>BgbqblBrÿ8?TSFYU[ÿ\Q=
                           ÿ5ÿÿ8M1ÿ:;<^ÿ2ÿJYW<=ÿ\YNGYKÿNYÿ̀SXÿBc:HYXIIÿqS;I<ÿ3\YNGYKÿYFÿNOIÿ>IfNYU<ÿFYUÿBKNUXÿYFÿ?UJIUÿ8m=
                        bVNOYUGsGK;ÿNOIÿ>IfNYUÿNYÿ8b=ÿ̀SXÿSKJÿEYKYUÿ̀UI:INGNGYKÿ@Yc:IK<SNGYK[ÿlIGcfVU<SfHIÿRV<GKI<<
                        Bj:IK<I<[ÿSKJÿBc:HYXIIÿRIKIFGNÿ?fHG;SNGYK<[ÿSKJÿ8R=ÿ\SGKNSGKÿSKJÿ@YKNGKVIÿ@IUNSGKÿ@Yc:IK<SNGYKÿSKJ
                        RIKIFGNÿ̀UY;USc<ÿ̀Y<N:INGNGYK^ÿSKJÿ8mm=ÿnUSKNGK;ÿlIHSNIJÿlIHGIFÿaGHIJÿaGHIJÿfXÿ>IfNYUÿEG;OHSKJÿ@S:GNSH
                        \SKS;IcIKN[ÿgQ̀Qÿ8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿLÿ̀UY:Y<IJÿ?UJIU=ÿ8?toIGHH[ÿuScI<=ÿk?lmnmobggpÿamgB>
                        bDÿ>?@P\BoCÿi2ÿ?oÿ1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlCÿa?lÿCEBÿ>mDClm@Cÿ?a
  1234532416            >BgbqblBrÿ8?TSFYU[ÿ\Q=
                           ÿ9ÿÿ82Mÿ:;<^ÿ2ÿJYW<=ÿ\YNGYKÿNYÿ̀SXÿ@UGNGWSHÿCUSJIÿ_IKJYUÿ@HSGc<ÿ3\YNGYKÿYFÿNOIÿ>IfNYUÿFYUÿBKNUXÿYF
                        mKNIUGcÿSKJÿaGKSHÿ?UJIU<ÿ8b=ÿbVNOYUGsGK;ÿ>IfNYUÿNYÿ̀SXÿ̀UI:INGNGYKÿ@HSGc<ÿYFÿ@UGNGWSHÿ_IKJYU<ÿSKJÿ8R=
                        nUSKNGK;ÿlIHSNIJÿlIHGIFÿaGHIJÿRXÿEG;OHSKJÿ@S:GNSHÿ\SKS;IcIKN[ÿgQ̀Qÿ8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿL
                        `UY:Y<IJÿ?UJIU=8?toIGHH[ÿuScI<=ÿk?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿiMÿ?oÿ1431]32416ÿmoÿPQDQ
  1234532416            RboAlP`C@pÿ@?PlCÿa?lÿCEBÿ>mDClm@Cÿ?aÿ>BgbqblBr
                           ÿ]ÿÿ86ÿ:;<^ÿ2ÿJYW<=ÿ\YNGYKÿNYÿBjNIKJÿ>ISJHGKIÿNYÿaGHIÿDWOIJVHI<ÿYUÿ̀UYvGJIÿlIwVGUIJÿmKFYUcSNGYKÿaGHIJ
                        fXÿEG;OHSKJÿ@S:GNSHÿ\SKS;IcIKN[ÿgQ̀Q8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿLÿ̀UY:Y<IJÿ?UJIU=ÿ8?toIGHH[ÿuScI<=
                        k?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿi5ÿ?oÿ1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlCÿa?lÿCEB
  1234532416            >mDClm@Cÿ?aÿ>BgbqblBr8?TSFYU[ÿ\Q=
                           ÿeÿÿ825ÿ:;<^ÿ2ÿJYW<=ÿ\YNGYKÿNYÿ\SGKNSGKÿRSKTÿbWWYVKN<ÿ3\YNGYKÿYFÿNOIÿ>IfNYUÿFYUÿmKNIUGcÿSKJÿaGKSH
                        ?UJIU<ÿbVNOYUGsGK;ÿ8b=ÿ@YKNGKVSKWIÿYFÿBjG<NGK;ÿ@S<Oÿ\SKS;IcIKNÿDX<NIcÿSKJÿRUYTIUS;IÿlIHSNGYK<OG:<[
                        8R=ÿ@YKNGKVIJÿP<IÿYFÿNOIÿ̀UGcIÿbWWYVKN[ÿ8@=ÿgGcGNIJÿqSGvIUÿYFÿDIWNGYKÿM598f=ÿ>I:Y<GNÿSKJÿmKvI<NcIKN
                        lIwVGUIcIKN<[ÿSKJÿ8>=ÿnUSKNGK;ÿlIHSNIJÿlIHGIFÿaGHIJÿRXÿEG;OHSKJÿ@S:GNSHÿ\SKS;IcIKN[ÿgQ̀Q
                        8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿLÿmKNIUGcÿ?UJIU=ÿ8?toIGHH[ÿuScI<=ÿk?lmnmobggpÿamgB>ÿbDÿ>?@P\BoC
                        i9ÿ?oÿ1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlCÿa?lÿCEBÿ>mDClm@Cÿ?aÿ>BgbqblBrÿ8?TSFYU[
  1234532416            \Q=
                           ÿxÿÿ8M2ÿ:;<^ÿ2ÿJYW<=ÿyyqmCE>lbqoyyÿLÿ1432632416QÿDBBÿ>?@ABCÿiÿe2Qÿ\YNGYKÿNYÿb::UYvIÿP<IÿYF
                        @S<Oÿ@YHHSNIUSHÿ3\YNGYKÿYFÿ>IfNYUÿFYUÿBKNUXÿYFÿmKNIUGcÿSKJÿaGKSHÿ?UJIU<ÿ8b=ÿbVNOYUGsGK;ÿNOIÿP<IÿYFÿ@S<O
                        @YHHSNIUSH[ÿ8R=ÿ̀UYvGJGK;ÿbJIwVSNIÿ̀UYNIWNGYK[ÿ8@=ÿbVNOYUGsGK;ÿNOIÿgGwVGJSNGYKÿYFÿDIWVUGNGI<[ÿ8>=
                        \YJGFXGK;ÿNOIÿbVNYcSNGWÿDNSX[ÿSKJÿ8B=ÿDWOIJVHGK;ÿSÿaGKSHÿEISUGK;ÿaGHIJÿRXÿEG;OHSKJÿ@S:GNSH
                        \SKS;IcIKN[ÿgQ̀Qÿ8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿLÿ?UJIU=8?toIGHH[ÿuScI<=ÿ\YJGFGIJÿYKÿ143M432416ÿ8>\@=
                        k?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿi]ÿ?oÿ1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlCÿa?lÿCEB
  1234532416            >mDClm@Cÿ?aÿ>BgbqblBr
                           ÿ6ÿÿ8M]ÿ:;<^ÿ5ÿJYW<=ÿb::HGWSNGYKÿNYÿb::YGKNÿ@HSGc<3oYNGWGK;ÿb;IKNÿAPlCz\boÿ@blD?o
                        @?oDPgCboCD[ÿgg@ÿaGHIJÿRXÿEG;OHSKJÿ@S:GNSHÿ\SKS;IcIKN[ÿgQ̀Qÿ8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿL
                        BK;S;IcIKNÿb;UIIcIKNÿiÿ2ÿBjOGfGNÿRÿLÿnIU<OfIGKÿ>IWHSUSNGYKÿiÿMÿBjOGfGNÿ@ÿLÿ̀UY:Y<IJÿ?UJIU=ÿ8?toIGHH[
                        uScI<=ÿk?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿieÿ?oÿ1431]32416ÿmoÿPQDQÿRboAlP`C@pÿ@?PlC
  1234532416            a?lÿCEBÿ>mDClm@Cÿ?aÿ>BgbqblBrÿ8?TSFYU[ÿ\Q=
                           ÿ14ÿÿ814ÿ:;<^ÿ2ÿJYW<=ÿ\YNGYKÿNYÿaGHIÿPKJIUÿDISH3\YNGYKÿYFÿNOIÿ>IfNYUÿFYUÿBKNUXÿYFÿmKNIUGcÿSKJÿaGKSH
                        ?UJIU<ÿbVNOYUGsGK;ÿNOIÿ>IfNYUÿNYÿaGHIÿPKJIUÿDISHÿ̀YUNGYK<ÿYFÿmN<ÿ@UIJGNYUÿ\SNUGjÿ@YKNSGKGK;ÿBc:HYXII
                        bJJUI<<ÿmKFYUcSNGYKÿaGHIJÿfXÿEG;OHSKJÿ@S:GNSHÿ\SKS;IcIKN[ÿgQ̀QQÿ8bNNSWOcIKN<hÿiÿ1ÿBjOGfGNÿbÿLÿ̀UY:Y<IJ
                        ?UJIU=ÿ8?toIGHH[ÿuScI<=ÿk?lmnmobggpÿamgB>ÿbDÿ>?@P\BoCÿixÿ?oÿ1431]32416ÿmoÿPQDQ
  1234532416            RboAlP`C@pÿ@?PlCÿa?lÿCEBÿ>mDClm@Cÿ?aÿ>BgbqblBrÿ8?TSFYU[ÿ\Q=

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 ,134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 663 of 678    PageID 669
                           ÿ11ÿÿ855ÿ9:;<ÿ=>>?@AB?C3DEFGAHAC?IJÿ?JÿKL99IHCÿI>ÿM?H;CÿDANÿOIC?IJÿ3DEFGAHAC?IJÿI>ÿMHAJPÿQACEHRIL;Eÿ?J
                        KL99IHCÿI>ÿM?H;CÿDANÿOIC?IJ;ÿM?GE@ÿSNÿT?:RGAJ@ÿUA9?CAGÿOAJA:EVEJCWÿXYZYÿ8[\]E?GGWÿ^AVE;<
                        _[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg6ÿ[]ÿ1431h32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTd
  1234532416            DaKf`aUfÿ[MÿDdX=Q=`dj8[PA>IHWÿOY<
                           ÿ12ÿÿ8kÿ9:;<ÿ]IC?FEÿI>ÿTEAH?J:ÿIJÿM?H;CÿDANÿOIC?IJ;ÿ8HEGACE@ÿ@IFLVEJC8;<2WÿkWÿlWÿhWÿmWÿnWÿ6ÿ_[]
                        DdX=Q=`dÿD[Uidfj<ÿM?GE@ÿoNÿT?:RGAJ@ÿUA9?CAGÿOAJA:EVEJCWÿXYZYYÿTEAH?J:ÿ;FRE@LGE@ÿ>IHÿ1431n32416
                        ACÿ14p44ÿ=OÿACÿeKÿSAJPHL9CFNÿUILHCWÿn25ÿOAHPECÿKCYWÿlCRÿMGYWÿUILHCHIIVÿghWÿQ?GV?J:CIJWÿDEGAqAHEY
                        8[\]E?GGWÿ^AVE;<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg11ÿ[]ÿ1431m32416ÿa]ÿeYKYÿS=]i`eZfUc
  1234532416            U[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ1kÿÿ81lÿ9:;rÿ2ÿ@IF;<ÿ]IC?FEÿI>ÿTEAH?J:ÿ33ÿ]IC?FEÿI>ÿaJCEH?VÿTEAH?J:ÿIJÿOIC?IJÿI>ÿDEoCIHÿ>IHÿdJCHNÿI>
                        aJCEH?VÿAJ@ÿM?JAGÿ[H@EH;ÿ8=<ÿ=LCRIH?s?J:ÿCREÿe;EÿI>ÿUA;RÿUIGGACEHAGWÿ8S<ÿZHIB?@?J:ÿ=@EtLACEÿZHICEFC?IJW
                        8U<ÿ=LCRIH?s?J:ÿCREÿX?tL?@AC?IJÿI>ÿKEFLH?C?E;Wÿ8D<ÿOI@?>N?J:ÿCREÿ=LCIVAC?FÿKCANWÿAJ@ÿ8d<ÿKFRE@LG?J:ÿA
                        M?JAGÿTEAH?J:ÿ8HEGACE@ÿ@IFLVEJC8;<h<ÿM?GE@ÿoNÿT?:RGAJ@ÿUA9?CAGÿOAJA:EVEJCWÿXYZYYÿTEAH?J:ÿ;FRE@LGE@ÿ>IH
                        1431n32416ÿACÿ14p44ÿ=OÿACÿeKÿSAJPHL9CFNÿUILHCWÿn25ÿOAHPECÿKCYWÿlCRÿMGYWÿUILHCHIIVÿghWÿQ?GV?J:CIJW
                        DEGAqAHEYÿ8=CCAFRVEJC;pÿgÿ1ÿduR?o?Cÿ=<ÿ8[\]E?GGWÿ^AVE;<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg12
  1234532416            []ÿ1431m32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ15ÿÿ8kÿ9:;<ÿ]IC?FEÿI>ÿ=:EJ@AÿI>ÿOACCEH;ÿKFRE@LGE@ÿ>IHÿTEAH?J:ÿM?GE@ÿoNÿT?:RGAJ@ÿUA9?CAG
                        OAJA:EVEJCWÿXYZYYÿTEAH?J:ÿ;FRE@LGE@ÿ>IHÿ1431n32416ÿACÿ14p44ÿ=OÿACÿeKÿSAJPHL9CFNÿUILHCWÿn25ÿOAHPEC
                        KCYWÿlCRÿMGYWÿUILHCHIIVÿghWÿQ?GV?J:CIJWÿDEGAqAHEYÿ8[\]E?GGWÿ^AVE;<ÿ_[`aba]=XXcÿMaXdDÿ=K
                        D[UeOd]fÿg1kÿ[]ÿ1431h32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[M
  1234532416            DdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ1lÿÿ8kÿ9:;<ÿ]IC?FEÿI>ÿA99EAHAJFEÿM?GE@ÿoNÿ=GBAHEsÿvÿOAH;AGÿU`MÿOAJA:EVEJCWÿXXUWÿA;ÿaJBE;CVEJC
                        OAJA:EHÿI>ÿCREÿT?:RGAJ@ÿUHL;A@EHÿMLJ@;ÿ8SEAFRWÿKEAJ<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg15
  1234532416            []ÿ1431m32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ1hÿÿ81ÿ9:<ÿOIC?IJÿCIÿ=99EAHÿ9HIÿRAFÿB?FEÿI>ÿOAH;RAGGÿ̀Yÿi?J:ÿI>ÿb?o;IJWÿDLJJÿvÿUHLCFREHÿXXZY
                        `EFE?9Cÿ]LVoEHÿ2mlmkl5WÿM?GE@ÿoNÿ=GBAHEsÿvÿOAH;AGÿU`MÿOAJA:EVEJCWÿXXUWÿA;ÿaJBE;CVEJCÿOAJA:EHÿI>
                        CREÿT?:RGAJ@ÿUHL;A@EHÿMLJ@;Yÿ8SEAFRWÿKEAJ<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg1lÿ[]ÿ143132416
  1234532416            a]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ1mÿÿ81ÿ9:<ÿOIC?IJÿCIÿ=99EAHÿ9HIÿRAFÿB?FEÿI>ÿO?FRAEGÿ=Yÿ̀I;EJCRAGÿI>ÿb?o;IJWÿDLJJÿvÿUHLCFREHÿXXZY
                        `EFE?9Cÿ]LVoEHÿ2h2556lWÿM?GE@ÿoNÿ=GBAHEsÿvÿOAH;AGÿU`MÿOAJA:EVEJCWÿXXUWÿA;ÿaJBE;CVEJCÿOAJA:EHÿI>
                        CREÿT?:RGAJ@ÿUHL;A@EHÿMLJ@;Yÿ8SEAFRWÿKEAJ<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg1hÿ[]
  1234532416            1431m32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ1nÿÿ81ÿ9:<ÿOIC?IJÿCIÿ=99EAHÿ9HIÿRAFÿB?FEÿI>ÿ=GAJÿOI;PIq?CsÿI>ÿb?o;IJWÿDLJJÿvÿUHLCFREHÿXXZYÿ̀EFE?9C
                        ]LVoEHÿ2h2556lWÿM?GE@ÿoNÿ=GBAHEsÿvÿOAH;AGÿU`MÿOAJA:EVEJCWÿXXUWÿA;ÿaJBE;CVEJCÿOAJA:EHÿI>ÿCRE
                        T?:RGAJ@ÿUHL;A@EHÿMLJ@;Yÿ8SEAFRWÿKEAJ<ÿ<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg1mÿ[]ÿ1431m32416
  1234532416            a]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ16ÿÿ81ÿ9:<ÿOIC?IJÿCIÿ=99EAHÿ9HIÿRAFÿB?FEÿI>ÿOACCREqÿbYÿSIL;GI:ÿI>ÿb?o;IJWÿDLJJÿvÿUHLCFREHÿXXZY
                        `EFE?9Cÿ]LVoEHÿ2ln1n65WÿM?GE@ÿoNÿ=GBAHEsÿvÿOAH;AGÿU`MÿOAJA:EVEJCWÿXXUWÿA;ÿaJBE;CVEJCÿOAJA:EHÿI>
                        CREÿT?:RGAJ@ÿUHL;A@EHÿMLJ@;Yÿ8SEAFRWÿKEAJ<<ÿ_[`aba]=XXcÿMaXdDÿ=KÿD[UeOd]fÿg1nÿ[]
  1234532416            1431m32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[MÿDdX=Q=`djÿ8[PA>IHWÿOY<
                           ÿ24ÿÿ8kÿ9:;<ÿ]IC?FEÿI>ÿ=99EAHAJFEÿAJ@ÿ̀EtLE;Cÿ>IHÿ]IC?FEÿoNÿXIL?;ÿ^YÿU?;sÿ>?GE@ÿoNÿaJCEHE;CE@ÿZAHCN
                        UAG?>IHJ?AÿZLoG?FÿdV9GINEE;ÿ̀EC?HEVEJCÿKN;CEVÿ8UAGZd`K<ÿYÿ8[PA>IHWÿOY<ÿ_[`aba]=XXcÿMaXdDÿ=K
                        D[UeOd]fÿg16ÿ[]ÿ1431m32416ÿa]ÿeYKYÿS=]i`eZfUcÿU[e`fÿM[`ÿfTdÿDaKf`aUfÿ[M
  1234532416            DdX=Q=`dj

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 +134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 664 of 678    PageID 670
                          ÿ21ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ8HBIIDBJÿKLÿM=NBDC@>O;LÿPBFB?9>ÿKQNRBDÿ2ST5T24UÿV?WBXÿRJ
                        Y?:EWC@XÿZC9?>CWÿ<C@C:BNB@>Uÿ[LMLLÿ8\]KB?WWUÿHCNB^;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh24ÿ\K
  1234532416            1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ22ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ8<Co?NÿjLÿ[?>GCn;LÿPBFB?9>ÿKQNRBDÿ2ST5T24UÿV?WBXÿRJ
                        Y?:EWC@XÿZC9?>CWÿ<C@C:BNB@>Uÿ[LMLÿ8\]KB?WWUÿHCNB^;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh21ÿ\K
  1234532416            1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ2pÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ8`DCÿdLÿkECDC^FE;LÿPBFB?9>ÿKQNRBDÿdcq4p2SpiUÿV?WBXÿRJ
                        Y?:EWC@XÿZC9?>CWÿ<C@C:BNB@>Uÿ[LMLLÿ8\]KB?WWUÿHCNB^;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh22ÿ\K
  1234532416            1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ25ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ8aDB:=DJÿrLÿdBN=;LÿPBFB?9>ÿKQNRBDÿdcq4p2SpTUÿV?WBXÿRJ
                        Y?:EWC@XÿZC9?>CWÿ<C@C:BNB@>Uÿ[LMLÿ8\]KB?WWUÿHCNB^;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh2pÿ\K
  1234532416            1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ2Sÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ=Iÿ<CDFÿjLÿYC@n?@LÿPBFB?9>ÿKQNRBDÿ2iSipSsUÿV?WBXÿRJ
                        PBXBBNBDÿZ=NN?>>BBÿ=Iÿ>EBÿY?:EWC@XÿZDQ^CXBDÿVQ@XLÿ8<?WWBDUÿZQD>?^;ÿ_\P`a`KA[[bÿV`[cdÿAe
                        d\Zf<cKgÿh25ÿ\Kÿ1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\V
  1234532416            dc[AlAPcm8\nCI=DUÿ<L;
                          ÿ2Tÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿ<CD^ECWWÿPLÿk?@:ÿ=Iÿa?R^=@8PBWC>BX
                        d=Fÿhÿ1S;ÿ\DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh2Sÿ\K
  1234532416            1431i32416ÿ̀KÿfLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ2iÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿ<?FECBWÿALÿP=^B@>ECWÿ8PBWC>BXÿd=Fÿh
                        1T;ÿ\DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh2Tÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ2sÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿAWC@ÿ<=^n=t?>Oÿ8PBWC>BXÿd=Fÿhÿ1i;
                        \DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh2iÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿ26ÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿ<C>>EBtÿaLÿj=Q^W=:8PBWC>BXÿd=Fÿhÿ1s;
                        \DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh2sÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿp4ÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿHBIIDBJÿKLÿM=NBDC@>Oÿ8PBWC>BXÿd=Fÿh
                        24;ÿ\DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿh26ÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿp1ÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿ<Co?NÿjLÿ[?>GCnÿ8PBWC>BXÿd=Fÿhÿ21;
                        \DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿhp4ÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿp2ÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿ̀DCÿdLÿkECDC^FEÿ8PBWC>BXÿd=Fÿhÿ22;
                        \DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿhp1ÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;
                          ÿppÿÿ81ÿ9:;ÿ\DXBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAXN?^^?=@ÿ9D=ÿECFÿG?FBÿaDB:=DJÿrLÿdBN=8PBWC>BXÿd=Fÿhÿ2p;
                        \DXBDÿe?:@BXÿ=@ÿ1431i32416Lÿ8ZAe;ÿ_\P`a`KA[[bÿV`[cdÿAeÿd\Zf<cKgÿhp2ÿ\Kÿ1431i32416ÿ̀K
  1234532416            fLeLÿjAKkPfMgZbÿZ\fPgÿV\PÿgYcÿd`egP`Zgÿ\Vÿdc[AlAPcmÿ8\nCI=DUÿ<L;

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                            0134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 665 of 678    PageID 671
                           ÿ85ÿÿ91ÿ:;<ÿ=>?@>ÿA::>BCDE;ÿFBGDBEÿHB>ÿA?IDJJDBEÿ:>BÿKLMÿCDM@ÿFL>MÿNOÿPLEQDE9R@SLG@?ÿTBMÿUÿ25<
                        =>?@>ÿVD;E@?ÿBEÿ1431W32416Oÿ9XAV<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU88ÿ=\ÿ1431W32416ÿZ\
  1234532416            aOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ8hÿÿ9Wÿ:;J<ÿX@>GDHDMLG@ÿBHÿV@>CDM@ÿBHiÿ1<ÿ\BGDM@ÿBHÿP@L>DE;ÿBEÿ_D>JGÿTLjÿFBGDBEJkÿ2<ÿ\BGDM@ÿBHÿZEG@>DI
                        P@L>DE;ÿBEÿFBGDBEÿBHÿT@lGB>ÿHB>ÿ̀EG>jÿBHÿZEG@>DIÿLE?ÿ_DELSÿ=>?@>Jÿ9A<ÿAmGKB>DnDE;ÿGK@ÿaJ@ÿBHÿXLJK
                        XBSSLG@>LSgÿ9N<ÿd>BCD?DE;ÿA?@omLG@ÿd>BG@MGDBEgÿ9X<ÿAmGKB>DnDE;ÿGK@ÿ]DomD?LGDBEÿBHÿV@Mm>DGD@Jgÿ9T<
                        FB?DHjDE;ÿGK@ÿAmGBILGDMÿVGLjgÿLE?ÿ9`<ÿVMK@?mSDE;ÿLÿ_DELSÿP@L>DE;kÿLE?ÿ8<ÿ\BGDM@ÿBHÿA;@E?LÿHB>ÿP@L>DE;
                        BHÿ_D>JGÿTLjÿFBGDBEJÿVMK@?mS@?ÿHB>ÿ=MGBl@>ÿ1pgÿ2416ÿLGÿ14i44ÿLOIOÿ9>@SLG@?ÿ?BMmI@EG9J<11gÿ12gÿ18<ÿ_DS@?
                        ljÿPD;KSLE?ÿXL:DGLSÿFLEL;@I@EGgÿ]OdOOÿ9=q\@DSSgÿrLI@J<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU85
  1234532416            =\ÿ1431W32416ÿZ\ÿaOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ8sÿÿ91ÿ:;<ÿFBGDBEÿGBÿA::@L>ÿ:>BÿKLMÿCDM@ÿ9rBKEÿAOÿFB>>DJ<OÿR@M@D:Gÿ\mIl@>ÿ2s8hpspgÿ_DS@?ÿlj
                        PD;KSLE?ÿXL:DGLSÿFLEL;@I@EGgÿ]OdOOÿ9=q\@DSSgÿrLI@J<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU8hÿ=\
  1234532416            1431W32416ÿZ\ÿaOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`f9=QLHB>gÿFO<
                           ÿ8Wÿÿ98ÿ:;J<ÿ\BGDM@ÿBHÿA::@L>LEM@ÿLE?ÿR@om@JGÿHB>ÿ\BGDM@ÿljÿRDMKL>?ÿNOÿ]@CDEÿgÿFL>MÿNOÿPLEQDEÿgÿc@CDE
                        FOÿXB@EÿgÿXm>GDJÿVOÿFDSS@>ÿHDS@?ÿljÿZEG@>@JG@?ÿdL>GjÿR@?@@I@>ÿXBIIDGG@@ÿBHÿGK@ÿPD;KSLE?ÿX>mJL?@>ÿ_mE?ÿO
                        9FDSS@>gÿXm>GDJ<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU8sÿ=\ÿ1431W32416ÿZ\ÿaOVOÿNA\cRadbX^
  1234532416            X=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`f9=QLHB>gÿFO<
                           ÿ8pÿÿ91ÿ:;<ÿ=>?@>ÿA::>BCDE;ÿFBGDBEÿHB>ÿA?IDJJDBEÿ:>BÿKLMÿCDM@ÿrBKEÿAOÿFB>>DJ9R@SLG@?ÿTBMÿUÿ8h<
                        =>?@>ÿVD;E@?ÿBEÿ1431p32416Oÿ9XAV<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU8pÿ=\ÿ1431p32416ÿZ\
  1234532416            aOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ86ÿÿ9hÿ:;J<ÿ=>?@>ÿ9Z<ÿAmGKB>DnDE;ÿGK@ÿT@lGB>ÿGBÿ9A<ÿdLjÿLE?ÿPBEB>ÿd>@:@GDGDBEÿXBI:@EJLGDBEg
                        R@DIlm>JLlS@ÿNmJDE@JJÿ̀t:@EJ@JgÿLE?ÿ̀I:SBj@@ÿN@E@HDGÿ=lSD;LGDBEJgÿLE?ÿ9N<ÿFLDEGLDEÿLE?ÿXBEGDEm@
                        X@>GLDEÿXBI:@EJLGDBEÿLE?ÿN@E@HDGÿd>B;>LIJÿdBJG:@GDGDBEkÿLE?ÿ9ZZ<ÿ[>LEGDE;ÿR@SLG@?ÿR@SD@HOÿ9>@SLG@?
                        ?BMmI@EG9J<2<ÿ=>?@>ÿVD;E@?ÿBEÿ1431p32416Oÿ9\AN<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU86ÿ=\
  1234532416            1431p32416ÿZ\ÿaOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ54ÿÿ96ÿ:;Jkÿ2ÿ?BMJ<ÿZEG@>DIÿ=>?@>ÿ9A<ÿAmGKB>DnDE;ÿGK@ÿT@lGB>ÿGBÿdLjÿX@>GLDEÿd>@:@GDGDBEÿXSLDIJÿBH
                        X>DGDMLSÿu@E?B>JÿLE?ÿ9N<ÿ[>LEGDE;ÿR@SLG@?ÿR@SD@Hÿ9R@SLG@?ÿTBMÿ8<ÿ=>?@>ÿVD;E@?ÿBEÿ1431p32416
                        9AGGLMKI@EGJiÿUÿ1ÿA;>@@I@EG<<ÿ9\AN<ÿFB?DHD@?ÿb@tGÿBEÿ1432132416ÿ9]N<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAV
                        T=XaF`\bÿU54ÿ=\ÿ1431p32416ÿZ\ÿaOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_
  1234532416            T`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ51ÿÿ98ÿ:;J<ÿ\BGDM@ÿBHÿA::@L>LEM@ÿLE?ÿR@om@JGÿHB>ÿ\BGDM@ÿljÿ̀>DMÿbKBILJÿPLDGnÿHDS@?ÿljÿT@lGB>
  1234532416            PD;KSLE?ÿXL:DGLSÿFLEL;@I@EGgÿ]OdOOÿ9PLDGngÿ̀>DM<
                           ÿ52ÿÿ9Wÿ:;J<ÿZEG@>DIÿ=>?@>ÿAmGKB>DnDE;ÿ9A<ÿXBEGDEmLEM@ÿBHÿ̀tDJGDE;ÿXLJKÿFLEL;@I@EGÿVjJG@Igÿ9N<
                        XBEGDEm@?ÿaJ@ÿBHÿGK@ÿd>DI@ÿAMMBmEGgÿ9X<ÿ]DIDG@?ÿeLDC@>ÿBHÿV@MGDBEÿ85h9l<ÿT@:BJDGÿLE?ÿZEC@JGI@EG
                        R@omD>@I@EGJgÿLE?ÿ9T<ÿ[>LEGDE;ÿR@SLG@?ÿR@SD@HOÿ9R@SLG@?ÿTBMÿh<ÿ=>?@>ÿVD;E@?ÿBEÿ1431p32416Oÿ9rV<
                        FB?DHD@?ÿb@tGÿBEÿ1432132416ÿ9]N<OÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU52ÿ=\ÿ1431p32416ÿZ\
  1234532416            aOVOÿNA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
                           ÿ58ÿÿ9sÿ:;J<ÿ=>?@>ÿA::BDEGDE;ÿcm>GnILEÿXL>JBEÿXBEJmSGLEGJgÿ]]XÿLJÿXSLDIJÿLE?ÿ\BGDMDE;ÿA;@EGÿHB>ÿGK@
                        T@lGB>Jÿdm>JmLEGÿGBÿ2pÿaOVOXOÿv1hs9X<gÿ11ÿaOVOXOÿv14h9A<gÿLE?ÿ]BMLSÿRmS@ÿ2442w19_<ÿ9R@SLG@?ÿTBMÿUÿW<
                        =>?@>ÿVD;E@?ÿBEÿ1431p32416Oÿ9rV<ÿY=RZ[Z\A]]^ÿ_Z]`TÿAVÿT=XaF`\bÿU58ÿ=\ÿ1431p32416ÿZ\ÿaOVO
  1234532416            NA\cRadbX^ÿX=aRbÿ_=RÿbP`ÿTZVbRZXbÿ=_ÿT`]AeAR`fÿ9=QLHB>gÿFO<
  1234532416               ÿ55ÿÿ98ÿ:;J<ÿZEG@>DIÿ=>?@>ÿAmGKB>DnDE;ÿGK@ÿT@lGB>ÿGBÿ_DS@ÿaE?@>ÿV@LSÿdB>GDBEJÿBHÿZGJÿX>@?DGB>ÿFLG>Dt
                        XBEGLDEDE;ÿ̀I:SBj@@ÿA??>@JJÿZEHB>ILGDBEOÿ9R@SLG@?ÿTBMÿUÿp<ÿ=>?@>ÿVD;E@?ÿBEÿ1431p32416Oÿ9rV<

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 2.134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12345467889ÿ;48<=ÿ7>ÿ=2?@A<6B
        Case 3:23-cv-02071-E             Document 1-1               ÿCDD09/15/23
                                                                Filed   ÿ26ÿEFGEHGIFEJPage
                                                                                         ÿ46ÿ@K>666
                                                                                                 KÿL76M3@N
                                                                                                     of 678 B?9ÿ   ?2@3B672
                                                                                                                PageID    ÿ;23
                        BO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                           ÿDZÿÿREÿ[\Yÿ6V]^_`ÿVUÿ7[[`TWTa_`ÿTabÿ3`cd`e]ÿUVWÿ6V]^_`ÿfgÿ<h^iTf`]jÿP`hh̀WÿU^h̀bÿfgÿ4Wk^a\ÿ4>=ÿX
                        5WTgeVaÿ?Vda]gÿXÿ@[ejdWÿ?Vda]gÿXÿ=ThhTeÿ?Vda]gÿXÿBTWWTa]ÿ?Vda]gÿXÿMTdUlTaÿ?Vda]gÿXÿ3V_SmThhÿ?7=ÿX
  EIGFDGIFEJ            7hh̀aÿ4>=ÿXÿ;Taa^aÿ?7=ÿXÿ?Vh̀lTaÿ?Vda]gÿB7=ÿKÿR2STUVWXÿAKY
                           ÿDnÿÿRDÿ[\eYÿ6V]^_`ÿVUÿj`TW^a\opqrstuvwxyÿq{x|s}sxqsÿU^h̀bÿfgÿ=`f]VWÿO^\jhTabÿ?T[^]ThÿATaT\`l`a]X
                        8KNKÿR3<~ÿW`hT]`bÿbV_dl`a]ReYEÿ2Wb`Wÿ]WTaeU`WW^a\ÿ_Te`ÿadlf`WÿEJEIIJÿUWVlÿ@K>KÿLTaSWd[]_gÿ?VdW]ÿUVW
                        ]j`ÿ=^e]W^_]ÿVUÿ=`hTmTW`ÿ;^h̀bÿfgÿO^\jhTabÿ?T[^]ThÿATaT\`l`a]Xÿ8KNKÿR2STUVWXÿAKYYKÿ>]T]deÿ?VaU`W`a_`ÿ]V
  EIGFDGIFEJ            f`ÿj`hbÿVaÿEIGnGIFEJÿT]ÿFJ~Fÿ7AÿT]ÿ=ThhTeÿdb\`ÿ`Wa^\Taÿ?]WlKÿROT^]iXÿ<W^_Y
                           ÿDÿÿRDFÿ[\eÿÿbV_eYÿ6V]^_`ÿVUÿ>`Wk^_`ÿGGÿ6V]^_`ÿVUÿ<a]WgÿVUÿ2Wb`WÿVaÿAV]^VaÿVUÿ=`f]VWÿUVWÿ<a]WgÿVU
                        2Wb`WÿR4Yÿ7d]jVW^i^a\ÿ]j`ÿ=`f]VWÿ]VÿR7YÿNTgÿTabÿOVaVWÿNW`[`]^]^Vaÿ?Vl[`aeT]^VaXÿ3`^lfdWeTfh̀ÿLde^a`ee
                        <[`ae`eXÿTabÿ<l[hVg``ÿL`a`U^]ÿ2fh^\T]^VaeXÿTabÿRLYÿAT^a]T^aÿTabÿ?Va]^ad`ÿ?`W]T^aÿ?Vl[`aeT]^VaÿTab
                        L`a`U^]ÿNWV\WTleÿNVe][`]^]^VaÿTabÿR44Yÿ5WTa]^a\ÿ3`hT]`bÿ3`h^`UÿRW`hT]`bÿbV_dl`a]ReYIXÿJYÿ;^h̀bÿfg
                        O^\jhTabÿ?T[^]ThÿATaT\`l`a]Xÿ8KNKKÿR7]]T_jl`a]e~ÿCÿEÿ<j^f^]ÿEÿCÿIÿ<j^f^]ÿIYÿR26`^hhXÿTl`eY
                        12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCDÿ26ÿEFGEHGIFEJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23
  EIGFDGIFEJ            BO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                           ÿDHÿÿRHÿ[\eÿDÿbV_eYÿ6V]^_`ÿVUÿ>`Wk^_`ÿGGÿ6V]^_`ÿVUÿ<a]WgÿVUÿ2Wb`WÿVaÿ7[[h^_T]^VaÿUVWÿTaÿ2Wb`W
                        7[[V^a]^a\ÿMdW]ilTaÿ?TWeVaÿ?Vaedh]Ta]eÿ88?ÿTeÿ?hT^leÿTabÿ6V]^_^a\ÿ7\`a]ÿUVWÿ]j`ÿ=`f]VWÿNdWedTa]ÿ]V
                        IHÿ@K>K?KÿEZnR?YXÿEEÿ@K>K?KÿEFZR7YXÿTabÿ8V_Thÿ3dh̀ÿIFFIER;YÿRW`hT]`bÿbV_dl`a]ReYXÿDYÿ;^h̀bÿfg
                        O^\jhTabÿ?T[^]ThÿATaT\`l`a]Xÿ8KNKKÿR7]]T_jl`a]e~ÿCÿEÿ<j^f^]ÿEÿCÿIÿ<j^f^]ÿIYÿR7]]T_jl`a]e~ÿCÿEÿ<j^f^]
                        EÿCÿIÿ<j^f^]ÿIYÿR26`^hhXÿTl`eYÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCDHÿ26ÿEFGEHGIFEJÿ46ÿ@K>K
                        L76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKYÿ7bb^]^VaThÿT]]T_jl`a]ReY
  EIGFDGIFEJ            Tbb`bÿVaÿEIGJGIFEJÿR2STUVWXÿAKYK
                           ÿDJÿÿREÿ[\eÿIÿbV_eYÿ6V]^_`ÿVUÿO`TW^a\ÿGGÿ6V]^_`ÿVUÿAV]^VaÿVUÿ=`f]VWÿUVWÿ<a]WgÿVUÿTaÿ2Wb`WÿR4Y
                        <]`ab^a\ÿB^l`ÿ]Vÿ;^h̀ÿ>_j`bdh̀eÿVUÿ7ee`]eÿTabÿ8^Tf^h^]^`eXÿ>_j`bdh̀eÿVUÿ<`_d]VWgÿ?Va]WT_]eÿTab
                        @a`[^W`bÿ8`Te`eXÿTabÿ>]T]`l`a]ÿVUÿ;^aTa_^Thÿ7UUT^WeXÿTabÿR44Yÿ5WTa]^a\ÿ3`hT]`bÿ3`h^`UÿRW`hT]`b
                        bV_dl`a]ReYDYÿ;^h̀bÿfgÿO^\jhTabÿ?T[^]ThÿATaT\`l`a]Xÿ8KNKKÿO`TW^a\ÿe_j`bdh̀bÿUVWÿEEGEJGIFEJÿT]ÿEI~FF
                        NAÿT]ÿ@>ÿLTaSWd[]_gÿ?VdW]XÿHIDÿATWS`]ÿ>]KXÿZ]jÿ;hKXÿ?VdW]WVVlÿCnXÿP^hl^a\]VaXÿ=`hTmTW`Kÿ2f`_]^Vae
                        bd`ÿfgÿEEGEIGIFEJKR7]]T_jl`a]e~ÿCÿEÿ<j^f^]ÿEYÿR26`^hhXÿTl`eYÿ12345467889ÿ;48<=ÿ7>
                        =2?@A<6BÿCDJÿ26ÿEFGEHGIFEJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;
  EIGFDGIFEJ            =<87P73<QÿR2STUVWXÿAKY
                           ÿZFÿÿRÿ[\eÿÿbV_eYÿ6V]^_`ÿVUÿO`TW^a\ÿGGÿ6V]^_`ÿVUÿ<a]WgÿVUÿ4a]`W^lÿ2Wb`WÿTabÿ;^aThÿO`TW^a\ÿVaÿAV]^Va
                        VUÿ=`f]VWÿUVWÿ<a]WgÿVUÿ4a]`W^lÿTabÿ;^aThÿ2Wb`WeÿR7Yÿ7d]jVW^i^a\ÿ=`f]VWÿ]VÿNTgÿNW`[`]^]^Vaÿ?hT^leÿVU
                        ?W^]^_Thÿ`abVWeÿTabÿRLYÿ5WTa]^a\ÿ3`hT]`bÿ3`h^`UÿRW`hT]`bÿbV_dl`a]ReYXÿDFYÿ;^h̀bÿfgÿO^\jhTabÿ?T[^]Th
                        ATaT\`l`a]Xÿ8KNKKÿO`TW^a\ÿe_j`bdh̀bÿUVWÿEEGEJGIFEJÿT]ÿEI~FFÿNAÿT]ÿ@>ÿLTaSWd[]_gÿ?VdW]XÿHIDÿATWS`]
                        >]KXÿZ]jÿ;hKXÿ?VdW]WVVlÿCnXÿP^hl^a\]VaXÿ=`hTmTW`Kÿ2f`_]^Vaeÿbd`ÿfgÿEEGEIGIFEJKÿR7]]T_jl`a]e~ÿCÿE
                        <j^f^]ÿEÿCÿIÿ<j^f^]ÿIYÿR26`^hhXÿTl`eYÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCZFÿ26ÿEFGEHGIFEJÿ46
  EIGFDGIFEJ            @K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                           ÿZEÿÿRnÿ[\eÿÿbV_eYÿ6V]^_`ÿVUÿO`TW^a\ÿGGÿ6V]^_`ÿVUÿ<a]WgÿVUÿ4a]`W^lÿ2Wb`WÿTabÿ;^aThÿO`TW^a\ÿVaÿAV]^Va
                        VUÿ=`f]VWÿUVWÿ<a]WgÿVUÿ4a]`W^lÿTabÿ;^aThÿ2Wb`Weÿ7d]jVW^i^a\ÿR7Yÿ?Va]^adTa_`ÿVUÿ<^e]^a\ÿ?Tej
                        ATaT\`l`a]ÿ>ge]`lÿTabÿLWVS`WT\`ÿ3`hT]^Vaej^[eXÿRLYÿ?Va]^ad`bÿ@e`ÿVUÿ]j`ÿNW^l`ÿ7__Vda]XÿR?Yÿ8^l^]`b
                        PT^k`WÿVUÿ>`_]^VaÿDZRfYÿ=`[Ve^]ÿTabÿ4ak`e]l`a]ÿ3`cd^W`l`a]eXÿTabÿR=Yÿ5WTa]^a\ÿ3`hT]`bÿ3`h^`UÿRW`hT]`b
                        bV_dl`a]ReYZXÿDIYÿ;^h̀bÿfgÿO^\jhTabÿ?T[^]ThÿATaT\`l`a]Xÿ8KNKKÿO`TW^a\ÿe_j`bdh̀bÿUVWÿEEGEJGIFEJÿT]
                        EI~FFÿNAÿT]ÿ@>ÿLTaSWd[]_gÿ?VdW]XÿHIDÿATWS`]ÿ>]KXÿZ]jÿ;hKXÿ?VdW]WVVlÿCnXÿP^hl^a\]VaXÿ=`hTmTW`K
                        2f`_]^Vaeÿbd`ÿfgÿEEGEIGIFEJÿR7]]T_jl`a]e~ÿCÿEÿ<j^f^]ÿEÿCÿIÿ<j^f^]ÿIYÿR26`^hhXÿTl`eYÿ12345467889
                        ;48<=ÿ7>ÿ=2?@A<6BÿCZEÿ26ÿEFGEHGIFEJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?B
  EIGFDGIFEJ            2;ÿ=<87P73<QÿR2STUVWXÿAKY
  EIGFDGIFEJ               ÿZIÿÿRIIÿ[\eÿÿbV_eYÿ6V]^_`ÿVUÿO`TW^a\ÿGGÿ6V]^_`ÿVUÿ<a]WgÿVUÿ4a]`W^lÿ2Wb`WÿTabÿ;^aThÿO`TW^a\ÿVaÿAV]^Va
                        VUÿ=`f]VWÿUVWÿ<a]WgÿVUÿ4a]`W^lÿTabÿ;^aThÿ2Wb`Weÿ7d]jVW^i^a\ÿ=`f]VWÿ]Vÿ;^h̀ÿ@ab`Wÿ>`ThÿNVW]^VaeÿVUÿ4]e
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                  22134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12345672ÿ9:625;ÿ17<6:5<5<=ÿ>?@A7B33ÿC4
        Case 3:23-cv-02071-E             Document 1-1               423DD09/15/23
                                                                 Filed    ÿE<F72?:657<ÿG23Page
                                                                                           A:634ÿ4667
                                                                                                  7HI?3
                                                                                                      of<6
                                                                                                         GDJKLÿMMJÿPageID
                                                                                                         678       N5A34ÿOBÿP5=QA:<4
                                                                                                                             673
                        1:@56:Aÿ9:<:=3?3<6LÿRSTSSÿP3:25<=ÿDHQ34IA34ÿF72ÿUUVUWVXYUWÿ:6ÿUXZYYÿT9ÿ:6ÿ[\ÿ]:<^2I@6HBÿ17I26LÿKXM
                        9:2^36ÿ\6SLÿ_6QÿNASLÿ17I26277?ÿ̀aLÿb5A?5<=67<Lÿc3A:d:23SÿeOf3H657<Dÿ4I3ÿOBÿUUVUXVXYUWSÿGC66:HQ?3<6DZÿ̀
                        Uÿ>;Q5O56ÿUÿ̀ÿXÿ>;Q5O56ÿXJÿGegh35AALÿi:?3DJÿjekElEhCRRmÿNER>cÿC\ÿce1[9>hnÿ̀_XÿehÿUYVUKVXYUW
                        Ehÿ[S\Sÿ]Chok[Tn1mÿ1e[knÿNekÿnP>ÿcE\nkE1nÿeNÿc>RCbCk>pÿGe^:F72Lÿ9SJ
                           ÿ_qÿÿGqaÿ@=DrÿXÿ47HDJÿh765H3ÿ7FÿP3:25<=ÿVVÿh765H3ÿ7Fÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7FÿE<6325?ÿ:<4ÿN5<:A
                        e2432DÿGCJÿCI6Q725s5<=ÿ6Q3ÿ[D3ÿ7Fÿ1:DQÿ17AA:632:ALÿG]JÿT27t545<=ÿC43uI:63ÿT2763H657<LÿG1JÿCI6Q725s5<=
                        6Q3ÿR5uI54:657<ÿ7Fÿ\3HI25653DLÿGcJÿ9745FB5<=ÿ6Q3ÿCI67?:65Hÿ\6:BLÿ:<4ÿG>Jÿ\HQ34IA5<=ÿ:ÿN5<:AÿP3:25<=
                        G23A:634ÿ47HI?3<6GDJaJÿN5A34ÿOBÿP5=QA:<4ÿ1:@56:Aÿ9:<:=3?3<6LÿRSTSSÿP3:25<=ÿDHQ34IA34ÿF72ÿUUVvVXYUWÿ:6
                        YqZYYÿT9ÿ:6ÿ[\ÿ]:<^2I@6HBÿ17I26LÿKXMÿ9:2^36ÿ\6SLÿ_6QÿNASLÿ17I26277?ÿ̀aLÿb5A?5<=67<Lÿc3A:d:23S
                        eOf3H657<Dÿ4I3ÿOBÿUYVqUVXYUWSÿGC66:HQ?3<6DZÿ̀ÿUÿ>;Q5O56ÿUJÿGegh35AALÿi:?3DJÿjekElEhCRRmÿNER>cÿC\
                        ce1[9>hnÿ̀_qÿehÿUYVUKVXYUWÿEhÿ[S\Sÿ]Chok[Tn1mÿ1e[knÿNekÿnP>ÿcE\nkE1nÿeN
  UXVYMVXYUW            c>RCbCk>pÿGe^:F72Lÿ9SJ
                           ÿ_MÿÿGvÿ@=DJÿCFF54:t56Vc3HA:2:657<ÿ7Fÿ\32t5H3ÿF72ÿD32t5H3ÿ7FÿGUJÿj\5=<34pÿe2432ÿC@@27t5<=ÿ97657<ÿF72
                        C4?5DD57<ÿ@27ÿQ:Hÿt5H3ÿi3FF23BÿhSÿT7?32:<6sÿjc7H^36ÿh7SÿXWprÿGXJÿj\5=<34pÿe2432ÿC@@27t5<=ÿ97657<ÿF72
                        C4?5DD57<ÿ@27ÿQ:Hÿt5H3ÿ9:;5?ÿ]SÿR56t:^ÿjc7H^36ÿh7SÿqYprÿGqJÿj\5=<34pÿe2432ÿC@@27t5<=ÿ97657<ÿF72
                        C4?5DD57<ÿ@27ÿQ:Hÿt5H3ÿE2:ÿcSÿoQ:2:DHQÿjc7H^36ÿh7SÿqUprÿGMJÿj\5=<34pÿe2432ÿC@@27t5<=ÿ97657<ÿF72
                        C4?5DD57<ÿ@27ÿQ:Hÿt5H3ÿl23=72BÿwSÿc3?7ÿjc7H^36ÿh7SÿqXprÿG_Jÿj\5=<34pÿe2432ÿC@@27t5<=ÿ97657<ÿF72
                        C4?5DD57<ÿ@27ÿQ:Hÿt5H3ÿi7Q<ÿCSÿ97225Dÿjc7H^36ÿh7SÿqKprÿGaJÿh765H3ÿ7Fÿ><62Bÿ7Fÿe2432ÿ7<ÿ97657<ÿ7F
                        c3O672ÿF72ÿ><62Bÿ7Fÿe2432ÿGEJÿCI6Q725s5<=ÿ6Q3ÿc3O672ÿ67ÿGCJÿT:Bÿ:<4ÿP7<72ÿT23@365657<ÿ17?@3<D:657<L
                        k35?OI2D:OA3ÿ]ID5<3DDÿ>;@3<D3DLÿ:<4ÿ>?@A7B33ÿ]3<3F56ÿeOA5=:657<DLÿ:<4ÿG]Jÿ9:5<6:5<ÿ:<4ÿ17<65<I3
                        1326:5<ÿ17?@3<D:657<ÿ:<4ÿ]3<3F56ÿT27=2:?DÿT7D6@365657<rÿ:<4ÿGEEJÿl2:<65<=ÿk3A:634ÿk3A53Fÿjc7H^36ÿh7S
                        MvprÿGvJÿh765H3ÿ7Fÿ><62Bÿ7Fÿe2432ÿ7<ÿC@@A5H:657<ÿF72ÿ:<ÿe2432ÿC@@75<65<=ÿoI26s?:<ÿ1:2D7<ÿ17<DIA6:<6D
                        RR1ÿ:Dÿ1A:5?Dÿ:<4ÿh765H5<=ÿC=3<6ÿF72ÿ6Q3ÿc3O672ÿTI2DI:<6ÿ67ÿXKÿ[S\S1SÿxU_aG1JLÿUUÿ[S\S1SÿxUY_GCJLÿ:<4
                        R7H:AÿkIA3ÿXYYXyUGNJÿjc7H^36ÿh7SÿMKprÿGKJÿh765H3ÿ7Fÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7Fÿ:<ÿe2432ÿGEJÿ>;63<45<=
                        n5?3ÿ67ÿN5A3ÿ\HQ34IA3Dÿ7FÿCDD36Dÿ:<4ÿR5:O5A5653DLÿ\HQ34IA3Dÿ7Fÿ>;3HI672Bÿ17<62:H6Dÿ:<4ÿ[<3;@5234ÿR3:D3DL
                        :<4ÿ\6:63?3<6ÿ7FÿN5<:<H5:AÿCFF:52DLÿ:<4ÿGEEJÿl2:<65<=ÿk3A:634ÿk3A53Fÿjc7H^36ÿh7SÿMWprÿGWJÿh765H3ÿ7Fÿ><62B
                        7FÿE<6325?ÿe2432ÿ:<4ÿN5<:AÿP3:25<=ÿ7<ÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7FÿE<6325?ÿ:<4ÿN5<:Aÿe2432DÿGCJ
                        CI6Q725s5<=ÿc3O672ÿ67ÿT:BÿT23@365657<ÿ1A:5?Dÿ7Fÿ12565H:Aÿw3<472Dÿ:<4ÿG]Jÿl2:<65<=ÿk3A:634ÿk3A53Fÿjc7H^36
                        h7Sÿ_YprÿGUYJÿh765H3ÿ7Fÿ><62Bÿ7FÿE<6325?ÿe2432ÿ:<4ÿN5<:AÿP3:25<=ÿ7<ÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7FÿE<6325?
                        :<4ÿN5<:Aÿe2432DÿCI6Q725s5<=ÿGCJÿ17<65<I:<H3ÿ7Fÿ>;5D65<=ÿ1:DQÿ9:<:=3?3<6ÿ\BD63?ÿ:<4ÿ]27^32:=3
                        k3A:657<DQ5@DLÿG]Jÿ17<65<I34ÿ[D3ÿ7Fÿ6Q3ÿT25?3ÿCHH7I<6LÿG1JÿR5?5634ÿb:5t32ÿ7Fÿ\3H657<ÿqM_GOJÿc3@7D56
                        :<4ÿE<t3D6?3<6ÿk3uI523?3<6DLÿ:<4ÿGcJÿl2:<65<=ÿk3A:634ÿk3A53Fÿjc7H^36ÿh7Sÿ_UprÿGUUJÿh765H3ÿ7Fÿ><62Bÿ7F
                        E<6325?ÿe2432ÿ:<4ÿN5<:AÿP3:25<=ÿ7<ÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7FÿE<6325?ÿ:<4ÿN5<:Aÿe2432DÿCI6Q725s5<=
                        c3O672ÿ67ÿN5A3ÿ[<432ÿ\3:AÿT72657<Dÿ7FÿE6Dÿ12345672ÿ9:625;ÿ17<6:5<5<=ÿ>?@A7B33ÿC4423DDÿE<F72?:657<
                        jc7H^36ÿh7Sÿ_Xprÿ:<4ÿGUXJÿh765H3ÿ7Fÿ97657<ÿ7Fÿc3O672ÿF72ÿ><62Bÿ7FÿE<6325?ÿ:<4ÿN5<:Aÿe2432DÿGCJ
                        CI6Q725s5<=ÿ6Q3ÿ[D3ÿ7Fÿ1:DQÿ17AA:632:ALÿG]JÿT27t545<=ÿC43uI:63ÿT2763H657<LÿG1JÿCI6Q725s5<=ÿ6Q3
                        R5uI54:657<ÿ7Fÿ\3HI25653DLÿGcJÿ9745FB5<=ÿ6Q3ÿCI67?:65Hÿ\6:BLÿ:<4ÿG>Jÿ\HQ34IA5<=ÿ:ÿN5<:AÿP3:25<=ÿjc7H^36
                        h7Sÿ_qpÿG23A:634ÿ47HI?3<6GDJXWLÿqYLÿqULÿqXLÿqKLÿMvLÿMKLÿMWLÿ_YLÿ_ULÿ_XLÿ_qJÿN5A34ÿOBÿP5=QA:<4ÿ1:@56:A
                        9:<:=3?3<6LÿRSTSÿGegh35AALÿi:?3DJÿjekElEhCRRmÿNER>cÿC\ÿce1[9>hnÿ̀__ÿehÿUYVXUVXYUWÿEhÿ[S\S
  UXVYMVXYUW            ]Chok[Tn1mÿ1e[knÿNekÿnP>ÿcE\nkE1nÿeNÿc>RCbCk>pÿGe^:F72Lÿ9J
                           ÿ__ÿÿGMÿ@=DrÿXÿ47HDJÿh765H3ÿ7FÿC@@3:2:<H3ÿ:<4ÿk3uI3D6ÿF72ÿh765H3ÿOBÿi7D3FÿbSÿ95<6sÿLÿi7Q<ÿ>SÿRIH5:<ÿL
                        TQ5AA5@ÿRSÿR:?O32D7<ÿLÿk:^Q33ÿwSÿT:63AÿF5A34ÿOBÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6LÿRSTSÿLÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6
                        lTLÿRR1ÿSÿGC66:HQ?3<6DZÿ̀ÿUÿ13265F5H:63ÿ7Fÿ\32t5H3JÿG95<6sLÿi7D3FJÿjekElEhCRRmÿNER>cÿC\
                        ce1[9>hnÿ̀_aÿehÿUYVXXVXYUWÿEhÿ[S\Sÿ]Chok[Tn1mÿ1e[knÿNekÿnP>ÿcE\nkE1nÿeN
  UXVYMVXYUW            c>RCbCk>pGe^:F72Lÿ9SJ
                           ÿ_aÿÿGUÿ@=Jÿ97657<ÿ67ÿC@@3:2ÿ@27ÿQ:Hÿt5H3ÿ7Fÿk:^Q33ÿwSÿT:63Aÿ7Fÿb5<D63:4ÿT1Sÿk3H35@6ÿhI?O32
                        qUUXvaUUa_LÿN5A34ÿOBÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6ÿlTÿRR1LÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6LÿRSTSSÿG95<6sLÿi7D3FJ
                        jekElEhCRRmÿNER>cÿC\ÿce1[9>hnÿ̀_vÿehÿUYVXXVXYUWÿEhÿ[S\Sÿ]Chok[Tn1mÿ1e[knÿNek
  UXVYMVXYUW            nP>ÿcE\nkE1nÿeNÿc>RCbCk>pÿGe^:F72Lÿ9SJ
  UXVYMVXYUW               ÿ_vÿÿGUÿ@=Jÿ97657<ÿ67ÿC@@3:2ÿ@27ÿQ:Hÿt5H3ÿ7FÿTQ5AA5@ÿR:?O32D7<ÿ7Fÿb5<D63:4ÿT1Sÿk3H35@6ÿhI?O32
                        qUUXvaUUa_LÿN5A34ÿOBÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6ÿlTÿRR1LÿCH5Dÿ1:@56:Aÿ9:<:=3?3<6LÿRSTSSÿG95<6sLÿi7D3FJ
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                   23134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12345467889ÿ;48<=ÿ7>ÿ=2?@A<6B
        Case 3:23-cv-02071-E             Document 1-1             ÿCDE09/15/23
                                                               Filed  ÿ26ÿFGHIIHIGFJPage
                                                                                     ÿ46ÿ@K>668
                                                                                             KÿL76M3@N
                                                                                                  of 678 B?9ÿ   ?2@3B674
                                                                                                             PageID      ÿ;23
                        BO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿDEÿÿRFÿ[\YÿAV]^V_ÿ]Vÿ7[[`TWÿ[WVÿaTbÿc^b`ÿVUÿdVa_ÿ<Kÿ8eb^T_ÿVUÿLfT_Sÿ3Vg`ÿ88NKÿ3`b`^[]ÿ6egh`W
                        iFFIDZEjikXÿ;^f̀lÿhmÿ7b^nÿ?T[^]TfÿAT_T\`g`_]ÿ5Nÿ88?Xÿ7b^nÿ?T[^]TfÿAT_T\`g`_]Xÿ8KNKKÿRA^_]oXÿdVn`UY
                        12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCDJÿ26ÿFGHIIHIGFJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23
  FIHGZHIGFJ            BO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿDJÿÿRZÿ[\npÿiÿlVbnYÿ6V]^b`ÿVUÿ7[[`TWT_b`ÿT_lÿ3`qe`n]ÿUVWÿ6V]^b`ÿhmÿA^baT`fÿ4KÿLT^WlÿU^f̀lÿhmÿ4_]`W`n]`l
                        NTW]mÿN`_n^V_ÿL`_`U^]ÿ5eTWT_]mÿ?VW[VWT]^V_ÿKÿR7]]Tbag`_]nrÿCÿFÿ?`W]^U^bT]^V_ÿVUÿ@_^]`lÿ>]T]`n
                        5Vc`W_g`_]ÿ7]]VW_`mÿCÿIÿ?`W]^U^bT]`ÿVUÿ>`Wc^b`YÿRLT^WlXÿA^baT`fYÿ12345467889ÿ;48<=ÿ7>
                        =2?@A<6BÿCkGÿ26ÿFGHIiHIGFJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;
  FIHGZHIGFJ            =<87P73<QR2STUVWXÿAKY
                          ÿkGÿÿRFÿ[\Yÿ2Wl`Wÿ5WT_]^_\ÿAV]^V_ÿUVWÿ7lg^nn^V_ÿ[WVÿaTbÿc^b`ÿUVWÿ3TSa``ÿsKÿNT]`fÿR3`fT]`lÿ=VbÿCÿDjY
                        2Wl`Wÿ>^\_`lÿV_ÿFGHIZHIGFJKÿR=35Yÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkFÿ26ÿFGHIZHIGFJÿ46
  FIHGZHIGFJ            @K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkFÿÿRFÿ[\Yÿ2Wl`Wÿ5WT_]^_\ÿAV]^V_ÿUVWÿ7lg^nn^V_ÿ[WVÿaTbÿc^b`ÿVUÿdVa_ÿ<Kÿ8eb^T_ÿR3`fT]`lÿ=VbÿCÿDJY
                        2Wl`Wÿ>^\_`lÿV_ÿFGHIZHIGFJKÿR=35Yÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkIÿ26ÿFGHIZHIGFJÿ46
  FIHGZHIGFJ            @K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkIÿÿRFÿ[\Yÿ2Wl`Wÿ5WT_]^_\ÿAV]^V_ÿUVWÿ7lg^nn^V_ÿ[WVÿaTbÿc^b`ÿVUÿNa^ff^[ÿ8Tgh`WnV_ÿR3`fT]`lÿ=VbÿCÿDEY
                        2Wl`Wÿ>^\_`lÿV_ÿFGHIZHIGFJKÿR=35Yÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkiÿ26ÿFGHIZHIGFJÿ46
  FIHGZHIGFJ            @K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkiÿÿRIÿ[\nYÿ6V]^b`ÿVUÿ7[[`TWT_b`ÿT_lÿ3`qe`n]ÿUVWÿ6V]^b`ÿhmÿA^baT`fÿ8Kÿs^flÿU^f̀lÿhmÿ?W`l^]VWÿNT]W^bS
                        =Te\a`W]mÿKÿRs^flXÿA^baT`fYÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkZÿ26ÿFGHIZHIGFJÿ46ÿ@K>K
  FIHGZHIGFJ            L76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkZÿÿRFÿ[\Yÿ6V]^b`ÿVUÿ7[[V^_]g`_]ÿVUÿ?W`l^]VWntÿ?Vgg^]]``ÿ;^f̀lÿhmÿ@K>KÿBWen]``KÿR8`TgmXÿdT_`Y
                        12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkDÿ26ÿFGHIJHIGFJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23
  FIHGZHIGFJ            BO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkDÿÿRFÿ[\Yÿ3`qe`n]ÿVUÿ@>ÿBWen]``ÿ]Vÿ>ba`lef̀ÿ>`b]^V_ÿiZFÿA``]^_\ÿVUÿ?W`l^]VWnÿ6Vc`gh`WÿIGXIGFJÿT]
                        JriGÿTKgKÿ;^f̀lÿhmÿ@K>KÿBWen]``KÿR8`TgmXÿdT_`Yÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkkÿ26
  FIHGZHIGFJ            FGHIJHIGFJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
                          ÿkkÿÿRIÿ[\nYÿ6V]^b`ÿVUÿA``]^_\ÿVUÿ?W`l^]VWnH?Vgg`_b`g`_]ÿVUÿ?Tn`ÿ;^f̀lÿhmÿO^\afT_lÿ?T[^]Tf
                        AT_T\`g`_]Xÿ8KNKKÿiZFRTYÿg``]^_\ÿ]Vÿh`ÿa`flÿV_ÿFFHIGHIGFJÿT]ÿGJriGÿ7AÿT]ÿdKÿ?Tf̀hÿLV\\nÿ;`l`WTf
                        Le^fl^_\XÿEZZÿM^_\ÿ>]KXÿ3VVgÿiIGJXÿP^fg^_\]V_Xÿ=`fTuTW`KÿR2t6`^ffXÿdTg`nYÿ12345467889ÿ;48<=ÿ7>
                        =2?@A<6BÿCkjÿ26ÿFGHIJHIGFJÿ46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;
  FIHGZHIGFJ            =<87P73<QÿR2STUVWXÿAKY
                          ÿkjÿÿRIjÿ[\npÿZÿlVbnYÿAV]^V_ÿ]Vÿ7e]aVW^o`ÿHAV]^V_ÿVUÿ]a`ÿ=`h]VWÿUVWÿ<_]WmÿVUÿT_ÿ2Wl`WÿR4Yÿ7e]aVW^o^_\
                        LWTlf̀mÿ=Kÿ>aTW[ÿ]Vÿ7b]ÿTnÿ;VW`^\_ÿ3`[W`n`_]T]^c`ÿNeWneT_]ÿ]VÿFFÿ@K>K?Kÿ>`b]^V_ÿFDGDÿT_lÿR44Yÿ5WT_]^_\
                        3`fT]`lÿ3`f^`Uÿ;^f̀lÿhmÿO^\afT_lÿ?T[^]TfÿAT_T\`g`_]Xÿ8KNKKÿO`TW^_\ÿnba`lef̀lÿUVWÿFFHFJHIGFJÿT]ÿFIrGG
                        NAÿT]ÿ@>ÿLT_SWe[]bmÿ?VeW]XÿEIZÿATWS`]ÿ>]KXÿD]aÿ;fKXÿ?VeW]WVVgÿCkXÿP^fg^_\]V_Xÿ=`fTuTW`Kÿ2hv̀b]^V_n
                        le`ÿhmÿFFHFIHIGFJKÿR7]]Tbag`_]nrÿCÿFÿ6V]^b`ÿCÿIÿ<wa^h^]ÿ7ÿxÿNWV[Vn`lÿ;VWgÿVUÿ2Wl`WÿCÿiÿ?`W]^U^bT]`ÿVU
                        >`Wc^b`ÿT_lÿ>`Wc^b`ÿ8^n]YÿR2t6`^ffXÿdTg`nYÿ12345467889ÿ;48<=ÿ7>ÿ=2?@A<6BÿCkEÿ26ÿFGHIJHIGFJ
  FIHGZHIGFJ            46ÿ@K>KÿL76M3@NB?9ÿ?2@3Bÿ;23ÿBO<ÿ=4>B34?Bÿ2;ÿ=<87P73<QÿR2STUVWXÿAKY
  FIHGZHIGFJ              ÿkEÿÿRZEÿ[\npÿEÿlVbnYÿ7[[f^bT]^V_HAV]^V_ÿ]Vÿ<g[fVmH3`]T^_ÿ;Vf̀mÿ5TWl`W`Xÿ;Vf̀mÿyÿ8TWl_`Wÿ88NÿTn
                        >[`b^TfÿB`wTnÿ?Ve_n`fÿ;^f̀lÿhmÿO^\afT_lÿ?T[^]TfÿAT_T\`g`_]Xÿ8KNKKÿO`TW^_\ÿnba`lef̀lÿUVWÿFFHFJHIGFJÿT]
                        FIrGGÿNAÿT]ÿ@>ÿLT_SWe[]bmÿ?VeW]XÿEIZÿATWS`]ÿ>]KXÿD]aÿ;fKXÿ?VeW]WVVgÿCkXÿP^fg^_\]V_Xÿ=`fTuTW`K
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                  24134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CDÿEF66G5HI4
        Case 3:23-cv-02071-E             Document 1-1              96:Jÿ09/15/23
                                                                Filed   Kÿ?ÿL86754ÿKÿAÿMNH7276ÿF669
                                                                                        Page     ÿKÿOÿMN
                                                                                                      of H7276ÿPÿKÿPageID
                                                                                                         678       QÿMNH7276ÿRÿ
                                                                                                                              S
                                                                                                                             675
                        TU8V8:4<ÿ1U<4UÿKÿWÿAB?XÿY6G64I496ÿKÿXÿZ45[GUG6789ÿ\UG9]ÿ^G64UH8=:4ÿKÿ_ÿR4U67̀75G64ÿ8`ÿY4Ua754bÿE1cL47[[d
                        eGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿKXCÿ1Lÿ?B@AC@AB?CÿhLÿlDYDÿPFLoglTnRkÿR1lgn
                        \1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDb
                           ÿXCÿÿEO_ÿVr:sÿ_ÿ<85:bÿtt^hnpZgF^LÿV4UÿKQO_DÿFVV[75G6789@m86789ÿ68ÿMIV[8>@g46G79ÿj>99ÿT79]4U
                        R8Nÿuÿp=U:6ÿjjTÿG:ÿYV457G[ÿn4NG:ÿj767rG6789ÿR8=9:4[ÿ\7[4<ÿ2>ÿp7rH[G9<ÿRGV76G[ÿmG9Gr4I496dÿjDTDD
                        p4GU79rÿ:5H4<=[4<ÿ̀8Uÿ??@?C@AB?CÿG6ÿ?AJBBÿTmÿG6ÿlYÿPG9]U=V65>ÿR8=U6dÿvAQÿmGU]46ÿY6DdÿW6Hÿ\[Dd
                        R8=U6U88IÿKXdÿ^7[I79r689dÿZ4[GwGU4Dÿ123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CDÿEF66G5HI496:JÿKÿ?ÿL86754ÿKÿA
                        MNH7276ÿFÿSÿp=U:6ÿZ45[GUG6789ÿKÿOÿMNH7276ÿPÿSÿTU8V8:4<ÿ1U<4UÿKÿQÿAB?XÿY6G64I496ÿKÿWÿZ45[GUG6789ÿ\UG9]
                        ^G64UH8=:4ÿKÿXÿR4U67̀75G64ÿ8`ÿY4Ua754bÿE1cL47[[dÿeGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿK_Bÿ1L
                        ?B@AC@AB?CÿhLÿlDYDÿPFLoglTnRkÿR1lgnÿ\1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDb
  ?A@BQ@AB?C            m8<7̀74<ÿ89ÿA@??@ABABÿEM5]4UdÿRDbDÿEM964U4<Jÿ?A@BW@AB?Cb
                           ÿ_BÿÿEOWÿVr:sÿ_ÿ<85:bÿFVV[75G6789@m86789ÿ68ÿMIV[8>@g46G79ÿTG5H=[:]7ÿY6G9rÿx74H[ÿuÿe894:ÿjjTÿG:
                        R8=9:4[ÿ̀8Uÿ6H4ÿZ4268UÿG9<ÿZ4268Uÿ79ÿT8::4::789ÿL=95ÿTU8ÿn=95ÿ68ÿ6H4ÿT4676789ÿZG64ÿ\7[4<ÿ2>ÿp7rH[G9<
                        RGV76G[ÿmG9Gr4I496dÿjDTDDÿp4GU79rÿ:5H4<=[4<ÿ̀8Uÿ??@?C@AB?CÿG6ÿ?AJBBÿTmÿG6ÿlYÿPG9]U=V65>ÿR8=U6dÿvAQ
                        mGU]46ÿY6DdÿW6Hÿ\[DdÿR8=U6U88IÿKXdÿ^7[I79r689dÿZ4[GwGU4Dÿ123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CEF66G5HI496:JÿKÿ?
                        L86754ÿKÿAÿg=[4ÿAB?XÿY6G64I496ÿKÿOÿZ45[GUG6789ÿ8`ÿe4``U4>ÿLDÿT8I4UG96yÿ79ÿY=VV8U6ÿKÿQÿZ45[GUG6789ÿ8`
                        \UG9]ÿ^G64UH8=:4ÿKÿWÿTU8V8:4<ÿ\8UIÿ8`ÿ1U<4UÿKÿXÿR4U67̀75G64ÿ8`ÿY4Ua754ÿG9<ÿY4Ua754ÿj7:6bÿE1cL47[[d
                        eGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿK_?ÿ1Lÿ?B@AC@AB?CÿhLÿlDYDÿPFLoglTnRkÿR1lgn
                        \1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDbÿEmG79ÿZ85=I496ÿ_BÿU4V[G54<ÿ89ÿA@?X@ABAAb
  ?A@BQ@AB?C            E1]G`8UdÿmGU54>bDÿF<<76789G[ÿG66G5HI496E:bÿG<<4<ÿ89ÿA@?X@ABAAÿE1]G`8UdÿmGU54>bDÿEM964U4<Jÿ?A@BW@AB?Cb
                           ÿ_?ÿÿECÿVr:sÿAÿ<85:bÿL86754ÿ8`ÿ^76H<UGwG[ÿ8`ÿm86789ÿ8`ÿZ4268Uÿ̀8UÿM96U>ÿ8`ÿh964U7IÿG9<ÿ\79G[ÿ1U<4U:ÿEFb
                        F=6H8U7y79rÿ6H4ÿl:4ÿ8`ÿRG:HÿR8[[G64UG[dÿEPbÿTU8a7<79rÿF<4z=G64ÿTU86456789dÿERbÿF=6H8U7y79rÿ6H4
                        j7z=7<G6789ÿ8`ÿY45=U7674:dÿEZbÿm8<7̀>79rÿ6H4ÿF=68IG675ÿY6G>dÿG9<ÿEMbÿY5H4<=[79rÿGÿ\79G[ÿp4GU79rÿEU4[G64<
                        <85=I496E:bXbÿ\7[4<ÿ2>ÿp7rH[G9<ÿRGV76G[ÿmG9Gr4I496dÿjDTDÿEF66G5HI496:JÿKÿ?ÿR4U67̀75G64ÿ8`ÿY4Ua754ÿG9<
                        Y4Ua754ÿj7:6bÿE1cL47[[dÿeGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿK_Aÿ1Lÿ?B@AC@AB?CÿhLÿlDYD
  ?A@BQ@AB?C            PFLoglTnRkÿR1lgnÿ\1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDbÿEM964U4<Jÿ?A@BW@AB?Cb
                           ÿ_AÿÿEAvÿVr:sÿQÿ<85:bÿm86789ÿ̀8Uÿ1U<4UÿM:6G2[7:H79rÿTU854<=U4:ÿ̀8Uÿh964U7IÿR8IV49:G6789ÿG9<
                        g47I2=U:4I496ÿ8`ÿMNV49:4:ÿ8`ÿTU8`4::789G[:ÿ\7[4<ÿ2>ÿp7rH[G9<ÿRGV76G[ÿmG9Gr4I496dÿjDTDDÿp4GU79r
                        :5H4<=[4<ÿ̀8Uÿ??@?C@AB?CÿG6ÿ?AJBBÿTmÿG6ÿlYÿPG9]U=V65>ÿR8=U6dÿvAQÿmGU]46ÿY6DdÿW6Hÿ\[DdÿR8=U6U88IÿKXd
                        ^7[I79r689dÿZ4[GwGU4Dÿ123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CDÿEF66G5HI496:JÿKÿ?ÿL86754ÿKÿAÿMNH7276ÿFÿSÿTU8V8:4<
                        1U<4UÿKÿOÿR4U67̀75G64ÿ8`ÿY4Ua754ÿG9<ÿY4Ua754ÿj7:6bÿE1cL47[[dÿeGI4:bÿf1ghihLFjjkÿ\hjMZÿFY
                        Z1RlmMLnÿK_Oÿ1Lÿ?B@AC@AB?CÿhLÿlDYDÿPFLoglTnRkÿR1lgnÿ\1gÿnpMÿZhYnghRnÿ1\
  ?A@BQ@AB?C            ZMjF^FgMqÿE1]G`8UdÿmDbÿEM964U4<Jÿ?A@BW@AB?Cb
                           ÿ_OÿÿEQ?ÿVr:sÿWÿ<85:bÿFVV[75G6789@m86789ÿ68ÿMIV[8>@g46G79ÿo=U6yIG9ÿRGU:89ÿR89:=[6G96:ÿG:
                        F<I797:6UG67a4ÿF<a7:8UÿM``4567a4ÿL=95ÿTU8ÿn=95ÿ68ÿ6H4ÿT4676789ÿZG64ÿ\7[4<ÿ2>ÿp7rH[G9<ÿRGV76G[
                        mG9Gr4I496dÿjDTDDÿp4GU79rÿ:5H4<=[4<ÿ̀8Uÿ??@?C@AB?CÿG6ÿ?AJBBÿTmÿG6ÿlYÿPG9]U=V65>ÿR8=U6dÿvAQÿmGU]46
                        Y6DdÿW6Hÿ\[DdÿR8=U6U88IÿKXdÿ^7[I79r689dÿZ4[GwGU4Dÿ123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CDÿEF66G5HI496:JÿKÿ?
                        L86754ÿKÿAÿMNH7276ÿFÿSÿTU8V8:4<ÿ1U<4UÿKÿOÿMNH7276ÿPÿSÿi4U:H2479ÿZ45[GUG6789ÿKÿQÿR4U67̀75G64ÿ8`ÿY4Ua754ÿG9<
                        Y4Ua754ÿj7:6bÿE1cL47[[dÿeGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿK_Qÿ1Lÿ?B@AC@AB?CÿhLÿlDYD
  ?A@BQ@AB?C            PFLoglTnRkÿR1lgnÿ\1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDbÿEM964U4<Jÿ?A@BW@AB?Cb
                           ÿ_QÿÿEQvÿVr:sÿXÿ<85:bÿFVV[75G6789@m86789ÿ68ÿMIV[8>@g46G79ÿZ4a4[8VI496ÿYV457G[7:6:dÿh95DÿG:ÿTU8a7<4ÿG
                        RH74`ÿg4:6U=56=U79rÿ1``754UdÿF<<76789G[ÿT4U:8994[dÿG9<ÿ\79G957G[ÿF<a7:8U>ÿG9<ÿg4:6U=56=U79rSg4[G64<
                        Y4Ua754:dÿL=95ÿTU8ÿn=95ÿF:ÿ8`ÿ6H4ÿT4676789ÿZG64ÿ\7[4<ÿ2>ÿp7rH[G9<ÿRGV76G[ÿmG9Gr4I496dÿjDTDDÿp4GU79r
                        :5H4<=[4<ÿ̀8Uÿ??@?C@AB?CÿG6ÿ?AJBBÿTmÿG6ÿlYÿPG9]U=V65>ÿR8=U6dÿvAQÿmGU]46ÿY6DdÿW6Hÿ\[DdÿR8=U6U88IÿKXd
                        ^7[I79r689dÿZ4[GwGU4Dÿ123456789:ÿ<=4ÿ2>ÿ??@?A@AB?CDÿEF66G5HI496:JÿKÿ?ÿL86754ÿKÿAÿMNH7276ÿFÿS
                        M9rGr4I496ÿj4664UÿKÿOÿMNH7276ÿPÿSÿYHGUVÿZ45[GUG6789ÿKÿQÿMNH7276ÿRÿSÿTU8V8:4<ÿ1U<4UÿKÿWÿR4U67̀75G64ÿ8`
                        Y4Ua754ÿG9<ÿY4Ua754ÿj7:6bÿE1cL47[[dÿeGI4:bÿf1ghihLFjjkÿ\hjMZÿFYÿZ1RlmMLnÿK_Wÿ1Lÿ?B@AC@AB?C
                        hLÿlDYDÿPFLoglTnRkÿR1lgnÿ\1gÿnpMÿZhYnghRnÿ1\ÿZMjF^FgMqÿE1]G`8UdÿmDbÿEM964U4<J
  ?A@BQ@AB?C            ?A@BW@AB?Cb

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 28134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 670 of 678    PageID 676
                          ÿ89ÿÿ:;8ÿ<=>?ÿ@ÿABC>DÿEBFGBHÿFBÿIJFKBLGMNÿ3EBFGBHÿOBLÿPHÿQLANLÿIJFKBLGMGH=ÿFKNÿRNSFBLÿFBÿTNFPGHU
                        VW<XBYUÿPHAÿZBW<NH>PFNÿZNLFPGHÿ[LBON>>GBHPX>ÿ\FGXGMNAÿSYÿFKNÿRNSFBL>ÿGHÿFKNÿQLAGHPLYÿZBJL>NÿBO
                        ]J>GHN>>ÿ^GXNAÿSYÿ_G=KXPHAÿZP<GFPXÿEPHP=NWNHFUÿ̀a[aaÿ_NPLGH=ÿ>CKNAJXNAÿOBLÿ1131632416ÿPFÿ12b44ÿ[EÿPF
                        \cÿ]PHdLJ<FCYÿZBJLFUÿe25ÿEPLdNFÿcFaUÿ9FKÿ^XaUÿZBJLFLBBWÿf@UÿgGXWGH=FBHUÿRNXPhPLNaÿQSiNCFGBH>ÿAJNÿSY
                        1131232416aÿ:IFFPCKWNHF>bÿfÿ1ÿjBFGCNÿfÿ2ÿVkKGSGFÿIÿlÿ[LB<B>NAÿQLANLÿfÿ;ÿVkKGSGFÿ]ÿlÿQZ[ÿ̀G>Fÿfÿ5ÿVkKGSGF
                        Zÿlÿ^BLWÿBOÿRNCXPLPFGBHÿBOÿRG>GHFNLN>FNAHN>>ÿfÿ9ÿZNLFGOGCPFNÿBOÿcNLmGCNÿPHAÿcNLmGCNÿ̀G>FDÿ:QnjNGXXUÿoPWN>D
                        pQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿf8@ÿQjÿ1432632416ÿqjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QT
  1234532416            t_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D
                          ÿ8@ÿÿ:66ÿ<=>?ÿ@ÿABC>Dÿwwgqt_RTIgjÿSYÿfÿ;@4wwÿEBFGBHÿFBÿI<<LBmNÿ3[LNCPJFGBHPLYÿEBFGBHÿBOÿFKN
                        RNSFBLÿOBLÿQLANLÿI<<LBmGH=ÿ[LBFBCBX>ÿOBLÿFKNÿRNSFBLÿFBÿqW<XNWNHFÿZNLFPGHÿtLPH>PCFGBH>ÿGHÿFKNÿQLAGHPLY
                        ZBJL>NÿBOÿ]J>GHN>>ÿ^GXNAÿSYÿ_G=KXPHAÿZP<GFPXÿEPHP=NWNHFUÿ̀a[aaÿ_NPLGH=ÿ>CKNAJXNAÿOBLÿ1131632416ÿPF
                        12b44ÿ[EÿPFÿ\cÿ]PHdLJ<FCYÿZBJLFUÿe25ÿEPLdNFÿcFaUÿ9FKÿ^XaUÿZBJLFLBBWÿf@UÿgGXWGH=FBHUÿRNXPhPLNa
                        QSiNCFGBH>ÿAJNÿSYÿ1131232416aÿ:IFFPCKWNHF>bÿfÿ1ÿjBFGCNÿfÿ2ÿI<<NHAGkÿqÿfÿ;ÿI<<NHAGkÿqqÿfÿ5ÿ[LB<B>NA
                        ^BLWÿBOÿQLANLÿfÿ9ÿZNLFGOGCPFNÿBOÿcNLmGCNÿPHAÿcNLmGCNÿ̀G>FDÿ:QnjNGXXUÿoPWN>DÿpQTqrqjI``sÿ^q`VRÿIc
                        RQZ\EVjtÿf88ÿQjÿ1432632416ÿqjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^
  1234532416            RV`IgITVvÿ:QdPOBLUÿEaDÿEBAGOGNAÿBHÿ131@32424ÿ:VCdNLUÿZaDaÿ:VHFNLNAbÿ1234932416D
                          ÿ88ÿÿ:2ÿ<=>DÿjBFGCNÿBOÿI<<NPLPHCNÿPHAÿTNxJN>FÿOBLÿjBFGCNÿSYÿgGXXGPWÿIaÿ_PMNXFGHNÿOGXNAÿSYÿqHFNLN>FNA
                        [PLFYÿ_JHFNLÿEBJHFPGHÿtLJ>Fÿaÿ:QdPOBLUÿEaDÿ:_PMNXFGHNUÿgGXXGPWDÿpQTqrqjI``sÿ^q`VRÿIc
                        RQZ\EVjtÿf8eÿQjÿ143;432416ÿqjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^
  1234532416            RV`IgITVvÿ:QdPOBLUÿEaDaÿ:VHFNLNAbÿ1234932416D
                          ÿ8eÿÿ:2ÿ<=>DÿjBFGCNÿBOÿENNFGH=ÿBOÿZLNAGFBL>3ZBWWNHCNWNHFÿBOÿZP>Nÿ:ZBLLNCFNADÿ^GXNAÿSYÿ_G=KXPHA
                        ZP<GFPXÿEPHP=NWNHFUÿ̀a[aaÿ;51:PDÿWNNFGH=ÿFBÿSNÿKNXAÿBHÿ1132432416ÿPFÿ46b;4ÿIEÿPFÿoaÿZPXNSÿ]B==>
                        ^NANLPXÿ]JGXAGH=Uÿe55ÿuGH=ÿcFaUÿTBBWÿ;246UÿgGXWGH=FBHUÿRNXPhPLNaÿ:QnjNGXXUÿoPWN>DÿpQTqrqjI``s
                        ^q`VRÿIcÿRQZ\EVjtÿf86ÿQjÿ143;432416ÿqjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZt
  1234532416            Q^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D
                          ÿ86ÿÿ:1ÿ<=DÿEBFGBHÿFBÿI<<NPLÿ<LBÿKPCÿmGCNÿBOÿ]LGPHÿ[aÿcKPhÿBOÿTB==NÿRJHHÿrLBJ<aÿTNCNG<FÿjJWSNL
                        4;11l28@88Uÿ^GXNAÿSYÿICG>ÿZP<GFPXÿEPHP=NWNHFÿr[ÿ̀`ZUÿICG>ÿZP<GFPXÿEPHP=NWNHFUÿ̀a[aÿ:]GSGXBHGUÿoB>ND
                        pQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿfe4ÿQjÿ143;432416ÿqjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QT
  1234532416            t_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D
                          ÿe4ÿÿ:5ÿ<=>?ÿ2ÿABC>DÿIWNHANAÿjBFGCNÿBOÿI<<NPLPHCNaÿtKNÿ<PLFYÿKP>ÿCBH>NHFNAÿFBÿNXNCFLBHGCÿ>NLmGCNaÿ^GXNA
                        SYÿICG>ÿZP<GFPXÿEPHP=NWNHFÿr[ÿ̀`ZUÿICG>ÿZP<GFPXÿEPHP=NWNHFUÿ̀a[aÿ:IFFPCKWNHF>bÿfÿ1ÿZNLFGOGCPFNÿBO
                        cNLmGCNDÿ:]GSGXBHGUÿoB>NDÿpQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿfe1ÿQjÿ143;432416ÿqjÿ\aca
  1234532416            ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D
                          ÿe1ÿÿ:;ÿ<=>DÿjBFGCNÿBOÿI<<NPLPHCNÿPHAÿTNxJN>FÿOBLÿjBFGCNÿSYÿoN>>GCPÿ]BNXFNLÿUÿIXY>>PÿTJ>>NXXÿUÿEPFFKNh
                        IaÿZXNWNHFNÿUÿ]BiPHÿrJMGHPÿOGXNAÿSYÿZLNAGFBLÿZBWWGFFNNÿQOOGCGPXÿZBWWGFFNNÿBOÿ\H>NCJLNAÿZLNAGFBL>ÿa
                        :rJMGHPUÿ]BiPHDÿpQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿfe2ÿQjÿ143;432416ÿqjÿ\acaÿ]IjuT\[tZs
  1234532416            ZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D
                          ÿe2ÿÿ:21ÿ<=>?ÿ2ÿABC>DÿqHGFGPXÿTN<BLFGH=ÿTNxJGLNWNHF>ÿ3qHGFGPXÿEBHFKXYÿQ<NLPFGH=ÿTN<BLFÿBOÿ_G=KXPHA
                        ZP<GFPXÿEPHP=NWNHFUÿ̀[ÿ^GXNAÿSYÿ_G=KXPHAÿZP<GFPXÿEPHP=NWNHFUÿ̀a[aaÿ:IFFPCKWNHF>bÿfÿ1ÿZNLFGOGCPFNÿBO
                        cNLmGCNÿPHAÿcNLmGCNÿ̀G>FDÿ:QnjNGXXUÿoPWN>DÿpQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿfe;ÿQjÿ143;132416
                        qjÿ\acaÿ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAb
  1234532416            1234932416D
                          ÿe;ÿÿ:1ÿ<=DÿQLANLÿI<<LBmGH=ÿEBFGBHÿOBLÿIAWG>>GBHÿ<LBÿKPCÿmGCNÿ]LGPHÿ[aÿcKPh:TNXPFNAÿRBCÿfÿe4DÿQLANL
                        cG=HNAÿBHÿ113132416aÿ:ZIcDÿpQTqrqjI``sÿ^q`VRÿIcÿRQZ\EVjtÿfe5ÿQjÿ1134132416ÿqjÿ\aca
  1234532416            ]IjuT\[tZsÿZQ\Ttÿ^QTÿt_VÿRqctTqZtÿQ^ÿRV`IgITVvÿ:QdPOBLUÿEaDÿ:VHFNLNAbÿ1234932416D

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 29134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 671 of 678      PageID 677
                           ÿ85ÿÿ95ÿ:;<=ÿ2ÿ>?@<AÿB?CD@Eÿ?FÿG::EHIHJ@EÿHJ>ÿKELME<CÿF?IÿB?CD@EÿNOÿPHIHQÿRSÿPDTUEDIHÿVÿWD@QHETÿXS
                        WEI@QHJCÿVÿG<DFÿGCCHIYHTHÿVÿXEFFIEOÿRSÿZ[?I\ÿFDTE>ÿNOÿ]JCEIE<CE>ÿ^HICDE<ÿ_ZPÿG`ÿa?J>?JÿZIHJ@QÿVÿ_ZP
                        PE@MIDCDE<ÿaabÿSÿ9GCCH@QcEJC<dÿeÿ1ÿbEICDFD@HCEÿ?FÿPEIUD@EAÿ9WEI@QHJCVÿWD@QHETAÿfgK]`]BGaahÿi]aRjÿGP
                        jgb_WRBkÿe8lÿgBÿ1134132416ÿ]Bÿ_SPSÿZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgi
  1234532416            jRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ8lÿÿ91l6ÿ:;<=ÿqÿ>?@<AÿW?CD?JÿC?ÿbQHJ;EÿrEJME3]JCEIs>D<CID@CÿkIHJ<FEIÿiDTE>ÿNOÿgFFD@DHTÿb?ccDCCEEÿ?F
                        _J<E@MIE>ÿbIE>DC?I<Sÿ9GCCH@QcEJC<dÿeÿ1ÿRtQDNDCÿGÿsÿ^I?:?<E>ÿgI>EIÿeÿ2ÿRtQDNDCÿZÿeÿuÿRtQDNDCÿbÿeÿ5
                        RtQDNDCÿjÿeÿlÿRtQDNDCÿRÿsÿbEICDFD@HCEÿ?FÿPEIUD@EAÿ9`MvDJHVÿZ?[HJAfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBk
                        e8qÿgBÿ1134132416ÿ]Bÿ_SPSÿZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IV
  1234532416            WSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ8qÿÿ91lÿ:;<=ÿuÿ>?@<AÿRcEI;EJ@OÿW?CD?JÿC?ÿPQ?ICEJÿB?CD@EÿoDCQÿKE<:E@Cÿk?ÿkQEÿW?CD?JÿgFÿgFFD@DHT
                        b?ccDCCEEÿgFÿ_J<E@MIE>ÿbIE>DC?I<ÿk?ÿkIHJ<FEIÿrEJMEÿgFÿkQD<ÿbH<Eÿk?ÿkQEÿ_JDCE>ÿPCHCE<ÿZHJ\IM:C@O
                        b?MICÿi?IÿkQEÿB?ICQEIJÿjD<CID@CÿgFÿkEtH<ÿ9IETHCE>ÿ>?@McEJC9<A8qAÿiDTE>ÿNOÿgFFD@DHTÿb?ccDCCEEÿ?F
                        _J<E@MIE>ÿbIE>DC?I<Sÿ9GCCH@QcEJC<dÿeÿ1ÿRtQDNDCÿGÿsÿ^I?:?<E>ÿgI>EIÿeÿ2ÿRtQDNDCÿZÿsÿbEICDFD@HCEÿ?FÿPEIUD@EA
                        9`MvDJHVÿZ?[HJAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe8wÿgBÿ1134132416ÿ]Bÿ_SPSÿZGBmK_^kbh
  1234532416            bg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ8wÿÿ91ÿ:;AÿgI>EIÿjEJODJ;ÿRcEI;EJ@OÿW?CD?JÿC?ÿPQ?ICEJÿB?CD@EÿoDCQÿKE<:E@CÿC?ÿkQEÿW?CD?Jÿ?FÿgFFD@DHT
                        b?ccDCCEEÿ?Fÿ_J<E@MIE>ÿbIE>DC?I<ÿC?ÿkIHJ<FEIÿrEJMEÿ?FÿkQD<ÿbH<EÿC?ÿCQEÿ_JDCE>ÿPCHCE<ÿZHJ\IM:C@Oÿb?MIC
                        F?IÿCQEÿB?ICQEIJÿjD<CID@CÿgFÿkEtH<ÿ9KETHCE>ÿj?@ÿeÿ8wAÿgI>EIÿPD;JE>ÿ?Jÿ113532416Sÿ9XPAÿfgK]`]BGaah
                        i]aRjÿGPÿjgb_WRBkÿe88ÿgBÿ1134532416ÿ]Bÿ_SPSÿZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bk
  1234532416            giÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ88ÿÿ9uÿ:;<AÿB?CD@Eÿ?FÿG::EHIHJ@ESÿkQEÿ:HICOÿQH<ÿ@?J<EJCE>ÿC?ÿETE@CI?JD@ÿ<EIUD@ESÿiDTE>ÿNOÿXEFFEIDE<ÿaabS
                        9Z?Y>EJVÿoDTTDHcAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe86ÿgBÿ1134532416ÿ]Bÿ_SPS
  1234532416            ZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ86ÿÿ91ÿ:;AÿW?CD?JÿC?ÿG::EHIÿ:I?ÿQH@ÿUD@Eÿ?Fÿ^HCID@\ÿbSÿWHt@OSÿKE@ED:CÿBMcNEIÿ2ww4254VÿiDTE>ÿNO
                        XEFFEIDE<ÿaabSÿ9Z?Y>EJVÿoDTTDHcAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe64ÿgBÿ1134532416ÿ]Bÿ_SPS
  1234532416            ZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ64ÿÿ91ÿ:;AÿW?CD?JÿC?ÿG::EHIÿ:I?ÿQH@ÿUD@Eÿ?FÿaHMIEJÿWH@\<?M>SÿKE@ED:CÿBMcNEIÿ2ww4u86VÿiDTE>ÿNO
                        XEFFEIDE<ÿaabSÿ9Z?Y>EJVÿoDTTDHcAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe61ÿgBÿ1134532416ÿ]Bÿ_SPS
  1234532416            ZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ61ÿÿ9uÿ:;<AÿB?CD@Eÿ?FÿG::EHIHJ@ESÿkQEÿ:HICOÿQH<ÿ@?J<EJCE>ÿC?ÿETE@CI?JD@ÿ<EIUD@ESÿiDTE>ÿNO
                        ]BkR`KGkRjÿi]BGBb]GaÿGPPgb]GkRPVÿ]BbSÿ9bHITO?JVÿbHJ>H@EAÿfgK]`]BGaahÿi]aRjÿGP
                        jgb_WRBkÿe62ÿgBÿ1134532416ÿ]Bÿ_SPSÿZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgi
  1234532416            jRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ62ÿÿ91ÿ:;AÿgI>EIÿG::I?UDJ;ÿW?CD?JÿF?IÿG>cD<<D?Jÿ:I?ÿQH@ÿUD@Eÿ^HCID@\ÿbSÿWHt@O9KETHCE>ÿj?@ÿeÿ64A
                        gI>EIÿPD;JE>ÿ?Jÿ113l32416Sÿ9bGPAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe6uÿgBÿ1134l32416ÿ]Bÿ_SPS
  1234532416            ZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
                           ÿ6uÿÿ91ÿ:;AÿgI>EIÿG::I?UDJ;ÿW?CD?JÿF?IÿG>cD<<D?Jÿ:I?ÿQH@ÿUD@EÿaHMIEJÿWH@\<?M>9KETHCE>ÿj?@ÿeÿ61A
                        gI>EIÿPD;JE>ÿ?Jÿ113l32416Sÿ9bGPAÿfgK]`]BGaahÿi]aRjÿGPÿjgb_WRBkÿe65ÿgBÿ1134l32416ÿ]Bÿ_SPS
  1234532416            ZGBmK_^kbhÿbg_KkÿigKÿknRÿj]PkK]bkÿgiÿjRaGoGKRpÿ9g\HF?IVÿWSAÿ9RJCEIE>dÿ1234l32416A
  1234532416               ÿ65ÿÿ911ÿ:;<=ÿ2ÿ>?@<AÿnRGK]B`ÿbGBbRaaRjSÿB?CD@Eÿ?FÿG;EJ>Hÿ?FÿWHCCEI<ÿJ?Cÿ;?DJ;ÿF?IYHI>SÿkQE
                        F?TT?YDJ;ÿQEHIDJ;ÿQH<ÿNEEJÿ@HJ@ETTE>SÿiDTE>ÿNOÿnD;QTHJ>ÿbH:DCHTÿWHJH;EcEJCVÿaS^SSÿnEHIDJ;ÿ<@QE>MTE>ÿF?I
                        113w32416ÿHCÿ4ud44ÿ^WÿHCÿ_PÿZHJ\IM:C@Oÿb?MICVÿ825ÿWHI\ECÿPCSVÿlCQÿiTSVÿb?MICI??cÿeqVÿoDTcDJ;C?JV
                        jETHYHIESÿ9GCCH@QcEJC<dÿeÿ1ÿbEICDFD@HCEÿ?FÿPEIUD@EAÿ9gxBEDTTVÿXHcE<AÿfgK]`]BGaahÿi]aRjÿGP
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                   2-134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12345678ÿ:;<ÿ27ÿ==>?<>@?=;ÿA7ÿ4B
        Case 3:23-cv-02071-E             Document 1-1              CBÿDE7FG4H
                                                                 Filed  09/15/23  83Iÿ324G8    ÿJ2Gÿof8K6ÿ
                                                                                        Page 672          1AC8GA
                                                                                                        678        38ÿ2J678
                                                                                                                PageID
                        16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ;<ÿÿO]ÿ^_`aÿ@ÿZSb`Vÿ7SXcbYÿSRÿE^^YQTQWbYBÿ8dYÿ^QTXeÿdQ`ÿbSW`YWXYZÿXSÿYfYbXTSWcbÿ̀YTgcbYBÿJcfYZÿheÿD68
                        AWgY`XiYWX̀UÿAAUÿLBHBBÿOEXXQbdiYWX̀[ÿ:ÿ=ÿ3YTXcRcbQXYÿSRÿCYTgcbYVÿOFjTXkiQWUÿlYRRTYeVÿOEXXQbdiYWX̀[ÿ:ÿ=
                        3YTXcRcbQXYÿSRÿCYTgcbYVÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:;oÿ27ÿ==>?<>@?=;ÿA7ÿ4BCB
  =@>?\>@?=;            DE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ;oÿÿO]ÿ^_`aÿ@ÿZSb`Vÿ3YTXcRcbQXcSWÿSRÿ3SjW`YfÿGY_QTZcW_ÿ2TZYTÿCbdYZjfcW_ÿ2iWchj`ÿKYQTcW_ÿ1QXYÿJcfYZ
                        heÿKc_dfQWZÿ3Q^cXQfÿ5QWQ_YiYWXUÿLBHBBÿOEXXQbdiYWX̀[ÿ:ÿ=ÿHTS^S`YZÿJSTiÿSRÿ2TZYTVÿO2p7YcffUÿlQiY`V
                        m2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:;qÿ27ÿ==>?q>@?=;ÿA7ÿ4BCBÿDE7FG4H83Iÿ324G8ÿJ2G
  =@>?\>@?=;            8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ;rÿÿO=ÿ^_Vÿ2TZYTÿCbdYZjfcW_ÿ2iWchj`ÿKYQTcW_`Bÿ2iWchj`ÿKYQTcW_`ÿ̀bdYZjfYZÿRSTÿ=@>=q>@?=;ÿQXÿ==[??
                        E5ÿ4CÿDQWPTj^Xbeÿ3SjTXUÿr@\ÿ5QTPYXÿCXBUÿ<XdÿJfBUÿ3SjTXTSSiÿ:oUÿMcficW_XSWUÿ1YfQsQTYBÿCc_WYZÿSW
                        ==>q>@?=;BÿO3ECVÿO2p7YcffUÿlQiY`Vÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:;rÿ27ÿ==>?q>@?=;ÿA7ÿ4BCB
  =@>?\>@?=;            DE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?=ÿÿO=qÿ^_`aÿ\ÿZSb`Vÿ6tdchcXO`Vÿ>>ÿ7SXcbYÿSRÿJcfcW_ÿSRÿEiYWZYZÿ6tdchcXÿDÿXSÿ5SXcSWÿRSTÿQWÿ2TZYT
                        EjXdSTckcW_ÿXdYÿ1YhXSTÿXSÿGYXQcWUÿ6i^fSeUÿQWZÿ3Si^YW`QXYÿ3YTXQcWÿHTSRY``cSWQf̀ÿ4XcfckYZÿDeÿXdYÿ1YhXST
                        cWÿXdYÿ2TZcWQTeÿ3SjT`YÿSRÿDj`cWY``ÿOTYfQXYZÿZSbjiYWXO`VqoVÿJcfYZÿheÿKc_dfQWZÿ3Q^cXQfÿ5QWQ_YiYWXUÿLBHBB
                        OEXXQbdiYWX̀[ÿ:ÿ=ÿ6tdchcXÿ=ÿ:ÿ@ÿ6tdchcXÿ@ÿ:ÿ]ÿ3YTXcRcbQXYÿSRÿCYTgcbYVÿO2p7YcffUÿlQiY`Vÿm2GAnA7ELLI
                        JAL61ÿECÿ12345678ÿ:;;ÿ27ÿ==>?q>@?=;ÿA7ÿ4BCBÿDE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38
  =@>?\>@?=;            2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?@ÿÿOrÿ^_`VÿERRcZQgcX>1YbfQTQXcSWÿSRÿCYTgcbYÿRSTÿ̀YTgcbYÿSRÿmCc_WYZNÿ2TZYTÿCbdYZjfcW_ÿ2iWchj`
                        KYQTcW_ÿ1QXYÿm1SbPYXÿ7SBÿ;rNÿOTYfQXYZÿZSbjiYWXO`V;rVÿJcfYZÿheÿKc_dfQWZÿ3Q^cXQfÿ5QWQ_YiYWXUÿLBHBB
                        O2p7YcffUÿlQiY`Vÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:=??ÿ27ÿ==>?q>@?=;ÿA7ÿ4BCBÿDE7FG4H83I
  =@>?\>@?=;            324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?]ÿÿO=?ÿ^_`Vÿ7SXcbYÿSRÿ1Y^S`cXcSWÿuÿ7SXcbYÿXSÿ8QPYÿGjfYÿ]?OhVOoVÿ1Y^S`cXcSWÿ4^SWÿ2TQfÿ6tQicWQXcSW
                        SRÿXdYÿ1YhXSTUÿKc_dfQWZÿ3Q^cXQfÿ5QWQ_YiYWXUÿLBHBÿJcfYZÿheÿ2RRcbcQfÿ3SiicXXYYÿSRÿ4W`YbjTYZÿ3TYZcXST`B
                        OnjYTPYUÿFYgcWVÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:=?=ÿ27ÿ==>=?>@?=;ÿA7ÿ4BCBÿDE7FG4H83I
  =@>?\>@?=;            324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?\ÿÿO@ÿ^_`Vÿ7SXcbYÿSRÿ1Y^S`cXcSWÿSRÿJTQWPÿMQXYTdSj`YÿJcfYZÿheÿ2RRcbcQfÿ3SiicXXYYÿSRÿ4W`YbjTYZ
                        3TYZcXST`BÿOnjYTPYUÿFYgcWVÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:=?@ÿ27ÿ==>=?>@?=;ÿA7ÿ4BCB
  =@>?\>@?=;            DE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?oÿÿO@ÿ^_`Vÿ7SXcbYÿSRÿCYTgcbYÿuÿ7SXcbYÿSRÿAWXYWXÿXSÿCYTgYÿCjh^SYWQÿJcfYZÿheÿ2RRcbcQfÿ3SiicXXYYÿSR
                        4W`YbjTYZÿ3TYZcXST`BÿOnjYTPYUÿFYgcWVÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:=?]ÿ27ÿ==>=?>@?=;ÿA7
                        4BCBÿDE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[
  =@>?\>@?=;            =@>?<>@?=;V
                           ÿ=?qÿÿO=?ÿ^_`aÿ@ÿZSb`Vÿ7SXcbYÿSRÿCjh`XcXjXcSWÿSRÿ3SjW`YfÿJcfYZÿheÿEfgQTYkÿvÿ5QT`Qfÿ3GJÿ5QWQ_YiYWXU
                        LL3UÿQ`ÿAWgY`XiYWXÿ5QWQ_YTÿSRÿXdYÿKc_dfQWZÿ3Tj`QZYTÿJjWZ`BÿOEXXQbdiYWX̀[ÿ:ÿ=ÿ3YTXcRcbQXYÿSRÿCYTgcbYV
                        OGeQWUÿlYTYieVÿm2GAnA7ELLIÿJAL61ÿECÿ12345678ÿ:=?\ÿ27ÿ==>==>@?=;ÿA7ÿ4BCBÿDE7FG4H83I
  =@>?\>@?=;            324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTUÿ5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V
                           ÿ=?rÿÿO]ÿ^_`VÿEiYWZYZÿ7SXcbYÿSRÿE^^YQTQWbYBÿ8dYÿ^QTXeÿdQ`ÿbSW`YWXYZÿXSÿYfYbXTSWcbÿ̀YTgcbYBÿJcfYZÿhe
                        2RRcbcQfÿ3SiicXXYYÿSRÿ4W`YbjTYZÿ3TYZcXST`BÿODYQbdUÿCYQWVÿBÿm2GAnA7ELLIÿJAL61ÿECÿ12345678
                        :=?<ÿ27ÿ==>==>@?=;ÿA7ÿ4BCBÿDE7FG4H83Iÿ324G8ÿJ2Gÿ8K6ÿ1AC8GA38ÿ2Jÿ16LEMEG6NÿO2PQRSTU
  =@>?\>@?=;            5BVÿO6WXYTYZ[ÿ=@>?<>@?=;V

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                2,134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 673 of 678    PageID 679
                           ÿ114ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿHIÿJ=KC@ÿLMN?@Cÿ=IÿO?PQBRÿAMS>?@ÿTTUVÿWBFB?9>ÿXMYZBD
                        2[[\\]5^ÿ_?QBPÿZRÿHII?F?CQÿ̀=YY?>>BBÿ=Iÿa@SBFMDBPÿ̀DBP?>=DSVÿ8JBCFE^ÿOBC@;ÿbHWcLcXATTdÿ_cTefÿAO
                        fH`a<eXgÿh14iÿHXÿ1131132416ÿcXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_
  1234532416            feTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPoÿ1234\32416;
                           ÿ111ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ=IÿAQRSSCÿWMSSBQQÿ=IÿO?PQBRÿAMS>?@ÿTTUVÿWBFB?9>ÿXMYZBD
                        2i24pp4^ÿ_?QBPÿZRÿHII?F?CQÿ̀=YY?>>BBÿ=Iÿa@SBFMDBPÿ̀DBP?>=DSVÿ8JBCFE^ÿOBC@;bHWcLcXATTdÿ_cTefÿAO
                        fH`a<eXgÿh14[ÿHXÿ1131132416ÿcXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_
  1234532416            feTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPoÿ1234\32416;
                           ÿ112ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ=Iÿ<C>>EBqÿAVÿ̀QBYB@>Bÿ=IÿO?PQBRÿAMS>?@ÿTTUVÿWBFB?9>
                        XMYZBDÿ2[[\\]5^ÿ_?QBPÿZRÿHII?F?CQÿ̀=YY?>>BBÿ=Iÿa@SBFMDBPÿ̀DBP?>=DSVÿ8JBCFE^ÿOBC@;ÿbHWcLcXATTd
                        _cTefÿAOÿfH`a<eXgÿh14]ÿHXÿ1131132416ÿcXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`g
  1234532416            H_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPoÿ1234\32416;
                           ÿ11pÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ=IÿUC?:Bÿk=QPB@ÿ<=@>:=YBDRVÿWBFB?9>ÿXMYZBDÿ2[[\\]5^
                        _?QBPÿZRÿHII?F?CQÿ̀=YY?>>BBÿ=Iÿa@SBFMDBPÿ̀DBP?>=DSVÿ8JBCFE^ÿOBC@;ÿbHWcLcXATTdÿ_cTefÿAO
                        fH`a<eXgÿh146ÿHXÿ1131132416ÿcXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_
  1234532416            feTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPoÿ1234\32416;
                           ÿ115ÿÿ81ÿ9:;ÿ<=>?=@ÿ>=ÿA99BCDÿ9D=ÿECFÿG?FBÿ=IÿUB@@RÿUVÿWB?Pÿ=IÿO?PQBRÿAMS>?@VÿWBFB?9>ÿXMYZBD
                        2[[\\]5^ÿ_?QBPÿZRÿHII?F?CQÿ̀=YY?>>BBÿ=Iÿa@SBFMDBPÿ̀DBP?>=DSVÿ8JBCFE^ÿOBC@;ÿbHWcLcXATTdÿ_cTefÿAO
                        fH`a<eXgÿh114ÿHXÿ1131132416ÿcXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_
  1234532416            feTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPoÿ1234\32416;
                           ÿ11\ÿÿ81ÿ9:;ÿHDPBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAPY?SS?=@ÿ9D=ÿECFÿG?FBÿJ=KC@ÿLMN?@C8WBQC>BPÿf=Fÿhÿ14i;
                        HDPBDÿO?:@BPÿ=@ÿ1131232416Vÿ8`AO;ÿbHWcLcXATTdÿ_cTefÿAOÿfH`a<eXgÿh111ÿHXÿ1131232416ÿcX
                        aVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPo
  1234532416            1234\32416;
                           ÿ11iÿÿ81ÿ9:;ÿHDPBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAPY?SS?=@ÿ9D=ÿECFÿG?FBÿAQRSSCÿWMSSBQQÿ8WBQC>BPÿf=Fÿhÿ14[;
                        HDPBDÿO?:@BPÿ=@ÿ1131232416Vÿ8`AO;ÿbHWcLcXATTdÿ_cTefÿAOÿfH`a<eXgÿh112ÿHXÿ1131232416ÿcX
                        aVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPo
  1234532416            1234\32416;
                           ÿ11[ÿÿ81ÿ9:;ÿHDPBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAPY?SS?=@ÿ9D=ÿECFÿG?FBÿ<C>>EBqÿAVÿ̀QBYB@>Bÿ8WBQC>BPÿf=Fÿh
                        14];ÿHDPBDÿO?:@BPÿ=@ÿ1131232416Vÿ8`AO;ÿbHWcLcXATTdÿ_cTefÿAOÿfH`a<eXgÿh11pÿHXÿ1131232416
                        cXÿaVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPo
  1234532416            1234\32416;
                           ÿ11]ÿÿ81ÿ9:;ÿHDPBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAPY?SS?=@ÿ9D=ÿECFÿG?FBÿUC?:Bÿk=QPB@8WBQC>BPÿf=Fÿhÿ146;
                        HDPBDÿO?:@BPÿ=@ÿ1131232416Vÿ8`AO;ÿbHWcLcXATTdÿ_cTefÿAOÿfH`a<eXgÿh115ÿHXÿ1131232416ÿcX
                        aVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPo
  1234532416            1234\32416;
                           ÿ116ÿÿ81ÿ9:;ÿHDPBDÿA99D=G?@:ÿ<=>?=@ÿI=DÿAPY?SS?=@ÿ9D=ÿECFÿG?FBÿUB@@RÿUVÿWB?P8WBQC>BPÿf=Fÿhÿ114;
                        HDPBDÿO?:@BPÿ=@ÿ1131232416Vÿ8`AO;ÿbHWcLcXATTdÿ_cTefÿAOÿfH`a<eXgÿh11\ÿHXÿ1131232416ÿcX
                        aVOVÿJAXjWaUg`dÿ̀HaWgÿ_HWÿgkeÿfcOgWc`gÿH_ÿfeTAlAWemÿ8HnCI=D^ÿ<V;ÿ8e@>BDBPo
  1234532416            1234\32416;
  1234532416               ÿ124ÿÿ865ÿ9:Srÿ11ÿP=FS;ÿT?Y?>BPÿHZKBF>?=@ÿ>=ÿ>EBÿfBZ>=DSoÿ8c;ÿA99Q?FC>?=@ÿI=DÿC@ÿHDPBDÿAM>E=D?N?@:ÿ>EB
                        WB>B@>?=@ÿC@PÿeY9Q=RYB@>ÿ=Iÿ_=QBRÿLCDPBDB^ÿ_=QBRÿsÿTCDP@BDÿTTUÿCSÿO9BF?CQÿgBtCSÿ̀=M@SBQ^ÿXM@FÿUD=
                        gM@Fÿ>=ÿ>EBÿUB>?>?=@ÿfC>BrÿC@Pÿ8cc;ÿA99Q?FC>?=@ÿI=DÿC@ÿHDPBDÿAM>E=D?N?@:ÿ>EBÿWB>B@>?=@ÿC@PÿeY9Q=RYB@>ÿ=I
                        TR@@ÿU?@nBDÿ̀=tÿsÿkMDS>ÿTTUÿCSÿO9BF?CQÿgBtCSÿT?>?:C>?=@ÿ̀=M@SBQ^ÿXM@FÿUD=ÿgM@Fÿ>=ÿ>EBÿUB>?>?=@ÿfC>B
                        8DBQC>BPÿP=FMYB@>8S;i6^ÿ[4;ÿ_?QBPÿZRÿAF?Sÿ̀C9?>CQÿ<C@C:BYB@>ÿLUÿTT`^ÿAF?Sÿ̀C9?>CQÿ<C@C:BYB@>^ÿTVUV
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 2+134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12334567893:;ÿ=ÿ>ÿ?@6ABA3ÿ2ÿ=ÿCÿ?@6ABAFiled
        Case 3:23-cv-02071-E             Document 1-1           3ÿDÿ=ÿEÿ09/15/23
                                                                        ?@6ABA3ÿFÿ=ÿGÿ?@6ABA3ÿHÿ
                                                                                       Page    =ÿIÿ?@
                                                                                              674   of 6ABA3ÿ?ÿ=ÿJPageID
                                                                                                       678         ÿ?@6ABA3ÿK680
                                                                                                                             ÿ=ÿL
                        ?@6ABA3ÿMÿ=ÿNÿ?@6ABA3ÿOÿ=ÿPÿ?@6ABA3ÿQÿ=ÿ>RÿF8S3ATA5438ÿUTÿV8SWA58Xÿ1YA93Z[ÿ\U:8TXÿ]^_QMQ`2aabÿKQa?H
                        2VÿH^FcY?`dÿ=>>Jÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_dÿK^_ÿdO?ÿHQVd_QFdÿ^K
                        H?a2i2_?jÿ1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>C>ÿÿ1CJÿmn:oÿEÿlU5:XÿaA7A38lÿ^Bp853AU9ÿ49lÿ_8:8SW43AU9ÿUTÿ_An63:ÿUTÿ\8TT8SA8:ÿaaFÿ3UÿH8B3USq:ÿYU3AU9
                        TUSÿ^Sl8Sÿ2mmSUWA9nÿhSU3U5Ur:ÿTUSÿ368ÿH8B3USÿ3UÿQ7mr87893ÿF8S34A9ÿdS49:453AU9:ÿA9ÿ368ÿ^SlA94SsÿFUtS:8ÿUT
                        Dt:A98::ÿ1S8r438lÿlU5t78931:XLLXÿKAr8lÿBsÿ\8TT8SA8:ÿaaFÿ12334567893:;ÿ=ÿ>ÿ?@6ABA3ÿ2ÿ=ÿCÿF8S3ATA5438ÿUT
                        V8SWA58Xÿ1DUul89[ÿiArrA47Xÿ]^_QMQ`2aabÿKQa?Hÿ2VÿH^FcY?`dÿ=>>Lÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVf
  >CeRGeCR>P            D2`g_chdFbÿF^c_dÿK^_ÿdO?ÿHQVd_QFdÿ^KÿH?a2i2_?jÿ1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>CCÿÿ1CLÿmn:Xÿ^Bp853AU9ÿUTÿ368ÿH8B3USÿ3UÿYU3AU9ÿUTÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:ÿ3U
                        dS49:T8Sÿv89t8ÿUTÿd6A:ÿF4:8ÿ3Uÿ368ÿc9A38lÿV3438:ÿD49kStm35sÿFUtS3ÿTUSÿ368ÿ̀US368S9ÿHA:3SA53ÿUTÿd8@4:
                        1S8r438lÿlU5t78931:XNJXÿKAr8lÿBsÿOAn6r49lÿF4mA34rÿY494n87893[ÿafhfÿ1^q̀8Arr[ÿ\478:Xÿ]^_QMQ`2aab
                        KQa?Hÿ2VÿH^FcY?`dÿ=>>Nÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_dÿK^_ÿdO?ÿHQVd_QFd
  >CeRGeCR>P            ^KÿH?a2i2_?jÿ1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>CEÿÿ1Iÿmn:XÿaA7A38lÿ^Bp853AU9ÿ3UÿYU3AU9ÿUTÿ368ÿH8B3USÿTUSÿ49ÿ^Sl8Sÿ2t36USAZA9nÿ368ÿH8B3USÿ3Uÿ_834A9[
                        ?7mrUs88[ÿ49lÿFU7m89:438ÿF8S34A9ÿhSUT8::AU94r:ÿc3ArAZ8lÿBsÿ368ÿH8B3US:ÿA9ÿ368ÿ^SlA94SsÿFUtS:8ÿUT
                        Dt:A98::ÿ1S8r438lÿlU5t78931:XLJXÿKAr8lÿBsÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:ÿ1i8A::n8SB8S[
                        \45rs9Xÿ]^_QMQ`2aabÿKQa?Hÿ2VÿH^FcY?`dÿ=>>Pÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_d
  >CeRGeCR>P            K^_ÿdO?ÿHQVd_QFdÿ^KÿH?a2i2_?j1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>CGÿÿ1Jÿmn:XÿwwiQdOH_2i`ÿm8Sÿ=ÿGIJwwÿaA7A38lÿ^Bp853AU9ÿ3Uÿ368ÿH8B3USq:ÿ2mmrA543AU9ÿTUSÿ49ÿ^Sl8S
                        2t36USAZA9nÿ368ÿ_83893AU9ÿ49lÿ?7mrUs7893ÿUTÿKUr8sÿM4Sl8S8[ÿKUr8sÿxÿa4Sl98Sÿaahÿ49lÿas99ÿhA9k8SÿFU@
                        xÿOtS:3ÿ4:ÿVm85A4rÿd8@4:ÿFUt9:8rÿ49lÿVm85A4rÿaA3An43AU9ÿFUt9:8r[ÿ̀t95ÿhSUÿdt95ÿ3Uÿ368ÿh83A3AU9ÿH438
                        1S8r438lÿlU5t78931:XJP[ÿLRXÿKAr8lÿBsÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:ÿ1i8A::n8SB8S[ÿ\45rs9X
                        ]^_QMQ`2aabÿKQa?Hÿ2VÿH^FcY?`dÿ=>CRÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_dÿK^_
                        dO?ÿHQVd_QFdÿ^KÿH?a2i2_?jÿ1^k4TUS[ÿYfXÿYUlATA8lÿU9ÿCe>PeCRCRÿ1?5k8S[ÿFfXfÿ1?938S8l;
  >CeRGeCR>P            >CeRIeCR>PX
                           ÿ>CIÿÿ1Gÿmn:XÿaA7A38lÿ^Bp853AU9ÿ3Uÿ368ÿYU3AU9ÿUTÿH8B3USÿTUSÿ?93SsÿUTÿQ938SA7ÿ49lÿKA94rÿ^Sl8S:ÿ12X
                        2t36USAZA9nÿH8B3USÿ3Uÿh4sÿhS8m83A3AU9ÿFr4A7:ÿUTÿFSA3A54rÿv89lUS:ÿ49lÿ1DXÿMS493A9nÿ_8r438lÿ_8rA8Tÿ1S8r438l
                        lU5t78931:XEXÿKAr8lÿBsÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:ÿ1i8A::n8SB8S[ÿ\45rs9Xÿ]^_QMQ`2aab
                        KQa?Hÿ2VÿH^FcY?`dÿ=>C>ÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_dÿK^_ÿdO?ÿHQVd_QFd
  >CeRGeCR>P            ^KÿH?a2i2_?jÿ1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>CJÿÿ1>>ÿmn:Xÿ\UA9l8Sÿ3UÿYU3AU9ÿUTÿ368ÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:ÿKUSÿ49ÿ^Sl8S
                        dS49:T8SSA9nÿv89t8ÿUTÿ36A:ÿF4:8ÿ3Uÿ368ÿc9A38lÿV3438:ÿD49kStm35sÿFUtS3ÿTUSÿ368ÿ̀US368S9ÿHA:3SA53ÿUTÿd8@4:
                        1S8r438lÿlU5t78931:XNJXÿKAr8lÿBsÿ25A:ÿF4mA34rÿY494n87893ÿMhÿaaF[ÿ25A:ÿF4mA34rÿY494n87893[ÿafhff
                        1YA93Z[ÿ\U:8TXÿ]^_QMQ`2aabÿKQa?Hÿ2VÿH^FcY?`dÿ=>CCÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFb
  >CeRGeCR>P            F^c_dÿK^_ÿdO?ÿHQVd_QFdÿ^KÿH?a2i2_?j1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
                           ÿ>CLÿÿ1>Cÿmn:oÿEÿlU5:XÿYU3AU9ÿ3UÿKAr8ÿc9l8SÿV84rÿUTÿ368ÿ^79ABt:ÿ^Bp853AU9ÿUTÿ368ÿ^TTA5A4rÿFU77A3388ÿUT
                        c9:85tS8lÿFS8lA3US:ÿ3Uÿ368ÿH8B3US:ÿ1QXÿYU3AU9ÿTUSÿKA94rÿ^Sl8Sÿ2t36USAZA9nÿFU93A9t4958ÿUTÿ368ÿ?@A:3A9n
                        F4:6ÿY494n87893ÿVs:387[ÿ1QQXÿYU3AU9ÿ3Uÿ?7mrUsÿ49lÿ_834A9ÿH8W8rUm7893ÿVm85A4rA:3:[ÿQ95fÿ3UÿhSUWAl8ÿ4
                        F6A8Tÿ_8:3St53tSA9nÿ^TTA58S[ÿ49lÿ1QQQXÿhS854t3AU94SsÿYU3AU9ÿTUSÿ2mmSUW4rÿUTÿhSU3U5Ur:ÿTUSÿ^SlA94SsÿFUtS:8
                        dS49:453AU9:ÿKAr8lÿBsÿ^TTA5A4rÿFU77A3388ÿUTÿc9:85tS8lÿFS8lA3US:fÿO84SA9nÿ:568ltr8lÿTUSÿ>>e>PeCR>Pÿ43
                        >C;RRÿhYÿ43ÿcVÿD49kStm35sÿFUtS3[ÿNCGÿY4Sk83ÿV3f[ÿI36ÿKrf[ÿFUtS3SUU7ÿ=J[ÿiAr7A9n3U9[ÿH8r4u4S8f
                        ^Bp853AU9:ÿlt8ÿBsÿ>>e>PeCR>Pfÿ12334567893:;ÿ=ÿ>ÿ̀U3A58ÿ=ÿCÿhSUmU:8lÿKUS7ÿUTÿ^Sl8SXÿ]^_QMQ`2aab
                        KQa?Hÿ2VÿH^FcY?`dÿ=>CEÿ^`ÿ>>e>CeCR>PÿQ`ÿcfVfÿD2`g_chdFbÿF^c_dÿK^_ÿdO?ÿHQVd_QFd
  >CeRGeCR>P            ^KÿH?a2i2_?jÿ1^k4TUS[ÿYfXÿ1?938S8l;ÿ>CeRIeCR>PX
  >CeRGeCR>P               ÿ>CNÿ]V?2a?HÿA9ÿH8r4u4S8ÿD49kStm35sÿFUtS3jÿ^79ABt:ÿ^Bp853AU9ÿ3Uÿ368ÿH8B3USq:ÿ1QXÿYU3AU9ÿTUSÿKA94r
                        ^Sl8Sÿ2t36USAZA9nÿFU93A9t4958ÿUTÿ368ÿ?@A:3A9nÿF4:6ÿY494n87893ÿVs:387[ÿ1QQXÿYU3AU9ÿ3Uÿ?7mrUsÿ49l
                        _834A9ÿH8W8rUm7893ÿVm85A4rA:3:[ÿQ95fÿ3UÿhSUWAl8ÿ4ÿF6A8Tÿ_8:3St53tSA9nÿ^TTA58S[ÿ49lÿ1QQQXÿhS854t3AU94Ss
                        YU3AU9ÿTUSÿ2mmSUW4rÿUTÿhSU3U5Ur:ÿTUSÿy^SlA94SsÿFUtS:8yÿdS49:453AU9:ÿ1S8r438lÿlU5t78931:XI[ÿLI[ÿLL[ÿ>CEX
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                20134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
                        12345ÿ78ÿ9::2;2<3ÿ=>??2@@44ÿ>:ÿABC4;DFiled
        Case 3:23-cv-02071-E             Document 1-1            E45ÿ=E409/15/23
                                                                         52@>ECÿFG@@<;H?4 B@CIÿJÿ675
                                                                                        Page     KÿLMHof272@678
                                                                                                            ÿGÿJÿNÿLMH272@ÿOÿJÿ681
                                                                                                                    PageID     PÿLMH272@
                        =ÿJÿQÿLMH272@ÿRÿJÿSÿLMH272@ÿLTÿFU42CCV4E74EWÿX<;38BTÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNQÿ9]
                        KKcKNcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_ÿ=9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafT
                        FLB@4E45IÿKNcdScNdKeT
                           ÿKPdÿÿFKlNÿmVCnÿlÿ5>;CTÿ97o4;@2>Bÿ@>ÿ@H4ÿR47@>EpCÿF[Tÿa>@2>Bÿ:>Eÿ12B<3ÿ9E54EÿGD@H>E2q2BVÿ=>B@2BD<B;4ÿ>:
                        @H4ÿLM2C@2BVÿ=<CHÿa<B<V4?4B@ÿ̀8C@4?WÿF[[Tÿa>@2>Bÿ@>ÿL?m3>8ÿ<B5ÿZ4@<2BÿR4r43>m?4B@ÿ̀m4;2<32C@CWÿ[B;f
                        @>ÿhE>r254ÿ<ÿ=H24:ÿZ4C@ED;@DE2BVÿ9::2;4EWÿ<B5ÿF[[[TÿhE4;<D@2>B<E8ÿa>@2>Bÿ:>EÿGmmE>r<3ÿ>:ÿhE>@>;>3Cÿ:>E
                        s9E52B<E8ÿ=>DEC4sÿbE<BC<;@2>BCÿFZ45<;@45TÿFE43<@45ÿ5>;D?4B@FCTSWÿtSWÿttWÿKNPWÿKNQTÿ12345ÿ78ÿ9::2;2<3
                        =>??2@@44ÿ>:ÿABC4;DE45ÿ=E452@>ECÿFG@@<;H?4B@CIÿJÿKÿLMH272@ÿGÿJÿNÿLMH272@ÿOÿJÿPÿLMH272@ÿ=ÿJÿQÿLMH272@ÿR
                        JÿSÿLMH272@ÿLTFU42CCV4E74EWÿX<;38BTÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNSÿ9]ÿKKcKNcNdKeÿ[]
                        Af̀fÿOG]gZAhb=_ÿ=9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45I
  KNcdQcNdKe            KNcdScNdKeT
                           ÿKPKÿÿFNÿmVCTÿ]>@2;4ÿ>:ÿ̀4Er2;4ÿ>:ÿR2C;>r4E8ÿ12345ÿ78ÿ9::2;2<3ÿ=>??2@@44ÿ>:ÿABC4;DE45ÿ=E452@>ECf
                        F\D4Ek4Wÿg4r2BTÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNlÿ9]ÿKKcKNcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_
  KNcdQcNdKe            =9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT
                           ÿKPNÿÿFSÿmVCTÿ97o4;@2>Bÿa>@2>Bÿ>:ÿR47@>Eÿ:>EÿLB@E8ÿ>:ÿ9E54EÿGD@H>E2q2BVÿR47@>Eÿ@>ÿ1234ÿAB54Eÿ̀4<3
                        h>E@2>BCÿ>:ÿ=E452@>Eÿa<@E2Mÿ=>B@<2B2BVÿL?m3>844ÿG55E4CCÿ[B:>E?<@2>BÿFE43<@45ÿ5>;D?4B@FCTuTÿ12345ÿ78
                        Af̀fÿbEDC@44ÿF^4<?8WÿX<B4TÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNtÿ9]ÿKKcKNcNdKeÿ[]ÿAf̀f
  KNcdQcNdKe            OG]gZAhb=_ÿ=9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT
                           ÿKPPÿÿFtÿmVCTÿ=4E@2:2;<@4ÿ>:ÿ̀4Er2;4ÿ>:ÿ97o4;@2>Bÿ>:ÿ@H4ÿR47@>Eÿ@>ÿa>@2>Bÿ>:ÿ9::2;2<3ÿ=>??2@@44ÿ>:
                        ABC4;DE45ÿ=E452@>ECÿ@>ÿbE<BC:4Eÿv4BD4ÿ>:ÿbH2Cÿ=<C4ÿ@>ÿ@H4ÿAB2@45ÿ̀@<@4CÿO<BkEDm@;8ÿ=>DE@ÿ:>Eÿ@H4
                        ]>E@H4EBÿR2C@E2;@ÿ>:ÿb4M<CÿFE43<@45ÿ5>;D?4B@FCTKKuTÿ12345ÿ78ÿi2VH3<B5ÿ=<m2@<3ÿa<B<V4?4B@Wÿ^fhff
                        F9p]4233WÿX<?4CTÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNuÿ9]ÿKKcKNcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_
                        =9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjF9k<:>EWÿafTÿa>52:245ÿ@4M@ÿ>BÿKNcScNdKeÿF9k<:>EWÿafTf
  KNcdQcNdKe            FLB@4E45IÿKNcdScNdKeT
                           ÿKPQÿÿFSÿmVCTÿ=4E@2:2;<@4ÿ>:ÿ̀4Er2;4ÿ>:ÿG;2CpCÿX>2B54Eÿ2Bÿa>@2>Bÿ@>ÿbE<BC:4Eÿv4BD4ÿFE43<@45
                        5>;D?4B@FCTKNNTÿ12345ÿ78ÿG;2Cÿ=<m2@<3ÿa<B<V4?4B@ÿ\hÿ^^=WÿG;2Cÿ=<m2@<3ÿa<B<V4?4B@Wÿ^fhffÿFa2B@qW
                        X>C4:TÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKNeÿ9]ÿKKcKPcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_ÿ=9AZb
  KNcdQcNdKe            19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT
                           ÿKPSÿÿFtÿmVCnÿNÿ5>;CTÿ97o4;@2>BÿAf̀fÿbEDC@44pCÿ97o4;@2>Bÿ@>ÿ@H4ÿa>@2>Bÿ>:ÿR47@>EÿhDECD<B@ÿ@>ÿKKÿAf̀f=f
                        wwÿKdSF<Tÿ<B5ÿPlPF7Tÿ@>ÿhE>r254ÿ<ÿ=H24:ÿZ4C@ED;@DE2BVÿ9::2;4EWÿG552@2>B<3ÿh4EC>BB43ÿ<B5ÿ12B<B;2<3
                        G5r2C>E8ÿ<B5ÿZ4C@ED;@DE2BVÿZ43<@45ÿ̀4Er2;4CWÿ]DB;ÿhE>ÿbDB;ÿ<Cÿ>:ÿ@H4ÿh4@2@2>BÿR<@4ÿFE43<@45
                        5>;D?4B@FCTtSTÿ12345ÿ78ÿAf̀fÿbEDC@44ÿFG@@<;H?4B@CIÿJÿKÿ=4E@2:2;<@4ÿ>:ÿ̀4Er2;4TF^4<?8WÿX<B4T
                        Y9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKPdÿ9]ÿKKcKPcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_ÿ=9AZbÿ19Z
  KNcdQcNdKe            biLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT
                           ÿKPlÿÿFKÿmVTÿ=4E@2:2;<@4ÿ>:ÿ̀4Er2;4ÿ>:ÿAB2@45ÿ̀@<@4CÿbEDC@44Cÿ97o4;@2>Bÿ@>ÿa>@2>Bÿ>:ÿR47@>Eÿ:>EÿLB@E8ÿ>:
                        9E54EÿGD@H>E2q2BVÿR47@>Eÿ@>ÿ1234ÿAB54Eÿ̀4<3ÿh>E@2>BCÿ>:ÿ=E452@>Eÿa<@E2Mÿ=>B@<2B2BVÿL?m3>844ÿG55E4CC
                        [B:>E?<@2>BÿFE43<@45ÿ5>;D?4B@FCTKNtTÿ12345ÿ78ÿAf̀fÿbEDC@44fÿF^4<?8WÿX<B4TÿY9Z[\[]G^^_ÿ1[^LRÿG`
                        R9=AaL]bÿJKPKÿ9]ÿKKcKPcNdKeÿ[]ÿAf̀fÿOG]gZAhb=_ÿ=9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91
  KNcdQcNdKe            RL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT
                           ÿKPtÿÿFKtÿmVCnÿPÿ5>;CTÿ=4E@2:2;<@2>Bÿ>:ÿ=>DBC43ÿZ4V<E52BVÿR47@>EpCÿa>@2>BÿhDECD<B@ÿ@>ÿ̀4;@2>BCÿKdSFGTW
                        PPdÿ<B5ÿPPKÿ>:ÿ@H4ÿO<BkEDm@;8ÿ=>54ÿ:>EÿG5?2B2C@E<@2r4ÿ9E54EÿLC@<732CH2BVÿhE>;45DE4Cÿ:>Eÿ@H4ÿ[B@4E2?
                        =>?m4BC<@2>Bÿ<B5ÿZ42?7DEC4?4B@ÿ>:ÿLMm4BC4Cÿ>:ÿhE>:4CC2>B<3CÿFE43<@45ÿ5>;D?4B@FCTtPTÿ12345ÿ78
                        i2VH3<B5ÿ=<m2@<3ÿa<B<V4?4B@Wÿ^fhffÿFG@@<;H?4B@CIÿJÿKÿLMH272@ÿGÿxÿhE>m>C45ÿ9E54EÿJÿNÿLMH272@ÿOÿx
                        O3<;k32B4ÿ9E54ETF9p]4233WÿX<?4CTÿY9Z[\[]G^^_ÿ1[^LRÿG`ÿR9=AaL]bÿJKPNÿ9]ÿKKcKPcNdKeÿ[]ÿAf̀f
  KNcdQcNdKe            OG]gZAhb=_ÿ=9AZbÿ19ZÿbiLÿR[`bZ[=bÿ91ÿRL^GUGZLjÿF9k<:>EWÿafTÿFLB@4E45IÿKNcdScNdKeT

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                       3.134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 676 of 678    PageID 682
                           ÿ189ÿÿ:1;ÿ<=>?ÿ2ÿ@AB>CÿDEFGHIHBJGEÿAIÿKAÿLMNEBGHAOÿPE=JF@HO=ÿQEMGAFR>ÿS<<THBJGHAOÿIAFÿSUGVAFHWJGHAOÿGA
                        XY<TAZÿJO@ÿPEGJHOÿ[UFGWYJOÿDJF>AOÿDAO>UTGJOG>ÿ\\DÿJ>ÿS@YHOH>GFJGH]EÿS@]H>AFÿXIIEBGH]EÿKUOBÿ^FA
                        _UOBÿGAÿGVEÿ^EGHGHAOÿQJGEÿ:FETJGE@ÿ@ABUYEOG:>C;5Cÿ̀HTE@ÿMZÿaH=VTJO@ÿDJ<HGJTÿbJOJ=EYEOGcÿ\d^dd
                        :SGGJBVYEOG>eÿfÿ1ÿXgVHMHGÿSÿhÿ^FA<A>E@ÿLF@EFCÿ:LRKEHTTcÿiJYE>CÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_
                        f188ÿLKÿ1131832416ÿkKÿodndÿpSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFc
  1234532416            bdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ186ÿÿ:tÿ<=>?ÿ2ÿ@AB>CÿDEFGHIHBJGEÿAIÿKAÿLMNEBGHAOÿPE=JF@HO=ÿbAGHAOÿAIÿGVEÿQEMGAFÿIAFÿXOGFZÿAIÿJOÿLF@EF
                        :kCÿXgGEO@HO=ÿ_HYEÿGAÿ̀HTEÿnBVE@UTE>ÿAIÿS>>EG>ÿJO@ÿ\HJMHTHGHE>cÿnBVE@UTE>ÿAIÿXgEBUGAFZÿDAOGFJBG>ÿJO@
                        oOEg<HFE@ÿ\EJ>E>cÿJO@ÿnGJGEYEOGÿAIÿ̀HOJOBHJTÿSIIJHF>cÿJO@ÿ:kkCÿlFJOGHO=ÿPETJGE@ÿPETHEIÿ:FETJGE@
                        @ABUYEOG:>C5Cÿ̀HTE@ÿMZÿaH=VTJO@ÿDJ<HGJTÿbJOJ=EYEOGcÿ\d^ddÿ:SGGJBVYEOG>eÿfÿ1ÿXgVHMHGÿSÿhÿ^FA<A>E@
                        LF@EFCÿ:LRKEHTTcÿiJYE>CÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf185ÿLKÿ1131832416ÿkKÿodnd
  1234532416            pSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ154ÿÿ:2ÿ<=>CÿKAGHBEÿAIÿS<<EJFJOBEdÿ_VEÿ<JFGZÿVJ>ÿBAO>EOGE@ÿGAÿETEBGFAOHBÿ>EF]HBEdÿ̀HTE@ÿMZÿDFE>BEOGÿ_D
                        kO]E>GAF>cÿ\d^ddÿ:aET@cÿbHBVJETCÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf18tÿLKÿ1131532416ÿkKÿodnd
  1234532416            pSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ151ÿÿ:uÿ<=>CÿLPQXPÿXn_Sp\knakKlÿ^PLDXQoPXnÿ̀LPÿkK_XPkbÿDLb^XKnS_kLKÿSKQ
                        PXkbk8oPnXbXK_ÿL`ÿXv^XKnXnÿL`ÿ^PL`XnnkLKS\n:PETJGE@ÿQABÿfÿ;8CÿLF@EFÿnH=OE@ÿAO
                        1131532416dÿ:QPlCÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf18uÿLKÿ1131532416ÿkKÿodnd
  1234532416            pSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ152ÿÿ:15ÿ<=>CÿLPQXPÿSo_aLPkwkKlÿ_aXÿQXp_LPÿ_LÿXb^\LmÿSKQÿPX_SkKÿ[oP_wbSK
                        DSPnLKÿDLKno\_SK_nÿ\\DÿSnÿSQbkKkn_PS_kxXÿSQxknLPÿX``XD_kxXÿKoKDÿ^PLÿ_oKD
                        _Lÿ_aXÿ^X_k_kLKÿQS_Xÿ:PETJGE@ÿQABÿfÿ;5CÿLF@EFÿnH=OE@ÿAOÿ1131532416dÿ:QPlCÿjLPklkKS\\m
                        `k\XQÿSnÿQLDobXK_ÿf18;ÿLKÿ1131532416ÿkKÿodndÿpSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_
  1234532416            L`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ158ÿÿ:2ÿ<=>CÿLPQXPÿ:kCÿXv_XKQkKlÿ_kbXÿ_Lÿ̀k\XÿnDaXQo\XnÿL`ÿSnnX_nÿSKQ
                        \kSpk\k_kXncÿnDaXQo\XnÿL`ÿXvXDo_LPmÿDLK_PSD_nÿSKQÿoKXv^kPXQÿ\XSnXncÿSKQ
                        n_S_XbXK_L`ÿ̀kKSKDkS\ÿS``SkPncÿSKQÿ:kkCÿlPSK_kKlÿPX\S_XQÿPX\kX`ÿ:PETJGE@ÿQABÿfÿ5C
                        LF@EFÿnH=OE@ÿAOÿ1131532416dÿ:QPlCÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf189ÿLKÿ1131532416ÿkK
                        odndÿpSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@e
  1234532416            1234t32416C
                           ÿ155ÿÿ:8ÿ<=>CÿKAGHBEÿAIÿS<<EJFJOBEdÿ_VEÿ<JFGZÿVJ>ÿBAO>EOGE@ÿGAÿETEBGFAOHBÿ>EF]HBEdÿ̀HTE@ÿMZÿkOGEFGFU>G
                        XOGHGHE>dÿ:QE>=FA>>EHTTHEF>cÿbJFsCÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf186ÿLKÿ1131532416ÿkKÿodnd
  1234532416            pSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ15tÿÿ:8ÿ<=>CÿKAGHBEÿAIÿS<<EJFJOBEdÿ_VEÿ<JFGZÿVJ>ÿBAO>EOGE@ÿGAÿETEBGFAOHBÿ>EF]HBEdÿ̀HTE@ÿMZÿD\L
                        XOGHGHE>dÿ:QE>=FA>>EHTTHEF>cÿbJFsCÿjLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf154ÿLKÿ1131532416ÿkKÿodnd
  1234532416            pSK[Po^_DmÿDLoP_ÿ̀LPÿ_aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ15uÿÿ:11ÿ<=>CÿKAGHBEÿAIÿQE<A>HGHAOÿo<AOÿLFJTÿXgJYHOJGHAOÿoO@EFÿPUTE>ÿ84ÿJO@ÿ84:MC:uCÿAIÿGVEÿQEMGAFc
                        aH=VTJO@ÿDJ<HGJTÿbJOJ=EYEOGcÿ\d^dÿ̀HTE@ÿMZÿLIIHBHJTÿDAYYHGGEEÿAIÿoO>EBUFE@ÿDFE@HGAF>dÿ:lUEFsEcÿ[E]HOC
                        jLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf151ÿLKÿ1131t32416ÿkKÿodndÿpSK[Po^_DmÿDLoP_ÿ̀LP
  1234532416            _aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
                           ÿ15;ÿÿ:19ÿ<=>?ÿ2ÿ@AB>CÿKAGHBEÿAIÿS=EO@JÿAIÿbJGGEF>ÿnBVE@UTE@ÿIAFÿaEJFHO=ÿ̀HTE@ÿMZÿaH=VTJO@ÿDJ<HGJT
                        bJOJ=EYEOGcÿ\d^ddÿaEJFHO=ÿ>BVE@UTE@ÿIAFÿ1131632416ÿJGÿ12e44ÿ^bÿJGÿonÿpJOsFU<GBZÿDAUFGcÿ925ÿbJFsEG
                        nGdcÿtGVÿ̀TdcÿDAUFGFAAYÿfucÿqHTYHO=GAOcÿQETJyJFEÿ:SGGJBVYEOG>eÿfÿ1ÿDEFGHIHBJGEÿAIÿnEF]HBEC
                        jLPklkKS\\mÿ̀k\XQÿSnÿQLDobXK_ÿf152ÿLKÿ1131t32416ÿkKÿodndÿpSK[Po^_DmÿDLoP_ÿ̀LP
  1234532416            _aXÿQkn_PkD_ÿL`ÿQX\SqSPXrÿ:LsJIAFcÿbdCÿ:XOGEFE@eÿ1234t32416C
!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                 32134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 677 of 678     PageID 683
                           ÿ158ÿÿ9:ÿ;<=>ÿ?@@ABCDAE3FGHICJCEAKLÿK@ÿMGJDAHGÿ@KJÿ=GJDAHGÿK@ÿ91>ÿNMA<LGBOÿPJBGJÿQ=ECRIA=SAL<ÿTJKHGBUJG=
                        @KJÿVLEGJAWÿXKW;GL=CEAKLÿCLBÿYGAWRUJ=GWGLEÿK@ÿQZ;GL=G=ÿK@ÿTJK@G==AKLCI=ÿNFKH[GEÿ\K]ÿ1^_Oÿ̀92>
                        NMA<LGBOÿPJBGJÿ?UESKJAaAL<ÿESGÿFGREKJÿEKÿQW;IKbÿCLBÿYGECALÿcUJEaWCLÿXCJ=KLÿXKL=UIECLE=ÿddXÿC=
                        ?BWALA=EJCEADGÿ?BDA=KJÿQ@@GHEADGÿ\ULHÿTJKÿeULHÿEKÿESGÿTGEAEAKLÿFCEGÿNFKH[GEÿ\K]ÿ1^:Oÿ̀CLBÿ9^>ÿNMA<LGBO
                        PJBGJÿ9V>ÿQZEGLBAL<ÿeAWGÿEKÿfAIGÿMHSGBUIG=ÿK@ÿ?==GE=ÿCLBÿdACRAIAEAG=gÿMHSGBUIG=ÿK@ÿQZGHUEKJbÿXKLEJCHE=
                        CLBÿhLGZ;AJGBÿdGC=G=gÿCLBÿMECEGWGLEÿK@ÿfALCLHACIÿ?@@CAJ=gÿCLBÿ9VV>ÿiJCLEAL<ÿYGICEGBÿYGIAG@ÿNFKH[GEÿ\K]
                        1^8Oÿ9JGICEGBÿBKHUWGLE9=>1^_gÿ1^:gÿ1^8>ÿfAIGBÿRbÿjA<SICLBÿXC;AECIÿkCLC<GWGLEgÿd]T]]ÿ9Pl\GAIIgÿmCWG=>
                        NPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo15^ÿP\ÿ1131p32416ÿV\ÿh]M]ÿq?\cYhTeXnÿXPhYeÿfPY
  1234532416            ejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ156ÿÿ92ÿ;<=>ÿ\KEAHGÿK@ÿjGCJAL<ÿJG<CJBAL<ÿkKEAKLÿEKÿXSCL<GÿtGLUG3VLEGJuBA=EJAHEÿeJCL=@GJÿ9JGICEGB
                        BKHUWGLE9=>8_gÿ8:gÿ88>ÿfAIGBÿRbÿP@@AHACIÿXKWWAEEGGÿK@ÿhL=GHUJGBÿXJGBAEKJ=]ÿjGCJAL<ÿ=HSGBUIGBÿ@KJ
                        123232416ÿCEÿ14s44ÿ?kÿCEÿhMÿqCL[JU;EHbÿXKUJEgÿ825ÿkCJ[GEÿME]gÿpESÿfI]gÿXKUJEJKKWÿo_gÿrAIWAL<EKLg
                        FGICvCJG]ÿ9qGCHSgÿMGCL>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo155ÿP\ÿ1131832416ÿV\ÿh]M]
  1234532416            q?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ1p4ÿÿ96ÿ;<=ÿ̀2ÿBKH=>ÿ\KEAHGÿK@ÿYG=HSGBUIGBÿ^51ÿkGGEAL<ÿ9JGICEGBÿBKHUWGLE9=>_:gÿ:6>ÿfAIGBÿRbÿjA<SICLB
                        XC;AECIÿkCLC<GWGLEgÿd]T]]ÿ^519C>ÿWGGEAL<ÿEKÿRGÿSGIBÿKLÿ123^32416ÿCEÿ14s^4ÿ?kÿ9HSGH[ÿvAESÿh]M]ÿeJU=EGG
                        @KJÿIKHCEAKL>ÿ9?EECHSWGLE=sÿoÿ1ÿXGJEA@AHCEGÿK@ÿMGJDAHG>ÿ9Pl\GAIIgÿmCWG=>ÿNPYViV\?ddnÿfVdQFÿ?M
                        FPXhkQ\eÿo15pÿP\ÿ1131832416ÿV\ÿh]M]ÿq?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPf
  1234532416            FQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ1p1ÿÿ91:ÿ;<=ÿ̀2ÿBKH=>ÿ?<GLBCÿK@ÿkCEEGJ=ÿMHSGBUIGBÿ@KJÿeGIG;SKLAHÿjGCJAL<ÿ9JGICEGBÿBKHUWGLE9=>152>
                        fAIGBÿRbÿjA<SICLBÿXC;AECIÿkCLC<GWGLEgÿd]T]]ÿjGCJAL<ÿ=HSGBUIGBÿ@KJÿ1131632416ÿCEÿ12s44ÿTkÿCEÿhM
                        qCL[JU;EHbÿXKUJEgÿ825ÿkCJ[GEÿME]gÿpESÿfI]gÿXKUJEJKKWÿo_gÿrAIWAL<EKLgÿFGICvCJG]9?EECHSWGLE=sÿoÿ1
                        XGJEA@AHCEGÿK@ÿMGJDAHG>ÿ9Pl\GAIIgÿmCWG=>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo15_ÿP\ÿ1131832416ÿV\
                        h]M]ÿq?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBs
  1234532416            1234p32416>
                           ÿ1p2ÿÿ92ÿ;<=>ÿ\KEAHGÿK@ÿ?;;GCJCLHG]ÿeSGÿ;CJEbÿSC=ÿHKL=GLEGBÿEKÿGIGHEJKLAHÿ=GJDAHG]ÿfAIGBÿRbÿXdP
                        jKIBHKgÿdEB]]ÿ9cCLGgÿmKSL>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo156ÿP\ÿ1131632416ÿV\ÿh]M]
  1234532416            q?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ1p^ÿÿ92ÿ;<=>ÿ?WGLBGBÿ\KEAHGÿK@ÿFG;K=AEAKLÿK@ÿfJCL[ÿrCEGJSKU=GÿfAIGBÿRbÿP@@AHACIÿXKWWAEEGGÿK@
                        hL=GHUJGBÿXJGBAEKJ=]ÿ9iUGJ[GgÿcGDAL>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo1p4ÿP\ÿ1131632416ÿV\
                        h]M]ÿq?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBs
  1234532416            1234p32416>
                           ÿ1p5ÿÿ9^ÿ;<=>ÿ\KEAHGÿK@ÿ?;;GCJCLHGÿCLBÿYGwUG=Eÿ@KJÿ\KEAHGÿRbÿMCIIbÿe]ÿMAHKLKI@AÿgÿmK=G;Sÿe]ÿkKIBKDCL
                        @AIGBÿRbÿVLEGJG=EGBÿTCJEbÿkGECuGÿFA=HKDGJbgÿddXÿ]ÿ9kKIBKDCLgÿmK=G;S>NPYViV\?ddnÿfVdQFÿ?M
                        FPXhkQ\eÿo1p2ÿP\ÿ1132432416ÿV\ÿh]M]ÿq?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPf
  1234532416            FQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ1p_ÿÿ95ÿ;<=>ÿ?@@ABCDAE3FGHICJCEAKLÿK@ÿMGJDAHGÿJG<CJBAL<ÿ\KEAHGÿK@ÿjGCJAL<ÿJG<CJBAL<ÿkKEAKLÿEKÿXSCL<G
                        tGLUG3VLEGJuBA=EJAHEÿeJCL=@GJÿ9JGICEGBÿBKHUWGLE9=>155>ÿfAIGBÿRbÿP@@AHACIÿXKWWAEEGGÿK@ÿhL=GHUJGB
                        XJGBAEKJ=]ÿ9qGCHSgÿMGCL>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo1p^ÿP\ÿ1132432416ÿV\ÿh]M]
  1234532416            q?\cYhTeXnÿXPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ9QLEGJGBsÿ1234p32416>
                           ÿ1p8ÿÿ9pÿ;<=ÿ̀2ÿBKH=>ÿkKEAKLÿEKÿ?;;GCJÿ;JKÿSCHÿDAHGÿK@ÿ?LLWCJAGÿXSACJGIIKÿK@ÿrAL=EGCBÿTX]ÿYGHGA;E
                        \UWRGJÿ4^11u2:85^gÿfAIGBÿRbÿ?HA=ÿXC;AECIÿkCLC<GWGLEÿiTÿddXgÿ?HA=ÿXC;AECIÿkCLC<GWGLEgÿd]T]]
                        9qARAIKLAgÿmK=G>ÿNPYViV\?ddnÿfVdQFÿ?MÿFPXhkQ\eÿo1p5ÿP\ÿ1132432416ÿV\ÿh]M]ÿq?\cYhTeXn
                        XPhYeÿfPYÿejQÿFVMeYVXeÿPfÿFQd?r?YQOÿ9P[C@KJgÿk]>ÿ?BBAEAKLCIÿCEECHSWGLE9=>ÿCBBGBÿKL
  1234532416            123p32416ÿ9P[C@KJgÿk]>]ÿ9QLEGJGBsÿ1234p32416>

!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                   33134
01221345ÿ4789ÿ                                              ÿÿÿÿÿ!ÿ"ÿ#$!
        Case 3:23-cv-02071-E             Document 1-1           Filed 09/15/23           Page 678 of 678    PageID 684
                          ÿ186ÿÿ92ÿ:;<=ÿ2ÿ>?@<AÿBC>DCÿE::C?FGH;ÿI?JG?HÿK?CÿE>LG<<G?Hÿ:C?ÿMN@ÿFG@DÿEHHLNCGDÿOMGNCDPP?ÿ9QDPNJD>
                        R?@ÿSÿ185AÿBC>DCÿTG;HD>ÿ?Hÿ1132132416Uÿ9OETAÿVBQWXWYEZZ[ÿ\WZ]RÿETÿRBO^I]Y_ÿS188ÿBY
                        1132132416ÿWYÿ^UTUÿ̀EYaQ^b_O[ÿOB^Q_ÿ\BQÿ_c]ÿRWT_QWO_ÿB\ÿR]ZEdEQ]eÿ9BfNK?CgÿIUA
  1234532416            E>>GJG?HNPÿNJJN@MLDHJ9<AÿN>>D>ÿ?Hÿ123832416ÿ9BfNK?CgÿIUAUÿ9]HJDCD>hÿ1234832416A
                          ÿ1i2ÿÿ9jÿ:;<AÿQD:PkÿGHÿTl::?CJÿ?KÿI?JG?HÿJ?ÿ_CNH<KDCÿmDHlDÿ?Kÿ_MG<ÿON<DÿJ?ÿJMDÿ^HGJD>ÿTJNJD<
                        `NHfCl:J@kÿO?lCJÿK?CÿJMDÿY?CJMDCHÿRG<JCG@Jÿ?Kÿ_DnN<ÿ9CDPNJD>ÿ>?@lLDHJ9<Ajigÿ11jAÿ\GPD>ÿokÿBKKG@GNP
                        O?LLGJJDDÿ?Kÿ^H<D@lCD>ÿOCD>GJ?C<ÿ9`DN@MgÿTDNHAÿVBQWXWYEZZ[ÿ\WZ]RÿETÿRBO^I]Y_ÿS18iÿBY
                        1132132416ÿWYÿ^UTUÿ̀EYaQ^b_O[ÿOB^Q_ÿ\BQÿ_c]ÿRWT_QWO_ÿB\ÿR]ZEdEQ]eÿ9BfNK?CgÿIUA
  1234532416            9]HJDCD>hÿ1234832416A
                          ÿ1ipÿÿ9qÿ:;<AÿQD:PkÿGHÿTl::?CJÿ?KÿJMDÿI?JG?Hÿ?KÿJMDÿBKKG@GNPÿO?LLGJJDDÿ?Kÿ^H<D@lCD>ÿOCD>GJ?C<ÿ\?CÿNH
                        BC>DCÿ_CNH<KDCCGH;ÿmDHlDÿ?KÿJMG<ÿON<DÿJ?ÿJMDÿ^HGJD>ÿTJNJD<ÿ̀NHfCl:J@kÿO?lCJÿK?CÿJMDÿY?CJMDCHÿRG<JCG@Jÿ?K
                        _DnN<ÿ9CDPNJD>ÿ>?@lLDHJ9<Ajigÿ11jgÿ122gÿ18iAÿ\GPD>ÿokÿE@G<ÿON:GJNPÿINHN;DLDHJÿXbÿZZOgÿE@G<ÿON:GJNP
                        INHN;DLDHJgÿZUbUÿ9IGHJrgÿs?<DKAÿVBQWXWYEZZ[ÿ\WZ]RÿETÿRBO^I]Y_ÿS18qÿBYÿ1132132416ÿWYÿ^UTU
  1234532416            `EYaQ^b_O[ÿOB^Q_ÿ\BQÿ_c]ÿRWT_QWO_ÿB\ÿR]ZEdEQ]eÿ9BfNK?CgÿIUAÿ9]HJDCD>hÿ1234832416A
                          ÿ1i5ÿÿ95ÿ:;<AÿQD<:?H<Dÿ?KÿJMDÿRDoJ?CÿJ?ÿE@G<t<ÿs?GH>DCÿJ?ÿI?JG?HÿJ?ÿ_CNH<KDCÿmDHlDÿ9CDPNJD>
                        >?@lLDHJ9<Ajigÿ122Aÿ\GPD>ÿokÿcG;MPNH>ÿON:GJNPÿINHN;DLDHJgÿZUbUÿ9BtYDGPPgÿsNLD<AÿVBQWXWYEZZ[
  1234532416            \WZ]RÿETÿRBO^I]Y_ÿS18




!711$%"!!&1'%1()*22+,,+4-24.4220/020.2                                                                34134
